Case 1:16-cv-04756-NGG-VMS Document 319-9 Filed 09/04/20 Page 1 of 1091 PageID #:
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                                    No.

                In the Supreme Court of the United States
                UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                               ET AL., PETITIONERS

                                          v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                        ON PETITION FOR A WRIT OF CERTIORARI
                       BEFORE JUDGMENT TO THE UNITED STATES
                       COURT OF APPEALS FOR THE NINTH CIRCUIT


                        PETITION FOR A WRIT OF CERTIORARI
                                BEFORE JUDGMENT


                                               NOEL J. FRANCISCO
                                                 Solicitor General
                                                  Counsel of Record
                                               JOSEPH H. HUNT
                                                 Assistant Attorney
                                                  General
                                               JEFFREY B. WALL
                                                 Deputy Solicitor General
                                               HASHIM M. MOOPPAN
                                                 Deputy Assistant Attorney
                                                  General
                                               JONATHAN Y. ELLIS
                                                 Assistant to the Solicitor
                                                  General
                                               MARK B. STERN
                                               ABBY C. WRIGHT
                                               THOMAS PULHAM
                                                 Attorneys
                                                Department of Justice
                                                Washington, D.C. 20530-0001
                                                SupremeCtBriefs@usdoj.gov
                                                (202) 514-2217




                                                                              AR3309
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                               QUESTIONS PRESENTED
                   This dispute concerns the policy of immigration en-
                forcement discretion known as Deferred Action for
                Childhood Arrivals (DACA). In 2016, this Court af-
                firmed, by an equally divided Court, a decision of the
                Fifth Circuit holding that two related Department of
                Homeland Security (DHS) discretionary enforcement
                policies, including an expansion of the DACA policy,
                were likely unlawful and should be enjoined. See
                United States v. Texas, 136 S. Ct. 2271 (per curiam). In
                September 2017, DHS determined that the original
                DACA policy was unlawful and would likely be struck
                down by the courts on the same grounds as the related
                policies. DHS thus instituted an orderly wind-down of
                the DACA policy. The questions presented are as follows:
                   1. Whether DHS’s decision to wind down the DACA
                policy is judicially reviewable.
                   2. Whether DHS’s decision to wind down the DACA
                policy is lawful.




                                          (I)




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                            PARTIES TO THE PROCEEDING
                    Petitioners are the Donald J. Trump, President of
                the United States; Jefferson B. Sessions III, Attorney
                General of the United States; Kirstjen M. Nielsen, Sec-
                retary of Homeland Security; U.S. Department of Home-
                land Security; and the United States.
                    Respondents are the Regents of the University of Cal-
                ifornia; Janet Napolitano, President of the University of
                California; the State of California; the State of Maine; the
                State of Maryland; the State of Minnesota; the City of San
                Jose; Dulce Garcia; Miriam Gonzalez Avila; Saul Jimenez
                Suarez; Viridiana Chabolla Mendoza; Norma Ramirez; Ji-
                rayut Latthivongskorn; the County of Santa Clara; and
                Service Employees International Union Local 521.




                                            (II)




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                                                             (III)




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                In the Supreme Court of the United States
                                       No.
                UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                               ET AL., PETITIONERS

                                             v.
                 REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                        ON PETITION FOR A WRIT OF CERTIORARI
                       BEFORE JUDGMENT TO THE UNITED STATES
                       COURT OF APPEALS FOR THE NINTH CIRCUIT


                         PETITION FOR A WRIT OF CERTIORARI
                                 BEFORE JUDGMENT


                   The Solicitor General, on behalf of the United States
                Department of Homeland Security and other federal
                parties, respectfully petitions for a writ of certiorari be-
                fore judgment to the United States Court of Appeals for
                the Ninth Circuit.
                                    OPINIONS BELOW
                   The order of the district court granting respondents’
                motion for a preliminary injunction and denying the
                government’s motion to dismiss under Federal Rule of
                Civil Procedure 12(b)(1) (App. 1a-70a) is reported at
                279 F. Supp. 3d 1011. The order of the district court
                granting in part and denying in part the government’s
                motion to dismiss under Rule 12(b)(6) (App. 71a-90a) is
                reported at 298 F. Supp. 3d 1304.




                                             (1)




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                                              2
                                       JURISDICTION
                     On January 9, 2018, the district court denied the gov-
                 ernment’s Rule 12(b)(1) motion, entered a preliminary
                 injunction, and certified its Rule 12(b)(1) decision for in-
                 terlocutory appeal. On January 12, 2018, the district
                 court granted in part and denied in part the govern-
                 ment’s Rule 12(b)(6) motion and certified its decision for
                 interlocutory appeal. The government filed a notice of
                 appeal of both the January 9 and January 12 orders on
                 January 16, 2018 (App. 91a-95a). The Ninth Circuit
                 granted permission to appeal both the January 9 and
                 January 12 orders on January 25, 2018. App. 96a. The
                 court of appeals’ jurisdiction over the appeal of the pre-
                 liminary injunction rests on 28 U.S.C. 1292(a)(1). The
                 court of appeals’ jurisdiction over the appeal of the cer-
                 tified rulings rests on 28 U.S.C. 1292(b). The jurisdic-
                 tion of this Court is invoked under 28 U.S.C. 1254(1) and
                 28 U.S.C. 2101(e).
                          STATUTORY PROVISIONS INVOLVED
                   Pertinent statutory provisions are set forth in the
                 appendix to this petition. App. 127a-143a.
                                        STATEMENT
                    1. a. The Immigration and Nationality Act (INA),
                 8 U.S.C. 1101 et seq., charges the Secretary of Home-
                 land Security “with the administration and enforce-
                 ment” of the immigration laws. 8 U.S.C. 1103(a)(1). In-
                 dividual aliens are subject to removal if, inter alia,
                 “they were inadmissible at the time of entry, have been
                 convicted of certain crimes, or meet other criteria set
                 by federal law.” Arizona v. United States, 567 U.S. 387,
                 396 (2012); see 8 U.S.C. 1182(a) (2012 & Supp. V 2017);
                 see also 8 U.S.C. 1227(a) (2012 & Supp. V 2017). As a




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                                             3

                 practical matter, however, the federal government can-
                 not remove every removable alien, and a “principal fea-
                 ture of the removal system is the broad discretion exer-
                 cised by immigration officials.” Arizona, 567 U.S. at 396.
                    For any alien subject to removal, Department of
                 Homeland Security (DHS) officials must first “decide
                 whether it makes sense to pursue removal at all.” Ari-
                 zona, 567 U.S. at 396. After removal proceedings begin,
                 government officials may decide to grant discretionary
                 relief, such as asylum or cancellation of removal. See
                 8 U.S.C. 1158(b)(1)(A), 1229b. And, “[a]t each stage” of
                 the process, “the Executive has discretion to abandon the
                 endeavor.” Reno v. American-Arab Anti-Discrimination
                 Comm., 525 U.S. 471, 483 (1999) (AADC). In making
                 these decisions, like other agencies exercising enforce-
                 ment discretion, DHS must engage in “a complicated
                 balancing of a number of factors which are peculiarly
                 within its expertise.” Heckler v. Chaney, 470 U.S. 821,
                 831 (1985). Recognizing the need for such balancing,
                 Congress has provided that the “Secretary [of Home-
                 land Security] shall be responsible for * * * [e]stablish-
                 ing national immigration enforcement policies and pri-
                 orities.” 6 U.S.C. 202(5) (2012 & Supp. V 2017).
                    b. In 2012, DHS announced the policy known as
                 Deferred Action for Childhood Arrivals (DACA). See
                 App. 97a-101a. Deferred action is a practice in which
                 the Secretary exercises discretion to notify an alien of
                 her decision to forbear from seeking his removal for a
                 designated period. AADC, 525 U.S. at 484. Under DHS
                 regulations, aliens granted deferred action may apply
                 for and receive work authorization for the duration of
                 the deferred-action grant if they establish economic ne-
                 cessity. 8 C.F.R. 274a.12(c)(14). A grant of deferred




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                 action does not confer lawful immigration status or pro-
                 vide any defense to removal. DHS retains discretion to
                 revoke deferred action unilaterally, and the alien re-
                 mains removable at any time.
                    DACA made deferred action available to “certain
                 young people who were brought to this country as chil-
                 dren.” App. 97a. The INA does not provide any exemp-
                 tions or special relief from removal for such individuals.
                 And, dating back to at least 2001, bipartisan efforts to
                 provide such relief legislatively had failed.1 Under the
                 DACA policy, following successful completion of a back-
                 ground check and other review, an alien would receive
                 deferred action for a period of two years, subject to re-
                 newal. App. 99a-100a. The policy made clear that it
                 “confer[red] no substantive right, immigration status or
                 pathway to citizenship,” because “[o]nly the Congress,
                 acting through its legislative authority, can confer these
                 rights.” App. 101a.
                    DHS explained that information provided in the
                 DACA request process would be protected from disclo-
                 sure for the purpose of immigration enforcement pro-
                 ceedings unless certain criteria related to national secu-
                 rity or public safety were satisfied, or the individual met
                 the requirements for a Notice to Appear. USCIS, DHS,
                 Deferred Action for Childhood Arrivals: Frequently
                 Asked Questions (Mar. 8, 2018), https://go.usa.gov/xngCd.
                 DHS also stated, however, that this information-sharing
                 policy “may be modified, superseded, or rescinded at
                 any time without notice,” and that it “may not be relied


                  1
                     See, e.g., S. 1291, 107th Cong., 1st Sess. (2001); S. 1545,
                 108th Cong., 1st Sess. (2003); S. 2075, 109th Cong., 1st Sess. (2005);
                 S. 2205, 110th Cong., 1st Sess. (2007); S. 3827, 111th Cong., 2d Sess.
                 (2010).




                                                                                          AR3320
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                 upon to create any right or benefit, substantive or pro-
                 cedural, enforceable at law by any party in any admin-
                 istrative, civil, or criminal matter.” Id. at 6.
                    Later, in 2014, DHS created a new policy of enforce-
                 ment discretion referred to as Deferred Action for Par-
                 ents of Americans and Lawful Permanent Residents
                 (DAPA). App. 102a-110a. Through a process expressly
                 designed to be “similar to DACA,” DAPA made de-
                 ferred action available for certain individuals who had a
                 child who was a U.S. citizen or lawful permanent resi-
                 dent. App. 107a. At the same time, DHS also expanded
                 DACA by extending the deferred-action period from
                 two to three years and by loosening the age and resi-
                 dency criteria. App. 106a-107a.
                    c. Soon thereafter, Texas and 25 other States
                 brought suit in the Southern District of Texas to enjoin
                 DAPA and the expansion of DACA. The district court
                 issued a nationwide preliminary injunction, finding a
                 likelihood of success on the claim that the DAPA and
                 expanded DACA memorandum was a “ ‘substantive’
                 rule that should have undergone the notice-and-
                 comment rule making procedure” required by the Ad-
                 ministrative Procedure Act (APA), 5 U.S.C. 551 et seq.
                 Texas v. United States, 86 F. Supp. 3d 591, 671 (S.D.
                 Tex. 2015); see id. at 607, 647, 664-678.
                    The Fifth Circuit affirmed the injunction, holding
                 that the DAPA and expanded DACA policies likely vio-
                 lated both the APA and the INA. Texas v. United
                 States, 809 F.3d 134, 146, 170-186 (2015). The court of
                 appeals concluded that plaintiffs had “established a sub-
                 stantial likelihood of success on the merits of their pro-
                 cedural claim” that DAPA and expanded DACA were
                 invalidly instituted without notice and comment. Id. at




                                                                              AR3321
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                 178. The court also concluded, “as an alternate and ad-
                 ditional ground,” that the policies were substantively
                 contrary to law. Ibid. The court observed that the INA
                 contains an “intricate system of immigration classifica-
                 tions and employment eligibility,” and “does not grant
                 the Secretary discretion to grant deferred action and
                 lawful presence on a class-wide basis to 4.3 million oth-
                 erwise removable aliens.” Id. at 184, 186 n.202. It also
                 noted that Congress had repeatedly declined to enact
                 legislation “closely resembl[ing] DACA and DAPA.”
                 Id. at 185.
                     After briefing and argument, this Court affirmed the
                 Fifth Circuit’s judgment by an equally divided Court,
                 United States v. Texas, 136 S. Ct. 2271, 2272 (2016) (per
                 curiam), leaving the nationwide injunction in place.
                     d. In June 2017, Texas and other plaintiff States in
                 the Texas case announced their intention to amend their
                 complaint to challenge the original DACA policy. D. Ct.
                 Doc. 64-1, at 238-240 (Oct. 6, 2017).2 They asserted that
                 “[f ]or the[] same reasons that DAPA and Expanded
                 DACA’s unilateral Executive Branch conferral of eligi-
                 bility for lawful presence and work authorization was
                 unlawful, the original June 15, 2012 DACA memoran-
                 dum is also unlawful.” Id. at 239.
                     On September 5, 2017, rather than confront litiga-
                 tion challenging DACA on essentially the same grounds
                 that had succeeded in Texas before the same court for
                 the DAPA and expanded DACA policies, DHS decided
                 to wind down DACA in an orderly fashion. App. 111a-
                 119a. In the rescission memorandum, then-Acting Sec-
                 retary of Homeland Security Elaine Duke explained
                 that, “[t]aking into consideration the Supreme Court’s

                  2
                    Citations to the district court docket are to Regents of the Uni-
                 versity of California v. DHS, No. 17-cv-5211.




                                                                                        AR3322
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                 and the Fifth Circuit’s rulings in the ongoing litigation,”
                 as well as the Attorney General’s view that the DACA
                 policy was unlawful and that the “potentially imminent”
                 challenge to DACA would “likely * * * yield similar re-
                 sults” as the Texas litigation, “it is clear that the June
                 15, 2012 DACA program should be terminated.” App.
                 116a-117a. The Acting Secretary accordingly an-
                 nounced that, “[i]n the exercise of [her] authority in es-
                 tablishing national immigration policies and priorities,”
                 the original DACA memorandum was “rescind[ed].”
                 App. 117a.
                     The rescission memorandum stated, however, that
                 the government “[w]ill not terminate the grants of pre-
                 viously issued deferred action * * * solely based on the
                 directives in this memorandum” for the remaining two-
                 year periods. App. 118a. The memorandum also ex-
                 plained that DHS would “provide a limited window in
                 which it w[ould] adjudicate certain requests for DACA.”
                 App. 117a. Specifically, DHS would “adjudicate—on an
                 individual, case by case basis—properly filed pending
                 DACA renewal requests * * * from current beneficiar-
                 ies that have been accepted by the Department as of the
                 date of this memorandum, and from current beneficiar-
                 ies whose benefits will expire between the date of this
                 memorandum and March 5, 2018 that have been ac-
                 cepted by the Department as of October 5, 2017.” App.
                 117a-118a.
                     DHS has also made clear that the “information-
                 sharing policy has not changed in any way since it was
                 first announced, including as a result of the Sept. 5,
                 2017” DACA rescission. USCIS, DHS, Guidance on Re-
                 jected DACA Requests (Feb. 14, 2018), https://go.usa.gov/
                 xPVmG (DHS Information-Sharing Guidance); see




                                                                               AR3323
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                 USCIS, DHS, Frequently Asked Questions: Rescission
                 of DACA (Sept. 5, 2017), https://go.usa.gov/xPVmE.
                     e. Shortly after DHS’s decision to rescind DACA,
                 respondents brought these five related suits in the
                 Northern District of California challenging the rescis-
                 sion of DACA. Collectively, they allege that the termi-
                 nation of DACA is unlawful because it is arbitrary and
                 capricious under the APA; violates the APA’s require-
                 ment for notice-and-comment rulemaking as well as the
                 Regulatory Flexibility Act, 5 U.S.C. 601 et seq.; denies
                 respondents equal protection and due process; and per-
                 mits the government to use information obtained through
                 DACA in a manner inconsistent with principles of due
                 process and equitable estoppel. See App. 21a-22a. Sim-
                 ilar challenges were filed in the Eastern District of New
                 York and in the District of Columbia. See, e.g., Batalla
                 Vidal v. Nielsen, No. 16-cv-4756 (E.D.N.Y. filed Sept.
                 19, 2017); NAACP v. Trump, No. 17-cv-1907 (D.D.C.
                 filed Sept. 18, 2017). A summary of the proceedings in
                 the Northern District of California (Regents) follows in
                 this petition. A summary of the proceedings in the other
                 district courts can be found in the government’s petitions
                 in those cases, filed simultaneously with this one.3
                     2. In Regents, the government filed the administra-
                 tive record in October 2017. Litigation ensued in which
                 respondents obtained orders from the district court di-
                 recting a vast expansion of the administrative record, in
                 addition to immediate discovery. See, e.g., D. Ct. Doc.
                 79 (Oct. 17, 2017). The government sought review of


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                     The government largely prevailed in a similar challenge to the
                 rescission filed in the District of Maryland. See Casa de Maryland
                 v. Department of Homeland Sec., 284 F. Supp. 3d 758 (2018). An
                 appeal of that decision is pending before the Fourth Circuit.




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                 those orders in a mandamus petition in the court of ap-
                 peals, which a divided panel of the Ninth Circuit denied.
                 875 F.3d 1200 (2017). After granting a stay of the dis-
                 trict court’s orders, 138 S. Ct. 371 (2017), this Court
                 granted the government’s petition for a writ of certio-
                 rari, vacated the Ninth Circuit’s judgment, and re-
                 manded for further proceedings. 138 S. Ct. 443 (2017)
                 (per curiam). On remand, the district court stayed its
                 orders requiring expansion of the administrative record
                 and authorizing discovery “pending further order.”
                 D. Ct. Doc. 225, at 1 (Dec. 21, 2017).
                    While the litigation over the record proceeded, the
                 government filed a motion to dismiss all five suits under
                 Federal Rule of Civil Procedure 12(b)(1) and (6). D. Ct.
                 Doc. 114 (Nov. 1, 2017). At the threshold, the govern-
                 ment argued that respondents’ claims are not reviewa-
                 ble because DHS’s decision to rescind DACA is commit-
                 ted to agency discretion by law, see 5 U.S.C. 701(a)(2);
                 and because judicial review of the denial of deferred ac-
                 tion, if available at all, is barred under the INA prior to
                 the issuance of a final removal order, see 8 U.S.C. 1252.
                 The government also argued that respondents’ arbitrary-
                 and-capricious claims fail because DHS rationally ex-
                 plained the decision to wind down the discretionary
                 DACA policy given the Acting Secretary’s conclusion
                 that the policy is unlawful and the imminent risk of its
                 being invalidated in the Texas case. Finally, the gov-
                 ernment argued that respondents’ other claims are
                 without merit because the rescission of DACA is exempt
                 from notice-and-comment requirements; does not vio-
                 late principles of equal protection or due process; and
                 does not change or affect the policies governing the use
                 of aliens’ personal information.




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                    Respondents opposed the government’s motion to
                 dismiss and filed a motion for a preliminary injunction,
                 seeking to prevent the government from rescinding the
                 DACA policy. D. Ct. Doc. 111 (Nov. 1, 2017); D. Ct. Doc.
                 205 (Nov. 22, 2017).
                    3. On January 9, 2018, the district court denied the
                 motion to dismiss to the extent it was based on Rule
                 12(b)(1), and entered a preliminary injunction requiring
                 the government to “maintain the DACA program on a
                 nationwide basis.” App. 66a; see App. 1a-70a.
                    The district court first ruled that the rescission of
                 DACA was not committed to agency discretion by law.
                 The court acknowledged that an agency’s decisions “not
                 to prosecute or initiate enforcement actions are gener-
                 ally not reviewable as they are ‘committed to an agen-
                 cy’s absolute discretion.’ ” App. 27a (quoting Chaney,
                 470 U.S. at 831). But it concluded that the rescission of
                 DACA was different because it involved a “broad en-
                 forcement polic[y],” rather than an “ ‘individual enforce-
                 ment decision’ ”; it rescinded a policy of enforcement
                 discretion, instead of announcing a new one; and the
                 “main” rationale for rescinding the prior policy was its
                 “supposed illegality,” which the court concluded it was
                 authorized to assess. App. 28a-30a (citation omitted).
                 The court also concluded that the INA did not preclude
                 review because “plaintiffs do not challenge any particu-
                 lar removal but, rather, challenge the abrupt end to a
                 nationwide deferred-action and work-authorization pro-
                 gram.” App. 30a-31a.
                    The district court then ruled that respondents were
                 entitled to a preliminary injunction, concluding that
                 they had demonstrated a likelihood of success on their
                 claims that the rescission of DACA was arbitrary and
                 capricious. App. 41a-62a. The court acknowledged that




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                 “a new administration is entitled to replace old policies
                 with new policies so long as they comply with the law,”
                 App. 2a, and the court did not dispute that DACA was a
                 discretionary non-enforcement policy that was neither
                 mandated nor specifically authorized by statute. It
                 nonetheless concluded that respondents were likely to
                 succeed because “the agency’s decision to rescind
                 DACA was based on a flawed legal premise” and be-
                 cause the government’s “supposed ‘litigation risk’ ra-
                 tionale” was an invalid “post hoc rationalization” and,
                 “in any event, arbitrary and capricious.” App. 42a.
                     Finding that respondents had satisfied the remain-
                 ing equitable requirements for an injunction, App. 62a-
                 66a, the district court ordered the government, “pend-
                 ing final judgment” or other order, “to maintain the
                 DACA program on a nationwide basis on the same
                 terms and conditions as were in effect before the rescis-
                 sion on September 5, 2017.” App. 66a. The court spe-
                 cifically directed that the government must “allow[]
                 DACA enrollees to renew their enrollments.” Ibid.4
                     The district court sua sponte certified its order for
                 interlocutory appeal under 28 U.S.C. 1292(b), to the ex-



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                     The district court identified certain “exceptions” to its injunction
                 —namely, “(1) that new applications from applicants who have
                 never before received deferred action need not be processed;
                 (2) that the advance parole feature need not be continued for the
                 time being for anyone; and (3) that defendants may take adminis-
                 trative steps to make sure fair discretion is exercised on an individ-
                 ualized basis for each renewal application.” App. 66a-67a. The court
                 also specified that “[n]othing in [its] order” would prohibit DHS
                 from “remov[ing] any individual, including any DACA enrollee, who
                 it determines poses a risk to national security or public safety, or
                 otherwise deserves, in its judgment, to be removed.” App. 67a.




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                 tent it denied the “questions interposed by the govern-
                 ment in its motion to dismiss under [Rule] 12(b)(1).”
                 App. 70a.
                     4. On January 12, 2018, the district court issued a
                 further order granting in part and denying in part the
                 government’s motion to dismiss to the extent it was
                 based on Rule 12(b)(6). App. 71a-90a. The court de-
                 clined to dismiss respondents’ arbitrary-and-capricious
                 claims “[f ]or the same reasons” stated in its January 9
                 order. App. 72a. It declined to dismiss the equal-
                 protection claim, concluding that respondents’ allega-
                 tions “raise a plausible inference that racial animus to-
                 wards Mexicans and Latinos was a motivating factor in
                 the decision to end DACA.” App. 87a; see App. 83a-87a.
                 And it declined to dismiss the claim that DHS violated
                 substantive due process by allegedly “chang[ing] its
                 policy” on the use of personal information “provided by
                 DACA recipients,” reasoning that such a change would
                 “ ‘shock[] the conscience.’ ” App. 79a-81a (citation omit-
                 ted). The court dismissed respondents’ remaining
                 claims, including with respect to notice-and-comment,
                 the Regulatory Flexibility Act, procedural due process,
                 equitable estoppel, and equal protection based on a fun-
                 damental right to a job. App. 72a-79a, 81a-83a, 87a. The
                 court again sua sponte certified its order for interlocu-
                 tory appeal pursuant to 28 U.S.C. 1292(b). App. 89a.
                     5. Days later, the government filed notices of appeal
                 of the district court’s orders, App. 91a-95a, petitioned
                 the Ninth Circuit for interlocutory appeal of the district
                 court’s decisions resolving the government’s motion to
                 dismiss under Rule 12(b)(1) and (6), and filed a petition
                 for a writ of certiorari before judgment in this Court.




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                     The court of appeals granted the government’s peti-
                 tion for interlocutory appeal and consolidated the ap-
                 peals. App. 96a; see 18-15133 C.A. Doc. 3 (January 26,
                 2018). On February 26, 2018, this Court denied the gov-
                 ernment’s certiorari petition “without prejudice,” stat-
                 ing that it “assumed that the Court of Appeals will pro-
                 ceed expeditiously to decide this case.” 138 S. Ct. 1182.
                 But while briefing in the Ninth Circuit was completed
                 on April 17 and oral argument was held on May 15, the
                 court of appeals has not yet issued a decision as of the
                 printing of this petition.5
                     6. In June 2018, current Secretary of Homeland Se-
                 curity Kirstjen Nielsen issued a memorandum in re-
                 sponse to the district court in NAACP v. Trump, supra,
                 providing further explanation of DHS’s decision to re-
                 scind DACA. App. 120a-126a. Secretary Nielsen con-
                 cluded that “the DACA policy properly was—and
                 should be—rescinded, for several separate and inde-
                 pendently sufficient reasons.” App. 122a. First, the
                 Secretary agreed that “the DACA policy was contrary
                 to law” and explained that “[a]ny arguable distinctions
                 between the DAPA and DACA policies” were not “suf-
                 ficiently material” to convince her otherwise. Ibid.; see
                 App. 122a-123a. Second, the Secretary reasoned that,
                 in any event, “[l]ike Acting Secretary Duke, [she]
                 lack[s] sufficient confidence in the DACA policy’s legal-
                 ity to continue this non-enforcement policy, whether the
                 courts would ultimately uphold it or not.” App. 123a.


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                      On October 17, 2018, the government informed the court of ap-
                 peals that, “in order to ensure review by the Supreme Court during
                 its current Term,” it intended to file a petition for a writ of certiorari
                 before judgment if the court of appeals did not issue its judgment
                 by October 31. 18-15068 C.A. Doc. 198.




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                 She noted that “[t]here are sound reasons for a law en-
                 forcement agency to avoid discretionary policies that
                 are legally questionable.” App. 122a-123a. Third, the
                 Secretary offered several “reasons of enforcement pol-
                 icy to rescind the DACA policy,” regardless of whether
                 the policy is “illegal or legally questionable.” App. 123a.
                 The Secretary also explained that, although she “do[es]
                 not come to these conclusions lightly,” “neither any in-
                 dividual’s reliance on the expected continuation of the
                 DACA policy nor the sympathetic circumstances of
                 DACA recipients as a class” outweigh the reasons to
                 end the policy. App. 125a. The government promptly
                 informed the court of appeals of Secretary Nielsen’s
                 memorandum. 18-15068 C.A. Doc. 184 (June 22, 2018).
                        REASONS FOR GRANTING THE PETITION
                     These cases concern the Executive Branch’s author-
                 ity to revoke a discretionary policy of non-enforcement
                 that is sanctioning an ongoing violation of federal immi-
                 gration law by nearly 700,000 aliens. The DACA policy
                 is materially indistinguishable from the related policies
                 that the Fifth Circuit held were contrary to federal im-
                 migration law in a decision that four Justices of this
                 Court voted to affirm. No one contends that the policy
                 is required by federal law. And, in fact, consistent with
                 the view of the Department of Justice, DHS has decided
                 that the policy is unlawful and should be adopted only
                 by legislative action, not unilateral executive action.
                 Yet as a result of nationwide preliminary injunctions is-
                 sued by the District Courts in the Northern District of
                 California and the Eastern District of New York, DHS
                 has been required to keep the policy in place, now more
                 than a year since the agency’s decision.
                     In denying the government’s previous petition for a
                 writ of certiorari before judgment “without prejudice,”




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                 this Court “assumed that the Court of Appeals will pro-
                 ceed expeditiously to decide this case.” 138 S. Ct. 1182
                 (2018). That has not happened. Although the court of
                 appeals heard oral argument on May 15, 2018, it has yet
                 to issue its decision. And while no one, respondents in-
                 cluded, contends that the legality of DACA’s rescission
                 will be finally resolved without this Court’s review, ab-
                 sent prompt intervention from this Court, there is little
                 chance the Court would resolve this dispute for at least
                 another year.
                     Accordingly, the government today is filing petitions
                 for writs of certiorari before judgment to the Second,
                 Ninth, and D.C. Circuits, each of which has before it a
                 decision concluding that the rescission of DACA either
                 is or likely is unlawful. As explained below, those deci-
                 sions are wrong and they warrant this Court’s immedi-
                 ate review. The government presents each of these pe-
                 titions to ensure that the Court has an adequate vehicle
                 in which to resolve the questions presented in a timely
                 and definitive manner. The government respectfully
                 submits that the Court should grant each petition for a
                 writ of certiorari before judgment, consolidate these
                 cases for decision, and consider this important dispute
                 this Term.
                 I. THE QUESTIONS PRESENTED              WARRANT      THIS
                    COURT’S IMMEDIATE REVIEW
                    Congress has vested this Court with jurisdiction to
                 review “[c]ases in the courts of appeals * * * [b]y writ
                 of certiorari * * * before or after rendition of judgment
                 or decree.” 28 U.S.C. 1254(1) (emphasis added). “An
                 application * * * for a writ of certiorari to review a case
                 before judgment has been rendered in the court of ap-
                 peals may be made at any time before judgment.”




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                 28 U.S.C. 2101(e). This Court will grant certiorari be-
                 fore judgment “only upon a showing that the case is of
                 such imperative public importance as to justify devia-
                 tion from normal appellate practice and to require im-
                 mediate determination in this Court.” Sup. Ct. R. 11.
                 These cases satisfy that standard.
                     An immediate grant of certiorari is necessary to ob-
                 tain an appropriately prompt resolution of this important
                 dispute. Even if a losing party were immediately to
                 seek certiorari from a decision of one of the courts of
                 appeals, this Court would not be able to review that de-
                 cision in the ordinary course until next Term at the ear-
                 liest. In the interim, the government would be required
                 to retain a discretionary non-enforcement policy that
                 DHS and the Attorney General have correctly con-
                 cluded is unlawful and that sanctions the ongoing viola-
                 tion of federal law by more than half a million people.
                 And the very existence of this litigation (and resulting
                 uncertainty) would continue to impede efforts to enact
                 legislation addressing the legitimate policy concerns
                 underlying the DACA policy.
                     Such a delay is untenable and unnecessary. This
                 Court is already familiar with the relevant issues in
                 light of its consideration on plenary review of United
                 States v. Texas, 136 S. Ct. 2271 (2016) (per curiam). And
                 as the same district court that heard the Texas case has
                 recently held (and as explained below), the reasoning of
                 the Fifth Circuit’s decision in Texas holding DAPA and
                 the DACA expansion unlawful equally applies to DACA
                 itself. See Texas v. United States, No. 18-cv-68,
                 2018 WL 4178970, at *38 (S.D. Tex. Aug. 31, 2018). Only
                 this Court can resolve the conflict in the lower courts
                 and provide much-needed clarity to the government and
                 DACA recipients alike.




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                     More than eight months ago, this Court recognized
                 the need for an “expeditious[]” resolution of this dispute
                 in its order denying without prejudice the government’s
                 earlier petition. 138 S. Ct. 1182. The Court has granted
                 certiorari before judgment to promptly resolve other
                 important and time-sensitive disputes. See, e.g., Dames
                 & Moore v. Regan, 453 U.S. 654, 668 (1981); United
                 States v. Nixon, 418 U.S. 683, 686-687 (1974); Youngs-
                 town Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 584
                 (1952); cf. Stephen M. Shapiro et al., Supreme Court
                 Practice § 4.20, at 287-288 (10th ed. 2013) (collecting
                 cases where “[t]he public interest in a speedy determi-
                 nation” warranted certiorari before judgment). It
                 should follow the same course here.
                 II. THE DECISIONS BELOW ARE WRONG
                    Review is also warranted because the decisions be-
                 low are incorrect. DHS’s decision to rescind DACA—a
                 policy of enforcement discretion—is a classic determi-
                 nation that is “committed to agency discretion by law,”
                 5 U.S.C. 701(a)(2), and therefore unreviewable under
                 the APA. Even if DHS’s prospective denial of deferred
                 action were reviewable, that could only be at the behest
                 of an individual alien after a final order of removal was
                 entered against the alien. See 8 U.S.C. 1252. In any
                 event, the decision to rescind the DACA policy is not
                 arbitrary and capricious, does not violate equal-protection
                 or due-process principles, and is not otherwise unlawful.
                    A. DACA’s Rescission Is Unreviewable Under The APA
                    1. a. The APA precludes review of agency actions
                 that are “committed to agency discretion by law.”
                 5 U.S.C. 701(a)(2). “Over the years,” this Court has in-
                 terpreted that provision to apply to various types of




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                 agency decisions that “traditionally” have been re-
                 garded as unsuitable for judicial review. Lincoln v.
                 Vigil, 508 U.S. 182, 191 (1993). Section 701(a)(2) pre-
                 cludes review of an agency’s decision not to institute en-
                 forcement actions, Heckler v. Chaney, 470 U.S. 821, 831
                 (1985); an agency’s refusal to reconsider a prior decision
                 based on an alleged “material error,” I.C.C. v. Brother-
                 hood of Locomotive Eng’rs, 482 U.S. 270, 282 (1987)
                 (BLE); and an agency’s allocation of funds from a lump-
                 sum appropriation, Lincoln, 508 U.S. at 192. Such ex-
                 ercises of discretion, the Court has explained, often re-
                 quire “a complicated balancing of a number of factors
                 which are peculiarly within [the agency’s] expertise.”
                 Chaney, 470 U.S. at 831.
                     With respect to an agency’s enforcement discretion
                 in particular, an agency may “not only assess whether a
                 violation has occurred,” but “whether agency resources
                 are best spent on this violation or another”; whether en-
                 forcement in a particular scenario “best fits the agen-
                 cy’s overall policies”; and whether the agency “has
                 enough resources to undertake the action at all.”
                 Chaney, 470 U.S. at 831. In addition, the Court has
                 noted that when an agency declines to enforce, it “gen-
                 erally does not exercise its coercive power over an indi-
                 vidual’s liberty or property rights, and thus does not in-
                 fringe upon areas that courts often are called upon to
                 protect.” Id. at 832. In this way and others, agency en-
                 forcement discretion “shares to some extent the char-
                 acteristics of the decision of a prosecutor in the Execu-
                 tive Branch not to indict—a decision which has long
                 been regarded as the special province of the Executive
                 Branch.” Ibid.
                     b. DHS’s decision to discontinue the DACA policy
                 falls comfortably within the types of agency decisions




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                 that traditionally have been understood as “committed
                 to agency discretion.” 5 U.S.C. 701(a)(2). Like the de-
                 cision to adopt a policy of selective non-enforcement,
                 the decision whether to retain such a policy can “in-
                 volve[] a complicated balancing” of factors that are “pe-
                 culiarly within [the] expertise” of the agency, including
                 determining how the agency’s resources are best spent
                 and how the policy fits with the agency’s overall policies.
                 Chaney, 470 U.S. at 831. Likewise, a decision to aban-
                 don an existing non-enforcement policy will not, in it-
                 self, bring to bear the agency’s coercive power over any
                 individual. Indeed, an agency’s decision to reverse a
                 prior policy of civil non-enforcement is akin to changes
                 in policy as to criminal prosecutorial discretion, which
                 regularly occur within the U.S. Department of Justice
                 both within and between presidential administrations,
                 and which have never been considered amenable to ju-
                 dicial review. See United States v. Armstrong, 517 U.S.
                 456, 464 (1996).
                     This presumption of nonreviewability applies with
                 particular force when it comes to immigration. As this
                 Court has recognized, the “broad discretion exercised
                 by immigration officials” has become a “principal fea-
                 ture of the removal system.” Arizona v. United States,
                 567 U.S. 387, 396 (2012); see 6 U.S.C. 202(5) (2012 &
                 Supp. V 2017). And, unlike in the ordinary criminal con-
                 text, a decision not to enforce tolerates not merely past
                 misconduct but a “continuing violation of United States
                 law.” Reno v. American-Arab Anti-Discrimination
                 Comm., 525 U.S. 471, 490 (1999). Thus, in the absence
                 of a statutory directive “otherwise circumscribing” the
                 agency’s discretion, Chaney, 470 U.S. at 833, the Secre-
                 tary’s decisions establishing DHS’s enforcement prior-
                 ities for the Nation’s immigration laws are beyond a




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                 court’s authority to review. There is no such directive
                 here.
                     c. The district courts’ reasons for finding DHS’s de-
                 cision reviewable are unavailing.
                     First, it makes no difference that the rescission of
                 the DACA policy addressed a “broad enforcement
                 polic[y],” App. 28a, instead of an individual enforcement
                 decision. See Batalla Vidal App. 29a-30a. Agency de-
                 cisions about how its “resources are best spent” or how
                 certain enforcement activity “best fits the agency’s
                 overall policies,” Chaney, 470 U.S. at 831, are just as
                 susceptible to implementation through broad guidance
                 as through case-by-case enforcement decisions. See,
                 e.g., Wayte v. United States, 470 U.S. 598, 601-603
                 (1985). And Chaney itself concerned the programmatic
                 determination whether to enforce the Federal Food,
                 Drug, and Cosmetic Act, 21 U.S.C. 301 et seq., with re-
                 spect to drugs used to administer the death penalty.
                 See 470 U.S. at 824-825.
                     Nor does it matter that DHS has eliminated a policy
                 of non-enforcement, rather than adopted one. App. 29a-
                 30a; Batalla Vidal App. 30a. A decision whether to re-
                 tain a non-enforcement policy implicates all of the same
                 considerations about agency priorities and resources
                 that inform the decision to adopt such a policy in the
                 first instance. And because the rescission does not, by
                 itself, initiate removal proceedings, “like the FDA’s
                 non-enforcement decision in Chaney, there are no
                 agency proceedings here to provide a ‘focus for judicial
                 review,’ and DACA’s rescission does not itself involve
                 the exercise of coercive power over any person.”
                 NAACP App. 33a (citation omitted).
                     Finally, DHS’s decision is not reviewable simply be-
                 cause it rests on the agency’s view of the legality of the




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                 DACA policy, among other independent reasons. App.
                 30a; Batalla Vidal App. 30a; NAACP App. 42a-43a. An
                 otherwise unreviewable agency action does not “be-
                 come[] reviewable” because “the agency gives a ‘review-
                 able’ reason.” BLE, 482 U.S. at 283. In BLE, the ICC’s
                 decision not to reconsider a prior decision was therefore
                 unreviewable, even though the agency based that denial
                 on an interpretation of its legal obligations under the
                 Railway Labor Act, 45 U.S.C. 151 et seq. 482 U.S. at
                 276, 283. And in Chaney, the Food and Drug Admin-
                 istration’s decision not to enforce the misbranding pro-
                 hibition did not become reviewable even though it was
                 based, in part, on the agency’s understanding of its au-
                 thority to initiate such proceedings. 470 U.S. at 824.
                 The same is true here.
                    2. At a minimum, Congress has foreclosed district
                 courts from adjudicating collateral attacks on DHS’s
                 discretionary enforcement decisions and policies in the
                 manner pursued by respondents.
                    Under 8 U.S.C. 1252, judicial review of DHS enforce-
                 ment decisions is generally available, if at all, only
                 through the review procedures of removal orders set
                 forth in that section. In particular, Section 1252(g)
                 states that “[e]xcept as provided in this section * * * no
                 court shall have jurisdiction to hear any cause or claim
                 by or on behalf of any alien arising from the decision or
                 action by the [Secretary of Homeland Security] to com-
                 mence proceedings, adjudicate cases, or execute re-
                 moval orders against any alien under this subchapter.”
                 Section 1252(g) is “designed to give some measure of
                 protection to ‘no deferred action’ decisions and similar
                 discretionary determinations, providing that if they are
                 reviewable at all, they at least will not be made the ba-
                 ses for separate rounds of judicial intervention outside




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                 the streamlined process that Congress has designed.”
                 AADC, 525 U.S. at 485. That design is also reflected in
                 8 U.S.C. 1252(b)(9), which channels into the review of
                 final removal orders “all questions of law and fact * * *
                 arising from any action taken * * * to remove an alien
                 from the United States.” See AADC, 525 U.S. at 483
                 (describing Section 1252(b)(9) is an “unmistakable ‘zip-
                 per’ clause”); see also Jennings v. Rodriguez, 138 S. Ct.
                 830, 839-841 (2018) (plurality opinion); id. at 853-857
                 (Thomas, J., concurring in part and concurring in the
                 judgment).
                     Even in instances where the statutory text less
                 clearly precludes review, this Court has held that, when
                 it is fairly discernible that Congress intends a particular
                 review scheme to be exclusive, a plaintiff is not permit-
                 ted to circumvent that exclusive scheme by filing a
                 preemptive district-court action, but must instead pre-
                 sent his or her claims or defenses in the manner and to
                 the extent permitted by that review scheme. See Thun-
                 der Basin Coal Co. v. Reich, 510 U.S. 200, 207-209
                 (1994). The rescission of the DACA policy is precisely
                 the sort of “ ‘no deferred action’ decision[],” AADC,
                 525 U.S. at 485, and “part of the process by which
                 [the alien’s] removability will be determined,” Jen-
                 nings, 138 S. Ct. at 841 (plurality opinion), that Con-
                 gress intended to channel through the INA’s careful re-
                 view scheme. Respondents cannot escape that scheme
                 simply by filing suit before the agency has initiated an
                 enforcement proceeding against the individual respond-
                 ents. Respondents’ claims, “if they are reviewable at
                 all,” must be litigated in removal proceedings, not through
                 “separate rounds of judicial intervention” in federal dis-
                 trict court. AADC, 525 U.S. at 485.




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                    B. DACA’s Rescission Is Lawful
                    Even if DHS’s decision to rescind DACA is reviewa-
                 ble under the APA, it is plainly valid. Under the APA,
                 the decision must be upheld unless it is “arbitrary, ca-
                 pricious, an abuse of discretion, or otherwise not in ac-
                 cordance with law.” 5 U.S.C. 706(2)(A). That standard
                 of review requires only that the “agency ‘examine the
                 relevant data and articulate a satisfactory explanation
                 for its action.’ ” FCC v. Fox Television Stations, Inc.,
                 556 U.S. 502, 513 (2009) (citation omitted). “[A] court is
                 not to substitute its judgment for that of the agency.”
                 Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.
                 Ins. Co., 463 U.S. 29, 43 (1983). DHS’s decision to begin
                 an orderly wind-down of an indisputably discretionary
                 policy of non-enforcement based on serious doubts
                 about the legality of the policy, as well as the legal and
                 practical implications of maintaining such a policy with-
                 out statutory authority, easily passes that test. The dis-
                 trict courts’ contrary conclusions are unpersuasive.
                       1. The rescission is reasonable in light of DHS’s serious
                          doubts about the legality of the DACA policy
                    DHS reasonably rested its decision on the legal and
                 practical implications of maintaining a policy of non-
                 enforcement (original DACA) that is materially indis-
                 tinguishable from policies (DAPA and expanded DACA)
                 that were struck down by the Fifth Circuit in a decision
                 affirmed by this Court. Particularly in the face of the
                 threat by Texas and other States to challenge DACA,
                 that rationale alone provides a permissible reason for
                 initiating an orderly wind-down of the policy.
                    a. As an initial matter, the district courts in Regents
                 and Batalla Vidal erred in concluding that “[t]he Attor-
                 ney General’s letter and the Acting Secretary’s memo-
                 randum can only be reasonably read as stating DACA




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                 was illegal and that, given that DACA must, therefore,
                 be ended.” App. 56a (emphasis omitted); see Batalla
                 Vidal App. 110a. As the court in NAACP correctly rec-
                 ognized, DACA’s rescission is based on concerns that go
                 beyond the ultimate legality of DACA. Such concerns
                 are evident from the original rescission memorandum.
                 NAACP App. 56a; see Bowman Transp., Inc. v. Arkan-
                 sas-Best Freight Sys., Inc., 419 U.S. 281, 286 (1974)
                 (courts should uphold agency action based on any
                 ground that “may reasonably be discerned” from the
                 decision). And any doubt on that score is eliminated by
                 Secretary Nielsen’s subsequent statement that “re-
                 gardless of whether the DACA policy is ultimately ille-
                 gal, it was appropriately rescinded by DHS because
                 there are, at a minimum, serious doubts about its legal-
                 ity.” App. 123a.
                    b. That rationale is eminently reasonable. In Texas
                 v. United States, the Fifth Circuit concluded that DAPA
                 and expanded DACA were unlawful on both procedural
                 and substantive grounds. 809 F.3d 134, 178 (2015), aff ’d,
                 136 S. Ct. 2271 (2016); see id. at 147 n.11 (including the
                 “DACA expansions” within the opinion’s references to
                 “DAPA”). The entirety of the Fifth Circuit’s reasoning
                 applies equally to the original DACA policy. With re-
                 spect to procedure, the Fifth Circuit concluded that the
                 memorandum creating DAPA and expanding DACA
                 was not exempt from notice-and-comment as a state-
                 ment of policy based entirely on how the original DACA
                 policy had been implemented. See id. at 171-178.
                    As a matter of substance, the Fifth Circuit held that
                 DAPA and expanded DACA were contrary to the INA
                 because (1) “[i]n specific and detailed provisions,” the
                 INA already “confers eligibility for ‘discretionary re-




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                 lief,’ ” including “narrow classes of aliens eligible for de-
                 ferred action,” Texas, 809 F.3d at 179 (citation omitted);
                 (2) the INA’s otherwise “broad grants of authority”
                 could not reasonably be construed to assign to the Sec-
                 retary the authority to create additional categories of
                 aliens of “vast ‘economic and political significance,’ ” id.
                 at 183 (citation omitted); (3) DAPA and expanded
                 DACA were inconsistent with historical deferred-action
                 policies because they were not undertaken on a “ ‘country-
                 specific basis * * * in response to war, civil unrest, or
                 natural disasters,’ ” nor served as a “bridge[] from one
                 legal status to another,” id. at 184 (citation omitted);
                 and (4) “Congress ha[d] repeatedly declined to enact
                 the Development, Relief, and Education for Alien Mi-
                 nors Act (‘DREAM Act’), features of which closely re-
                 semble DACA and DAPA.” Id. at 185 (footnote omit-
                 ted). Every one of those factors also applies to the orig-
                 inal DACA policy. Indeed, the Southern District of
                 Texas recently determined, “guided by [that] Fifth Cir-
                 cuit precedent,” that the INA could not “ ‘reasonably be
                 construed’ ” to authorize the maintenance of that policy.
                 Texas, 2018 WL 4178970, at *38 (citation omitted); see
                 id. at *45-*47 (finding no material differences between
                 DAPA and DACA).6
                     In light of these similarities, DHS could permissibly
                 rescind the DACA policy based on the agency’s doubts
                 about the legality of the policy and its likely fate in the
                 courts. As Secretary Nielsen explained, “[a] central as-
                 pect of the exercise of a discretionary enforcement pol-


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                    The Southern District of Texas nevertheless declined to issue a
                 preliminary injunction enjoining the DACA policy in light of, among
                 other things, Texas’s delay in seeking injunctive relief. See Texas,
                 2018 WL 4178970, at *57-*62.




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                 icy is a judgment concerning whether DHS has suffi-
                 cient confidence in the legality of such policy.” App.
                 123a. The “sound reasons” to insist upon such confi-
                 dence “include the risk that [legally questionable] poli-
                 cies may undermine public confidence in and reliance on
                 the agency and the rule of law, and the threat of bur-
                 densome litigation that distracts from the agency’s
                 work.” Ibid. The arbitrary-and-capricious standard
                 does not allow a court “to substitute its judgment” for
                 such a “rational” explanation by a law-enforcement
                 agency. State Farm, 463 U.S. at 42-43.
                     c. Contrary to the district courts’ conclusions, DHS
                 did not fail to sufficiently consider the reliance interests
                 of DACA recipients. See App. 58a; Batalla Vidal App.
                 113a-114a; NAACP App. 106a-108a. When President
                 Obama announced DACA in 2012, he explained that it
                 was a “temporary stopgap measure,” not a “permanent
                 fix.” The White House, Remarks by the President on
                 Immigration (June 15, 2012), https://go.usa.gov/xnZFY.
                 And, by its own terms, DACA made deferred action
                 available for only two-year periods, which could “be ter-
                 minated at any time at the agency’s discretion.” App.
                 104a. By choosing a gradual and orderly administrative
                 wind-down of the policy rather than risk an immediate
                 disruptive court-imposed one, DHS ensured that exist-
                 ing DACA grants would be permitted to expire accord-
                 ing to their stated two-year terms and even permitted a
                 limited window for additional renewals. In any event,
                 as Secretary Nielsen explained, although the agency
                 was “keenly aware that DACA recipients have availed
                 themselves of the policy in continuing their presence in
                 this country and pursuing their lives,” it reasonably
                 found that any asserted reliance interests did not “out-
                 weigh the questionable legality of the DACA policy” or




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                 the other factors the agency considered. App. 125a. As
                 she observed, “[t]hat is especially so because issues of
                 reliance would best be considered by Congress, which
                 can assess and weigh a range of options.” Ibid. The
                 APA provides no basis to second-guess that judgment.
                       2. The rescission is reasonable in light of DHS’s
                          additional and independent policy concerns
                    DHS’s decision to rescind DACA is independently
                 supported by several additional enforcement-policy
                 concerns. Secretary Nielsen explained that “regardless
                 of whether * * * the DACA policy [is] illegal or legally
                 questionable, there are sound reasons of enforcement
                 policy to rescind the DACA policy.” App. 123a. Those
                 reasons include the agency’s determination that
                 (1) “DHS should enforce the policies reflected in the
                 laws adopted by Congress and should not adopt public
                 policies of non-enforcement of those laws for broad clas-
                 ses and categories of aliens under the guise of prosecu-
                 torial discretion”; (2) “DHS should only exercise its
                 prosecutorial discretion not to enforce the immigration
                 laws on a truly individualized, case-by-case basis”; and
                 (3) “it is critically important for DHS to project a mes-
                 sage that leaves no doubt regarding the clear, consistent,
                 and transparent enforcement of the immigration laws
                 against all classes and categories of aliens,” especially
                 given that “tens of thousands of minor aliens have ille-
                 gally crossed or been smuggled across our border in re-
                 cent years.” App. 123a-124a. Respondents may disa-
                 gree with these assessments, but they cannot be dis-
                 missed as irrational.
                    The NAACP court criticized these reasons as noth-
                 ing more than the Secretary’s “attempt to disguise * * *
                 objection[s] to DACA’s legality as * * * policy justifi-
                 cation[s] for its rescission,” NAACP App. 100a, and too




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                 “cursory” to serve as an independent basis for DHS’s
                 decision, id. at 102a-103a. That description, however,
                 runs directly counter to the Secretary’s explanation
                 that her policy concerns provided a “separate and inde-
                 pendently sufficient” reason for her conclusion that the
                 DACA policy “properly was—and should be—rescinded.”
                 App. 122a. The presumption of regularity (and princi-
                 ples of inter-Branch comity) require courts to presume
                 that executive officials—and certainly Cabinet officials
                 —are acting in good faith “in the absence of clear evi-
                 dence to the contrary.” Armstrong, 517 U.S. at 464 (ci-
                 tation omitted); cf. Harlow v. Fitzgerald, 457 U.S. 800,
                 807 (1982). Neither the fact that the Secretary’s policy
                 concerns may also inform her view on DACA’s legality,
                 nor the succinctness of her explanation, provides re-
                 motely sufficient evidence to overcome that presumption.7
                        3. The rescission is reasonable in light of DHS’s correct
                           determination that DACA is unlawful
                    Finally, DHS’s decision is also independently sup-
                 ported by its conclusion, informed by the Attorney Gen-
                 eral’s advice, that indefinitely continuing the DACA pol-
                 icy would itself have been unlawful. As detailed above,
                 the Fifth Circuit had already concluded that the DAPA
                 and expanded DACA policies were invalid in a decision

                  7
                     The NAACP court also reasoned that the Secretary’s “messag-
                 ing” rationale (the third enforcement-policy reason) was an imper-
                 missible “post hoc rationalization.” See NAACP App. 94a-95a. But
                 the court itself acknowledged that the purpose of that proposition
                 of administrative law is “simply to prevent courts from considering
                 ‘rationales offered by anyone other than the proper decisionmak-
                 ers.’ ” Id. at 92a (citation omitted). There is no dispute that Secre-
                 tary Nielsen is a “proper decisionmaker[]” for matters of immigra-
                 tion enforcement policies and priorities. Ibid.; see 6 U.S.C. 202(5)
                 (2012 & Supp. V 2017).




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                 that four Justices of this Court voted to affirm. See
                 pp. 24-25, supra. And the Attorney General expressed
                 his agreement with the conclusion reached by the Fifth
                 Circuit in a decision that applies equally to the original
                 DACA policy. See App. 116a. DHS’s conclusion is cor-
                 rect: DACA is unlawful. Regardless, it cannot be that
                 DHS’s decision to rescind DACA on the basis of the Fifth
                 Circuit’s decision, this Court’s equally divided affirmance,
                 and the Attorney General’s opinion was the type of “clear
                 error of judgment,” State Farm, 463 U.S. at 43 (citation
                 omitted), that would make it arbitrary and capricious un-
                 der the APA.
                    In Regents and Batalla Vidal, the district courts con-
                 cluded that DHS could not rely on an assessment of
                 DACA’s legality unless it is correct as a matter of law.
                 See App. 42a; Batalla Vidal App. 91a-92a. Relying on
                 the Secretary’s broad discretion in “[e]stablishing na-
                 tional immigration enforcement policies and priorities,”
                 6 U.S.C. 202(5) (2012 & Supp. V 2017), and DHS’s “long
                 and recognized practice” of granting deferred action on
                 a programmatic basis, those courts concluded that
                 DACA is lawful. App. 45a; see App. 42a-48a; Batalla
                 Vidal App. 102a-104a. But the Fifth Circuit rejected
                 those precise considerations when offered in support of
                 the DAPA and expanded DACA policies. See Texas,
                 809 F.3d at 183.
                    In NAACP, the district court declined to pass on the
                 legality of DACA, but concluded that DHS did not ade-
                 quately explain its own view. NAACP App. 49a-52a.
                 But, as explained above, the Fifth Circuit’s Texas deci-
                 sion provides a robust analysis of the legality of DAPA
                 and expanded DACA in a manner that applies with full
                 force to the original DACA policy. See pp. 24-25, supra.
                 The Duke and Nielsen memoranda make clear that




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                 DHS agrees with the Fifth Circuit’s conclusion that the
                 DAPA and expanded DACA policies were unlawful un-
                 der the INA and sees no meaningful distinctions. See
                 App. 122a (“Any arguable distinctions between the
                 DAPA and DACA policies are not sufficiently material
                 to convince me that the DACA policy is lawful.”); App.
                 117a. The law requires nothing more.
                        4. The rescission does not violate equal protection or
                           due process
                     The district courts also erred in failing to dismiss re-
                 spondents’ claims that DHS’s actions violate equal-
                 protection or due-process principles.
                     a. In Regents and Batalla Vidal, the district courts
                 declined to dismiss respondents’ claim that the rescis-
                 sion violates equal-protection principles incorporated in
                 the Due Process Clause of the Fifth Amendment. See
                 App. 83a-87a; Batalla Vidal App. 147a-157a.8 But that
                 claim is foreclosed by this Court’s decision in AADC,
                 which imposed a general bar on discriminatory-motive
                 claims in the immigration-enforcement context. Such
                 claims, the Court explained, “invade a special province
                 of the Executive—its prosecutorial discretion.” 525 U.S.
                 at 489; see Armstrong, 517 U.S. at 463-465. And in the
                 immigration context, this concern is “greatly magni-
                 fied” because such claims “permit and prolong a contin-
                 uing violation of United States law,” and also potentially
                 implicate foreign-policy concerns. AADC, 525 U.S. at
                 490. Although the district courts relied heavily on then-
                 candidate Trump’s “campaign rhetoric” unconnected to
                 DACA or DACA recipients, App. 85a; Batalla Vidal

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                    The NAACP court declined to reach the equal-protection chal-
                 lenge to the rescission in light of its statutory holding. See NAACP
                 App. 67a.




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                 App. 152a-153a, neither court suggested that such
                 statements trigger AADC ’s sole potential exception, re-
                 served for “a rare case in which the alleged basis of dis-
                 crimination is so outrageous that the foregoing consid-
                 erations can be overcome.” 525 U.S. at 491. Indeed,
                 even apart from AADC, the President’s statements are
                 wholly insufficient to suggest that Secretaries Duke and
                 Nielsen were motivated by racial animus in deciding to
                 rescind a policy sanctioning the ongoing violation of fed-
                 eral immigration law by 700,000 aliens, especially given
                 the serious questions about its legality.
                    b. The Regents court also found that the respondents
                 adequately stated a claim under substantive due process
                 based on DHS’s alleged change in its information-
                 sharing policy for personal information gathered from
                 DACA requestors. App. 79a-81a. But there has been
                 no such change and respondents have failed to plausibly
                 allege otherwise. See DHS Information-Sharing Guid-
                 ance; see also Batalla Vidal App. 159a-160a (dismissing
                 a similar claim on that basis); NAACP App. 71a-72a
                 (same). Nor would any change to the scope of excep-
                 tions to the information-sharing policy violate substan-
                 tive due process, especially given DHS’s express reser-
                 vation of rights to do so. See pp. 4-5, supra.9




                  9
                    The district courts also erred in enjoining the rescission of
                 DACA on a nationwide basis. For the reasons given by Justice
                 Thomas in his concurrence in Trump v. Hawaii, 138 S. Ct. 2392,
                 2424-2429 (2018), such relief exceeded the Article III power of the
                 court to remedy the concrete and particular injuries of the parties
                 before it; is inconsistent with longstanding equitable principles; and
                 undermines the sound administration of the federal court system.




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                 III. THE COURT SHOULD GRANT CERTIORARI BEFORE
                      JUDGMENT IN ALL THREE CASES
                    To ensure an adequate vehicle for the timely and de-
                 finitive resolution of this dispute, the Court should
                 grant the government’s petitions in Regents, Batalla
                 Vidal, and NAACP, and consolidate the cases for fur-
                 ther review.
                    A. This petition in Regents presents both of the
                 questions presented and all of the relevant claims, in-
                 cluding that the rescission of DACA is arbitrary and ca-
                 pricious; denies respondents equal protection and due
                 process; and violates the APA’s requirement for notice-
                 and-comment rulemaking. Although the district court’s
                 preliminary injunction rests only on respondents’
                 arbitrary-and-capricious claim, the district court ad-
                 dressed the remaining claims in its orders denying the
                 government’s motion to dismiss all of respondents’
                 claims on reviewability and merits grounds. By virtue
                 of the Ninth Circuit’s acceptance of the interlocutory
                 appeals of those orders and consolidation, a grant of
                 certiorari before judgment would bring before the
                 Court the entire case. Accordingly, this petition should
                 be granted.
                    B. As fully explained in the NAACP petition, the re-
                 lated cases before the D.C. Circuit also raise both ques-
                 tions presented. Respondents in those cases likewise
                 claim that the rescission is arbitrary and capricious; de-
                 nies respondents equal protection and due process; and
                 violates the APA’s procedures concerning notice-and-
                 comment rulemaking. In NAACP, however, respond-
                 ents do not present some of the more tangential claims
                 against the rescission, including, for example, that the
                 rescission violates principles of equitable estoppel. The
                 district court, moreover, did not pass on any constitutional




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                 challenges to the rescission. Nevertheless, the Court
                 should also grant certiorari in NAACP because that court
                 invited Secretary Nielsen’s supplemental memorandum,
                 and it is the only district court to have passed on the effect
                 of that memorandum on the questions presented.
                     C. Finally, as fully explained in the Batalla Vidal pe-
                 tition, the consolidated cases before the Second Circuit
                 at issue in Batalla Vidal in many ways replicate the con-
                 solidated cases before the Ninth Circuit at issue here.
                 The respondents in each set of cases present essentially
                 the same challenges to the rescission of DACA, and the
                 district courts entered identical nationwide preliminary
                 injunctions based exclusively on respondents’ arbitrary-
                 and-capricious claims. Because an order vacating the
                 injunction issued in Regents would have no practical
                 consequence unless the injunction in Batalla Vidal was
                 similarly vacated, the Court should at least hold the Ba-
                 talla Vidal petition pending resolution of the other pe-
                 titions. But to ensure that no developments in the lower
                 courts between the filing of this petition and the Court’s
                 resolution of the case undermine the Court’s ability to
                 provide a definitive resolution of this overall dispute,
                 the government respectfully submits that the Court
                 should also issue a writ of certiorari to the Second Circuit.
                                        * * * * *
                     In 2012, DHS adopted a temporary, stop-gap policy of
                 enforcement discretion, allowing some 700,000 aliens to
                 remain in the United States even though existing laws
                 provided them no ability to do so. After a change in ad-
                 ministrations, DHS announced that it was ending that pol-
                 icy based on serious doubts about its legality and the prac-
                 tical implications of maintaining it. Secretary Nielsen has
                 since made clear that DHS’s decision also rests on policy
                 considerations wholly apart from any legality concerns. It




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                 is plainly within DHS’s authority to set the Nation’s im-
                 migration enforcement priorities and to end the discre-
                 tionary DACA policy. By order of two district courts,
                 however, DHS has been required to maintain that policy
                 on a nationwide basis for over a year, even while efforts
                 by the President and others to provide a sound legal basis
                 for the policy through the legislative process have failed.
                 More than eight months ago, this Court recognized that
                 this dispute called for an expeditious resolution. That is
                 even more evident today. The Court should grant review
                 in these cases and ensure that it can provide a timely and
                 definitive resolution of the dispute this Term.
                                       CONCLUSION
                    The petition for a writ of certiorari before judgment
                 should be granted.
                    Respectfully submitted.
                                                  NOEL J. FRANCISCO
                                                    Solicitor General
                                                  JOSEPH H. HUNT
                                                    Assistant Attorney
                                                     General
                                                  JEFFREY B. WALL
                                                    Deputy Solicitor General
                                                  HASHIM M. MOOPPAN
                                                    Deputy Assistant Attorney
                                                     General
                                                  JONATHAN Y. ELLIS
                                                    Assistant to the Solicitor
                                                     General
                                                  MARK B. STERN
                                                  ABBY C. WRIGHT
                                                  THOMAS PULHAM
                                                    Attorneys
                 NOVEMBER 2018




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                                     No.

                 In the Supreme Court of the United States
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                               ET AL., PETITIONERS

                                           v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL.

                         ON PETITION FOR A WRIT OF CERTIORARI
                        BEFORE JUDGMENT TO THE UNITED STATES
                         COURT OF APPEALS FOR THE D.C. CIRCUIT


                        PETITION FOR A WRIT OF CERTIORARI
                                BEFORE JUDGMENT


                                                NOEL J. FRANCISCO
                                                  Solicitor General
                                                   Counsel of Record
                                                JOSEPH H. HUNT
                                                  Assistant Attorney
                                                   General
                                                JEFFREY B. WALL
                                                  Deputy Solicitor General
                                                HASHIM M. MOOPPAN
                                                  Deputy Assistant Attorney
                                                   General
                                                JONATHAN Y. ELLIS
                                                  Assistant to the Solicitor
                                                   General
                                                MARK B. STERN
                                                ABBY C. WRIGHT
                                                THOMAS PULHAM
                                                  Attorneys
                                                 Department of Justice
                                                 Washington, D.C. 20530-0001
                                                 SupremeCtBriefs@usdoj.gov
                                                 (202) 514-2217




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                                QUESTIONS PRESENTED
                    This dispute concerns the policy of immigration en-
                 forcement discretion known as Deferred Action for
                 Childhood Arrivals (DACA). In 2016, this Court af-
                 firmed, by an equally divided Court, a decision of the
                 Fifth Circuit holding that two related Department of
                 Homeland Security (DHS) discretionary enforcement
                 policies, including an expansion of the DACA policy,
                 were likely unlawful and should be enjoined. See
                 United States v. Texas, 136 S. Ct. 2271 (per curiam). In
                 September 2017, DHS determined that the original
                 DACA policy was unlawful and would likely be struck
                 down by the courts on the same grounds as the related
                 policies. DHS thus instituted an orderly wind-down of
                 the DACA policy. The questions presented are as follows:
                    1. Whether DHS’s decision to wind down the DACA
                 policy is judicially reviewable.
                    2. Whether DHS’s decision to wind down the DACA
                 policy is lawful.




                                           (I)




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                            PARTIES TO THE PROCEEDING
                    Petitioners are Donald J. Trump, President of the
                 United States; Jefferson B. Sessions III, Attorney Gen-
                 eral of the United States; Kirstjen M. Nielsen, Secre-
                 tary of Homeland Security; U.S. Citizenship and Immi-
                 gration Services; U.S. Immigration and Customs En-
                 forcement; the U.S. Department of Homeland Security;
                 and the United States.
                    Respondents are the Trustees of Princeton Univer-
                 sity; Microsoft Corporation; Maria De La Cruz Perales
                 Sanchez; National Association for the Advancement of
                 Colored People; American Federation of Teachers,
                 AFL-CIO; and the United Food and Commercial Work-
                 ers International Union, AFL-CIO, CLC.




                                          (II)




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                 In the Supreme Court of the United States
                                        No.
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                               ET AL., PETITIONERS

                                              v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL.

                          ON PETITION FOR A WRIT OF CERTIORARI
                         BEFORE JUDGMENT TO THE UNITED STATES
                          COURT OF APPEALS FOR THE D.C. CIRCUIT


                          PETITION FOR A WRIT OF CERTIORARI
                                  BEFORE JUDGMENT


                    The Solicitor General, on behalf of the President of
                 the United States, Donald J. Trump, and other federal
                 parties, respectfully petitions for a writ of certiorari be-
                 fore judgment to the United States Court of Appeals for
                 the District of Columbia Circuit.
                                     OPINIONS BELOW
                     The order of the district court granting respondents
                 summary judgment (App. 1a-74a) is reported at
                 298 F. Supp. 3d 209. The order of the district court de-
                 clining to reconsider its prior order (App. 80a-109a) is
                 reported at 315 F. Supp. 3d 457.
                                       JURISDICTION
                    On April 24, 2018, the district court granted respond-
                 ents summary judgment (App. 1a-74a). The district
                 court declined to reconsider its prior order and entered

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                 final judgment on August 3, 2018 (App. 80a-109a). The
                 government filed its notice of appeal on August 6, 2018
                 (App. 112a-115a). The court of appeals’ jurisdiction over
                 the appeal of the district court’s final judgment rests on
                 28 U.S.C. 1291. The jurisdiction of this Court is invoked
                 under 28 U.S.C. 1254(1) and 28 U.S.C. 2101(e).
                          STATUTORY PROVISIONS INVOLVED
                     Pertinent statutory provisions are set forth in the
                 appendix to the petition for a writ of certiorari before
                 judgment in United States Department of Homeland
                 Security v. Regents of the University of California, also
                 filed today. Regents App. 127a-143a.
                                       STATEMENT
                     1. a. The Immigration and Nationality Act (INA),
                 8 U.S.C. 1101 et seq., charges the Secretary of Home-
                 land Security “with the administration and enforcement”
                 of the immigration laws. 8 U.S.C. 1103(a)(1). Individual
                 aliens are subject to removal if, inter alia, “they were
                 inadmissible at the time of entry, have been convicted
                 of certain crimes, or meet other criteria set by federal
                 law.” Arizona v. United States, 567 U.S. 387, 396 (2012);
                 see 8 U.S.C. 1182(a) (2012 & Supp. V 2017); see also
                 8 U.S.C. 1227(a) (2012 & Supp. V 2017). As a practical
                 matter, however, the federal government cannot remove
                 every removable alien, and a “principal feature of the re-
                 moval system is the broad discretion exercised by immi-
                 gration officials.” Arizona, 567 U.S. at 396.
                     For any alien subject to removal, Department of
                 Homeland Security (DHS) officials must first “decide
                 whether it makes sense to pursue removal at all.” Ari-
                 zona, 567 U.S. at 396. After removal proceedings begin,
                 government officials may decide to grant discretionary
                 relief, such as asylum or cancellation of removal. See
                 8 U.S.C. 1158(b)(1)(A), 1229b. And, “[a]t each stage” of




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                 the process, “the Executive has discretion to abandon the
                 endeavor.” Reno v. American-Arab Anti-Discrimination
                 Comm., 525 U.S. 471, 483 (1999) (AADC). In making
                 these decisions, like other agencies exercising enforce-
                 ment discretion, DHS must engage in “a complicated
                 balancing of a number of factors which are peculiarly
                 within its expertise.” Heckler v. Chaney, 470 U.S. 821,
                 831 (1985). Recognizing the need for such balancing,
                 Congress has provided that the “Secretary [of Home-
                 land Security] shall be responsible for * * * [e]stablish-
                 ing national immigration enforcement policies and pri-
                 orities.” 6 U.S.C. 202(5) (2012 & Supp. V 2017).
                    b. In 2012, DHS announced the policy known as
                 Deferred Action for Childhood Arrivals (DACA). See
                 Regents App. 97a-101a. Deferred action is a practice in
                 which the Secretary exercises discretion to notify an al-
                 ien of her decision to forbear from seeking his removal
                 for a designated period. AADC, 525 U.S. at 484. Under
                 DHS regulations, aliens granted deferred action may
                 apply for and receive work authorization for the dura-
                 tion of the deferred-action grant if they establish eco-
                 nomic necessity. 8 C.F.R. 274a.12(c)(14). A grant of de-
                 ferred action does not confer lawful immigration status
                 or provide any defense to removal. DHS retains discre-
                 tion to revoke deferred action unilaterally, and the alien
                 remains removable at any time.
                    DACA made deferred action available to “certain
                 young people who were brought to this country as chil-
                 dren.” Regents App. 97a. The INA does not provide
                 any exemptions or special relief from removal for such
                 individuals. And, dating back to at least 2001, biparti-
                 san efforts to provide such relief legislatively had




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                 failed.1 Under the DACA policy, following successful
                 completion of a background check and other review, an
                 alien would receive deferred action for a period of two
                 years, subject to renewal. Id. at 99a-100a. The policy
                 made clear that it “confer[red] no substantive right, im-
                 migration status or pathway to citizenship,” because
                 “[o]nly the Congress, acting through its legislative au-
                 thority, can confer these rights.” Id. at 101a.
                     DHS explained that information provided in the
                 DACA request process would be protected from disclo-
                 sure for the purpose of immigration enforcement pro-
                 ceedings unless certain criteria related to national secu-
                 rity or public safety were satisfied, or the individual met
                 the requirements for a Notice to Appear. USCIS, DHS,
                 Deferred Action for Childhood Arrivals: Frequently
                 Asked Questions (Mar. 8, 2018), https://go.usa.gov/
                 xngCd. DHS also stated, however, that this information-
                 sharing policy “may be modified, superseded, or re-
                 scinded at any time without notice,” and that it “may not
                 be relied upon to create any right or benefit, substantive
                 or procedural, enforceable at law by any party in any ad-
                 ministrative, civil, or criminal matter.” Id. at 6.
                     Later, in 2014, DHS created a new policy of enforce-
                 ment discretion referred to as Deferred Action for Par-
                 ents of Americans and Lawful Permanent Residents
                 (DAPA). See Regents App. 102a-110a. Through a pro-
                 cess expressly designed to be “similar to DACA,”
                 DAPA made deferred action available for certain indi-
                 viduals who had a child who was a U.S. citizen or lawful
                 permanent resident. Id. at 107a. At the same time,

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                     See, e.g., S. 1291, 107th Cong., 1st Sess. (2001); S. 1545,
                 108th Cong., 1st Sess. (2003); S. 2075, 109th Cong., 1st Sess. (2005);
                 S. 2205, 110th Cong., 1st Sess. (2007); S. 3827, 111th Cong., 2d Sess.
                 (2010).




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                 DHS also expanded DACA by extending the deferred-
                 action period from two to three years and by loosening
                 the age and residency criteria. Id. at 106a-107a.
                    c. Soon thereafter, Texas and 25 other States
                 brought suit in the Southern District of Texas to enjoin
                 DAPA and the expansion of DACA. The district court
                 issued a nationwide preliminary injunction, finding a
                 likelihood of success on the claim that the DAPA and
                 expanded DACA memorandum was a “ ‘substantive’ rule
                 that should have undergone the notice-and-comment rule
                 making procedure” required by the Administrative
                 Procedure Act (APA), 5 U.S.C. 551 et seq. Texas v.
                 United States, 86 F. Supp. 3d 591, 671 (S.D. Tex. 2015);
                 see id. at 607, 647, 664-678.
                    The Fifth Circuit affirmed the injunction, holding
                 that the DAPA and expanded DACA policies likely vio-
                 lated both the APA and the INA. Texas v. United
                 States, 809 F.3d 134, 146, 170-186 (2015). The court of
                 appeals concluded that plaintiffs had “established a sub-
                 stantial likelihood of success on the merits of their pro-
                 cedural claim” that DAPA and expanded DACA were
                 invalidly instituted without notice and comment. Id. at
                 178. The court also concluded, “as an alternate and ad-
                 ditional ground,” that the policies were substantively
                 contrary to law. Ibid. The court observed that the INA
                 contains an “intricate system of immigration classifica-
                 tions and employment eligibility,” and “does not grant
                 the Secretary discretion to grant deferred action and
                 lawful presence on a class-wide basis to 4.3 million oth-
                 erwise removable aliens.” Id. at 184, 186 n.202. It also
                 noted that Congress had repeatedly declined to enact
                 legislation “closely resembl[ing] DACA and DAPA.”
                 Id. at 185.




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                     After briefing and argument, this Court affirmed the
                 Fifth Circuit’s judgment by an equally divided Court,
                 United States v. Texas, 136 S. Ct. 2271, 2272 (2016) (per
                 curiam), leaving the nationwide injunction in place.
                     d. In June 2017, Texas and other plaintiff States in
                 the Texas case announced their intention to amend their
                 complaint to challenge the original DACA policy. D. Ct.
                 Doc. 60, at 238-240 (Feb. 16, 2018).2 They asserted that
                 “[f ]or the[] same reasons that DAPA and Expanded
                 DACA’s unilateral Executive Branch conferral of eligi-
                 bility for lawful presence and work authorization was
                 unlawful, the original June 15, 2012 DACA memoran-
                 dum is also unlawful.” Id. at 239.
                     On September 5, 2017, rather than confront litiga-
                 tion challenging DACA on essentially the same grounds
                 that had succeeded in Texas before the same court for
                 the DAPA and expanded DACA policies, DHS decided
                 to wind down DACA in an orderly fashion. Regents
                 App. 111a-119a. In the rescission memorandum, then-
                 Acting Secretary of Homeland Security Elaine Duke
                 explained that, “[t]aking into consideration the Su-
                 preme Court’s and the Fifth Circuit’s rulings in the on-
                 going litigation,” as well as the Attorney General’s view
                 that the DACA policy was unlawful and that the “poten-
                 tially imminent” challenge to DACA would “likely * * *
                 yield similar results” as the Texas litigation, “it is clear
                 that the June 15, 2012 DACA program should be termi-
                 nated.” Id. at 116a-117a. The Acting Secretary accord-
                 ingly announced that, “[i]n the exercise of [her] author-
                 ity in establishing national immigration policies and pri-
                 orities,” the original DACA memorandum was “re-
                 scind[ed].” Id. at 117a.

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                     Citations to the district court docket are to Trustees of Prince-
                 ton University v. United States, No. 17-cv-2325.




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                     The rescission memorandum stated, however, that
                 the government “[w]ill not terminate the grants of pre-
                 viously issued deferred action * * * solely based on the
                 directives in this memorandum” for the remaining two-
                 year periods. Regents App. 118a. The memorandum
                 also explained that DHS would “provide a limited win-
                 dow in which it w[ould] adjudicate certain requests for
                 DACA.” Id. at 117a. Specifically, DHS would “adjudicate
                 —on an individual, case by case basis—properly filed
                 pending DACA renewal requests * * * from current
                 beneficiaries that have been accepted by the Depart-
                 ment as of the date of this memorandum, and from cur-
                 rent beneficiaries whose benefits will expire between
                 the date of this memorandum and March 5, 2018 that
                 have been accepted by the Department as of October 5,
                 2017.” Id. at 117a-118a.
                     DHS has also made clear that the “information-sharing
                 policy has not changed in any way since it was first an-
                 nounced, including as a result of the Sept. 5, 2017”
                 DACA rescission. USCIS, DHS, Guidance on Rejected
                 DACA Requests (Feb. 14, 2018), https://go.usa.gov/
                 xPVmG; see USCIS, DHS, Frequently Asked Questions:
                 Rescission of DACA (Sept. 5, 2017), https://go.usa.gov/
                 xPVmE.
                     e. Shortly after DHS’s decision to rescind DACA,
                 respondents brought these two related suits in the Dis-
                 trict of Columbia challenging the rescission of DACA.
                 Collectively, they allege that the termination of DACA
                 is unlawful because it is arbitrary and capricious under
                 the APA; violates the APA’s requirement for notice-
                 and-comment rulemaking as well as the Regulatory
                 Flexibility Act, 5 U.S.C. 601 et seq.; denies respondents
                 equal protection and due process; and permits the gov-
                 ernment to use information obtained through DACA in




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                 a manner that is inconsistent with due-process princi-
                 ples. See App. 17a-18a. Similar challenges were filed
                 in the Eastern District of New York and in the North-
                 ern District of California. See Batalla Vidal v. Nielsen,
                 No. 16-cv-4756 (E.D.N.Y. filed Sept. 19, 2017); Regents
                 of the Univ. of Cal. v. DHS, No. 17-cv-5211 (N.D. Cal.
                 filed Sept. 8, 2017). A summary of the proceedings in
                 the District of Columbia (NAACP) follows in this peti-
                 tion. A summary of the proceedings in the other district
                 courts can be found in the government’s petitions in
                 those cases, filed simultaneously with this one.3
                     2. In NAACP, the government filed motions to dis-
                 miss both suits under Federal Rule of Civil Procedure
                 12(b)(1) and (6). D. Ct. Doc. 15 (Nov. 8, 2017). At the
                 threshold, the government argued that respondents’
                 claims are not reviewable because DHS’s decision to re-
                 scind DACA is committed to agency discretion by law,
                 see 5 U.S.C. 701(a)(2); and because judicial review of the
                 denial of deferred action, if available at all, is barred un-
                 der the INA prior to the issuance of a final removal or-
                 der, see 8 U.S.C. 1252. The government also argued
                 that respondents’ arbitrary-and-capricious claims fail
                 because DHS rationally explained the decision to wind
                 down the discretionary DACA policy given the Acting
                 Secretary’s conclusion that the policy is unlawful and
                 the imminent risk of its being invalidated in the Texas
                 case. Finally, the government argued that respondents’
                 other claims are without merit because the rescission of
                 DACA is exempt from notice-and-comment require-
                 ments; does not violate principles of equal protection or

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                     The government largely prevailed in a similar challenge to the
                 rescission filed in the District of Maryland. See Casa de Maryland
                 v. DHS, 284 F. Supp. 3d 758 (2018). An appeal of that decision is
                 pending before the Fourth Circuit.




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                 due process; and does not change or affect the policies
                 governing the use of aliens’ personal information.
                     Respondents opposed the government’s motions to
                 dismiss and filed a motion for summary judgment or, in
                 the alternative, a preliminary injunction preventing the
                 government from rescinding the DACA policy and from
                 modifying its information-sharing policy. D. Ct. Docs.
                 23, 28 (Dec. 15, 2017).
                     3. On April 24, 2018, the district court entered an or-
                 der granting respondents summary judgment and vacat-
                 ing the agency’s rescission of DACA. App. 1a-74a.
                     The district court first rejected the government’s
                 justiciability arguments. The court concluded that the
                 INA did not preclude review of respondents’ claims be-
                 fore a final order of removal on the ground that “there
                 is no allegation here that removal proceedings have yet
                 been initiated against any DACA beneficiary, so there
                 are no pending removal proceedings with which [re-
                 spondents’] challenge might interfere.” App. 21a. And
                 the court determined that the rescission of DACA was
                 not “committed to agency discretion by law,” 5 U.S.C
                 701(a)(2), on the ground that Section 701(a)(2) does not
                 apply to an agency’s rescission of “a general enforce-
                 ment policy predicated on [a] legal determination that
                 the program was invalid.” App. 43a. The court also rea-
                 soned that litigation risk “is insufficiently independent
                 from the agency’s evaluation of DACA’s legality to trig-
                 ger Chaney’s presumption of unreviewability.” Ibid.
                     On the merits, the district court concluded that the
                 rescission was arbitrary and capricious under the APA
                 because the rescission memorandum’s “legal reasoning
                 was insufficient to satisfy the Department’s obligation
                 to explain its departure from its prior stated view that
                 DACA was lawful.” App. 51a. The court acknowledged




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                 that the memorandum cited the Fifth Circuit’s decision
                 in Texas. Ibid. But the court interpreted that decision
                 as holding only that “DAPA likely conflicted with the
                 INA’s ‘intricate process for illegal aliens to derive a law-
                 ful immigration classification from their children’s im-
                 migration status.’ ” Ibid. (citation omitted). The court
                 reasoned that, “unlike DAPA, ‘DACA has “no analogue
                 in the INA,” ’ ” and thus the Fifth Circuit’s analysis was
                 “inapposite.” Ibid. (citations omitted). The court also
                 concluded that DHS had failed to adequately consider
                 reliance interests of DACA recipients who had struc-
                 tured their affairs “on the assumption that they would
                 be able to renew their DACA benefits.” App. 54a. Fi-
                 nally, the court determined that DHS’s litigation-risk
                 concern was arbitrary and capricious because, if a court
                 were to find DACA unlawful under the Texas decision,
                 it would have had “ ‘broad discretion’ to ‘fashion[] equi-
                 table relief,’ ” such as allowing DHS an “opportunity to
                 wind the program down.” App. 58a (citation omitted;
                 brackets in original).
                     The district court rejected respondents’ claim that the
                 rescission should have undergone notice-and-comment
                 rulemaking, explaining that the rescission was “exempt
                 from notice and comment as a general statement of
                 agency policy.” App. 48a. And the court dismissed the
                 respondents’ claim against DHS’s alleged change in its
                 information-sharing policy. App. 71a-72a. The court
                 reasoned that, in light of DHS’s recent public state-
                 ments that the policy was unchanged, respondents had
                 not “plausibly allege[d] that DACA beneficiaries’ infor-
                 mation has been or will be used inconsistently with
                 DHS’s stated information-sharing policy.” App. 72a.




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                     Finally, the court deferred ruling on respondents’
                 equal-protection and due-process challenges to the re-
                 scission of DACA. App. 66a-67a. And the court stayed
                 its order for 90 days to permit the Secretary of Homeland
                 Security to “reissue a memorandum rescinding DACA,
                 this time providing a fuller explanation.” App. 66a.
                     4. On June 22, 2018, current Secretary of Homeland
                 Security Kirstjen Nielsen issued a memorandum in re-
                 sponse to the district court’s invitation. Regents App.
                 120a-126a. In her memorandum, Secretary Nielsen
                 concluded that “the DACA policy properly was—and
                 should be—rescinded, for several separate and inde-
                 pendently sufficient reasons.” App. 122a. First, the
                 Secretary agreed that “the DACA policy was contrary
                 to law” and explained that “[a]ny arguable distinctions
                 between the DAPA and DACA policies” were not “suf-
                 ficiently material” to convince her otherwise. Ibid.; see
                 App. 122a-123a. Second, the Secretary reasoned that,
                 in any event, “[l]ike Acting Secretary Duke, [she]
                 lack[s] sufficient confidence in the DACA policy’s legal-
                 ity to continue this non-enforcement policy, whether the
                 courts would ultimately uphold it or not.” App. 123a.
                 She noted that “[t]here are sound reasons for a law en-
                 forcement agency to avoid discretionary policies that
                 are legally questionable.” App. 122a-123a. Third, the
                 Secretary offered several “reasons of enforcement pol-
                 icy to rescind the DACA policy,” regardless of whether
                 the policy is “illegal or legally questionable.” App. 123a.
                 The Secretary also explained that, although she “do[es]
                 not come to these conclusions lightly,” “neither any in-
                 dividual’s reliance on the expected continuation of the
                 DACA policy nor the sympathetic circumstances of
                 DACA recipients as a class” outweigh the reasons to
                 end the policy. App. 125a.




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                     5. On August 3, 2018, the district court denied the
                 government’s motion to reconsider its prior order in
                 light of Secretary Nielsen’s memorandum. App. 80a-
                 109a. The court largely accepted that the Nielsen mem-
                 orandum provided a relevant “ ‘further explanation’ ” for
                 DHS’s decision, rather than (as respondents’ urged) an
                 impermissible “post hoc rationalization.” App. 91a (ci-
                 tation omitted).4 But it concluded that the memoran-
                 dum did not provide a basis to revisit its reviewability
                 or merits determinations. App. 95a-108a.
                     On reviewability, the district court observed that the
                 Nielsen memorandum, like the rescission memoran-
                 dum, was based in part on the view that “the DACA pol-
                 icy was contrary to law.” App. 97a (citation omitted).
                 And the court reasoned that “ ‘an otherwise reviewable’
                 legal interpretation ‘does not become presumptively
                 unreviewable simply because the agency characterizes it
                 as an exercise of enforcement discretion.’ ” App. 95a-96a
                 (citation omitted). It rejected the independent non-legal
                 policy reasons offered by Secretary Nielsen as simply an
                 “attempt to disguise an objection to DACA’s legality as
                 a policy justification for its rescission.” App. 100a.
                     On the merits, the district court reaffirmed its con-
                 clusion that the rescission of DACA is arbitrary and ca-
                 pricious because it did not find DHS’s explanation to in-
                 clude a sufficient “legal assessment that th[e] [c]ourt



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                    The district court refused to consider one of the several
                 enforcement-policy reasons offered by the Secretary on the ground
                 that it was a post hoc rationalization—namely, the importance for
                 DHS to “project a message that leaves no doubt regarding the clear,
                 consistent, and transparent enforcement of the immigration laws
                 against all classes and categories of aliens,” Regents App. 124a. See
                 App. 94a.




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                 could subject to judicial review.” App. 105a. As for Sec-
                 retary Nielsen’s other rationales, the court expressed
                 skepticism that the Secretary actually considered them
                 to be “ ‘independently sufficient’ ” given the court’s con-
                 clusion that “three of those grounds—the substantial-
                 doubts, legislative-inaction, and individualized-discretion
                 rationales—simply recapitulate the Secretary’s inade-
                 quately explained legal assessment.” App. 106a (citation
                 omitted). In any event, the court reasoned that the Sec-
                 retary’s memorandum “fails to engage meaningfully
                 with the reliance interests and other countervailing fac-
                 tors that weigh against ending the program.” Ibid. In
                 the court’s view, Secretary Nielsen “demonstrates no
                 true cognizance of the serious reliance interests at issue
                 here” and therefore the court refused to “accept as suf-
                 ficient” her determination that “any reliance interests
                 are outweighed” by the Secretary’s other concerns
                 about the DACA policy. App. 107a.
                     The government filed notices of appeal from the dis-
                 trict court’s final judgment on August 6, 2018. App.
                 112a-115a. On August 17, the district court stayed its
                 order vacating the rescission of DACA insofar as the or-
                 der granted relief beyond that already granted by the dis-
                 trict courts in Regents and Batalla Vidal. D. Ct. Doc. 31.
                        REASONS FOR GRANTING THE PETITION
                     These cases concern the Executive Branch’s author-
                 ity to revoke a discretionary policy of non-enforcement
                 that is sanctioning an ongoing violation of federal immi-
                 gration law by nearly 700,000 aliens. The DACA policy
                 is materially indistinguishable from the related policies
                 that the Fifth Circuit held were contrary to federal im-
                 migration law in a decision that four Justices of this
                 Court voted to affirm. No one contends that the policy
                 is required by federal law. And, in fact, consistent with




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                 the view of the Department of Justice, DHS has decided
                 that the policy is unlawful and should be adopted only
                 by legislative action, not unilateral executive action.
                 Yet as a result of nationwide preliminary injunctions is-
                 sued by the District Courts in the Northern District of
                 California and the Eastern District of New York, DHS
                 has been required to keep the policy in place, now more
                 than a year since the agency’s decision.
                    The government today is filing petitions for writs of
                 certiorari before judgment to the Second, Ninth, and
                 D.C. Circuits, each of which has before it a decision con-
                 cluding that the rescission of DACA either is or likely is
                 unlawful. As explained in the Regents petition, those
                 decisions are wrong and they warrant this Court’s im-
                 mediate review. The government presents each of these
                 petitions to ensure that the Court has an adequate ve-
                 hicle in which to resolve the questions presented in a
                 timely and definitive manner. The government respect-
                 fully submits that the Court should grant each petition
                 for a writ of certiorari before judgment, consolidate
                 these cases for decision, and consider this important
                 dispute this Term.
                    A. The Questions Presented Warrant The Court’s Immediate
                       Review
                     The government’s petition in Regents explains in de-
                 tail why a grant of certiorari is necessary in order to
                 obtain an appropriately prompt resolution of this im-
                 portant dispute. Regents Pet. 15-17. More than eight
                 months ago, this Court recognized the need for an “ex-
                 peditious[]” resolution of this dispute in its order dis-
                 missing without prejudice the government’s petition for
                 a writ of certiorari before judgment in Department of
                 Homeland Sec. v. Regents of the University of Califor-
                 nia, 138 S. Ct. 1182 (2018). Absent certiorari before




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                 judgment, even if a losing party were immediately to
                 seek certiorari from a decision of one of the courts of
                 appeals, this Court would not be able to review that de-
                 cision in the ordinary course until next Term at the ear-
                 liest. In the interim, the government would be required
                 to retain a discretionary non-enforcement policy that
                 DHS and the Attorney General have correctly con-
                 cluded is unlawful and that sanctions the ongoing viola-
                 tion of federal law by more than half a million people.
                 And the very existence of this litigation (and resulting
                 uncertainty) would continue to impede efforts to enact
                 legislation addressing the legitimate policy concerns
                 underlying the DACA policy.
                    B. These Cases Squarely Present The Reviewability And
                       The Lawfulness Of DACA’s Rescission
                    The cases pending before the D.C. Circuit squarely
                 present both of the questions presented. The respond-
                 ents raise all of the principal challenges to the lawful-
                 ness of the rescission of DACA, including that it is arbi-
                 trary and capricious, that it should have gone through
                 notice-and-comment rulemaking, and that it violates
                 equal-protection and due-process principles. The gov-
                 ernment moved to dismiss all of respondents’ claims on
                 justiciability and merits grounds. Respondents op-
                 posed dismissal for all of their claims and moved for
                 summary judgment on the arbitrary-and-capricious and
                 notice-and-comment claims. And the district court’s fi-
                 nal judgment rests on essentially the same arbitrary-
                 and-capricious claim on which the district courts in Re-
                 gents and Batalla Vidal rest their nationwide prelimi-
                 nary injunctions.
                    These cases, moreover, present at least one ad-
                 vantage over the cases at issue in Regents and Batalla
                 Vidal. Secretary Nielsen issued her memorandum,




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                 which provides further explanation for DHS’s decision
                 to rescind DACA, in response to an order from the dis-
                 trict court in these cases. And she did so after the deci-
                 sions in Regents and Batalla Vidal were on appeal. As
                 a result, the district court here is the only court to have
                 addressed the effect of that memorandum on the ques-
                 tions presented (including by considering and rejecting
                 respondents’ arguments that Secretary Nielsen’s expla-
                 nation should be disregarded in its entirety as post hoc
                 rationalization).
                    A grant of certiorari before judgment to the D.C. Cir-
                 cuit would therefore ensure that the district court’s anal-
                 ysis of Secretary Nielsen’s memorandum is before this
                 Court, and it would allow the Court to resolve, at a mini-
                 mum, the government’s justiciability arguments and the
                 arbitrary-and-capricious claim after a final judgment.
                    C. The Court Should Grant Each Of The Government’s
                       Petitions And Consolidate The Cases For Consideration
                       This Term
                    To ensure an adequate vehicle for the timely and de-
                 finitive resolution of this dispute, in addition to granting
                 the government’s petition in these cases, the Court
                 should also grant the petitions for a writ of certiorari be-
                 fore judgment in Regents and Batalla Vidal, and consol-
                 idate the cases for further review. Although respondents
                 here present the principal challenges against the rescis-
                 sion of DACA, they do not present some of the more tan-
                 gential claims against the rescission, including, for exam-
                 ple, that the rescission violates principles of equitable es-
                 toppel, and their equal-protection challenge is premised
                 on DHS’ alleged discrimination on the basis of DACA re-
                 cipients’ unlawful immigration status, not their race.
                 The district court in these cases, moreover, did not pass
                 on any constitutional challenges to the rescission.




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                    The government thus respectfully submits that the
                 Court should grant all three petitions and consolidate
                 the cases for this Court’s review. In so doing, the Court
                 would ensure that no intervening developments in the
                 lower courts—for example, a reversal by the Second or
                 Ninth Circuits of one of the preliminary injunctions—
                 would impede or complicate the Court’s ability to reach
                 all of the claims against the rescission of DACA on
                 which respondents have prevailed in the lower courts
                 and thus provide a definitive resolution of this dispute
                 this Term.
                                      CONCLUSION
                    The petition for a writ of certiorari before judgment
                 should be granted.
                    Respectfully submitted.
                                                 NOEL J. FRANCISCO
                                                   Solicitor General
                                                 JOSEPH H. HUNT
                                                   Assistant Attorney
                                                    General
                                                 JEFFREY B. WALL
                                                   Deputy Solicitor General
                                                 HASHIM M. MOOPPAN
                                                   Deputy Assistant Attorney
                                                    General
                                                 JONATHAN Y. ELLIS
                                                   Assistant to the Solicitor
                                                    General
                                                 MARK B. STERN
                                                 ABBY C. WRIGHT
                                                 THOMAS PULHAM
                                                   Attorneys
                 NOVEMBER 2018




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                                    No.

                 In the Supreme Court of the United States
                   KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                           SECURITY, ET AL., PETITIONERS
                                          v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                         ON PETITION FOR A WRIT OF CERTIORARI
                        BEFORE JUDGMENT TO THE UNITED STATES
                       COURT OF APPEALS FOR THE SECOND CIRCUIT


                        PETITION FOR A WRIT OF CERTIORARI
                                BEFORE JUDGMENT


                                               NOEL J. FRANCISCO
                                                 Solicitor General
                                                  Counsel of Record
                                               JOSEPH H. HUNT
                                                 Assistant Attorney
                                                  General
                                               JEFFREY B. WALL
                                                 Deputy Solicitor General
                                               HASHIM M. MOOPPAN
                                                 Deputy Assistant Attorney
                                                  General
                                               JONATHAN Y. ELLIS
                                                 Assistant to the Solicitor
                                                  General
                                               MARK B. STERN
                                               ABBY C. WRIGHT
                                               THOMAS PULHAM
                                                 Attorneys
                                                Department of Justice
                                                Washington, D.C. 20530-0001
                                                SupremeCtBriefs@usdoj.gov
                                                (202) 514-2217




                                                                              AR3374
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                                QUESTIONS PRESENTED
                    This dispute concerns the policy of immigration en-
                 forcement discretion known as Deferred Action for
                 Childhood Arrivals (DACA). In 2016, this Court af-
                 firmed, by an equally divided Court, a decision of the
                 Fifth Circuit holding that two related Department of
                 Homeland Security (DHS) discretionary enforcement
                 policies, including an expansion of the DACA policy,
                 were likely unlawful and should be enjoined. See
                 United States v. Texas, 136 S. Ct. 2271 (per curiam). In
                 September 2017, DHS determined that the original
                 DACA policy was unlawful and would likely be struck
                 down by the courts on the same grounds as the related
                 policies. DHS thus instituted an orderly wind-down of
                 the DACA policy. The questions presented are as follows:
                    1. Whether DHS’s decision to wind down the DACA
                 policy is judicially reviewable.
                    2. Whether DHS’s decision to wind down the DACA
                 policy is lawful.




                                           (I)




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                              PARTIES TO THE PROCEEDING
                    Petitioners are Kirstjen M. Nielsen, Secretary of
                 Homeland Security; the U.S. Department of Homeland
                 Security; Jefferson B. Sessions III, Attorney General of
                 the United States; Donald J. Trump, President of the
                 United States; U.S. Citizenship and Immigration Ser-
                 vices; U.S. Immigration and Customs Enforcement;
                 and the United States.
                    Respondents are Martin Jonathan Batalla Vidal, An-
                 tonio Alarcon, Eliana Fernandez, Carlos Vargas,
                 Mariano Mondragon, and Carolina Fung Feng, on be-
                 half of themselves and all other similarly situated individ-
                 uals; Make the Road New York, on behalf of itself, its
                 members, its clients, and all similarly situated individuals;
                 the State of New York; the State of Massachusetts; the
                 State of Washington; the State of Connecticut; the State
                 of Delaware; the District of Columbia; the State of Ha-
                 waii; the State of Illinois; the State of Iowa; the State of
                 New Mexico; the State of North Carolina; the State of Or-
                 egon; the State of Pennsylvania; the State of Rhode Is-
                 land; the State of Vermont; the State of Virginia; and the
                 State of Colorado.




                                             (II)




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                 In the Supreme Court of the United States
                                       No.
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                            SECURITY, ET AL., PETITIONERS
                                        v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                          ON PETITION FOR A WRIT OF CERTIORARI
                         BEFORE JUDGMENT TO THE UNITED STATES
                        COURT OF APPEALS FOR THE SECOND CIRCUIT


                         PETITION FOR A WRIT OF CERTIORARI
                                 BEFORE JUDGMENT


                    The Solicitor General, on behalf of the Secretary of
                 Homeland Security and other federal parties, respect-
                 fully petitions for a writ of certiorari before judgment
                 to the United States Court of Appeals for the Second
                 Circuit.
                                    OPINIONS BELOW
                     The order of the district court granting in part and
                 denying in part the government’s motion to dismiss un-
                 der Federal Rule of Civil Procedure 12(b)(1) (App. 1a-58a)
                 is reported at 295 F. Supp. 3d 127. The order of the
                 district court granting respondents’ motion for a pre-
                 liminary injunction (App. 62a-129a) is reported at
                 279 F. Supp. 3d 401. The order of the district court
                 granting in part and denying in part the government’s
                 motion to dismiss under Rule 12(b)(6) (App. 133a-171a)
                 is reported at 291 F. Supp. 3d 260.

                                             (1)




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                                             2
                                      JURISDICTION
                     On November 9, 2017, the district court granted in
                 part and denied in part the government’s Rule 12(b)(1)
                 motion (App. 1a-58a), and certified its decision for inter-
                 locutory appeal on January 8, 2018. The government
                 filed a notice of appeal of that decision the same day
                 (App. 59a-61a), and the court appeals granted permis-
                 sion to appeal that decision on July 5, 2018 (App. 175a-
                 176a). The district court entered a preliminary injunc-
                 tion on February 13, 2018 (App. 62a-129a). The govern-
                 ment filed a notice of appeal of the preliminary injunc-
                 tion on February 20, 2018 (App. 130a-132a). The district
                 court granted in part and denied in part the govern-
                 ment’s Rule 12(b)(6) motion on March 29, 2018 (App.
                 133a-171a), and certified its decision for interlocutory
                 appeal on April 30, 2018. The government filed a notice
                 of appeal of that decision on May 21, 2018 (App. 172a-
                 174a), and the court of appeals granted permission to
                 appeal that decision on July 5, 2018 (App. 175a-176a).
                 The court of appeals’ jurisdiction over the appeal of the
                 preliminary injunction rests on 28 U.S.C. 1292(a)(1).
                 The court of appeals’ jurisdiction over the appeals of the
                 certified rulings rests on 28 U.S.C. 1292(b). The juris-
                 diction of this Court is invoked under 28 U.S.C. 1254(1)
                 and 28 U.S.C. 2101(e).
                          STATUTORY PROVISIONS INVOLVED
                     Pertinent statutory provisions are set forth in the
                 appendix to the petition for a writ of certiorari before
                 judgment in United States Department of Homeland
                 Security v. Regents of the University of California, also
                 filed today. Regents App. 127a-143a.




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                                              3
                                        STATEMENT
                    1. a. The Immigration and Nationality Act (INA),
                 8 U.S.C. 1101 et seq., charges the Secretary of Home-
                 land Security “with the administration and enforce-
                 ment” of the immigration laws. 8 U.S.C. 1103(a)(1). In-
                 dividual aliens are subject to removal if, inter alia, “they
                 were inadmissible at the time of entry, have been con-
                 victed of certain crimes, or meet other criteria set by fed-
                 eral law.” Arizona v. United States, 567 U.S. 387, 396
                 (2012); see 8 U.S.C. 1182(a) (2012 & Supp. V 2017); see
                 also 8 U.S.C. 1227(a) (2012 & Supp. V 2017). As a practi-
                 cal matter, however, the federal government cannot re-
                 move every removable alien, and a “principal feature of
                 the removal system is the broad discretion exercised by
                 immigration officials.” Arizona, 567 U.S. at 396.
                    For any alien subject to removal, Department of
                 Homeland Security (DHS) officials must first “decide
                 whether it makes sense to pursue removal at all.” Ari-
                 zona, 567 U.S. at 396. After removal proceedings begin,
                 government officials may decide to grant discretionary
                 relief, such as asylum or cancellation of removal.
                 See 8 U.S.C. 1158(b)(1)(A), 1229b. And, “[a]t each
                 stage” of the process, “the Executive has discretion to
                 abandon the endeavor.” Reno v. American-Arab Anti-
                 Discrimination Comm., 525 U.S. 471, 483 (1999)
                 (AADC). In making these decisions, like other agencies
                 exercising enforcement discretion, DHS must engage in
                 “a complicated balancing of a number of factors which
                 are peculiarly within its expertise.” Heckler v. Chaney,
                 470 U.S. 821, 831 (1985). Recognizing the need for such
                 balancing, Congress has provided that the “Secretary
                 [of Homeland Security] shall be responsible for * * *
                 [e]stablishing national immigration enforcement policies
                 and priorities.” 6 U.S.C. 202(5) (2012 & Supp. V 2017).




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                     b. In 2012, DHS announced the policy known as
                 Deferred Action for Childhood Arrivals (DACA). See
                 Regents App. 97a-101a. Deferred action is a practice in
                 which the Secretary exercises discretion to notify an al-
                 ien of her decision to forbear from seeking his removal
                 for a designated period. AADC, 525 U.S. at 484. Under
                 DHS regulations, aliens granted deferred action may
                 apply for and receive work authorization for the dura-
                 tion of the deferred-action grant if they establish eco-
                 nomic necessity. 8 C.F.R. 274a.12(c)(14). A grant of de-
                 ferred action does not confer lawful immigration status
                 or provide any defense to removal. DHS retains discre-
                 tion to revoke deferred action unilaterally, and the alien
                 remains removable at any time.
                     DACA made deferred action available to “certain
                 young people who were brought to this country as chil-
                 dren.” Regents App. 97a. The INA does not provide
                 any exemptions or special relief from removal for such
                 individuals. And, dating back to at least 2001, biparti-
                 san efforts to provide such relief legislatively had
                 failed.1 Under the DACA policy, following successful
                 completion of a background check and other review, an
                 alien would receive deferred action for a period of two
                 years, subject to renewal. Id. at 99a-100a. The policy
                 made clear that it “confer[red] no substantive right, im-
                 migration status or pathway to citizenship,” because
                 “[o]nly the Congress, acting through its legislative au-
                 thority, can confer these rights.” Id. at 101a.



                  1
                     See, e.g., S. 1291, 107th Cong., 1st Sess. (2001); S. 1545,
                 108th Cong., 1st Sess. (2003); S. 2075, 109th Cong., 1st Sess. (2005);
                 S. 2205, 110th Cong., 1st Sess. (2007); S. 3827, 111th Cong., 2d Sess.
                 (2010).




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                                              5

                     DHS explained that information provided in the
                 DACA request process would be protected from disclo-
                 sure for the purpose of immigration enforcement pro-
                 ceedings unless certain criteria related to national secu-
                 rity or public safety were satisfied, or the individual met
                 the requirements for a Notice to Appear. USCIS, DHS,
                 Deferred Action for Childhood Arrivals: Frequently
                 Asked Questions (Mar. 8, 2018), https://go.usa.gov/
                 xngCd. DHS also stated, however, that this infor-
                 mation-sharing policy “may be modified, superseded, or
                 rescinded at any time without notice,” and that it “may
                 not be relied upon to create any right or benefit, sub-
                 stantive or procedural, enforceable at law by any party
                 in any administrative, civil, or criminal matter.” Id. at 6.
                     Later, in 2014, DHS created a new policy of enforce-
                 ment discretion referred to as Deferred Action for Par-
                 ents of Americans and Lawful Permanent Residents
                 (DAPA). See Regents App. 102a-110a. Through a pro-
                 cess expressly designed to be “similar to DACA,”
                 DAPA made deferred action available for certain indi-
                 viduals who had a child who was a U.S. citizen or lawful
                 permanent resident. Id. at 107a. At the same time,
                 DHS also expanded DACA by extending the deferred-
                 action period from two to three years and by loosening
                 the age and residency criteria. Id. at 106a-107a.
                     c. Soon thereafter, Texas and 25 other States
                 brought suit in the Southern District of Texas to enjoin
                 DAPA and the expansion of DACA. The district court
                 issued a nationwide preliminary injunction, finding
                 a likelihood of success on the claim that the DAPA
                 and expanded DACA memorandum was a “ ‘substantive’
                 rule that should have undergone the notice-and-
                 comment rule making procedure” required by the Ad-
                 ministrative Procedure Act (APA), 5 U.S.C. 551 et seq.




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                 Texas v. United States, 86 F. Supp. 3d 591, 671 (S.D.
                 Tex. 2015); see id. at 607, 647, 664-678.
                     The Fifth Circuit affirmed the injunction, holding
                 that the DAPA and expanded DACA policies likely vio-
                 lated both the APA and the INA. Texas v. United
                 States, 809 F.3d 134, 146, 170-186 (2015). The court of
                 appeals concluded that plaintiffs had “established a sub-
                 stantial likelihood of success on the merits of their pro-
                 cedural claim” that DAPA and expanded DACA were
                 invalidly instituted without notice and comment. Id. at
                 178. The court also concluded, “as an alternate and ad-
                 ditional ground,” that the policies were substantively
                 contrary to law. Ibid. The court observed that the INA
                 contains an “intricate system of immigration classifica-
                 tions and employment eligibility,” and “does not grant
                 the Secretary discretion to grant deferred action and
                 lawful presence on a class-wide basis to 4.3 million oth-
                 erwise removable aliens.” Id. at 184, 186 n.202. It also
                 noted that Congress had repeatedly declined to enact
                 legislation “closely resembl[ing] DACA and DAPA.”
                 Id. at 185.
                     After briefing and argument, this Court affirmed the
                 Fifth Circuit’s judgment by an equally divided Court,
                 United States v. Texas, 136 S. Ct. 2271, 2272 (2016) (per
                 curiam), leaving the nationwide injunction in place.
                     d. In June 2017, Texas and other plaintiff States in
                 the Texas case announced their intention to amend their
                 complaint to challenge the original DACA policy. D. Ct.
                 Doc. 77, at 238-240 (Oct. 6, 2017). 2 They asserted that
                 “[f ]or the[] same reasons that DAPA and Expanded
                 DACA’s unilateral Executive Branch conferral of eligi-
                 bility for lawful presence and work authorization was

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                    Citations to the district court docket are to Batalla Vidal v.
                 Nielsen, No. 16-cv-4756.




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                 unlawful, the original June 15, 2012 DACA memoran-
                 dum is also unlawful.” Id. at 239.
                     On September 5, 2017, rather than confront litiga-
                 tion challenging DACA on essentially the same grounds
                 that had succeeded in Texas before the same court for
                 the DAPA and expanded DACA policies, DHS decided
                 to wind down DACA in an orderly fashion. Regents
                 App. 111a-119a. In the rescission memorandum, then-
                 Acting Secretary of Homeland Security Elaine Duke
                 explained that, “[t]aking into consideration the Su-
                 preme Court’s and the Fifth Circuit’s rulings in the on-
                 going litigation,” as well as the Attorney General’s view
                 that the DACA policy was unlawful and that the “poten-
                 tially imminent” challenge to DACA would “likely * * *
                 yield similar results” as the Texas litigation, “it is clear
                 that the June 15, 2012 DACA program should be termi-
                 nated.” Id. at 116a-117a. The Acting Secretary accord-
                 ingly announced that, “[i]n the exercise of [her] author-
                 ity in establishing national immigration policies and pri-
                 orities,” the original DACA memorandum was “re-
                 scind[ed].” Id. at 117a.
                     The rescission memorandum stated, however, that
                 the government “[w]ill not terminate the grants of pre-
                 viously issued deferred action * * * solely based on the
                 directives in this memorandum” for the remaining two-
                 year periods. Regents App. 118a. The memorandum
                 also explained that DHS would “provide a limited win-
                 dow in which it w[ould] adjudicate certain requests for
                 DACA.” Id. at 117a. Specif ically, DHS would “adjudicate
                 —on an individual, case by case basis—properly filed
                 pending DACA renewal requests * * * from current
                 beneficiaries that have been accepted by the Depart-
                 ment as of the date of this memorandum, and from cur-
                 rent beneficiaries whose benefits will expire between




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                 the date of this memorandum and March 5, 2018 that
                 have been accepted by the Department as of October 5,
                 2017.” Id. at 117a-118a.
                     DHS has also made clear that the “information-
                 sharing policy has not changed in any way since it was
                 first announced, including as a result of the Sept. 5,
                 2017” DACA rescission. USCIS, DHS, Guidance on Re-
                 jected DACA Requests (Feb. 14, 2018), https://go.usa.
                 gov/xPVmG; see USCIS, DHS, Frequently Asked Ques-
                 tions: Rescission of DACA (Sept. 5, 2017), https://go.usa.
                 gov/xPVmE.
                     e. Respondents—including individual DACA recipi-
                 ents, 16 States, and the District of Columbia—brought
                 these two related suits in the Eastern District of New
                 York challenging the rescission of DACA. Collectively,
                 they allege that the termination of DACA is unlawful be-
                 cause it is arbitrary and capricious under the APA; vio-
                 lates the APA’s requirement for notice-and-comment
                 rulemaking as well as the Regulatory Flexibility Act,
                 5 U.S.C. 601 et seq.; denies respondents equal protection
                 and due process; and permits the government to use in-
                 formation obtained through DACA in a manner incon-
                 sistent with principles of due process and equitable es-
                 toppel. See App. 12a-17a. Similar challenges were filed
                 in the Northern District of California and in the District
                 of Columbia. See, e.g., Regents of the Univ. of Cal. v.
                 Department of Homeland Sec., No. 17-cv-5211 (N.D. Cal.
                 filed Sept. 8, 2017); NAACP v. Trump, No. 17-cv-1907
                 (D.D.C. filed Sept. 18, 2017). A summary of the pro-
                 ceedings in the Eastern District of New York (Batalla
                 Vidal) follows in this petition. A summary of the pro-
                 ceedings in the other district courts can be found in the




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                 government’s petitions in those cases, filed simultane-
                 ously with this one.3
                    2. In Batalla Vidal, the government filed the admin-
                 istrative record in October 2017, and the district court
                 set December 15 as the deadline for the government’s
                 motion to dismiss. As in the parallel Northern District
                 of California litigation, before the government filed its
                 dispositive motion, the district court permitted re-
                 spondents to engage in broad discovery and directed a
                 vast expansion of the administrative record. D. Ct. Doc.
                 90, at 10-11 (Oct. 19, 2017). And, as in Regents, the gov-
                 ernment sought review of the district court’s orders in
                 a petition for a writ of mandamus in the court of appeals.
                    While the government’s mandamus petition was
                 pending before the Second Circuit, this Court ordered
                 the district court in Regents to resolve the government’s
                 threshold arguments and to consider whether interloc-
                 utory appeal was appropriate, before considering
                 whether any record expansion was necessary. See In re
                 United States, 138 S. Ct. 443, 445 (2017) (per curiam).
                 One week later, the Second Circuit denied the govern-
                 ment’s petition for writ of mandamus in these cases.
                 17-3345 C.A. Doc. 171 (Dec. 27, 2017). At the same time,
                 however, the court of appeals recognized—as had this
                 Court—that the burdensome obligations imposed by
                 the district court’s orders could be obviated if the dis-
                 trict court were “to certify its ruling [on the govern-
                 ment’s threshold defenses] for interlocutory appeal,”
                 and noted that “it may be prudent for the District Court


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                     The government largely prevailed in a similar challenge to the
                 rescission filed in the District of Maryland. See Casa de Maryland
                 v. Department of Homeland Sec., 284 F. Supp. 3d 758 (2018). An
                 appeal of that decision is pending before the Fourth Circuit.




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                 to stay discovery pending the resolution of such pro-
                 ceedings.” Id. at 4. Following the court of appeals’ de-
                 cision, on December 30, 2017, the district court stayed
                 its orders requiring expansion of the administrative
                 record and authorizing discovery. Those orders remain
                 stayed.
                    3. While the litigation over the record proceeded,
                 the government filed its motion to dismiss these suits
                 under Federal Rule of Civil Procedure 12(b)(1) and (6).
                 D. Ct. Doc. 95 (Oct. 27, 2017). On November 9, the dis-
                 trict court denied in part and granted in part the gov-
                 ernment’s motion to dismiss under Rule 12(b)(1). App.
                 1a-58a.
                    The district court first rejected the government’s ar-
                 gument that the rescission of DACA was unreviewable
                 under the APA because it was “committed to agency
                 discretion by law,” 5 U.S.C. 701(a)(2). App. 24a-34a. It
                 distinguished Chaney, supra, on the grounds that
                 (1) these cases concern the rescission of a policy of non-
                 enforcement, rather than the refusal to take a specific
                 enforcement action, and (2) in the court’s view the re-
                 scission was not based on a “complicated balancing” of
                 factors “within [the agency’s] expertise,” but on DHS’s
                 determination that the DACA policy was unlawful.
                 App. 29a (quoting Chaney, 470 U.S. at 831) (brackets in
                 original). The court also held that the INA, 8 U.S.C.
                 1252, did not require respondents’ claims to be chan-
                 neled through that statute’s review scheme because the
                 rescission of DACA itself “did not trigger any specific
                 enforcement proceedings.” App. 35a.
                    The district court dismissed on standing grounds the
                 respondents’ claim that DHS failed to provide sufficient
                 notice of the rescission, as well as the States’ claims
                 based on DHS’s alleged change in its information-sharing




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                 policy. App. 134a-171a. But it found that respondents
                 adequately alleged standing to raise their remaining
                 claims (including the individual respondents’ claims
                 based on DHS’s alleged change in its information-sharing
                 policy). App. 39a-56a. And it deferred consideration of
                 the government’s motion to dismiss under Rule 12(b)(6).
                 App. 57a-58a.
                    The district court subsequently granted the govern-
                 ment’s request to certify the court’s decision for inter-
                 locutory appeal. The government filed a notice of ap-
                 peal of that decision, App. 59a-61a, and petitioned the
                 Second Circuit for permission to appeal.
                    4. On February 13, 2018, the district court granted
                 respondents’ motion for a preliminary injunction re-
                 quiring DHS to “maintain the DACA program on the
                 same terms and conditions that existed” before the re-
                 scission. App. 126a; see App. 62a-129a.
                    The district court held that respondents were likely
                 to succeed on their claim that DHS’s decision to rescind
                 DACA was arbitrary and capricious, concluding that
                 the decision rests on an “erroneous legal conclusion that
                 the DACA program is unlawful and unconstitutional,”
                 and on the “factually erroneous premise” that the
                 courts in the Texas litigation had recognized “ ‘constitu-
                 tional defects . . . as to DAPA.’ ” App. 91a, 105a (capi-
                 talization and citation omitted). It also noted that the
                 decision “appears to be internally inconsistent” because
                 the Attorney General concluded that the policy was
                 unconstitutional, but DHS ordered a wind-down of the
                 policy rather than an immediate termination. App. 107a.
                    The district court rejected the government’s argu-
                 ment that the decision is based on the practical implica-
                 tions of retaining the policy, given its doubtful legality.




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                 The court concluded that the Attorney General’s state-
                 ment that “it is likely that potentially imminent litiga-
                 tion” would lead the Texas court to hold DACA unlawful
                 did not reflect “a reasoned assessment of ‘litigation
                 risk’ ” and that the record did not otherwise reflect such
                 an assessment. App. 110a-111a. The court also rea-
                 soned that, even if the record did indicate that litigation
                 risk had been taken into account, the rationale was not
                 sufficiently explained, and failed to take “account of re-
                 liance interests [the DACA] program has engendered.”
                 App. 113a.
                     After concluding that the balance of harms tipped in
                 respondents’ favor, the district court issued a prelimi-
                 nary injunction requiring the government to maintain
                 the DACA policy nationwide, subject to some limita-
                 tions. App. 126a. Specifically, like the preliminary in-
                 junction issued in the Regents litigation, the court indi-
                 cated that DHS was not required to consider new re-
                 quests for DACA or requests for “advanced parole”
                 from existing DACA recipients, and could adjudicate
                 DACA renewal requests “on a case-by-case, individual-
                 ized basis.” Ibid. The government filed a notice of ap-
                 peal from the district court’s preliminary injunction or-
                 der on February 20, 2018. App. 130a-132a.
                     5. On March 29, 2018, the district court issued an or-
                 der granting in part and denying in part the rest of the
                 government’s motion to dismiss under Rule 12(b)(6).
                 App. 133a-171a.
                     The district court denied the motion to dismiss with
                 respect to respondents’ claim that the rescission was ar-
                 bitrary and capricious “[f]or the reasons stated in” its
                 preliminary-injunction decision. App. 137a. It also de-
                 clined to dismiss respondents’ equal-protection claim,
                 concluding that campaign statements by then-candidate




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                 Trump “raise a plausible inference” that DHS’s decision
                 to rescind DACA was motived by discriminatory ani-
                 mus. App. 152a-153a. The court dismissed respond-
                 ents’ claims based on DHS’s alleged change in its infor-
                 mation-sharing policy because, in light of DHS’s public
                 announcements, respondents had not “plausibly alleged
                 that DHS actually changed its information-sharing pol-
                 icy.” App. 160a. And it dismissed respondents’ remain-
                 ing claims against the rescission of DACA, including with
                 respect to notice-and-comment, the Regulatory Flexibil-
                 ity Act, and procedural due process. App. 146a, 170a.4
                     The district court again granted the government’s
                 motion to certify its decision for interlocutory appeal.
                 The government filed a notice of appeal of that decision,
                 App. 130a-132a, and again petitioned the Second Circuit
                 for permission to appeal.
                     6. On July 5, 2018, the Second Circuit granted the
                 government’s petitions for interlocutory appeal of the
                 district court’s November 2017 and March 2018 orders,
                 App. 175a-176a, and on July 25 the court of appeals con-
                 solidated the pending appeals. Oral argument is tenta-
                 tively scheduled for January 2019.
                          REASONS FOR GRANTING THE PETITION
                    These cases concern the Executive Branch’s author-
                 ity to revoke a discretionary policy of non-enforcement
                 that is sanctioning an ongoing violation of federal immi-
                 gration law by nearly 700,000 aliens. The DACA policy
                 is materially indistinguishable from the related policies



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                     The district court also declined to dismiss respondents’ due-process
                 claim based on DHS’s alleged failure to process certain renewal re-
                 quests that arrived late to DHS or contained clerical errors. App.
                 170a. The government does not challenge that ruling here.




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                 that the Fifth Circuit held were contrary to federal im-
                 migration law in a decision that four Justices of this
                 Court voted to affirm. No one contends that the policy
                 is required by federal law. And, in fact, consistent with
                 the view of the Department of Justice, DHS has decided
                 that the policy is unlawful and should be adopted only
                 by legislative action, not unilateral executive action.
                 Yet as a result of nationwide preliminary injunctions is-
                 sued by the District Courts in the Northern District of
                 California and the Eastern District of New York, DHS
                 has been required to keep the policy in place, now more
                 than a year since the agency’s decision.
                     The government today is filing petitions for writs of
                 certiorari before judgment to the Second, Ninth, and
                 D.C. Circuits, each of which has before it a decision con-
                 cluding that the rescission of DACA either is or likely is
                 unlawful. As explained in the Regents petition, those
                 decisions are wrong and they warrant this Court’s im-
                 mediate review. The government presents each of these
                 petitions to ensure that the Court has an adequate ve-
                 hicle in which to resolve the questions presented in a
                 timely and definitive manner. The government respect-
                 fully submits that the Court should grant each petition
                 for a writ of certiorari before judgment, consolidate
                 these cases for decision, and consider this important
                 dispute this Term.
                    A. The Questions Presented Warrant The Court’s Immediate
                       Review
                     The government’s petition in Regents explains in de-
                 tail why a grant of certiorari is necessary in order to
                 obtain an appropriately prompt resolution of this im-
                 portant dispute. Regents Pet. 15-17. More than eight
                 months ago, this Court recognized the need for an “ex-




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                 peditious[]” resolution of this dispute in its order dis-
                 missing without prejudice the government’s petition for
                 a writ of certiorari before judgment in Department of
                 Homeland Security v. Regents of the University of Cal-
                 ifornia, 138 S. Ct. 1182 (2018). Absent certiorari before
                 judgment, even if a losing party were immediately to
                 seek certiorari from a decision of one of the courts of
                 appeals, this Court would not be able to review that de-
                 cision in the ordinary course until next Term at the ear-
                 liest. In the interim, the government would be required
                 to retain a discretionary non-enforcement policy that
                 DHS and the Attorney General have correctly con-
                 cluded is unlawful and that sanctions the ongoing viola-
                 tion of federal law by more than half a million people.
                 And the very existence of this litigation (and resulting
                 uncertainty) would continue to impede efforts to enact
                 legislation addressing the legitimate policy concerns
                 underlying the DACA policy.
                    B. These Cases Squarely Present The Reviewability And
                       The Lawfulness Of DACA’s Rescission
                    The cases pending before the Second Circuit square-
                 ly present both of the questions presented. The respon-
                 dents raise all of the principal challenges to the lawful-
                 ness of the rescission of DACA, including that it is arbi-
                 trary and capricious, that it should have gone through
                 notice-and-comment rulemaking, and that it violates
                 equal-protection and due-process principles. The gov-
                 ernment moved to dismiss all of respondents’ claims on
                 justiciability and merits grounds. And although the dis-
                 trict court relied solely on respondents’ arbitrary-and-
                 capricious claim in entering a preliminary injunction,
                 the court addressed the government’s justiciability ar-
                 guments in its November 9 order denying the govern-




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                 ment’s motion to dismiss under Rule 12(b)(1), and ad-
                 dressed all of the government’s merits arguments in its
                 March 29 order denying the government’s motion to
                 dismiss under Rule 12(b)(6). The appeals of all three
                 orders, moreover, have been consolidated before the
                 Second Circuit. A grant of certiorari before judgment
                 would therefore bring before this Court all of the rele-
                 vant questions.
                    C. The Court Should Grant Each Of The Government’s
                       Petitions And Consolidate The Cases For Consideration
                       This Term
                    To ensure an adequate vehicle for the timely and de-
                 finitive resolution of this dispute, the Court should
                 grant the government’s petition in this case, as well as
                 the petitions in Regents and NAACP, and consolidate
                 the cases for further review.
                    As noted in the Regents petition, the cases that are
                 the subject of this petition in many ways replicate the
                 cases in the parallel litigation that are the subject of the
                 Regents petition. The respondents in each set of cases
                 present essentially the same challenges to the rescis-
                 sion of DACA. The district courts entered identical na-
                 tionwide preliminary injunctions based exclusively on
                 respondents’ arbitrary-and-capricious claims, but then
                 passed on the remaining claims in orders denying the
                 government’s motions to dismiss all of respondents’
                 claims. In both sets of cases, the relevant orders from
                 the district courts have all been certified and accepted
                 for interlocutory appeal and have been consolidated be-
                 fore the respective courts of appeals.
                    Because the Regents cases have already been before
                 the Court twice before and because, in light of this
                 Court’s previous order, the Ninth Circuit is likely to is-




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                 sue a decision before the Court even considers the gov-
                 ernment’s certiorari petitions, the Court may prefer to
                 grant certiorari in Regents over these cases. The Court
                 should, at a minimum, hold this petition pending resolu-
                 tion of the Regents petition and any further proceedings
                 before this Court. An order vacating the injunction is-
                 sued in Regents would have no practical consequence
                 unless the injunction in these cases was similarly vacated.
                     The government respectfully submits, however, that
                 the Court should grant all three petitions and consoli-
                 date the cases for this Court’s review. In so doing, the
                 Court would ensure that no intervening developments
                 in the lower courts—for example, a reversal of the pre-
                 liminary injunction by the Ninth Circuit—would impede
                 or complicate the Court’s ability to reach all of the
                 claims against the rescission of DACA on which re-
                 spondents have prevailed in the lower courts and thus
                 provide a definitive resolution of this dispute this Term.




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                                      CONCLUSION
                    The petition for a writ of certiorari before judgment
                 should be granted.
                   Respectfully submitted.
                                                NOEL J. FRANCISCO
                                                  Solicitor General
                                                 JOSEPH H. HUNT
                                                  Assistant Attorney
                                                   General
                                                JEFFREY B. WALL
                                                  Deputy Solicitor General
                                                HASHIM M. MOOPPAN
                                                  Deputy Assistant Attorney
                                                   General
                                                JONATHAN Y. ELLIS
                                                  Assistant to the Solicitor
                                                   General
                                                MARK B. STERN
                                                ABBY C. WRIGHT
                                                THOMAS PULHAM
                                                  Attorneys
                 NOVEMBER 2018




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                                     No. 18-587

                 In the Supreme Court of the United States
                 UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                                ET AL., PETITIONERS

                                         v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.


                         ON PETITION FOR A WRIT OF CERTIORARI
                        TO THE UNITED STATES COURT OF APPEALS
                                FOR THE NINTH CIRCUIT



                     SUPPLEMENTAL BRIEF FOR THE PETITIONERS



                                              NOEL J. FRANCISCO
                                               Solicitor General
                                                 Counsel of Record
                                               Department of Justice
                                               Washington, D.C. 20530-0001
                                               SupremeCtBriefs@usdoj.gov
                                               (202) 514-2217




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                 In the Supreme Court of the United States
                                        No. 18-587
                 UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                                ET AL., PETITIONERS

                                             v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.


                          ON PETITION FOR A WRIT OF CERTIORARI
                         TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT


                     SUPPLEMENTAL BRIEF FOR THE PETITIONERS


                     This supplemental brief, filed pursuant to Rule 15.8
                 of this Court, brings to the Court’s attention the opinion
                 of the court of appeals in these related cases, which was
                 issued after the filing of the government’s petition for a
                 writ of certiorari before judgment, and addresses its im-
                 pact on the pending petition.
                     1. On January 9, 2018, the district court entered a
                 preliminary injunction requiring the Department of
                 Homeland Security (DHS) to maintain its policy of im-
                 migration enforcement discretion known as Deferred
                 Action for Childhood Arrivals (DACA) for the pendency
                 of these cases challenging the agency’s decision to re-
                 scind the policy. Pet. App. 1a-70a. In the same order,
                 the court granted in part and denied in part the govern-
                 ment’s motion to dismiss under Federal Rule of Civil
                 Procedure 12(b)(1) and certified the ruling for interloc-
                 utory appeal. Pet. App. 69a-70a. On January 12, the


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                 court granted in part and denied in part the govern-
                 ment’s Rule 12(b)(6) motion and again certified its deci-
                 sion for interlocutory appeal. Id. at 71a-90a. The gov-
                 ernment filed a timely notice of appeal, id. at 91a-95a,
                 and, on January 25, the Ninth Circuit granted permis-
                 sion to appeal both orders, id. at 96a. More than eight
                 months later, on November 5, the government filed a pe-
                 tition for a writ of certiorari before judgment in these
                 cases to ensure that this Court could consider this im-
                 portant dispute this Term.
                     2. Three days later, the court of appeals affirmed the
                 preliminary injunction and the orders resolving the gov-
                 ernment’s motion to dismiss. App., infra, (App.) 1a-97a.
                     a. The court of appeals first determined that DHS’s
                 decision to rescind DACA is reviewable under the Ad-
                 ministrative Procedure Act (APA), 5 U.S.C. 551 et seq.
                 App. 23a-45a. The court acknowledged that an agency’s
                 decision not to enforce “is a decision generally commit-
                 ted to an agency’s absolute discretion.” App. 25a (quot-
                 ing Heckler v. Chaney, 470 U.S. 821, 831 (1985)). But the
                 court reasoned that “an agency’s nonenforcement deci-
                 sion is outside the scope of the Chaney presumption” if
                 it is “based solely on a belief that the agency lacked the
                 lawful authority to do otherwise.” App. 29a. And the
                 court determined that DACA’s rescission, as reflected in
                 the initial rescission memorandum, rested exclusively on
                 “a belief that DACA was unlawful,” not on concerns about
                 maintaining the policy in the face of the then-ongoing lit-
                 igation or any other exercise of the agency’s discretion.
                 App. 35a; see App. 35a-42a. The court observed that the
                 Acting Secretary did not use the words “litigation risk”
                 or “discretion” in the memorandum and that the noted
                 considerations—i.e., rulings in the ongoing litigation
                 and the Attorney General’s advice—were “more readily




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                 understood as supporting a legal conclusion (DACA is
                 illegal) than a pragmatic one (DACA might be en-
                 joined).” App. 35a-36a, 40a.
                     b. The court of appeals also concluded that the Immi-
                 gration and Nationality Act (INA), 8 U.S.C. 1101 et seq.,
                 did not require that any challenge to the rescission be
                 raised only at the behest of an individual alien after a final
                 order of removal. App. 42a-45a. The court recognized
                 that 8 U.S.C. 1252(g) was designed to “give some meas-
                 ure of protection to ‘no deferred action’ decisions” by
                 channeling any review of such decisions into the INA’s
                 review scheme. App. 43a (quoting Reno v. American-
                 Arab Anti-Discrimination Comm., 525 U.S. 471, 485
                 (1999) (AADC)). But it reasoned that the protection
                 reached only “individual ‘no deferred action’ deci-
                 sions,” not a “programmatic shift like the DACA rescis-
                 sion.” Ibid. And it concluded that 8 U.S.C. 1252(b)(9)
                 only applies to claims seeking review of a final order of
                 removal. App. 45a n.19.
                     c. Turning to the merits, the court of appeals af-
                 firmed the district court’s nationwide preliminary in-
                 junction, reasoning that respondents were likely to suc-
                 ceed on their arbitrary-and-capricious claim because
                 DHS’s decision was based on an erroneous legal conclu-
                 sion that DACA was unlawful. App. 45a-60a.
                     The court of appeals acknowledged that the Fifth
                 Circuit had held unlawful the related policies known as
                 Deferred Action for Parents of Americans and Lawful
                 Permanent Residents (DAPA) and expanded DACA.
                 App. 49a, 55a (citing Texas v. United States, 809 F.3d 134
                 (5th Cir. 2015), aff ’d, 136 S. Ct. 2271 (2016)). In the
                 Ninth Circuit’s view, however, the Fifth Circuit had
                 “concluded that DAPA conflicted with the INA largely
                 for a reason that is inapplicable to DACA”—specifically,




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                 that the INA provides “ ‘an intricate process for illegal
                 aliens to derive a lawful immigration classification from
                 their children’s immigration status.’ ” App. 51a-52a (cita-
                 tion omitted). It reasoned that “there is no analogous
                 provision in the INA defining how immigration status
                 may be derived by undocumented persons who arrived
                 in the United States as children.” App. 52a.
                     Moreover, the court of appeals reasoned that, con-
                 trary to the Fifth Circuit’s analysis, a deferred-action
                 policy of DACA’s significance was not inconsistent with
                 Congress’s enumeration of only “narrow classes of al-
                 iens eligible for deferred action,” Texas, 809 F.3d at 179.
                 See App. 53a-54a. The Ninth Circuit stated that, be-
                 cause the statutory grants of deferred-action eligibility
                 “were added to the statute books piecemeal over time,”
                 no inference could be drawn about the permissibility of
                 designating vastly larger classes of aliens. App. 53a.
                 And it concluded that, in any event, DACA was not a
                 policy of “economic and political” significance, because
                 as of September 2017, DACA had only 689,000 partici-
                 pants, while approximately 4.3 million aliens may have
                 been eligible for DAPA. App. 54a (citation omitted).
                     The court of appeals thus concluded that “DACA was
                 a permissible exercise of executive discretion.” App.
                 56a-57a. Because, in the Ninth Circuit’s view, DACA’s
                 rescission was based entirely on DHS’s contrary belief,
                 the court determined that respondents “are likely to
                 succeed in demonstrating that the rescission must be
                 set aside.” App. 57a. In a footnote, the court refused to
                 consider the “impact, if any, on this case” of the June 22
                 memorandum from current Secretary of Homeland Se-
                 curity Kirstjen Nielsen “ ‘provid[ing] additional explana-
                 tion of the basis for the DACA rescission,’ ” suggesting
                 that the memorandum was an impermissible “ ‘post-hoc




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                 rationalization[]’ ” for DHS’s decision that is not part of
                 the record of this case and “leav[ing] it to the district
                 court in the first instance to determine [its] admissibil-
                 ity.” App. 57a-58a n.24 (citation omitted).
                    d. The court of appeals also affirmed the resolution
                 of the government’s motion to dismiss respondents’
                 claims on the merits. App. 61a-78a. The court held that
                 respondents’ notice-and-comment claim was correctly
                 dismissed because DACA’s rescission was a “[g]eneral
                 statement[] of policy * * * advis[ing] the public pro-
                 spectively of the manner in which the agency proposes
                 to exercise a discretionary power,” which is exempt from
                 notice-and-comment procedures. App. 61a (citations and
                 internal quotation marks omitted); see App. 61a-65a.
                 And it further held that respondents’ due-process claim
                 based on an asserted protected interest in indefinite
                 DACA renewals was correctly dismissed because DHS
                 had consistently stated that it retained discretion to ter-
                 minate any grant of deferred action or the policy itself.
                 App. 65a-68a.
                    The court of appeals concluded, however, that the
                 district court had correctly refused to dismiss respond-
                 ents’ arbitrary-and-capricious claim, information-shar-
                 ing policy claim, and equal-protection claim. App. 61a,
                 68a-77a. The court of appeals reasoned that respond-
                 ents’ arbitrary-and-capricious claim should not be dis-
                 missed “[f ]or the reasons stated above in discussing [re-
                 spondents’] likelihood of success” on that claim. App. 61a.
                 As to the information-sharing policy claim, the court
                 found that respondents plausibly alleged both a protected
                 interest in DHS’s indefinite retention of its information-
                 sharing policy and a change in that policy notwithstand-
                 ing DHS’s public assurances to the contrary. App. 68a-




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                 73a. The court concluded that such a change would
                 “shock[] the conscience.” App. 73a (citations omitted).
                    Finally, the court of appeals concluded that respond-
                 ents plausibly alleged an equal-protection claim under
                 the standard described in Village of Arlington Heights
                 v. Metropolitan Housing Development Corp., 429 U.S.
                 252, 265-267 (1977). App. 73a-77a. The court reasoned
                 that respondents’ equal-protection claim does not “impli-
                 cate the concerns motivating th[is] Court in AADC,”
                 like “inhibiting prosecutorial discretion, allowing con-
                 tinuing violations of immigration law, and impacting for-
                 eign relations.” App. 75a-76a. And it distinguished
                 Trump v. Hawaii, 138 S. Ct. 2392 (2018), on the grounds
                 that respondents had provided more “evidence of dis-
                 criminatory motivation, including the rescission order’s
                 disparate impact on Latinos and persons of Mexican
                 heritage, as well as the order’s unusual history.” App.
                 76a-77a.
                    e. Judge Owens concurred in the judgment. App.
                 79a-87a. Judge Owens agreed with the majority’s affir-
                 mance of the motion-to-dismiss rulings, but he disa-
                 greed that the court “may review the rescission of
                 DACA for compliance with the APA.” App. 79a. He ex-
                 plained that this Court’s decision in I.C.C. v. Brother-
                 hood of Locomotive Engineers, 482 U.S. 270 (1987)
                 (BLE), “makes clear that when determining the scope
                 of permissible judicial review, courts consider only the
                 type of agency action at issue, not the agency’s reasons
                 for acting.” App. 83a; see BLE, 482 U.S. at 283. He ob-
                 served that DHS’s decision to “rescind a non-enforcement
                 policy in the immigration context is the type of admin-
                 istrative action” that this Court has recognized is “ ‘com-
                 mitted to agency discretion by law.’ ” App. 79a-80a (cita-
                 tion omitted). And he rejected the majority’s conclusion




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                 that the court could still review DHS’s decision if it were
                 based solely on DHS’s understanding of the INA, rea-
                 soning that “BLE plainly prohibits [the court] from do-
                 ing so.” App. 82a.
                    Nevertheless, Judge Owens explained that he would
                 affirm the preliminary injunction and remand for the
                 district court to consider whether respondents’ equal-
                 protection claim provides an alternative ground for en-
                 joining the rescission. App, infra, 84a-85a. He acknowl-
                 edged that respondents “did not seek a preliminary in-
                 junction on their Equal Protection claim,” but he rea-
                 soned that the court of appeals could “affirm an injunc-
                 tion issued on legally erroneous grounds where remand
                 for consideration of alternative grounds is warranted.”
                 App. 84a. And he concluded that such consideration was
                 warranted here. App. 86a.
                    3. The court of appeals’ decision significantly strength-
                 ens the argument for granting certiorari in these cases.
                 The court of appeals affirmed the district court’s orders
                 in every respect, and thus the cases continue to present
                 both questions in the government’s petition. The Ninth
                 Circuit’s analysis also largely echoes the reasoning of
                 the district court, and it is therefore incorrect for largely
                 the same reasons. See Pet. 17-31. Importantly, however,
                 as a result of the court of appeals’ decision, the Court no
                 longer needs to grant certiorari before judgment. The
                 Court can now consider the present petition as one for
                 certiorari after judgment and, if it grants the petition,
                 review the judgment of the court of appeals. Accord-
                 ingly, the petition need only satisfy the criteria for cer-
                 tiorari under Rule 10, rather than the heightened stand-
                 ard imposed by Rule 11. And there is little question that
                 the court of appeals “has decided an important question




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                 of federal law that has not been, but should be, settled
                 by this Court.” Sup. Ct. R. 10(c).
                     Although the government’s petition in these cases
                 was filed as one for certiorari before judgment, the is-
                 suance of the court of appeals’ intervening decision does
                 not deprive the Court of the authority to grant it. If
                 granted, the writ of certiorari would still be directed to
                 the court of appeals, and this Court could still exercise
                 jurisdiction pursuant to 28 U.S.C. 1254(1) (“Cases in the
                 courts of appeals may be reviewed by the Supreme
                 Court by * * * writ of certiorari granted upon the pe-
                 tition of any party * * * before or after rendition of
                 judgment or decree.”). This Court’s Rules do not estab-
                 lish any additional requirements, other than inclusion of
                 the court of appeals’ opinion (attached as an appendix
                 to this brief ), for a petition for a writ of certiorari after
                 judgment. See Sup. Ct. R. 10-16.
                     Granting this petition would be consistent with the
                 course of proceedings in United States v. Windsor,
                 570 U.S. 744 (2013), the most analogous example of
                 which the government is aware. In Windsor, the gov-
                 ernment petitioned for a writ of certiorari before judg-
                 ment. Before the Court considered that petition, how-
                 ever, the court of appeals rendered its opinion. The gov-
                 ernment then filed a supplemental brief, to which it at-
                 tached a copy of the court of appeals’ opinion, request-
                 ing that its petition be considered as a petition for a writ
                 of certiorari after judgment. U.S. Supp. Br. at 7 & App.,
                 Windsor, supra (No. 12-307).
                     The Court granted certiorari in Windsor, 568 U.S.
                 1066 (2012), over the opposition of another party to the
                 proceedings, see Supp. Br. for Resp. Bipartisan Legal
                 Advisory Grp. of the U.S. House of Representatives at
                 10-12, Windsor, supra (No. 12-307), and reviewed the




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                 court of appeals’ decision, 570 U.S. at 751-752. Although
                 there was significant disagreement in that case about
                 the government’s ability to petition for review of a deci-
                 sion with which it agreed, see id. at 781-782 (Scalia, J.,
                 dissenting), no Justice questioned the Court’s decision
                 to grant a petition for a writ of certiorari filed before
                 the court of appeals’ decision. The Court granted certi-
                 orari in similar circumstances in General Electric Co. v.
                 Gilbert, 429 U.S. 125 (1976). See Stephen M. Shapiro et
                 al., Supreme Court Practice § 2.5, at 87 n.36 (10th ed.
                 2013) (discussing procedures in Windsor and General
                 Electric). The Court should likewise grant certiorari
                 and review the court of appeals’ decision here.
                     4. a. At the same time, the court of appeals’ decision
                 also strengthens the case for granting certiorari before
                 judgment in Trump v. National Ass’n for the Advance-
                 ment of Colored People, No. 18-588 (filed Nov. 5, 2018)
                 (NAACP).
                     As noted, the Ninth Circuit concluded that DACA’s
                 rescission was based solely on the unlawfulness of the
                 policy, and it refused to consider the explanation con-
                 tained in Secretary Nielsen’s June 22 memorandum, de-
                 scribing the memorandum as post hoc rationalization.
                 App. 35a, 57a n.24. Each of those steps was error. The
                 initial rescission memorandum indicates that DHS’s de-
                 cision was also based on the legal and practical implica-
                 tions of maintaining the DACA policy in light of DHS’s
                 concerns about its legality and the then-ongoing litiga-
                 tion challenging DAPA and expanded DACA. See Pet.
                 23-24; see also Pet. App. 117a (explaining that DACA
                 “should be terminated,” not that it must). And the June
                 22 memorandum contained a “further explanation” of
                 why DHS’s decision to rescind DACA “was, and re-
                 mains, sound,” Pet. App. 121a, by the official vested




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                 with the responsibility for “[e]stablishing national im-
                 migration enforcement policies and priorities,” 6 U.S.C.
                 202(5) (2012 & Supp. V 2017). It is not irrelevant post
                 hoc rationalization. See Motor Vehicle Mfrs. Ass’n v.
                 State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983) (ex-
                 plaining that “courts may not accept appellate counsel’s
                 post hoc rationalizations for agency action,” but must
                 consider only “the basis articulated by the agency itself ”).
                    More important for present purposes, however, the
                 court of appeals’ errors confirm that the Court should
                 grant the government’s petition in NAACP. The govern-
                 ment previously suggested that, by granting that peti-
                 tion, the Court would eliminate any argument that Sec-
                 retary Nielsen’s memorandum is not squarely before
                 this Court and would bring directly before the Court the
                 NAACP court’s consideration of the impact of that
                 memorandum on the resolution of this dispute. See
                 NAACP Pet. 15-17. The Ninth Circuit’s refusal to under-
                 take that analysis strengthens the argument for following
                 the government’s suggested approach.
                    b. As for Nielsen v. Batalla Vidal, No. 18-589 (filed
                 Nov. 5, 2018), the government’s petitions explained that
                 the cases at issue there replicate, in many respects, the
                 cases at issue here, and the district courts have thus far
                 resolved the overlapping challenges to the rescission in
                 a substantially similar manner. See Pet. 33; Batalla Vi-
                 dal Pet. 16-17. The government previously suggested
                 that the Court grant certiorari in both sets of cases to
                 ensure that, if the Ninth Circuit had ruled for the gov-
                 ernment on any of the claims the government had lost
                 in Batalla Vidal, the Court would still be able to ad-
                 dress any such claims in Batalla Vidal. Ibid. The Ninth
                 Circuit’s blanket affirmance of the district court’s or-
                 ders removes that possible complication and therefore




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                 eliminates that reason for granting the government’s
                 petition in Batalla Vidal.
                     The Court may still wish to grant the Batalla Vidal
                 petition to permit the parties in those cases to partici-
                 pate in the Court’s consideration of the overlapping is-
                 sues. At a minimum, however, the Court should hold
                 the Batalla Vidal petition pending resolution of the
                 government’s petitions in these cases and in NAACP to
                 ensure that an order vacating the nationwide injunction
                 in these cases would have immediate effect on the iden-
                 tical injunction issued in the Batalla Vidal cases.
                     c. Granting certiorari before judgment in one or
                 both of the companion cases to ensure that the Court
                 receives a comprehensive presentation of the relevant
                 issues would be consistent with the Court’s past practice
                 in similar circumstances. See, e.g., United States v.
                 Fanfan, 542 U.S. 956 (2004) (No. 04-105) (granting certi-
                 orari before judgment in companion case to United
                 States v. Booker, 543 U.S. 220 (2005) (No. 04-104)); Gratz
                 v. Bollinger, 537 U.S. 1044 (2002) (No. 02-516) (granting
                 certiorari before judgment in companion case to Grutter
                 v. Bollinger, 539 U.S. 306 (2003) (No. 02-241)); see also
                 Shapiro § 2.4, at 86 (explaining that the Court has
                 granted certiorari before judgment “not only in cases of
                 great public emergency but also in situations where
                 similar or identical issues of importance were already
                 pending before the Court and where it was considered
                 desirable to review simultaneously the questions posed
                 in the case still pending in the court of appeals”). The
                 Court should follow the same path here.
                                        * * * * *




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                    For the foregoing reasons and those stated in the
                 petition for a writ of certiorari, the petitions in these
                 cases and in Trump v. National Ass’n for the Advance-
                 ment of Colored People, No. 18-588 (filed Nov. 5, 2018),
                 should be granted and the cases consolidated for this
                 Court’s review. The petition in Nielsen v. Batalla Vidal,
                 No. 18-589 (filed Nov. 5, 2018), should either also be
                 granted and consolidated or, at a minimum, be held
                 pending resolution of the other petitions and any fur-
                 ther proceedings in this Court.
                    Respectfully submitted.
                                                 NOEL J. FRANCISCO
                                                  Solicitor General
                 NOVEMBER 2018




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                                     APPENDIX

                        UNITED STATES COURT OF APPEALS
                            FOR THE NINTH CIRCUIT


                                    No. 18-15068
                             D.C. No. 3:17-cv-05211-WHA
                      REGENTS OF THE UNIVERSITY OF CALIFORNIA;
                    JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                     PRESIDENT OF THE UNIVERSITY OF CALIFORNIA,
                               PLAINTIFFS-APPELLEES
                                          v.
                       U.S. DEPARTMENT OF HOMELAND SECURITY;
                     KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY AS
                       ACTING SECRETARY OF THE DEPARTMENT OF
                     HOMELAND SECURITY, DEFENDANTS-APPELLANTS

                                    No. 18-15069
                             D.C. No. 3:17-cv-05235-WHA
                    STATE OF CALIFORNIA; STATE OF MAINE; STATE OF
                           MINNESOTA; STATE OF MARYLAND,
                                PLAINTIFFS-APPELLEES
                                          v.
                       U.S. DEPARTMENT OF HOMELAND SECURITY;
                     KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY AS
                       ACTING SECRETARY OF THE DEPARTMENT OF
                    HOMELAND SECURITY; UNITED STATES OF AMERICA,
                               DEFENDANTS-APPELLANTS




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                                    No. 18-15070
                             D.C. No. 3:17-cv-05329-WHA
                        CITY OF SAN JOSE, PLAINTIFF-APPELLEE
                                         v.
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                      IN HIS OFFICIAL CAPACITY; KIRSTJEN NIELSEN,
                    IN HER OFFICIAL CAPACITY AS ACTING SECRETARY
                     OF THE DEPARTMENT OF HOMELAND SECURITY;
                  UNITED STATES OF AMERICA, DEFENDANTS-APPELLANTS

                                    No. 18-15071
                             D.C. No. 3:17-cv-05380-WHA
                     DULCE GARCIA; MIRIAM GONZALEZ AVILA; SAUL
                   JIMENEZ SUAREZ; VIRIDIANA CHABOLLA MENDOZA;
                     JIRAYUT LATTHIVONGSKORN; NORMA RAMIREZ,
                               PLAINTIFFS-APPELLEES
                                         v.
                      UNITED STATES OF AMERICA; DONALD J. TRUMP,
                      IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE
                     UNITED STATES; U.S. DEPARTMENT OF HOMELAND
                      SECURITY; KIRSTJEN NIELSEN, IN HER OFFICIAL
                   CAPACITY AS ACTING SECRETARY OF THE DEPARTMENT
                    OF HOMELAND SECURITY, DEFENDANTS-APPELLANTS




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                                    No. 18-15072
                             D.C. No. 3:17-cv-05813-WHA
                     COUNTY OF SANTA CLARA; SERVICE EMPLOYEES
                          INTERNATIONAL UNION LOCAL 521,
                               PLAINTIFFS-APPELLEES
                                          v.
                      DONALD J. TRUMP, IN HIS OFFICIAL CAPACITY AS
                    PRESIDENT OF THE UNITED STATES; JEFFERSON B.
                  SESSIONS III, ATTORNEY GENERAL; KIRSTJEN NIELSEN,
                   IN HER OFFICIAL CAPACITY AS ACTING SECRETARY OF
                       THE DEPARTMENT OF HOMELAND SECURITY;
                       U.S. DEPARTMENT OF HOMELAND SECURITY,
                                 DEFENDANTS-APPELLANTS


                                       No. 18-15128
                   D.C. Nos. 3:17-cv-05211-WHA, 3:17-cv-05235-WHA,
                        3:17-cv-05329-WHA, 3:17-cv-05380-WHA,
                                   3:17-cv-05813-WHA
                       REGENTS OF THE UNIVERSITY OF CALIFORNIA;
                   JANET NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                    PRESIDENT OF THE UNIVERSITY OF CALIFORNIA;
                        STATE OF CALIFORNIA; STATE OF MAINE;
                      STATE OF MINNESOTA; STATE OF MARYLAND;
                  CITY OF SAN JOSE; DULCE GARCIA; MIRIAM GONZALEZ
                  AVILA; SAUL JIMENEZ SUAREZ; VIRIDIANA CHABOLLA
                        MENDOZA; JIRAYUT LATTHIVONGSKORN;
                  NORMA RAMIREZ; COUNTY OF SANTA CLARA; SERVICE
                     EMPLOYEES INTERNATIONAL UNION LOCAL 521,
                                PLAINTIFFS-APPELLEES
                                          v.
                      UNITED STATES OF AMERICA; DONALD J. TRUMP,
                  IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                    STATES; U.S. DEPARTMENT OF HOMELAND SECURITY;




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                     KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY AS
                       ACTING SECRETARY OF THE DEPARTMENT OF
                     HOMELAND SECURITY, DEFENDANTS-APPELLANTS

                                       No. 18-15133
                   D.C. Nos. 3:17-cv-05211-WHA, 3:17-cv-05235-WHA,
                        3:17-cv-05329-WHA, 3:17-cv-05380-WHA,
                                   3:17-cv-05813-WHA
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA; JANET
                       NAPOLITANO, IN HER OFFICIAL CAPACITY AS
                    PRESIDENT OF THE UNIVERSITY OF CALIFORNIA;
                        STATE OF CALIFORNIA; STATE OF MAINE;
                      STATE OF MINNESOTA; STATE OF MARYLAND;
                  CITY OF SAN JOSE; DULCE GARCIA; MIRIAM GONZALEZ
                  AVILA; SAUL JIMENEZ SUAREZ; VIRIDIANA CHABOLLA
                        MENDOZA; JIRAYUT LATTHIVONGSKORN;
                       NORMA RAMIREZ, PLAINTIFFS-APPELLANTS
                                          v.
                      UNITED STATES OF AMERICA; DONALD J. TRUMP,
                  IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE UNITED
                    STATES; U.S. DEPARTMENT OF HOMELAND SECURITY;
                     KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY AS
                        ACTING SECRETARY OF THE DEPARTMENT OF
                      HOMELAND SECURITY, DEFENDANTS-APPELLEES

                                       No. 18-15134
                   D.C. Nos. 3:17-cv-05211-WHA, 3:17-cv-05235-WHA,
                        3:17-cv-05329-WHA, 3:17-cv-05380-WHA,
                                   3:17-cv-05813-WHA
                      DULCE GARCIA; MIRIAM GONZALEZ AVILA;
                     SAUL JIMENEZ SUAREZ; VIRIDIANA CHABOLLA
                        MENDOZA; NORMA RAMIREZ; JIRAYUT
                     LATTHIVONGSKORN; COUNTY OF SANTA CLARA;
                     SERVICE EMPLOYEES INTERNATIONAL UNION
                         LOCAL 521, PLAINTIFFS-APPELLANTS




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                                            v.
                     UNITED STATES OF AMERICA; DONALD J. TRUMP,
                     IN HIS OFFICIAL CAPACITY AS PRESIDENT OF THE
                    UNITED STATES; U.S. DEPARTMENT OF HOMELAND
                 SECURITY; KIRSTJEN NIELSEN, IN HER OFFICIAL CAPACITY
                     AS ACTING SECRETARY OF THE DEPARTMENT OF
                     HOMELAND SECURITY, DEFENDANTS-APPELLEES

                                  Filed:   Nov. 8, 2018

                      Appeal from the United States District Court
                         for the Northern District of California
                        William Alsup, District Judge, Presiding

                                        OPINION


                 Before: KIM MCLANE WARDLAW, JACQUELINE H.
                 NGUYEN, and JOHN B. OWENS, Circuit Judges.
                   Opinion by Judge WARDLAW; Concurrence by Judge
                 OWENS
                 WARDLAW, Circuit Judge:
                     It is no hyperbole to say that Dulce Garcia embodies
                 the American dream. Born into poverty, Garcia and
                 her parents shared a San Diego house with other fami-
                 lies to save money on rent; she was even homeless for a
                 time as a child. But she studied hard and excelled
                 academically in high school. When her family could
                 not afford to send her to the top university where she
                 had been accepted, Garcia enrolled in a local community
                 college and ultimately put herself through a four-year
                 university, where she again excelled while working full-




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                 time as a legal assistant. She then was awarded a scho-
                 larship that, together with her mother’s life savings,
                 enabled her to fulfill her longstanding dream of attend-
                 ing and graduating from law school. Today, Garcia main-
                 tains a thriving legal practice in San Diego, where she
                 represents members of underserved communities in civil,
                 criminal, and immigration proceedings.
                    On the surface, Dulce Garcia appears no different
                 from any other productive—indeed, inspiring—young
                 American. But one thing sets her apart. Garcia’s par-
                 ents brought her to this country in violation of United
                 States immigration laws when she was four years old.
                 Though the United States of America is the only home
                 she has ever known, Dulce Garcia is an undocumented
                 immigrant.
                    Recognizing the cruelty and wastefulness of deport-
                 ing productive young people to countries with which
                 they have no ties, the Secretary of Homeland Security
                 announced a policy in 2012 that would provide some
                 relief to individuals like Garcia, while allowing our
                 communities to continue to benefit from their contribu-
                 tions. Known as Deferred Action for Childhood Arri-
                 vals, or DACA, the program allows those noncitizens
                 who unwittingly entered the United States as children,
                 who have clean criminal records, and who meet various
                 educational or military service requirements to apply
                 for two-year renewable periods of deferred action—a
                 revocable decision by the government not to deport an
                 otherwise removable person from the country. DACA
                 also allows recipients to apply for authorization to work
                 in this country legally, paying taxes and operating in
                 the aboveground economy. Garcia, along with hundreds




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                 of thousands of other young people, trusting the govern-
                 ment to honor its promises, leapt at the opportunity.
                    But after a change in presidential administrations, in
                 2017 the government moved to end the DACA program.
                 Why? According to the Acting Secretary of Homeland
                 Security, upon the legal advice of the Attorney General,
                 DACA was illegal from its inception, and therefore could
                 no longer continue in effect. And after Dulce Garcia—
                 along with other DACA recipients and affected states,
                 municipalities, and organizations—challenged this con-
                 clusion in the federal courts, the government adopted the
                 position that its fundamentally legal determination that
                 DACA is unlawful is unreviewable by the judicial branch.
                     With due respect for the Executive Branch, we disa-
                 gree. The government may not simultaneously both
                 assert that its actions are legally compelled, based on
                 its interpretation of the law, and avoid review of that
                 assertion by the judicial branch, whose “province and
                 duty” it is “to say what the law is.” Marbury v. Madi-
                 son, 5 U.S. (1 Cranch) 137, 177 (1803). The govern-
                 ment’s decision to rescind DACA is subject to judicial
                 review. And, upon review, we conclude that plaintiffs
                 are likely to succeed on their claim that the rescission
                 of DACA—at least as justified on this record—is arbi-
                 trary, capricious, or otherwise not in accordance with
                 law. We therefore affirm the district court’s grant of
                 preliminary injunctive relief. 1




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                      We also affirm in part the district court’s partial grant and par-
                 tial denial of the government’s motion to dismiss for failure to state
                 a claim.




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                                            I.
                 A. History of Deferred Action
                    The central benefit available under the DACA pro-
                 gram is deferred action. Because much of this dispute
                 revolves around the legitimacy of that practice, we be-
                 gin by reviewing the Executive Branch’s historical use
                 of deferred action.
                    The basic concept is a simple one: deferred action
                 is a decision by Executive Branch officials not to pur-
                 sue deportation proceedings against an individual or
                 class of individuals otherwise eligible for removal from
                 this country. See 6 Charles Gordon et al., Immigration
                 Law & Procedure § 72.03[2][h] (2018) (“To ameliorate a
                 harsh and unjust outcome, the immigration agency may
                 decline to institute proceedings, may terminate pro-
                 ceedings, or may decline to execute a final order of de-
                 portation. This commendable exercise in administra-
                 tive discretion . . . is now designated as deferred
                 action.”); Barahona-Gomez v. Reno, 236 F.3d 1115,
                 1119 n.3 (9th Cir. 2001) (“Deferred action refers to an
                 exercise of administrative discretion by the [immigra-
                 tion agency] under which [it] takes no action to proceed
                 against an apparently deportable alien based on a pre-
                 scribed set of factors generally related to humanitarian
                 grounds.” (internal quotation marks omitted)); Hiroshi
                 Motomura, Immigration Outside the Law 29 (2014)
                 (noting that “deferred action is usually granted only for
                 limited periods of time and does not provide a path to
                 lawful permanent resident status or citizenship”).
                    Unlike most other forms of relief from deportation,
                 deferred action is not expressly grounded in statute.
                 It arises instead from the Executive’s inherent authority




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                 to allocate resources and prioritize cases. Cf. 6 U.S.C.
                 § 202(5) (charging the Secretary of Homeland Security
                 with “[e]stablishing national immigration enforcement
                 policies and priorities”). As such, recipients of deferred
                 action “enjoy no formal immigration status.” Ariz.
                 Dream Act Coal. v. Brewer, 855 F.3d 957, 964 (9th Cir.
                 2017) (Brewer II). But despite its non-statutory ori-
                 gins, Congress has historically recognized the exist-
                 ence of deferred action in amendments to the Immi-
                 gration and Nationality Act (INA), as well as other
                 statutory enactments. See 8 U.S.C. § 1227(d)(2) (“The
                 denial of a request for an administrative stay of removal
                 under this subsection shall not preclude the alien from
                 applying for . . . deferred action[.]”); REAL ID Act
                 of 2005, Pub. L. No. 109-13, § 202(c)(2), 119 Stat. 231,
                 313 (2005) (listing proof of “approved deferred action
                 status” as sufficient “evidence of lawful status” for the
                 issuance of a driver’s license). The Supreme Court
                 has also recognized deferred action by name, describing
                 the Executive’s “regular practice (which ha[s] come to be
                 known as ‘deferred action’) of exercising discretion for
                 humanitarian reasons or simply for its own convenience.”
                 Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S.
                 471, 483-84 (1999) (AADC). Thus, “it is well settled that
                 the Secretary [of Homeland Security] can exercise de-
                 ferred action.” Brewer II, 855 F.3d at 967.
                    Official records of administrative discretion in im-
                 migration enforcement date at least back to the turn of
                 the twentieth century, not long after the enactment of
                 the nation’s first general immigration statute in 1882.
                 See Act of Aug. 3, 1882, ch. 376, 22 Stat. 214. A 1909 De-
                 partment of Justice circular regarding statutorily au-
                 thorized denaturalization instructed that “as a general
                 rule, good cause is not shown for the institution of




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                 proceedings . . . unless some substantial results are
                 to be achieved thereby in the way of betterment of the
                 citizenship of the country.” U.S. Dep’t of Justice, Cir-
                 cular Letter No. 107 (Sept. 20, 1909) (quoted in Memo-
                 randum from Sam Bernsen, Gen. Counsel, INS, Legal
                 Opinion Regarding Service Exercise of Prosecutorial
                 Discretion at 4 (Jul. 15, 1976) (Bernsen Memorandum)).
                    The government’s exercise of deferred action in par-
                 ticular first came to light in the 1970s, as a result of
                 Freedom of Information Act litigation over the govern-
                 ment’s efforts to deport John Lennon and Yoko Ono,
                 apparently based on Lennon’s “British conviction for mar-
                 ijuana possession.” Motomura, supra, at 28; see gen-
                 erally Shoba Sivaprasad Wadhia, Beyond Deportation:
                 The Role of Prosecutorial Discretion in Immigration
                 Cases 2-27 (2015). Then known as “nonpriority sta-
                 tus,” the practice had been observed in secret within
                 the former Immigration and Naturalization Service
                 (INS) since at least the 1950s, but INS officials had
                 publicly denied its existence. See Leon Wildes, The
                 Nonpriority Program of the Immigration and Natu-
                 ralization Service Goes Public: The Litigative Use of
                 the Freedom of Information Act, 14 San Diego L. Rev.
                 42, 52-53 (1976); Wadhia, supra, at 16. After the Len-
                 non case revealed the practice, the INS issued its first
                 public guidance on the use of deferred action, stating
                 that “[i]n every case where the district director deter-
                 mines that adverse action would be unconscionable
                 because of the existence of appealing humanitarian
                 factors, he shall recommend consideration for nonpri-
                 ority.” Immigration and Naturalization Service, Op-
                 erations Instructions § 103.1(a)(1)(ii) (1975) (quoted in
                 Wadhia, supra, at 17). Although the 1975 guidance
                 was rescinded in 1997, DHS officials continue to apply




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                 the same humanitarian factors in deciding whether to
                 grant an individual deferred action. 6 Gordon et al.,
                 supra, § 72.03[2][h] & nn.133-34; see also AADC,
                 525 U.S. at 484 n.8.
                    In addition to case-by-case adjudications, the Exec-
                 utive Branch has frequently applied deferred action
                 and related forms of discretionary relief programmati-
                 cally, to entire classes of otherwise removable nonciti-
                 zens. Indeed, the Congressional Research Service
                 has compiled a list of twenty-one such “administrative
                 directives on blanket or categorical deferrals of depor-
                 tation” issued between 1976 and 2011. Andorra Bruno
                 et al., Cong. Research Serv., Analysis of June 15, 2012
                 DHS Memorandum, Exercising Prosecutorial Discre-
                 tion with Respect to Individuals Who Came to the
                 United States as Children 20-23 (July 13, 2012); see
                 also id. at 9 (“The executive branch has provided blan-
                 ket or categorical deferrals of deportation numerous
                 times over the years.”).
                    To take one early example, in 1956 President Ei-
                 senhower extended immigration parole to over thirty
                 thousand Hungarian refugees who were otherwise
                 unable to immigrate to the United States because of
                 restrictive quotas then in existence. See White House
                 Statement on the Termination of the Emergency Pro-
                 gram for Hungarian Refugees (Dec. 28, 1957). The
                 power to parole—that is, to allow a noncitizen physi-
                 cally to enter the country, while treating that person as
                 “at the border” for purposes of immigration law—is
                 established by statute, but the version of the INA in
                 existence when President Eisenhower acted did not
                 explicitly authorize programmatic exercises of the




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                 parole power. 2 Immigration and Nationality Act of
                 1952, Pub. L. No. 82-414, § 212(d)(5), 66 Stat. 163, 188.
                 See generally 6 Gordon et al., supra, § 62.01. Subse-
                 quent presidents made use of similar categorical parole
                 initiatives. Wadhia, supra, at 30.
                    Another salient example is the Family Fairness pro-
                 gram, established by the Reagan Administration and
                 expanded under President George H.W. Bush. The
                 Immigration Reform and Control Act of 1986 (IRCA)
                 had provided a pathway to legal status for hundreds of
                 thousands of undocumented noncitizens, but did not
                 make any provision for their close relatives unless
                 those individuals separately qualified under the Act’s
                 criteria. See generally 3 Gordon et al., supra, § 38.06.
                 President Reagan’s INS Commissioner interpreted
                 IRCA not to authorize immigration benefits for anyone
                 outside the statutory criteria, but nevertheless exer-
                 cised executive discretion to defer the deportation of
                 the minor children of noncitizens legalized under the
                 statute. Alan C. Nelson, Comm’r, INS, Legalization
                 & Family Fairness: An Analysis (Oct. 21, 1987).
                 And in 1990, the INS instituted “significant lib-
                 eralizations” of the policy by granting one-year periods
                 of extended voluntary departure to children and spous-
                 es of individuals legalized under IRCA who could es-
                 tablish admissibility, continuous residency, and a clean


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                     Indeed, there is evidence that “Congress originally intended that
                 parole would be used on a case-by-case basis on behalf of individual
                 aliens.” Cong. Research Serv., Review of U.S. Refugee Re-
                 settlement Programs & Policies 8 (1980); see also S. Rep. No. 89-748,
                 at 17 (1965). The statute was amended in 1980 to expressly prohibit
                 categorical grants of parole. Refugee Act of 1980, Pub. L. No. 96-212,
                 § 203(f ), 94 Stat. 102, 108; see 8 U.S.C. § 1182(d)(5).




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                 criminal record. INS Reverses Family Fairness Pol-
                 icy, 67 No. 6 Interpreter Releases 153 (Feb. 5, 1990);
                 see also 3 Gordon et al., supra, § 38.06. Contemporary
                 estimates by INS officials of the number of people
                 potentially eligible ranged as high as 1.5 million. 3 See
                 Immigration Act of 1989 (Part 2): Hearings Before
                 the Subcomm. on Immigration, Refugees & Int’l Law of
                 the H. Comm. on the Judiciary, 101st Cong. 49, 56
                 (1990) (testimony of Gene McNary, Comm’r, INS).
                 Extended voluntary departure, the mechanism through
                 which these individuals were allowed to remain in the
                 United States is, like deferred action, a creature of ex-
                 ecutive discretion not specifically authorized by stat-
                 ute. See Hotel & Rest. Emps. Union, Local 25 v.
                 Smith, 846 F.2d 1499, 1510 (D.C. Cir. 1988) (en banc)
                 (opinion of Mikva, J.).
                     Since then, the immigration agency has instituted
                 categorical deferred action programs for self-petitioners
                 under the Violence Against Women Act; applicants for T
                 and U visas (which are issued to victims of human traf-
                 ficking and of certain crimes, respectively); foreign stu-
                 dents unable to fulfill their visa requirements after Hur-
                 ricane Katrina; and widowed spouses of United States
                 citizens who had been married less than two years.
                 None of these deferred action programs was expressly
                 authorized by statute at the time they were initiated.

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                    There is some controversy surrounding this number. See gen-
                 erally Unconstitutionality of Obama’s Executive Actions on
                 Immigration: Hearing Before the House Comm. on the Judici-
                 ary, 114th Cong. 84-85 (2015) (written testimony of Professor
                 Stephen H. Legomsky). But even the lowest reported contempo-
                 rary estimate was that 100,000 people would actually benefit from
                 the program, indicating a major policy initiative. See INS Re-
                 verses Family Fairness Policy, supra.




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                 B. The DACA Program
                     DACA was announced in a June 15, 2012, memoran-
                 dum from Secretary of Homeland Security Janet Na-
                 politano, 4 entitled “Exercising Prosecutorial Discre-
                 tion with Respect to Individuals Who Came to the
                 United States as Children.” Secretary Napolitano ex-
                 plained that the nation’s immigration laws “are not
                 designed . . . to remove productive young people to
                 countries where they may not have lived or even speak
                 the language,” especially where “many of these young
                 people have already contributed to our country in sig-
                 nificant ways,” and, because they were brought here as
                 children, “lacked the intent to violate the law.” She
                 therefore determined that “[p]rosecutorial discretion,
                 which is used in so many other areas, is especially jus-
                 tified here.”
                    The Napolitano memorandum thus laid out the basic
                 criteria of the DACA program, under which a nonciti-
                 zen will be considered for a grant of deferred action if
                 he or she:
                      • came to the United States under the age of sixteen;
                      • has continuously resided in the United States for
                        at least five years preceding [June 15, 2012] and
                        is present in the United States on [June 15, 2012];
                      • is currently in school, has graduated from high
                        school, has obtained a general education devel-
                        opment certificate, or is an honorably discharged
                        veteran of the Coast Guard or Armed Forces of
                        the United States;

                  4
                    Napolitano is a party to this appeal in her current capacity as
                 President of the University of California.




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                      • has not been convicted of a felony offense, a sig-
                        nificant misdemeanor offense, or multiple misde-
                        meanor offenses, nor otherwise poses a threat to
                        national security or public safety; and
                      • is not above the age of thirty [on June 15, 2012]. 5
                    DACA applicants must submit extensive personal
                 information to DHS, along with fees totaling nearly
                 $500. Applicants also submit to biometric screening in
                 which they are photographed and fingerprinted, enab-
                 ling extensive biographical and biometric background
                 checks. If those checks come back clean, each appli-
                 cation is then evaluated for approval by DHS personnel
                 on a case-by-case basis.
                    If approved into the DACA program, an applicant is
                 granted a renewable two-year term of deferred action
                 —again, “a form of prosecutorial discretion whereby
                 the Department of Homeland Security declines to pur-
                 sue the removal of a person unlawfully present in the
                 United States.” Brewer II, 855 F.3d at 967. In addi-
                 tion to the deferral of removal itself, pre-existing DHS
                 regulations allow all deferred-action recipients to apply
                 for employment authorization, enabling them to work
                 legally and pay taxes. 8 U.S.C. § 1324a(h)(3) (empow-
                 ering the Executive Branch to authorize the employ-
                 ment of noncitizens); 8 C.F.R. § 274a.12(c)(14) (provid-
                 ing that “[a]n alien who has been granted deferred ac-
                 tion” is eligible for work authorization upon a showing
                 of “economic necessity for employment”). Indeed,
                 “DACA recipients are required to apply for employ-
                 ment authorization, in keeping with the Executive’s in-
                 tention that DACA recipients remain ‘productive’ mem-

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                      This criterion became known as the “age cap.”




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                 bers of society.” Ariz. Dream Act Coal. v. Brewer,
                 757 F.3d 1053, 1062 (9th Cir. 2014) (Brewer I) (emphasis
                 in original). Finally, DHS does not consider deferred-
                 action recipients, including those benefitting from DACA,
                 to accrue “unlawful presence” for purposes of the INA’s
                 reentry bars.6 8 U.S.C. § 1182(a)(9)(B)(ii); see Brewer I,
                 757 F.3d at 1059.
                    In an attempt to build on the success of the DACA
                 program, in 2014 Secretary of Homeland Security Jeh
                 Johnson issued a separate memorandum that both an-

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                     8 U.S.C. §§ 1182(a)(9)(B)(i)(I)-(II) establish a three-year and
                 ten-year bar on admission after specified periods of “unlawful pres-
                 ence.” Additionally, 8 U.S.C. § 1182(a)(9)(C) provides a perman-
                 ent bar on admission for immigrants who have accrued an aggre-
                 gate of more than one year of “unlawful presence” and who later at-
                 tempt to cross the border clandestinely. As the district court not-
                 ed below, DHS “excludes recipients of deferred action from being
                 ‘unlawfully present’ because their deferred action is considered a
                 period of stay authorized by the government.” Regents of Univ. of
                 Cal. v. DHS, 279 F. Supp. 3d 1011, 1039 (N.D. Cal. 2018). As DHS
                 noted in its DACA Frequently Asked Questions (FAQs), “[f ]or pur-
                 poses of future inadmissibility based upon unlawful presence, an in-
                 dividual whose case has been deferred is not considered to be
                 unlawfully present during the period in which deferred action is in
                 effect.” Importantly, however, “deferred action does not confer
                 lawful status upon an individual, nor does it excuse any previous or
                 subsequent periods of unlawful presence.”
                     The FAQs are attached as an exhibit to the Regents complaint,
                 and are cited pervasively throughout the Garcia complaint. See
                 United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (explain-
                 ing that for purposes of a motion to dismiss, “[c]ertain written in-
                 struments attached to pleadings may be considered part of the
                 pleading. Even if a document is not attached to a complaint, it
                 may be incorporated by reference into a complaint if the plaintiff
                 refers extensively to the document or the document forms the basis
                 of the plaintiff ’s claim.” (internal citation omitted)).




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                 nounced the related Deferred Action for Parents of
                 Americans and Lawful Permanent Residents program
                 (DAPA), which allowed deferred action for certain non-
                 citizen parents of American citizens and lawful perma-
                 nent residents, and expanded DACA by (1) removing
                 the age cap, (2) extending the term of deferred-action
                 and related work-authorization grants from two to
                 three years, and (3) moving up the cutoff date by which
                 an applicant must have been in the United States to
                 January 1, 2010. Twenty-six states challenged this ex-
                 tension in federal court, arguing that DAPA is uncon-
                 stitutional. All of the policies outlined in the Johnson
                 memorandum were enjoined nationwide in a district
                 court order upheld by the Fifth Circuit and affirmed by
                 an equally divided Supreme Court. See United States
                 v. Texas, 136 S. Ct. 2271 (2016); Texas v. United States,
                 809 F.3d 134 (5th Cir. 2015); Texas v. United States,
                 86 F. Supp. 3d 591 (S.D. Tex. 2015); see also Neil v.
                 Biggers, 409 U.S. 188, 192 (1972) (affirmance by an
                 equally divided court has no precedential value). The
                 original DACA program remained in effect.
                    In 2017, a new presidential administration took of-
                 fice, bringing with it a change in immigration policy.
                 On February 20, 2017, then-Secretary of Homeland Se-
                 curity John Kelly issued a memorandum that set out
                 the administration’s new enforcement priorities, stat-
                 ing that “the Department no longer will exempt classes
                 or categories of removable aliens from potential en-
                 forcement.” However, the memorandum explicitly left
                 DACA and DAPA in place. In a second memorandum
                 issued June 15, 2017, after “consider[ing] a number of
                 factors, including the preliminary injunction in the
                 [Texas] matter, the ongoing litigation, the fact that
                 DAPA never took effect, and our new immigration




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                 enforcement priorities,” Secretary Kelly rescinded
                 DAPA as an “exercise of [his] discretion.”
                     Then, on June 28, 2017, Texas Attorney General
                 Ken Paxton wrote to United States Attorney General
                 Jefferson B. Sessions III threatening that if the federal
                 government did not rescind DACA by September 5,
                 2017, Paxton would amend the complaint in the Texas
                 litigation to challenge DACA as well as DAPA.
                    On September 4, 2017, the day before Paxton’s
                 deadline, Attorney General Sessions sent his own letter
                 to Acting Secretary of Homeland Security Elaine
                 Duke. The Attorney General’s letter “advise[d] that
                 the Department of Homeland Security . . . should
                 rescind” the DACA memorandum based on his legal
                 opinion that the Department lacked statutory authority
                 to have created DACA in the first place. He wrote:
                    DACA was effectuated by the previous administra-
                    tion through executive action, without proper statu-
                    tory authority and with no established end-date, af-
                    ter Congress’[s] repeated rejection of proposed leg-
                    islation that would have accomplished a similar re-
                    sult. Such an open-ended circumvention of immi-
                    gration laws was an unconstitutional exercise of au-
                    thority by the Executive Branch.
                 The Attorney General further opined that “[b]ecause
                 the DACA policy has the same legal and constitutional
                 defects that the courts recognized as to DAPA, it is
                 likely that potentially imminent litigation would yield
                 similar results with respect to DACA.”
                    The very next day, following the Attorney General’s
                 directive, Acting Secretary Duke issued a memoran-
                 dum rescinding DACA. The memorandum begins with




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                 a “Background” section that covers DACA, DAPA, the
                 Texas litigation, Secretary Kelly’s previous memoran-
                 da, Texas Attorney General Paxton’s threat, and the
                 Attorney General’s letter. Then, in the section titled
                 “Rescission of the June 15, 2012 DACA Memorandum,”
                 the Duke memorandum states:
                    Taking into consideration the Supreme Court’s and
                    the Fifth Circuit’s rulings in the ongoing litigation,
                    and the September 4, 2017 letter from the Attorney
                    General, it is clear that the June 15, 2012 DACA
                    program should be terminated. In the exercise of
                    my authority in establishing national immigration
                    policies and priorities, except for the purposes ex-
                    plicitly identified below, I hereby rescind the June
                    15, 2012 memorandum.
                 The Duke memorandum further states that although
                 DHS would stop accepting initial DACA requests ef-
                 fective immediately, the agency would provide a one-
                 month window in which renewal applications could be
                 filed for current DACA beneficiaries whose benefits
                 were set to expire before March 5, 2018. It also states
                 that DHS would not terminate existing grants of de-
                 ferred action under DACA “solely based on the direc-
                 tives in this memorandum.”        Thus, beginning on
                 March 5, 2018, each DACA recipient’s grant of de-
                 ferred action would be allowed to expire at the end of
                 its two-year term. As of September 4, 2017—the day
                 before the rescission—approximately 689,800 individu-
                 als were enrolled in DACA.




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                 C. Procedural History
                    The rescission of DACA instantly sparked litigation
                 across the country, including the cases on appeal here.
                 Suits were filed in the Northern District of California
                 by the Regents of the University of California, a group
                 of states led by California, the City of San Jose, the
                 County of Santa Clara and Service Employees Inter-
                 national Union Local 521, and a group of individual
                 DACA recipients led by Dulce Garcia. The complaints
                 included claims that the rescission was arbitrary and
                 capricious under the Administrative Procedure Act
                 (APA); that it was a substantive rule requiring notice-
                 and-comment rulemaking under the APA; that it vio-
                 lated the due process and equal protection rights pro-
                 tected by the U.S. Constitution; and that DHS was
                 equitably estopped from using the information provid-
                 ed on DACA applications for enforcement purposes.
                 The cases were consolidated before Judge William
                 Alsup in the District Court for the Northern District of
                 California and proceeded to litigation.
                     On October 17, 2017, the district court ordered the
                 government to complete the administrative record,
                 holding that the record proffered by the government
                 was incomplete in several respects. Seeking to avoid
                 providing additional documents, the government filed a
                 petition for mandamus. In arguing its mandamus pe-
                 tition, the government took the position that the legal-
                 ity of the rescission should stand or fall based solely on
                 the reasons and the record already provided by the
                 government.       We denied the mandamus petition,
                 stating that “the notion that the head of a United
                 States agency would decide to terminate a program
                 giving legal protections to roughly 800,000 people




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                 based solely on 256 pages of publicly available docu-
                 ments is not credible, as the district court concluded.”
                 In re United States, 875 F.3d 1200, 1206 (9th Cir. 2017)
                 (footnotes omitted).
                     The government next petitioned the Supreme Court
                 for the same mandamus relief; the Court did not reach
                 the merits of the administrative record dispute, but in-
                 stead instructed the district court to rule on the gov-
                 ernment’s threshold arguments challenging reviewa-
                 bility of its rescission decision before requiring the
                 government to provide additional documents. In re
                 United States, 138 S. Ct. 443, 445 (2017). Thus, the
                 administrative record in this case still consists of a scant
                 256 publicly available pages, roughly three-quarters of
                 which are taken up by the three published judicial
                 opinions from the Texas litigation.
                     Returning to the district court, the government
                 moved to dismiss the consolidated cases on jurisdic-
                 tional grounds and for failure to state a claim, while the
                 plaintiffs moved for a preliminary injunction. The dis-
                 trict court granted the request for a nationwide pre-
                 liminary injunction, holding that most of the plaintiffs
                 had standing; 7 that neither the APA nor the INA
                 barred judicial review; and that plaintiffs were likely to
                 succeed on their claim that the decision to rescind
                 DACA was arbitrary and capricious. The district
                 court therefore entered a preliminary injunction re-
                 quiring DHS to adjudicate renewal applications for ex-
                 isting DACA recipients.



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                    Two states were dismissed from the case with leave to amend.
                 That decision is not challenged on appeal.




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                    In a separate order, the court partially granted and
                 partially denied the government’s motion to dismiss.
                 The court dismissed plaintiffs’ notice-and-comment and
                 Regulatory Flexibility Act claims; a due process claim
                 premised on an entitlement to deferred action; and the
                 equitable estoppel claim. The court denied the motion
                 as to plaintiffs’ equal protection claim and a due
                 process claim premised on an alleged change in DHS’s
                 information-sharing policy.
                     The district court certified the issues addressed
                 in both its orders for interlocutory review under
                 28 U.S.C. § 1292(b). We granted the government’s
                 petition for permission to appeal the orders. Plain-
                 tiffs cross-appealed, asserting that the district court
                 erroneously dismissed their notice-and-comment and
                 due process claims.
                                            II.
                     “We review the district court’s decision to grant or
                 deny a preliminary injunction for abuse of discretion.”
                 Hernandez v. Sessions, 872 F.3d 976, 987 (9th Cir.
                 2017) (quoting Sw. Voter Registration Educ. Project v.
                 Shelley, 344 F.3d 914, 918 (9th Cir. 2003) (en banc) (per
                 curiam)). Within this inquiry, “[w]e review the dis-
                 trict court’s legal conclusions de novo, the factual find-
                 ings underlying its decision for clear error.” Id. (quot-
                 ing K.W. ex rel. D.W. v. Armstrong, 789 F.3d 962, 969
                 (9th Cir. 2015)). A district court’s decision on a motion
                 to dismiss for lack of subject matter jurisdiction or for
                 failure to state a claim is also reviewed de novo. See,
                 e.g., Davidson v. Kimberly-Clark Corp., 889 F.3d 956,
                 963 (9th Cir. 2017).




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                                                  III.
                    The threshold question in this case is in many ways
                 also the most pivotal: is Acting Secretary Duke’s deci-
                 sion to rescind the DACA program reviewable by the
                 courts at all? The government contends that both the
                 APA and the INA bar judicial review; we address each
                 statute in turn.
                 A. Reviewability under the APA
                    The APA provides for broad judicial review of agency
                 action: “A person suffering legal wrong because of
                 agency action, or adversely affected or aggrieved by
                 agency action within the meaning of a relevant statute, is
                 entitled to judicial review thereof.” 5 U.S.C. § 702.
                 Thus, as a general matter, the Supreme Court has con-
                 sistently articulated “a ‘strong presumption’ favoring
                 judicial review of administrative action.” Mach Mining,
                 LLC v. EEOC, 135 S. Ct. 1645, 1651 (2015) (quoting
                 Bowen v. Mich. Acad. of Family Physicians, 476 U.S.
                 667, 670 (1986)); see also, e.g., Lincoln v. Vigil, 508 U.S.
                 182, 190 (1993) (“[W]e have read the APA as embodying a
                 ‘basic presumption of judicial review.’ ”) (quoting Abbott
                 Labs. v. Gardner, 387 U.S. 136, 140 (1967)).
                    However, the APA also forecloses judicial review
                 under its procedures to the extent that “agency action
                 is committed to agency discretion by law.” 5 U.S.C.
                 § 701(a)(2).8 “This is a very narrow exception” that

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                     This bar does not affect a plaintiff ’s ability to bring freestand-
                 ing constitutional claims. See Webster v. Doe, 486 U.S. 592, 601-05
                 (1988); Padula v. Webster, 822 F.2d 97, 101 (D.C. Cir. 1987) (“[E]v-
                 en where agency action is ‘committed to agency discretion by law,’
                 review is still available to determine if the Constitution has been
                 violated.” (quoting Doe v. Casey, 796 F.2d 1508, 1517-18 n.33 (1986),




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                 comes into play only “in those rare instances where
                 statutes are drawn in such broad terms that in a given
                 case there is no law to apply.” Citizens to Preserve
                 Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)
                 (internal quotation marks omitted), abrogated on other
                 grounds by Califano v. Sanders, 430 U.S. 99 (1977); see
                 also Heckler v. Chaney, 470 U.S. 821, 830 (1985)
                 (“[R]eview is not to be had if the statute is drawn so
                 that a court would have no meaningful standard against
                 which to judge the agency’s exercise of discretion.”).
                     In Heckler v. Chaney, the Supreme Court analyzed
                 this exception in considering “the extent to which a de-
                 cision of an administrative agency to exercise its ‘dis-
                 cretion’ not to undertake certain enforcement actions is
                 subject to judicial review under the [APA].” 470 U.S.
                 at 823. In Chaney, the Commissioner of the Food and
                 Drug Administration (FDA) declined to take investi-
                 gatory and enforcement action against state prison of-
                 ficials’ use of drugs, which had been FDA-approved for
                 medical use, in human executions. Id. at 823-24. A
                 group of prisoners on death row had petitioned the
                 FDA, arguing that using the drugs to execute humans
                 was unlawful because they were only approved for
                 medical use, and not for executions. Id. Responding to
                 the petition, the Commissioner questioned whether the
                 FDA had jurisdiction to prohibit the use of drugs in ex-
                 ecutions, but went on to conclude that even if the
                 agency did have jurisdiction, it would “decline to exer-
                 cise it under [the agency’s] inherent discretion to” do
                 so. Id. at 824. The inmates then sued the FDA, at-


                 aff ’d in part, rev’d in part on other grounds, Webster v. Doe,
                 486 U.S. 592 (1988))).




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                 tempting to invoke the APA’s framework for judicial
                 review. Id. at 825.
                     The Supreme Court held that the FDA Commis-
                 sioner’s discretionary decision not to enforce the Food,
                 Drug, and Cosmetic Act against state prison officials
                 was unreviewable under the APA. Chaney, 470 U.S.
                 at 837-38. The Court identified a pre-APA “tradition”
                 under which “an agency’s decision not to prosecute or
                 enforce . . . is a decision generally committed to an
                 agency’s absolute discretion,” and concluded that “the
                 Congress enacting the APA did not intend to alter that
                 tradition.” Id. at 831-32. As the Court summed up
                 its holding, “[t]he general exception to reviewability
                 provided by § 701(a)(2) for action ‘committed to agency
                 discretion’ remains a narrow one, but within that ex-
                 ception are included agency refusals to institute inves-
                 tigative or enforcement proceedings, unless Congress
                 has indicated otherwise.” Id. at 838 (citation omitted).
                 That is, the normal presumption in favor of judicial
                 review is reversed when the agency action in question
                 is a refusal to enforce the substantive law.
                     Importantly for present purposes, the Court explic-
                 itly left open the question whether “a refusal by the
                 agency to institute proceedings based solely on the be-
                 lief that it lacks jurisdiction” might be reviewable not-
                 withstanding this general rule. Chaney, 470 U.S. at 833
                 n.4 (“[W]e express no opinion on whether such decisions
                 would be unreviewable under § 701(a)(2) . . . .”).9 This

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                      Chaney’s footnote 4 reads in its entirety:
                      We do not have in this case a refusal by the agency to institute
                      proceedings based solely on the belief that it lacks jurisdiction.
                      Nor do we have a situation where it could justifiably be found




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                 reservation makes perfect sense. It is one thing to
                 read the APA’s exception for “agency action [] com-
                 mitted to agency discretion by law” as including the
                 Executive’s discretionary decisions to decline enforce-
                 ment, given a pre-existing legal tradition that had
                 treated those decisions as unreviewable. It would be
                 quite another to say that an agency’s non-discretionary
                 belief that it lacked the power to enforce the law was
                 similarly “committed to agency discretion.” 5 U.S.C.
                 § 701(a)(2); see Chaney, 470 U.S. at 833 n.4 (“[W]e note
                 that in those situations [involving a belief that the
                 agency lacked discretion,] the statute conferring au-
                 thority on the agency might indicate that such deci-
                 sions were not ‘committed to agency discretion.’ ”).
                    Several years after Chaney, our court directly ad-
                 dressed the question that the Supreme Court had left
                 open. In Montana Air Chapter No. 29 v. Federal
                 Labor Relations Authority, a union representing civil-
                 ian Air National Guard employees filed an unfair labor
                 practice charge against the National Guard Bureau,
                 but the Federal Labor Relations Authority (FLRA) re-
                 fused to issue a complaint. 898 F.2d 753, 755 (9th Cir.
                 1990). The opinion letters issued by FLRA’s general
                 counsel indicated that he had “determined, according


                    that the agency has “consciously and expressly adopted a general
                    policy” that is so extreme as to amount to an abdication of its
                    statutory responsibilities. See, e.g., Adams v. Richardson,
                    156 U.S. App. D.C. 267, 480 F.2d 1159 (1973) (en banc). Although
                    we express no opinion on whether such decisions would be unre-
                    viewable under § 701(a)(2), we note that in those situations the
                    statute conferring authority on the agency might indicate that
                    such decisions were not “committed to agency discretion.”
                 Heckler v. Chaney, 470 U.S. 821, 833 n.4 (emphasis added).




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                 to his interpretation of the statutes and regulations,
                 that he lacked jurisdiction to issue an unfair labor prac-
                 tice complaint” under the circumstances. Id. at 757.
                    Acknowledging Chaney’s rule that “[a]n agency’s
                 decision not to take enforcement action . . . is pre-
                 sumed to be immune from judicial review,” we noted
                 that the Supreme Court had nevertheless “suggested
                 that discretionary nonenforcement decisions may be
                 reviewable when” the refusal to enforce is based on a
                 supposed lack of jurisdiction.       Id. at 756 (citing
                 Chaney, 470 U.S. at 833 n.4). We took the next logical
                 step, holding that Chaney’s presumption of nonreview-
                 ability “may be overcome if the refusal is based solely
                 on the erroneous belief that the agency lacks jurisdic-
                 tion.” Id. at 754. Because “the General Counsel’s
                 decision not to issue an unfair labor practice complaint
                 was based on his belief that he lacked jurisdiction to
                 issue such a complaint,” we proceeded to “examine the
                 General Counsel’s statutory and regulatory interpreta-
                 tions to determine if his belief that he lacked jurisdic-
                 tion was correct.” Id. at 757.10
                    The final piece of the APA reviewability puzzle is
                 the Supreme Court’s decision in City of Arlington v.
                 FCC, 569 U.S. 290 (2013). There, the Court was faced
                 with the question whether an agency’s determination of

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                     We reject the government’s reading of Montana Air, under
                 which the Chaney presumption would be overcome only if the agency
                 action is based on a belief in a lack of jurisdiction, and the refusal
                 to enforce is so extreme as to become an abdication of the agency’s
                 statutory responsibilities. Both Chaney and Montana Air make
                 clear that these are two independent exceptions to the narrow rule
                 of nonreviewability, not two elements of a single test. Chaney,
                 470 U.S. at 833 n.4; Montana Air, 898 F.2d at 756.




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                 its own jurisdiction is entitled to the same deference as
                 any other agency interpretation under Chevron, U.S.A.,
                 Inc. v. Natural Resources Defense Council, Inc., 467 U.S.
                 837 (1984). Writing for the Court, Justice Scalia ex-
                 plained in no uncertain terms that in the context of ad-
                 ministrative agencies, “the distinction between ‘juris-
                 dictional’ and ‘nonjurisdictional’ interpretations is a
                 mirage.” City of Arlington, 569 U.S. at 297. With re-
                 spect to courts, the jurisdictional/nonjurisdictional divide
                 is a real and consequential one, because “[a] court’s
                 power to decide a case is independent of whether its
                 decision is correct . . . . Put differently, a jurisdic-
                 tionally proper but substantively incorrect judicial
                 decision is not ultra vires.” Id. But the same is not
                 true with respect to agencies: “Both their power to
                 act and how they are to act is authoritatively pre-
                 scribed by Congress, so that when they act improperly,
                 no less than when they act beyond their jurisdiction,
                 what they do is ultra vires.” Id. Thus, the Court
                 concluded, “[t]he reality, laid bare, is that there is no
                 difference, insofar as the validity of agency action is
                 concerned, between an agency’s exceeding the scope of
                 its authority (its ‘jurisdiction’) and its exceeding au-
                 thorized application of authority that it unquestionably
                 has.” Id. at 299 (emphasis in original). 11


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                      The opinion is replete with equally emphatic—and equally
                 quotable—formulations of the same point. See, e.g., City of Ar-
                 lington, 569 U.S. at 301 (“In sum, judges should not waste their
                 time in the mental acrobatics needed to decide whether an agency’s
                 interpretation of a statutory provision is ‘jurisdictional’ or ‘nonju-
                 risdictional.’ Once those labels are sheared away, it becomes clear
                 that the question in every case is, simply, whether the statutory
                 text forecloses the agency’s assertion of authority, or not.”).




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                     To summarize, Chaney holds that an agency’s re-
                 fusal to enforce the substantive law is presumptively
                 unreviewable because that discretionary nonenforce-
                 ment function is “committed to agency discretion”
                 within the meaning of the APA. Montana Air builds
                 upon the question left open by Chaney’s footnote four,
                 explaining that a nonenforcement decision is reviewa-
                 ble notwithstanding Chaney if the decision was based
                 solely on the agency’s belief that it lacked jurisdiction
                 to act. And City of Arlington teaches that there is no
                 difference between an agency that lacks jurisdiction to
                 take a certain action, and one that is barred by the sub-
                 stantive law from doing the same; the question “is al-
                 ways, simply, whether the agency has stayed within the
                 bounds of its statutory authority.” City of Arlington,
                 569 U.S. at 297 (emphasis omitted). The rule that
                 emerges is this: an agency’s nonenforcement decision
                 is outside the scope of the Chaney presumption—and is
                 therefore presumptively reviewable—if it is based solely
                 on a belief that the agency lacked the lawful authority
                 to do otherwise. That is, where the agency’s decision
                 is based not on an exercise of discretion, but instead on
                 a belief that any alternative choice was foreclosed by
                 law, the APA’s “committed to agency discretion” bar to
                 reviewability, 5 U.S.C. § 701(a)(2), does not apply.
                     This rule is fully consistent with the Supreme Court’s
                 decision in ICC v. Brotherhood of Locomotive Engineers
                 (BLE), which rejected the notion that “if the agency gives
                 a ‘reviewable’ reason for otherwise unreviewable action,
                 the action becomes reviewable.” 482 U.S. 270, 283
                 (1987). We have no quarrel with that statement in the
                 abstract, but as applied it simply begs the question: is
                 the agency action in question “otherwise unreviewable”?




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                    The BLE case concerned the reviewability of the
                 Interstate Commerce Commission’s denial of a motion
                 to reopen proceedings on grounds of material error.
                 Id. at 280. The Supreme Court held that category of
                 agency action presumptively unreviewable because it
                 “perceive[d] . . . a similar tradition of nonreviewabil-
                 ity” to the one it had found in Chaney for nonenforce-
                 ment decisions. Id. at 282. In reaching its holding,
                 the Court rejected an argument that there was never-
                 theless “law to apply”—and that therefore the action
                 was not committed to agency discretion—as the agen-
                 cy’s order had discussed the legal merits at length.
                 Id. at 280-81. What mattered was that the agency’s
                 “formal action” was one for which a tradition of nonre-
                 viewability was discernable, regardless of how the
                 agency explained its action.12 Id.
                    BLE thus stands for the proposition that if a partic-
                 ular type of agency action is presumptively unreviewa-
                 ble, the fact that the agency explains itself in terms
                 that are judicially cognizable does not change the cat-
                 egorical rule. Fair enough. But the categorical rule


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                      The Court gave as an example a prosecutor’s refusal to insti-
                 tute criminal proceedings based on her “belief . . . that the law
                 will not sustain a conviction.” BLE, 482 U.S. at 283. Such a be-
                 lief is not equivalent to a conclusion that the government lacked the
                 power to institute a prosecution in the first place. For one colorful
                 example, in Bond v. United States, prosecutors made the “surpris-
                 ing” decision to charge “an amateur attempt by a jilted wife to
                 injure her husband’s lover” under the federal statute implementing
                 the international Convention on Chemical Weapons. 134 S. Ct.
                 2077, 2083-84 (2014). While the Court ultimately interpreted the
                 statute not to encompass the charged conduct, id. at 2093-94, no
                 one suggested that the government’s aggressive decision to insti-
                 tute the prosecution was itself ultra vires.




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                 announced in Chaney does not encompass nonenforce-
                 ment decisions based solely on the agency’s belief that
                 it lacked power to take a particular course; instead, the
                 Court explicitly declined to extend its rule to that
                 situation. Chaney, 470 U.S. at 833 n.4. And in Mon-
                 tana Air, we held that such decisions are reviewable.
                 898 F.2d at 754. BLE’s statement about “otherwise
                 unreviewable” agency decisions, 482 U.S. at 283, there-
                 fore has no application to the category of agency action
                 at issue here.
                    We believe the analysis laid out above follows neces-
                 sarily from existing doctrine. And, just as importantly,
                 this approach also promotes values fundamental to the
                 administrative process.
                    First, the Montana Air rule does not impermissibly
                 encroach on executive discretion; to the contrary, it
                 empowers the Executive. If an agency head is mistaken
                 in her assessment that the law precludes one course of
                 action, allowing the courts to disabuse her of that in-
                 correct view of the law does not constrain discretion,
                 but rather opens new vistas within which discretion can
                 operate. That is, if an administrator chooses option A
                 for the sole reason that she believes option B to be
                 beyond her legal authority, a decision from the courts
                 putting option B back on the table allows a reasoned,
                 discretionary policy choice between the two courses of
                 action. And if the agency’s view of the law is instead
                 confirmed by the courts, no injury to discretion results
                 because the status quo is preserved.
                    Moreover, allowing judicial review under these cir-
                 cumstances serves the critical function of promoting
                 accountability within the Executive Branch—not ac-
                 countability to the courts, but democratic accountabil-




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                 ity to the people. Accountability in this sense is fun-
                 damental to the legitimacy of the administrative sys-
                 tem: although they are “unelected . . . bureau-
                 crats,” City of Arlington, 569 U.S. at 305, the heads of
                 cabinet-level departments like DHS “are subject to the
                 exercise of political oversight and share the President’s
                 accountability to the people.” Freytag v. Comm’r of
                 Internal Revenue, 501 U.S. 868, 886 (1991). Indeed,
                 the Constitution’s “Appointments Clause was designed
                 to ensure public accountability for . . . the making
                 of a bad appointment . . . .” Edmond v. United
                 States, 520 U.S. 651, 660 (1997); see also Elena Kagan,
                 Presidential Administration, 114 Harv. L. Rev. 2245,
                 2251-52 (2001) (“[A]ccountability” is one of the two
                 “principal values that all models of administration must
                 attempt to further.”); 1 Richard J. Pierce, Jr., Admin-
                 istrative Law Treatise 114 (5th ed. 2010) (“Agencies
                 are politically accountable because the President is ac-
                 countable for the actions of agencies.”).
                    This democratic responsiveness is especially critical
                 for agencies exercising prosecutorial functions because,
                 as Justice Scalia explained in his oft-cited dissent in
                 Morrison v. Olson, “[u]nder our system of government,
                 the primary check against prosecutorial abuse is a
                 political one.” 487 U.S. 654, 728 (1988) (Scalia, J., dis-
                 senting). This check works because “when crimes are
                 not investigated and prosecuted fairly, nonselectively,
                 with a reasonable sense of proportion, the President
                 pays the cost in political damage to his administration.”
                 Id. at 728-29. In other words, when prosecutorial
                 functions are exercised in a manner that is within the
                 law but is nevertheless repugnant to the sensibilities of
                 the people, “the unfairness will come home to roost in
                 the Oval Office.” Id. at 729.




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                    But public accountability for agency action can only
                 be achieved if the electorate knows how to apportion
                 the praise for good measures and the blame for bad
                 ones. Without knowing the true source of an objec-
                 tionable agency action, “the public cannot ‘determine
                 on whom the blame or the punishment of a pernicious
                 measure, or series of pernicious measures ought really
                 to fall.’ ” Free Enter. Fund v. Pub. Co. Accounting
                 Oversight Bd., 561 U.S. 477, 498 (2010) (quoting The
                 Federalist No. 70, at 476 (Alexander Hamilton) (Jacob
                 E. Cooke ed. 1961)).       In then-Professor Kagan’s
                 words, “the degree to which the public can understand
                 the sources and levers of bureaucratic action” is “a fun-
                 damental precondition of accountability in administra-
                 tion.” Kagan, supra, at 2332.
                     The Montana Air rule promotes accountability by
                 ensuring that the public knows where to place blame
                 for an unpopular measure. When an agency justifies
                 an action solely with an assertion that the law prohibits
                 any other course, it shifts responsibility for the out-
                 come from the Executive Branch to Congress (for mak-
                 ing the law in question) or the courts (for construing
                 it). If the Executive is correct in its interpretation of
                 the law, then the public is correct to blame the other
                 two branches for any resulting problems. But if the
                 Executive is wrong, then it avoids democratic account-
                 ability for a choice that was the agency’s to make all
                 along. Allowing the judiciary—the branch ultimately
                 responsible for interpreting the law, see Marbury,
                 5 U.S. (1 Cranch) at 177—to review such decisions pre-
                 vents this anti-democratic and untoward outcome. As
                 Judge Bates of the District Court for the District of
                 Columbia aptly put the point in confronting the very
                 issue we face here, “an official cannot claim that the




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                 law ties her hands while at the same time denying the
                 courts’ power to unbind her. She may escape political
                 accountability or judicial review, but not both.”
                 NAACP v. Trump, 298 F. Supp. 3d 209, 249 (D.D.C.
                 2018).
                    We therefore must determine whether the Acting
                 Secretary’s decision to end DACA was based solely on
                 a belief that the program was unlawful, such that the
                 Chaney presumption does not apply. 13

                  13
                      Because we take this doctrinal course, we need not decide
                 whether the rescission of DACA would be reviewable absent the
                 exception reflected in Montana Air and Chaney’s footnote four.
                 But we do note several points. First, a literal reading of Chaney’s
                 language would not even encompass the decision to rescind DACA,
                 since Chaney by its own terms applies only to “agency decisions
                 not to undertake enforcement action.” 470 U.S. at 832 (emphasis
                 added). Nowhere does the opinion suggest the broader proposi-
                 tion that any decision simply related to enforcement should be pre-
                 sumed unreviewable. Our court’s dicta in Morales de Soto v.
                 Lynch, 824 F.3d 822, 827 n.4 (9th Cir. 2016), which addressed a
                 completely separate issue of jurisdiction under the INA, is not to
                 the contrary. Thus, to the extent that the Montana Air exception
                 might not seem a perfect fit for the rescission of DACA—which was
                 not exactly a decision not to enforce—the Chaney presumption
                 itself shares the same defect. There is no daylight between the
                 Chaney rule and the Montana Air exception in terms of the type of
                 agency action to which they apply. So if the rescission of DACA
                 were outside the Montana Air exception by virtue of not being
                 strictly a nonenforcement decision, it would also fall outside the
                 Chaney presumption of unreviewability in the first place.
                     Second, the D.C. Circuit has developed a line of cases explain-
                 ing that while Chaney bars judicial review of a “single-shot nonen-
                 forcement decision,” on the other hand, “an agency’s adoption of a
                 general enforcement policy is subject to review.” OSG Bulk
                 Ships, Inc. v. United States, 132 F.3d 808, 812 (D.C. Cir. 1998)
                 (quoting Crowley Caribbean Transp., Inc. v. Pena, 37 F.3d 671,




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                    We take Attorney General Sessions literally at his
                 word when he wrote to Acting Secretary Duke that
                 “DACA was effectuated . . . without proper statu-
                 tory authority,” and that DACA “was an unconstitu-
                 tional exercise of authority by the Executive Branch.”
                 These are the reasons he gave for advising Acting Sec-
                 retary Duke to rescind DACA. We therefore agree
                 with the district court that the basis for the rescission
                 was a belief that DACA was unlawful, and that the
                 discretionary “litigation risk” rationale pressed by the
                 government now is a mere post-hoc rationalization put
                 forward for purposes of this litigation. 14 Acting Sec-
                 retary Duke’s September 5, 2017, rescission memoran-
                 dum contains exactly one sentence of analysis:
                    Taking into consideration the Supreme Court’s and
                    the Fifth Circuit’s rulings in the ongoing litigation,
                    and the September 4, 2017 letter from the Attorney

                 674-75 (D.C. Cir. 1994)); see also Kenney v. Glickman, 96 F.3d
                 1118, 1123 (8th Cir. 1996); Nat’l Treasury Emps. Union v. Horner,
                 854 F.2d 490, 496-97 (D.C. Cir. 1988).
                      Thus, every one of the four courts that has considered the ques-
                 tion has held that the rescission of DACA is reviewable under the
                 APA, although each has employed slightly different reasoning for
                 that conclusion. See NAACP v. Trump, 298 F. Supp. 3d 209,
                 226-34 (D.D.C. 2018); Casa de Md. v. DHS, 284 F. Supp. 3d 758,
                 769-70 (D. Md. 2018); Regents of Univ. of Cal. v. DHS, 279 F. Supp.
                 3d 1011, 1029-31 (N.D. Cal. 2018) (decision below); Batalla Vidal v.
                 Duke, 295 F. Supp. 3d 127, 147-52 (E.D.N.Y. 2017).
                   14
                      After hundreds of pages of briefing and over an hour of oral
                 argument, it remains less than clear how “litigation risk” differs
                 from a substantive belief that DACA is illegal. We take the term to
                 refer to a concern that DACA would be abruptly enjoined, regard-
                 less of whether the program was illegal or not. Of course, such a
                 concern is not independent of an on-the-merits assessment of
                 DACA’s legality.




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                       General, it is clear that the June 15, 2012 DACA
                       program should be terminated.
                    In the next sentence, the Acting Secretary went on
                 to announce the rescission itself:
                       In the exercise of my authority in establishing na-
                       tional immigration policies and priorities, except for
                       the purposes explicitly identified below, I hereby
                       rescind the June 15, 2012 memorandum.
                     The easy rejoinder to the government’s insistence
                 that the Acting Secretary rescinded DACA due to “liti-
                 gation risks” is that the Acting Secretary did not men-
                 tion “litigation risks” as a “consideration.” And both
                 “consideration[s]” actually enumerated by the Acting
                 Secretary are most naturally read as supporting a
                 rationale based on DACA’s illegality. The “ongoing li-
                 tigation” referenced is of course Texas v. United
                 States, in which the Fifth Circuit upheld a preliminary
                 injunction against the related DAPA policy, and the
                 Supreme Court affirmed by an equally divided vote. 15
                 See Texas, 136 S. Ct. 2271 (2016); Texas, 809 F.3d 134
                 (5th Cir. 2015). The “rulings” in that case are propo-
                 sitions of law—taken alone, they are more readily un-
                 derstood as supporting a legal conclusion (DACA is
                 illegal) than a pragmatic one (DACA might be en-
                 joined). The pragmatic interpretation requires extra
                 analytical steps (someone might sue to enjoin DACA,
                 and they might win) that are entirely absent from the
                 list of factors that the Acting Secretary stated she was

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                     This conclusion is only bolstered by the fact that the govern-
                 ment’s production of the “administrative record” in this case in-
                 cludes the entirety of the three published judicial opinions in the
                 Texas litigation.




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                 “taking into consideration” in making her decision.
                 Acting Secretary Duke easily could have included “the
                 prospect of litigation challenging DACA” in her list of
                 considerations; had she done so, then perhaps the ref-
                 erence to the Texas litigation could be read as supporting
                 a practical worry about an injunction. 16 Absent that,
                 however, the mention of the courts’ “rulings” is best read
                 as referencing the courts’ legal conclusions.
                    Attorney General Sessions’s September 4, 2017,
                 letter likewise focuses on the supposed illegality of
                 DACA, rather than any alleged “litigation risk.” Its
                 substantive paragraph states
                       DACA was effectuated . . . without proper stat-
                       utory authority and with no established end-date,
                       after Congress’[s] repeated rejection of proposed
                       legislation that would have accomplished a similar
                       result. Such an open-ended circumvention of immi-
                       gration laws was an unconstitutional exercise of
                       authority by the Executive Branch.
                 (emphases added).
                    These sentences unmistakably reflect the Attorney
                 General’s belief that DACA was illegal and therefore
                 beyond the power of DHS to institute or maintain.
                 The letter goes on to opine that “[b]ecause the DACA
                 policy has the same legal and constitutional defects
                 that the courts recognized as to DAPA [in the Texas li-

                  16
                     The Acting Secretary did reference Texas Attorney General
                 Ken Paxton’s threat to amend the Texas suit to include DACA, but
                 she did so in the “Background” section of her memorandum. If
                 anything, the inclusion of the threat in the background portion ren-
                 ders its omission from the list of factors the Acting Secretary was
                 actually “[t]aking into consideration” all the more stark.




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                 tigation], it is likely that potentially imminent litigation
                 would yield similar results with respect to DACA.”
                 But in the context of the full paragraph, the reference
                 to “similar results” is best read not as an independent
                 reason for rescinding DACA, but as a natural conse-
                 quence of DACA’s supposed illegality—which is the
                 topic of the paragraph as a whole. In the words of
                 Judge Garaufis of the District Court for the Eastern
                 District of New York, that reference “is too thin a reed
                 to bear the weight of Defendants’ ‘litigation risk’ ar-
                 gument.” Batalla Vidal v. Nielsen, 279 F. Supp. 3d
                 401, 429 (E.D.N.Y. 2018).
                    In any event, the Attorney General’s letter is rele-
                 vant only to the extent it illuminates whether Acting
                 Secretary Duke—the official who actually rescinded
                 the DACA program—did so as an exercise of her dis-
                 cretion or because she understood her hand to be
                 forced by the law. In this connection, it is helpful to
                 compare the operative language used by Acting Secre-
                 tary Duke to rescind DACA with that used by her pre-
                 decessor, Secretary John Kelly, to rescind DAPA just
                 months before. In his June 15, 2017, memorandum,
                 Secretary Kelly wrote:
                    After consulting with the Attorney General, and in
                    the exercise of my discretion in establishing national
                    immigration enforcement policies and priorities, I
                    hereby rescind the November 20, 2014 memoran-
                    dum [that established DAPA].
                 (emphasis added). Placed alongside Acting Secretary
                 Duke’s language, the parallels—and the differences—are
                 stark. Acting Secretary Duke’s memorandum reads:




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                    In the exercise of my authority in establishing na-
                    tional immigration policies and priorities, except for
                    the purposes explicitly identified below, I hereby
                    rescind the June 15, 2012 memorandum [that estab-
                    lished DACA].
                 (emphasis added).
                    The obvious similarities between the two passages
                 strongly suggest that Acting Secretary Duke modeled
                 her language after that of Secretary Kelly’s memo.
                 And indeed, we know that the Acting Secretary con-
                 sidered the Kelly memorandum in reaching her deci-
                 sion, because the government has told us so. See
                 Petition for Writ of Mandamus, In re United States,
                 No. 17-72917 (9th Cir. Oct. 20, 2017) (stating that the
                 government’s proffered administrative record in this
                 case, which includes the Kelly memorandum, “con-
                 sist[s] of the non-privileged materials considered by
                 the Acting Secretary in reaching her decision to re-
                 scind the DACA policy”); id. at 18 (taking the position
                 that only materials personally reviewed by the Acting
                 Secretary herself, not by subordinates, are “consid-
                 ered” by the Secretary).
                     Given that Acting Secretary Duke hewed so closely
                 to Secretary Kelly’s language in general, it is appro-
                 priate to draw meaning from the one major difference
                 between the two sentences: Secretary Kelly exer-
                 cised his “discretion” in ending DAPA; Acting Secre-
                 tary Duke merely exercised her “authority.” Cf., e.g.,
                 Jama v. ICE, 543 U.S. 335, 357 (2005) (“[W]hen the
                 legislature uses certain language in one part of the
                 statute and different language in another, the court as-
                 sumes different meanings were intended.”). The point
                 is that with the example set by the Kelly memorandum




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                 in front of her, Acting Secretary Duke clearly would have
                 known how to express that the rescission was a discre-
                 tionary act—if that were indeed the case.17 Further-
                 more, the near-verbatim language of the two rescission
                 memoranda suggests that the Acting Secretary adopted
                 the majority of Kelly’s wording, but actively rejected
                 describing the DACA rescission as an act of discretion.
                 This difference in language cuts strongly against any
                 suggestion that the rescission was discretionary.
                    The government counters that the memorandum
                 “focused from beginning to end principally on litigation
                 concerns, not the legality of DACA per se.” But as the
                 State plaintiffs point out, the memorandum’s refer-
                 ences to these supposed “litigation concerns” were lim-
                 ited to a simple summary of the Texas litigation’s pro-
                 cedural history; appeared only in the “Background”
                 section of the memorandum; and were not referenced
                 in the Acting Secretary’s statement of what she was
                 “[t]aking into consideration.” See also note 16, supra.
                    The government also asserts that because the Act-
                 ing Secretary wrote that DACA “should” rather than
                 must be ended, she did not view herself as bound to
                 act. But even on its face, “should” is fully capable of
                 expressing obligation or necessity. See, e.g., Should,
                 New Oxford American Dictionary (3d ed. 2010) (“used
                 to indicate obligation, duty, or correctness”); cf.
                 Should, Garner’s Dictionary of Legal Usage (3d ed.
                 2011) (“should . . . is sometimes used to create

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                     Secretary Kelly’s references to the factors he considered,
                 which included obviously discretionary considerations such as “our
                 new immigration enforcement priorities,” provided a further model
                 for how to describe a discretionary decision, which Acting Secre-
                 tary Duke also chose not to follow.




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                 mandatory standards”). The Acting Secretary’s use
                 of “should” instead of “must” cannot overcome the
                 absence of any discussion of potential litigation or the
                 “risks” attendant to it from the rescission memoran-
                 dum’s statement of reasons, and the discrepancy be-
                 tween the rescission of DAPA as an act of “discretion”
                 and the rescission of DACA as an act of “authority.”
                    Finally, the government takes a quote from the Su-
                 preme Court to the effect that courts should “uphold a
                 decision of less than ideal clarity if the agency’s path
                 may reasonably be discerned,” Bowman Transp., Inc.
                 v. Ark.-Best Freight Sys., Inc., 419 U.S. 281, 286 (1974),
                 and contorts it into an argument that the district
                 court’s “narrow reading of the Acting Secretary’s ra-
                 tionale is hardly the only one that ‘may reasonably be
                 discerned’ from the Acting Secretary’s memorandum.”
                 But Bowman is about finding a reviewable rationale in
                 an agency’s action versus finding no articulation of that
                 rationale. Bowman does not say—and it certainly
                 does not logically follow—that a court must ignore the
                 most natural reading of an agency’s statement of rea-
                 sons just because it may also be “reasonably suscepti-
                 ble” to a (less compelling) reading that the government
                 would prefer. The government is in effect asking the
                 court to defer to agency counsel’s post-hoc rationaliza-
                 tion, as long as there is some reading of the rescission
                 memorandum—never mind how strained—that would
                 support it. Bowman does not require this incongru-
                 ous result.
                     We agree with the district court that the Acting
                 Secretary based the rescission of DACA solely on a be-
                 lief that DACA was beyond the authority of DHS.
                 Under Montana Air and Chaney’s footnote four, this




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                 conclusion brings the rescission within the realm of
                 agency actions reviewable under the APA. Unless the
                 INA itself deprives the courts of jurisdiction over this
                 case, we must proceed to evaluate the merits of plain-
                 tiffs’ arbitrary-and-capricious claim.
                 B. Jurisdiction under the INA
                    The government contends that the INA stripped the
                 district court of its jurisdiction in a provision that states:
                    Except as provided in this section [which sets out
                    avenues of review not applicable here] . . . no
                    court shall have jurisdiction to hear any cause or
                    claim by or on behalf of any alien arising from the
                    decision or action by the [Secretary of Homeland
                    Security] to commence proceedings, adjudicate cas-
                    es, or execute removal orders against any alien un-
                    der this chapter.
                 8 U.S.C. § 1252(g).
                    The Supreme Court has explicitly held that this sec-
                 tion “applies only to three discrete actions that the
                 [Secretary] may take: her ‘decision or action’ to ‘com-
                 mence proceedings, adjudicate cases, or execute re-
                 moval orders.’ ” AADC, 525 U.S. at 482 (emphasis in
                 original). As the Court put it, “[i]t is implausible that
                 the mention of three discrete events along the road to
                 deportation was a shorthand way of referring to all
                 claims arising from deportation proceedings. Not be-
                 cause Congress is too unpoetic to use synecdoche, but
                 because that literary device is incompatible with the
                 need for precision in legislative drafting.” Id.
                    The government attempts to expand Section 1252(g)
                 to encompass this case in two ways. First, it points
                 out that the AADC Court read that provision as Con-




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                 gress’s effort to shield executive decisions not to grant
                 deferred action from review outside the procedures
                 prescribed by the INA. The Court quoted a treatise
                 describing the practice of deferred action and the liti-
                 gation that would result when the government declined
                 to grant deferred action: “Efforts to challenge the re-
                 fusal to exercise such discretion on behalf of specific
                 aliens sometimes have been favorably considered by the
                 courts . . . .” Id. at 484-85 (quoting 6 Charles Gordon
                 et al., Immigration Law and Procedure § 72.03[2][h]
                 (1998)). Having reviewed these developments, the Court
                 concluded: “Section 1252(g) seems clearly designed to
                 give some measure of protection to ‘no deferred action’
                 decisions and similar discretionary determinations. . . .”
                 Id. at 485.
                    The government argues that AADC’s reasoning—
                 and therefore Section 1252(g)—applies to the rescis-
                 sion of DACA, which is itself in some sense a “no de-
                 ferred action” decision. It seems quite clear, however,
                 that AADC reads Section 1252(g) as responding to liti-
                 gation over individual “no deferred action” decisions,
                 rather than a programmatic shift like the DACA re-
                 scission. For example, the treatise passage AADC
                 quotes to set the scene for Congress’s action refers ex-
                 plicitly to “[e]fforts to challenge the refusal to exercise
                 [deferred action] on behalf of specific aliens. . . .”
                 Id. (emphasis added). And in any case, the holding of
                 AADC was explicit: “The provision applies only to
                 [the] three discrete actions” mentioned in the statute.
                 Id. at 482.
                    The government’s fallback argument is thus to cast
                 the rescission of DACA as an initial “action” in the
                 agency’s “commence[ment] [of ] proceedings.” 8 U.S.C.




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                 § 1252(g). But AADC specifically rejected a broad
                 reading of the three discrete actions listed in Section
                 1252(g). “[D]ecisions to open an investigation, [or] to
                 surveil the suspected violator” are not included in
                 Section 1252(g)’s jurisdictional bar, AADC, 525 U.S. at
                 482, even though these actions are also “part of the
                 deportation process,” id., and could similarly be con-
                 strued as incremental steps toward an eventual “com-
                 mence[ment] [of ] proceedings,” 8 U.S.C. § 1252(g).
                    Indeed, in a case closely on point, our court rejected
                 the application of Section 1252(g) and allowed to pro-
                 ceed a challenge to INS guidance narrowly interpret-
                 ing the terms of a “one-time legalization program” for
                 undocumented immigrants. See Catholic Soc. Servs.,
                 Inc. v. INS, 232 F.3d 1139, 1141 (9th Cir. 2000). We
                 noted that “[a]s interpreted by the Supreme Court in
                 [AADC], [Section 1252(g)] applies only to the three
                 specific discretionary actions mentioned in its text, not
                 to all claims relating in any way to deportation pro-
                 ceedings,” and held that the challenge was not barred.
                 Id. at 1150. The panel did not appear concerned by the
                 fact that it was possible to conceptualize that policy
                 choice by INS as an ingredient in a subsequent decision
                 to commence proceedings against particular individuals.
                     The government cites no cases applying the Section
                 1252(g) bar to a programmatic policy decision about de-
                 ferred action; the two cases it does cite were challenges
                 to individual “no deferred action” decisions—that is, they
                 fall exactly within Section 1252(g) as interpreted by the
                 Court in AADC. See Vasquez v. Aviles, 639 F. App’x
                 898 (3d Cir. 2016); Botezatu v. INS, 195 F.3d 311 (7th Cir.
                 1999). Especially in light of the “ ‘strong presumption
                 in favor of judicial review of administrative action’ gov-




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                 erning the construction of jurisdiction-stripping provi-
                 sions of IIRIRA,”18 ANA Int’l, Inc. v. Way, 393 F.3d
                 886, 891 (9th Cir. 2004) (quoting INS v. St. Cyr, 533
                 U.S. 289, 298 (2001)), we hold that Section 1252(g) does
                 not deprive courts of jurisdiction to review the DACA
                 rescission order. 19
                                                  IV.
                    Having concluded that neither the APA nor the INA
                 precludes judicial review, we turn to the merits of the
                 preliminary injunction. The district court held that
                 plaintiffs satisfied the familiar four-factor preliminary
                 injunction standard20 with respect to their claim under
                 the APA that the rescission of DACA was “arbitrary,
                 capricious, an abuse of discretion, or otherwise not in
                 accordance with law.” See 5 U.S.C. § 706(2)(A). The


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                      Section 1252(g) is one such provision. See AADC, 525 U.S. at
                 475 (describing § 1252(g)’s passage as part of IIRIRA).
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                      In its response and reply brief, the government appears to ar-
                 gue that another provision of the INA, 8 U.S.C. § 1252(b)(9), also
                 stripped the district court of jurisdiction. Although ordinarily an
                 argument not raised in the opening brief would be waived, this ar-
                 gument is jurisdictional so we must consider it. See, e.g., Embassy
                 of the Arab Republic of Egypt v. Lasheen, 603 F.3d 1166, 1171 n.3
                 (9th Cir. 2010) (“[C]hallenges to subject matter jurisdiction cannot
                 be waived[.]”). But Section 1252(b)(9) does not bar jurisdiction
                 here, because it “appl[ies] only to those claims seeking judicial re-
                 view of orders of removal.” Singh v. Gonzales, 499 F.3d 969, 978
                 (9th Cir. 2007) (citing St. Cyr, 533 U.S. at 313).
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                      “A plaintiff seeking a preliminary injunction must establish
                 that he is likely to succeed on the merits, that he is likely to suffer
                 irreparable harm in the absence of preliminary relief, that the bal-
                 ance of equities tips in his favor, and that an injunction is in the
                 public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S.
                 7, 20 (2008).




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                 government takes issue with the district court’s conclu-
                 sion on only one of the preliminary injunction factors:
                 the likelihood of success on the merits.
                    In an arbitrary-and-capricious challenge, “[i]t is well-
                 established that an agency’s action must be upheld, if
                 at all, on the basis articulated by the agency itself.”
                 Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm
                 Mut. Auto. Ins., 463 U.S. 29, 50 (1983); see also, e.g.,
                 SEC v. Chenery Corp., 332 U.S. 194, 196 (1947) (Chen-
                 ery II) (“[A] reviewing court . . . must judge the
                 propriety of [agency] action solely by the grounds
                 invoked by the agency.” (citing SEC v. Chenery Corp.,
                 318 U.S. 80 (1943) (Chenery I)).
                     Similarly, it is black letter law that where an agency
                 purports to act solely on the basis that a certain result
                 is legally required, and that legal premise turns out to
                 be incorrect, the action must be set aside, regardless of
                 whether the action could have been justified as an ex-
                 ercise of discretion. That principle goes back at least
                 as far as the Supreme Court’s seminal decision in
                 Chenery I, in which the Court stated:
                    If [agency] action rests upon an administrative
                    determination—an exercise of judgment in an area
                    which Congress has entrusted to the agency—of
                    course it must not be set aside because the review-
                    ing court might have made a different determination
                    were it empowered to do so. But if the action is
                    based upon a determination of law as to which the
                    reviewing authority of the courts does come into
                    play, an order may not stand if the agency has
                    misconceived the law.
                 Chenery I, 318 U.S. at 94 (emphasis added).




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                    This holding of Chenery I remains good law. See, e.g.,
                 United States v. Ross, 848 F.3d 1129, 1134 (D.C. Cir.
                 2017) (“Where a statute grants an agency discretion
                 but the agency erroneously believes it is bound to a
                 specific decision, we can’t uphold the result as an exer-
                 cise of the discretion that the agency disavows.”); Safe
                 Air for Everyone v. EPA, 488 F.3d 1088, 1101 (9th Cir.
                 2007) (setting aside agency action that was justified on
                 a “legally erroneous” basis, and remanding for further
                 consideration under other justifications). As the D.C.
                 Circuit flatly put it, “An agency action, however per-
                 missible as an exercise of discretion, cannot be sus-
                 tained where it is based not on the agency’s own judg-
                 ment but on an erroneous view of the law.” Sea-Land
                 Serv., Inc. v. DOT, 137 F.3d 640, 646 (D.C. Cir. 1998)
                 (internal quotation marks omitted) (quoting Prill v.
                 NLRB, 755 F.2d 941, 947 (D.C. Cir. 1985)).
                    Thus, if the DACA rescission was based solely on an
                 erroneous legal premise, it must be set aside under
                 5 U.S.C. § 706(2)(A). We have already concluded, in
                 our discussion of reviewability, that the rescission was
                 indeed premised on the belief that the DACA program
                 was unlawful. We next must decide whether that legal
                 conclusion was correct. 21
                    Attorney General Sessions’s September 4, 2017,
                 letter expresses several possible bases for the agency’s
                 ultimate conclusion that DACA was unlawful. First,

                  21
                      The government does not argue that its conclusion is entitled to
                 Chevron deference, likely because “[d]eference to an agency’s inter-
                 pretation of a statute is not appropriate when the agency wrongly
                 ‘believes that interpretation is compelled by Congress.’ ” Gila River
                 Indian Cmty. v. United States, 729 F.3d 1139, 1149 (9th Cir. 2013)
                 (quoting PDK Labs. Inc. v. DEA, 362 F.3d 786, 798 (D.C. Cir. 2004)).




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                 the Attorney General states that “DACA was effectu-
                 ated by the previous administration through executive
                 action . . . after Congress’[s] repeated rejection of
                 proposed legislation that would have accomplished a
                 similar result.” But our court has already explained
                 that “Congress’s failure to pass the [DREAM] Act does
                 not signal the illegitimacy of the DACA program,”
                 partly because “the DREAM Act and the DACA pro-
                 gram are not interchangeable policies because they
                 provide different forms of relief ”: the DREAM Act
                 would have provided a path to lawful permanent resi-
                 dent status, while DACA simply defers removal.
                 Brewer II, 855 F.3d at 976 n.10; see Motomura, supra,
                 at 175 (“DACA is not the DREAM Act; as an interim
                 executive measure, it is limited in duration and pro-
                 vides no durable immigration status.”) (footnote omitted);
                 see also, e.g., DREAM Act of 2011, S. 952, 112th Cong.
                 (2011). Moreover, there is nothing inherently prob-
                 lematic about an agency addressing a problem for which
                 Congress has been unable to pass a legislative fix, so long
                 as the particular action taken is properly within the
                 agency’s power. This argument therefore provides no
                 independent reason to think that DACA is unlawful.
                    The Attorney General’s primary bases for conclud-
                 ing that DACA was illegal were that the program was
                 “effectuated . . . without proper statutory authority”
                 and that it amounted to “an unconstitutional exercise of
                 authority.” More specifically, the Attorney General
                 asserted that “the DACA policy has the same legal and
                 constitutional defects that the courts recognized as to
                 DAPA” in the Texas litigation.
                   The claim of “constitutional defects” is a puzzling
                 one because as all the parties recognize, no court has




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                 ever held that DAPA is unconstitutional. The Fifth
                 Circuit and district court in Texas explicitly declined to
                 address the constitutional issue. See Texas, 809 F.3d
                 at 154 (“We decide this appeal . . . without resolv-
                 ing the constitutional claim.”); Texas, 86 F. Supp. 3d at
                 677 (“[T]he Court is specifically not addressing Plain-
                 tiffs’ likelihood of success on . . . their constitu-
                 tional claims . . . .”). Indeed, the government makes
                 no attempt in this appeal to defend the Attorney Gen-
                 eral’s assertion that the DACA program is unconstitu-
                 tional. We therefore do not address it further.
                    With respect to DACA’s alleged “legal . . . de-
                 fects,” the district court explained in great detail the
                 long history of deferred action in immigration enforce-
                 ment, including in the form of broad programs; the fact
                 that the Supreme Court and Congress have both ac-
                 knowledged deferred action as a feature of the immi-
                 gration system; and the specific statutory responsibil-
                 ity of the Secretary of Homeland Security for “[e]s-
                 tablishing national immigration enforcement policies
                 and priorities,” 6 U.S.C. § 202(5). The government
                 does not contest any of these propositions, which them-
                 selves go a long way toward establishing DACA’s le-
                 gality. Instead, the government argues that the Fifth
                 Circuit’s reasons for striking down the related DAPA
                 policy would also apply to DACA.
                    The Fifth Circuit concluded that DAPA was unlaw-
                 ful on two grounds: first, that DAPA was in fact a
                 legislative rule and therefore should have been prom-
                 ulgated through notice-and-comment rulemaking; and
                 second, that DAPA was substantively inconsistent with
                 the INA. See Texas, 809 F.3d at 171-78, 178-86.




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                    With respect to the first holding, notice-and-comment
                 procedures are not required where the agency pro-
                 nouncement in question is a “general statement[] of
                 policy.” 5 U.S.C. § 553(b)(3)(A). “The critical factor
                 to determine whether a directive announcing a new pol-
                 icy constitutes a rule or a general statement of policy is
                 the extent to which the challenged [directive] leaves
                 the agency, or its implementing official, free to exercise
                 discretion to follow, or not to follow, the [announced]
                 policy in an individual case.” Mada-Luna v. Fitzpat-
                 rick, 813 F.2d 1006, 1013 (9th Cir. 1987) (alterations in
                 original) (internal quotation marks omitted).
                    On its face, DACA obviously allows (and indeed re-
                 quires) DHS officials to exercise discretion in making
                 deferred action decisions as to individual cases: Sec-
                 retary Napolitano’s memorandum announcing DACA
                 specifically states that “requests for relief pursuant to
                 this memorandum are to be decided on a case by case
                 basis.” The Fifth Circuit in Texas held that DAPA
                 was a substantive rule notwithstanding similar discre-
                 tionary language, based primarily on statistics regard-
                 ing the approval rates of DACA applications. The
                 court read those statistics as revealing that DACA was
                 discretionary in name only—that is, that DHS person-
                 nel had no discretion to deny deferred action if the
                 DACA criteria were met. Texas, 809 F.3d at 172-73.
                    But as the dissenting judge in Texas pointed out,
                 DACA’s (then) 5% denial rate—which did not include
                 applications rejected for administrative deficiencies—is
                 consistent with a discretionary program given that ap-
                 plicants self-select: “It should be expected that only
                 those highly likely to receive deferred action will apply;
                 otherwise, applicants would risk revealing their immigra-




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                 tion status and other identifying information to au-
                 thorities, thereby risking removal (and the loss of a size-
                 able fee).” Texas, 809 F.3d at 210 (King, J., dissenting).
                     Moreover, the denial rate has risen as the DACA
                 program has matured. DHS statistics included in the
                 record reveal that in fiscal year 2016, for example, the
                 agency approved 52,882 initial DACA applications and
                 denied 11,445; that is, 17.8% of the applications acted
                 upon were denied.22 As Judge King concluded, “Nei-
                 ther of these numbers suggests an agency on autopi-
                 lot.” Texas, 809 F.3d at 210 n.44 (King, J., dissent-
                 ing); see also Arpaio v. Obama, 27 F. Supp. 3d 185, 209
                 n.13 (D.D.C. 2014) (noting that these same statistics
                 “reflect that . . . case-by-case review is in opera-
                 tion”).23 In light of these differences, we do not agree
                 that DACA is a legislative rule that would require
                 notice-and-comment rulemaking.
                    As to the substantive holding in Texas, the Fifth
                 Circuit concluded that DAPA conflicted with the INA
                 largely for a reason that is inapplicable to DACA.

                  22
                      U.S. Citizenship & Immigration Services, Number of Form
                 I-821D, Consideration of Deferred Action for Childhood Arrivals,
                 by Fiscal Year, Quarter, Intake, Biometrics and Case Status Fiscal
                 Year 2012-2017 (March 31, 2017). The number of initial applica-
                 tions is the relevant metric because renewal applications are by
                 definition limited to the pool of those already approved for DACA
                 at least once. Therefore, one would expect an even lower denial
                 rate for renewals.
                   23
                      Judge King’s dissent also makes the critical observation that,
                 according to the declarations filed in that case, the reason DHS
                 could not point to specific instances in which DACA applicants met
                 the program criteria but were denied as a matter of discretion was
                 that DHS did not have the ability to track and sort the reasons for
                 DACA denials. Texas, 809 F.3d at 211 (King, J., dissenting).




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                 Specifically, the Fifth Circuit reasoned that the INA
                 provides “an intricate process for illegal aliens to de-
                 rive a lawful immigration classification from their chil-
                 dren’s immigration status” but that “DAPA would al-
                 low illegal aliens to receive the benefits of lawful pres-
                 ence solely on account of their children’s immigration
                 status without complying with any of the requirements
                 . . . that Congress has deliberately imposed.” Texas,
                 809 F.3d at 179-80. As the district court in this case
                 noted, there is no analogous provision in the INA defin-
                 ing how immigration status may be derived by undocu-
                 mented persons who arrived in the United States as
                 children. One of the major problems the Fifth Circuit
                 identified with DAPA is therefore not present here.
                     In resisting this conclusion, the government flips the
                 Fifth Circuit’s reasoning on its head, arguing that
                 “[i]nsofar as the creation of pathways to lawful pres-
                 ence was relevant, the fact that Congress had legislated
                 only for certain individuals similarly situated to DAPA
                 beneficiaries—and not DACA recipients—would make
                 DACA more inconsistent with the INA than DAPA.”
                 To the extent the government meant to draw on the
                 Texas court’s analysis, it gets it exactly backwards:
                 the whole thrust of the Fifth Circuit’s reasoning on this
                 point was that DHS was without authority because
                 “Congress has ‘directly addressed the precise question
                 at issue.’ ” Texas, 809 F.3d at 186 (quoting Mayo
                 Found. for Med. Educ. & Research v. United States,
                 562 U.S. 44, 52 (2011)). There is no argument that
                 Congress has similarly occupied the field with respect
                 to DACA; as the Attorney General himself noted, Con-
                 gress has repeatedly rejected Dreamer legislation.




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                    The second major element of the Fifth Circuit’s
                 analysis on the substantive issues was that the INA
                 itself “prescribes . . . which classes of aliens can
                 achieve deferred action and eligibility for work author-
                 ization.” Texas, 809 F.3d at 186. The court drew the
                 implication that the statute must therefore preclude the
                 Executive Branch from granting these benefits to other
                 classes. Id. (pairing this notion with the pathway-to-
                 lawful-presence argument as the keys to its conclusion).
                    But “[t]he force of any negative implication . . .
                 depends on context.” Marx v. Gen. Revenue Corp.,
                 568 U.S. 371, 381 (2013). Indeed, “[w]e do not read the
                 enumeration of one case to exclude another unless it is
                 fair to suppose that Congress considered the unnamed
                 possibility and meant to say no to it.” Barnhart v.
                 Peabody Coal Co., 537 U.S. 149, 168 (2003). Here, the
                 express grants of deferred action cited by the Fifth
                 Circuit were not passed together as part of the original
                 INA; rather, they were added to the statute books
                 piecemeal over time by Congress. See Violence Against
                 Women Act of 2000, Pub. L. No. 106-386, div. B,
                 sec. 1503, § 1154(a)(1)(D)(i), 114 Stat. 1491 (codified at
                 8 U.S.C. § 1154(a)(1)(D)(i)) (specifying deferred action
                 for certain VAWA self-petitioners); USA PATRIOT
                 Act of 2001, Pub. L. No. 107-56, § 423(b), 115 Stat. 272,
                 361 (same, for family members of lawful permanent resi-
                 dents killed by terrorism); National Defense Authori-
                 zation Act for Fiscal Year 2004, Pub. L. No. 108-136,
                 § 1703(c)-(d), 117 Stat. 1392, 1694-95 (same, for rela-
                 tives of noncitizens killed in combat and posthumously
                 granted citizenship).
                    Given this context, we find it improbable that Con-
                 gress “considered the . . . possibility” of all other




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                 potential uses for deferred action “and meant to say
                 no” to any other application of that tool by the immi-
                 gration agency. Barnhart, 537 U.S. at 168. We think
                 the much more reasonable conclusion is that in passing
                 its seriatim pieces of legislation, instructing that this
                 and that “narrow class[]” of noncitizens should be eli-
                 gible for deferred action, Texas, 809 F.3d at 179, Con-
                 gress meant to say nothing at all about the underlying
                 power of the Executive Branch to grant the same remedy
                 to others. We do not read an “and no one else” clause
                 into each of Congress’s individual express grants of
                 deferred action.
                    Another element in the Fifth Circuit’s analysis was
                 that “DAPA would make 4.3 million otherwise remova-
                 ble aliens eligible for lawful presence, employment au-
                 thorization, and associated benefits, and ‘we must be
                 guided to a degree by common sense as to the manner
                 in which Congress is likely to delegate a policy decision
                 of such economic and political magnitude to an admin-
                 istrative agency.’ ” Id. at 181 (quoting FDA v. Brown
                 & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000)).
                 DACA, on the other hand, had 689,800 enrollees as of
                 September 2017. The government asserts that this
                 difference in size is “legally immaterial,” but that re-
                 sponse is unconvincing. If the point is that the “eco-
                 nomic and political magnitude” of allowing 4.3 million
                 people to remain in the country and obtain work au-
                 thorization is such that Congress would have spoken to
                 it directly, then surely it makes a difference that one
                 policy has less than one-sixth the “magnitude” of the
                 other. Id. As the district court laconically put it,
                 “there is a difference between 4.3 million and 689,800.”




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                    Finally, the government finds “an insurmountable
                 obstacle to plaintiffs’ position” in that “the district
                 court’s injunction affirmed by the Fifth Circuit covered
                 both DAPA and expanded DACA.” It is true that the
                 Texas court also enjoined the expansions of DACA that
                 were announced in the same memorandum as the
                 DAPA program. See Texas, 809 F.3d at 147 n.11 (“The
                 district court enjoined implementation of the following
                 three DACA expansions, and they are included in the
                 term ‘DAPA’ in this opinion . . . .”). But no analysis
                 was devoted to those provisions by either the Fifth
                 Circuit or the Texas district court, and one of the keys
                 to the Fifth Circuit’s reasoning—that Congress had
                 supposedly occupied the field with respect to obtaining
                 immigration benefits through one’s children—does not
                 apply to either the original DACA program or its ex-
                 pansions. Under these circumstances, we do not find
                 the Texas courts’ treatment of the DACA expansions to
                 be strong persuasive authority, much less an “insur-
                 mountable obstacle.” Cf. Bryan A. Garner et al., The
                 Law of Judicial Precedent 170 (2016) (“An authority
                 derives its persuasive power from its ability to convince
                 others to go along with it.”).
                    In sum, the reality is (and always has been) that the
                 executive agencies charged with immigration enforce-
                 ment do not have the resources required to deport
                 every single person present in this country without
                 authorization. Compare Bernsen Memorandum, supra,
                 at 1 (stating, in 1976, that “[t]here simply are not
                 enough resources to enforce all of the rules and regula-
                 tions presently on the books”), with Memorandum from
                 John Morton, Assistant Secretary, DHS, Civil Immi-
                 gration Enforcement: Priorities for the Apprehen-
                 sion, Detention, and Removal of Aliens, at 1 (June 30,




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                 2010) (estimating that ICE has enough resources to
                 deport only 4% of the undocumented population in any
                 given year, and concluding that “ICE must prioritize
                 the use of its . . . removal resources to ensure the
                 removals the agency does conduct promote the agen-
                 cy’s highest enforcement priorities”) and Motomura,
                 supra, at 26 (“The letter of the law creates a large re-
                 movable population, but whether an individual is actu-
                 ally targeted for removal has long depended on gov-
                 ernment discretion and bad luck.” (footnote omitted)).
                 Recognizing this state of affairs, Congress has explic-
                 itly charged the Secretary of Homeland Security with
                 “[e]stablishing national immigration enforcement poli-
                 cies and priorities.” 6 U.S.C. § 202(5).
                    It is therefore no surprise that deferred action has
                 been a feature of our immigration system—albeit one
                 of executive invention—for decades; has been employed
                 categorically on numerous occasions; and has been rec-
                 ognized as a practical reality by both Congress and the
                 courts. See, e.g., Brewer II, 855 F.3d at 967 (“[I]t is
                 well settled that the Secretary [of Homeland Security]
                 can exercise deferred action” as part of her statutory
                 authority “to administer and enforce all laws relating to
                 immigration and naturalization.”). In a world where
                 the government can remove only a small percentage of
                 the undocumented noncitizens present in this country
                 in any year, deferred action programs like DACA ena-
                 ble DHS to devote much-needed resources to enforce-
                 ment priorities such as threats to national security,
                 rather than blameless and economically productive young
                 people with clean criminal records.
                    We therefore conclude that DACA was a permissi-
                 ble exercise of executive discretion, notwithstanding




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                 the Fifth Circuit’s conclusion that the related DAPA
                 program exceeded DHS’s statutory authority. DACA
                 is being implemented in a manner that reflects discre-
                 tionary, case-by-case review, and at least one of the
                 Fifth Circuit’s key rationales in striking down DAPA is
                 inapplicable with respect to DACA. With respect for
                 our sister circuit, we find the analysis that seemingly
                 compelled the result in Texas entirely inapposite. And
                 because the Acting Secretary was therefore incorrect in
                 her belief that DACA was illegal and had to be rescinded,
                 plaintiffs are likely to succeed in demonstrating that the
                 rescission must be set aside. Chenery I, 318 U.S. at 94;
                 Safe Air for Everyone, 488 F.3d at 1101-02.
                    To be clear: we do not hold that DACA could not
                 be rescinded as an exercise of Executive Branch dis-
                 cretion. We hold only that here, where the Executive
                 did not make a discretionary choice to end DACA—but
                 rather acted based on an erroneous view of what the
                 law required—the rescission was arbitrary and capri-
                 cious under settled law. The government is, as always,
                 free to reexamine its policy choices, so long as doing so
                 does not violate an injunction or any freestanding stat-
                 utory or constitutional protection. 24

                  24
                     The government has submitted a letter pursuant to Federal
                 Rule of Appellate Procedure 28( j), informing us that the current
                 Secretary of Homeland Security, Kirstjen Nielsen, issued a new
                 memorandum regarding the DACA rescission on June 22, 2018.
                 In the memorandum, Secretary Nielsen “provide[d] additional ex-
                 planation of the basis for the DACA rescission,” in response to an
                 order filed in a parallel lawsuit. The government’s letter does not
                 argue that the Nielsen memorandum represents fresh agency ac-
                 tion that could possibly moot this appeal. We therefore leave it to
                 the district court in the first instance to determine the admissibility
                 of Secretary Nielsen’s letter given that it cannot possibly be a part




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                                                   V.
                     Having concluded that the district court was correct
                 in its APA merits holding, we now turn to the question
                 of the appropriate remedy. The district court prelim-
                 inarily enjoined the rescission of DACA with respect to
                 existing beneficiaries on a nationwide basis. The gov-
                 ernment asserts that this was error, and that a proper
                 injunction would be narrower.
                    The general rule regarding the scope of preliminary
                 injunctive relief is that it “should be no more burdensome
                 to the defendant than necessary to provide complete
                 relief to the plaintiffs before the court.” L.A. Haven
                 Hospice, Inc. v. Sebelius, 638 F.3d 644, 664 (9th Cir.
                 2011) (internal citation omitted). But “[t]here is no
                 general requirement that an injunction affect only the
                 parties in the suit.” Bresgal v. Brock, 843 F.2d 1163,
                 1169 (9th Cir. 1987); see also id. at 1170-71 (“[A]n injunc-
                 tion is not necessarily made overbroad by extending
                 benefit or protection to persons other than prevailing
                 parties in the lawsuit—even if it is not a class action—if
                 such breadth is necessary to give prevailing parties the
                 relief to which they are entitled.”) (emphasis in original).
                    It is also important to note that the claim underlying
                 the injunction here is an arbitrary-and-capricious chal-
                 lenge under the APA. In this context, “[w]hen a review-
                 ing court determines that agency regulations are unlaw-

                 of the administrative record in this case, and its impact, if any, on
                 this case. And to the extent the Nielsen memorandum is offered as
                 an additional justification of the original DACA rescission, we do not
                 consider it in our review of Acting Secretary Duke’s decision because
                 it is well-settled that “we will not allow the agency to supply post-hoc
                 rationalizations for its actions . . . .” San Luis & Delta-Mendota
                 Water Auth. v. Jewell, 747 F.3d 581, 603 (9th Cir. 2014).




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                 ful, the ordinary result is that the rules are vacated—
                 not that their application to the individual petitioners is
                 proscribed.” Nat’l Mining Ass’n v. U.S. Army Corps
                 of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998) (internal
                 citation omitted). As Justice Blackmun explained while
                 “writing in dissent but apparently expressing the view
                 of all nine Justices on this question,” id.:
                    The Administrative Procedure Act permits suit to
                    be brought by any person “adversely affected or ag-
                    grieved by agency action.” In some cases the
                    “agency action” will consist of a rule of broad ap-
                    plicability; and if the plaintiff prevails, the result is
                    that the rule is invalidated, not simply that the court
                    forbids its application to a particular individual.
                    Under these circumstances a single plaintiff, so long
                    as he is injured by the rule, may obtain “program-
                    matic” relief that affects the rights of parties not
                    before the court.
                 Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 913 (1990)
                 (Blackmun, J., dissenting) (citation omitted).
                    A final principle is also relevant: the need for uni-
                 formity in immigration policy. See Hawaii v. Trump,
                 878 F.3d 662, 701 (9th Cir. 2017), rev’d on other grounds,
                 138 S. Ct. 2392 (2018) (“Because this case implicates
                 immigration policy, a nationwide injunction was neces-
                 sary to give Plaintiffs a full expression of their rights.”).
                 As the Fifth Circuit stated when it affirmed the na-
                 tionwide injunction against DAPA, “the Constitution
                 requires an uniform Rule of Naturalization; Congress
                 has instructed that the immigration laws of the United
                 States should be enforced vigorously and uniformly;
                 and the Supreme Court has described immigration policy
                 as a comprehensive and unified system.” Texas,




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                 809 F.3d at 187-88 (emphases in original) (citations and
                 internal quotation marks omitted). Allowing uneven
                 application of nationwide immigration policy flies in the
                 face of these requirements.
                     In its briefing, the government fails to explain how
                 the district court could have crafted a narrower injunc-
                 tion that would provide complete relief to the plaintiffs,
                 including the entity plaintiffs. Cf. Washington v.
                 Trump, 847 F.3d 1151, 1167 (9th Cir. 2017) (“[T]he
                 Government has not proposed a workable alternative
                 form of the TRO . . . that would protect the proprie-
                 tary interests of the States at issue here while never-
                 theless applying only within the States’ borders.”). Nor
                 does it provide compelling reasons to deviate from the
                 normal rule in APA cases, or to disregard the need for
                 uniformity in national immigration policy. The one
                 argument it does offer on this latter point—that “[d]e-
                 ferred action is itself a departure from vigorous and
                 uniform enforcement of the immigration laws,” and that
                 “enjoining the rescission of DACA on a nationwide basis
                 . . . increases rather than lessens that departure”
                 —is a red herring. DACA is national immigration
                 policy, and an injunction that applies that policy to
                 some individuals while rescinding it as to others is
                 inimical to the principle of uniformity.
                    We therefore conclude that the district court did not
                 abuse its discretion in issuing a nationwide injunction.
                 Such relief is commonplace in APA cases, promotes uni-
                 formity in immigration enforcement, and is necessary to
                 provide the plaintiffs here with complete redress.




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                                                  VI.
                     We turn next to the district court’s treatment of the
                 government’s motion to dismiss for failure to state a
                 claim. The government moved to dismiss all of plain-
                 tiffs’ claims; the district court dismissed some claims
                 and denied the government’s motion as to others. We
                 take each claim in turn.25
                 A. APA:        Arbitrary-and-Capricious
                    For the reasons stated above in discussing plaintiffs’
                 likelihood of success on the merits, the district court
                 was correct to deny the government’s motion to dismiss
                 plaintiffs’ claim that the DACA rescission was arbitrary
                 and capricious under the APA. See 5 U.S.C. § 706(2)(A).
                 B. APA:        Notice-and-Comment
                    Plaintiffs also assert that the rescission of DACA is
                 in fact a substantive rule under the APA, and that it
                 therefore could not be validly accomplished without
                 notice-and-comment procedures.
                    As touched on above with respect to DACA itself, an
                 agency pronouncement is excluded from the APA’s
                 requirement of notice-and-comment procedures if it
                 constitutes a “general statement[] of policy.” 5 U.S.C.
                 § 553(b)(3)(A). General statements of policy are those
                 that “advise the public prospectively of the manner in
                 which the agency proposes to exercise a discretionary
                 power.” Mada-Luna, 813 F.2d at 1012-13 (quoting
                 Attorney General’s Manual on the Administrative Pro-
                 cedure Act 30 n.3 (1947)). “To qualify as a general
                 statement of policy . . . a directive must not estab-

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                     Plaintiffs do not challenge the district court’s dismissal of their
                 equitable estoppel claim.




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                 lish a binding norm and must leave agency officials free
                 to consider the individual facts in the various cases that
                 arise and to exercise discretion.” Id. at 1015 (internal
                 quotation marks omitted); see also id. at 1013 (“The
                 critical factor to determine whether a directive announc-
                 ing a new policy constitutes a rule or a general statement
                 of policy is the extent to which the challenged [directive]
                 leaves the agency, or its implementing official, free to
                 exercise discretion to follow, or not to follow, the [an-
                 nounced] policy in an individual case.” (alterations in
                 original) (internal quotation marks omitted)).
                    The district court held that because DACA itself was a
                 general statement of policy that did not require notice
                 and comment, it could also be rescinded without those
                 procedures. This proposition finds support in Mada-
                 Luna, in which “we conclude[d] that [a deferred-action
                 Operating Instruction] constituted a general statement
                 of policy, and thus could be validly repealed and super-
                 seded without notice-and-comment proceedings.” Id.
                 at 1017. Plaintiffs contest this conclusion, arguing
                 that the DACA rescission was a binding rule, even
                 though DACA’s adoption was a general statement of
                 policy. They provide two bases for this assertion.
                    First, plaintiffs argue that the rescission is binding
                 because it requires DHS officials to reject new DACA
                 applications and (after a certain date) renewal applica-
                 tions. It is true that Acting Secretary Duke’s rescis-
                 sion memorandum makes rejections of DACA applica-
                 tions mandatory. But the relevant question under the
                 rescission memorandum is not whether DHS officials
                 retained discretion to accept applications for a program
                 that no longer existed; instead, the question is whether
                 DHS officials retained discretion to grant deferred




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                 action and collateral benefits outside of the (now-
                 cancelled) DACA program.
                     For its part, the government asserts that the rescis-
                 sion memorandum made clear that, despite the rescis-
                 sion, “future deferred action requests will be ‘adjudi-
                 cat[ed] . . . on an individual, case-by-case basis.’ ”
                 Mildly put, this assertion mischaracterizes the memo-
                 randum. The quoted language refers to the treatment
                 of only (a) initial applications pending on the date of the
                 rescission, and (b) renewal applications filed within the
                 one-month wind-down period. It does not refer to
                 how future requests for deferred action outside the
                 DACA program would be handled. Still, the rescis-
                 sion memorandum also did not forbid the agency from
                 granting such requests, and it acknowledged the back-
                 ground principle of deferred action as “an act of pros-
                 ecutorial discretion meant to be applied only on an
                 individualized case-by-case basis.” And the memoran-
                 dum closed by stating that “no limitations are placed by
                 this guidance on the otherwise lawful enforcement or
                 litigation prerogatives of DHS”—presumably including
                 granting deferred action on a case-by-case basis to
                 some people who would have been eligible for DACA.
                    If allowed to go into effect, the rescission of DACA
                 would undoubtedly result in the loss of deferred action
                 for the vast majority of the 689,800 people who rely on
                 the program. But the rescission memorandum does
                 not mandate that result because it leaves in place the
                 background principle that deferred action is available
                 on a case-by-case basis. 26 Plaintiffs’ primary argu-


                  26
                     The Regents argue that “the agency’s discretion to grant de-
                 ferred action on the basis of the DACA criteria has been eliminated.”




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                 ment against this conclusion is a citation to United States
                 ex rel. Parco v. Morris, 426 F. Supp. 976 (E.D. Pa.
                 1977), which is said to be “the only other decision to
                 address an Executive Branch decision to terminate a
                 deferred-action program without undergoing notice-and-
                 comment rulemaking.” But as the district court noted,
                 the key factor in that case was the contention that un-
                 der the policy at issue, “ ‘discretion’ was exercised fav-
                 orably in all cases of a certain kind and then, after re-
                 peal of the regulation, unfavorably in each such case.”
                 Parco, 426 F. Supp. at 984. DACA, by contrast, expli-
                 citly contemplated case-by-case discretion, and its re-
                 scission appears to have left in place background prin-
                 ciples of prosecutorial discretion.
                    Plaintiffs also argue that the DACA rescission is not
                 a general policy statement because it is binding as a
                 legal interpretation that a DACA-like program would
                 be illegal. But again, this argument answers the wrong
                 question. The Acting Secretary’s legal conclusion that
                 a DACA-like program is unlawful does not constrain
                 the discretion of line-level DHS employees to grant
                 deferred action on a case-by-case basis, and those em-
                 ployees lack authority to institute such an agency-wide
                 program in the first place. And plaintiffs do not point
                 to any reason why this Acting Secretary’s legal conclu-
                 sion about DACA would bind subsequent Secretaries if
                 they were to disagree with its reasoning—just as Act-

                 This is not quite right either. DHS’s authority to grant deferred
                 action under the DACA program has been eliminated, but the
                 DACA criteria themselves are some of those that have traditionally
                 guided immigration enforcement discretion. See Wadhia, supra,
                 at 57 (“DHS used traditional humanitarian factors to outline the
                 parameters for the DACA program, such as tender age and long-
                 time residence in the United States.”).




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                 ing Secretary Duke reversed course from previous Sec-
                 retaries who concluded DACA was legal. This is not a
                 “new ‘binding rule of substantive law,’ ” Mada-Luna,
                 813 F.2d at 1014, affecting the rights of the people and
                 entities regulated by the agency; it is an interpretation
                 of the agency’s own power, and plaintiffs do not explain
                 why it should be read as binding future DHS Secretar-
                 ies. The district court correctly dismissed plaintiffs’
                 notice-and-comment claims.
                 C. Due Process:     Deferred Action
                    The Garcia plaintiffs—individual DACA recipients
                 —have brought a substantive due process claim alleg-
                 ing that the rescission deprived them of protected in-
                 terests in their DACA designation, including the re-
                 newal of their benefits. The district court dismissed
                 this claim, holding that there is no protected entitle-
                 ment in either the initial grant of deferred action under
                 DACA or the renewal of benefits for existing DACA
                 enrollees. On appeal, the Garcia plaintiffs challenge
                 this ruling only as it applies to the renewal of DACA
                 benefits, not as to the initial grant.
                    “A threshold requirement to a substantive or pro-
                 cedural due process claim is the plaintiff ’s showing of a
                 liberty or property interest protected by the Constitu-
                 tion.” Wedges/Ledges of Cal., Inc. v. City of Phoenix,
                 24 F.3d 56, 62 (9th Cir. 1994). It is possible to have a
                 property interest in a government benefit, but “a per-
                 son clearly must have more than an abstract need or
                 desire for [the benefit]. He must have more than a
                 unilateral expectation of it. He must, instead, have a
                 legitimate claim of entitlement to it.” Bd. Of Regents
                 of State Colls. v. Roth, 408 U.S. 564, 577 (1972). Al-
                 though “a benefit is not a protected entitlement if gov-




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                 ernment officials may grant or deny it in their discre-
                 tion,” Town of Castle Rock v. Gonzales, 545 U.S. 748,
                 756 (2005), a legitimate claim of entitlement may exist
                 where there are “rules or mutually explicit understand-
                 ings that support [a plaintiff ’s] claim of entitlement to the
                 benefit . . . .” Perry v. Sindermann, 408 U.S. 593, 601
                 (1972); see also, e.g., Gerhart v. Lake Cty., 637 F.3d
                 1013, 1020 (9th Cir. 2011). The dispute here focuses
                 on whether such “mutually explicit understandings”
                 existed between the government and DACA recipients
                 with respect to the renewal of DACA benefits.
                     The Garcia plaintiffs assert that they and the gov-
                 ernment “ ‘mutually’ understood that DACA recipients
                 would be able to renew their benefits and protection on
                 an ongoing basis so long as they fulfilled the program’s
                 criteria.” But this argument is undercut by the DACA
                 FAQs published by DHS, which explicitly state that
                 “USCIS retains the ultimate discretion to determine
                 whether deferred action is appropriate in any given case
                 even if the [renewal] guidelines are met.” The FAQs
                 also state that any individual’s “deferred action may be
                 terminated at any time, with or without a Notice of In-
                 tent to Terminate, at DHS’s discretion,” and Secretary
                 Napolitano’s DACA memorandum claims that it “confers
                 no substantive right, immigration status or pathway to
                 citizenship.” Whether or not these provisions are legally
                 operative, they do not indicate that the government
                 shared plaintiffs’ expectation of presumptive renewal.
                    Attempting to overcome this facially discretionary
                 language, plaintiffs emphasize several factors. First,
                 they say, the very nature of the DACA project was
                 such that presumptive renewal was required to en-
                 courage people to participate; a two-year term with no




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                 presumption of renewal would not have been attractive
                 enough to outweigh the risks to the applicants. More-
                 over, Secretary Napolitano’s DACA memorandum it-
                 self states that grants of deferred action under DACA
                 will be “subject to renewal,” and the actual criteria for
                 renewal were “nondiscretionary” in nature.27 Finally,
                 the plaintiffs point to a more than 99% approval rate
                 for adjudicated DACA renewal applications. This, they
                 assert, is powerful evidence of a mutual understanding
                 of presumptive renewal.
                    All these points might have revealed a question of
                 fact as to whether a mutually explicit understanding of
                 presumptive renewal existed—thereby avoiding dis-
                 missal on the pleadings—if plaintiffs were bringing a
                 claim that, for example, their individual DACA renew-
                 als were denied for no good reason. But it is hard to
                 see how an expectation of renewal within the confines
                 of the existing DACA policy could have created a mu-
                 tually explicit understanding that the DACA program
                 itself would not be terminated wholesale. That is, a
                 99% renewal rate under DACA provides no evidence
                 that the government shared an understanding that the
                 DACA program would continue existing indefinitely to
                 provide such renewals. None of plaintiffs’ cited au-
                 thorities appear to address this kind of claim.

                  27
                      DHS’s DACA FAQs state that “[y]ou may be considered for
                 renewal of DACA if you met the guidelines for consideration of Ini-
                 tial DACA (see above) AND you: [1] Did not depart the United
                 States on or after Aug. 15, 2012, without advance parole; [2] Have
                 continuously resided in the United States since you submitted your
                 most recent request for DACA that was approved up to the present
                 time; and [3] Have not been convicted of a felony, a significant mis-
                 demeanor, or three or more misdemeanors, and do not otherwise
                 pose a threat to national security or public safety.”




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                    While we may agree with much of what plaintiffs say
                 about the cruelty of ending a program upon which so
                 many have come to rely, we do not believe they have
                 plausibly alleged a “mutually explicit understanding”
                 that DACA—created by executive action in a politically
                 polarized policy area and explicitly couched in discretion-
                 ary language—would exist indefinitely, including through
                 a change in presidential administrations. See Gerhart,
                 637 F.3d at 1020 (“A person’s belief of entitlement to a
                 government benefit, no matter how sincerely or reasona-
                 bly held, does not create a property right if that belief is
                 not mutually held by the government.”). On that basis,
                 we affirm the district court’s dismissal.
                 D. Due Process:      Information-Sharing
                    Several of the complaints allege a different due pro-
                 cess theory: DACA recipients had a protected inter-
                 est based on the government’s representations that the
                 personal information they submitted with their appli-
                 cations would not be used for enforcement purposes,
                 and the government violated this interest by changing
                 its policy to allow such use. The district court held
                 that the plaintiffs had plausibly alleged facts that state
                 a claim under this theory.
                    As with their other due process claim, the question
                 whether DACA recipients enjoy a protected due process
                 right protecting them from having the government use
                 their information against them for enforcement purposes
                 turns on the existence of a “mutually explicit under-
                 standing[]” on that point between the government and
                 DACA recipients. Perry, 408 U.S. at 601; see also Ger-
                 hart, 637 F.3d at 1020. The DACA FAQs published by
                 DHS state the following information-use policy:




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                    Information provided in this request is protected
                    from disclosure to ICE and CBP for the purpose of
                    immigration enforcement proceedings unless the re-
                    questor meets the criteria for the issuance of a No-
                    tice to Appear or a referral to ICE under the crite-
                    ria set forth in USCIS’ Notice to Appear guidance
                    (www.uscis.gov/NTA). Individuals whose cases are
                    deferred pursuant to DACA will not be referred to
                    ICE. The information may be shared with national
                    security and law enforcement agencies, including
                    ICE and CBP, for purposes other than removal, in-
                    cluding for assistance in the consideration of DACA,
                    to identify or prevent fraudulent claims, for national
                    security purposes, or for the investigation or prose-
                    cution of a criminal offense. The above information
                    sharing policy covers family members and guardi-
                    ans, in addition to the requestor. This policy, which
                    may be modified, superseded, or rescinded at any time
                    without notice, is not intended to, does not, and may
                    not be relied upon to create any right or benefit, sub-
                    stantive or procedural, enforceable by law by any
                    party in any administrative, civil, or criminal matter.
                 (emphasis added). The statement that applicant in-
                 formation “is protected from disclosure” to the enforce-
                 ment arms of DHS is a strong commitment, and plain-
                 tiffs plausibly allege that DACA recipients reasonably
                 relied on it.
                    The government of course points to the express ca-
                 veat that the information-sharing policy “may be modi-
                 fied, superseded or rescinded at any time.” But as the
                 district court held, this qualifier is ambiguous as to
                 whether it allows the government to change its policy
                 only prospectively, or also with respect to information




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                 already received—and this ambiguity presents a fact
                 question not amenable to resolution on the pleadings.
                 Plaintiffs’ interpretation that a policy change would only
                 apply prospectively is a plausible one, given that the po-
                 licy is written in terms of what will happen to “[i]nfor-
                 mation provided in this request,” rather than DACA-
                 derived information generally. (emphasis added). It is
                 at least reasonable to think that a change in the policy
                 would apply only to those applications submitted after
                 that change takes effect. And while the government
                 also relies on the language stating that the policy does
                 not create enforceable rights, such a disclaimer by an
                 agency about what its statements do and do not con-
                 stitute as a legal matter are not dispositive. See, e.g.,
                 Appalachian Power Co. v. EPA, 208 F.3d 1015, 1022-23
                 (D.C. Cir. 2000) (declining to give legal effect to agency
                 statement that its guidance did “not represent final
                 Agency action, and cannot be relied upon to create any
                 rights . . . .”). Plaintiffs have plausibly alleged a mu-
                 tually explicit understanding that DACA applicants’ in-
                 formation would be protected from disclosure.
                     The government argues in the alternative that plain-
                 tiffs have failed to plausibly allege that DHS actually
                 changed its policy. Plaintiffs’ allegations rest on a set of
                 FAQs about the DACA rescission that DHS published
                 the same day it issued the rescission memorandum, Sep-
                 tember 5, 2017. In those rescission FAQs, the previous
                 language stating that personal information “is protected
                 from disclosure” has been replaced with the following:
                    Information provided to USCIS in DACA requests
                    will not be proactively provided to ICE and CBP for
                    the purpose of immigration enforcement proceed-
                    ings, unless the requestor meets the criteria for the




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                    issuance of a Notice to Appear or a referral to ICE
                    under the criteria set forth in USCIS’ Notice to Ap-
                    pear guidance (www.uscis.gov/NTA).
                 (emphasis added).
                     The government’s first response—that the differing
                 language in the two FAQs does not actually reflect a
                 difference in policy—is hard to swallow. It does not
                 take much parsing of the text to see the significant dif-
                 ference between “protect[ing]” something from “disclo-
                 sure” on the one hand, and merely declining to “proac-
                 tively provide[]” it on the other. This is especially so
                 when the entities in question (and to which USCIS pre-
                 sumably would now provide information reactively) are
                 fellow components of the same umbrella agency.
                    Changing gears, the government also points to yet a
                 third set of FAQs, published months after the rescis-
                 sion and not part of the record in this case, which state:
                    Information provided to USCIS for the DACA pro-
                    cess will not make you an immigration priority for
                    that reason alone. That information will only be
                    proactively provided to ICE or CBP if the requestor
                    meets the criteria for the issuance of a Notice To
                    Appear or a referral to ICE under the criteria set
                    forth in USCIS’ Notice to Appear guidance (www.
                    uscis.gov/NTA). This information-sharing policy
                    has not changed in any way since it was first an-
                    nounced, including as a result of the Sept. 5, 2017
                    memo starting a wind-down of the DACA policy.
                 USCIS, Guidance on Rejected DACA Requests: Fre-
                 quently Asked Questions (Nov. 30, 2017) (emphases
                 added). The government notes that a district court
                 relied on FAQs containing this language in parallel litiga-




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                 tion to dismiss a nearly identical information-use due pro-
                 cess claim. See Batalla Vidal v. Nielsen, 291 F. Supp.
                 3d 260, 279-81 (E.D.N.Y. 2018).
                    But this case is critically different because in Batalla
                 Vidal the plaintiffs had attached the new version of the
                 FAQs to their complaint. As the court there explained,
                 “Plaintiffs . . . have effectively pleaded themselves
                 out of court by relying on a document that contradicts
                 their otherwise-unsupported allegation of a change to
                 DHS’s information-use policy.” Id. at 280. By con-
                 trast, here the most recent FAQs were not attached to
                 or referenced in any of the complaints—indeed, they
                 postdate the filing of the complaints. Therefore, the
                 normal rule applies: materials outside the complaint
                 cannot be considered on a motion to dismiss. See United
                 States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
                    Even if it could be considered, this newest FAQ
                 would not conclusively resolve the question of fact sur-
                 rounding DHS’s current information-sharing policy be-
                 cause it still contains the language that suggests a change
                 from the pre-rescission policy. See USCIS, Guidance,
                 supra (“[I]nformation will only be proactively provided
                 to ICE or CBP if the requestor meets the criteria
                 for the issuance of a Notice To Appear[.]”) (emphasis
                 added).28 Plaintiffs have plausibly alleged that DHS
                 has changed its policy.


                  28
                     Astonishingly, this sentence—which appears to represent a
                 change from the prior policy of affirmatively protecting information
                 from disclosure—is immediately adjacent to DHS’s assurance that
                 nothing has changed. Cf. George Orwell, Nineteen Eighty-Four
                 (1949), at 175 (“Oceania was at war with Eastasia: Oceania had al-
                 ways been at war with Eastasia.”).




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                     Finally, in order to state a substantive due process
                 claim, plaintiffs must allege conduct that “shock[s] the
                 conscience and offend[s] the community’s sense of fair
                 play and decency.” Sylvia Landfield Tr. v. City of L.A.,
                 729 F.3d 1189, 1195 (9th Cir. 2013) (quoting March v.
                 Cty. of San Diego, 680 F.3d 1148, 1154 (9th Cir. 2012)).
                 The government makes a passing argument that this
                 standard is not satisfied because the information-sharing
                 policy has always contained some exceptions, but as the
                 Garcia plaintiffs put it, “[a]pplicants accepted those
                 limited, acknowledged risks when they applied for
                 DACA. They did not accept the risk that the govern-
                 ment would abandon the other assurances that were
                 ‘crucial’ to ‘inducing them to apply for DACA.’ ” (altera-
                 tions incorporated). We agree. Cf. Raley v. Ohio,
                 360 U.S. 423, 437-39 (1959) (holding that “convicting a
                 citizen for exercising a privilege which the State had
                 clearly told him was available to him” was “the most
                 indefensible sort of entrapment by the State” and vio-
                 lated due process); Cox v. Louisiana, 379 U.S. 559,
                 568-71 (1965) (due process violation where defendant
                 was convicted for leading a demonstration in a location
                 where the police chief had given him permission to do so).
                 Plaintiffs have stated a due process claim based on the
                 alleged change in DHS’s information-sharing policy.
                 E. Equal Protection
                    The district court also held that plaintiffs stated a
                 viable equal protection claim by plausibly alleging that
                 the DACA rescission disproportionately affected Lati-
                 nos and individuals of Mexican descent and was moti-
                 vated by discriminatory animus. See Arce v. Douglas,
                 793 F.3d 968, 977 (9th Cir. 2015) (holding a facially neu-
                 tral action unconstitutional where “its enactment or the




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                 manner in which it was enforced were motivated by a
                 discriminatory purpose,” and reviewing the Arlington
                 Heights factors for assessing discriminatory purpose)
                 (citing Vill. of Arlington Heights v. Metro. Hous. Dev.
                 Corp., 429 U.S. 252, 265-66 (1977)).
                    Because the district court denied the government’s
                 motion to dismiss plaintiffs’ equal protection claim at
                 the pleading stage, we take all of the complaints’ alle-
                 gations as true, Ashcroft v. Iqbal, 556 U.S. 662, 678
                 (2009), and construe them in the light most favorable to
                 the plaintiffs, Knievel v. ESPN, 393 F.3d 1068, 1072
                 (9th Cir. 2005). We agree with the district court that
                 plaintiffs plausibly alleged an equal protection claim.
                    Most significantly, plaintiffs allege that the rescis-
                 sion of DACA disproportionately impacts Latinos and
                 individuals of Mexican heritage, who account for 93% of
                 DACA recipients. See Arlington Heights, 429 U.S. at
                 266. The complaints also allege a history of animus
                 toward persons of Hispanic descent 29 evidenced by
                 both pre-presidential and post-presidential 30 state-

                  29
                      The government argues that the statements by the President
                 cited in the complaints do not provide sufficient evidence to plausi-
                 bly allege discriminatory intent. The government first submits
                 that nationality, as opposed to ethnicity, is not an invidious classifi-
                 cation, and that many of the cited comments go only to Mexican na-
                 tionality. “Often, however, the two are identical as a factual matter:
                 one was born in the nation whose primary stock is one’s own ethnic
                 group.” St. Francis Coll. v. Al-Khazraji, 481 U.S. 604, 614 (1987)
                 (Brennan, J., concurring). And plaintiffs allege discriminatory in-
                 tent not only toward “Mexican nationals,” but also toward “indi-
                 viduals of Mexican heritage, and Latinos.”
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                      The district court took judicial notice of one such statement by
                 the President: “[o]n December 29, 2017, President Trump tweeted:
                 ‘The Democrats have been told, and fully understand, that there




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                 ments by President Trump, who is alleged to have
                 decided to end DACA, even though the directive to the
                 Acting Secretary was issued from Attorney General
                 Sessions. Finally, the district court properly consid-
                 ered “the unusual history behind the rescission,” all of
                 which appeared in the record submitted by the gov-
                 ernment. See Arlington Heights, 429 U.S. at 267.
                 As the district court noted, “DACA received reaffirma-
                 tion by the agency as recently as three months before
                 the rescission, only to be hurriedly cast aside on what
                 seems to have been a contrived excuse (its purported
                 illegality). This strange about-face, done at lightning
                 speed, suggests that the normal care and consideration
                 within the agency was bypassed.”
                    The government contends that the equal protection
                 claim is foreclosed by AADC, in which the Supreme
                 Court stated that “as a general matter . . . an alien
                 unlawfully in this country has no constitutional right to
                 assert selective enforcement as a defense against his
                 deportation.” 525 U.S. at 488. But in the context of
                 this case, the challenge to the rescission of DACA is
                 not raised “as a defense against [] deportation,” and is
                 not a claim of “selective enforcement.” Id. Rather, it
                 is a freestanding claim that the Executive Branch, mo-
                 tivated by animus, ended a program that overwhelmingly
                 benefits a certain ethnic group. Thus, the equal protec-
                 tion claim does not implicate the concerns motivating


                 can be no DACA without the desperately needed WALL at the
                 Southern Border and an END to the horrible Chain Migration &
                 ridiculous Lottery System of Immigration etc. We must protect
                 our Country at all cost!’ ” There were many similar statements
                 made by the President after he took the oath of office leading up to
                 the DACA rescission on September 5, 2017.




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                 the Court in AADC and underscored by the govern-
                 ment: inhibiting prosecutorial discretion, allowing
                 continuing violations of immigration law, and impacting
                 foreign relations. The two cases cited by the govern-
                 ment do not support its position, as both of them in-
                 volved an individual noncitizen making an equal pro-
                 tection argument in an attempt to avoid his own de-
                 portation. See Kandamar v. Gonzales, 464 F.3d 65,
                 72-74 (1st Cir. 2006); Hadayat v. Gonzales, 458 F.3d
                 659, 665 (7th Cir. 2006). Plaintiffs’ challenge to the
                 rescission of DACA—which is itself discretionary—is
                 not such a case.
                    The government also contends that even if not to-
                 tally barred by AADC, plaintiffs’ claims must be sub-
                 ject to the heightened pleading standard applied to
                 selective-prosecution claims in the criminal context.
                 See United States v. Armstrong, 517 U.S. 456, 463-65
                 (1996). But this argument meets the same objection:
                 as the district court held, plaintiffs’ challenge is not a
                 selective-prosecution claim. We are therefore not per-
                 suaded by the government’s arguments.
                    The Supreme Court’s recent decision in Trump v.
                 Hawaii, 138 S. Ct. 2392 (2018), does not foreclose this
                 claim. There, statements by the President allegedly
                 revealing religious animus against Muslims were “[a]t
                 the heart of plaintiffs’ case . . . .” Hawaii, 138 S. Ct.
                 at 2417. The Court assumed without deciding that it
                 was proper to rely on the President’s statements, but
                 nevertheless upheld the challenged executive order
                 under rational basis review. Id. at 2420, 2423. Here,
                 by contrast, plaintiffs provide substantially greater evi-
                 dence of discriminatory motivation, including the re-
                 scission order’s disparate impact on Latinos and per-




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                 sons of Mexican heritage, as well as the order’s unusual
                 history. Moreover, our case differs from Hawaii in
                 several potentially important respects, including the
                 physical location of the plaintiffs within the geographic
                 United States, see Lopez-Valenzuela v. Arpaio, 770 F.3d
                 772, 781 (9th Cir. 2014) (en banc), the lack of a national
                 security justification for the challenged government ac-
                 tion, and the nature of the constitutional claim raised.
                    Therefore, we conclude that plaintiffs have stated a
                 plausible equal protection claim.
                                                 VII.
                     The rescission of DACA—based as it was solely on a
                 misconceived view of the law—is reviewable, and plain-
                 tiffs are likely to succeed on their claim that it must be
                 set aside under the APA. We therefore affirm the dis-
                 trict court’s entry of a preliminary injunction. 31 The
                 district court also properly dismissed plaintiffs’ APA
                 notice-and-comment claim, and their claim that the
                 DACA rescission violates their substantive due process
                 rights. The district court also properly denied the gov-
                 ernment’s motion to dismiss plaintiffs’ APA arbitrary-and-
                 capricious claim, their claim that the new information-
                 sharing policy violates their due process rights, and
                 their claim that the DACA rescission violates their
                 right to equal protection.

                                             *    *     *



                  31
                     We do not disagree with the reasoning of Judge Owens’s con-
                 curring opinion that the likelihood of success on plaintiffs’ equal
                 protection claim is a second, alternative ground for affirming the
                 entry of the injunction.




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                    The Executive wields awesome power in the en-
                 forcement of our nation’s immigration laws.           Our
                 decision today does not curb that power, but rather
                 enables its exercise in a manner that is free from legal
                 misconceptions and is democratically accountable to
                 the public. Whether Dulce Garcia and the hundreds
                 of thousands of other young dreamers like her may
                 continue to live productively in the only country they
                 have ever known is, ultimately, a choice for the political
                 branches of our constitutional government. With the
                 power to make that choice, however, must come ac-
                 countability for the consequences.
                    AFFIRMED.




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                 OWENS, Circuit Judge, concurring in the judgment:
                     As I believe that Plaintiffs’ Equal Protection claim
                 has some “likelihood of success on the merits,” I concur
                 in the judgment affirming the preliminary injunction.
                 The extraordinary practical impact of allowing DACA’s
                 rescission to take effect before a final adjudication of
                 its legality far outweighs the minimal practical impact
                 of keeping the program in place a bit longer. For that
                 reason, it is better now to risk incorrectly preserving
                 the status quo than to risk incorrectly disrupting it.1
                 However, I disagree with the portion of the majority’s
                 opinion that we may review the rescission of DACA for
                 compliance with the APA.2
                    Under 5 U.S.C. § 701(a)(2), “agency action [that] is
                 committed to agency discretion by law” is not subject
                 to judicial review for compliance with the APA. Since

                  1
                     The government appears to share this view. In its petition for
                 certiorari before judgment, the government asserted that “a pri-
                 mary purpose of the Acting Secretary’s orderly wind-down of the
                 DACA policy was to avoid the disruptive effects on all parties of
                 abrupt shifts in the enforcement of the Nation’s immigration laws.
                 Inviting more changes before final resolution of this litigation
                 would not further that interest.”
                   2
                     As for the government’s appeal from the motions to dismiss, I
                 dissent, for reasons stated here, from the majority’s holding to
                 affirm the district court’s denial of the motion to dismiss Plaintiffs’
                 APA arbitrary-and-capricious claim (Part VI-A). However, I con-
                 cur in the majority’s holding to affirm the district court’s dismissal
                 of Plaintiffs’ APA notice-and-comment claim (Part VI-B). I also
                 concur in the judgment to affirm the district court’s ruling on
                 Plaintiffs’ Due Process claims (Part VI-C; Part VI-D). And, as ex-
                 plained here as well, I agree with the majority’s decision to affirm
                 the district court’s denial of the motion to dismiss the Equal Pro-
                 tection claim (Part VI-E) and hold that the Equal Protection claim
                 offers an alternative ground to affirm the preliminary injunction.




                                                                                           AR3491
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                 Heckler v. Chaney, courts read § 701(a)(2) to preclude
                 judicial review of certain types of administrative action
                 that are “traditionally . . . ‘committed to agency
                 discretion.’ ” 470 U.S. 821, 832 (1985) (holding unre-
                 viewable the decision not to institute enforcement
                 proceedings); Lincoln v. Vigil, 508 U.S. 182, 192 (1993)
                 (same for the allocation of funds from a lump-sum
                 appropriation); Webster v. Doe, 486 U.S. 592, 599-600
                 (1988) (same for decisions of the Director of the Cen-
                 tral Intelligence Agency to terminate an employee due
                 to national security interests); ICC v. Bhd. of Locomo-
                 tive Eng’rs, 482 U.S. 270, 281-82 (1987) (BLE) (same
                 for an agency’s refusal to grant reconsideration of an
                 action due to material error).
                    An agency decision to rescind a non-enforcement
                 policy in the immigration context is this type of admin-
                 istrative action. From Heckler, we know that agency
                 actions that “involve[] a complicated balancing of a
                 number of factors,” like allocating agency resources
                 and prioritizing agency policies, “are peculiarly within
                 [the agency’s] expertise,” and are therefore “general-
                 [ly] unsuitab[le] for judicial review.” 470 U.S. at 831.
                 And in Reno v. American-Arab Anti-Discrimination
                 Committee, 525 U.S. 471 (1999) (AADC), the Supreme
                 Court made clear that Executive Branch decisions that
                 implicate enforcement priorities in the context of im-
                 migration are among those that judges are least
                 equipped to review. Id. at 489-90. In AADC, the Court
                 explained that the concerns necessitating the Executive’s
                 “broad discretion” in criminal prosecutions are “greatly
                 magnified in the deportation context.” Id. (citing United
                 States v. Armstrong, 517 U.S. 456, 464 (1996)).




                                                                             AR3492
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                     In deciding to rescind an immigration policy of
                 non-enforcement, DHS thus acts with broad discretion
                 that courts cannot review absent clear congressional
                 authorization. Here, rather than authorize judicial re-
                 view, the broad, discretion-granting language of the ena-
                 bling statute reinforces that DHS’s enforcement decision
                 is not subject to APA review. See 6 U.S.C. § 202(5)
                 (“The Secretary shall be responsible for . . . [e]sta-
                 blishing national immigration enforcement policies and
                 priorities.”); see also Webster, 486 U.S. at 599-600.
                    Perhaps recognizing that immigration enforcement
                 decisions exhibit the characteristics of unreviewable
                 agency actions, the majority decides that we should
                 nonetheless review the rescission of DACA because
                 these features are not actually at work here: Acting
                 Secretary Duke explained that DACA was rescinded
                 based on DHS’s belief that the program was unlawful.
                 The majority points to Heckler’s footnote 4, where the
                 Court left open the question whether courts may re-
                 view agency action if “a refusal by the agency to insti-
                 tute proceedings [is] based solely on the belief that it
                 lacks jurisdiction.” Heckler, 470 U.S. at 833 n.4 (“[W]e
                 express no opinion on whether such decisions would be
                 unreviewable under § 701(a)(2) . . . .”). The majori-
                 ty concludes that the Supreme Court has not yet an-
                 swered this question, and that our court, in Montana
                 Air Chapter No. 29 v. FLRA, 898 F.2d 753, 756-57
                 (9th Cir. 1990), has answered it in the affirmative: that
                 otherwise unreviewable agency action is reviewable when
                 the agency justifies its action by reference to its under-
                 standing of its jurisdiction. I respectfully disagree.
                    In Montana Air, we confronted the question left
                 open in Heckler’s footnote 4. Specifically, we held that a




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                 decision by the Federal Labor Relations Authority’s
                 General Counsel not to issue an unfair labor practice
                 complaint was reviewable only because his decision was
                 “based solely on his belief that he lacks jurisdiction to
                 issue such a complaint.” Id. at 756. But what we
                 held reviewable were the General Counsel’s “statutory
                 and regulatory interpretations to determine if his belief
                 that he lacked jurisdiction was correct.” Id. at 757.
                 Applying Chevron, we found “impermissible” the Gen-
                 eral Counsel’s interpretations of the statute under which
                 he acted. Id. at 758.
                    Here, by contrast, Plaintiffs do not ask that we ap-
                 ply Chevron to review whether Acting Secretary Duke
                 impermissibly interpreted 6 U.S.C. § 202(5) in con-
                 cluding that the statute authorized the rescission of
                 DACA.3 Instead, Plaintiffs ask that we review for ar-
                 bitrariness and capriciousness the procedures the agency
                 used to rescind DACA. But nothing in Montana Air
                 suggests that Heckler’s footnote 4 authorizes arbitrary-
                 and-capricious, rather than Chevron, review of agency
                 action simply because the agency acted based on its
                 understanding of its enabling statute. And, despite
                 Plaintiffs’ arguments to the contrary, BLE plainly pro-
                 hibits us from doing so.
                    In BLE, the Supreme Court held that an agency’s
                 refusal to reconsider a prior adjudicative decision was
                 unreviewable even where the agency based its refusal
                 on its interpretation of its enabling statute. 482 U.S.

                  3
                     This is not surprising: § 202(5) makes the Secretary “respon-
                 sible for . . . [e]stablishing national immigration enforcement
                 policies and priorities.” If we accept that this broad, discretion-
                 granting statute authorized DACA’s implementation, it surely also
                 sanctions DACA’s termination.




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                 at 278-84. In so holding, the Court explained that the
                 agency’s refusal to reconsider was unreviewable be-
                 cause it was the type of action that “has traditionally
                 been ‘committed to agency discretion,’ ” id. at 282 (quo-
                 ting Heckler, 470 U.S. at 832); thus any inquiry into its
                 reasons for acting was inappropriate, id. at 280-81.
                 “It is irrelevant that the [agency’s] order refusing re-
                 consideration discussed the merits of the unions’ claim
                 at length,” the Court explained, as “[i]t would hardly be
                 sensible to say that the [agency] can genuinely deny re-
                 consideration only when it gives the matter no thought.”
                 Id. BLE thus makes clear that when determining the
                 scope of permissible judicial review, courts consider
                 only the type of agency action at issue, not the agency’s
                 reasons for acting.
                    Finally, Plaintiffs argue that even if BLE precludes
                 review of some types of agency action regardless of the
                 agency’s reason for acting, that rule only applies to
                 single-shot enforcement decisions, not to general state-
                 ments of policy. See NAACP v. Trump, 298 F. Supp.
                 3d 209, 227-36 (D.D.C. 2018) (discussing Crowley Car-
                 ibbean Transp., Inc. v. Pena, 37 F.3d 671, 676 (D.C. Cir.
                 1994), and permitting APA review on this ground). In
                 other words, Plaintiffs would have us hold that general
                 statements of policy—but not single-shot enforcement
                 decisions—are subject to APA review when the agency’s
                 sole reason for acting is its understanding of its juris-
                 diction. While the majority acknowledges Plaintiffs’
                 argument without reaching its merits, I believe that
                 such a distinction collapses Heckler on its head: In
                 deciding whether agency action is reviewable, the first
                 question we ask is what type of agency action is before
                 us—whether it is agency action that courts typically
                 review or agency action “traditionally . . . ‘com-




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                 mitted to agency discretion.’ ” Heckler, 470 U.S. at
                 832. This initial inquiry includes consideration of
                 whether the action is a single-shot non-enforcement de-
                 cision or a general statement of policy. It would beg
                 the question to conclude that unreviewable agency
                 action is in fact reviewable because it is the type of
                 action that courts typically review.
                    I would therefore hold that § 701(a)(2) precludes us
                 from subjecting DACA’s rescission to arbitrary-and-
                 capricious review.
                    At the same time, as the government concedes,
                 DACA’s rescission may be reviewed for compliance with
                 the Constitution. I would hold that Plaintiffs have
                 plausibly alleged that the rescission of DACA was mo-
                 tivated by unconstitutional racial animus in violation of
                 the Equal Protection component of the Fifth Amend-
                 ment, and that the district court correctly denied the
                 government’s motion to dismiss this claim.
                    Notably, Plaintiffs did not seek a preliminary in-
                 junction on their Equal Protection claim, instead rely-
                 ing solely on their APA argument. Nonetheless, this
                 court may affirm a preliminary injunction on any basis
                 supported by the record. Valle del Sol Inc. v. Whit-
                 ing, 732 F.3d 1006, 1021 (9th Cir. 2013). And because
                 a preliminary injunction preserves the court’s power to
                 render a meaningful decision on the merits, we can af-
                 firm an injunction issued on legally erroneous grounds
                 where remand for consideration of alternative grounds
                 is warranted. See Gerling Global Reinsurance Corp.
                 of Am. v. Low, 240 F.3d 739, 754 (9th Cir. 2001) (“It is
                 possible that [the challenged law] violates the Due Pro-
                 cess Clause, but the district court did not reach that
                 issue, and it is not fully developed in the record or in




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                 the briefs presented to this court. We leave the pre-
                 liminary injunction in place in order to give the district
                 court an opportunity to consider whether Plaintiffs are
                 likely to succeed on the merits.”); see also United
                 States v. Hovsepian, 359 F.3d 1144, 1157 (9th Cir. 2004)
                 (en banc) (holding that the district court erred in en-
                 tering an injunction but leaving “the injunction in place
                 . . . pending the conclusion of all proceedings in this
                 case, in aid of the court’s jurisdiction”). Accordingly,
                 I would affirm the preliminary injunction and remand
                 for consideration whether Plaintiffs have demonstrated
                 a likelihood of success on the merits of their Equal
                 Protection claim.
                    As the majority details, the record assembled at this
                 early stage is promising. Plaintiffs highlight (1) the
                 disproportionate impact DACA’s rescission has on “in-
                 dividuals of Mexican heritage, and Latinos, who toge-
                 ther account for 93 percent of approved DACA applica-
                 tions”; (2) a litany of statements by the President and
                 high-ranking members of his Administration that plau-
                 sibly indicate animus toward undocumented immigrants
                 from Central America;4 and (3) substantial procedural
                 irregularities in the challenged agency action.
                    Such evidence—plus whatever additional evidence
                 Plaintiffs muster on remand—may well raise a presump-
                 tion that unconstitutional animus was a substantial fac-
                 tor in the rescission of DACA. See Vill. of Arlington

                  4
                    Like the majority, I do not interpret Trump v. Hawaii, 138 S. Ct.
                 2392 (2018), to preclude review of the President’s statements when
                 applying the Arlington Heights standard. At the merits stage,
                 the district court can still decide whether, or to what degree, the
                 President’s statements betray a discriminatory animus behind
                 DACA’s rescission.




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                 Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252,
                 266-68 (1977); see also Hawaii, 138 S. Ct. at 2420
                 (holding that courts “may consider plaintiffs’ extrinsic
                 evidence” as permitted by the applicable level of scru-
                 tiny). If the government fails to rebut that presump-
                 tion, Plaintiffs will have demonstrated a likelihood of
                 success on the merits. See Arlington Heights, 429 U.S.
                 at 270 & n.21 (noting that proof that an action was
                 motivated by a discriminatory purpose shifts to the
                 government the burden of establishing that the same
                 decision would have resulted without the impermissible
                 purpose); Gonzales v. O Centro Espirita Beneficente
                 Uniao do Vegetal, 546 U.S. 418, 429 (2006) (affirming
                 the injunction where the government failed to meet its
                 burden at preliminary injunction stage, because “the
                 burdens at the preliminary injunction stage track the
                 burdens at trial”). As such, I believe that Plaintiffs have
                 plausibly alleged an Equal Protection violation and that
                 the district court should decide whether it is an alterna-
                 tive ground to grant the preliminary injunction.
                     Moreover, the balance of equities here weighs heav-
                 ily in favor of affirming the preliminary injunction. A
                 merits decision from the district court concluding that
                 the Executive rescinded DACA because of unconstitu-
                 tional racial animus would be little more than an advi-
                 sory opinion if by that time thousands of young people
                 had lost their status due to the lack of an injunction
                 preserving it. Preliminary injunctive relief exists pre-
                 cisely for circumstances like these: “The purpose of a
                 preliminary injunction is merely to preserve the rela-
                 tive positions of the parties until a trial on the merits
                 can be held.” Univ. of Tex. v. Camenisch, 451 U.S.
                 390, 395 (1981). Thus, on these facts, the district court
                 was correct to issue a preliminary injunction. See




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                 Ashcroft v. ACLU, 542 U.S. 656, 670 (2004) (affirming
                 injunction where “the potential harms from reversing
                 the injunction outweigh those of leaving it in place by
                 mistake”); Doran v. Salem Inn, Inc., 422 U.S. 922, 932
                 (1975) (granting preliminary relief because “otherwise
                 a favorable final judgment might well be useless”);
                 Brown v. Chote, 411 U.S. 452, 457 (1973); cf. Winter v.
                 NRDC, Inc., 555 U.S. 7, 26 (2008) (reversing injunction
                 without addressing likelihood of success on the merits
                 where “the balance of equities and consideration of the
                 overall public interest in this case tip strongly in favor
                 of [defendants]”).
                    Accordingly, while I would remand for the district
                 court to evaluate the Plaintiffs’ likelihood of success on
                 the merits of their Equal Protection claim as an alter-
                 native basis for preliminary relief in the first instance,
                 I join the majority in affirming the preliminary injunc-
                 tion to preserve the status quo while Plaintiffs attempt
                 to prove up that claim.




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                 Notice to Appear Policy Memorandum
                 On June 28, we issued a new Notice to Appear (NTA)
                 policy memorandum (PM) (PDF, 140 KB), providing
                 guidance on when USCIS may issue Form I-862, No-
                 tice to Appear.
                 An NTA is a document that instructs an individual to
                 appear before an immigration judge. This is the first
                 step in starting removal proceedings against them.
                 Starting Oct. 1, USCIS may issue NTAs on denied
                 status-impacting applications, including but not limited
                 to, Form I-485, Application to Register Permanent
                 Residence or Adjust Status, and Form I-539, Applica-
                 tion to Extend/Change Nonimmigrant Status.
                 USCIS will send denial letters for status-impacting ap-
                 plications that ensures benefit seekers are provided
                 adequate notice when an application for a benefit is
                 denied. If applicants are no longer in a period of au-
                 thorized stay, and do not depart the United States,
                 USCIS may issue an NTA. USCIS will provide de-
                 tails on how applicants can review information regard-
                 ing their period of authorized stay, check travel com-
                 pliance, or validate departure from the United States.




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                 The June 2018 NTA Policy Memo will not be imple-
                 mented with respect to employment-based petitions
                 and humanitarian applications and petitions at this time.
                 Existing guidance for these case types will remain in
                 effect.
                 We’ll continue to prioritize cases of individuals with
                 criminal records, fraud, or national security concerns
                 and will continue the current processes of using our
                 discretion in issuing NTAs on these case types.
                 USCIS held a public teleconference on Thursday, Sept.
                 27, and provided an overview of the PM and responded
                 to pre-submitted questions. The questions and answers,
                 and the overview from the teleconference, are available
                 on the USCIS Teleconference Notice to Appear (NTA)
                 Update Policy Guidance script (PDF, 3.52 MB) posted
                 to the Electronic Reading Room.
                 Background
                 The updated policy affects the following categories of
                 cases where the individual is removable:
                    • Cases where fraud or misrepresentation is sub-
                       stantiated, and/or cases where there is evidence
                       the applicant abused any program related to re-
                       ceiving public benefits. We will issue an NTA
                       in these cases, even if we deny the case for rea-
                       sons other than fraud.
                    • Criminal cases where an applicant is charged
                       with (or convicted of ) a criminal offense, or com-
                       mitted acts that are chargeable as a criminal of-
                       fense, even if the criminal conduct was not the
                       basis for the denial or the ground of removabil-
                       ity. We will, where circumstances warrant, re-




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                       fer cases to ICE without issuing an NTA or ad-
                       judicating an immigration benefits.
                    • Cases where we denied a Form N-400, Applica-
                       tion for Naturalization, on good moral character
                       grounds because of a criminal offense.
                    • Cases where an applicant will be unlawfully pre-
                       sent in the United States when we deny the pe-
                       tition or application.
                 The PM did not change USCIS policy for the following
                 categories:
                    • Cases involving national security concerns;
                    • Cases where issuing an NTA is required by
                       statute or regulation;
                    • Temporary Protected Status (TPS) cases, except
                       where, after applying TPS regulatory provi-
                       sions, a TPS denial or withdrawal results in an
                       individual having no other lawful immigration
                       status; and
                    • Cases involving deferred action for childhood
                       arrivals (DACA) recipients and requestors when
                       (1) processing an initial or renewal DACA re-
                       quest or DACA-related benefit request or (2) pro-
                       cessing a DACA recipient for possible termina-
                       tion of DACA. Read the PM (PDF, 77 KB) that
                       applies to cases involving DACA recipients and
                       requestors.




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                   United States Court of Appeals for the Ninth Circuit
                                    Office of the Clerk
                                    95 Seventh Street
                                 San Francisco, CA 94103
                           Information Regarding Judgment and
                                Post-Judgment Proceedings
                 Judgment
                       • This Court has filed and entered the attached
                          judgment in your case. Fed. R. App. P. 36.
                          Please note the filed date on the attached deci-
                          sion because all of the dates described below
                          run from that date, not from the date you re-
                          ceive this notice.
                 Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
                       • The mandate will issue 7 days after the expira-
                          tion of the time for filing a petition for rehear-
                          ing or 7 days from the denial of a petition for
                          rehearing, unless the Court directs otherwise.
                          To file a motion to stay the mandate, file it
                          electronically via the appellate ECF system or,
                          if you are a pro se litigant or an attorney with
                          an exemption from using appellate ECF, file
                          one original motion on paper.
                 Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir.
                 R. 40-1)
                 Petition for Rehearing En Banc (Fed. R. App. P. 35;
                 9th Cir. R. 35-1 to -3)
                 (1)   A. Purpose (Panel Rehearing):
                       • A party should seek panel rehearing only if
                          one or more of the following grounds exist:




                                                                               AR3503
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                          ► A material point of fact or law was over-
                            looked in the decision;
                          ► A change in the law occurred after the
                            case was submitted which appears to have
                            been overlooked by the panel; or
                          ► An apparent conflict with another decision
                            of the Court was not addressed in the
                            opinion.
                       • Do not file a petition for panel rehearing mere-
                          ly to reargue the case.
                       B. Purpose (Rehearing En Banc)
                       • A party should seek en banc rehearing only if
                          one or more of the following grounds exist:
                          ► Consideration by the full Court is neces-
                            sary to secure or maintain uniformity of
                            the Court’s decisions; or
                          ► The proceeding involves a question of ex-
                            ceptional importance; or
                          ► The opinion directly conflicts with an ex-
                            isting opinion by another court of appeals
                            or the Supreme Court and substantially
                            affects a rule of national application in which
                            there is an overriding need for national
                            uniformity.
                 (2)   Deadlines for Filing:
                       • A petition for rehearing may be filed within
                          14 days after entry of judgment.        Fed. R.
                          App. P. 40(a)(1).




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                       • If the United States or an agency or officer
                          thereof is a party in a civil case, the time for
                          filing a petition for rehearing is 45 days after
                          entry of judgment. Fed. R. App. P. 40(a)(1).
                       • If the mandate has issued, the petition for re-
                          hearing should be accompanied by a motion to
                          recall the mandate.
                       • See Advisory Note to 9th Cir. R. 40-1 (petitions
                          must be received on the due date).
                       • An order to publish a previously unpublished
                          memorandum disposition extends the time to file
                          a petition for rehearing to 14 days after the date
                          of the order of publication or, in all civil cases in
                          which the United States or an agency or officer
                          thereof is a party, 45 days after the date of the
                          order of publication. 9th Cir. R. 40-2.
                 (3)   Statement of Counsel
                       • A petition should contain an introduction stat-
                          ing that, in counsel’s judgment, one or more of
                          the situations described in the “purpose” sec-
                          tion above exist. The points to be raised must
                          be stated clearly.
                 (4)   Form & Number of Copies (9th Cir. R. 40-1; Fed. R.
                       App. P. 32(c)(2))
                       • The petition shall not exceed 15 pages unless it
                          complies with the alternative length limitations
                          of 4,200 words or 390 lines of text.
                       • The petition must be accompanied by a copy of
                          the panel’s decision being challenged.




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                      • An answer, when ordered by the Court, shall
                          comply with the same length limitations as the
                          petition.
                      • If a pro se litigant elects to file a form brief
                          pursuant to Circuit Rule 28-1, a petition for
                          panel rehearing or for rehearing en banc need
                          not comply with Fed. R. App. P. 32.
                      • The petition or answer must be accompanied by
                          a Certificate of Compliance found at Form 11,
                          available on our website at www.ca9.uscourts.
                          gov under Forms.
                      • You may file a petition electronically via the
                          appellate ECF system. No paper copies are
                          required unless the Court orders otherwise.
                          If you are a pro se litigant or an attorney ex-
                          empted from using the appellate ECF system,
                          file one original petition on paper. No addi-
                          tional paper copies are required unless the
                          Court orders otherwise.
                 Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
                      • The Bill of Costs must be filed within 14 days
                          after entry of judgment.
                      • See Form 10 for additional information, avail-
                          able on our website at www.ca9.uscourts.gov
                          under Forms.
                 Attorneys Fees
                      • Ninth Circuit Rule 39-1 describes the content
                          and due dates for attorneys fees applications.




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                      • All relevant forms are available on our website
                         at www.ca9.uscourts.gov under Forms or by
                         telephoning (415) 355-7806.
                 Petition for a Writ of Certiorari
                      • Please refer to the Rules of the United States
                         Supreme Court at www.supremecourt.gov
                 Counsel Listing in Published Opinions
                      • Please check counsel listing on the attached
                         decision.
                      • If there are any errors in a published opinion,
                         please send a letter in writing within 10 days to:
                         ► Thomson Reuters; 610 Opperman Drive; PO
                           Box 64526; Eagan, MN 55123 (Attn: Jean
                           Green, Senior Publications Coordinator);
                         ► and electronically file a copy of the letter
                           via the appellate ECF system by using
                           “File Correspondence to Court,” or if you
                           are an attorney exempted from using the
                           appellate ECF system, mail the Court one
                           copy of the letter.




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                 Form 10.     Bill of Costs…………………….....(Rev. 12-1-09)
                   United States Court of Appeals for the Ninth Circuit
                                        BILL OF COSTS
                         This form is available as a fillable version at:
                      http://cdn.ca9.uscourts.gov/datastore/uploads/
                   forms/Form%2010%20-%20Bill%20of %20Costs.pdf.
                 Note:  If you wish to file a bill of costs, it MUST be
                 submitted on this form and filed, with the clerk, with
                 proof of service, within 14 days of the date of entry of
                 judgment, and in accordance with 9th Circuit Rule
                 39-1. A late bill of costs must be accompanied by a
                 motion showing good cause. Please refer to FRAP 39,
                 28 U.S.C. § 1920, and 9th Circuit Rule 39-1 when pre-
                 paring your bill of costs.




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                 * Costs per page: May not exceed .10 or actual cost,
                 whichever is less. 9th Circuit Rule 39-1.
                 ** Other: Any other requests must be accompanied
                 by a statement explaining why the item(s) should be
                 taxed pursuant to 9th Circuit Rule 39-1. Additional
                 items without such supporting statements will not be
                 considered.
                 Attorneys’ fees cannot be requested on this form.




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                                     No. 18-587

                  In the Supreme Court of the United States

                      UNITED STATES DEPARTMENT OF HOMELAND
                                 SECURITY, ET AL.,
                                                         Petitioners,
                                         v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                       Respondents.

                     On Petition for a Writ of Certiorari to the
                         United States Court of Appeals
                               for the Ninth Circuit

                   BRIEF OF AMICUS CURIAE EAGLE FORUM
                   EDUCATION & LEGAL DEFENSE FUND IN
                         SUPPORT OF PETITIONERS

                                        ANDREW L. SCHLAFLY
                                        939 Old Chester Rd.
                                        Far Hills, NJ 07931
                                        (908) 719-8608
                                        aschlafly@aol.com
                                        Counsel for Amicus Curiae




                                                                            AR3510
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                             QUESTIONS PRESENTED


                     This dispute concerns the policy of immigration
                 enforcement discretion known as Deferred Action for
                 Childhood Arrivals (“DACA”). In 2016, this Court
                 affirmed, by an equally divided Court, a decision of the
                 Fifth Circuit holding that two related Department of
                 Homeland       Security      (“DHS”)      discretionary
                 enforcement policies, including an expansion of the
                 DACA policy, were likely unlawful and should be
                 enjoined. See United States v. Texas, 136 S. Ct. 2271
                 (2016) (per curiam). In September 2017, DHS
                 determined that the original DACA policy was
                 unlawful and would likely be struck down by the
                 courts on the same grounds as the related policies.
                 DHS thus instituted an orderly wind-down of the
                 DACA policy.

                    The questions presented are as follows:

                    1. Whether DHS’s decision to wind down the
                       DACA policy is judicially reviewable.

                    2. Whether DHS’s decision to wind down the
                       DACA policy is lawful.




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                                             No. 18-587

                                      IN THE
                          Supreme Court of the United States

                 UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                                     ET AL.,

                                                                    Petitioners,
                                                   v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                                    Respondents.

                 On Petition for Writ of Certiorari to the United States
                        Court of Appeals for the Ninth Circuit



                             INTERESTS OF AMICUS CURIAE1
                    Amicus curiae Eagle Forum Education & Legal
                 Defense Fund (“EFELDF”) is a nonprofit corporation
                 founded in 1981. For more than thirty-five years,
                 EFELDF has defended American sovereignty and
                 promoted adherence to federalism and the separation
                 of powers under the U.S. Constitution. EFELDF has
                 consistently opposed unlawful behavior, including
                 illegal entry into and residence in the United States.

                 1 No counsel for a party authored this brief in whole or in part.

                 No person or entity other than Amicus, its members, or its counsel
                 made a monetary contribution to the preparation or submission
                 of this brief. Amicus files this brief after providing the requisite
                 ten-day prior written notice to all parties, and obtaining written
                 consent from all the parties to file this brief. See S. Ct. R. 37.2(a).




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                                           2
                 Phyllis Schlafly, the founder of EFELDF, was an
                 outspoken defender of national sovereignty against
                 open borders.
                    For all these reasons, EFELDF has direct and vital
                 interests in the issues before this Court.
                              SUMMARY OF ARGUMENT
                     This case presents yet another nationwide
                 injunction issued by a federal court in California, as
                 affirmed by the Ninth Circuit, which interferes with
                 the clear authority by the Congress and the President
                 to govern immigration. It is difficult to imagine a
                 constitutional power for which judicial restraint is
                 more important, and where nationwide injunctions by
                 district courts are so unjustified. In light of the
                 immense significance of this issue, and amid an
                 epidemic of litigation over it, the Petition should be
                 granted.
                    As Justice Thomas wisely wrote in concurrence to
                 a reversal last Term of another Ninth Circuit-related
                 immigration decision:
                    Injunctions that prohibit the Executive Branch
                    from applying a law or policy against anyone —
                    often called “universal” or “nationwide” injunctions
                    — have become increasingly common. District
                    courts, including the one here, have begun
                    imposing       universal     injunctions     without
                    considering their authority to grant such sweeping
                    relief. These injunctions are beginning to take a
                    toll on the federal court system — preventing legal
                    questions from percolating through the federal
                    courts, encouraging forum shopping, and making
                    every case a national emergency for the courts and
                    for the Executive Branch.




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                                            3
                 Trump v. Hawaii, 138 S. Ct. 2392, 2424-25 (2018)
                 (Thomas, J., concurring).
                     These words of Justice Thomas have not yet been
                 heeded, because here we are again having to deal with
                 yet another overreaching nationwide injunction that
                 undermines Congress and disrupts presidential
                 authority. But it is even worse than that. Not only is
                 the breadth of the injunction below unjustified, but the
                 district court even lacked jurisdiction under
                 Immigration and Naturalization Act and there was not
                 any standing because mere agency action cannot
                 create a federal right. The Ninth Circuit decision
                 based its decision on anecdotal virtues of the
                 “Dreamers” – the recipients of DACA benefits – but it
                 is for Congress alone to decide whether to grant them
                 American citizenship. Congress has chosen not to do
                 so, and instead the judicial branch has conferred rights
                 where none exists. This presents an urgent issue of
                 national importance, which the Supreme Court should
                 not defer or avoid.
                    The decision below committed errors on matters of
                 enormous significance to our entire Nation, and thus
                 the Petition for Writ of Certiorari should be granted.




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                    I.     THE PETITION SHOULD BE GRANTED TO
                           ADDRESS AN ISSUE OF IMMENSE NATIONAL
                           IMPORTANCE: NATIONWIDE INJUNCTIONS
                           BY  DISTRICT COURTS AGAINST THE
                           PRESIDENT ON IMMIGRATION POLICY.
                     Justice Thomas’s alarm bells against nationwide
                 injunctions have not yet been heeded. They need to be.
                 Nationwide injunctions, like the one below, create
                 havoc in all three branches of government, including
                 the judiciary itself. The President has publicly
                 expressed his frustration at these injunctions, which
                 all-too-often emanate from within the same few
                 circuits. Congress is paralyzed by these injunctions
                 from taking up legislation to address perceived
                 problem. Courts in other jurisdictions are being
                 improperly bound by injunctions from other courts
                 that lack legitimate authority over them. See, e.g.,
                 United States v. Glaser, 14 F.3d 1213, 1216 (7th Cir.
                 1994) (courts should be bound only by their appellate
                 courts).
                    Nationwide injunctions “substantially thwart the
                 development of important questions of law by freezing
                 the first final decision rendered on a particular legal
                 issue,” as this Court has observed. United States v.
                 Mendoza, 464 U.S. 154, 160 (1984).            Moreover,
                 injunctions which extend beyond the parties before the
                 court are inconsistent with due process and not within
                 any exceptions to it, such as class action litigation.
                 Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348
                 (2011) (“The class action is an exception to the usual
                 rule that litigation is conducted by and on behalf of the
                 individual named parties only.”) (inner quotations
                 omitted). See also Comcast Corp. v. Behrend, 569 U.S.




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                 27, 33 (2013) (“To come within the exception, a party
                 seeking to maintain a class action must affirmatively
                 demonstrate his compliance with Rule 23.”) (inner
                 quotations omitted). No such exception exists for
                 sweeping injunctions by district courts that alter
                 immigration rights across the entire country.
                     The nationwide injunction below is in particular
                 need for review by this Court because the district court
                 also lacks jurisdiction under the preclusion-of-review
                 provision of the Immigration and Naturalization Act.
                 “[N]o court shall have jurisdiction to hear any cause or
                 claim by or on behalf of any alien arising from the
                 decision or action by the Attorney General to
                 commence proceedings, adjudicate cases, or execute
                 removal orders against any alien under this Act.” 8
                 U.S.C. § 1252(g).
                    Moreover, there was no standing to support the
                 injunction below either, because mere agency action
                 cannot create a federal right. In vintage writing by
                 Justice Scalia for the Court:
                    Language in a regulation may invoke a private
                    right of action that Congress through statutory text
                    created, but it may not create a right that Congress
                    has not. Thus, when a statute has provided a
                    general authorization for private enforcement of
                    regulations, it may perhaps be correct that the
                    intent displayed in each regulation can determine
                    whether or not it is privately enforceable. But it is
                    most certainly incorrect to say that language in a
                    regulation can conjure up a private cause of action
                    that has not been authorized by Congress.
                    Agencies may play the sorcerer’s apprentice but not
                    the sorcerer himself.




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                 Alexander v. Sandoval, 532 U.S. 275, 291 (2001)
                 (citation omitted).
                    Even when this Court has upheld in part an
                 injunction sought by abortion clinics, it has
                 emphasized that such remedy “should be no more
                 burdensome to the defendant than necessary to
                 provide complete relief to the plaintiffs.” Madsen v.
                 Women’s Health Ctr., Inc., 512 U.S. 753, 765 (1994)
                 (Rehnquist, C.J.). Yet nearly 25 years later, sweeping
                 nationwide injunctions issued by district courts, like
                 the one at issue here, go far beyond the parties in the
                 case and what is necessary to grant them relief.
                 Rather, immigration policy is plainly and
                 impermissibly being made by the federal judiciary
                 rather than by Congress. Nothing in the Constitution
                 remotely supports such overreach.
                    As decried by Judge Fernandez in dissenting from
                 yet another immigration-related injunction upheld by
                 the Ninth Circuit, in words that ring equally true on
                 this Petition:
                    While it goes without saying that I would vacate
                    the injunction in its entirety, even if it were
                    otherwise proper, the district court erred when it
                    granted a nationwide injunction. It could have
                    granted relief to the Counties without so doing. In
                    fact, the whole concept of issuing nationwide
                    injunctions     is    somewhat      dubious.     See
                    Trump, U.S. at , 138 S. Ct. at 2425-29 (Thomas,
                    J., concurring); cf. id. at , 138 S. Ct. at 2423
                    (majority opinion) (declining to decide “propriety of
                    the nationwide scope of the injunction”). They
                    should at the very least be used with a great deal
                    of caution. In general, a court should not stretch to
                    impose its will further than is necessary to grant




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                    relief to those before it. See L.A. Haven Hospice,
                    Inc. v. Sebelius, 638 F.3d 644, 664 (9th Cir. 2011);
                    see also Califano v. Yamasaki, 442 U.S. 682, 701-
                    03, 99 S. Ct. 2545, 2558, 61 L. Ed. 2d 176 (1979).
                 City & Cty. of S.F. v. Trump, 897 F.3d 1225, 1250 n.16
                 (9th Cir. 2018) (Fernandez, J., dissenting).
                     Strong supervision by this Court of the lower courts
                 is needed, and soon. The Petition should be granted
                 for this Court to rein in the epidemic of national
                 injunctions against the President, particularly in this
                 field of immigration. When it comes to national
                 sovereignty, courts should not play the “sorcerer
                 himself,” and the Petition should be granted to correct
                 that error below.
                    II.    WHILE SOME “DREAMERS” DESERVE
                           PRAISE, IT IS FOR CONGRESS ALONE TO
                           GRANT THEM CITIZENSHIP, AND PETITION
                           SHOULD BE GRANTED TO CLARIFY THIS.
                    It is hardly controversial to observe that Congress
                 alone has the power to establish immigration law, U.S.
                 CONST. art. I, §8, cl. 4. Accordingly, Congress enacted
                 the Immigration and Naturalization Act, 8 U.S.C.
                 §§1101-1537 (“INA”), and it is not for the courts to
                 change it. The essential role of the President is to
                 ensure that immigration laws are faithfully executed.
                 U.S. CONST. art. II, §3. In addition, the Executive
                 Branch possesses rulemaking authority over
                 immigration, as in other fields of law.
                     All this leaves the judiciary with precious little
                 legitimate authority over immigration policy. But that
                 is how it should be, and the Petition should be granted
                 to rein in the lower courts as they run far afield on this
                 issue. Immigration is fundamentally an issue of




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                 national sovereignty and foreign policy, to which
                 courts should defer to the President rather than
                 interfere with him. “[T]he executive branch not only
                 has superior expertise in the area of foreign
                 intelligence, it is also constitutionally designated as
                 the pre-eminent authority in foreign affairs.” United
                 States v. Truong Dinh Hung, 629 F.2d 908, 914 (4th
                 Cir. 1980) (deferring to the president on the issue of
                 wiretapping, without a warrant, foreigners while in
                 the United States).
                     Sympathetic anecdotes can be powerful, and
                 decision below makes the most of them. “She … was
                 awarded a scholarship that, together with her
                 mother’s life savings, enabled her to fulfill her
                 longstanding dream of attending and graduating from
                 law school. Today, Garcia maintains a thriving legal
                 practice in San Diego, where she represents members
                 of underserved communities ….” Regents of the Univ.
                 of Cal. v. United States Dep’t of Homeland Sec., 2018
                 U.S. App. LEXIS 31688, at *18 (9th Cir. Nov. 8, 2018).
                 No one doubts that the hard work deserves praise.
                    But few DACA recipients graduate from law school,
                 and some DACA recipients base their claim to
                 beneficiary status in having criminal records that do
                 not quite rise to the level of felonies. Suppl. Pet. App.
                 15a. Moreover, the high achievers would do much to
                 improve their own families’ country of origin, and
                 perhaps serve even greater needs there, if they were
                 not given citizenship here. See Angela Nagle, “The
                 Left Case Against Open Borders,” American Affairs
                 Vol. II, No. 4, 17-30 (Winter 2018).2 Regardless, this


                 2        https://americanaffairsjournal.org/2018/11/the-left-case-
                 against-open-borders/ (viewed Dec. 4, 2018).




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                 is a decision for Congress to make, and citation to a
                 few success stories cannot justify a far broader grant
                 of entitlement than Congress has given.            The
                 President is correct in faithfully executing the
                 immigration laws that Congress has enacted, and it
                 was reversible error for the courts below to rule
                 otherwise.

                                    CONCLUSION
                    For the foregoing reasons, the Petition for Writ of
                 Certiorari should be granted.


                                           Respectfully submitted,

                                           ANDREW L. SCHLAFLY
                                           939 Old Chester Rd.
                                           Far Hills, NJ 07931
                                           (908) 719-8608
                                           aschlafly@aol.com

                                           Counsel for Amicus Curiae
                                            Eagle Forum Education
                                            & Legal Defense Fund
                 Dated: December 4, 2018




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                                     No. 18-587

                   In the Supreme Court of the United States

                      UNITED STATES DEPARTMENT OF HOMELAND
                                 SECURITY, ET AL.,
                                                         Petitioners,
                                          v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                       Respondents.

                     On Petition for a Writ of Certiorari to the
                         United States Court of Appeals
                               for the Ninth Circuit

                   BRIEF AMICUS CURIAE OF IMMIGRATION
                   LAW REFORM INSTITUTE IN SUPPORT OF
                              PETITIONERS


                 CHRISTOPHER J. HAJEC      LAWRENCE J. JOSEPH
                 IMMIGRATION REFORM           Counsel of Record
                 LAW INSTITUTE             1250 Connecticut Av NW
                 25 Massachusetts Av NW    Suite 700-1A
                 Suite 335                 Washington, DC 20036
                 Washington, DC 20001      (202) 202-355-9452
                 (202) 232-5590            lj@larryjoseph.com
                 chajec@irli.org




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                             QUESTIONS PRESENTED
                      This dispute concerns the policy of immigration
                 enforcement discretion known as Deferred Action for
                 Childhood Arrivals (“DACA”). In 2016, this Court
                 affirmed, by an equally divided Court, a decision of the
                 U.S. Court of Appeals for the Fifth Circuit holding
                 that two related Department of Homeland Security
                 (DHS) discretionary enforcement policies, including
                 an expansion of the DACA policy, were likely unlawful
                 and should be enjoined. See United States v. Texas,
                 136 S.Ct. 2271 (per curiam). In September 2017, DHS
                 determined that the original DACA policy was
                 unlawful and would likely be struck down by the
                 courts on the same grounds as the related policies.
                 DHS thus instituted an orderly wind-down of the
                 DACA policy. The questions presented are as follows:
                      1. Whether DHS’s decision to wind down the
                 DACA policy is judicially reviewable.
                      2. Whether DHS’s decision to wind down the
                 DACA policy is lawful.




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                                           No. 18-587

                     In the Supreme Court of the United States

                        UNITED STATES DEPARTMENT OF HOMELAND
                                   SECURITY, ET AL.,
                                                                      Petitioners,
                                                 v.
                     REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                                    Respondents.

                       On Petition for a Writ of Certiorari to the
                           United States Court of Appeals
                                 for the Ninth Circuit


                          INTEREST OF AMICUS CURIAE
                     The Immigration Reform Law Institute1 (“IRLI”)
                 is a nonprofit 501(c)(3) public interest law firm
                 dedicated both to litigating immigration-related cases
                 in the interests of United States citizens and to
                 assisting courts in understanding federal immigration
                 law. IRLI has litigated or filed amicus curiae briefs in
                 a wide variety of immigration-related cases. For more
                 than twenty years the Board of Immigration Appeals
                 has solicited supplementary briefing, drafted by IRLI

                 1    Amicus files this brief with all parties’ written consent, with
                 more than 10 days’ written notice. Pursuant to Rule 37.6, counsel
                 for amicus authored this brief in whole, no party’s counsel
                 authored this brief in whole or in part, and no person or entity —
                 other than amicus and its counsel — contributed monetarily to
                 preparing or submitting the brief.
                                                  1




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                 staff, from the Federation for American Immigration
                 Reform, of which IRLI is a supporting organization.
                              STATEMENT OF THE CASE
                     Several states, state universities, and individuals
                 sued federal immigration officials to challenge the
                 rescission of the Deferred Action for Childhood
                 Arrivals (“DACA”) policy implemented by the prior
                 administration, after that administration proved
                 unable to convince Congress to enact legislation to
                 address illegal aliens who arrived here as minors. In
                 addition to providing deferred-action status with
                 respect to deportation, the DACA program also
                 provided work authorization.
                     After a review, the new administration rescinded
                 DACA, with a future effective date to allow
                 Congress — which has plenary power to regulate
                 immigration, U.S. CONST. art. I, §8, cl. 4 — six months
                 to act. A major part of the rationale was that the
                 successful state plaintiffs in Texas v. United States, 86
                 F.Supp.3d 591 (S.D. Tex. 2015), aff’d 809 F.3d 134
                 (5th Cir.), aff’d by an equally divided Court, 136 S.Ct.
                 2271 (2016) (“Texas”), announced plans to challenge
                 DACA on the same grounds on that they used to
                 invalidate the expanded DACA and Deferred Action
                 for Parents of Americans (“DAPA”) programs in
                 Texas.
                              SUMMARY OF ARGUMENT
                     The district lacked jurisdiction for a preliminary
                 injunction not only under Article III but also under
                 the waiver of sovereign immunity in the
                 Administrative Procedure Act, 5 U.S.C. §§551-706
                 (“APA”), and the preclusion-of-review provision, 8

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                 U.S.C. §1252(g), in the Immigration and Natural-
                 ization Act, 8 U.S.C. §§1101-1537 (“INA”). As for
                 standing, DACA cannot serve as the basis for a
                 judicially cognizable right because mere agency action
                 cannot create a federal right, and the fact that the
                 prior administration misled beneficiaries into
                 applying for DACA does not support estoppel against
                 the government (Section I.A). In addition, because
                 plaintiffs cannot prevail against DACA’s rescission
                 without simultaneously showing that DACA was void
                 ab initio when promulgated, plaintiffs’ reward for
                 invalidating rescission would be to invalidate DACA,
                 which would not redress anything (Section I.B).
                 Furthermore, neither APA review nor its waiver of
                 sovereign immunity is available under three distinct
                 barriers to APA review: DHS’s actions are committed
                 to agency discretion, fall under the INA’s special
                 statutory review, and are non-final (Section I.C).
                      On the merits, the 2012 DACA policy is void ab
                 initio because it was issued in violation of APA notice-
                 and-comment requirements by virtue of its creating
                 rights and cabining discretion in a sufficiently binding
                 manner to exceed its mere enforcement-discretion
                 justification (Section II.A). Alternatively, if viewed as
                 a mere statement of policy, DACA did not create any
                 rights or even constitute final agency action because
                 such policies are not final, but become final only on a
                 case-by-case basis when applied (Section II.B). In any
                 event, DACA’s unlawfulness under Texas and a pause
                 to allow congressional action provided ample
                 justification under Motor Vehicle Mfrs. Ass’n v. State
                 Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)
                 (“MVMA”), for rescission (Section II.C). Finally,

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                 DACA is substantively inconsistent with INA
                 requirements to commence removal proceedings for
                 illegal aliens (Section II.D).
                      The lower courts also erred in denying dismissal
                 of two Fifth Amendment claims. First, the
                 “information-sharing” claims under substantive due
                 process fail to meet the test for establishing a
                 substantive due-process right, and any reliance on the
                 informal DACA policies was unreasonable (Section
                 III.A). Second, the equal-protection claims based on
                 race or ethnicity are impermissible disparate-impact
                 claims because the issue here is illegal aliens’
                 immigration status, not race or ethnicity (Section
                 III.B).
                                       ARGUMENT
                I.     THIS COURT SHOULD VACATE THE
                       INJUNCTION BECAUSE PLAINTIFFS’
                       CLAIMS ARE NOT JUSTICIABLE.
                      A federal court must have jurisdiction to issue a
                 preliminary injunction, City of Los Angeles v. Lyons,
                 461 U.S. 95, 103 (1983), and this Court has the duty
                 to examine jurisdiction, even if the parties concede the
                 issue. Steel Co. v. Citizens for a Better Environment,
                 523 U.S. 83, 105 (1998). If jurisdiction is lacking, this
                 Court should remand with an order to dismiss.
                      Either DACA created no rights or — if it did —
                 DACA required an upfront APA rulemaking and is
                 thus void ab initio for lacking that rulemaking. Even
                 in the latter case, plaintiffs lack a judicially cognizable
                 right to enforce in this litigation, since the
                 unlawfulness of DACA on the merits deprives them of


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                 standing. 2 The preliminary injunction violates both
                 the separation of powers and principles of democratic
                 self-government, Schuette v. Coalition to Defend
                 Affirmative Action, 572 U.S. 291, 311-12 (2014), and
                 must be vacated.
                         A.    All plaintiffs lack standing because
                               DACA could not and did not create
                               any rights.
                      Article III poses a tripartite test for standing:
                 judicially cognizable injury to the plaintiff, causation
                 by the challenged conduct, and redressable by a court.
                 Lujan v. Defenders of Wildlife, 504 U.S. 555, 561-62
                 (1992). For several reasons, plaintiffs here lack a bare
                 threshold injury that is judicially cognizable. But even
                 if they had cognizable rights under DACA, the cost to
                 redeem those rights would be DACA’s invalidation
                 because the process of challenging DACA’s rescission
                 calls into question DACA’s promulgation. Since DACA
                 was procedurally and substantively unlawful when
                 adopted, a reviewing court’s injunction must reinstate
                 the pre-DACA status quo ante litem, leaving plaintiffs
                 in the same place as rescission.
                      Agency officers like petitioners — as well as their
                 predecessors from the prior Administration — cannot
                 create rights. Of course, “Congress may create a
                 statutory right … the alleged deprivation of which can
                 confer standing,” Warth v. Seldin, 422 U.S. 490, 514
                 (1975), but mere agencies cannot create rights.
                 Touche Ross & Co. v. Redington, 442 U.S. 560, 577


                 2    When standing and the merits “intertwine,” federal courts
                 must resolve the jurisdictional and merits issues together. Land
                 v. Dollar, 330 U.S. 731, 735 (1947).
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                 n.18 (1979). As Justice Scalia colorfully explained,
                 “Agencies may play the sorcerer’s apprentice but not
                 the sorcerer himself.” Alexander v. Sandoval, 532 U.S.
                 275, 291 (2001). If the prior administration had
                 wanted to create rights, it needed either to work with
                 Congress to enact new legislation or, at least, to act
                 using the APA rulemaking authority that Congress
                 has delegated for agencies to create regulatory rights
                 in furtherance of rights that Congress already created
                 by statute. Since neither of these two acceptable
                 routes was taken in DACA, it did not create any rights
                 that plaintiffs can enforce in court.3
                      Relatedly, to the extent that plaintiffs and the
                 lower courts complain about unfairness, they are
                 complaining to the wrong branch of government:
                       SIPC and the Trustee contend that the
                       result we reach sanctions injustice. But
                       even if that were the case, the argument is
                       made in the wrong forum, for we are not at
                       liberty to legislate.
                 Touche Ross, 442 U.S. at 579. Neither this Court nor
                 the district court has the power to alter plaintiffs’
                 immigration status by enjoining Executive Branch
                 officers. Instead, as the prior administration and



                 3    Failure to follow APA requirements renders the resulting
                 agency action both void ab initio and unconstitutional. Chrysler
                 Corp. v. Brown, 441 U.S. 281, 303 (1979); Louisiana Pub. Serv.
                 Comm’n v. FCC, 476 U.S. 355, 374 (1986) (“an agency literally
                 has no power to act … unless and until Congress confers power
                 upon it”); see Section II.A, infra. The missing procedure provides
                 at least some of the unconstitutionality that puzzled the Ninth
                 Circuit. See Suppl. Pet. App. 48a-49a.
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                 current administration both have recognized, the only
                 lawful solution here is action by Congress.
                     Even the district court admits that DACA
                 represents an “expectation of (though not a right to)
                 continued deferred action,” Pet. App. 29a, and that is
                 not enough. Nor does the district court’s repeated
                 invocation of five years of reliance by 689,800 DACA
                 beneficiaries, see, e.g., id. 28a, affect the analysis.
                 Most obviously, something that is “not a right” is also
                 not a judicially cognizable right. Moreover, reliance is
                 no basis to estop the federal government. Office of
                 Personnel Mgmt. v. Richmond, 496 U.S. 414, 419-20
                 (1990) (“equitable estoppel will not lie against the
                 Government”). What plaintiffs call an “expectation”
                 was simply misplaced reliance on the administration
                 that issued DACA:
                       Whatever the form in which the Govern-
                       ment functions, anyone entering into an
                       arrangement with the Government takes
                       the risk of having accurately ascertained
                       that he who purports to act for the
                       Government stays within the bounds of his
                       authority.
                 Fed’l Crop. Ins. Corp. v. Merrill, 332 U.S. 380, 384
                 (1947). Insofar as DACA beneficiaries were misled, it
                 was the prior administration that misled them. But
                 under Merrill and its progeny, having been misled
                 does not provide any rights to redress.
                     Finally, third parties such as the institutional and
                 state plaintiffs “lack[] a judicially cognizable interest
                 in the prosecution or nonprosecution of another,”
                 which “applies no less to prosecution for civil [matters]
                 … than to prosecution for criminal [matters].” Friends
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                 of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
                 528 U.S. 167, 204 (2000) (emphasis added, internal
                 quotations omitted). Similarly, it is a “fundamental
                 restriction on [judicial] authority” that “a litigant
                 must assert his or her own legal rights and interests,
                 and cannot rest a claim to relief on the legal rights or
                 interests of third parties,” Hollingsworth v. Perry, 570
                 U.S. 693, 708 (2013) (interior quotation marks
                 omitted). Thus, the third-party institutional and state
                 plaintiffs lack standing.
                        B.      Rescission would not redress
                                plaintiffs’ injuries because DACA’s
                                invalidity would require
                                reinstating the pre-DACA status
                                quo ante litem.
                      Plaintiffs also have a redressability problem: the
                 very act of voiding DACA’s rescission would show that
                 DACA was void ab initio the day it was promulgated.
                 If DACA cannot be rescinded at will as discretionary,
                 it could not have been adopted in the first place as an
                 exercise of discretion, without a rulemaking.
                      Procedurally, an action that succeeds in voiding a
                 rescission or amendment reinstates the prior rule,
                 Nat. Res. Def. Council, Inc. v. U.S. Envtl. Prot. Agency,
                 725 F.2d 761, 772 (D.C. Cir. 1984) (“NRDC v. EPA”);
                 Organized Vill. of Kake v. United States Dep’t of
                 Agric., 795 F.3d 956, 970 (9th Cir. 2015); cf. In re GWI
                 PCS 1, Inc., 230 F.3d 788, 796 n.14 (5th Cir. 2000)
                 (“[r]escission unwinds the transaction and restores
                 the status quo ante”). But that does nothing to protect
                 the underlying rule from procedural or substantive
                 challenges. Indeed, judicially revoking an agency’s
                 rescission sometimes “casts a cloud over the very
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                 regulations it implicitly reinstates” because the
                 rationale for vacating the agency’s revocation also
                 affects the underlying rule, NRDC v. EPA, 725 F.2d at
                 772; Paulsen v. Daniels, 413 F.3d 999, 1008 (9th Cir.
                 2005) (refusing to reinstate a previous rule under that
                 standard because it was itself invalid).
                     Such a cloud would be cast by any judgment that
                 revokes the federal defendants’ rescission of DACA.
                 Specifically, plaintiffs’ prevailing here and in similar
                 cases would make clear that DACA was procedurally
                 invalid on the day that the federal defendants’
                 predecessors promulgated DACA. See Section II.A,
                 infra. If DACA either created judicially cognizable
                 rights that support a federal court’s enjoining DACA’s
                 repeal or so bound the federal defendants that they
                 could not repeal DACA at will, then DACA required
                 notice-and-comment rulemaking. Texas, 809 F.3d at
                 171. Because no rulemaking occurred, DACA would
                 become procedurally invalid ab initio the instant a
                 court held its rescission impermissible.
                        C.     The amendment or rescission of
                               mere enforcement policies — as
                               distinct from rules or regulations —
                               is unreviewable generally, and
                               especially so in the immigration
                               context at issue here.
                     In the 1976 APA amendments to 5 U.S.C. §702,
                 Congress “eliminat[ed] the sovereign immunity
                 defense in all equitable actions for specific relief
                 against a Federal agency or officer acting in an official
                 capacity.” Sea-Land Serv., Inc. v. Alaska R.R., 659
                 F.2d 243, 244 (D.C. Cir. 1982) (quoting S. Rep. No.
                 996, 94th Cong., 2d Sess. 8 (1976); H.R. Rep. No. 1656,
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                 94th Cong., 2d Sess. 9 (1976), 1976 U.S. Code Cong. &
                 Admin. News 6121, 6129) (R.B. Ginsburg, J.). But that
                 waiver has several restrictions that preclude review.
                     First, as the Government explains, Pet. at 17-21,
                 APA exempts actions committed to agency discretion
                 from APA review. 5 U.S.C. §701(a)(2). In addition to
                 the arguments that the Government makes, amicus
                 IRLI respectfully submits that this issue includes a
                 “Catch-22” element. If DACA so cabined agency
                 discretion as to lie beyond discretionary rescission,
                 DACA required a rulemaking in the first place and
                 thus is void ab initio. See Section II.A, infra.
                     Second, APA excludes APA review for “statutes
                 [that] preclude judicial review” and ones with “special
                 statutory review.” 5 U.S.C. §§701(a)(1), 703. When a
                 statute provides special statutory review, APA review
                 is not available. FCC v. ITT World Commc’ns, Inc.,
                 466 U.S. 463, 469 (1984). As the Government explains,
                 8 U.S.C. §1252(g)’s focus on removal proceedings is
                 not an invitation for aliens to file pre-enforcement
                 APA      actions    preemptively,      before    removal
                 proceedings commence. Pet. at 22. Only when
                 preclusion-of-review statutes provide no opportunity
                 whatsoever for review has the Court used equity to
                 provide review. Leedom v. Kyne, 358 U.S. 184, 188-90
                 (1958). But that extraordinary relief is not available
                 where — as here — Congress precludes pre-
                 enforcement review, but allows review in enforcement
                 proceedings. Board of Governors of the Federal
                 Reserve System v. MCorp Financial, 502 U.S. 32, 43-
                 44 (1991). Amicus IRLI respectfully submits that INA
                 review is exactly the type of statutory review that
                 precludes APA review.

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                      Third, and finally, APA review applies only to
                 agency action made reviewable by statute and final
                 agency action for which no adequate remedy is
                 available. 5 U.S.C. §704. To the extent that an
                 enforcement policy like DACA does not bind agency
                 actors, the enforcement policy is not final agency
                 action. See Section II.B, infra; Bennett v. Spear, 520
                 U.S. 154, 177-78 (1997). Instead, the final agency
                 action lies in the agency action to apply the policy in a
                 specific case. See Section II.B, infra. Thus, on the one
                 hand, assuming arguendo that DACA’s issuance did
                 not impermissibly bind agency discretion without
                 APA rulemaking, neither DACA’s issuance nor its
                 rescission is final agency action, id., and both are
                 outside APA review. 5 U.S.C. §704. On the other hand,
                 if DACA’s issuance did bind agency discretion so that
                 its rescission now would qualify as final agency action,
                 then DACA is void ab initio for failure to follow
                 required APA rulemaking procedures in the first
                 place. See Section II.A, infra.
                II.    RESCISSION WAS LAWFUL BECAUSE
                       DACA WAS UNLAWFUL.
                      Plaintiffs must show a likelihood of prevailing on
                 the merits to establish entitlement to a preliminary
                 injunction. Winter v. Natural Resources Def. Council,
                 Inc., 555 U.S. 7, 20 (2008). Because plaintiffs cannot
                 make that showing for DACA’s rescission, this Court
                 should grant review in this important case.
                        A.      As a legislative rule adopted
                                without an APA rulemaking, DACA
                                is void ab initio.
                      As the Fifth Circuit held and an equally divided
                 panel of this Court affirmed, a procedurally identical
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                 form of DACA-like relief violated APA’s notice-and-
                 comment rulemaking procedures. Texas, 809 F.3d at
                 165-78, aff’d by an equally divided Court, 136 S.Ct.
                 2271 (2016). So too with DACA, which is void ab initio
                 on the merits.
                     Specifically, DACA’s issuance violated APA’s rule-
                 making requirements as a legislative rule issued
                 without complying with APA’s notice-and-comment
                 requirements, 5 U.S.C. §553(b), without eligibility for
                 any exceptions to the requirement. Id. §553(b)(A)-(B).
                 The exemption for policy statements and interpretive
                 rules:
                 • Does not apply when agency action narrows the
                     discretion otherwise available to agency staff,
                     Texas Sav. & Cmty. Bankers Ass’n v. Fed. Hous.
                     Fin. Bd., 201 F.3d 551, 556 (5th Cir. 2001);
                     General Elec. Co. v. EPA, 290 F.3d 377, 380 (D.C.
                     Cir. 2002);
                 • Cannot be used to promulgate the regulatory
                     basis on which to confer benefits, Avoyelles
                     Sportsmen’s League, Inc. v. Marsh, 715 F.2d 897,
                     908 (5th Cir. 1983); Chrysler, 441 U.S. at 302; and
                 • Cannot be used to promulgate new rules that
                     effectively amend existing rules. Am. Mining
                     Congress v. Mine Safety & Health Admin., 995
                     F.2d 1106, 1112 (D.C. Cir. 1993); 5 U.S.C. §551(5)
                     (defining “rule making” as the “agency process for
                     formulating, amending, or repealing a rule”)
                     (emphasis added); Shell Offshore Inc. v. Babbitt,
                     238 F.3d 622, 629 (5th Cir. 2001).
                 DACA cannot meet these tests.
                     Under APA, DACA plainly required notice-and-
                 comment rulemaking. For example, employment
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                 authorization is a benefit that is “granted” to
                 beneficiary aliens, 8 C.F.R. §274a.12(c)(14), under
                 sixteen     specific    circumstances,       8  C.F.R.
                 §274a.12(a)(1)-(16), none of which apply to the across-
                 the-board DACA program. Cf. United States v.
                 Picciotto, 875 F.2d 345, 346-49 (D.C. Cir. 1989)
                 (agency cannot add new, specific, across-the-board
                 conditions under general, case-by-case authority to
                 consider changes). Under the foregoing APA criteria,
                 DACA qualifies as a legislative rule, which agencies
                 cannot issue by memoranda or interpretation.
                     Procedurally infirm rules are a nullity, Avoyelles
                 Sportsmen’s League, 715 F.2d 897, 909-10; McLouth
                 Steel Products Corp. v. Thomas, 838 F.2d 1317, 1322-
                 23 (D.C. Cir. 1988); State of Ohio Dep’t of Human Serv.
                 v. U.S. Dept. of Health & Human Serv., Health Care
                 Financing Admin., 862 F.2d 1228, 1237 (6th Cir.
                 1988); North Am. Coal Corp. v. Director, Office of
                 Workers’ Compensation Programs, U.S. Dept. of
                 Labor, 854 F.2d 386, 388 (10th Cir. 1988), even if they
                 would have been substantively valid if promulgated
                 via notice-and-comment rulemaking. Thus, DACA is a
                 nullity.
                        B.     If DACA did not bind agency
                               discretion, rescission would be a
                               lawful exercise of the same
                               discretion used to issue DACA.
                     Alternatively, assuming arguendo that DACA did
                 not impermissibly bind agency discretion or confer
                 benefits without a rulemaking, an “agency cannot
                 escape its responsibility to present evidence and
                 reasoning supporting its substantive rules by
                 announcing binding precedent in the form of a general
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                 statement of policy.” Pacific Gas & Elec. Co. v. F.P.C.,
                 506 F.2d 33, 38-39 (D.C. Cir. 1974). Accordingly, such
                 statements are not entitled to deference when an
                 agency relies on them to resolve a future substantive
                 question because, logically, the future action (not the
                 initial statement) is the final agency action. Id.;
                 accord Texaco, Inc. v. F.P.C., 412 F.2d 740, 744 (3d
                 Cir. 1969); Amrep Corp. v. FTC, 768 F.2d 1171, 1178
                 (10th Cir. 1985); Mada-Luna v. Fitzpatrick, 813 F.2d
                 1006, 1013-14 (9th Cir. 1987). Thus, as an alternative
                 to considering the APA notice-and-comment issue,
                 this Court could simply find that DACA was a mere
                 “general statement of policy” that the petitioners
                 could change at any time without APA compliance.
                         C.    Assuming arguendo that MVMA
                               review is available, DACA’s
                               rescission meets that narrow test.
                      The lower courts found that DHS failed
                 adequately to explain DACA’s rescission. Pet. App. at
                 58a; see also MVMA, 463 U.S. at 43. Similarly, the
                 Ninth Circuit held DACA lawful, but did so by relying
                 on the Texas dissent and Ninth Circuit authority,
                 Suppl. Pet. App. 48a-56a, neither of which is
                 controlling in the Fifth Circuit. Hyder v. Keisler, 506
                 F.3d 388, 393 (5th Cir. 2007) (Ninth Circuit precedent
                 “is not binding precedent in this circuit”). The credible
                 litigation risk that prompted DACA’s rescission was
                 the threatened Texas litigation under Fifth Circuit
                 precedent, not an action in the Ninth Circuit under
                 Ninth Circuit precedent.
                      The lower courts are wrong for several reasons,
                 not only because DACA is illegal, as the Texas
                 litigation demonstrated, but also because — even if
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                 DACA were lawful — it would have been supportable
                 under MVMA for petitioners to prefer that Congress
                 address the issue in the first instance. See, e.g.,
                 Schuette, 572 U.S. at 311-12 (legislated solutions are
                 preferable to imposed solutions in matters of public
                 policy). Quite simply, the lower courts overstate the
                 degree of judicial second-guessing that the MVMA line
                 of cases requires in this context.
                      Federal courts lack authority to set procedural
                 hurdles for agencies, beyond the APA requirements
                 that Congress imposed. Perez v. Mortg. Bankers Ass’n,
                 135 S.Ct. 1199, 1207 (2015). Accordingly, MVMA
                 “neither held nor implied that every agency action
                 representing a policy change must be justified by
                 reasons more substantial than those required to adopt
                 a policy in the first instance,” and the APA “makes no
                 distinction … between initial agency action and
                 subsequent agency action undoing or revising that
                 action.” F.C.C. v. Fox Television Stations, Inc., 556
                 U.S. 502, 514-15 (2009). All that MVMA required was
                 “a reasoned analysis for the change beyond that which
                 may be required when an agency does not act in the
                 first instance.” Id. at 514 (internal quotations omitted,
                 emphasis in Fox). Insofar as no one — yet — has
                 argued that petitioners and their predecessors were
                 compelled to issue DACA, the MVMA threshold for an
                 analysis over and above inaction is low indeed.
                      As indicated, DACA’s unlawfulness under Texas
                 and petitioners’ desire for Congress — not federal
                 bureaucrats — to set immigration policy easily meet
                 the need for reasoned analysis, see Section II.A, supra;
                 Schuette, 572 U.S. at 311-12, even assuming arguendo
                 that MVMA applies when an agency withdraws a

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                 purportedly non-binding enforcement policy, while
                 leaving in place all of the underlying authority to
                 issue the same type of relief in an appropriate removal
                 proceeding.
                     D. DACA violated the INA.
                     DACA also violates the INA on both substantive
                 and procedural grounds, and either sort of violation
                 renders DACA a nullity. See 5 U.S.C. §706(2)(B)-(C);
                 Manhattan Gen. Equip. Co. v. Commissioner, 297 U.S.
                 129, 134 (1936) (holding that a “regulation [that] …
                 operates to create a rule out of harmony with the
                 statute, is a mere nullity” because an agency’s “power
                 … to prescribe rules and regulations … is not the
                 power to make law” but rather “the power to adopt
                 regulations to carry into effect the will of Congress as
                 expressed by the statute”). DACA suffers from several
                 INA infirmities that render it void.
                     Procedurally, through DACA, DHS purports to
                 channel aliens into deferred action under
                 prosecutorial discretion, without initiating the
                 statutorily     mandated        removal      proceeding.
                 Specifically, under 8 U.S.C. §1225(a)(1), “an alien
                 present in the United States who has not been
                 admitted … shall be deemed for purposes of this
                 chapter an applicant for admission.” That designation
                 triggers 8 U.S.C. §1225(a)(3), which requires that all
                 applicants for admission “shall be inspected by
                 immigration officers,” which triggers 8 U.S.C.
                 §1225(b)(2)(A)’s mandate that “if the examining
                 immigration officer determines that an alien seeking
                 admission is not clearly and beyond a doubt entitled
                 to be admitted, the alien shall be detained for a
                 [removal] proceeding under section 1229a of this
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                 title.” 8 U.S.C. §1225(b)(2)(A) (emphasis added).
                 “Congress did not place the decision as to which
                 applicants for admission are placed in removal
                 proceedings into the discretion of the Attorney
                 General, but created mandatory criteria.” Succar v.
                 Ashcroft, 394 F.3d 8, 10 (1st Cir. 2005). “[W]hile the
                 President has broad authority in foreign affairs, that
                 authority does not extend to the refusal to execute
                 domestic laws.” Massachusetts v. EPA, 549 U.S 497,
                 534 (2007). In essence, DACA jumps illegal aliens to a
                 favorable result of the removal process, without any of
                 the statutorily required process that must precede
                 that outcome.
                      Even if some form of deferred action lawfully
                 could apply to some DACA beneficiaries, DACA would
                 remain an invalid form of deferred action. While an
                 agency faced with limited resources necessarily has
                 discretion to implement congressional mandates as
                 best it can, the power to set priorities for action does
                 not authorize ignoring all statutory mandates: “the
                 agency administering the statute is required to
                 effectuate the original statutory scheme as much as
                 possible, within the limits of the added constraint.”
                 City of Los Angeles v. Adams, 556 F.2d 40, 50 (D.C.
                 Cir. 1977) (emphasis added). DACA, however, did not
                 “effectuate the original statutory scheme as much as
                 possible” within the limits set by the lack of funds.
                      Indeed, DACA was not created because of lack of
                 resources. DACA beneficiaries were already rarely
                 removed. Memorandum from Jeh Charles Johnson,
                 Exercising Prosecutorial Discretion with Respect to
                 Individuals Who Came to the United States as
                 Children and with Respect to Certain Individuals Who

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                 are Parents of U.S. Citizens or Permanent Residents 3
                 (Nov. 20, 2014) (explaining that DACA applies to
                 individuals who “are extremely unlikely to be
                 deported      given    [the]   Department’s     limited
                 enforcement resources”).     4 Rather, the program
                 reflects a policy judgment that these aliens should be
                 free to live and work in the United States without fear
                 of deportation. Far from “effectuat[ing] the original
                 statutory scheme as much as possible,” this policy
                 judgment is at odds with the INA and congressional
                 intent.
                     Not only has Congress rejected a legislative
                 version of DACA repeatedly, it has found that
                 “immigration law enforcement is as high a priority as
                 other aspects of Federal law enforcement, and illegal
                 aliens do not have the right to remain in the United
                 States undetected and unapprehended.” H.R. REP.
                 NO. 104-725, at 383 (1996) (Conference Report).
                 Congress has also passed laws designed to reduce the
                 incentives for illegal entry, and to incentivize self-
                 deportation where enforcement is lacking. Texas, 86

                 4    This statement is scarcely consistent with Secretary
                 Napolitano’s bald assertion that “additional measures are
                 necessary to ensure that our enforcement resources are not
                 expended on these low priority cases but are instead
                 appropriately focused on people who meet our enforcement
                 priorities.” Memorandum from Janet Napolitano, Exercising
                 Prosecutorial Discretion with Respect to Individuals Who Came
                 to the United States as Children 1 (June 15, 2012). Admissions
                 against interest are admissible evidence, but self-serving
                 statements are not. Compare Lutwak v. United States, 344 U.S.
                 604, 617-18 (1953) (“admissions … are admissible … under a
                 standard exception to the hearsay rule applicable to the
                 statements of a party”) with Woodall v. Commissioner, 964 F.2d
                 361, 364-65 (5th Cir. 1992).
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                 F.Supp.3d at 634-35 (arguing that DAPA would
                 disincentivize illegal aliens from self-deporting);
                 Michael X. Marinelli, INS Enforcement of the
                 Immigration Reform and Control Act of 1986:
                 Employer Sanctions During the Citation Period, 37
                 CATH. U. L.R. 829, 833-34 (1988) (“Marinelli”)
                 (“Congress postulated that unauthorized aliens
                 currently in the United States would be encouraged to
                 depart”) (citing H.R. REP. NO. 99-682, at 46 (1986)).
                 Thus, DACA is not meant to implement the INA but
                 rather to amend or soften the INA’s treatment of
                 DACA beneficiaries.
                     Furthermore, DACA is not limited to deferred
                 action; DACA also grants work authorization to its
                 beneficiaries. Memorandum from Janet Napolitano,
                 Exercising Prosecutorial Discretion with Respect to
                 Individuals Who Came to the United States as
                 Children 3 (June 15, 2012). The INA cannot be
                 credibly read to delegate to DHS the unrestricted
                 power to grant work authorization to removable
                 aliens, even “low-priority” ones. Congress, in making
                 it illegal for illegal aliens to work, wished to
                 discourage illegal entry and to encourage removable
                 aliens to remove themselves, even if enforcement by
                 removal is underfunded and slow to reach low-priority
                 cases. See Arizona v. United States, 567 U.S. 387, 404
                 (2012) (“Congress enacted IRCA as a comprehensive
                 framework for combating the employment of illegal
                 aliens”) (citations and interior quotation marks
                 omitted); Texas, 86 F.Supp.3d at 634-35 (arguing that
                 DAPA would disincentivize illegal aliens from self-
                 deporting); Marinelli, at 833-34. DACA thus exceeds
                 the authority that the INA delegates to DHS.

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                     Although the Ninth Circuit viewed 8 U.S.C.
                 §1324a(h)(3) as authorizing DACA, Suppl. Pet. App.
                 15a, that subsection provides no substantive
                 authority. Indeed, the subsection is merely a
                 definition, which provides as follows:
                       Definition of unauthorized alien. As used in
                       this section, the term “unauthorized alien”
                       means, with respect to the employment of
                       an alien at a particular time, that the alien
                       is not at that time either (A) an alien
                       lawfully admitted for permanent residence,
                       or (B) authorized to be so employed by this
                       Act or by the Attorney General.
                 8 U.S.C. §1324a(h)(3). As the Fifth Circuit held, this
                 provision is an “exceedingly unlikely” grant of power
                 from Congress to authorize work, because that
                 provision addresses unlawful employment of aliens.
                 Texas, 809 F.3d at 182-83. Indeed, as the Ninth
                 Circuit has held, “[8 U.S.C. §1324a] merely allows an
                 employer to legally hire an alien (whether admitted or
                 not) while his application [for adjustment of status] is
                 pending.” Guevara v. Holder, 649 F.3d 1086, 1095 (9th
                 Cir. 2011). As explained below, this provision does not
                 delegate any authority, and it would violate the
                 constitutional nondelegation doctrine if it did.
                     First, this pre-1996 definition may imply that the
                 Attorney General has — or at one time had —
                 authority to authorize the employment of certain
                 aliens, but the definition does not itself delegate any
                 authority. It would be entirely consistent with this
                 pre-1996 definition for a later-enacted INA
                 amendment to have repealed the Attorney General’s
                 employment-authorizing powers, without impacting

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                 the status of any aliens affected before Congress
                 began to crack down on the employment of illegal
                 aliens.
                      Furthermore,      assuming       arguendo     that
                 §1324a(h)(3) permitted DHS to give work
                 authorization to DACA beneficiaries, that could only
                 be because §1324a(h)(3) allowed DHS to authorize
                 work for any class of alien that DHS choses: the
                 provision contains no limiting language. It is simply
                 unreasonable to suppose that Congress, without any
                 clear statement that it was doing so, granted DHS the
                 unrestricted power to overthrow Congress’s own
                 grants of work protection to American workers. See,
                 e.g., 8 U.S.C. §§1182(n), 1184(g), 1188 (protecting
                 American workers from competition from aliens);
                 Sure-Tan, Inc. v. Nat’l Labor Relations Bd., 467 U.S.
                 883, 893 (1984) (“[a] primary purpose in restricting
                 immigration is to preserve jobs for American
                 workers”). If Congress intended to grant the Executive
                 Branch such vast discretion, it would have done so
                 clearly, not through “vague terms or ancillary
                 provisions — it does not, one might say, hide
                 elephants in mouse holes.” Whitman v. Am. Trucking
                 Ass’ns, 531 U.S. 457, 468 (2001).
                      Finally, if this definition itself delegated carte
                 blanche authority to authorize employment, it would
                 violate the nondelegation doctrine, which requires “an
                 intelligible principle to which the person or body
                 authorized to exercise the delegated authority is
                 directed to conform.” United States v. Mistretta, 488
                 U.S. 361, 372 (1989). The doctrine of constitutional
                 avoidance suggests that this Court should avoid the
                 constitutional nondelegation issue by reading the

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                 statutory definition not to delegate any authority.
                 Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S.
                 1, 17-18 (2013). Either way, DACA is unlawful.5
                     Although the Ninth Circuit viewed 6 U.S.C.
                 §202(5) as authorizing DACA, Suppl. Pet. App. 49a,
                 that section fails to provide the broad authority that
                 DACA would require. Under §202(5), “[t]he Secretary
                 … shall be responsible for … [e]stablishing national
                 immigration enforcement policies and priorities.” 6
                 U.S.C. §202(5). That grant of authority cannot
                 authorize DACA. Section §202(5)’s authorization to
                 set “priorities” does not authorize DACA, which goes
                 far beyond setting enforcement priorities (e.g., by
                 providing work authorization). Indeed, as the DACA-
                 promulgating       record   itself   admits,      DACA
                 beneficiaries were already extremely low priorities for
                 removal. See note 4, supra, and accompanying text.
                 Thus, §202(5) could only authorize DACA based on an
                 open-ended authorization to DHS to establish
                 enforcement “policies.” But if this language were as
                 open-ended as that, it would allow DHS to establish a
                 policy, for example, of removing only removable aliens
                 who were violent felons, or only those who had been
                 in the country less than two months, or only those who
                 lacked a high-school education — and it would be

                 5    The Ninth Circuit correctly ignored 8 U.S.C. §1103(a)(3),
                 which the prior administration also relied on as authorizing
                 DACA. That section merely authorized necessary rulemakings,
                 without authorizing DHS to violate other INA provisions. Only if
                 DHS’s authority to “deem[]” that an action is so “necessary” were
                 unlimited and unreviewable could this provision grant authority
                 for DACA, but that would create a nondelegation problem and
                 thus should be rejected under the doctrine of constitutional
                 avoidance.
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                 patently unreasonable to suppose that Congress
                 intended DHS to have authority to set policies so at
                 odds with the INA.
                III. PLAINTIFFS’ FIFTH AMENDMENT
                      CLAIMS SHOULD BE DISMISSED.
                     The Ninth Circuit not only affirmed the district
                 court’s preliminary injunction, but also affirmed the
                 denial of the Government’s motion to dismiss two
                 types of claims under the Fifth Amendment’s Due
                 Process Clause: substantive due-process claims for
                 information sharing contrary to DACA beneficiaries’
                 understanding of how their DACA applications would
                 be used, and equal-protection claims 6 for race- or
                 ethnicity-based discrimination. This Court should
                 reverse the denial of the Government’s motion to
                 dismiss these claims.
                        A.     The “information-sharing” due-
                               process claims fail to state a claim.
                     The Ninth Circuit affirmed the denial of the
                 motion to dismiss plaintiffs’ information-sharing
                 claims on a theory of substantive due-process based
                 on Ninth Circuit precedent under a shock-the-
                 conscience and community-standards test. Suppl. Pet.
                 App. 73a. While basing a claim against the federal
                 government on community standards in California
                 would raise federalism issues, this Court need not
                 reach that issue. Creating rights based on substantive
                 due-process requires a more rigorous and more

                 6    Although the Fourteenth Amendment’s Equal Protection
                 Clause does not apply to the Federal Government, this Court has
                 found an equivalent equal-protection component in the Fifth
                 Amendment’s Due Process Clause. Buckley v. Valeo, 424 U.S. 1,
                 93 (1976); Bolling v. Sharpe, 347 U.S. 497, 499 (1954).
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                 national approach under Washington v. Glucksberg,
                 521 U.S. 702, 720-21 (1997). Plaintiffs’ information-
                 sharing claims cannot meet that test and should be
                 dismissed.
                      Given “[t]he tendency of a principle to expand
                 itself to the limit of its logic,” id. at 733 n.23 (interior
                 quotation marks omitted), Glucksberg held that
                 courts must tread cautiously when expounding
                 substantive      due-process       rights    outside    the
                 “fundamental rights and liberties which are,
                 objectively, deeply rooted in this Nation’s history and
                 tradition.” Id. at 720-21. “[E]xtending constitutional
                 protection to an asserted right or liberty interest” thus
                 requires “the utmost care … lest the liberty protected
                 by the Due Process Clause be subtly transformed into
                 the policy preferences of the [federal judiciary].” Id. at
                 720. A fundamental right must be both “deeply rooted
                 in this Nation’s history and tradition” and “implicit in
                 the concept of ordered liberty.” Id. at 720-21. Plaintiffs
                 cannot meet either test, Richmond, 496 U.S. at 419-
                 20 (quoted supra); Merrill, 332 U.S. at 384 (quoted
                 supra), so DACA-based “information-sharing” claims
                 fail to state a claim on which relief can be granted.
                         B.     The equal-protection claims fail to
                                state a claim.
                      The Ninth Circuit credited plaintiffs’ allegations
                 that 93% of DACA beneficiaries are Mexicans or
                 Latinos and inferred discriminatory intent from
                 statements of the President, both as candidate and as
                 President. Suppl. Pet. App. 74a-75a. Equal protection
                 applies to action taken “at least in part because of, not
                 merely in spite of, its adverse effects” on a protected
                 class. Pers. Adm’r v. Feeney, 442 U.S. 256, 279 (1979)
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                 (emphasis added); Plyler v. Doe, 457 U.S. 202, 223
                 (1982) (“[u]ndocumented aliens cannot be treated as a
                 suspect class because their presence in this country in
                 violation of federal law is not a ‘constitutional
                 irrelevancy’”). Actions or statements targeted against
                 illegal aliens permissibly “discriminate” based on
                 illegality, not on race or ethnicity.
                      Assuming arguendo that the Ninth Circuit’s data
                 were accurate, those data would also be irrelevant. In
                 Feeney, the passed-over female civil servant alleged
                 that Massachusetts’ veteran-preference law for civil-
                 service promotions and hiring constituted sex-based
                 discrimination. Although women then represented
                 less than two percent of veterans, Feeney, 442 U.S. at
                 270 n.21, Massachusetts did not discriminate because
                 of sex when it acted because of another, permissible
                 criterion (veteran status). Id. at 272. With women
                 then constituting two percent of all veterans, men
                 were fifty times more likely (50:1) to benefit from the
                 state law challenged in Feeney. The 93% alleged here
                 is even lower. Similarly, the President’s tweets about
                 illegal aliens, Suppl. Pet. App. 74a-75a n.30, concern
                 illegality, not race or ethnicity. This Court should
                 reverse the denial of dismissal of these disparate-
                 impact claims.
                                      CONCLUSION
                      The Court should grant the petition for a writ of
                 certiorari.




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                 December 5, 2018         Respectfully submitted,

                 CHRISTOPHER J. HAJEC   LAWRENCE J. JOSEPH
                 IMMIGRATION REFORM LAW    Counsel of Record
                 INSTITUTE              1250 Connecticut Av NW
                 25 Massachusetts Av NW Suite 700-1A
                 Suite 335              Washington, DC 20036
                 Washington, DC 20001   (202) 202-355-9452
                 (202) 232-5590         lj@larryjoseph.com
                 chajec@irli.org




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                              Nos. 18-587, 18-588, & 18-589

                   In the Supreme Court of the United States
                      U NITED S TATES D EPARTMENT OF H OMELAND
                            S ECURITY , ET AL ., PETITIONERS
                                            v.
                  R EGENTS OF THE U NIVERSITY OF C ALIFORNIA , ET AL .
                     ON PETITION FOR A WRIT OF CERTIORARI TO THE
                          UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT

                      D ONALD J. T RUMP , P RESIDENT OF THE U NITED
                              S TATES , ET AL ., PETITIONERS
                                             v.
                   N ATIONAL A SSOCIATION FOR THE A DVANCEMENT OF
                                C OLORED P EOPLE , ET AL .
                    ON PETITION FOR A WRIT OF CERTIORARI BEFORE
                  JUDGMENT TO THE UNITED STATES COURT OF APPEALS
                                FOR THE D . C . CIRCUIT

                   K IRSTJEN M. N IELSEN , S ECRETARY OF H OMELAND
                            S ECURITY , ET AL ., PETITIONERS
                                            v.
                       M ARTIN J ONATHAN B ATALLA V IDAL , ET AL .
                    ON PETITION FOR A WRIT OF CERTIORARI BEFORE
                  JUDGMENT TO THE UNITED STATES COURT OF APPEALS
                              FOR THE SECOND CIRCUIT

                  BRIEF FOR THE STATES OF TEXAS, ALABAMA,
                   ARIZONA, ARKANSAS, FLORIDA, LOUISIANA,
                    NEBRASKA, SOUTH CAROLINA, AND WEST
                  VIRGINIA, AND GOVERNOR PHIL BRYANT OF
                  THE STATE OF MISSISSIPPI, AS AMICI CURIAE
                         IN SUPPORT OF PETITIONERS

                              Counsel Listed on Inside Cover




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                 KEN PAXTON                  KYLE D. HAWKINS
                 Attorney General of Texas   Solicitor General
                                              Counsel of Record
                 JEFFREY C. MATEER
                 First Assistant             ARI CUENIN
                  Attorney General           JOHN C. SULLIVAN
                                             Assistant Solicitors General
                                             OFFICE OF THE
                                               ATTORNEY GENERAL
                                             P.O. Box 12548 (MC 059)
                                             Austin, Texas 78711-2548
                                             kyle.hawkins@oag.texas.gov
                                             (512) 936-1700




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                              Q UE S TIO N S P R E S E N TE D
                      1. Whether the decision of the Department of
                 Homeland Security (DHS) to wind down the DACA pol-
                 icy is judicially reviewable.
                      2. Whether the DHS’s decision to wind down the
                 DACA policy is lawful.




                                            (I)




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                                        II




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                              IN TE R E S T O F AM IC I C UR I AE
                     Amici curiae are the States of Texas, Alabama,
                 Arizona, Arkansas, Florida, Louisiana, Nebraska, South
                 Carolina, and West Virginia, and Phil Bryant, Governor
                 of Mississippi.1
                     In these lawsuits, Plaintiffs asks courts to force the
                 federal Executive Branch to retain a “deferred action”
                 program (DACA) that the administration believes vio-
                 lates the Constitution. The administration is correct:
                 DACA affirmatively confers “lawful presence” status
                 and work-authorization eligibility on over half a million
                 aliens. DACA is thus materially identical to two pro-
                 grams (Expanded DACA and DAPA) that were invali-
                 dated by the Fifth Circuit in a ruling affirmed by an
                 equally divided vote of this Court. See Texas v. United
                 States, 809 F.3d 134, 172, 184-86 (5th Cir. 2015), aff’d by
                 an equally divided court, 136 S. Ct. 2271 (2016) (per cu-
                 riam) (Texas I). DACA is procedurally and substantive-
                 ly unlawful for much of the same reasons this Court af-
                 firmed in that case.
                     Texas led the group of States successfully challeng-
                 ing Expanded DACA and DAPA. Texas then led the
                 group of States notifying the federal government that
                 they would challenge DACA on the same grounds if


                 1
                   No counsel for any party authored this brief, in whole or in
                 part. No person or entity other than amici contributed mone-
                 tarily to its preparation or submission. The parties received
                 timely notice of filing, and consents have been provided to
                 amici. See Sup. Ct. R. 37.


                                              (1)




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                                               2

                 DACA was not wound down. A.R. 238-40.2 It was be-
                 cause of the Executive’s September 2017 DACA-wind-
                 down memorandum that Texas and other States agreed
                 to dismiss their pending lawsuit. Pls.’ Stip. of Voluntary
                 Dismissal at 1, Texas v. United States, No. 1:14-cv-
                 00254 (S.D. Tex. Sept. 12, 2017), ECF No. 473. And be-
                 cause DACA’s rescission was enjoined, the Amici States
                 ultimately filed suit seeking a declaration that DACA
                 was unlawful. Texas v. United States, 328 F. Supp. 3d
                 662 (S.D. Tex. 2018) (Texas II).
                     The petition thus directly implicates the States’ ef-
                 forts to bring about an orderly end to DACA.




                 2
                   A.R. cites the Administrative Record, filed as Notice of Fil-
                 ing Administrative Record, Regents of Univ. of Cal. v. U.S.
                 Dep’t of Homeland Sec., No. 3:17-cv-05211 (N.D. Cal. Oct. 6,
                 2017), ECF No. 64-1.




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                                              3

                                S U M M AR Y O F AR G U M E N T
                      I.A. When a new presidential administration de-
                 cides to change—or even reverse—the discretionary
                 policies of the previous one, its decision is not subject to
                 any special scrutiny beyond that set out in the Adminis-
                 trative Procedure Act (APA). The APA forbids the ad-
                 ministration from acting in an arbitrary and capricious
                 manner. That remains true both for the implementation
                 of new policies and the rescission of old policies. The
                 decision to terminate the previous administration’s poli-
                 cy must meet that standard—and no other.
                      B. The plaintiffs in these three cases join a litany of
                 litigants around the nation who seek to upend that prin-
                 ciple. They argue that rescinding DACA was not law-
                 ful—and the Ninth Circuit has agreed. Regents of the
                 Univ. of Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d
                 476, 510 (9th Cir. 2018). But that argument seeks to im-
                 pose on the administration a burden the APA does not.
                 The Executive does not act arbitrarily or capriciously
                 by rescinding a prior administration’s policy that is not
                 required by law and that the Executive concludes is
                 substantively unlawful.
                      That is especially so here. The Executive decided to
                 wind down DACA after a new administration reex-
                 amined its lawfulness and concluded that DACA would
                 likely be held unlawful. Pet. App. 114a-18a.3 Nothing in
                 the Immigration and Nationality Act (INA) or any oth-


                 3
                   Pet. App. cites the Appendix to the Petition for a Writ of
                 Certiorari Before Judgment in U.S. Dep’t of Homeland Sec.
                 v. Regents of Univ. of Cal., No. 18-587 (S. Ct. filed Nov. 5,
                 2018).




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                 er federal law requires DACA, so its cancellation con-
                 travenes no law. Moreover, in response to a lawsuit
                 brought by Texas and a coalition of States, one district
                 court already has concluded that DACA is likely unlaw-
                 ful as both a substantive and procedural matter. Under
                 these circumstances, the Executive’s decision satisfies
                 APA review.
                      This case thus presents an opportunity for the
                 Court to clarify that the cancellation of DACA, like
                 many other discretionary policy decisions, does not
                 merit some special scrutiny beyond that set out in the
                 APA. Applying the correct scrutiny, the plaintiffs’ chal-
                 lenge fails.
                      II.A. The Executive’s decision to wind down DACA
                 is especially justified because DACA is substantively
                 and procedurally unlawful. DACA is unlawful for the
                 same reasons that Expanded DACA and DAPA were
                 held unlawful in the previous Texas I litigation. See 809
                 F.3d at 172, 184-86. It is substantively flawed because it
                 goes further than mere “prosecutorial discretion” not to
                 deport individuals. DACA confers legal status on indi-
                 viduals, contravening congressional authority to make
                 such determinations.
                      B. DACA is also procedurally unlawful. The plead-
                 ings in the DACA-rescission litigation confirm that it
                 altered substantive rights, yet was issued without APA
                 notice and comment. The Executive cannot be ordered
                 to maintain such an unlawful program. Thus, even on
                 plaintiffs’ view of notice-and-comment requirements,
                 injunctions forcing the Executive Branch to continue
                 with DACA cannot be justified.
                      III. The Court should grant certiorari and reverse
                 all orders enjoining the Executive from winding down




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                 DACA. Although the Ninth Circuit ruled in Regents of
                 the University of California after petitioners filed their
                 petition for a writ of certiorari before judgment, 908
                 F.3d 476, amici agree that granting certiorari in that
                 case is appropriate, Supp. Pet. Br. 9-10. The Ninth Cir-
                 cuit’s ruling strengthens the case for granting certiorari
                 before judgment in Trump v. National Ass’n for the
                 Advancement of Colored People, No. 18-588 (filed Nov.
                 5, 2018), and Nielsen v. Batalla Vidal, No. 18-589 (filed
                 Nov. 5, 2018), and consolidating the cases for considera-
                 tion this Term. Only this Court can provide definitive
                 resolution to the dispute over DACA’s rescission.
                      Immediate review is especially warranted here be-
                 cause of the ongoing irreparable harm that DACA in-
                 flicts on the States. “[B]ecause DACA increases the to-
                 tal number of aliens in the States by disincentivizing
                 those already present from leaving, the States must
                 provide more . . . social services, which cost more.” Tex-
                 as II, 328 F. Supp. 3d at 700. And DACA “allow[s] its
                 recipients to compete with legally present residents”
                 for jobs. Id.
                                       AR G UM E N T
                 I.   Review Is Needed to Correct a Fundamental
                      Misunderstanding of APA review.
                      A. A new administration’s decision to reverse its
                         predecessor’s discretionary policies does not
                         merit special scrutiny.
                     The arguments against DACA’s rescission reflect
                 plaintiffs’ fundamental misunderstanding of APA re-
                 view. Under their view, a court may rely on policy dif-
                 ferences and supposed reliance interests to second-
                 guess an agency determination that seeks to change a




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                 policy from a prior administration. And all this even
                 though the agency acts in the same manner to amend
                 the policy as the agency did to enact it in the first in-
                 stance.
                      That is not the law. New presidential administra-
                 tions bring changes in policy and agency priorities. So
                 long as an agency acts within its realm of authority, its
                 decision to alter a policy determination—or even re-
                 verse course—is not subject to an enhanced standard of
                 review. See FCC v. Fox Television Stations, Inc., 556
                 U.S. 502, 513 (2009); Nat’l Ass’n of Home Builders v.
                 EPA, 682 F.3d 1032, 1036-37 (D.C. Cir. 2012) (describ-
                 ing the argument that agency reversal is subject to
                 more searching review as “largely foreclosed” by Fox
                 Television Stations). This flows from the APA’s narrow
                 scope of review that limits the judicial inquiry. Fox Tel-
                 evision Stations, Inc., 556 U.S. at 514. Critically, courts
                 must not impose substantive judgments on the contest-
                 ed issue and review those policy shifts only for fidelity
                 to APA procedures—even when reliance interests are
                 at issue. Perez v. Mortgage Bankers Ass’n, 135 S. Ct.
                 1199, 1207 (2015).
                      As this Court admonished in Mortgage Bankers,
                 courts have no authority to impose procedural require-
                 ments beyond those stated in the APA. Id. Procedural
                 fairness does not prevent an agency from “unilaterally
                 and unexpectedly” adopting a different interpretation
                 of a regulation the agency is charged with implement-
                 ing. Id. at 1209. Although agencies cannot simply ignore
                 when the new policy “rests upon factual findings that
                 contradict those which underlay its prior policy,” they
                 need only provide a reasoned explanation and justify




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                 the change. Id. The APA sets the maximum procedural
                 obligations for which agencies must adhere. Id. at 1207.
                      Fundamentally, an agency’s policy change need sat-
                 isfy only the standard it would be held to in the first in-
                 stance under the APA. Fox Television Stations, 556
                 U.S. at 515. “This means that the agency need not al-
                 ways provide a more detailed justification than what
                 would suffice for a new policy created on a blank slate.”
                 Id. There is “no basis . . . for a requirement that all
                 agency change be subjected to more searching review.”
                 Id. at 514. The Court made clear that Motor Vehicles
                 Manufacturers Ass’n v. State Farm Mutual Automo-
                 bile Insurance Co., 103 S. Ct. 2856 (1983), “neither held
                 nor implied that every agency action representing a pol-
                 icy change must be justified by reasons more substan-
                 tial than those required to adopt a policy in the first in-
                 stance.” Id.
                      Applying the APA in a contrary manner would in-
                 trude on the President’s Article II obligation to ensure
                 “that the Laws be faithfully executed.” U.S. Const. art.
                 II, § 3; see Ariz. Christian Sch. Tuition Org. v. Winn,
                 563 U.S. 125, 133 (2011) (“The legislative and executive
                 departments of the Federal Government, no less than
                 the judicial department, have a duty to defend the Con-
                 stitution.”). When the Executive determines that a prior
                 unilateral executive action is unconstitutional and dis-
                 continues it, judicial review cannot involve a free-
                 ranging inquiry beyond the specific standard written
                 into the APA.
                      This is not to say an agency should act beyond the
                 scope of its statutorily defined authority or that such
                 actions can never be reviewed. If agency policy was “not
                 in accordance with the law” in the first place, it is owed




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                 no deference. Courts, however, are not permitted to ap-
                 ply heightened standards of review to pass on agency
                 policy decisions. In reviewing agency action, a court is
                 prohibited from substituting its policy judgments for
                 those of the agency, whose change in policy must be
                 sustained when it passes muster under the same stand-
                 ard it would have been held to in the first instance.
                 FERC v. Elec. Power Supply Ass’n, 136 S. Ct. 760, 782
                 (2016); Fox Television Stations, 556 U.S. at 513-14.
                      B. DACA’s wind-down satisfies APA review.
                      As explained above, DACA’s wind-down may be en-
                 joined only if Plaintiffs can overcome APA review.4 The
                 order winding down DACA satisfies that standard easi-
                 ly, for the reasons the petition describes. The Executive
                 has correctly concluded that DACA is unlawful. No law
                 mandates the policy choices DACA embodies. That was
                 why several States, led by Texas, threatened to sue
                 (and then did sue) to enjoin its continuation. The courts
                 below were thus wrong to block DACA’s rescission.
                      1. The administration prudently decided to wind
                 down DACA in part because of the multi-State legal
                 challenge to DACA’s lawfulness. On June 29, 2017, the

                 4
                   The Executive’s decisions to create and, later, to wind down
                 DACA are reviewable agency actions under the APA. The APA
                 contains a limited exception barring judicial review when an agen-
                 cy decision is “committed to agency discretion by law.” 5 U.S.C.
                 § 701(a)(2). This exception is “very narrow.” Heckler v. Chaney,
                 470 U.S. 821, 830 (1985). Unreviewability under Heckler applies
                 only to “an agency’s refusal to take . . . action,” such as “an agen-
                 cy’s decision not to take enforcement action.” Id. at 831, 832. In
                 contrast, “when an agency does act,” the “action itself provides a
                 focus for judicial review” and “can be reviewed to determine
                 whether the agency exceeded its statutory powers.” Id. at 832.




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                 Texas Attorney General, nine other State Attorneys
                 General, and one Governor sent a letter to the federal
                 Executive Branch proposing a DACA wind-down to end
                 the Texas I litigation challenging the Executive’s ability
                 to unilaterally confer lawful presence and work authori-
                 zation. A.R. 238-40. The coalition promised to voluntari-
                 ly dismiss the lawsuit challenging unlawful deferred-
                 action programs if the Executive Branch agreed, by
                 September 5, 2017, to rescind DACA and not renew or
                 issue any new DACA permits in the future. A.R. 240.5
                     The letter explained why DACA was unlawful, giv-
                 en that “[c]ourts blocked DAPA and Expanded DACA
                 from going into effect, holding that the Executive
                 Branch does not have the unilateral power to confer
                 lawful presence and work authorization on unlawfully
                 present aliens simply because the Executive chooses
                 not to remove them.” A.R. 238. Rather, “[i]n specific
                 and detailed provisions, the [Immigration and National-
                 ity Act] expressly and carefully provides legal designa-
                 tions allowing defined classes of aliens to be lawfully
                 present.” A.R. 238 (quoting Texas I, 809 F.3d at 179).
                 “Entirely absent from those specific classes is the
                 group of 4.3 million illegal aliens who would be eligible
                 for lawful presence under DAPA.” A.R. 238 (quoting
                 Texas I, 809 F.3d at 179). Likewise, “[t]he INA also

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                   On the same day that the Texas Attorney General sent the
                 letter, he also issued a press release publicly announcing the
                 letter. AG Paxton Leads 10-State Coalition Urging Trump
                 Administration to Phase Out Unlawful Obama-Era DACA
                 Program,
                 https://www.texasattorneygeneral.gov/news/releases/ag-
                 paxton-leads-10-state-coalition-urging-trump-administration-
                 to-phase-out (June 29, 2017).




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                 specifies classes of aliens eligible and ineligible for work
                 authorization,” but makes “no mention of the class of
                 persons whom DAPA would make eligible for work au-
                 thorization.” A.R. 238-39 (quoting Texas I, 809 F.3d at
                 180-81). DAPA was “foreclosed by Congress’s careful
                 plan.” A.R. 238-39 (quoting Texas I, 809 F.3d at 186).
                     Thus,
                         For these same reasons that DAPA and
                     Expanded DACA’s unilateral Executive Branch
                     conferral of eligibility for lawful presence and
                     work authorization was unlawful, the original
                     June 15, 2012 DACA memorandum is also un-
                     lawful. The original 2012 DACA program co-
                     vers over one million otherwise unlawfully pre-
                     sent aliens. Id. at 147. And just like DAPA,
                     DACA unilaterally confers eligibility for work
                     authorization, id., and lawful presence without
                     any statutory authorization from Congress.
                 A.R. 238-39.
                      This letter thus threatened litigation over DACA
                 and provided legal arguments, based on precedent, ex-
                 plaining why DACA was unlawful. Even if this letter
                 were the only cited reason for the challenged Executive
                 action, it would provide a non-arbitrary, non-capricious,
                 and valid basis for ending DACA.
                      2. Texas has explained for years how DACA is un-
                 lawful. The June 2017 letter’s explanation of DACA’s
                 illegality was based on Texas’s victory, leading a 27-
                 State coalition, in challenging the materially identical
                 Expanded DACA and DAPA programs. See, e.g., Texas
                 I, 809 F.3d at 174 n.139 (“DACA is an apt comparator to
                 DAPA.”). In that litigation, counsel of record told the




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                 Fifth Circuit that DACA was required to go through
                 APA notice-and-comment procedure. Oral Arg. at
                 1:16:01-10, Texas v. United States, 787 F.3d 733 (5th
                 Cir. 2015) (No. 15-40238), http://www.ca5.uscourts.gov
                 /OralArgRecordings/15/15-40238_4-17-2015.mp3. DACA
                 was instituted without that procedure.
                     Texas also filed a brief for a 14-State coalition urg-
                 ing the Court to grant certiorari in Brewer v. Arizona
                 Dream Act Coalition, No. 16-1180 (U.S. May 1, 2017).
                 See Br. for the States of Texas et al., Brewer v. Ariz.
                 Dream Act Coalition, No. 16-1180, 2017 WL 1629324
                 (U.S. May 1, 2017) (“Texas Brewer Br.”). Those amici
                 States explained that DACA was unlawful—based on
                 the same substantive and procedural arguments suc-
                 cessfully made by the 27-State coalition in Texas I re-
                 garding Expanded DACA and DAPA. See Br. for the
                 State Respondents at 44-70, United States v. Texas, 136
                 S. Ct. 2271 (2016) (No. 15-674), 2016 WL 1213267
                 (“Texas DAPA Br.”).
                     The Brewer amici explained that DACA is unlawful
                 because “[d]eferred action under DACA is much more
                 than just a decision not to pursue removal of the alien.”
                 Texas Brewer Br. at 3. The Executive deems deferred
                 action under DACA to confer “lawful presence.” Id.
                 Conferring that legal status is more than mere inaction.
                 As the States highlighted, Congress used “lawful pres-
                 ence” status (or “unlawful presence”) as the predicate
                 for numerous results, such as removability, id. at 9; a 3-
                 year or 10-year reentry bar, id. at 10-11; eligibility for
                 “advance parole,” id. at 11; and eligibility for numerous
                 federal benefits, id. at 12-13. Those consequences turn
                 on the “lawful presence” status conferred unilaterally




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                 by the Executive under DACA and DAPA. And that
                 conferral contravenes federal law. See id.
                      Similarly, the States explained that DACA violated
                 statutes governing which aliens are authorized to work
                 in this country:
                     [W]hen Congress wanted to provide work-
                     authorization eligibility to four narrow classes
                     of deferred-action recipients, it did so by stat-
                     ute. Otherwise, the 1986 IRCA “prohibit[s] the
                     employment of aliens who are unauthorized to
                     work in the United States because they either
                     entered the country illegally, or are in an im-
                     migration status which does not permit em-
                     ployment.” H.R. Rep. No. 99-682(I), at 46, 51-52
                     (1986), reprinted in 1986 U.S.C.C.A.N. 5649,
                     5650, 5655-56 (emphasis added).
                 Id. at 15-16 (footnote omitted). And the States surveyed
                 various historical practices, explaining how they could
                 not support DACA’s unilateral conferral of lawful pres-
                 ence and work authorization. Id. at 18-20.
                      At a minimum, this substantial background merited
                 legitimate doubts that DACA was lawful. The Executive
                 properly deemed it “likely that potentially imminent
                 litigation would yield similar results with respect to
                 DACA” as with respect to Expanded DACA and DAPA,
                 which were already enjoined. Pet. App. 116a.
                      3. Ultimately, after their warnings went unheeded,
                 Texas and several other States filed suit on May 1,
                 2018, seeking a declaration that DACA was unlawful
                 and a preliminary injunction. See Texas II, 328 F. Supp.
                 3d 707.




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                      Following extensive discovery and an extended
                 hearing on the State’s motion for injunctive relief, the
                 district court found that DACA was unlawful for sub-
                 stantially the same reasons as described above. “DACA
                 prevents the removal of its recipients—whom Congress
                 has deemed removable.” Id. at 714. The court, “guided
                 by Fifth Circuit precedent,” held that “none of the
                 claimed statutory provisions [in the INA] give the DHS
                 the authority to implement DACA.” Id. at 715. “Ulti-
                 mately, ‘the INA expressly and carefully provides legal
                 designations allowing defined classes of aliens to be
                 lawfully present,’ and Congress has not granted the
                 Executive Branch free rein to grant lawful presence to
                 such a large class of persons outside the ambit of the
                 statutory scheme.” Id. at 716.
                      Regarding work authorization, the court also found
                 that the INA “describes specific groups of aliens for
                 whom Congress intended work authorization to be
                 available,” but “make[s] no mention of the group of al-
                 iens described by DACA.” Id. at 716-17 (citation omit-
                 ted). “Congress has in other places specified groups of
                 aliens to be ineligible for work authorization,” yet
                 DACA “contradicts Congress’s intent, as it enables
                 those aliens to apply for work authorizations.” Id. at 717
                 (citation omitted). Thus, “[p]ermitting the [Executive]
                 to allow 1.5 million aliens to receive work authorization
                 contradicts the clear congressional purpose of preserv-
                 ing employment opportunities for those persons legally
                 residing in the United States.” Id. at 718.
                      The court also noted the path to citizenship that
                 DACA facilitates. DACA, through advance parole, “en-
                 able[s] certain individuals to change their inadmissible
                 status (due to unlawful entry) into an admitted/paroled




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                 category and in some cases provide a clearer pathway
                 to citizenship.” Id. at 720. DACA thus “directly under-
                 mines the intent and deterrent effect intended by Con-
                 gress, and contradicts the express wording of the
                 DACA program’s instituting memorandum.” Id.
                      Moreover, the court rejected various grounds on
                 which DACA’s supporters have attempted to justify it.
                 DACA, like DAPA, “is far from any program conducted
                 in the past.” Id. at 721. “DACA is ‘manifestly contrary’
                 to the statutory scheme promulgated by Congress,” and
                 “usurps the power of Congress to dictate a national
                 scheme of immigration laws, and it is therefore contrary
                 to the INA and unreasonable.” Id. at 722-23. “As were
                 DAPA and Expanded DACA, DACA is ‘foreclosed by
                 Congress’s careful plan.’ The fact that DAPA was three
                 times the size of DACA is of no legal significance.” Id.
                 at 724 (citation omitted). Ultimately, DACA
                     contradicts statutory law and violates the APA
                     because the INA directly addresses the issues
                     of lawful presence and work authorization for
                     aliens in this country but does not include those
                     designated by DACA. Furthermore, the award
                     of lawful presence and an entire array of feder-
                     al, state, and local rights and benefits to aliens
                     Congress has deemed inadmissible flies in the
                     face of the INA’s goals of deciding who comes
                     to and stays in the United States, who works in
                     the United States, and who qualifies for gov-
                     ernment-funded benefits.
                 Id. at 735.
                      The court also explained that DACA was procedur-
                 ally invalid under the APA. It rejected the premise that




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                 DACA was a procedural rule based on the same reason-
                 ing in Texas I. Id. at 728. “An agency rule that modifies
                 substantive rights and interests can only be nominally
                 procedural, and the exemption for such rules of agency
                 procedure cannot apply.’’ Id. (quoting Texas I, 809 F.3d
                 at 176). DACA failed that test because
                     [o]ver 800,000 individuals have already received
                     the benefit of lawful presence. Most have re-
                     ceived work authorization, and over half a mil-
                     lion more individuals are or will be eligible to
                     apply. . . . No matter which party’s briefs and
                     exhibits one reviews, each stresses the impact
                     of the DACA program. . . . Although the DACA
                     program has conferred lawful presence on a
                     smaller number of people than DAPA would
                     have, it has nonetheless impacted the Plaintiff
                     States and affected individuals in an equally
                     important manner.
                 Id. at 728.
                      Just as with DAPA and Expanded DACA in Texas
                 I, DACA was not a procedural rule because DACA “es-
                 tablished ‘the substantive standards by which the
                 [agency] evaluate[d] applications which [sought] a bene-
                 fit that the agency [purportedly] ha[d] the power to
                 provide.’” Id. at 728-79 (quoting Texas I, 809 F.3d at
                 177). The “five criteria by which DACA applicants are
                 evaluated are clearly substantive standards and are no
                 different than the DAPA criteria at issue in Texas I.”
                 Id. at 729.
                      Nor could DACA be defended as a general policy
                 statement exempt from notice and comment. “[W]hile
                 labels are not unimportant, the true test is how the pro-




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                 gram is actually administered and whether it affects
                 rights and obligations.” Id. Just as in Texas I, “[a] gen-
                 eral statement of policy ‘genuinely leaves the agency
                 and its decision-makers free to exercise discretion,’”
                 and “does not impose any rights and obligations,” which
                 cannot be said of DACA. Id. at 730 (quoting Texas I,
                 809 F.3d at 171).
                      The court found it “clear” that “the DACA program
                 confers rights and imposes obligations.” Id. at 731.
                 DACA recipients receive “lawful presence, the right to
                 apply for work authorization, Social Security, Medicare,
                 access to advance parole, and an array of other federal
                 and state benefits.” Id. “DACA also impacts the obliga-
                 tions of the individual States” by forcing them “to spend
                 money on various social services.” Id. And DACA “obli-
                 gates the Government to forebear from implementing
                 immigration enforcement proceedings.” Id. “These are
                 certainly the kinds of rights and obligations that give a
                 program ‘binding effect’ such that the notice-and-
                 comment procedures are required.” Id.
                      Nor could APA notice and comment be avoided by
                 purported discretion in conferring DACA benefits.
                 There was “overwhelming evidence concerning the
                 rights conferred and the obligations imposed.” Id. at
                 735. As with Texas I, “‘this case is about the [DHS]
                 Secretary’s decision to change the immigration classifi-
                 cation of millions of illegal aliens on a class-wide basis.’”
                 Id. at 735 (quoting Texas I, 809 F.3d at 170). As Execu-
                 tive action, DACA “must at least undergo the formali-
                 ties of notice and comment.” Id. at 736.
                                          *   *    *




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                     In short, the Southern District of Texas, has con-
                 firmed that DACA is unlawful. That is further reason to
                 conclude that the administration did not violate the
                 APA by ending a discretionary—and unconstitutional—
                 program.
                 II. DACA’s Obvious Unlawfulness            Is   Further
                     Reason to Grant Review.
                     A. DACA contravenes federal law.
                      DACA is substantively unlawful for the reasons
                 that the Fifth Circuit held Expanded DACA and DAPA
                 unlawful. See supra Part I. Purported differences be-
                 tween DAPA and DACA cannot justify the latter.
                      First, the fact that DACA applies to a smaller num-
                 ber of aliens than DAPA does not make DACA lawful.
                 DAPA and DACA’s unlawfulness turns on those pro-
                 grams unilaterally conferring lawful presence and ac-
                 cess to work authorization—not on their comparative
                 size. Texas, 809 F.3d at 178-86. Moreover, even were it
                 relevant, DACA and DAPA both far exceed the size of
                 any prior deferred-action program. See Texas DAPA
                 Br. 53-59.
                      Nor can DACA be defended on the basis that Con-
                 gress has provided a (demanding) path to lawful pres-
                 ence for some aliens covered by DAPA, while not
                 providing any path at all for the aliens covered by
                 DACA. That argument only undermines the position of
                 DACA’s supporters. It means that DACA has even few-
                 er arguments to support it than did DAPA. See Josh
                 Blackman, The Constitutionality of DAPA Part I: Con-
                 gressional Acquiescence to Deferred Action, 103 Geo.
                 L.J. Online 96, 116 (2015). Whereas past instances of
                 deferred action had been defended on the ground that




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                 they were stop-gap measures to ultimate lawful status
                 theoretically obtainable under existing law, see Texas,
                 809 F.3d at 184-85 & n.197, DACA flouts Congress’s
                 scheme for conferring lawful presence and cannot pos-
                 sibly be defended on that basis.
                     B. DACA is procedurally unlawful because it
                        was promulgated contrary to the APA’s
                        requirements.
                      Plaintiffs’ own pleadings in the various challenges
                 to DACA’s rescission confirm that DACA is procedural-
                 ly unlawful (even assuming arguendo executive power
                 to create it) because DACA was a substantive rule sub-
                 ject to APA notice-and-comment procedure.
                      DACA is indisputably a “rule” for APA purposes. 5
                 U.S.C. § 551(4). Accordingly, DACA had to be issued
                 through notice-and-comment procedure if it was a sub-
                 stantive rule rather than a mere “general statement[] of
                 policy.” Texas, 809 F.3d at 171 (alteration in original).
                 The key distinction between policy statements and sub-
                 stantive rules is that policy statements cannot be “bind-
                 ing.” Chrysler Corp. v. Brown, 441 U.S. 281, 302 (1979);
                 see Texas DAPA Br. at 61-62.
                      A rule is binding if it creates or modifies “rights
                 and obligations.” E.g., Prof’ls & Patients for Custom-
                 ized Care v. Shalala, 56 F.3d 592, 595 (5th Cir. 1995),
                 McLouth Steel Prods. Corp. v. Thomas, 838 F.2d 1317,
                 1320 (D.C. Cir. 1988). In Morton v. Ruiz, 415 U.S. 199
                 (1974), this Court held that a vastly more modest rule
                 concerning benefits eligibility “affect[ed] individual
                 rights and obligations” and therefore had to be treated
                 as a substantive rule. Id. at 232. The same is true of
                 DACA, under plaintiffs’ own pleadings.




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                     1. This case involves orders entered in multiple ac-
                 tions and, therefore, multiple plaintiffs. The University
                 of California plaintiffs, for example, contend that the
                 DACA-wind-down memorandum “constitutes a sub-
                 stantive rule subject to APA’s notice-and-comment re-
                 quirements.” Complaint at 14 ¶ 61, Regents of Univ. of
                 Cal. v. U.S. Dep’t of Homeland Sec., No. 3:17-cv-05211
                 (N.D. Cal. Sept. 8, 2017), ECF No. 1.
                     But that could be true only if the creation of DACA
                 was itself a substantive rule—one “affecting individual
                 rights and obligations.” Ruiz, 415 U.S. at 232. If DACA
                 were not a substantive rule that changed the rights of
                 recipients, then winding down this program also could
                 not be a substantive rule changing rights. Plaintiffs,
                 however, allege that DACA is just such a substantive
                 rule. First, plaintiffs admit that DACA purports to uni-
                 laterally confer lawful presence:
                     Individuals with DACA status were “not con-
                     sidered to be unlawfully present during the pe-
                     riod in which deferred action [was] in effect.”
                     USCIS FAQs.
                 Complaint at 8 ¶ 31, Regents of Univ. of Cal., No. 3:17-
                 cv-05211, ECF No. 1. And plaintiffs admit that aliens
                 with DACA status would not have been able—but for
                 DACA—to lawfully “obtain jobs and access to certain
                 Social Security and Medicare benefits.” Id. at 2. The
                 necessary implication of those pleadings is that DACA
                 was unlawful all along, as it issued without notice and
                 comment.
                     There is no requirement that the government must
                 use notice-and-comment procedure to rescind a policy
                 whose issuance needed but did not receive that proce-




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                 dure. If the APA somehow required the federal Execu-
                 tive Branch to continue enforcing an unlawful policy
                 while notice-and-comment procedure was used for the
                 first time to rescind the policy, then the APA would be
                 unconstitutional as applied to that unlawful policy.
                      2. The State of California plaintiffs likewise essen-
                 tially plead that DACA’s attributes meet the test for a
                 substantive rule requiring APA notice-and-comment
                 procedure. For instance, these plaintiffs plead that
                 “DACA Provides Numerous Benefits”:
                         82. DACA grantees are provided with nu-
                     merous benefits. Most importantly, they are
                     granted the right not to be arrested or detained
                     based solely on their immigration status during
                     the designated period of their deferred action.
                         83. DACA grantees are granted eligibility
                     to receive employment authorization.
                         84. DACA also opened the door to allow
                     travel for DACA grantees. For example, DACA
                     grantees were allowed to briefly depart the
                     U.S. and legally return . . . .
                          85. Unlike other undocumented immi-
                     grants, DACA grantees are not disqualified on
                     the basis of their immigration status from re-
                     ceiving certain public benefits. These include
                     federal Social Security, retirement, and disa-
                     bility benefits. See 8 U.S.C. §§ 1611(b)(2)-(3),
                     1621(d). . . .
                         86. DACA grantees are able to secure equal
                     access to other benefits and opportunities . . . .
                 Complaint at 17-18, California v. U.S. Dep’t of Home-




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                 land Sec., No. 3:17-cv-05235-WHA (N.D. Cal. Sept. 11,
                 2017), ECF No. 1 (emphases added; citations omitted).
                 The Garcia plaintiffs here admit the same thing. Com-
                 plaint at 9 ¶ 27, Garcia v. United States, No. 3:17-cv-
                 5380 (N.D. Cal. Sept. 18, 2017), ECF No. 1 (“DACA
                 confers numerous important benefits on those who ap-
                 ply for and are granted DACA status.”) (emphases add-
                 ed).6
                      3. In addition to the five challenges pending in the
                 Northern District of California, several other lawsuits,
                 pending in the Second and D.C. Circuits challenge the
                 DACA-wind-down memorandum. Complaint, Trs. of
                 Princeton Univ. v. United States, No. 1:17-cv-2325
                 (D.D.C. Nov. 3, 2017), ECF No. 1; Complaint, NAACP
                 v. Trump, No. 1:17-cv-1907 (D.D.C. Sept. 18, 2017),
                 ECF No. 1; 3d Am. Complaint, Batalla Vidal v. Niel-
                 sen, No. 1:16-cv-4756 (E.D.N.Y. Dec. 11, 2017), ECF
                 No. 113; Complaint, New York v. Trump, No. 1:17-cv-
                 5228 (E.D.N.Y. Sept. 6, 2017), ECF. No. 1. Plaintiffs in
                 those cases similarly have pleaded, in substance, that
                 DACA was unlawful from the outset because it confers
                 substantive rights yet was issued without notice-and-
                 comment procedure.
                      Plaintiffs in New York, for example, plead that
                 DACA affirmatively confers benefits:


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                   Furthermore, the California plaintiffs state that the APA
                 does not allow policies to remain in effect when they are
                 “predicated on an incorrect legal premise.” Complaint at 22
                 ¶ 106, California, No. 3:17-cv-5235, ECF No. 1. Since DACA
                 rests on an incorrect legal premise in that it issued without
                 notice-and-comment procedure, plaintiffs cannot obtain the
                 relief they seek of DACA’s continued operation.




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                          [¶] 218. DACA confers numerous benefits
                     on DACA grantees. Notably, DACA grantees
                     are granted the right not to be arrested or de-
                     tained based solely on their immigration status
                     ....
                          [¶] 220. DACA grantees are eligible to re-
                     ceive certain public benefits. These include So-
                     cial Security, retirement, and disability bene-
                     fits, and, in certain states, benefits such as
                     driver’s licenses or unemployment insurance.
                     See 8 U.S.C. §§ 1611(b)(2)-(3), 1621(d).
                 Complaint at 41, New York, No. 1:17-cv-5228, ECF No.
                 1 (emphases added; citations omitted).
                     Accordingly, these plaintiffs essentially admit that
                 DACA needed to go through APA notice-and-comment
                 procedure because it was a substantive rule:
                         [¶] 289. In implementing the DHS Memo-
                     randum, federal agencies have changed the
                     substantive criteria by which individual DACA
                     grantees work, live, attend school, obtain cred-
                     it, and travel in the United States. Federal
                     agencies did not follow the procedures required
                     by the APA before taking action impacting
                     these substantive rights.
                 Id. at 54 (emphases added).
                      If DACA’s rescission “affect[ed] individual rights
                 and obligations,” Ruiz, 415 U.S. at 232, then DACA’s
                 creation did so, too, and was always unlawful.




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                 III. Granting Certiorari to Allow Resolution of All
                      Three DACA-Rescission Challenges This Term Is
                      Warranted.
                      Without this Court’s prompt intervention, the or-
                 ders enjoining the Executive from winding down DACA
                 could last more than another year—frustrating the
                 purpose of the Executive’s decision to promptly termi-
                 nate disputes about DACA’s legality. Indeed, because
                 the litigation challenging the DACA wind-down memo-
                 randum has persisted, Texas was forced to sue to chal-
                 lenge the June 15, 2012 memorandum creating DACA
                 and its continued implementation.
                      The district court in Texas II found that Texas con-
                 tinues to suffer ongoing and irreparable harm from
                 DACA. The States “bear the costs of providing
                 [healthcare, education, and law-enforcement] social ser-
                 vices required by federal law, and the DACA program
                 increases the volume of individuals to whom they must
                 provide these services.” 328 F. Supp. 3d at 700. Even
                 the expert for parties defending DACA in Texas II
                 opined that Texas alone “incurs more than $250,000,000
                 in total direct costs from DACA recipients per year.”
                 Id. at 700-01. And DACA “increases the total number of
                 individuals using Texas's social services.” Id. at 701.
                 Additionally, DACA harms the States’ interests in pro-
                 tecting the economic well-being of their citizens through
                 increased competition “with legally present individuals
                 for available jobs, which can result in DACA recipients
                 being hired for jobs for which legally present individu-
                 als have applied and otherwise would have been hired.”
                 Id. at 693.




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                     Granting certiorari to allow for prompt resolution
                 of all the disputed aspects of DACA’s rescission would
                 reduce the present burdens to the courts from the exist-
                 ing litigation. Moreover, the Texas II litigation could
                 result in a ruling abruptly ending DACA, rather than
                 winding it down as directed by the Executive in the
                 memorandum challenged here.
                                       C O N C L U S IO N
                     The petition for a writ of certiorari should be
                 granted.


                                                   Respectfully submitted.
                 KEN PAXTON                        KYLE D. HAWKINS
                 Attorney General of               Solicitor General
                  Texas                             Counsel of Record
                 JEFFREY C. MATEER                 ARI CUENIN
                 First Assistant                   JOHN C. SULLIVAN
                   Attorney General                Assistant Solicitors General
                 STEVE MARSHALL                    OFFICE OF THE
                 Attorney General of                 ATTORNEY GENERAL
                   Alabama                         P.O. Box 12548 (MC 059)
                                                   Austin, Texas 78711-2548
                 MARK BRNOVICH                     kyle.hawkins@oag.texas.gov
                 Attorney General of               (512) 936-1700
                   Arizona

                 LESLIE RUTLEDGE
                 Attorney General of
                   Arkansas




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                                        25


                 PAMELA JO BONDI
                 Attorney General of
                   Florida

                 JEFF LANDRY
                 Attorney General of
                   Louisiana

                 PHIL BRYANT
                 Governor of
                   Mississippi

                 DOUG PETERSON
                 Attorney General of
                   Nebraska

                 ALAN WILSON
                 Attorney General of
                   South Carolina

                 PATRICK MORRISEY
                 Attorney General of
                   West Virginia


                 DECEMBER 2018




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                            Nos. 18-587 and 18-589
                 444444444444444444444444444444444444444444
                                    IN THE
                      Supreme Court of the United States
                                 ____________________
                  DEPARTMENT OF HOMELAND SECURITY, ET AL., Petitioners,
                                         v.
                    REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.
                                 ____________________
                      KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                               SECURITY, ET AL., Petitioners,
                                            v.
                         MARTIN JONATHAN BATALLA VIDAL, ET AL.
                                 ____________________
                    On Petitions for Writs of Certiorari to the U.S.
                  Courts of Appeals for the Ninth and Second Circuits
                                ____________________
                  Brief Amicus Curiae of Citizens United, Citizens
                 United Foundation, English First Foundation, Public
                 Advocate of the U.S., The Senior Citizens League, 60
                   Plus Foundation, Gun Owners of America, Gun
                  Owners Foundation, Conservative Legal Defense
                   and Education Fund, Patriotic Veterans, Policy
                   Analysis Center, and Restoring Liberty Action
                         Committee in Support of Petitioners
                                ____________________
                 JOSEPH W. MILLER             WILLIAM J. OLSON*
                   RESTORING LIBERTY          HERBERT W. TITUS
                   ACTION COMMITTEE           JEREMIAH L. MORGAN
                   Fairbanks, AK 99708        ROBERT J. OLSON
                 Attorney for Amicus Curiae    WILLIAM J. OLSON, P.C.
                   RLAC                        370 Maple Ave. W., Ste. 4
                                               Vienna, VA 22180
                                               (703) 356-5070
                                               wjo@mindspring.com
                 December 6, 2018             Attorneys for Amici Curiae
                                              *Counsel of Record
                 444444444444444444444444444444444444444444




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                         INTEREST OF THE AMICI CURIAE1

                     Citizens United, Public Advocate of the United
                 States, The Senior Citizens League, Gun Owners of
                 America, Inc., and Patriotic Veterans are nonprofit
                 social welfare organizations, exempt from federal
                 income tax under Internal Revenue Code (“IRC”)
                 section 501(c)(4). Citizens United Foundation, English
                 First Foundation, 60 Plus Foundation, Gun Owners
                 Foundation, Conservative Legal Defense and
                 Education Fund, and Policy Analysis Center are
                 nonprofit educational and legal organizations, exempt
                 from federal income tax under IRC section 501(c)(3).
                 Restoring Liberty Action Committee is an educational
                 organization. These organizations were established,
                 inter alia, for purposes related to participation in the
                 public policy process, including conducting research,
                 and informing and educating the public on the proper
                 construction of state and federal constitutions, as well
                 as statutes related to the rights of citizens, and
                 questions related to human and civil rights secured by
                 law.

                     Some of these amici filed amicus briefs in two of
                 these cases earlier this year:

                     • U.S. Department of Homeland Security v.
                       Regents of the University of California, Brief


                 1
                   It is hereby certified that counsel for the parties have consented
                 to the filing of this brief; that counsel of record for all parties
                 received notice of the intention to file this brief at least 10 days
                 prior to the filing of it; that no counsel for a party authored this
                 brief in whole or in part; and that no person other than these
                 amici curiae, their members, or their counsel made a monetary
                 contribution to its preparation or submission.




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                                            2

                       Amicus Curiae of Citizens United, et al., U.S.
                       Supreme Court (Feb. 2, 2018); and

                     • Vidal v. Nielsen, Brief Amicus Curiae of
                       Citizens United, et al., U.S. Court of Appeals for
                       the Second Circuit (Mar. 14, 2018).

                                     STATEMENT

                      Even though the case below was initiated by the
                 Regents of the University of California against Donald
                 J. Trump, Ninth Circuit Judge Wardlaw would have
                 the reader of her opinion believe that the sole plaintiff
                 is Dulce Garcia. At the outset of her lengthy opinion,
                 Judge Wardlaw devotes three detailed paragraphs to
                 Garcia’s life, rising from a past of poverty and
                 homelessness to a thriving “legal practice in San
                 Diego,” all of which is now being put in jeopardy by “a
                 change in presidential administrations.” Bd. of
                 Regents, Univ. of California v. Trump, 2018 U.S. App.
                 LEXIS 31688 at *18-*19 (9th Cir. 2018). It’s as if
                 Garcia’s life story typifies the 689,800 noncitizens
                 enrolled in Deferred Action for Childhood Arrivals
                 (“DACA”) (id. at *34), each of whom is supposedly in
                 imminent danger of deportation from this country,
                 even though “the United States of America is the only
                 home she has ever known,” having been brought here
                 illegally at four years of age. Id. at *18. Judge
                 Wardlaw’s broadside allegation seems better suited to
                 having been made in opposition to Trump’s
                 immigration policies on the campaign trail, rather
                 than a recitation of facts in support of a judicial




                                                                             AR3602
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                                               3

                 opinion.2

                     Her broad brush enables her to sweep into one
                 group an entire class of DACA eligibles to speak with
                 one voice that they, like Garcia, “trust[ed] the
                 government to honor its promises,” and were entitled
                 to “two-year renewable periods of deferred action,”
                 even though DACA was a “revocable decision by the
                 government not to deport an otherwise removable
                 person from the country.” Regents at *19. And yet
                 Judge Wardlaw contends that the Government would
                 deny Garcia her day in court to contest the Trump
                 administration’s decision to end DACA because of the
                 Government’s “legal determination that DACA is
                 unlawful is unreviewable by the judicial branch.” Id.
                 at *20.

                     However, as the Government points out in its
                 Petition, its action rescinding the DACA program does
                 not entail the “‘exercise [of] its coercive power over an
                 individual’s liberty or property rights, and thus does
                 not infringe upon areas that courts often are called
                 upon to protect.’” Petition for Certiorari (“Pet.”) at 18.
                 Furthermore, a person like Garcia is not likely to be
                 deported given her present professional stature. And
                 there is nothing in the record to indicate the likelihood
                 of any adverse action, even after the repeal of DACA


                 2
                    See J. Richwine, “Ninth Circuit Ruling on DACA Contains
                 Several False or Misleading Statements,” Center for Immigration
                 Studies (Nov. 27, 2018) (“In her ruling that the Trump
                 Administration must continue [DACA], Ninth Circuit Judge Kim
                 McLane Wardlaw makes several false or misleading statements
                 intended to portray DACA recipients positively.”)




                                                                                   AR3603
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                 “‘for humanitarian reasons or simply for [the INS’s]
                 own convenience.’” Regents at *22. Rescission of the
                 DACA program, therefore, does not mean that the INS
                 would no longer recognize what Judge Wardlaw terms
                 “the cruelty and wastefulness of deporting productive
                 young people to countries with which they have no
                 ties,” or ignore “those noncitizens ... who have clean
                 criminal records, and who meet various educational or
                 military service requirements.” Id. at *18-*19. Thus,
                 as Judge Wardlaw concedes, deferred action may be
                 extended to individuals like Garcia under “the
                 Executive’s inherent authority to allocate resources
                 and prioritize cases.” Id. at *21-*22.

                            SUMMARY OF ARGUMENT

                     If, as the Ninth Circuit appears to believe, the
                 continuation of DACA was an action within the
                 judicially unreviewable discretion of the executive
                 department of the Obama administration, then it
                 would be only common sense that the action of the
                 executive department of the Trump Administration
                 rescinding DACA is similarly unreviewable. But the
                 Ninth Circuit ruled otherwise, asserting that
                 President Trump’s Attorney General transformed what
                 would have been an exercise of discretion into a
                 judicially reviewable act solely by his belief that DACA
                 should be rescinded because it was initially an
                 unconstitutional exercise of executive authority. The
                 Ninth Circuit decision is erroneous.

                      First, it is based upon the flawed assumption that
                 the executive oath of office to support the Constitution
                 is subject to review by the judiciary whereas the oaths




                                                                            AR3604
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                 of office prescribed by Article VI of the Constitution
                 apply separate and equally to officers of each of its
                 three branches. Second, it is based upon the flawed
                 assumption that judicial review of the constitutionality
                 of the exercise of executive power is exclusive and
                 final, measured only by court precedents, not by the
                 constitutional text. And, third it is based on the
                 flawed assumption that the federal judiciary is more
                 accountable to the People, than the agencies of the
                 executive department.

                     The case before the court involves the lawfulness
                 of the action by the Trump Administration to wind
                 down and terminate the Obama Administration’s
                 DACA policy. This was an issue on which President
                 Trump campaigned, and which he was elected by the
                 People to implement. The actions by the courts below
                 assume the legality of DACA, rather than decide it.
                 They have been seen by many as thwarting the
                 expressed will of the People, not because DACA repeal
                 violates a provision of the U.S. Constitution or a
                 federal law, but because it violates the will of the
                 Judges. If the American People do not believe they can
                 change policy by changing Presidents, our nation will
                 move into a dangerous time, that would resemble what
                 France is now experiencing with the “Yellow Vest”
                 riots.

                      The issuance of nationwide, universal injunctions
                 by courts proclaiming what the laws are for all rather
                 than settling disputes between parties before it, is a
                 new and troublesome development with serious
                 repercussions for the rule of law. The ability of
                 litigants to file challenges to Executive Branch action




                                                                            AR3605
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                 in carefully selected jurisdictions to get rulings from
                 judges thought to be predisposed to the plaintiffs’
                 cause impairs the proper functioning of a
                 constitutional republic. The Court should order
                 briefing on the legality of universal injunctions in its
                 order granting certiorari.

                     The adverse effects on the nation from the DACA
                 policy, including the financial drain from giving lawful
                 status to hundreds of thousands of persons in the
                 country illegally has been misrepresented in the courts
                 below, demonstrating why judges with no
                 responsibility for the public fisc should exercise great
                 care in issuing orders imposing burdens on the People
                 without responsibility or accountability to the
                 electorate.

                                     ARGUMENT

                 I.   THE ACTION RESCINDING DACA                       IS
                      JUDICIALLY UNREVIEWABLE.

                     There can be little doubt that, had the DHS
                 decided to continue DACA, its action would be
                 judicially unreviewable as an exercise of executive
                 discretionary power. As the Government points out in
                 its petition, “[l]ike the decision to adopt a policy of
                 selective non-enforcement, the decision whether to
                 retain such a policy can ‘involve[] a complicated
                 balancing’ of factors that are ‘peculiarly within [the]
                 expertise’ of ... the agency’s overall policies.” Pet. in
                 18-587 at 19. As the Government elaborated:

                      a decision to abandon an existing non-




                                                                             AR3606
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                     enforcement policy will not, in itself, bring to
                     bear the agency’s coercive power over any
                     individual. Indeed, an agency’s decision to
                     reverse a prior policy of civil non-enforcement
                     is akin to changes in policy as to criminal
                     prosecutorial discretion, which regularly occur
                     within the U.S. Department of Justice both
                     within and between presidential
                     administrations, and which have never been
                     considered amenable to judicial review. [Id.]

                 The Ninth Circuit panel opinion, however, appears to
                 reject this claim of unreviewable discretion if the
                 Government’s reason given in support of its decision
                 not to retain DACA is that it was obliged by the
                 Constitution to do so. Indeed, Circuit Judge Wardlaw
                 goes to great lengths to establish that, on this record,
                 the sole reason for the decision to jettison DACA was
                 not a “pragmatic” assessment of “‘litigation risk[s],’”
                 but the firm “belief that DACA was illegal.” Regents
                 at *53-*57. In other words, Judge Wardlaw reached
                 the conclusion that, because the DACA rescission was
                 based on the Attorney General’s opinion that DACA
                 was unconstitutional, it was a reviewable “act of
                 discretion.” Id. at *57.

                     A. The Attorney General’s Oath to Support
                        the Constitution Is Equal to and
                        Independent of the Judiciary.

                     As an officer of the Executive Department of the
                 United States, the Attorney General is bound by oath
                 to support “this Constitution” of the United States.
                 Pursuant to that oath of office, the Attorney General




                                                                            AR3607
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                 determined that DACA “was an unconstitutional
                 exercise of authority by the Executive Branch.”
                 Regents at *32-*33. By his express reliance on the
                 Constitution, Judge Wardlaw believed, the Attorney
                 General’s action transformed what theretofore had
                 been an exercise of executive discretion, unreviewable
                 by the judicial branch, into a reviewable constitutional
                 determination. Missing from the judge’s analysis is
                 the fact that not only the judiciary is bound by oath to
                 support “this Constitution” of the United States. The
                 Attorney General, as an officer of the executive branch,
                 must support the Constitution as he understands it.
                 As such, the Attorney General is not akin to a junior
                 member of the judicial branch, subject to oversight
                 review by a higher judicial officer. Rather, Article VI
                 of the Constitution treats officers in the executive and
                 judicial branches of the federal government as equals,
                 each independently bound by oath to support the
                 Constitution in the exercise of his respective powers.


                     Thus, the Attorney General is certainly not obliged
                 by law or by his oath of office to submit his legal
                 opinion for court review before he takes action on a
                 constitutional matter before him. Indeed, had the
                 Attorney General submitted his opinion for review by
                 an Article III judge, he would have been rebuffed for
                 having requested the courts for an “advisory opinion,”
                 outside the jurisdiction of any federal court over cases
                 and controversies. As all of the justices of the United
                 States Supreme Court wrote to President Washington
                 in 1793:

                     [T]he three departments of the government




                                                                            AR3608
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                     [being] in certain respects checks upon each
                     other, and our being judges of a court in the
                     last resort, are considerations which afford
                     strong arguments against the propriety of our
                     extrajudicially deciding questions alluded to,
                     especially as the power given by the
                     Constitution, of calling on the heads of
                     departments for opinions, seems to have been
                     purposely as well as expressly united to the
                     executive.... [Quoted in G. Gunther,
                     Constitutional Law at 1393-94 (12th ed.,
                     Found. Press: 1991).]

                    Judge Wardlaw’s vision of the role of the judiciary
                 appears to be at odds with the one envisioned by Chief
                 Justice Jay.

                     If an agency head is mistaken in her
                     assessment that the law precludes one course
                     of action, allowing the courts to disabuse her of
                     that incorrect view of the law does not
                     constrain discretion, but rather opens new
                     vistas within which discretion can operate.
                     [Regents at *47.]

                 Elaborating, Judge Wardlaw hypothesized, “if an
                 administrator chooses option A for the sole reason that
                 she believes option B to be beyond her legal authority,
                 a decision from the courts putting option B back on the
                 table allows a reasoned, discretionary policy choice
                 between the two courses of action.” Id. at *47-*48. In
                 other words, why wait for an individual case or
                 controversy to arise under Article III, Section 2, when
                 the courts could step in and decide the legal questions




                                                                            AR3609
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                 before anyone is injured by an erroneous legal decision
                 by an administrative officer? Professor Alexander
                 Bickel cautioned against such activist intervention:

                     One of the chief faculties of the judiciary ... is
                     that the judgment of courts can come later,
                     after the hopes and prophecies expressed in
                     legislation have been tested in the actual
                     workings of our society; the judgment of courts
                     may be had in concrete cases that exemplify
                     the actual consequences of ... executive actions.
                     [A. Bickel, The Least Dangerous Branch at
                     115-16 (Yale Press: 1965).]

                     B. The Judicial Power “to Say What the Law
                        Is” Is Neither Exclusive Nor Final.

                      Judge Wardlaw’s vision of an upfront, activist
                 judiciary, intimately involved in the exercise of
                 executive discretion, not only violates the separation of
                 powers, but elevates the judiciary to new heights. Not
                 only does she affirm the judiciary’s “province and duty
                 ... to say what the law is,” she assumes that its
                 province and duty is both exclusive and final. It is
                 neither.

                     President Andrew Jackson, in his famous 1832
                 message to the Senate explaining his veto of the bill
                 rechartering the Bank of the United States, put the
                 judiciary and its power of judicial review into its
                 proper place in a government of separated powers:

                     The Congress, the Executive, and the Court
                     must each for itself be guided by its own




                                                                             AR3610
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                     opinion of the Constitution. Each public
                     officer who takes an oath to support the
                     Constitution swears that he will support it as
                     he understands it, and not as it is understood
                     by others.... The opinion of the judges has no
                     more authority over Congress than the opinion
                     of Congress has over the judges, and on that
                     point the President is independent of both.
                     The authority of the Supreme Court must not,
                     therefore, be permitted to control the Congress
                     or the Executive when acting in their
                     legislative capacities, but to have only such
                     influence as the force of their reasoning may
                     deserve. [Veto Message of the Bill on the Bank
                     of the United States, reprinted in 50 Core
                     American Documents at 166-67 (C. Burkett,
                     ed.: Ashbrook Press: 2016).]

                      In contrast, Judge Wardlaw believes that the
                 judicial branch has the “ultimate responsibility” — or
                 the final say — as to what the law is. Id. at *51. This
                 is a serious misunderstanding of Marbury v. Madison
                 which recognized that: “the very essence of judicial
                 duty” is to decide the case “conformably” to the law or
                 to the Constitution which ever one applies. Id., 5 U.S.
                 137, 177-78 (1803). However, in Judge Wardlaw’s
                 eyes, the judicial branch is apparently above the law,
                 measuring the correctness of a judicial opinion of the
                 law by its own precedents, not by any objective
                 standard.3 In Blackstone’s day, “the laws of nature
                 and of nature’s God” provided a universal standard by

                 3
                  See, e.g., Janus v. AFSCME, Council 31, 138 S. Ct. 2448 at 2497-
                 98 (2018) (Kagan, J., dissenting).




                                                                                     AR3611
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                 which law in a civil society could be measured. See I
                 Blackstone’s Commentaries on the Laws of England
                 38-43, 69-71 (U. Chi. Press, Facsimile ed.: 1765).
                 Thus, Blackstone observed:

                     “the law,” and the opinion of the judge are not
                     always convertible terms, or one and the same
                     thing; since it sometimes happens that the
                     judge may mistake the law. [Id. at 71.]

                     C. The Executive’s Exercise of Power Is
                        Politically Accountable to the People, Not
                        the Courts.

                     Startlingly, Judge Wardlaw claims that, by
                 expanding the power of the judicial branch, the federal
                 government would “promote accountability within the
                 Executive Branch — not accountability to the courts,
                 but democratic accountability to the people.” Regents
                 at *48. On its face, this claim is incredible. Of the
                 three branches of the federal government, the judicial
                 branch is the least accountable to the people. Both
                 houses of Congress are directly elected by the people at
                 fixed times and for limited terms of office. The
                 President, although not directly elected by the people,
                 must stand for election every four years, and may not
                 stand for reelection after serving two of those four-year
                 terms. In contrast, judges are appointed by the
                 President with the advice and consent of the Senate,
                 “hold[ing] their offices during good behavior.”

                     Except for the remote threat of impeachment
                 under Article II, Section 4, a federal judgeship has
                 become a life-time appointment. As Harvard Professor




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                 Lawrence Tribe has observed: “once appointed, they
                 cease to be accountable even to the elected officials
                 who nominated and confirmed them but rather are
                 secured in their independence by life tenure and
                 guaranteed salary.” L. Tribe, American Constitutional
                 Law at 62 (2d ed., Found. Press 1988).

                     That is not all. As Professor Tribe also points out:

                     Perhaps even more significantly, judicial
                     review is itself said to be antidemocratic since
                     its result is the invalidation of government
                     action, legislative or executive — action that,
                     however indirectly, did have the sanction of
                     the electorate. It is obvious, the critics argue,
                     that if judicial review cuts against the grain of
                     representative democracy, judges should
                     invoke their power to strike down legislative
                     and executive power only sparingly. [Id.]

                 The decision to force the retention of DACA on the
                 nation is nothing less than an unconscionable attempt
                 to nullify the results of a presidential election.

                 II. THE SECRETARY’S DECISION TO RESCIND
                     DACA WAS NOT ARBITRARY AND
                     CAPRICIOUS BECAUSE THE ORIGINAL
                     DECISION TO IMPLEMENT THE DACA
                     POLICY WAS UNLAWFUL.

                     This case comes to this Court in a somewhat
                 unusual procedural posture — a petition to review
                 three lower court injunctions blocking the Trump
                 Administration’s decision to wind down the DACA




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                 program. As such, the issue of the legality of the
                 original DACA program, and as amended, is not front
                 and center. However, should this Court determine
                 that the rescission of DACA is judicially reviewable
                 (which these amici believe it is not, see Section I,
                 supra), then these amici would urge that the
                 lawfulness of the original DACA order be identified as
                 one of the questions to be briefed when the writ is
                 issued, for several reasons.

                     In issuing his injunction District Judge Garaufis
                 directly and repeatedly addressed the issue of the
                 legality of DACA to support his view that its rescission
                 was illegal. Vidal v. Nielsen, 279 F. Supp. 3d 401, 420-
                 27 (E.D.NY. 2018). That fact alone makes it almost
                 impossible to review the legality of the rescission
                 without deciding the legality of DACA.

                      Moreover, in evaluating the likelihood of success
                 on the merits, Judge Garaufis assumed that the Duke
                 Memorandum was based exclusively on the September
                 4, 2017, one-page letter of the Attorney General to
                 Acting Secretary Duke.        See Memorandum on
                 Rescission of Deferred Action for Childhood Arrivals
                 (DACA) (Sept. 5, 2017) App. 111a, et seq. The judge
                 flatly disagreed with every sentence of the Attorney
                 General’s Memorandum.        In one section of his
                 argument, he claims that “The Attorney General Erred
                 in Concluding that DACA was unconstitutional”(Vidal
                 at 422), then, “The Attorney General Erred in
                 Concluding that DACA Has the ‘Same Legal and
                 Constitutional Defects that the Courts Recognized as
                 to DAPA” (id. at 423), and finally that the Duke
                 Memorandum “Relies on a Factually Erroneous




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                 Premise that Courts Have Determined that DACA is
                 Unconstitutional” (id. at 427). Each of these
                 foundations for his injunction are refutable and should
                 be reviewed by this Court.

                     In fact, the DACA wind-down Memorandum issued
                 by Acting Secretary Duke referenced the Attorney
                 General’s letter, but was by no means limited to it.
                 The Duke Memorandum asserted several bases for its
                 issuance:

                     • that the original DACA memorandum of June
                       15, 2012, was based on a “purported” act of
                       prosecutorial discretion, which could only be
                       applied on “an individualized case-by-case
                       basis.” Id. at 112a.

                     • that the DACA memorandum “confer[ed]
                       certain benefits to illegal aliens that Congress
                       had not otherwise acted to provide by law.” Id.

                     • that the Feb. 16, 2015 order of the U.S. District
                       Court for the Southern District of Texas
                       enjoining DAPA concluded that the states “were
                       likely to succeed on their claim that the DAPA
                       program did not comply with relevant
                       authorities.” Id. at 113a.

                     • that the U.S. Court of Appeals for the Fifth
                       Circuit agreed that the “DAPA policy conflicted
                       with the discretion authorized by Congress” as
                       the Immigration and Nationality Act “flatly
                       does not permit the reclassification of millions
                       of illegal aliens as lawfully present and thereby




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                       make them newly eligible for a host of federal
                       and state benefits, including work
                       authorization.” Moreover “‘DAPA is foreclosed
                       by Congress’ careful plan; the program is
                       “manifestly contrary to the statute” and
                       therefore was properly enjoined.’” Id.

                    Then, turning to the Attorney General’s input, she
                 added:

                     • that she had consulted with the Attorney
                       General as to risk of litigation pending in Texas.
                       Id. at 116a.

                     • that the Attorney General sent a letter to the
                       Department ... articulating his legal
                       determination that DACA “was effectuated by
                       the previous administration through executive
                       action, without proper statutory authority and
                       no established end-date after Congress’
                       repeated rejection of proposed legislation.” Id.

                     • that the Attorney General stated that “Such an
                       open-ended circumvention of immigration laws
                       was an unconstitutional exercise of authority by
                       the Executive Branch.” Id.

                     Only after making all of those findings, does the
                 Duke Memorandum make one passing reference to the
                 Attorney General’s statement that DACA “has the
                 same legal and constitutional defects that the courts
                 recognized as to DAPA.” However, Judge Garaufis
                 seized on that sentence to justify his injunction,
                 stating “[t]his premise is flatly incorrect” as the Texas




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                 courts’ findings were based on the Administrative
                 Procedure Act, not the Constitution. Vidal at 427.
                 Rather than finding a smoking gun, that statement is,
                 at best, ambiguous as it could be read to reflect (i) the
                 Attorney General’s misunderstanding of the holding of
                 the court, or (ii) the Attorney General drawing a
                 logical conclusion from findings and statements made
                 by the courts, even though those courts did not
                 ultimately decide the constitutional issues at that
                 time. However, given all the other bases given for the
                 decision, the Acting Secretary’s Memorandum
                 certainly cannot simply be dismissed as having relied
                 solely on the Attorney General’s statement about
                 constitutionality.

                     Lastly, Judge Garaufis seemed to find that the
                 Sessions letter was “factually erroneous” because it
                 concluded “that the Southern District of Texas and
                 Fifth Circuit would enjoin the continued operation of
                 the DACA program....” Id. at *61. However, in this
                 case, it was Judge Garaufis who appears to have made
                 the “erroneous” statement, not the Attorney General.
                 In February 2018, District Judge Hanen issued a
                 detailed explanation as to why DAPA and DACA were
                 legally indistinguishable. See Texas v. United States,
                 328 F.Supp.3d 662, 723-25 (S.D.TX. 2018).

                     Thus, whether the prior administration’s DACA
                 policy is lawful should be an important question on
                 which this Court grants review. It would be entirely
                 anomalous to say that one administrative action
                 undoing another administrative action because it was
                 unlawful is arbitrary and capricious without
                 examining whether that initial administrative action




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                 is lawful. Not to review the original DACA policy
                 would only result in further delay and a waste of
                 judicial resources, prolonging the controversy and
                 effectively negating the vote of the American people in
                 electing a new President to implement new policies
                 different from a prior administration. Every year that
                 DACA remains in place is another year of compelled
                 adherence to the prior administration’s illegal DACA
                 policy.

                 III. THE  NATIONWIDE  INJUNCTIONS
                      EXCEEDED THE DISTRICT COURTS’
                      AUTHORITY.

                     Former Attorney General Sessions recounted:

                        In the first 175 years of this Republic, not a
                     single judge issued one of these orders.
                        But, they have been growing in frequency
                     and, since President Trump took office less
                     than two years ago, 27 district courts have
                     issued such an order. [Attorney General Jeff
                     Sessions Remarks on Judicial Encroachment
                     (Oct. 15, 2018)4.]

                 The cases below fall into that category. On January 9,
                 2018, Judge William Alsup of the Northern District of
                 California issued a preliminary injunction “to maintain
                 the DACA program on a nationwide basis on the same
                 terms and conditions as were in effect before the

                 4
                       https://www.justice.gov/opa/speech/attorney-general-jeff-
                 sessions-delivers-remarks-heritage-foundation-judicial-encroac
                 hment.




                                                                                   AR3618
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                 rescission on September 5, 2017,” with certain narrow
                 exemptions. The district judge asserted “a nationwide
                 injunction is appropriate” because:

                       Our country has a strong interest in the
                       uniform application of immigration law and
                       policy. Plaintiffs have established injury that
                       reaches beyond the geographical bounds of the
                       Northern District of California. The problem
                       affects every state and territory of the United
                       States. [Regents of the Univ. of Cal. v. United
                       States Dept. of Homeland Sec., 279 F.Supp.3d
                       1011, 1048-49 (2018).]

                 Judge Alsup cited two cases in support of his view,
                 both of which have been substantially weakened by the
                 passage of time.

                     First, Judge Alsup relied on the Ninth Circuit’s
                 opinion in Washington v. Trump, 847 F.3d 1151, 1167
                 (9th Cir. 2017), enjoining President Trump’s Executive
                 Orders and Proclamations to deny entry to aliens from
                 certain countries, based on the need for uniformity in
                 immigration law and policy.5 That reliance may not be
                 well-founded, as revealed by the well-considered view
                 of a member of this Court. Although it denied a stay,
                 this Court, in a per curiam order, narrowed the
                 injunctions, leaving them in place, over the dissent of
                 Justices Thomas, Alito, and Gorsuch. See Trump v.
                 IRAP and Trump v. Hawaii, 582 U.S. ____ 138 S. Ct.
                 34 (2017). Although neither the per curiam opinion


                 5
                     Regents, 279 F.Supp.3d at 1049.




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                 nor the dissent discussed the nationwide nature of the
                 injunctions under review, the Ninth Circuit opinion on
                 which Judge Alsup relied was overturned by this Court
                 on June 26, 2018. See Trump v. Hawaii, 138 S.Ct.
                 2392 (2018). Because this Court “reverse[d] the grant
                 of the preliminary injunction as an abuse of
                 discretion,” it made “it unnecessary to consider the
                 propriety of the nationwide scope of the injunction
                 issued by the District Court.” Id. at 2423.

                     However, Justice Thomas substantively questioned
                 the validity of nationwide injunctions. Discussing how
                 such injunctions prevent “legal questions from
                 percolating through the federal courts, encourag[e]
                 forum shopping, and mak[e] every case a national
                 emergency for the courts and for the Executive
                 Branch,” Justice Thomas stated his fundamental
                 concern:

                     I am skeptical that district courts have the
                     authority to enter universal injunctions.
                     These injunctions did not emerge until a
                     century and a half after the founding. And
                     they appear to be inconsistent with
                     longstanding limits on equitable relief and the
                     power of Article III courts. If their popularity
                     continues, this Court must address their
                     legality. [Id. at 2425 (Thomas, J., concurring).]

                     Second, Judge Alsup asserted “the Fifth Circuit
                 reached the same conclusion” in affirming “the




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                 appropriate scope of an injunction over DAPA6 ...
                 holding that uniform application of the immigration
                 laws justified a nationwide injunction. So too here.”
                 Regents, 279 F.Supp.3d at 1049. See Texas v. United
                 States, 809 F.3d 134 (5th Cir. 2015) aff’d by an evenly
                 divided court United States v. Texas, 136 S.Ct. 2271
                 (2016). However, Judge Alsup failed to note that the
                 injunction under review in the Fifth Circuit had been
                 issued by Judge Hanen with respect to the adoption of
                 the DAPA program for violation of APA’s procedural
                 requirements.

                      In his February 16, 2015 decision, Judge Hanen
                 found that the Obama Administration has “clearly
                 legislated a substantive rule without complying with
                 the procedural requirements under the Administration
                 [sic] Procedure Act” requiring “notice and comment.”
                 Texas v. United States, 86 F. Supp. 3d 591, 676-77
                 (S.D.TX. 2015). The APA grants district courts the
                 authority to “hold unlawful and set aside agency
                 action, findings, and conclusions” in such
                 circumstances. 5 U.S.C. § 706. Since the DAPA policy
                 was not implemented in accordance with “notice and
                 comment” requirements, Judge Hanen concluded that
                 it was invalid. He summarized his ruling as follows:

                     this temporary injunction enjoins the
                     implementation of the DAPA program that
                     awards legal presence and additional benefits
                     to the four million or more individuals
                     potentially covered by the DAPA

                 6
                    “Deferred Action for Parents of Americans and Lawful
                 Permanent Residents.”




                                                                            AR3621
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                     Memorandum and to the three
                     expansions/additions to the DACA program
                     also contained in the same DAPA
                     Memorandum. [Texas, 86 F.Supp.3d at 677.]

                     There is no language characterizing Judge Hanen’s
                 opinion as “nationwide” or “universal.” He only relied
                 on the terms of the APA holding that the Department
                 of Homeland Security could not continue to implement
                 a policy that had been adopted in violation of APA’s
                 procedural requirements.

                      By contrast, the Ninth Circuit had made clear that
                 the injunction was not based on a violation of APA’s
                 notice-and-comment requirement. See Regents at
                 *101. Rather, the Ninth Circuit asserted “that the
                 claim underlying the injunction here is an arbitrary-
                 and-capricious challenge under the APA” which should
                 lead to the rule being “‘vacated — not that their
                 application to the individual petitioners is proscribed.’”
                 Id. at *78-79. However, the “arbitrary and capricious”
                 finding of the district court was grounded exclusively
                 on the claim that it “was based solely on an erroneous
                 legal premise...” that DACA itself was adopted
                 illegally, and was rescinded for that reason. Id. at *65,
                 *71-77, *82. This was not a procedural APA violation.
                 Judge Alsup’s opinion falsely assumes that only judges
                 can assess and act on their view about the legality of
                 any policy, and the Justice Department’s view that
                 DACA was illegal was a usurpation of that judicial
                 role. In essence, Judge Alsup admits that, if the
                 DACA rescission had been based on a change in policy,
                 he would have had no ground to enjoin it. And, the
                 Ninth Circuit disregarded subsequent information




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                 from Secretary Nielsen as to the additional policy
                 reasons for the policy change. Id. at *78 n.24. See also
                 Petitioners’ Supplemental Brief (Nov. 19, 2018) at 4-5.
                 Even concurring Judge Owens could not go along with
                 the Ninth Circuit’s assertion that it could review the
                 DACA rescission for compliance with the substantive
                 rules of the APA. Regents at *103. That rationale was
                 a thin reed on which to base a finding of the DACA
                 rescission being considered “arbitrary and capricious,”
                 and without such a finding there could be no “set
                 aside” order and no national injunction.

                     The widely criticized practice of district courts
                 issuing nationwide injunctions is an important issue
                 which has not been resolved by this Court, but should
                 be.

                 IV. THE NEW YORK DISTRICT COURT
                     ERRONEOUSLY CONCLUDED THAT
                     ENDING DACA WOULD HARM THE SOCIAL
                     SECURITY TRUST FUNDS.

                     The injunction order issued by the U.S. District
                 Court for the Eastern District of New York
                 acknowledged that it is within the government’s
                 authority to end DACA: “New Administrations may ...
                 alter or abandon their predecessors’ policies....” Vidal
                 at 408-09. But the court then left the realm of law to
                 address matters of policy. The court stated that
                 policies may change when administrations change,
                 “even if these policy shifts may impose staggering
                 personal, social, and economic costs.” Id.

                     To that end, the court asserted “the costs of the




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                 DACA rescission over the next decade at ... $24.6
                 billion in lost Social Security and Medicare tax
                 contributions.” Id. at 409 n.4. For the estimate of
                 $24.6 billion in lost Social Security and Medicare tax
                 contributions, the court cited the amicus brief of 114
                 companies. That brief, in turn, cites to and relies
                 exclusively on a policy brief of the Immigrant Legal
                 Resource Center (“ILRC”) on the “economic cost of
                 ending DACA.” The ILRC policy brief arrives at its
                 estimate of tax receipts based on the number of
                 employed DACA recipients, average annual wages,
                 and payroll taxes over the next 10 years. It limited its
                 projection to 10 years, but DACA recipients would not
                 have been eligible to retire in that timeframe due to
                 the DACA age requirements. This estimate is
                 misleading because its methodology focuses only on
                 income and ignores the expenses on Social Security
                 that DACA recipients will impose on the Social
                 Security Trust Fund in the future. Moreover, lower
                 income workers, such as most of those benefitted by
                 DACA, will receive disproportionately greater benefits
                 relative to taxes paid than will higher income workers,
                 causing a significant net drain on trust funds.7 The


                 7
                    An illegal alien born in 1995, granted lawful status under
                 DACA, who fell into the “low earnings” tier (career average
                 earnings equal to $22,215) would receive annual Social Security
                 benefits of $12,276 in wage-indexed 2017 dollars. On the other
                 hand, a U.S. citizen born the same year in the “high earnings” tier
                 (career average earnings equal to $78,985) would pay 3.5 times
                 the taxes paid by the low income worker, but would receive
                 annual Social Security benefits of $26,802 — only 2.2 times the
                 benefits paid to the low income worker. See Office of the Chief
                 Actuary, Social Security Administration, Actuarial Note No.
                 2017.9 (July 2017), “Replacement Rates for Hypothetical Retired




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                 court’s decision also ignores the drain from the DACA
                 recipients who may qualify for disability benefits
                 before retirement.8

                     The court’s assertion about the high cost of
                 rescinding DACA is in error. Actually, it is DACA
                 itself — not the rescission of DACA — that should by
                 logic have an adverse effect on the federal budget.
                 Looking at just one federal program, persons granted
                 “lawful status” under DACA are no longer barred from
                 receiving Social Security Disability Insurance and
                 Retirement benefits.9 8 U.S.C. § 1611(b)(2)-(3).10


                 Workers,” Table C.
                 8
                   See Congressional Research Service, “Social Security Benefits
                 for Noncitizens” (Nov. 17, 2016) at 9.
                 9
                    The U.S. District Court for the Southern District of Texas
                 recently confirmed that:
                         unlawfully present aliens would normally be
                         barred from receiving Social Security retirement
                         benefits, Social Security disability benefits, and
                         health insurance under Part A of the Medicare
                         program because these are federal public benefits.
                         DACA, however, by making its recipients lawfully
                         present, removes an otherwise insurmountable
                         roadblock to their receipt of Social Security,
                         Medicare, and other benefits.        [Texas, 328
                         F.Supp.3d at 675.]
                 10
                    The Social Security Board of Trustees 2018 Annual Report
                 anticipates the rescission of DACA will have a negligible impact
                 on the long-term health of the Social Security system — certainly
                 not the significant losses assumed by the New York District
                 Court. See 2018 Annual Report of the Trustees (June 5, 2018) at
                 37, https://www.ssa.gov/OACT/TR/2018/ tr2018.pdf.




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                      Even without the addition of DACA beneficiaries
                 to the disability rolls, the trust funds from which those
                 benefits are generally paid face a seriously troubled
                 financial future. See id. at 2-3. Decisions that would
                 grow the future liabilities of the United States should
                 be left to the branch with the power of the purse.
                 Congress has developed a nuanced system of
                 entitlement programs and immigration controls,
                 including the payment of benefits only to certain
                 persons. DACA upends that system, usurping the
                 power of the purse from Congress and imposing new
                 and untold liabilities on the United States, putting
                 older Americans at increased financial risk, in ways
                 that Congress to date has refused to sanction.

                                    CONCLUSION

                     For the foregoing reasons, the Petitions for Writs
                 of Certiorari should be granted, and the parties
                 directed to brief the two additional issues identified
                 herein.

                                                   Respectfully submitted,

                 JOSEPH W. MILLER                  WILLIAM J. OLSON*
                   RESTORING LIBERTY               HERBERT W. TITUS
                   ACTION COMMITTEE                JEREMIAH L. MORGAN
                   Fairbanks, AK 99708             ROBERT J. OLSON
                 Attorney for Amicus Curiae         WILLIAM J. OLSON, P.C.
                   RLAC                             370 Maple Ave. W., Ste. 4
                                                    Vienna, VA 22180
                                                    (703) 356-5070
                                                    wjo@mindspring.com
                 December 6, 2018                  Attorneys for Amici Curiae
                                                   *Counsel of Record




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                                         No. 18-587


                In the Supreme Court of the United States

                       DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                                      Petitioners,

                                                 v.

                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                                   Respondents.


                         ON PETITION FOR A WRIT OF CERTIORARI
                        TO THE UNITED STATES COURT OF APPEALS
                                   FOR THE NINTH CIRCUIT



                BRIEF IN OPPOSITION FOR THE STATES OF CALIFORNIA,
                         MAINE, MARYLAND, AND MINNESOTA


               XAVIER BECERRA                     MICHAEL J. MONGAN*
                Attorney General of California      Deputy Solicitor General
               EDWARD C. DUMONT                   SAMUEL P. SIEGEL
                Solicitor General                   Associate Deputy Solicitor
               MICHAEL L. NEWMAN                     General
                Senior Assistant Attorney         STATE OF CALIFORNIA
                 General                          DEPARTMENT OF JUSTICE
                                                  455 Golden Gate Avenue
                                                  San Francisco, CA 94102
                                                  (415) 510-3920
                                                  Michael.Mongan@doj.ca.gov
                                                  *Counsel of Record

                             (Additional counsel on signature page)


               December 17, 2018




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                              QUESTION PRESENTED
                      Whether the district court erred by (i) holding that
                 respondents’ claims are subject to judicial review,
                 (ii) entering a preliminary injunction partially sus-
                 pending petitioners’ termination of the Deferred
                 Action for Childhood Arrivals program, and (iii) deny-
                 ing in part petitioners’ motion to dismiss.




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                                   INTRODUCTION
                     This case involves hundreds of thousands of young
                 people who were brought to this country as children.
                 Many of them have never known any other home. All
                 of them currently receive provisional protection from
                 removal from the United States, authorization to work
                 legally, and other benefits through the Deferred
                 Action for Childhood Arrivals (DACA) program. In
                 September 2017, petitioners announced that they
                 were terminating that program on the ground that it
                 would be unlawful to maintain it. Respondents chal-
                 lenged that decision, and the district court entered a
                 preliminary injunction partially preserving the status
                 quo pending resolution of the litigation. The court of
                 appeals has now affirmed the entry of that prelimi-
                 nary injunction. Similar litigation is pending in other
                 circuits.
                     Petitioners argue that their decision to terminate
                 DACA is not subject to judicial review at all, and in
                 any event that they correctly concluded that the pro-
                 gram is unlawful. As to the threshold reviewability
                 issues, every court that has considered petitioners’
                 arguments has rejected them. As to the merits, three
                 district courts, and now the court of appeals in this
                 case, have held that petitioners’ decision to terminate
                 DACA cannot be sustained on the theory of illegality
                 that they have proffered. Petitioners identify no good
                 reason for this Court to reach out to review those con-
                 clusions at this time—in an interlocutory posture,
                 with no present circuit conflict, and before other courts
                 of appeals have had the chance to consider the similar
                 cases already pending before them.




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                                     STATEMENT
                     1. Deferred action is a “regular practice” under fed-
                 eral immigration law, involving a decision that “no ac-
                 tion will thereafter be taken to proceed against an
                 apparently deportable alien.” Reno v. Am.-Arab Anti-
                 Discrimination Comm., 525 U.S. 471, 484 (1999)
                 (AADC). It has been recognized by Congress and by
                 this Court. See, e.g., 8 U.S.C. § 1227(d)(2); AADC, 525
                 U.S. at 484. Recipients of deferred action may apply
                 for work authorization and receive other benefits. See,
                 e.g., 8 C.F.R. § 274a.12(c)(14) (work authorization); id.
                 § 214.14(d)(3) (no accrual of “unlawful presence” for
                 purposes of re-entry bars).
                     Established in 2012, the DACA program applies to
                 “certain young people who were brought to this coun-
                 try as children and know only this country as home.”
                 Pet. App. 97a-98a; see id. at 98a (listing criteria). It
                 recognizes that immigration laws are not “designed to
                 remove productive young people to countries where
                 they may not have lived or even speak the language.”
                 Id. at 99a. DACA provides a channel and framework
                 for individualized deferred action decisions for eligible
                 individuals, who may receive provisional protection
                 from removal for renewable two-year periods, obtain
                 permission for foreign travel (“advance parole”), and
                 enjoy other benefits associated with deferred action.
                 Id. at 11a-12a. In September 2017 there were nearly
                 700,000 active DACA beneficiaries, with an average
                 age of just under 24 years old. Id. at 13a. More than
                 90 percent of DACA recipients are employed, and 45
                 percent are in school. Id.
                    In 2014, the Office of Legal Counsel at the U.S.
                 Department of Justice memorialized its advice that a
                 general program such as DACA was legally sound so
                 long as immigration officials “retained discretion to




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                 evaluate [its] application on an individualized basis.”
                 D.Ct. Dkt. 64-1 at 21 n.8.1 Until recently, Executive
                 Branch lawyers likewise argued consistently that
                 DACA was “a valid exercise of the Secretary’s broad
                 authority and discretion to set policies for enforcing
                 the immigration laws, which includes according
                 deferred action and work authorization to certain
                 aliens who, in light of real-world resource constraints
                 and weighty humanitarian concerns, warrant deferral
                 rather than removal.” E.g., U.S. Br. 1, Ariz. Dream
                 Act Coal. v. Brewer, 9th Cir. No. 15-15307, Dkt. 62
                 (filed Aug. 28, 2015).
                    In Texas v. United States, 809 F.3d 134 (5th Cir.
                 2015), the Fifth Circuit affirmed a preliminary injunc-
                 tion that forestalled the implementation of a different
                 program, Deferred Action for Parents of Americans
                 and Lawful Permanent Residents (DAPA), along with
                 some intended expansions of the DACA program. This
                 Court affirmed that decision by an equally divided
                 vote. United States v. Texas, 136 S. Ct. 2271 (2016)
                 (per curiam). But the preliminary injunction at issue
                 in Texas did not affect the original DACA program.
                     After the change in federal administrations in Jan-
                 uary 2017, the new administration initially preserved
                 the DACA program and continued to solicit and accept
                 new and renewal applications for DACA status. See
                 Pet. App. 16a. The President indicated that the “pol-
                 icy of [his] administration [was] to allow the dreamers
                 [i.e., DACA recipients] to stay.” D.Ct. Dkt. 121-1 at
                 285. In June 2017, Attorneys General from Texas and
                 other States threatened to amend their complaint in


                 1 Citations to “D.Ct. Dkt.” are to the docket in N.D. Cal. Case No.

                 17-cv-5211.




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                 the still-pending DAPA litigation to include a chal-
                 lenge to the DACA program. Supp. App. 18a. On Sep-
                 tember 4, 2017, then-Attorney General Jefferson
                 Sessions sent a one-page letter advising then-Acting
                 Secretary of Homeland Security Elaine Duke that her
                 Department should terminate DACA because it “was
                 an unconstitutional exercise of authority by the Exec-
                 utive Branch.” D.Ct. Dkt. 64-1 at 251. The letter
                 stated summarily that DACA “has the same legal and
                 constitutional defects that . . . courts recognized as to”
                 DAPA, and asserted that “it is likely that potentially
                 imminent litigation would yield similar results with
                 respect to DACA.” Id.
                     The next day, the Acting Secretary issued a mem-
                 orandum formally rescinding the program. Pet. App.
                 111a-119a. Her stated reason was that “[t]aking into
                 consideration the Supreme Court’s and the Fifth Cir-
                 cuit’s rulings in the ongoing [DAPA] litigation, and the
                 September 4, 2017 letter from the Attorney General,
                 it is clear that the June 15, 2012 DACA program
                 should be terminated.” Id. at 117a. She instructed
                 her Department to stop accepting new DACA applica-
                 tions immediately, and to stop accepting all renewal
                 applications on October 5, 2017. See id. at 117a-118a.
                    2. The complaints in the five cases addressed to-
                 gether in the decision below allege, among other
                 things, that petitioners’ termination of DACA was
                 arbitrary, capricious, or otherwise not in accordance
                 with law and thus invalid under the Administrative
                 Procedure Act, 5 U.S.C. § 706(2)(A). On January 9,
                 2018, the district court largely denied petitioners’




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                 motion to dismiss on threshold grounds and granted a
                 limited preliminary injunction. Pet. App. 1a-70a.2
                     The court first considered petitioners’ threshold
                 reviewability defenses. Pet. App. 26a-33a. It rejected
                 the argument that the decision to terminate DACA
                 was “committed to agency discretion by law” under
                 5 U.S.C. § 701(a)(2), id. at 26a-30a, and held that
                 8 U.S.C. § 1252(g) did not strip it of jurisdiction to
                 hear the case, id. at 30a-33a. It certified both rulings
                 for interlocutory appeal. Id. at 70a.3
                    Turning to the motion for a preliminary injunction,
                 the district court held that respondents were likely to
                 succeed on their APA claim that petitioners’ Septem-
                 ber 2017 decision to rescind DACA must be set aside.
                 Pet. App. 41a-62a. It found no support for petitioners’
                 assertion that maintaining the program was beyond
                 the authority of the Department of Homeland Security
                 or the Executive Branch. Id. at 47a. In response to
                 petitioners’ reliance on decisions in the Texas litiga-
                 tion over the DAPA program (id. at 50a), the district
                 court noted significant differences between the two
                 programs (id. at 51a-54a) and concluded that the
                 “DAPA litigation was not a death knell for DACA” (id.
                 at 54a).


                 2 As the Court is aware from prior proceedings, the parties have

                 vigorously disputed both the adequacy of the putative adminis-
                 trative record proffered by petitioners and certain discovery
                 issues. See In re United States, 138 S. Ct. 443 (2017) (per curiam).
                 Currently, the district court has stayed discovery and postponed
                 petitioners’ obligation to complete the administrative record
                 pending appellate review of petitioners’ threshold defenses.
                 3 The district court likewise rejected most of petitioners’ argu-

                 ments regarding Article III and prudential standing. Pet. App.
                 33a-41a. Petitioners do not renew those arguments here.




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                     The court rejected petitioners’ alternative argu-
                 ment that the decision to end DACA was “a reasonable
                 judgment call involving management of litigation risk
                 and agency resources,” Pet. App. 55a, as a post hoc jus-
                 tification proffered by counsel, id. at 56a-57a. In any
                 event, the court concluded that any such reasoning
                 was unlikely to withstand APA review. See id. at 57a-
                 62a. Among other things, the rescission memorandum
                 and the administrative record revealed no considera-
                 tion of “the differences between DAPA and DACA that
                 might have led to a different result” (id. at 57a); no
                 consideration of possible defenses to a suit challenging
                 DACA (id. at 57a-58a); and no comparative assess-
                 ment of the human and other costs of terminating or
                 maintaining DACA (id. at 60a).
                     The court held that the remaining factors of the
                 preliminary injunction test also favored provisional
                 relief. Pet. App. 62a-66a. Respondents were “likely to
                 suffer serious irreparable harm absent an injunction,”
                 with individual respondents losing their work author-
                 ization and suffering other hardships and the States
                 losing “valuable students and employees in whom they
                 have invested.” Id. at 62a. For similar reasons, a pre-
                 liminary injunction would serve the public interest.
                 Id. at 65a. The court reasoned that the threatened
                 harms to respondents and the public substantially
                 outweighed the only hardship asserted by petitioners,
                 which was “interference with the agency’s judgment”
                 on whether to keep DACA in place while the issues
                 were litigated to final judgment. Id.
                    Accordingly, the district court entered a prelimi-
                 nary injunction partially preserving the status quo for
                 individuals who had already received deferred action.
                 As to those existing recipients, the court required
                 petitioners “to maintain the DACA program on a




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                 nationwide basis on the same terms and conditions as
                 were in effect before the rescission on September 5,
                 2017, including allowing DACA enrollees to renew
                 their enrollments.” Pet. App. 66a. It made clear, how-
                 ever, that pending the completion of litigation and en-
                 try of final judgment petitioners were not required to
                 process new applications from individuals who had
                 never before received deferred action; that the “ad-
                 vance parole” feature of DACA “need not be continued
                 for the time being for anyone”; and that petitioners
                 could “take administrative steps to make sure fair dis-
                 cretion is exercised on an individualized basis for each
                 renewal application.” Id. at 66a. It also emphasized
                 that the Department of Homeland Security may “pro-
                 ceed[] to remove any individual, including any DACA
                 enrollee, who it determines poses a risk to national
                 security or public safety, or otherwise deserves, in its
                 judgment, to be removed.” Id.
                     In a separate order, the district court ruled on
                 petitioners’ motion to dismiss various claims under
                 Rule 12(b)(6). Pet. App. 71a-90a. The court dismissed
                 claims that the rescission of DACA should have been
                 accomplished through notice-and-comment rulemak-
                 ing and related claims under the Regulatory Flexibil-
                 ity Act (id. at 72a-75a); due process claims regarding
                 the rescission of DACA (id. at 75a-79a); claims based
                 on equitable estoppel (id. at 81a-83a); and certain
                 equal protection claims (id. at 87a). It denied the
                 motion to dismiss with respect to the claims that the
                 rescission was arbitrary, capricious, or otherwise
                 unlawful (id. at 72a); due process claims based on
                 changes in DHS’s policies regarding the sharing of
                 information provided by DACA recipients (id. at 79a-
                 81a); and equal protection claims alleging discrimina-
                 tory animus (id. at 83a-87a). The court again certified




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                 several of its rulings for interlocutory appeal. See id.
                 at 89a.
                    Petitioners did not seek a stay of any of these
                 orders. They did file a petition for certiorari before
                 judgment in this Court at the same time that they filed
                 their regular appeals. This Court denied that petition
                 on February 26, 2018. See 138 S. Ct. 1182 (No. 17-
                 1003).
                     3. The court of appeals affirmed. Supp. App. 1a-
                 78a. It first addressed whether petitioners’ decision to
                 terminate DACA was unreviewable as a matter “com-
                 mitted to agency discretion by law.”           5 U.S.C.
                 § 701(a)(2). See Supp. App. 23a-42a. The court care-
                 fully considered this Court’s decision in Heckler v.
                 Chaney, 470 U.S. 821 (1985), which applied Section
                 701(a)(2) to create a presumption of unreviewability
                 for “‘agency refusals to institute investigative or
                 enforcement proceedings.’”        Id. at 25a (quoting
                 Chaney, 470 U.S. at 838). Although the court noted
                 that “a literal reading of Chaney’s language” relating
                 to decisions not to undertake specific enforcement pro-
                 ceedings “would not even encompass the decision to
                 rescind DACA,” for purposes of this case it assumed
                 that Chaney could be read more broadly. Id. at 34a-
                 35a n.13. It concluded, however, that “an agency’s
                 nonenforcement decision is outside the scope of the
                 Chaney presumption—and is therefore presumptively
                 reviewable—if it is based solely on a belief that the
                 agency lacked the lawful authority to do otherwise.”
                 Id. at 29a; see id. at 23a-34a. The court further agreed
                 with the district court that, in light of the record in
                 this case, “the Acting Secretary based the rescission of
                 DACA solely on a belief that DACA was beyond the
                 authority of DHS.” Id. at 41a. That proffered basis for




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                 the decision “brings [it] within the realm of agency
                 actions reviewable under the APA.” Id. at 42a.
                     The court also rejected petitioners’ second thresh-
                 old argument, that 8 U.S.C. § 1252(g) stripped the dis-
                 trict court of jurisdiction to hear this case. Supp. App.
                 42a-45a. It relied on this Court’s holding in AADC
                 that Section 1252(g) “applies only to three discrete
                 actions that the Secretary may take: her decision or
                 action to commence proceedings, adjudicate cases, or
                 execute removal orders.” Id. at 42a (internal quotation
                 marks and alteration omitted). Petitioners’ rescission
                 of DACA does not fit into any of these categories of dis-
                 crete actions. Id. at 43a-44a. Moreover, nothing in
                 AADC suggests that Section 1252(g) would apply to a
                 “programmatic shift” in a deferred-action policy, such
                 as the DACA rescission. Id. at 43a.
                    Turning to the preliminary injunction, the court of
                 appeals noted that petitioners “take[] issue with the
                 district court’s conclusion on only one of the prelimi-
                 nary injunction factors: the likelihood of success on
                 the merits.” Supp. App. 46a. Because an agency
                 action “based solely on an erroneous legal premise . . .
                 must be set aside,” id. at 47a (discussing SEC v.
                 Chenery Corp., 318 U.S. 80 (1943) (Chenery I )), the
                 court examined petitioners’ stated conclusion that
                 DACA is unlawful. In view of the Executive Branch’s
                 broad authority over immigration enforcement policy
                 and priorities and the longstanding practice of using
                 deferred action on a programmatic basis, the court
                 concluded “that DACA was a permissible exercise of
                 executive discretion.” Id. at 56a; see id. at 47a-57a.
                    The court acknowledged petitioners’ heavy reliance
                 on the Fifth Circuit’s preliminary assessment of the
                 legality of DAPA in Texas v. United States, 809 F.3d
                 134 (5th Cir. 2015). See Supp. App. 49a. Exploring




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                 the reasoning in that case, however, the court con-
                 cluded that “the analysis that seemingly compelled
                 the result in Texas” was “inapposite” here. Id. at 57a.
                 The court emphasized that it was “not hold[ing] that
                 DACA could not be rescinded as an exercise of Execu-
                 tive Branch discretion.” Id. But petitioners’ decision
                 to rescind it “based on an erroneous view of what the
                 law required” was “arbitrary and capricious under set-
                 tled law.” Id.
                     The court also held that the district court did not
                 abuse its discretion by entering a nationwide injunc-
                 tion in the circumstances of this case. Supp. App. 60a.
                 In particular, nationwide “relief is commonplace in
                 APA cases, promotes uniformity in immigration en-
                 forcement, and is necessary to provide the plaintiffs
                 here with complete redress.” Id.
                    Finally, the court of appeals affirmed the district
                 court’s ruling on petitioners’ motion to dismiss. Supp.
                 App. 61a-77a. As relevant here, the court agreed that
                 respondents had plausibly stated a due process claim
                 with respect to petitioners’ changes to their policies
                 governing the use of the sensitive information pro-
                 vided by DACA recipients, id. at 68a-73a, and an equal
                 protection claim alleging that the rescission of DACA
                 “disproportionately affected Latinos and individuals of
                 Mexican descent and was motivated by discriminatory
                 animus,” id. at 73a.
                    Judge Owens concurred in the judgment. Supp.
                 App. 79a-87a. He would have held that petitioners’
                 decision to terminate DACA was the sort of discretion-
                 ary non-enforcement decision that is insulated from
                 normal APA review under 5 U.S.C. § 702(a)(1) and
                 Chaney. Id. at 79a-84a. But he agreed that the pre-
                 liminary injunction should be affirmed, at least pend-
                 ing further proceedings in the district court, because




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                 the equal protection claim based on discriminatory an-
                 imus had “some ‘likelihood of success on the merits,’”
                 id. at 79a, and “the balance of equities here weighs
                 heavily in favor of ” provisional relief, id. at 86a.
                    4. As this litigation has proceeded, courts in other
                 jurisdictions have also considered the legality of peti-
                 tioners’ decision to terminate DACA or the legality of
                 the underlying program.
                    a. In the Eastern District of New York, the district
                 court entered a preliminary injunction that is co-ex-
                 tensive with the one affirmed below. Batalla Vidal v.
                 Nielsen, 279 F. Supp. 3d 401 (2018). The court rea-
                 soned that the asserted basis for the decision to termi-
                 nate DACA was inadequately explained and rested on
                 a premise that was legally and factually flawed. See
                 18-589 Pet. App. 62a, 67a-69a, 90a-119a (Batalla
                 Vidal App.). Petitioners did not seek a stay of that
                 order, which is currently on appeal before the Second
                 Circuit, with oral argument scheduled for January
                 2019. Petitioners seek certiorari before judgment in
                 that case in No. 18-589.
                    b. In the District of Columbia, the district court
                 entered a final judgment vacating the decision to ter-
                 minate DACA. NAACP v. Trump, 298 F. Supp. 3d 209
                 (2018); see 18-588 Pet. App. 1a-74a (NAACP App.). It
                 reasoned that the termination decision “was predi-
                 cated primarily on [a] legal judgment that the pro-
                 gram was unlawful.” NAACP App. 73a. But that legal
                 judgment could not support the agency’s action be-
                 cause it was “virtually unexplained.” Id. The district
                 court temporarily stayed its final judgment to afford
                 the agency an opportunity to “reissue a memorandum
                 rescinding DACA, this time providing a fuller expla-
                 nation for the determination that the program lacks
                 statutory and constitutional authority.” Id. at 66a.




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                    Two months later, petitioners submitted a new
                 memorandum from the current Secretary of Home-
                 land Security, Kirstjen Nielsen. Pet. App. 120a-126a.
                 The Nielsen memorandum “decline[s] to disturb the
                 Duke memorandum’s rescission of the DACA policy,”
                 but offers Secretary Nielsen’s “understanding of the
                 Duke memorandum and why the decision to rescind
                 the DACA policy was, and remains, sound.” Id. at
                 121a; see Pet. 13. After reviewing the Nielsen memo-
                 randum, the D.C. district court held that the memo-
                 randum “fails to elaborate meaningfully on the
                 agency’s primary rationale for its decision.” NAACP
                 App. 81a. As to “several additional ‘policy’ grounds for
                 DACA’s rescission,” the court concluded that most
                 “simply repackage legal arguments previously made,”
                 while one was “articulated nowhere in DHS’s prior
                 explanation for its decision, and therefore cannot sup-
                 port that decision now.” Id. at 81a-82a; see id. at 95a-
                 103a.
                     The D.C. district court accordingly adhered to its
                 original final judgment. NAACP App. 108a-109a. But
                 it partially stayed its order vacating the rescission of
                 DACA pending appeal, to the extent that the order
                 would provide relief beyond that granted by the pre-
                 liminary injunctions in place in this case and in Ba-
                 talla Vidal. See NAACP Pet. 13. Petitioners’ appeal
                 is pending in the D.C. Circuit and briefing is scheduled
                 to be completed in January 2019. Petitioners seek cer-
                 tiorari before judgment in that case in No. 18-588.
                     c. In the District of Maryland, the district court
                 held that a similar challenge to the termination of
                 DACA was reviewable (rejecting petitioners’ threshold
                 arguments to the contrary), but dismissed the claims
                 in substantial part on the merits. Casa de Md. v. Dep’t
                 of Homeland Sec., 284 F. Supp. 3d 758 (2018). The




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                 plaintiffs’ appeal of that decision was argued before
                 the Fourth Circuit on December 11. Petitioners have
                 not sought certiorari before judgment in that case.
                    d. In the Southern District of Texas, Texas and
                 other States have challenged the legality of the DACA
                 program. The district court denied the plaintiff States’
                 motion for a preliminary injunction. Texas v. United
                 States, 328 F. Supp. 3d 662, 743 (2018). It reasoned
                 that the plaintiff States were likely to succeed on the
                 merits, but that they could not establish a right to pre-
                 liminary equitable relief under the circumstances of
                 the case. Id. at 712-742. The plaintiff States did not
                 appeal the denial of preliminary relief. The district
                 court recently set a November 2019 deadline for dis-
                 positive motions and scheduled a two-week trial for
                 May 2020.
                                     ARGUMENT
                    Petitioners filed their second petition for certiorari
                 before judgment in this case on November 5. They
                 have since proposed that the Court treat that petition
                 as one seeking review of the decision entered by the
                 court of appeals on November 8. See Supp. Br. 9. The
                 State respondents have no objection to that proposal.
                 There is, however, no reason for review at this time.
                 I. THERE IS NO NEED FOR “PROMPT INTERVEN-
                    TION” BY THIS COURT

                     The preliminary injunction in this case partially
                 preserves the status quo for a carefully defined group
                 of young people who were brought to this country as
                 children, are law-abiding and productive residents,
                 and in many cases know no other home. See generally
                 Supp. App. 14a-15a. The case is in an interlocutory
                 posture; there is no present conflict on the questions
                 petitioners seek to present; and three other courts of




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                 appeals are already poised to consider the same ques-
                 tions, including in one case on an appeal from a final
                 judgment. In any ordinary case these circumstances
                 would counsel strongly in favor of denying certiorari
                 at this time.
                     Petitioners argue that this case instead demands
                 “prompt intervention” (Pet. 15), but they cannot
                 explain why that is so. They do not need this Court to
                 enable them to take any urgent action to protect the
                 public. By its terms, the preliminary injunction here
                 allows them to initiate removal proceedings against
                 any individual DACA recipient in the unlikely event
                 that they perceive a need to do so. Pet. App. 66a. And
                 they have never identified any other pressing action
                 that they are barred from taking while this litigation
                 proceeds.     For that matter, the President has
                 expressed disbelief that “anybody [would] really want
                 to throw out good, educated and accomplished young
                 people who have jobs, some serving in the military[.]”
                 Id. at 64a-65a.
                     Although petitioners show no need to take any par-
                 ticular blocked action, they allege a sort of dignitary
                 injury in being temporarily forced to continue in part
                 a program that they characterize as “sanctioning an
                 ongoing violation of federal immigration law by nearly
                 700,000 aliens.” Pet. 14; see id. at 33. They suggest
                 that they need immediate review by this Court to pro-
                 tect their ability to exercise discretion in “[e]stablish-
                 ing national immigration enforcement policies and
                 priorities.” 6 U.S.C. § 202(5); see, e.g., Pet. I, 3, 18-20.
                 But these are curious arguments in the context of this
                 case.
                    For all their rhetorical emphasis on Executive
                 Branch discretion, see, e.g., Pet. I, 14, 16-17, 19, 23, 33-




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                 34, petitioners did not explain their decision to termi-
                 nate DACA by saying that they had concluded, as a
                 matter of policy discretion, that the program is a bad
                 idea.4 Their memorandum rescinding DACA instead
                 declared that petitioners could not continue the pro-
                 gram because it was unlawful. Much of the decision
                 below hinges on that point, both as to reviewability
                 and on the merits. The court of appeals emphasized,
                 for example, that it “d[id] not hold that DACA could
                 not be rescinded as an exercise of Executive Branch
                 discretion.” Supp. App. 57a. It held only that the
                 rescission could not be sustained on the illegality the-
                 ory that petitioners proffered to support it. Id. De-
                 spite some hedging for purposes of litigation, the same
                 assertion of illegality remains the core of petitioners’
                 position in this Court. See, e.g., Pet. I, 14, 16, 24-26,
                 28-30.
                    Thus, petitioners do not actually seek a ruling from
                 this Court to protect their ability to exercise discre-
                 tion. What they seek is judicial endorsement of their
                 argument that they lack discretion to continue the
                 DACA program. It is not clear how that argument
                 serves any long-term interest of the Executive Branch.
                 What is clear is that there is no real need for “prompt
                 intervention” (Pet. 15) by this Court to address it.




                 4  On the contrary, even their present petition comes close to
                 endorsing the policy underlying the program. See Pet. 16 (pro-
                 fessing concern that this litigation will “impede efforts to enact
                 legislation addressing the legitimate policy concerns underlying
                 the DACA policy”); id. at 34 (complaining that petitioners have
                 been required to maintain DACA during this litigation, “even
                 while efforts by the President and others to provide a sound legal
                 basis for the policy through the legislative process have failed”).




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                    Indeed, petitioners’ own actions help make that
                 point. They have never tried to make a case for emer-
                 gency relief from the preliminary injunctions in this or
                 related cases, as they have in some other litigation.
                 See, e.g., East Bay Sanctuary Covenant v. Trump, ___
                 F.3d. ____, 2018 WL 6428204 (9th Cir. Dec. 7, 2018)
                 (denying motion for stay). Nor have they withdrawn
                 their termination of DACA based on the program’s
                 purported illegality and then sought to take the same
                 action on different grounds. Compare Trump v. Int’l
                 Refugee Assistance Project, 137 S. Ct. 2080, 2083
                 (2017) (IRAP). Indeed, when one district court
                 expressly invited petitioners to revisit the matter and
                 at least “better explain [their] view that DACA is
                 unlawful,” NAACP App. 74a, after 60 days they
                 merely “decline[d] to disturb” their original decision,
                 Pet. App. 121a, while offering “almost no meaningful
                 elaboration,” NAACP App. 104a.
                     Under these circumstances, there is no reason for
                 this Court to grant immediate review to address the
                 questions that petitioners seek to present. The status
                 quo under the decision below continues to provide lim-
                 ited but important protection to individual young peo-
                 ple as they pursue their lives in this country. The only
                 result of a “timely and definitive” ruling by this Court
                 (Pet. 34) would be either vindication or rejection of
                 petitioners’ legal positions on reviewability and on
                 their putative lack of discretion to continue DACA.
                 The State respondents are, of course, prepared to con-
                 tinue litigating those questions if the Court wishes to
                 address them now. But in the absence of any real
                 urgency or any present conflict, the better course
                 would be to allow further consideration of the issues
                 by the lower courts.




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                 II. PETITIONERS’ MERITS ARGUMENTS PROVIDE
                     NO REASON FOR REVIEW
                    Nothing in petitioners’ lengthy discussion of the
                 merits (see Pet. 17-32) establishes any reason for
                 review in this case at this time.
                    A. Reviewability
                     Petitioners first argue (Pet. 17-22) that their deci-
                 sion to terminate DACA is not subject to judicial
                 review in this case at all, citing the channeling rule for
                 individual removal challenges under 8 U.S.C.
                 § 1252(g) and the “committed to agency discretion by
                 law” provision of 5 U.S.C. § 701(a)(2). Five federal
                 courts, including the court of appeals below, have now
                 rejected these arguments in this precise context.
                 Supp. App. 23a-45a (decision below); Pet. App. 26a-
                 33a (district court below); Batalla Vidal App. 24a-39a
                 (E.D.N.Y); NAACP App. 19a-21a, 25a-43a (D.D.C.);
                 Casa de Md. v. Dep’t of Homeland Sec., 284 F. Supp.
                 3d 758, 769-770 (D. Md. 2018); cf. Texas v. United
                 States, 809 F.3d 134, 163-170 (5th Cir. 2015). In the
                 absence of any conflicting decision, there is no reason
                 for review.
                     1. Section 1252(g) can be addressed briefly. It
                 deals with judicial review of orders of removal, and
                 applies to “any cause or claim” brought “by or on
                 behalf of any alien arising from the decision or action”
                 by federal authorities “to commence proceedings,
                 adjudicate cases, or execute removal orders against
                 any alien[.]” 8 U.S.C. § 1252(g). To begin with, Sec-
                 tion 1252(g) cannot apply to claims advanced by the
                 States (or other entity respondents) in this case.
                 Those claims are brought on behalf of the entity plain-
                 tiffs themselves, not “by or on behalf of any alien.”
                 8 U.S.C. § 1252(g); see Texas, 809 F.3d at 164; Batalla
                 Vidal App. 38a-39a.




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                     In any event, Section 1252(g) by its terms “applies
                 only to three discrete actions”: a “‘decision or action’
                 to ‘commence proceedings, adjudicate cases, or execute
                 removal orders.’” Reno v. American-Arab Anti-Dis-
                 crimination Committee, 525 U.S. 471, 482 (1999)
                 (AADC) (emphasis omitted). Petitioners’ decision to
                 terminate DACA is not any of those actions. See Supp.
                 App. 42a-45a. And contrary to petitioners’ suggestion
                 (Pet. 21-22), AADC’s observation that Section 1252(g)
                 is “designed to give some measure of protection to ‘no
                 deferred action’ decisions,” 525 U.S. at 485, addresses
                 “litigation over individual ‘no deferred action’ deci-
                 sions,” Supp. App. 43a—that is, decisions that were
                 part of the determination “to commence proceedings”
                 against a particular individual. That observation has
                 no application to “a programmatic shift like the DACA
                 rescission.” Id. No court of appeals—indeed, no
                 court—has held otherwise.5
                     2. Section 701(a)(2) prohibits judicial review of
                 agency actions that are “committed to agency discre-
                 tion by law.” This Court has “read the exception in
                 § 701(a)(2) quite narrowly,” to give effect to the normal
                 “strong presumption favoring judicial review.” Weyer-
                 haeuser Co. v. U.S. Fish & Wildlife Serv., No. 17-71,
                 slip op. 11, 12 (Nov. 27, 2018). In Heckler v. Chaney,
                 470 U.S. 821, 823, 832 (1985), this Court held that the
                 “decision of an administrative agency to exercise its
                 ‘discretion’ not to undertake certain enforcement ac-
                 tions” was traditionally committed to agency discre-
                 tion, and should be treated as “presumptively

                 5 Petitioners also invoke Section 1252(b)(9). Pet. 22. But that
                 provision applies only to claims “arising from an[ ] action taken
                 or proceeding brought to remove an alien.” 8 U.S.C. § 1252(b)(9).
                 This case does not involve any such action or proceeding. See
                 Supp. App. 45a n.19.




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                 unreviewable” under Section 701(a)(2). Petitioners
                 argue that their decision to terminate the DACA pro-
                 gram “falls comfortably” under Chaney. Pet. 18; see
                 id. at 17-21. But that is not correct, for at least two
                 reasons.
                     a. First, the decision at issue here is not the type
                 of decision addressed by Chaney. As the district courts
                 in this case and Batalla Vidal have recognized, the
                 action challenged here is a wholesale termination of a
                 general program designed to channel and guide indi-
                 vidual deferred action decisions with respect to a
                 broad class of potential recipients. Chaney’s presump-
                 tion against review does not apply to that kind of de-
                 cision. Pet. App. 26a-30a; Batalla Vidal App. 28a-31a.
                 Nor does the termination decision fall into any other
                 category of actions that courts have “traditionally re-
                 garded as committed to agency discretion.” Lincoln v.
                 Vigil, 508 U.S. 182, 192 (1993); see Weyerhaeuser, slip
                 op. 12; Pet. 17-18. Accordingly, the decision is subject
                 to the normal strong presumption in favor of review.
                     b. In any event, Chaney “explicitly left open the
                 question whether ‘a refusal by the agency to institute
                 proceedings based solely on the belief that it lacks
                 jurisdiction’ might be reviewable.” Supp. App. 25a
                 (quoting Chaney, 470 U.S. at 833 n.4). Here, the court
                 of appeals assumed (without deciding) that petition-
                 ers’ termination of DACA fell within the general “non-
                 enforcement” rule of Chaney. Id. at 34a n.13. It then
                 explained why the action was still reviewable, because
                 it was based “solely on a belief that DACA was beyond
                 the authority of DHS.” Id. at 41a; see id. at 34a-42a.
                 That analysis is consistent with this Court’s cases and
                 with fundamental principles of administrative law.
                     As the court of appeals explained, many years ago
                 it considered the question reserved in Chaney and held




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                 “that Chaney’s presumption of nonreviewability ‘may
                 be overcome if the refusal is based solely on the erro-
                 neous belief that the agency lacks jurisdiction.’” Supp.
                 App. 27a (quoting Montana Air Chapter No. 29 v.
                 FLRA, 898 F.2d 753, 754 (9th Cir. 1990)). More
                 recently, this Court has made clear that an agency’s
                 reasoning about “the scope of [its] statutory authority”
                 is the same as a conclusion about “its jurisdiction.”
                 City of Arlington v. FCC, 569 U.S. 290, 296-297 (2013);
                 see id. at 299; Supp. App. 27a-29a; NAACP App. 37a.
                 Accordingly, when an “agency’s decision is based not
                 on an exercise of discretion, but instead on a belief that
                 any alternative choice was foreclosed by law,” Section
                 701(a)(2) “does not apply.” Supp. App. 29a.
                     That rule makes sense. Section 701(a)(2) excludes
                 from ordinary judicial review only decisions that are
                 “committed to agency discretion by law.” When an
                 agency makes a decision on the professed basis that it
                 lacks lawful authority to do otherwise, by definition it
                 is not exercising any discretion that has been commit-
                 ted to it by law. On the contrary, it is asserting that
                 the law has left it with no discretion. Such a pure
                 proposition of law is subject to “judicially manageable
                 standards” of review. Chaney, 470 U.S. at 830. And
                 judicial review of the agency’s conclusion about its
                 lack of authority does not encroach on any administra-
                 tive prerogative or discretion. If the agency’s legal
                 position is correct, its decision will stand. If not, judi-
                 cial correction of that legal error will empower the
                 agency to make whatever policy judgments Congress
                 intended to commit to its discretion, “free of [any] mis-
                 taken legal premise” regarding the scope of its author-
                 ity. Negusie v. Holder, 555 U.S. 511, 516 (2009); see
                 Supp. App. 31a.




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                     Petitioners contend (Pet. 20-21) that such a deci-
                 sion is nonetheless immune from review because of
                 ICC v. Brotherhood of Locomotive Engineers, 482 U.S.
                 270, 283 (1987) (BLE), which rejected the general
                 proposition that any time an “agency gives a ‘reviewa-
                 ble’ reason for otherwise unreviewable action, the
                 action becomes reviewable.” See also Supp. App. 82a-
                 84a (Owens, J., concurring in the judgment). But BLE
                 did not involve a non-enforcement decision subject to
                 Chaney, and there is no indication that the Court in
                 BLE intended to resolve—or even comment on—the
                 question reserved in Chaney concerning decisions
                 based on legal conclusions about agency authority.
                 The passage cited by petitioners observes that when
                 an agency makes a discretionary and traditionally un-
                 reviewable decision in a particular case (there, a dis-
                 cretionary refusal to re-open a prior proceeding to
                 consider a renewed merits argument), the decision
                 does not become reviewable simply because the agency
                 chooses to explain how it has exercised its discretion.
                 See BLE, 482 U.S. at 283. Nothing about that obser-
                 vation suggests that normal review should be pre-
                 cluded where an agency decision purports to rest on
                 the non-discretionary ground that a given action lies
                 beyond the agency’s statutory authority. See also
                 Supp. App. 29a-31a; NAACP App. 38a.
                     Indeed, judicial review in these circumstances
                 serves the critical function, central to administrative
                 law, of ensuring clear public accountability for govern-
                 ment actions. Supp. App. 31a-34a, 78a. When “an
                 agency justifies an action solely with an assertion that
                 the law prohibits any other course, it shifts responsi-
                 bility for the outcome from the Executive Branch to
                 Congress . . . or the courts.” Id. at 33a. If the agency
                 is wrong—and if its decision is treated as unreview-
                 able—“then it avoids democratic accountability for a




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                 choice that was the agency’s to make all along.” Id.
                 That result is antithetical to our system of judicial re-
                 view of agency action. See id. at 32a-34a; Newman v.
                 Apfel, 223 F.3d 937, 943 (9th Cir. 2000) (O’Scannlain,
                 J.) (“political accountability” is “the very premise of
                 administrative discretion in all its forms”). As the dis-
                 trict court in the NAACP case put it, “an official cannot
                 claim that the law ties her hands while at the same
                 time denying the courts’ power to unbind her. She
                 may escape political accountability or judicial review,
                 but not both.” NAACP App. 73a; see Supp. App. 33a-
                 34a.
                     Here, petitioners purported to base the decision to
                 terminate DACA on a legal conclusion that maintain-
                 ing the program is unlawful. See Pet. App. 116a-117a;
                 D.Ct. Dkt. 64-1 at 251; Pet. 14, 28. Although in litiga-
                 tion they sometimes seek to characterize the decision
                 as resting at least in part on more discretionary fac-
                 tors (such as “litigation risk”), see, e.g., Supp. App. 36a;
                 Pet. 33-34, most courts that have reviewed the record
                 have agreed with the court below that this amounts to
                 no more than “post-hoc rationalization,” Supp. App.
                 35a; see Pet. App. 55a-57a; Batalla Vidal App. 109a-
                 112a. In any event, any “litigation risk” rationale
                 would be “too closely bound up with [petitioners’] eval-
                 uation of DACA’s legality to trigger Chaney’s pre-
                 sumption of unreviewability.” NAACP App. 41a, 42a;
                 cf. Supp. App. 35a n.14. And it remains clear that
                 what petitioners really want the courts—and espe-
                 cially this Court—to endorse is the proposition that
                 they were required to dismantle DACA because it was
                 unlawful from the start. As the lower courts have so
                 far consistently held, that proposition is subject to
                 standard judicial review.




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                    B. The Preliminary Injunction
                     Petitioners do not explain why they believe the dis-
                 trict court abused its discretion in applying the factors
                 governing issuance of a preliminary injunction. See
                 Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20
                 (2008). They rest entirely on the contention that the
                 lower courts’ preliminary assessment of the merits is
                 incorrect. Pet. 17-34. But that merits analysis is
                 sound—and the equitable considerations here over-
                 whelmingly favored the entry and affirmance of provi-
                 sional relief. See IRAP, 137 S. Ct. at 2087.
                    1. The Administrative Procedure Act requires an
                 agency to “articulate a satisfactory explanation for its
                 action.” Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v.
                 State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983);
                 see 5 U.S.C. § 706(2)(A). That explanation must be
                 “based on consideration of the relevant factors,” and
                 may not “fail[] to consider an important aspect of the
                 problem.” State Farm, 463 U.S. at 42, 43; see also
                 Weyerhaeuser, slip op. 14. Where an agency departs
                 from its prior position, it must supply a “reasoned
                 analysis for the change”—including by “display[ing]
                 awareness that it is changing position,” “show[ing]
                 that there are good reasons for the new policy,” and
                 explaining why it chose to disregard any “serious reli-
                 ance interests” engendered by the prior policy. FCC v.
                 Fox Television Stations, Inc., 556 U.S. 502, 514, 515
                 (2009). Where an agency bases its decision on a con-
                 clusion of law, the decision “may not stand if the
                 agency has misconceived the law.” SEC v. Chenery
                 Corp., 318 U.S. 80, 94 (1943) (Chenery I ); Supp. App.
                 46a-47a.
                    a. Petitioners’ proffered explanation for terminat-
                 ing DACA does not satisfy these requirements. Peti-
                 tioners decided to end the program on the asserted




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                 ground that it “is unlawful.” Pet. 14; see Pet. App.
                 116a-117a. But neither the one-sentence rationale for
                 rescinding DACA offered by the Acting Secretary, see
                 Pet. App. 117a, nor the one-page letter from the Attor-
                 ney General underlying it, see D.Ct. Dkt. 64-1 at 251,
                 offers any adequate explanation for that abrupt
                 change in the government’s position.
                     The Attorney General’s letter asserted that DACA
                 is “an unconstitutional exercise of authority by the
                 Executive Branch,” with “the same . . . constitutional
                 defects that the courts recognized as to DAPA.” D.Ct.
                 Dkt. 64-1 at 251. That assertion “is a puzzling one,”
                 both because “[t]he Fifth Circuit and district court in
                 Texas explicitly declined to address the constitutional
                 issue” in the DAPA litigation, Supp. App. 48a-49a; see
                 Batalla Vidal App. 105a-106a; NAACP App. 52a-54a,
                 and because the Attorney General ignored a lengthy
                 opinion from his Department’s Office of Legal Counsel
                 explaining why programs such as DACA are con-
                 sistent with constitutional requirements, see NAACP
                 App. 52a-53a. The letter also asserted that “DACA
                 was effectuated . . . without proper statutory author-
                 ity.” D.Ct. Dkt. 64-1 at 251. But it did not identify
                 “any statutory provision with which DACA was in con-
                 flict,” or address any of the material differences
                 between DACA and DAPA that render “the Fifth Cir-
                 cuit’s statutory analysis . . . inapposite” in this con-
                 text. NAACP App. 51a; see also Supp. App. 51a-55a;
                 infra 27.
                    As the district court in NAACP concluded, the
                 “scant legal reasoning” in the rescission memorandum
                 “was insufficient to satisfy the Department’s obliga-
                 tion to explain its departure from its prior stated view
                 that DACA was lawful.” NAACP App. 51a. It left the
                 courts and the public without the ability to “‘discern[]’




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                 the ‘path’ that the agency followed.” Id. at 53a. That
                 failure “was particularly egregious here in light of the
                 reliance interests involved”—which the rescission
                 memorandum did not acknowledge—on the part of
                 “hundreds of thousands of beneficiaries” who have
                 “structured their education, employment, and other
                 life activities” around the program. Id. at 54a; see Pet.
                 App. 58a-62a; Batalla Vidal App. 113a-117a. Petition-
                 ers’ refusal to address those legitimate reliance inter-
                 ests rendered their “barebones” explanation “doubly
                 insufficient.” NAACP App. 55a; cf. Encino Motorcars
                 LLC v. Navarro, 136 S. Ct. 2117, 2125-2126 (2016).
                     These deficiencies are not mere technical flaws.
                 The APA was adopted to ensure that “federal agencies
                 are accountable to the public.” Franklin v. Massachu-
                 setts, 505 U.S. 788, 796 (1992). The reasoned-explana-
                 tion requirement helps voters to assess whether they
                 agree with the reasons for government action and to
                 exercise their franchise accordingly. When the Exec-
                 utive Branch instead obscures its reasons for taking
                 an important action, or fails to explain an abrupt
                 change in position, it undermines the principles of
                 transparency and political accountability that the
                 APA is designed to protect. Cf. Supp. App. 31a-34a.
                    b. Apart from petitioners’ failure to explain their
                 change in position and their decision to terminate
                 DACA, the decision is invalid because it was based on
                 the flawed premise that DACA is unlawful. Congress
                 has charged DHS with “[e]stablishing national immi-
                 gration enforcement policies and priorities.” 6 U.S.C.
                 § 202(5). At the same time, Congress has made
                 choices that leave “the executive agencies charged
                 with immigration enforcement” with inadequate
                 resources to remove everyone “present in this country
                 without authorization.” Supp. App. 55a. In light of its




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                 broad statutory authority and that budgetary reality,
                 DHS has routinely employed deferred action and sim-
                 ilar forms of discretionary immigration relief—some-
                 times on an individual basis, and sometimes through
                 programs that channel the agency’s discretion with
                 respect to a “class of individuals otherwise eligible for
                 removal.” Id. at 8a; see id. at 8a-14a (reviewing his-
                 tory). Although deferred action “is not expressly
                 grounded in statute,” Congress has repeatedly “recog-
                 nized the existence of deferred action” in INA amend-
                 ments. Id. at 8a-9a. This Court, too, has recognized
                 deferred action as a “regular practice,” involving “ex-
                 ercising discretion for humanitarian reasons or simply
                 for” the agency’s “own convenience.” AADC, 525 U.S.
                 at 483-484; see Supp. App. 9a. These considerations
                 establish that DACA is “a permissible exercise of ex-
                 ecutive discretion.” Supp. App. 56a; see also D.Ct. Dkt.
                 64-1 at 21 n.8 (OLC opinion). And petitioners “do[] not
                 contest any” of them. Supp. App. 49a.
                     Instead, petitioners’ arguments about DACA’s
                 legality focus entirely on the Fifth Circuit’s Texas de-
                 cision, which affirmed a preliminary injunction
                 addressing the DAPA program. Pet. 24-25, 28-29; see
                 Supp. App. 49a; Pet. App. 113a-115a. But an interloc-
                 utory decision by a single court of appeals does not
                 resolve the legality of a federal program—let alone
                 that of a different program not directly before that
                 court. See, e.g., IRAP, 137 S. Ct. at 2087 (preliminary
                 injunction is “often dependent as much on the equities
                 of a given case as the substance of the legal issues it
                 presents,” and purpose is “not to conclusively deter-
                 mine the rights of the parties”). Nor does the affir-
                 mance of such a decision by an equally divided Court.
                 See Neil v. Biggers, 409 U.S. 188, 192 (1972).




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                     Moreover, petitioners overreach in contending that
                 the “entirety of the Fifth Circuit’s reasoning applies
                 equally to” DACA. Pet. 24. As to procedural validity,
                 for example, the Fifth Circuit concluded that DAPA
                 likely required a notice-and-comment process because
                 it would not be implemented on a truly discretionary
                 basis. Texas, 809 F.3d at 171-178. The Fifth Circuit
                 relied on statistics and a declaration from a union rep-
                 resentative, both from 2014, suggesting that DACA
                 applications were rarely denied. Id. at 172. More
                 recent data show a materially higher denial rate for
                 DACA applications. Supp. App. 51a. And the union
                 representative recently testified that he has no
                 “firsthand” knowledge about the process of reviewing
                 DACA applications and “never” reviewed such an ap-
                 plication himself. New Jersey Br. 23, Texas v. United
                 States, S.D. Tex. No. 18-cv-68, Dkt. 215 (filed July 21,
                 2018). None of that recent information was available
                 to the Fifth Circuit when it issued its decision in 2015.
                    As to substantive validity, the Fifth Circuit rea-
                 soned that the Executive Branch lacked authority to
                 operate DAPA “because ‘Congress has “directly
                 addressed the precise question at issue.”’” Supp. App.
                 52a (quoting Texas, 809 F.3d at 186). But Congress
                 has not acted in any similar manner with respect to
                 the population subject to DACA. See id. The Fifth
                 Circuit also focused on the “economic and political
                 magnitude” of DAPA, through which 4.3 million immi-
                 grants would have potentially been eligible for
                 deferred action. Texas, 809 F.3d at 181. The DACA
                 population, while significant, is much smaller. See
                 Supp. App. 54a (689,800 enrollees as of September
                 2017).
                    Thus, even if one were to accept the Fifth Circuit’s
                 preliminary assessment of the legality of DAPA, it




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                 would not establish that DACA is unlawful. In any
                 event, for present purposes it is sufficient to observe
                 that the Ninth Circuit applied established principles
                 in holding that DACA is a permissible exercise of
                 executive discretion, and there is no conflict among
                 the courts of appeals on that question. If some future
                 decision creates such a conflict, this Court will be able
                 to evaluate at that time whether the issue warrants
                 further review.
                    c. In this litigation, petitioners have also sought to
                 defend their decision to terminate DACA as one based
                 on an assessment of “litigation risk.” See, e.g., Pet. 9.
                 Even if such a rationale could reasonably be discerned
                 from the rescission memorandum, but see Supp. App.
                 35a, it would be inadequate to support the decision.
                 While the memorandum notes that Texas had threat-
                 ened to amend its DAPA lawsuit to add a challenge to
                 DACA, see Pet. App. 116a, there is no indication that
                 the agency conducted a reasoned assessment of that
                 threat. Any such assessment would have considered
                 the availability of possible defenses, both procedural
                 and on the merits. It also would have balanced any
                 perceived risk against the costs to be inflicted on indi-
                 vidual DACA recipients, the States, the federal gov-
                 ernment, and the overall economy by abruptly
                 abandoning a policy that has allowed nearly three-
                 quarters of a million people to obtain work authoriza-
                 tion and other benefits. Nothing in the memorandum
                 or the proffered administrative record suggests that
                 petitioners took any account of those countervailing
                 considerations. See, e.g., Pet. App. 57a-62a.
                     Petitioners’ counsel have attempted to supply in
                 litigation some of the reasoning that the rescission
                 memorandum lacks. They have told the courts that
                 the DAPA rulings created “the inevitable prospect of




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                 an immediate, nationwide injunction against DACA,”
                 D.Ct. Dkt. 204 at 1, compelling the Acting Secretary
                 to terminate DACA to avoid a “disruptive, court-im-
                 posed,” and “imminent judicial invalidation,” C.A.
                 Dkt. 31 at 35-36. But the district court in the DAPA
                 litigation entered a preliminary injunction before that
                 program was ever implemented, preserving the status
                 quo pending further litigation. In contrast, the threat-
                 ened suit challenging DACA was to be filed half a dec-
                 ade after the program went into effect, when hundreds
                 of thousands of young people had already structured
                 their lives around the program. The equities in those
                 two situations are profoundly different. Indeed, after
                 the threatened litigation eventually materialized in
                 May 2018, the same district court refused to enter
                 “preliminary” relief, noting the plaintiffs’ “nearly six-
                 year” delay in bringing their claims. Texas v. United
                 States, 328 F. Supp. 3d 662, 739 (S.D. Tex. 2018).6
                    d. Petitioners now repeatedly invoke the memo-
                 randum issued in June 2018 by Secretary Nielsen—
                 which “decline[d] to disturb” the September 2017 ter-
                 mination decision (Pet. App. 121a)—in support of their
                 merits positions. See Pet. 13-14, 24-31, 33; Supp. Br.
                 9-10. But Nielsen’s memorandum cannot be a basis
                 for concluding that the district court in this case
                 abused its discretion by entering a preliminary injunc-
                 tion in January 2018. In fact, petitioners still have not
                 submitted that memorandum to the district court in
                 this case. Although petitioners did submit it to the
                 court of appeals, that court correctly recognized that

                 6 The court did conclude that the plaintiff States “are likely to

                 succeed on the merits” of their challenge to DACA. 328 F. Supp.
                 3d at 736; see Pet. 25. But it did not reach any final conclusion
                 to that effect, and instead set a deadline for dispositive motions
                 for late 2019 and scheduled a trial on the merits to begin in 2020.




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                 “to the extent the Nielsen memorandum is offered as
                 an additional justification of the original DACA rescis-
                 sion,” it is “well-settled that ‘[courts] will not allow the
                 agency to supply post-hoc rationalizations for its
                 actions . . . .’” Supp. App. 57a-58a n.24. Beyond that
                 observation, the court of appeals properly left “it to the
                 district court in the first instance to determine the ad-
                 missibility of Secretary Nielsen’s [memorandum] . . .
                 and its impact, if any, on this case.” Id. In light of
                 those circumstances, petitioners’ heavy reliance on the
                 Nielsen memorandum only underscores why this
                 would not be a suitable case for the Court to provide a
                 “definitive resolution” (Pet. 34) of their arguments on
                 the merits.
                    2. Tellingly, petitioners do not address any of the
                 equitable factors of the four-factor preliminary injunc-
                 tion test. See Pet. 17-34; see generally Winter, 555 U.S.
                 at 20; IRAP, 137 S. Ct. at 2087. As the district court
                 found, those factors weigh heavily in favor of provi-
                 sional relief. Pet. App 62a-66a. The preliminary in-
                 junction partially preserves the status quo that
                 existed before September 2017, only for those who had
                 already applied for and received deferred action under
                 DACA. Id. at 66a. It preserves petitioners’ ability to
                 exercise discretion on an individualized basis for each
                 person who applies for renewal, and to proceed to
                 remove anyone, at any time, on any lawful ground. Id.
                 Without the injunction, hundreds of thousands of
                 young Americans would lose their work authorization
                 and deferred action status. That would profoundly
                 damage the individual respondents, the States and
                 the other entity respondents, our educational institu-
                 tions, our businesses, and the entire Nation. Id. at
                 62a-65a.




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                     In contrast, the only allegation of injury that peti-
                 tioners have ever mustered in this case is that the
                 injunction requires them to “sanction[] an ongoing vi-
                 olation of federal immigration law by nearly 700,000
                 aliens.” Pet. 14. But it is hard to credit that as an
                 allegation of serious harm under the circumstances
                 here. Petitioners themselves decided to leave DACA
                 in place for the first seven months of this Administra-
                 tion, long after the decisions in the DAPA litigation.
                 The President previously proclaimed that the policy of
                 his Administration was “to allow the dreamers to
                 stay.” D.Ct. Dkt. 121-1 at 285. Petitioners never even
                 tried to argue for a stay of the preliminary injunction
                 in this case (or in Batalla Vidal). And even their pre-
                 sent petition recognizes “the legitimate policy con-
                 cerns underlying . . . DACA.” Pet. 16. If there is any
                 abstract injury to petitioners from continuing to pre-
                 serve the status quo while the courts reach a final res-
                 olution of this dispute, it is overwhelmed by the
                 concrete injury that DACA recipients would suffer in
                 the absence of that provisional relief.
                    C. The Motion to Dismiss
                     Finally, there is no reason for immediate review of
                 the denial of petitioners’ motion to dismiss the due
                 process and equal protection claims advanced by cer-
                 tain respondents. Pet. 30-31. The only due process
                 claim remaining in this case is a narrow challenge to
                 changes in the policy governing the use of DACA
                 recipients’ sensitive information. Petitioners argue
                 that they have not changed their policies, or that if
                 they have then they were entitled to do so. Pet. 31.
                 But the courts below concluded that respondents have
                 plausibly alleged to the contrary. Supp. App. 70a; Pet.




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                 App 79a-81a. 7 The district court did not grant any
                 provisional relief based on this claim, and there is no
                 reason for this Court to review the matter before the
                 claim has been further developed and resolved by the
                 lower courts.
                     As to equal protection, petitioners assert that the
                 claim raised by some respondents here “is foreclosed
                 by this Court’s decision in AADC, which imposed a
                 general bar on discriminatory-motive claims in the
                 immigration-enforcement context.” Pet. 30. Petition-
                 ers read that decision too broadly. As the court below
                 concluded, the claim raised here “does not implicate
                 the concerns motivating the Court in AADC,” such as
                 “inhibiting prosecutorial discretion, allowing continu-
                 ing violations of immigration law, and impacting for-
                 eign relations.” Supp. App. 75a-76a; see 525 U.S. at
                 489-490. In any event, petitioners will have the ordi-
                 nary opportunity to demonstrate in the lower courts
                 why the facts surrounding their termination of DACA
                 do not give rise to an equal protection violation. They
                 offer no persuasive reason why this Court should con-
                 sider that question now.




                 7 The  district court in Maryland, although otherwise agreeing
                 with petitioners’ merits arguments, “enjoin[ed] the Government
                 from using information provided by Dreamers through the DACA
                 program for enforcement purposes.” Casa de Md., 284 F. Supp.
                 3d at 779, appeal pending, 4th Cir. No. 18-1521 (argued Dec. 11,
                 2018).




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                                   CONCLUSION
                    The petition for a writ of certiorari should be de-
                 nied.
                                Respectfully submitted,

                                  XAVIER BECERRA
                                   Attorney General of California
                                  EDWARD C. DUMONT
                                   Solicitor General
                                  MICHAEL L. NEWMAN
                                   Senior Assistant Attorney General
                                  MICHAEL J. MONGAN
                                   Deputy Solicitor General
                                  SAMUEL P. SIEGEL
                                   Associate Deputy Solicitor General

                                  JANET T. MILLS
                                   Attorney General of Maine
                                  SUSAN P. HERMAN
                                   Deputy Attorney General

                                  BRIAN E. FROSH
                                   Attorney General of Maryland
                                  STEVEN M. SULLIVAN
                                   Solicitor General
                                  LEAH J. TULIN
                                   Assistant Attorney General

                                  LORI SWANSON
                                   Attorney General of Minnesota
                                  JACOB CAMPION
                                   Assistant Attorney General

                 December 17, 2018




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                                        No. 18-587

                                         IN THE
                    Supreme Court of the United States

                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                     Petitioners,
                                      v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                     Respondents.

                  ON PETITION FOR A WRIT OF CERTIORARI TO THE UNITED
                   STATES COURT OF APPEALS FOR THE NINTH CIRCUIT


                 BRIEF OF THE REGENTS OF THE UNIVERSITY OF
                  CALIFORNIA, JANET NAPOLITANO, AND THE
                       CITY OF SAN JOSÉ IN OPPOSITION

                  Jeffrey M. Davidson                Robert A. Long
                  David Watnick                        Counsel of Record
                  COVINGTON & BURLING LLP            Mark H. Lynch
                  One Front Street                   Alexander A. Berengaut
                  San Francisco, CA 94111            Megan A. Crowley
                  (415) 591-6000                     Ivano M. Ventresca
                                                     James O. Strawbridge
                  Charles F. Robinson                COVINGTON & BURLING LLP
                  Margaret Wu                        One CityCenter
                  Sonya Sanchez                      850 Tenth Avenue, NW
                  University of California           Washington, DC 20001
                  Office of the General Counsel      (202) 662-6000
                  1111 Franklin Street, 8th Floor
                  Oakland, CA 94607                  Mónica Ramírez Almadani
                  (510) 987-9800                     COVINGTON & BURLING LLP
                                                     1999 Avenue of the Stars
                                                     Los Angeles, CA 90067
                                                     (424) 332-4800
                   Counsel for The Regents of the University of California and Janet
                                              Napolitano
                            (Additional Counsel Listed On Signature Page)




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                             QUESTIONS PRESENTED

                 1. Whether 8 U.S.C. § 1252(g), which prohibits judi-
                 cial review of decisions to “commence proceedings, ad-
                 judicate cases, or execute removal orders” in individ-
                 ual immigration cases, bars judicial review of a pro-
                 grammatic decision by the Acting Secretary of the De-
                 partment of Homeland Security to rescind the De-
                 ferred Action for Childhood Arrivals (DACA) program.

                 2. Whether the Acting Secretary’s decision to termi-
                 nate the DACA program based on an assessment of its
                 legality is a decision “committed to agency discretion
                 by law” and therefore immune from judicial review
                 under the Administrative Procedure Act.

                 3. Whether the district court abused its discretion by
                 issuing a tailored preliminary injunction enjoining as-
                 pects of the rescission of DACA pending adjudication
                 on the merits, considering (a) the likelihood that the
                 rescission will be set aside as arbitrary and capricious
                 under the Administrative Procedure Act; (b) the irrep-
                 arable harm to DACA recipients and Respondents
                 should the program be rescinded; and (c) the absence
                 of countervailing equities given Petitioners’ stated
                 support for DACA.




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                                  INTRODUCTION

                    Petitioners ask this Court to review the Ninth Cir-
                 cuit’s interlocutory order affirming a preliminary in-
                 junction directed to the government’s decision to re-
                 scind the Deferred Action for Childhood Arrivals
                 (DACA) program, and to grant certiorari before judg-
                 ment in two additional cases. While the importance of
                 the DACA program may warrant this Court’s review
                 at an appropriate time, now is not the time.

                     First, the government has not shown that it is suf-
                 fering significant harm that warrants immediate re-
                 view by this Court. The district court’s preliminary in-
                 junction operates to preserve a status quo that has ex-
                 isted for six years. The government has made an indi-
                 vidualized determination that each of the hundreds of
                 thousands of immigrants who currently benefit from
                 DACA does not present a risk of harm to national se-
                 curity or the public, a determination the government
                 remains free to revisit at any time based on new infor-
                 mation. If the government were truly concerned about
                 immediate harm caused by the preliminary injunc-
                 tion, the appropriate course would have been to seek
                 a stay, something the government chose not to do.

                    Second, this case in its current posture is a poor
                 vehicle to resolve the future of the DACA program.
                 The court of appeals’ interlocutory decision affirms
                 the grant of a preliminary injunction, and the govern-
                 ment has not contested that three of the four prelimi-
                 nary injunction factors—irreparable harm, balance of
                 equities, and public interest—overwhelmingly favor
                 the issuance of an injunction. This case also includes
                 constitutional claims that must be resolved to decide




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                 this dispute. Review by this Court at this interlocu-
                 tory juncture would risk being superseded by new
                 facts and evidence, particularly in view of lower court
                 determinations, not addressed by the Ninth Circuit’s
                 interlocutory order, that the government has pro-
                 duced an incomplete administrative record.

                    Third, there is no circuit split. The government
                 seeks review of the only appellate decision to date.
                 Three additional courts of appeals will likely rule on
                 the lawfulness of the DACA rescission in 2019.

                    Fourth, the government has failed to present a
                 question of law that warrants this Court’s review in
                 the absence of a circuit split. Instead, it argues that
                 the Ninth Circuit misapplied established legal stand-
                 ards to the facts of this case.

                    For these reasons, the Court should deny the peti-
                 tions for certiorari.

                                        STATEMENT

                     1. a. Since 1956, every presidential administration
                 has exercised its authority to set “national immigra-
                 tion enforcement policies and priorities” by adopting
                 deferred action programs that protect certain catego-
                 ries of otherwise removable immigrants from deporta-
                 tion. 6 U.S.C. § 202(5); SER265-66 (summarizing 17
                 pre-DACA deferred action programs). 1 These pro-
                 grams recognize that the government lacks sufficient

                 1 “ER” and “SER” refer to the Ninth Circuit Excerpts and Sup-

                 plemental Excerpts of Record. 18-15068 Ct. App. Dkts. 32-1–32-
                 3; 45–45-5. “Dkt.” refers to docket entries in the district court,




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                 resources to “enforce all of the [immigration] rules and
                 regulations presently on the books,” and that “[i]n
                 some situations, application of the literal letter of the
                 law would simply be unconscionable and would serve
                 no useful purpose.” SER1215. The legality of such pro-
                 grams was commonly accepted, none was challenged
                 in court, and Congress recognized deferred action in
                 several amendments to the Immigration and Nation-
                 ality Act (INA). See, e.g., 8 U.S.C. § 1227(d)(2) (U visa
                 and T visa applicants are eligible for “deferred ac-
                 tion”); id. § 1154(a)(1)(D)(i)(II) (petitioners under the
                 Violence Against Women Act are eligible for “deferred
                 action and work authorization”); id. § 1151 note (cer-
                 tain immediate family members of certain United
                 States citizens “shall be eligible for deferred action”).

                    In 2012, the Department of Homeland Security
                 (DHS) established the DACA program. Pet. App. 97a-
                 101a. Under DACA, “certain young people who were
                 brought to this country as children and know only this
                 country as home” are eligible to apply for discretion-
                 ary relief from removal if they (1) came to the United
                 States under the age of sixteen; (2) have continuously
                 resided in the United States since June 15, 2007, and
                 were present in the United States on June 15, 2012,
                 and on the date they requested DACA; (3) are in
                 school, have graduated from high school, have ob-
                 tained a GED, or have been honorably discharged
                 from the United States military or Coast Guard; (4) do
                 not have a significant criminal record and are not a
                 threat to national security or public safety; (5) were


                 Regents of the University of California v. DHS, No. 17-cv-5211
                 (N.D. Cal.). “AR” refers to the administrative record filed by the
                 government in the district court. Dkt. 64-1.




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                 under the age of 31 as of June 15, 2012; and (6) do not
                 have lawful immigration status. Id. at 97a-98a. Eligi-
                 ble applicants, who are evaluated on a case-by-case
                 basis, are required to provide the government with
                 sensitive personal information, including their home
                 address and fingerprints, submit to a rigorous DHS
                 background check, and pay a substantial application
                 fee. SER1308, SER1325-26, SER1328.

                     Since 2012, nearly 800,000 young people have re-
                 ceived deferred action under DACA, which confers
                 life-changing benefits, including freedom from depor-
                 tation, to each recipient that complies with the condi-
                 tions of the program. ER78. Once DACA is granted,
                 recipients may, pursuant to preexisting regulations,
                 obtain employment authorization and social security
                 numbers. See 8 C.F.R. § 274a.12(c)(14); Dkt. 111 at
                 16. In addition to permitting recipients to work le-
                 gally—a benefit that has resulted in a 91% employ-
                 ment rate among recipients and permitted DACA re-
                 cipients to support their families, Dkt. 111 at 23—
                 these documents unlock access to other important
                 benefits, including driver’s licenses, medical insur-
                 ance, and tuition benefits. See id. at 17. Moreover,
                 DACA recipients do not accrue “unlawful presence”
                 for purposes of the INA’s re-entry bars, see 8 U.S.C.
                 § 1182(a)(9)(B)-(C), and receive favorable considera-
                 tion for advance parole, allowing them to lawfully
                 travel abroad and return to the United States, see 8
                 C.F.R. § 212.5(f).

                    b. Prior to September 2017, when the government
                 announced its decision to rescind DACA, no court had
                 deemed DACA unlawful and the government consist-
                 ently had defended the legality of the program. In a




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                 2014 opinion that has not been withdrawn, the Office
                 of Legal Counsel memorialized the advice it provided
                 prior to the promulgation of DACA “that such a pro-
                 gram would be permissible, provided that immigra-
                 tion officials retained discretion to evaluate each ap-
                 plication on an individualized basis.” AR21 n.8. The
                 government argued in the courts that DACA was “a
                 valid exercise of the Secretary’s broad authority and
                 discretion to set policies for enforcing the immigration
                 laws.” Br. of United States as Amicus Curiae in Sup-
                 port of Appellees at *1, Ariz. Dream Act Coal. v.
                 Brewer, 855 F.3d 957 (9th Cir. 2017) (No. 15-15307),
                 2015 WL 5120846.

                     In February 2017, then-Secretary of Homeland Se-
                 curity Kelly issued a memorandum reordering DHS’s
                 enforcement priorities but maintaining DACA un-
                 changed. AR230. Secretary Kelly characterized
                 “DACA status” as a “commitment * * * by the govern-
                 ment towards the DACA person.” SER1334. In June
                 2017, Administration officials, including then-Attor-
                 ney General Sessions, began communicating with sev-
                 eral state attorneys general who had challenged a dif-
                 ferent deferred action program, which never went into
                 effect, known as Deferred Action for Parents of Amer-
                 icans and Lawful Permanent Residents (DAPA).
                 SER1442-43. Those discussions culminated in a June
                 29, 2017 letter, from ten states to Attorney General
                 Sessions, demanding that the government “phase out
                 the DACA program” by September 5, 2017, or else
                 they would seek to amend their DAPA lawsuit to also
                 challenge DACA. AR239.

                    On September 4, 2017, Attorney General Sessions
                 sent a half-page letter to then-DHS Acting Secretary




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                 Duke, advising that DHS “should rescind” DACA be-
                 cause it was “effectuated * * * without proper statu-
                 tory authority” and “was an unconstitutional exercise
                 of authority by the Executive Branch.” AR251. The
                 letter stated, in conclusory fashion, that DACA “has
                 the same legal and constitutional defects” as the
                 DAPA program, which had been preliminarily en-
                 joined in a decision affirmed by the Fifth Circuit in
                 Texas v. United States, 809 F.3d 134 (5th Cir. 2015),
                 aff’d by an equally divided Court, 136 S. Ct. 2271
                 (2016). But because the Texas plaintiffs had chal-
                 lenged only DAPA, the Fifth Circuit did not address
                 the legality of the original DACA program. 2 Ibid. It is
                 unclear what “constitutional defects” the Attorney
                 General was referring to, since neither Texas nor any
                 other case has ever found any deferred action program
                 unconstitutional.

                     The next day, Acting Secretary Duke issued a
                 short memorandum formally rescinding DACA. The
                 rescission memorandum instructed DHS immediately
                 to stop accepting new DACA applications; immedi-
                 ately to stop accepting advance parole applications; to
                 accept renewal applications only from individuals
                 whose deferred action would expire before March 5,
                 2018, and only through October 5, 2017; and thereby
                 to cause DACA grants to expire on a rolling basis be-
                 ginning March 5, 2018. Pet. App. 117a-118a. The
                 memorandum contained a single sentence of analysis:
                 “Taking into consideration the Supreme Court’s and

                 2 The DAPA program included certain expansions of DACA,

                 which were not specifically addressed in Texas. Pet. Supp. App.
                 55a.




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                 the Fifth Circuit’s rulings in the ongoing litigation,
                 and the September 4, 2017, letter from the Attorney
                 General, it is clear that the June 15, 2012, DACA pro-
                 gram should be terminated.” Id. at 117a. 3

                    2. The University of California, four states, and
                 other Respondents brought actions in the Northern
                 District of California alleging that the Acting Secre-
                 tary’s decision to rescind DACA was unlawful on sev-
                 eral grounds, including that the rescission was arbi-
                 trary and capricious under the Administrative Proce-
                 dure Act (APA). Pet. App. 19a-22a. Respondents also
                 challenged the constitutionality of the rescission on
                 due process and equal protection grounds. Id. at 22a.

                     The parties agreed that the government would
                 move swiftly to produce the administrative record.
                 Dkt. 52-1 at 17-18. On October 6, 2017, the govern-
                 ment produced a record consisting of 14 publicly-
                 available documents totaling 256 pages, 187 of which
                 consist of court decisions. See Dkt. 64-1. The Ninth
                 and Second Circuits have held that this record is
                 likely incomplete. For example, it excludes communi-
                 cations between the government and the state attor-
                 neys general whose litigation threat purportedly re-
                 quired the rescission of DACA. See, e.g., Dkt. 79; In re
                 United States, 875 F.3d 1200, 1205 (9th Cir.), judg-
                 ment vacated, 138 S. Ct. 443 (2017) (ordering record
                 issues to be deferred while district court resolved the
                 government’s threshold justiciability arguments); In



                 3 See 8 U.S.C. § 1103(a)(1) (providing that, with respect to the

                 INA, the “determination and ruling by the Attorney General with
                 respect to all questions of law shall be controlling” on DHS).




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                 re Nielsen, No. 17-3345, slip op. at 2-3 (2d Cir. Dec. 27,
                 2017).

                     Petitioners moved to dismiss all five complaints
                 under Rule 12(b)(1) and (6). Pet. App. 26a, 72a. Re-
                 spondents opposed the motion to dismiss and moved
                 for a preliminary injunction on their APA claims. See
                 Dkt. 111 at 10; Dkt. 205.

                     On January 9, 2018, the district court granted in
                 part and denied in part the government’s Rule
                 12(b)(1) motion and granted in part Respondents’ mo-
                 tion for a preliminary injunction. Pet. App. 66a-69a.
                 The court held that Respondents had demonstrated a
                 likelihood of success on their claim that the rescission
                 was arbitrary and capricious, id. at 54a, 63a, and sat-
                 isfied the remaining factors for preliminary injunctive
                 relief, including irreparable harm. Id. at 62a-66a. The
                 court relied on Respondents’ undisputed evidence of
                 irreparable harm, including their showing that rescis-
                 sion will:

                 •   threaten almost two hundred thousand U.S.-citi-
                     zen children with the deportation of their parents,
                     see SER1155;

                 •   cause an average of 1,400 DACA recipients to lose
                     their jobs each business day, SER1459;

                 •   and force tens of thousands of DACA recipient un-
                     dergraduate and graduate students to discontinue
                     their studies for lack of support, including approx-
                     imately 1,700 at the University of California alone,
                     SER365-69, SER1152-53.




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                     The court’s injunction required the government to
                 “allow[] DACA enrollees to renew their enrollments”
                 under the terms applicable prior to the rescission. Pet.
                 App. 66a. For “each renewal application,” the district
                 court permitted the government to “take administra-
                 tive steps to make sure fair discretion is exercised on
                 an individualized basis.” Ibid. The court’s order did
                 not prohibit DHS “from proceeding to remove any in-
                 dividual, including any DACA enrollee, who it deter-
                 mines poses a risk to national security or public
                 safety, or otherwise deserves, in its judgment, to be
                 removed.” Ibid. The court did not require DHS to pro-
                 cess DACA applications from individuals who had not
                 previously received deferred action or to permit ad-
                 vance parole. Ibid.

                    The district court also granted in part and denied
                 in part the government’s Rule 12(b)(6) motion, sus-
                 taining Respondents’ substantive APA and equal pro-
                 tection claims. Id. at 71a-90a.

                    3. The government appealed the court’s orders,
                 and the Ninth Circuit ordered expedited briefing. 18-
                 15068 Ct. App. Dkt. 21.

                     4. On January 18, 2018, the government filed a pe-
                 tition for a writ of certiorari before judgment, seeking
                 review of the district court’s orders. On February 26,
                 2018, the Court denied the petition. 138 S. Ct. 1182.
                 After agreeing to expedite the case, the Ninth Circuit
                 heard oral argument on May 15, 2018.

                    5. Meanwhile, similar challenges to the rescission
                 of DACA proceeded in other courts. On February 13,
                 2018, the District Court for the Eastern District of
                 New York preliminarily enjoined the rescission of




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                 DACA in an order that tracks the terms of the Regents
                 injunction. Batalla Vidal v. Nielsen, 279 F. Supp. 3d
                 401, 437-38 (E.D.N.Y. 2018); see also Batalla Vidal v.
                 Nielsen, 291 F. Supp. 3d 260, 268 (E.D.N.Y. 2018). The
                 parties appealed to the Second Circuit, where briefing
                 is complete and oral argument is scheduled for Janu-
                 ary 25, 2019. See Batalla Vidal v. Nielsen, No. 18-485,
                 Dkt. 588 (2d Cir. Dec. 12, 2018).

                     6. In April 2018, the District Court for the District
                 of Columbia granted partial summary judgment
                 against the government and vacated the rescission of
                 DACA, holding that it violated the APA’s substantive
                 requirements. NAACP v. Trump, 298 F. Supp. 3d 209,
                 249 (D.D.C. 2018). The court stayed its order for 90
                 days to give DHS the opportunity to “issue[] a new de-
                 cision rescinding DACA.” NAACP v. Trump, No. 17-
                 cv-01907, Dkt. 22 (D.D.C. Apr. 24, 2018).

                     In response, DHS Secretary Nielsen issued on
                 June 22, 2018, a memorandum “declin[ing] to disturb
                 the Duke memorandum’s rescission of the DACA pol-
                 icy.” Pet. App. 121a. The memorandum purported to
                 “reflect[] [Secretary Nielsen’s] understanding of the
                 Duke memorandum” and to offer “further explana-
                 tion” of the rescission of DACA. Ibid. Secretary Niel-
                 sen stated, among other things, that: she was bound
                 by the Attorney General’s conclusion that DACA was
                 unlawful; there were “serious doubts” about DACA’s
                 legality in any event; and “considering the fact that
                 tens of thousands of minor aliens have illegally
                 crossed or been smuggled across our border in recent
                 years, * * * it is critically important for DHS to project
                 a message that leaves no doubt regarding the clear,




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                 consistent, and transparent enforcement of the immi-
                 gration laws.” Id. at 122a-124a. The memorandum did
                 not purport to be a new decision and did not include
                 an administrative record. In notifying the Ninth Cir-
                 cuit of the memo, the government claimed that it pro-
                 vided additional reasons for the rescission but did not
                 argue that it was a new agency action distinct from
                 the initial rescission memo. 18-15068 Ct. App. Dkt.
                 184.

                    On August 3, 2018, the NAACP court concluded
                 the Nielsen memo did not alter the court’s earlier con-
                 clusions. NAACP v. Trump, 315 F. Supp. 3d 457, 464-
                 73 (D.D.C. 2018). The government then appealed to
                 the D.C. Circuit. Briefing will be completed by Janu-
                 ary 22, 2019. See NAACP v. Trump, No. 18-5243, Doc.
                 1756433 (D.C. Cir. Oct. 22, 2018). 4

                    7. While the Regents appeals were pending, the
                 government on October 17, 2018, submitted a letter to
                 the Ninth Circuit stating that it “intend[ed] to again

                 4 On March 5, 2018, the United States District Court for the Dis-

                 trict of Maryland concluded the plaintiffs’ claims in that case
                 were justiciable, but held that the claims failed on the merits.
                 Casa de Md. v. DHS, 284 F. Supp. 3d 758, 770-79 (D. Md. 2018),
                 appeal docketed, No. 18-1521 (4th Cir. May 8, 2018). The Fourth
                 Circuit held oral argument in that case on December 11, 2018.
                   Separately, certain states that had earlier challenged DAPA
                 moved for a preliminary injunction enjoining DACA before the
                 Texas district court. Despite finding that the plaintiffs were
                 likely to succeed on the merits, the Texas court held that the
                 plaintiffs’ long delay bringing suit precluded them from estab-
                 lishing irreparable harm. Texas v. United States, 328 F. Supp. 3d
                 662, 736-42 (S.D. Tex. 2018). Likewise, the court held that the
                 public interest and the hardships an injunction would cause to
                 DACA recipients weighed in favor of preserving the status quo.
                 Id. at 740-42.




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                 petition the Supreme Court for a writ of certiorari be-
                 fore judgment * * * in the event that [the Ninth Cir-
                 cuit] d[id] not issue its judgment by Wednesday, Octo-
                 ber 31.” 18-15068 Ct. App. Dkt. 198 at 1. On Novem-
                 ber 5, 2018, the government filed a second petition for
                 certiorari before judgment, and simultaneously
                 sought certiorari before judgment in the NAACP and
                 Batalla Vidal cases.

                    8. On November 8, 2018, the Ninth Circuit issued
                 an opinion affirming the Regents preliminary injunc-
                 tion and the related orders granting in part and deny-
                 ing in part the government’s motion to dismiss. Pet.
                 Supp. App. 1a-87a.

                     The court first considered whether the rescission
                 is exempt from judicial review as a decision “commit-
                 ted to agency discretion by law” under 5 U.S.C.
                 § 701(a)(2). The court held the rescission is subject to
                 review under the APA because it was based solely on
                 a non-discretionary legal determination, namely, “a
                 belief that DACA was beyond the authority of DHS.”
                 Applying Supreme Court and Ninth Circuit prece-
                 dent, the court held that administrative decisions
                 premised “on a belief that any alternative choice was
                 foreclosed by law” are not “committed to agency dis-
                 cretion.” Pet. Supp. App. 29a-42a (citing Heckler v.
                 Chaney, 470 U.S. 821, 853 n.4 (1985); Montana Air
                 Chapter No. 29 v. FLRA, 898 F.2d 753, 754 (9th Cir.
                 1990)). Next, the court concluded that 8 U.S.C.
                 § 1252(g) presents no obstacle to review because the
                 rescission was not one of three discrete actions—“to
                 commence proceedings, adjudicate cases, or execute
                 removal orders”—carved out from review by that sec-
                 tion of the INA. Id. at 42a-45a (citing Reno v. Am.-




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                 Arab Anti-Discrimination Comm., 525 U.S. 471, 482
                 940 (1999) (AADC)).

                     The court then held that Respondents are likely to
                 succeed on the merits of their APA claims, because
                 DACA is “a permissible exercise of executive discre-
                 tion” that does not run afoul of the INA, and “where
                 an agency purports to act solely on the basis that a
                 certain result is legally required, and that legal prem-
                 ise turns out to be incorrect, the action must be set
                 aside.” Id. at 46a, 56a-57a. The Court made “clear”
                 that it was “not hold[ing] that DACA could not be re-
                 scinded as an exercise of Executive Branch discre-
                 tion,” but only that the legal grounds identified by the
                 agency were erroneous. Id. at 57a. Because the gov-
                 ernment did not contest the district court’s holdings
                 that the risk of irreparable harm to plaintiffs, the bal-
                 ance of hardships, and the public interest all favored
                 a preliminary injunction, the court did not review
                 those holdings. Id. at 45a-46a.

                     The court of appeals concluded that the district
                 court acted within its discretion by enjoining DHS
                 from implementing certain aspects of the rescission,
                 as such relief “is commonplace in APA cases, promotes
                 uniformity in immigration enforcement, and is neces-
                 sary to provide the plaintiffs here with complete re-
                 dress.” Id. at 58a-60a.

                     The court of appeals also affirmed the other dis-
                 trict court rulings under review, including its denial
                 of the government’s motion to dismiss plaintiffs’ equal
                 protection claims, holding that “the likelihood of suc-
                 cess on plaintiffs’ equal protection claim is a second,




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                 alternative ground for affirming the entry of the in-
                 junction.” Id. at 61a-77a & n.31.

                     Judge Owens concurred in the judgment, conclud-
                 ing that the preliminary injunction should be affirmed
                 on equal protection grounds. Id. at 84a-87a; see id. at
                 85a (“the record assembled at this early stage is prom-
                 ising”). Judge Owens disagreed with the majority’s
                 holding that the rescission was reviewable as to the
                 APA claims, in part because he understood there to be
                 a difference between challenges to the “procedures the
                 agency used” and challenges under Chevron. See id.
                 at 82a.

                    9. On November 19, 2018, Petitioners filed a sup-
                 plemental brief making additional arguments based
                 on the Ninth Circuit’s opinion.

                    REASONS FOR DENYING THE PETITION

                 I. Immediate Review Is Not Warranted.

                     The government’s petition for certiorari is its latest
                 effort to truncate the ordinary process for judicial re-
                 view of agency action. The government has not shown
                 that it will suffer significant harm if the petition is de-
                 nied. Nor can the government plausibly assert such
                 harm, given that it has never sought a stay in any
                 court.

                    The government’s decision to end the DACA pro-
                 gram is a matter of life-changing importance to hun-
                 dreds of thousands of individuals who participate in
                 the program. Consequently, this case may warrant re-
                 view by this Court at an appropriate time. However,
                 the government’s latest request for immediate review




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                 is unwarranted. The Ninth Circuit’s decision is pre-
                 liminary and interlocutory, and does not address all
                 the issues in the case. It would thus be extremely dif-
                 ficult, and likely impossible, for this Court to fully re-
                 solve the litigation at this stage of the proceedings. In
                 addition, the Court would benefit from allowing the
                 issues to be considered by the D.C., Second, and
                 Fourth Circuits, each of which has heard, or will
                 shortly hear, argument in a pending appeal. Because
                 the government has not demonstrated a “compelling
                 reason[ ]” for immediate review, see Sup. Ct. R. 10, the
                 petition should be denied.

                    A. The Petition Presents No Legal Issue War-
                       ranting This Court’s Immediate Review.

                    The questions presented by the petition—consid-
                 ered purely as legal issues and without regard to the
                 importance of DACA itself—do not warrant this
                 Court’s review. There is no conflict in the circuits on
                 the questions presented by the petition, and the gov-
                 ernment does not allege one. And the questions do not
                 merit this Court’s review in the absence of a circuit
                 split.

                    1. The government contends that its decision to
                 end DACA is insulated from judicial review by two
                 statutory provisions, 8 U.S.C. § 1252(g) and 5 U.S.C.
                 § 701(a)(2). Neither provision presents a legal issue
                 worthy of this Court’s review.

                    This Court has already interpreted 8 U.S.C.
                 § 1252(g) and held that it bars review of only “three
                 discrete actions”—decisions to “commence proceed-
                 ings, adjudicate cases, or execute removal orders.”
                 AADC, 525 U.S. at 482. This Court rarely reconsiders




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                 its decisions interpreting statutory provisions, and
                 the government does not ask the Court to reconsider
                 AADC. Every court to consider the issue has con-
                 cluded that section 1252(g) does not preclude judicial
                 review here because the rescission of DACA is not one
                 of the “three discrete actions” covered by that section.
                 Pet. App. 31a-33a; Pet. Supp. App. 42a-45a; NAACP,
                 298 F. Supp. 3d at 223-24; Casa de Md., 284 F. Supp.
                 3d at 769-70; Batalla Vidal v. Duke, 295 F. Supp. 3d
                 127, 152-54 (E.D.N.Y. 2017). The lower courts’ unani-
                 mous application of section 1252(g) to a specific situa-
                 tion does not warrant further review. See Sup. Ct. R.
                 10 (review is “rarely granted” to consider an argument
                 that the lower court misapplied “a properly stated rule
                 of law”).

                     This Court has also interpreted the “committed to
                 agency discretion by law” language of 5 U.S.C.
                 § 701(a)(2) in multiple cases. See Webster v. Doe, 486
                 U.S. 592, 599-601 (1988); Chaney, 470 U.S. at 830; Cit-
                 izens to Preserve Overton Park, Inc. v. Volpe, 401 U.S.
                 402, 410-14 (1971). Once again, the government does
                 not contend that the Court’s decisions interpreting
                 this statutory provision are flawed or in need of recon-
                 sideration. And once again, every court to consider the
                 issue has reached the same conclusion. See, e.g., Pet.
                 App. 26a-30a; Pet. Supp. App. 23a-42a; NAACP, 298
                 F. Supp. 3d at 226-34; Casa de Md., 284 F. Supp. 3d
                 at 769-70; Batalla Vidal, 295 F. Supp. 3d at 147-52;
                 cf. Texas, 328 F. Supp. 3d at 706-09. As noted above,
                 an argument that the lower courts have misapplied a
                 legal standard is “rarely” an occasion for Supreme
                 Court review. Sup. Ct. R. 10.




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                     2. There is also widespread agreement in the lower
                 courts that an agency’s determination that it is legally
                 foreclosed from taking a specified action—like the
                 government’s determination that it lacked the author-
                 ity to continue DACA—is subject to judicial review.
                 See, e.g., Citizens for Responsibility and Ethics in
                 Washington v. FEC, 892 F.3d 434, 441 n.11 (D.C. Cir.
                 2018); Montana Air, 898 F.2d at 755; Edison Elec.
                 Inst. v. EPA, 996 F.2d 326, 333 (D.C. Cir. 1993); see
                 also Chaney, 470 U.S. at 833 n.4 (distinguishing
                 agency actions based on unreviewable discretion from
                 an agency action “based solely on the belief that it
                 lacks jurisdiction”).

                    In sum, the questions presented by the petition,
                 considered as legal issues apart from the importance
                 of the DACA program itself, do not warrant this
                 Court’s review.

                    B. Petitioners Have Not Shown That Imme-
                       diate Review Is Warranted.

                     Although the importance of DACA to the hundreds
                 of thousands of individuals who participate in the pro-
                 gram may warrant this Court’s eventual review of the
                 government’s rescission of the program, immediate re-
                 view is not warranted.

                     1. The Ninth Circuit’s decision affirming the dis-
                 trict court’s entry of a preliminary injunction is inter-
                 locutory, which ordinarily weighs against immediate
                 review by this Court. See Hamilton-Brown Shoe Co. v.
                 Wolf Bros. & Co., 240 U.S. 251, 258 (1916). Moreover,
                 the decision to grant or deny a preliminary injunction
                 is reviewed only for an abuse of discretion, which




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                 could complicate this Court’s review of the legal ques-
                 tions presented. See Ashcroft v. ACLU, 542 U.S. 656,
                 664-65 (2004). In addition, the Court would benefit
                 from allowing the issues to be considered by the D.C.,
                 Second, and Fourth Circuits, each of which has heard,
                 or will shortly hear, oral argument.

                     2. Immediate review by this Court also is unlikely
                 to end the litigation. First, there is no dispute that Re-
                 spondents’ constitutional claims are subject to judicial
                 review. See Webster, 486 U.S. at 601-05. The court of
                 appeals held that the equal protection claims could
                 proceed beyond the pleadings stage and form an alter-
                 native basis for the injunction. Pet. Supp. App. 77a
                 n.31. Thus, even if the Court were to grant the petition
                 and hold that the APA claims are not subject to judi-
                 cial review, the constitutional claims would remain to
                 be decided.

                     Second, multiple courts have held that the admin-
                 istrative record is likely incomplete. See, e.g., In re
                 United States, 875 F.3d at 1205-07; In re Nielsen, No.
                 17-3345, slip op. at 2-3. A ruling based on the current
                 administrative record could be overtaken by addi-
                 tional material added to the record at a later stage of
                 the case. For example, a ruling accepting the govern-
                 ment’s purported “litigation risk” rationale for re-
                 scinding DACA could become untenable if further fac-
                 tual development revealed that the rescission was ac-
                 tually a pretextual effort to gain leverage in negotia-
                 tions with Congress or was based on racial animus.
                 See Pet. App. 64a (“These theories deserve the benefit
                 of the full administrative record.”).




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                     Third, neither the district court nor the court of
                 appeals substantively considered Secretary Nielsen’s
                 post-hoc memorandum. That memorandum was is-
                 sued months after the district court issued the prelim-
                 inary injunction, in response to a different court’s or-
                 der, and after this case was fully briefed and argued
                 to the court of appeals. To the extent Secretary Niel-
                 sen’s post-hoc memorandum merits consideration,
                 this case is a poor vehicle for considering it. To get
                 around this problem, the government asks the Court
                 to grant certiorari before judgment in NAACP. But
                 certiorari before judgment is a truly extraordinary
                 step, and the government has not shown that it is war-
                 ranted, particularly given that the memorandum con-
                 sists of post-hoc rationalizations. See pp. 35-36 infra.

                    3. The government devotes more than three-quar-
                 ters of its statement of reasons why the petition
                 should be granted to an argument that the decisions
                 below are incorrect. See Pet. 17-31. But as already
                 noted, this Court “rarely” grants review—let alone ac-
                 celerated, interlocutory review—merely to correct a
                 legal error. Sup. Ct. R. 10. Moreover, the court of ap-
                 peals’ rulings are correct. See pp. 23-36 infra.

                     The government’s petition devotes a scant two
                 pages to the argument that immediate review is war-
                 ranted at this interlocutory stage and prior to deci-
                 sions by several other courts of appeals where DACA
                 cases are pending. See Pet. 15-17. It asserts that re-
                 view is “necessary to obtain an appropriately prompt
                 resolution of this important dispute,” id. at 16, but
                 fails to demonstrate that this is so. Indeed, the gov-
                 ernment does not advance any of the reasons most
                 likely to justify immediate review by this Court.




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                     First, the government does not contend that con-
                 tinuing the DACA program creates a national security
                 risk or a risk to the public. That is because DACA is
                 limited to individuals who were brought to the United
                 States as children, have lived here continually for a
                 significant period of time, and have not committed any
                 serious criminal offenses. Pet. App. 97a-98a. For each
                 individual DACA recipient, the government has made
                 a decision, based on a detailed background check, not
                 to pursue removal. Because DACA status must be re-
                 newed every two years, this very Administration has
                 made that individualized decision for almost every
                 DACA recipient. In addition, the government is en-
                 tirely free to take action against any DACA recipient
                 it believes endangers national security or the public.
                 Id. at 66a.

                     Second, the government does not assert that it
                 wants to immediately begin deporting DACA recipi-
                 ents. To the contrary, the Administration has stated
                 that it does not think DACA recipients should be de-
                 ported. See Pet. App. 64a-65a (“In September, Presi-
                 dent Trump stated his support for DACA, tweeting:
                 ‘Does anybody really want to throw out good, educated
                 and accomplished young people who have jobs, some
                 serving in the military? Really! . . . .’”). The govern-
                 ment is therefore in the unusual position of seeking
                 this Court’s review of a court of appeals’ decision au-
                 thorizing the government to maintain a program that
                 it favors as a policy matter.

                    Third, the government does not challenge the
                 lower courts’ findings that DACA recipients will suffer
                 severe and irreparable harm. Nor does it challenge
                 the courts’ findings that the balance of hardships and




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                 the public interest tip sharply in favor of DACA recip-
                 ients and against the government. Pet. App. 64a-66a.
                 These lopsided and unchallenged preliminary injunc-
                 tion factors weigh against a discretionary decision to
                 grant accelerated interlocutory review. See Ashcroft,
                 542 U.S. at 664-65.

                     Finally, Petitioners’ failure to seek a stay provides
                 an additional reason to deny their request for interloc-
                 utory review by this Court. Petitioners have not
                 sought a stay of the present injunction from the dis-
                 trict court, the Ninth Circuit, or this Court, nor of the
                 similar injunctions and judgments from the New York
                 and D.C. district courts. 5 Indeed, when Petitioners
                 previously sought certiorari before judgment, they
                 committed not to seek a stay in order to “avoid the dis-
                 ruptive effects on all parties of abrupt shifts in the en-
                 forcement of the Nation’s immigration laws.” Pet. 12-
                 13, DHS v. Regents of Univ. of Cal., No. 17-1003 (U.S.
                 2018); see also Dkt. 243 at 4.

                    It is unsurprising that Petitioners have not sought
                 a stay, which would have required demonstrating ir-
                 reparable harm in the absence of a stay, and showing
                 that the balance of hardships favors a stay. See Pet.
                 App. 62a-66a. They cannot satisfy those standards,
                 not least because the preliminary injunction main-



                 5 Petitioners initially moved for a stay of the NAACP order, or, in

                 the alternative, a stay to the extent the order went beyond the
                 Regents preliminary injunction. NAACP v. Trump, 321 F. Supp.
                 3d 143, 145-46 (D.D.C. 2018). The district court agreed to “stay
                 its order as to new DACA applications and applications for ad-
                 vance parole, but not as to renewal applications.” Ibid. Petition-
                 ers have not sought a stay before the D.C. Circuit.




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                 tains a status quo that has existed for six years—in-
                 cluding the period following this administration’s af-
                 firmative decision to continue the DACA program in
                 February 2017. AR230. Consequently, Petitioners
                 cannot articulate any concrete harm, let alone irrepa-
                 rable harm, from allowing these cases to proceed in an
                 orderly fashion.

                     4. The government asserts that it should not be
                 “required to retain a discretionary non-enforcement
                 policy that * * * is unlawful and that sanctions the on-
                 going violation of federal law by more than half a mil-
                 lion people.” Pet. 16. Given the government’s pro-
                 fessed support for the objectives of the DACA pro-
                 gram, it is unclear how this is a cognizable harm. Or-
                 dinarily, a court of appeals’ decision affirming the gov-
                 ernment’s authority to implement a discretionary de-
                 ferred action program would be regarded as beneficial
                 to the government.

                     Indeed, the lower court rulings effectively expand,
                 rather than contract, the scope of executive power.
                 Those courts ruled that DACA is lawful, thereby re-
                 lieving the government of a perceived legal constraint.
                 This case therefore presents an unusual situation in
                 which the government is seeking accelerated review
                 of a lower court ruling that enlarges the scope of the
                 agency’s authority.

                     In any event, the preliminary injunction does not
                 “require” the government to retain the DACA pro-
                 gram in all circumstances. If the government believes
                 it has non-arbitrary grounds for rescinding DACA, it
                 could issue a new decision concerning the future of the




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                 DACA program at any time and submit that new
                 agency action for review to the district courts.

                    Moreover, neither the preliminary injunction nor
                 the DACA program itself “sanctions” violations of fed-
                 eral law. DACA is a non-enforcement program. It ex-
                 pressly states that it does not grant legal status to
                 DACA recipients. Pet. App. 101a. An agency’s decision
                 not to enforce the law is not the same as “sanctioning”
                 a violation of the law.

                     Finally, the government suggests that this Court’s
                 intervention will facilitate action by Congress. The
                 government offers no support for this speculative as-
                 sertion. A decision by this Court to grant review could
                 have the effect of freezing possible congressional ac-
                 tion rather than facilitating it. And to the extent the
                 Administration is seeking immediate review by this
                 Court in order to strengthen its hand in negotiations
                 with Congress, the Court should be cautious about in-
                 jecting itself into discussions between the political
                 branches. At a minimum, this is not a persuasive rea-
                 son to grant immediate review.

                     For all of these reasons, the government has not
                 shown that immediate review is warranted. Accord-
                 ingly, the Court should deny the petitions for immedi-
                 ate review without prejudice to the right of any party
                 to seek this Court’s review at a later stage of the liti-
                 gation.




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                 II. The Decision Of The Court Of Appeals Is Cor-
                     rect.

                     The court of appeals’ decision is also correct.

                    A. The Government Does Not Dispute That
                       Three Of The Four Preliminary Injunc-
                       tion Factors Overwhelmingly Favor Re-
                       spondents.

                     Petitioners do not challenge the district court’s de-
                 terminations that three of the four preliminary in-
                 junction factors—risk of irreparable harm, balance of
                 hardships, and the public interest—overwhelmingly
                 favor a preliminary injunction. Without a preliminary
                 injunction, hundreds of thousands of DACA recipients
                 will face devastating, life-changing harm, including
                 loss of employment and educational opportunities,
                 and possible exile from the country in which they have
                 lived since they were children. At the same time, a
                 preliminary injunction inflicts no substantial harm on
                 Petitioners, who have expressed support for DACA,
                 who have never sought to stay the injunction, and who
                 may remove any individual who “poses a risk to na-
                 tional security or public safety, or otherwise deserves,
                 in [their] judgment, to be removed.” Pet. App. 66a.

                    B. The Rescission Of DACA Is Subject To Ju-
                       dicial Review.

                     The government argues that courts are powerless
                 to review its decision to rescind the DACA program. It
                 claims that judicial review is precluded by the INA in
                 8 U.S.C. § 1252(g) and by the APA in 5 U.S.C.
                 § 701(a)(2). Neither provision applies, as the Ninth




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                 Circuit and all four other courts to examine this ques-
                 tion have found.

                     1. The Ninth Circuit correctly concluded that sec-
                 tion 1252(g) does not preclude review. Pet. Supp. App.
                 42a-45a. This Court has interpreted this provision as
                 “appl[ying] only to three discrete actions that the [Sec-
                 retary] may take: her ‘decision or action’ to ‘commence
                 proceedings, adjudicate cases, or execute removal or-
                 ders.’” AADC, 525 U.S. at 482 (quoting section
                 1252(g)); see also Jennings v. Rodriguez, 138 S. Ct.
                 830, 841 (2018) (plurality opinion) (same). Because
                 Respondents’ claims do not challenge any of these
                 enumerated actions, section 1252(g) does not apply.

                      Petitioners seek to resurrect the broader reading
                 of section 1252(g) that this Court rejected in AADC.
                 They assert that the rescission is unreviewable be-
                 cause it is “part of the process by which [the alien’s]
                 removability will be determined.” Pet. 22 (quoting
                 Jennings, 138 S. Ct. at 841). Even if the rescission
                 were a “part of the process” for determining remova-
                 bility—a dubious assertion, since rescinding DACA
                 does not trigger or even suggest the removal of any
                 particular immigrant—section 1252(g) would not bar
                 review. This Court in AADC rejected a similar argu-
                 ment, observing that actions such as opening an in-
                 vestigation—surely a “part of the process” for deter-
                 mining removability—would not come within section
                 1252(g)’s bar. AADC, 525 U.S. at 482; see also Jen-
                 nings, 138 S. Ct. at 841 (“We did not interpret this
                 language [in section 1252(g)] to sweep in any claim
                 that can technically be said to ‘arise from’ the three
                 listed actions of the [Secretary].”).




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                     2. a. The Ninth Circuit also correctly held that the
                 APA permits judicial review here. The APA “mani-
                 fests a congressional intention that it cover a broad
                 spectrum of administrative actions.” Bowen v. Massa-
                 chusetts, 487 U.S. 879, 904 (1988) (citation omitted).
                 Congress “ordinarily intends that there be judicial re-
                 view” of agency action because “‘[t]he statutes of Con-
                 gress are not merely advisory when they relate to ad-
                 ministrative agencies.’” Bowen v. Michigan Acad. of
                 Family Physicians, 476 U.S. 667, 671 (1986) (quoting
                 H.R. Rep. No. 79-1980, at 41 (1946)). The APA thus
                 provides that “[a] person suffering legal wrong be-
                 cause of agency action * * * is entitled to judicial re-
                 view thereof.” 5 U.S.C. § 702; see id. § 704.

                     Consistent with Congress’s intent, this Court ap-
                 plies a “strong presumption favoring judicial review of
                 administrative action,” which the government “bears
                 a heavy burden” to overcome. Mach Mining, LLC v.
                 EEOC, 135 S. Ct. 1645, 1651 (2015) (internal quota-
                 tion marks omitted). This strong presumption applies
                 equally in the immigration context. See INS v. St. Cyr,
                 533 U.S. 289, 298-99 (2001).

                     The presumption of judicial review applies when
                 an agency believes its action is compelled by statute.
                 See 5 U.S.C. § 706(2) (courts shall “set aside agency
                 action” that is “not in accordance with law”). This
                 Court has recognized that it is the role of the Judiciary
                 to evaluate an agency’s claims that Congress has re-
                 quired it to act, or refrain from acting. See Negusie v.
                 Holder, 555 U.S. 511, 516 (2009) (remanding because
                 the Board of Immigration Appeals denied relief based
                 on an incorrect reading of Supreme Court precedent);




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                 Massachusetts v. EPA, 549 U.S. 497, 528 (2007) (re-
                 viewing the EPA’s conclusion that it lacked statutory
                 authority to regulate greenhouse gas emissions from
                 new motor vehicles).

                      Recognizing that courts are the ultimate arbiters
                 of the scope of agency authority, the courts of appeals
                 have long held that agency action is reviewable where
                 it is based on an agency’s interpretation of a statute.
                 See, e.g., Montana Air, 898 F.2d at 757 (“Nothing in
                 the Administrative Procedure Act * * * precludes re-
                 view of a proper plaintiff’s timely challenge of an
                 agency’s announcement of its interpretation of a stat-
                 ute.”); Edison Elec., 996 F.2d at 333 (holding agency’s
                 “Enforcement Policy Statement” reviewable because
                 its “interpretation has to do with the substantive re-
                 quirements of the law”); Citizens for Responsibility &
                 Ethics, 892 F.3d at 441 n.11 (“[I]f the Commission de-
                 clines to bring an enforcement action on the basis of
                 its interpretation of [the relevant statute], the Com-
                 mission’s decision is subject to judicial review to de-
                 termine whether it is ‘contrary to law.’”).

                      Because judicial review of agency action is the
                 rule, “nonreviewability” is “an exception which must
                 be demonstrated.” Bowen, 476 U.S. at 672 n.3. One
                 such “very narrow” exception that applies only in
                 “rare instances,” Overton Park, 401 U.S. at 410, is for
                 actions “committed to agency discretion by law,” 5
                 U.S.C. § 701(a)(2); see also Weyerhaeuser Co. v. U.S.
                 Fish & Wildlife Serv., 139 S. Ct. 361, 370 (2018) (“to
                 honor the presumption of review, we have read the ex-
                 ception in §701(a)(2) quite narrowly”). To escape judi-
                 cial review, an agency action must be one for which a
                 court “would have no meaningful standard against




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                 which to judge the agency’s exercise of discretion,” i.e.,
                 where there is “no law to apply.” Chaney, 470 U.S. at
                 830. So long as there is “law to apply,” the default rule
                 of judicial review remains in force.

                     b. The government’s position here is contrary to
                 well-established precedent and the foundational prin-
                 ciples of judicial review under the APA. The Acting
                 Secretary of DHS rescinded DACA based on the Attor-
                 ney General’s conclusion that DACA was created
                 “without proper statutory authority” and “was an un-
                 constitutional exercise of authority by the Executive
                 Branch.” AR251. The government nonetheless asserts
                 that its action was “committed to agency discretion”
                 and is thus unreviewable.

                     Thus far, the courts have unanimously rejected
                 the government’s argument that this “narrow” excep-
                 tion to judicial review bars review of the rescission.
                 See, e.g., Pet. Supp. App. 23a-42a; NAACP, 298 F.
                 Supp. 3d at 226-34; Casa de Md., 284 F. Supp. 3d at
                 769-70; Batalla Vidal, 295 F. Supp. 3d at 147-52. The
                 Ninth Circuit explained that the reviewability of the
                 rescission “follows necessarily from existing doctrine”
                 in this Court and the courts of appeals. Pet. Supp.
                 App. 31a. There is plainly “law to apply,” Chaney, 470
                 U.S. at 830, because the rescission rested upon the le-
                 gal conclusion that DACA was unlawful. See Pet.
                 Supp. App. 35a-42a. 6



                 6 The Ninth Circuit properly rejected the government’s inappo-

                 site comparison of the rescission of the DACA program to a pros-
                 ecutor’s individualized decision not to institute criminal proceed-




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                     c. The government’s reliance on this Court’s deci-
                 sion in Chaney is misplaced because, in that case, the
                 agency had not “refus[ed] * * * to institute proceedings
                 based solely on the belief that it lack[ed] jurisdiction.”
                 470 U.S. at 833 n.4. Here, the Acting Secretary’s deci-
                 sion to rescind DACA fits comfortably within Chaney’s
                 footnote 4, as the rescission was based on the conclu-
                 sion that DHS lacked power to continue DACA. See
                 Pet. Supp. App. 24a-31a.

                     Chaney also focused on an agency’s refusal to take
                 an individual “requested enforcement action,” 470
                 U.S. at 831, not the creation or rescission of a pro-
                 gram. See Pet. Supp. App. 34a-35a n.13 (“Nowhere
                 does [Chaney] suggest the broader proposition that
                 any decision simply related to enforcement should be
                 presumed unreviewable.”); see also ibid. (collecting
                 cases holding that general enforcement policies are
                 subject to review).

                     In Chaney, the Court explained that an individu-
                 alized decision not to enforce “often involves a compli-
                 cated balancing of a number of factors which are pe-
                 culiarly within [the agency’s] expertise,” including the
                 proper allocation of agency resources. 470 U.S. at 831.
                 The decision here, by contrast, did not reflect a “bal-
                 ancing of a number of factors.” It was a legal conclu-
                 sion—something peculiarly within courts’ expertise.
                 Cf. Massachusetts, 549 U.S. at 527 (holding denials of
                 petitions for rulemaking reviewable in part because,



                 ings. See Pet. Supp. App. 30a n.12 (“Such a belief is not equiva-
                 lent to a conclusion that the government lacked the power to in-
                 stitute a prosecution in the first place.”).




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                 “[i]n contrast to nonenforcement decisions,” such de-
                 nials are “more apt to involve legal as opposed to fac-
                 tual analysis” (internal quotation marks omitted)).
                 The rescission of DACA “involves the sort of routine
                 dispute that federal courts regularly review,” Weyer-
                 haeuser, 139 S. Ct. at 370, namely, an agency’s belief
                 that its actions are compelled by statute.

                      This Court’s decision in ICC v. Brotherhood of Lo-
                 comotive Engineers, 482 U.S. 270 (1987) (BLE), is not
                 to the contrary. BLE involved an agency action—de-
                 nial of a petition to reconsider based on material er-
                 ror—that, like the individual nonenforcement deci-
                 sion at issue in Chaney, was “traditionally” unreview-
                 able. The Court noted that an “otherwise unreviewa-
                 ble action” does not “become[] reviewable” merely be-
                 cause “the agency gives a ‘reviewable’ reason.” Id. at
                 283. But the decision to rescind DACA was reviewa-
                 ble, so BLE is inapposite. See Pet. Supp. App. 29a-31a.

                     d. Petitioners seek to blame the rescission of
                 DACA on the courts, asserting that they were legally
                 constrained by judicial decisions from continuing
                 DACA. In the next breath, however, they invoke
                 agency discretion to avoid judicial review altogether.
                 But the purpose of the APA is to ensure agency ac-
                 countability. When agencies exercise policy discretion,
                 they may receive deference or, in “rare” cases where
                 there is no standard to apply, their actions may escape
                 judicial review. When, however, they assert that their
                 actions are compelled by law, courts can, and should,
                 evaluate those claims. The Ninth Circuit’s decision
                 thus furthers “values fundamental to the administra-
                 tive process,” serving “the critical function of promot-
                 ing * * * democratic accountability to the people” by




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                 preventing the Executive Branch from shifting re-
                 sponsibility to the courts for its actions. Pet. Supp.
                 App. 31a-33a.

                    C. Respondents Are Likely To Prevail On
                       The Merits Of Their APA Claims.

                     1. a. The court of appeals correctly determined
                 that the rescission is likely arbitrary, capricious, and
                 contrary to law, because Petitioners’ stated reason for
                 terminating DACA—its purported illegality—is incor-
                 rect. 5 U.S.C. § 706(2)(A) (courts “shall” set aside
                 agency action that is “not in accordance with law”);
                 Massachusetts, 549 U.S. at 532-34 (setting aside EPA
                 decision premised on misinterpretation of its legal au-
                 thority); Negusie, 555 U.S. at 516 (remanding for
                 agency to “confront the same question free of [its] mis-
                 taken legal premise”); SEC v. Chenery Corp., 318 U.S.
                 80, 94 (1943) (“an order may not stand if the agency
                 has misconceived the law”).

                     DACA, like other deferred action programs dating
                 back more than 60 years, is a lawful exercise of DHS’s
                 broad statutory authority to “[e]stablish[] national im-
                 migration enforcement policies and priorities.” 6
                 U.S.C. § 202(5). Both this Court, see AADC, 525 U.S.
                 at 483-85, and multiple provisions of the INA, see, e.g.,
                 8 U.S.C. §§ 1227(d)(2), 1154(a)(1)(D)(i)(II), have recog-
                 nized that deferred action is an ordinary feature of our
                 immigration system. See also Br. of United States at
                 *42-64, United States v. Texas, 136 S. Ct. 2271 (2016)
                 (No. 15-674), 2016 WL 836758. The government itself
                 has likewise concluded that DACA falls within its au-




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                 thority to employ deferred action to effectuate its en-
                 forcement priorities. See Pet. App. 99a (DACA memo-
                 randum); AR21 n.8 (Office of Legal Counsel advice).

                     The Fifth Circuit’s DAPA decisions do not decide
                 the legality of DACA. 7 One of the primary defects the
                 Texas court identified in DAPA was that it encroached
                 upon an “intricate [statutory] process for illegal aliens
                 to derive a lawful immigration classification from
                 their children’s immigration status.” Texas, 809 F.3d
                 at 179. But there is no statutory apparatus conferring
                 lawful immigration status on the pool of individuals
                 eligible for DACA, and nothing in the INA forbids
                 DACA. The Texas court’s concern about the scope of
                 DAPA—which would have reached 4.3 million people,
                 809 F.3d at 181—is not similarly implicated by DACA,
                 which has reached nearly 800,000, Pet. App. 14a.

                     Accordingly, Petitioners’ decision to terminate
                 DACA rested on a legal error. That decision was “not
                 in accordance with law,” and must be set aside. 5
                 U.S.C. § 706(2)(A).

                     b. Although the rescission memorandum offered
                 only DACA’s purported illegality as its basis for the
                 rescission, see Pet. App. 116a-117a, Petitioners have
                 argued in the course of this case that DACA was ter-
                 minated because of perceived “litigation risk” from its
                 continuation. This rationale “is not independent of an
                 on-the-merits assessment of DACA’s legality,” Pet.


                 7 Although Texas enjoined “expanded DACA,” it devoted no anal-

                 ysis to that program. Furthermore, because the “expanded
                 DACA” provisions never went into effect, they are not part of this
                 case.




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                 Supp. App. 35a n.14, and therefore does not alter the
                 analysis.

                     Moreover, this purported justification is not in the
                 administrative record, rendering it a post-hoc ration-
                 alization that cannot justify the agency’s action in re-
                 scinding DACA. Id. at 35a; see SEC v. Chenery Corp.,
                 332 U.S. 194, 196 (1947).

                      c. Even taking the “litigation risk” rationale at
                 face value, the rescission would likely fail arbitrary-
                 and-capricious review. The rescission memorandum
                 does not contain any reasoned assessment of the “liti-
                 gation risk” from the Texas case. For example, it does
                 not explain how Texas and other states could obtain
                 an immediate injunction terminating DACA, despite
                 their waiting nearly six years to sue. See Motor Vehi-
                 cle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut.
                 Auto. Ins. Co., 463 U.S. 29, 42-43 (1983) (agency action
                 is unlawful if it “entirely failed to consider an im-
                 portant aspect of the problem”). Indeed, the Texas
                 court denied an injunction of DACA based on plain-
                 tiffs’ delay. 328 F. Supp. 3d at 736-42. The memoran-
                 dum also contains no evaluation of alternative policies
                 short of rescission that would mitigate litigation risk,
                 such as addressing any purported defects that DACA
                 might share with DAPA. See State Farm, 463 U.S. at
                 48 (“At the very least this alternative way of achieving
                 the objectives of the Act should have been addressed
                 and adequate reasons given for its abandonment.”).

                     Apart from these shortcomings of “litigation risk”
                 as a justification for agency action, it could be invoked
                 in virtually any circumstance, and this would allow an




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                 agency to evade meaningful APA review merely by la-
                 beling an otherwise reviewable legal conclusion as a
                 “litigation risk” assessment. See Int’l Union, United
                 Mine Workers of Am. v. U.S. Dep’t of Labor, 358 F.3d
                 40, 44 (D.C. Cir. 2004) (litigation risk was not valid
                 grounds upon which to act); Organized Vill. of Kake v.
                 U.S. Dep’t of Agric., 795 F.3d 956, 970 (9th Cir. 2015)
                 (en banc) (rejecting litigation risk rationale).

                      d. The rescission is likely to fail arbitrary-and-ca-
                 pricious review for the separate reason that it re-
                 versed a “prior policy [that] has engendered serious
                 reliance interests,” without giving “a reasoned expla-
                 nation * * * for disregarding facts and circumstances
                 * * * engendered by the prior policy.” FCC v. Fox Tel-
                 evision Stations, Inc., 556 U.S. 502, 515-16 (2009). For
                 over six years, DACA recipients have embarked on ca-
                 reers, enrolled in degree programs, started busi-
                 nesses, purchased homes, and even married and had
                 children, all in reliance on DACA’s fundamental
                 promise: that they could remain in the United States
                 if they followed the rules. See, e.g., SER1470-72, Top-
                 ics 1, 2, 4, 5. Employers and educational institutions
                 will likewise lose their extensive investments in
                 DACA recipients if those recipients become ineligible
                 to work or are deported. See, e.g., SER832-33.

                     The     rescission    memorandum       did    not
                 acknowledge, let alone weigh, these profound reliance
                 interests and the devastating consequences of the re-
                 scission on the hundreds of thousands of DACA recip-
                 ients and the countless other stakeholders who have
                 come to rely on the program. Pet. App. 111a-119a. The
                 administrative record contains no assessment of those




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                 interests. Those failures render the rescission arbi-
                 trary and capricious. See Fox, 556 U.S. at 515-16.

                     The government asserts that DACA did not create
                 cognizable reliance interests because it was subject to
                 revocation. Virtually every agency decision is subject
                 to revocation, so long as it is done in accordance with
                 law. But those decisions create reliance interests all
                 the same. See Encino Motorcars, LLC v. Navarro, 136
                 S. Ct. 2117, 2125-26 (2016) (Department of Labor was
                 free to reinterpret the Fair Labor Standards Act, but
                 only if it appropriately accounted for reliance interests
                 arising from its prior interpretation). The government
                 was required to consider those interests here.

                      e. Secretary Nielsen’s memorandum, published
                 more than nine months after the rescission and never
                 submitted to the district court in this case, consists of
                 post-hoc rationalizations that cannot overcome the in-
                 adequacies of the rescission memorandum. See Bur-
                 lington Truck Lines, Inc. v. United States, 371 U.S.
                 156, 168-69 (1962) (agency action may be “upheld, if
                 at all, on the same basis articulated in the order by
                 the agency itself”). In particular, the memorandum’s
                 references to enforcement policy and reliance inter-
                 ests advance justifications that appear neither in the
                 rescission memorandum nor in the administrative
                 record, and thus cannot justify the decision. See ibid.
                 Importantly, the Nielsen memorandum does not pur-
                 port to be an independent agency action entitled to re-
                 view on its own merits; instead, it purports only to of-
                 fer “explanation” of the earlier-issued rescission mem-
                 orandum, which it “decline[d] to disturb.” Pet. App.
                 121a. The Ninth Circuit therefore correctly concluded
                 the memorandum was a post-hoc rationalization.




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                     To the extent the memorandum merits considera-
                 tion, given that it was submitted to the Ninth Circuit
                 after oral argument and was not substantively
                 briefed, its impact, if any, should be left to the district
                 court in the first instance. Pet. Supp. App. 57a-58a
                 n.24.

                     2. Upon finding the rescission of DACA was likely
                 arbitrary and capricious, the court of appeals properly
                 affirmed the preliminary injunction. That remedy is
                 needed to provide relief to the parties, is consistent
                 with the ordinary remedy of vacatur in APA cases,
                 and ensures a uniform immigration policy nationwide.




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                                       CONCLUSION

                     The petition for a writ of certiorari should be de-
                 nied.

                                               Respectfully submitted,

                  Jeffrey M. Davidson          Robert A. Long
                  David Watnick                  Counsel of Record
                  COVINGTON &                  Mark H. Lynch
                  BURLING LLP                  Alexander A. Berengaut
                  One Front Street             Megan A. Crowley
                  San Francisco, CA            Ivano M. Ventresca
                  94111                        James O. Strawbridge 8
                  (415) 591-6000               COVINGTON & BURLING LLP
                                               One CityCenter
                  Charles F. Robinson          850 Tenth Avenue, NW
                  Margaret Wu                  Washington, DC 20001
                  Sonya Sanchez                (202) 662-6000
                  University of
                  California
                  Office of the General
                  Counsel                      Mónica Ramírez Almadani
                  1111 Franklin Street,        COVINGTON & BURLING LLP
                  8th Floor                    1999 Avenue of the Stars
                  Oakland, CA 94607            Los Angeles, CA 90067
                  (510) 987-9800               (424) 332-4800
                  Counsel for The Regents of the University of Califor-
                               nia and Janet Napolitano

                         (Counsel listing continues on next page)




                 8 Member of the Bar of Maryland, District of Columbia Bar mem-

                 bership pending; supervised by principals of the Firm.




                                                                                  AR3711
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                                        Justin T. Berger
                                        Brian Danitz
                                        Tamarah Prevost
                                        COTCHETT, PITRE
                                        &MCCARTHY, LLP
                                        840 Malcolm Road, Suite
                                        200
                                        Burlingame, CA 94010
                                        (650) 697-6000

                                        Counsel for Plaintiff City
                                        of San José




                                                                            AR3712
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                                            No. 18-587
                                             IN THE
                  Supreme Court of the United States
                                        _______________
                       UNITED STATES DEPARTMENT OF HOMELAND
                                  SECURITY, ET AL.,
                                                      Petitioners,
                                         v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                     Respondents.
                                 _______________
                          On Petition For A Writ Of Certiorari
                         To The United States Court of Appeals
                                For The Ninth Circuit
                                        _______________
                   Brief in Opposition for Respondents Dulce Garcia,
                      Miriam Gonzalez Avila, Saul Jimenez Suarez,
                     Viridiana Chabolla Mendoza, Norma Ramirez,
                  Jirayut Latthivongskorn, the County of Santa Clara,
                 and Service Employees International Union Local 521
                                        _______________

                 STUART F. DELERY                  THEODORE J. BOUTROUS, JR.
                 MATTHEW S. ROZEN                    COUNSEL OF RECORD
                 HALEY S. MORRISSON                ETHAN D. DETTMER
                 ANDREW J. WILHELM                 KIRSTEN GALLER
                 GIBSON, DUNN & CRUTCHER LLP       JONATHAN N. SOLEIMANI
                 1050 Connecticut Avenue, N.W.     KELSEY J. HELLAND
                 Washington, D.C. 20036            GIBSON, DUNN & CRUTCHER LLP
                 (202) 955-8500                    333 South Grand Avenue
                                                   Los Angeles, CA 90071
                 MARK D. ROSENBAUM                 (213) 229-7000
                 JUDY LONDON                       tboutrous@gibsondunn.com
                 PUBLIC COUNSEL
                 610 South Ardmore Avenue
                 Los Angeles, CA 90005
                 (213) 385-2977

                    Counsel for Respondents Dulce Garcia, Miriam Gonzalez Avila,
                  Saul Jimenez Suarez, Viridiana Chabolla Mendoza, Norma Ramirez,
                                    and Jirayut Latthivongskorn

                              (Additional Counsel Listed on Inside Cover)




                                                                                    AR3713
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                                     9703




                 LUIS CORTES ROMERO                   LAURENCE H. TRIBE
                 BARRERA LEGAL GROUP, PLLC            HARVARD LAW SCHOOL*
                 19309 68th Avenue South,             1575 Massachusetts Avenue
                 Suite R102                           Cambridge, MA 02138
                 Kent, WA 98032                       (617) 495-1767
                 (253) 872-4730
                                                      LEAH M. LITMAN
                 ERWIN CHEMERINSKY                    UNIVERSITY OF CALIFORNIA,
                 UNIVERSITY OF CALIFORNIA,            IRVINE SCHOOL OF LAW*
                 BERKELEY SCHOOL OF LAW*              401 E. Peltason Drive
                 215 Boalt Hall                       Irvine, CA 92697
                 Berkeley, CA 94720                   (949) 824-7722
                 (510) 642-6483

                   Additional Counsel for Respondents Dulce Garcia, Miriam Gonzalez
                    Avila, Saul Jimenez Suarez, Viridiana Chabolla Mendoza, Norma
                                  Ramirez, and Jirayut Latthivongskorn

                                               *Affiliation for identification purposes only

                  STACEY M. LEYTON                      JAMES R. WILLIAMS
                  ERIC P. BROWN                         GRETA S. HANSEN
                  ALTSHULER BERZON LLP                  LAURA S. TRICE
                  177 Post Street, Suite 300            MARCELO QUIÑONES
                  San Francisco, CA 94108               OFFICE OF THE COUNTY COUNSEL
                  (415) 421-7151                        COUNTY OF SANTA CLARA
                                                        70 West Hedding Street
                  Counsel for Respondents County        East Wing, Ninth Floor
                  of Santa Clara and Service Em-        San Jose, CA 95110
                  ployees International Union Local     (408) 299-5900
                  521
                                                        Counsel for Respondent County of
                                                        Santa Clara




                                                                                               AR3714
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                             QUESTIONS PRESENTED

                     The Deferred Action for Childhood Arrivals
                 (DACA) program enables nearly 700,000 undocu-
                 mented individuals who were brought to the United
                 States as children to live and work here without fear
                 of deportation, so long as they play by the rules. In
                 September 2017, the Acting Secretary of Homeland
                 Security, on the advice of the Attorney General, ab-
                 ruptly decided to terminate the program.
                     Respondents brought suit to challenge that deci-
                 sion. The district court granted respondents’ motion
                 for a preliminary injunction and also denied the gov-
                 ernment’s motion to dismiss for lack of jurisdiction.
                 The court of appeals affirmed.
                    The questions presented are:
                    1. Whether either the Administrative Procedure
                 Act (APA), 5 U.S.C. § 701(a)(2), or a particular provi-
                 sion of the Immigration and Nationality Act (INA),
                 8 U.S.C. § 1252(g), precludes judicial review of the
                 Acting Secretary’s decision to terminate the DACA
                 program.
                     2. Whether the district court abused its discre-
                 tion in entering a preliminary injunction, based on its
                 conclusion that respondents are likely to succeed on
                 the merits of their claim that the decision to end
                 DACA was “arbitrary, capricious, an abuse of discre-
                 tion, or otherwise not in accordance with law,” in vio-
                 lation of the APA, 5 U.S.C. § 706(2)(A), and its balanc-
                 ing of the equities.




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                               BRIEF IN OPPOSITION

                     This case is about whether nearly 700,000 young
                 adults who came to the United States as children and
                 have lived their entire lives here will be subject to re-
                 moval because the government decided to rescind the
                 Deferred Action for Childhood Arrivals (DACA) pro-
                 gram. Since 2012, DACA has allowed these individu-
                 als, known as “Dreamers,” to obtain an education,
                 work, and contribute to our Nation. The program has
                 been an unqualified success, and DACA recipients
                 have relied on the federal government’s repeated
                 promises of protection from removal.
                     In September 2017, the government reversed
                 course and announced the termination of DACA. The
                 Dreamers’ fate has captured the attention of the ad-
                 ministration, Congress, and millions of Americans
                 who worry about the devastating impact that termi-
                 nating DACA will have on families, schools, commu-
                 nities, and our economy.
                    Respondents—including individual DACA recipi-
                 ents whose stories “embod[y] the American Dream,”
                 App. to U.S. Supp. Br. (Supp. App.) 5a—brought this
                 lawsuit to challenge the government’s decision to end
                 DACA. The district court entered a preliminary in-
                 junction to freeze the DACA program in place, protect-
                 ing the livelihood and well-being of the nearly 700,000
                 current DACA recipients, while the courts determine
                 whether the rescission was lawful. The court of ap-
                 peals affirmed those rulings.
                     This Court should deny review. The decision below
                 is preliminary and interlocutory. Only one court of
                 appeals has addressed the issue. That court was not
                 presented with, and did not decide, all aspects of the




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                 questions presented. Indeed, the government con-
                 cedes there is no way to bring the full dispute before
                 this Court without ignoring the appellate process and
                 leapfrogging the court of appeals in two additional
                 cases addressing similar, though not identical, chal-
                 lenges to the decision to end DACA.
                    This Court should reject this attempt to upset the
                 normal appellate process. If the Court waited until
                 next Term, there would likely be multiple appellate
                 decisions addressing all the issues that the govern-
                 ment asks this Court to review. Those decisions
                 would substantially assist this Court.
                    And there is no urgency here. The government
                 cannot credibly claim it is being harmed by the pre-
                 liminary injunction when it never sought a stay.
                 DACA recipients contribute to society and have been
                 carefully vetted. Their presence in this country while
                 the courts determine their rights harms no one. Noth-
                 ing about the merits warrants immediate review.
                 This Court should not upset time-honored appellate
                 procedures, especially when the President said that
                 he supports allowing the Dreamers to remain in the
                 country, and signaled willingness to work with Con-
                 gress to achieve that widely-shared goal. The petition
                 should be denied.
                                 OPINIONS BELOW
                     The district court’s order granting respondents’
                 motion for a preliminary injunction and denying the
                 government’s motion to dismiss for lack of jurisdiction
                 (Pet. App. 1a-70a) is reported at 279 F. Supp. 3d 1011.
                 The district court’s order granting in part and denying
                 in part the government’s motion to dismiss for failure
                 to state a claim (Pet. App. 71a-90a) is reported at 298
                 F. Supp. 3d 1304.




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                     The decision of the court of appeals affirming the
                 district court’s orders (Supp. App. 1a-87a) is reported
                 at 908 F.3d 476.
                                   JURISDICTION
                    The petition for a writ of certiorari before judg-
                 ment was filed on November 5, 2018. The court of ap-
                 peals entered judgment on November 8, 2018. The
                 government filed a supplemental brief on November
                 19, 2018, asking the Court to convert the petition into
                 a petition for a writ of certiorari. This Court’s juris-
                 diction is invoked under 28 U.S.C. § 1254(1).
                                     STATEMENT
                     1. Deferred action is “a regular practice” in
                 which the government elects not to seek removal of
                 individuals “for humanitarian reasons or simply for
                 its own convenience.” Reno v. Am.-Arab Anti-Discrim-
                 ination Comm., 525 U.S. 471, 483-84 & n.8 (1999)
                 (AADC). Congress has recognized this established
                 practice in the Immigration and Nationality Act
                 (INA). See 8 U.S.C. § 1227(d)(2); see also 6 U.S.C.
                 § 202(5).
                     Over many decades, presidential administrations
                 of both parties have used deferred action to permit
                 certain categories of individuals to remain in the
                 United States. Pet. App. 5a-8a. Deferred action pro-
                 grams have become “a well-accepted feature of the
                 [E]xecutive’s enforcement of our immigration laws.”
                 Id. at 8a.
                    In 2012, Secretary of Homeland Security Janet
                 Napolitano established DACA. Pet. App. 9a. The pro-
                 gram permits young people who were brought to the
                 United States as children to lawfully live and work in
                 this country. Id. Qualifying individuals may obtain
                 work authorization and a social security number, and




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                 travel overseas and lawfully return to the United
                 States. Id. at 12a.
                     DACA has allowed nearly 800,000 people to come
                 out of the shadows and build productive and fulfilling
                 lives in the United States. Compl. ¶ 128. 1 Dreamers
                 have relied on DACA’s promise to advance their edu-
                 cation, serve in the U.S. military, start businesses,
                 have families, and make many other life-changing de-
                 cisions. Id. ¶¶ 37, 41, 48-98. Like so many other
                 Dreamers, the individual respondents here—Dulce
                 Garcia, Miriam Gonzalez Avila, Saul Jimenez Suarez,
                 Norma Ramirez, and Jirayut Latthivongskorn—
                 achieved remarkable success through hard work,
                 fierce determination, and incredible resilience. Id.
                 ¶¶ 4, 6-9. 2 Because of DACA, they have been able to
                 pursue careers as lawyers, medical professionals, and
                 teachers, advancing their commitment to serve their
                 communities. Id. ¶¶ 53-55, 62-98. Without DACA,
                 they will face possible deportation and risk losing
                 their families, community connections, and liveli-
                 hoods. Id. ¶¶ 48-49, 63, 76, 83, 91, 128.
                     DACA enjoys widespread support from the public
                 and from members of both political parties. “An over-
                 whelming percentage of Americans”—up to 87 per-
                 cent—“support protections for ‘Dreamers.’” Casa de
                 Md. v. DHS, 284 F. Supp. 3d 758, 767, 779 (D. Md.
                 2018). Hundreds of America’s most important busi-
                 ness leaders signed a letter stating that the program
                 is “vital to the future of our companies and our econ-
                 omy.” Compl. ¶ 132. And political leaders including

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                     “Compl.” refers to the complaint filed in Garcia v. United
                 States, No. 3:17-cv-5380 (N.D. Cal. Sept. 18, 2017).
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                      After the Complaint was filed in September 2017, Viridiana
                 Chabolla Mendoza was granted Lawful Permanent Resident sta-
                 tus.




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                 Speaker of the House Paul Ryan and Senator Lindsay
                 Graham have urged the government not to “pull the
                 rug out” from Dreamers who relied on the program.
                 Id. ¶¶ 41-47.
                     2. The current administration originally sup-
                 ported DACA and the Dreamers. In March 2017, Sec-
                 retary of Homeland Security John Kelly stated that
                 DACA embodies a “commitment … by the government
                 towards … Dreamer[s].” Compl. ¶ 46 (first alteration
                 in original). In April 2017, the President said that the
                 “dreamers should rest easy” because the “policy of
                 [his] administration [is] to allow the dreamers to
                 stay.” Id. ¶ 47 (alterations in original).
                     But on September 4, 2017, the administration re-
                 versed course. Attorney General Jefferson B. Sessions
                 III sent a one-page letter to Acting Secretary of Home-
                 land Security Elaine Duke, stating that “DACA was
                 effectuated by the previous administration through
                 executive action, without proper statutory authority”
                 and “was an unconstitutional exercise of authority by
                 the Executive Branch.” Pet. App. 116a (internal quo-
                 tation marks omitted). The following day, he an-
                 nounced the decision to end DACA. As a reason, he
                 cited the Fifth Circuit’s decision (affirmed by an
                 equally divided Court) approving an injunction
                 against a different deferred action program—De-
                 ferred Action for Parents of Americans and Lawful
                 Permanent Residents (DAPA). Dkt. 64-1 at 251 (cit-
                 ing remarks referring to Texas v. United States, 809
                 F.3d 134 (5th Cir. 2015), aff ’d, 136 S. Ct. 2271, 2272
                 (2016) (per curiam) (Texas I)). 3



                  3
                     “Dkt.” refers to the electronic docket for Regents of the Uni-
                 versity of California v. DHS, No. 3:17-cv-05211 (N.D. Cal.).




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                     Acting Secretary Duke issued a memorandum for-
                 mally rescinding DACA. Pet. App. 17a. The memo-
                 randum instructed the agency to stop approving new
                 DACA applications and to allow individuals’ DACA
                 status to expire beginning March 5, 2018. Id. at 117a-
                 18a. Her reasoning was brief: Citing the “Supreme
                 Court’s and the Fifth Circuit’s rulings [in Texas I], and
                 the September 4, 2017 letter from the Attorney Gen-
                 eral,” she concluded that the “program should be ter-
                 minated.” Id. at 117a. The memorandum did not an-
                 alyze “litigation risk” and did not weigh DACA’s wide-
                 spread benefits against the many harms that would
                 result if DACA were rescinded. Acting Secretary
                 Duke also said—contrary to the President’s and prior
                 Secretaries’ statements—that “DACA was fundamen-
                 tally a lie.” Dkt. 121-2 at 1869.
                    3. Respondents filed five related lawsuits chal-
                 lenging the decision to rescind DACA. Respondents
                 contend, inter alia, that DACA’s rescission (1) is un-
                 lawful under the APA because it is “arbitrary, capri-
                 cious, an abuse of discretion, or otherwise not in ac-
                 cordance with law,” 5 U.S.C. § 706(2)(A); (2) violates
                 the APA’s notice-and-comment rulemaking require-
                 ment; (3) denies DACA recipients equal protection of
                 the laws; and (4) deprives DACA recipients of consti-
                 tutionally protected property and liberty interests in
                 violation of due process. Pet. App. 19a-22a. Because
                 DACA was to expire in March 2018, respondents re-
                 quested a preliminary injunction. Dkt. 111.
                    After an initial dispute about the administrative
                 record (see In re United States, 138 S. Ct. 443 (2017)
                 (per curiam)), the district court rejected the govern-
                 ment’s arguments that no court can review the deci-
                 sion to end DACA. Pet. App. 1a-70a; id. at 26a-33a.
                 The court held that the Secretary’s decision is not




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                 “committed to agency discretion by law” under the
                 APA, 5 U.S.C. § 701(a)(2), because it is a “major policy
                 decision” based on the agency’s “interpretation of the
                 INA”—a “quintessential[ly]” reviewable legal ques-
                 tion for which “there is law to apply.” Pet. App. 28a-
                 30a. The court also held that 8 U.S.C. § 1252(g) does
                 not bar judicial review, Pet. App. 30a-33a, because
                 that provision applies only to the “three discrete deci-
                 sions” named in the statute—decisions to “commence
                 proceedings, adjudicate cases, or execute removal or-
                 ders against any alien,” 8 U.S.C. § 1252(g)—and the
                 decision to end DACA is none of those. Rather, it is
                 an “across-the-board cancellation of a nationwide pro-
                 gram” done “prior to the commencement of any re-
                 moval proceedings.” Pet. App. 31a-32a.
                     The district court granted preliminary injunctive
                 relief. Pet. App. 41a-69a. It found respondents likely
                 to succeed on their APA claim that DACA’s rescission
                 is arbitrary and capricious because neither of the gov-
                 ernment’s asserted reasons for ending DACA with-
                 stood scrutiny. First, the court rejected the govern-
                 ment’s argument that “the agency lacked authority to
                 implement DACA.” Id. at 42a. Citing guidance from
                 the Office of Legal Counsel—guidance on which the
                 government itself has relied and has never repudi-
                 ated—the court explained that DACA is a permissible
                 exercise of the Executive’s broad immigration enforce-
                 ment authority. Id. at 42a-43a. The court noted that
                 “the government [had] ma[de] no effort” in this litiga-
                 tion “to challenge any of the … reasons why DACA
                 was and remains within the authority of the agency,”
                 id. at 48a; it simply cited the Fifth Circuit’s decision
                 in the DAPA case, which is distinguishable on multi-
                 ple grounds, id. at 51a-52a.




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                     Second, the district court rejected the govern-
                 ment’s post hoc rationalization that litigation risk was
                 a sufficient reason to end DACA. Pet. App. 55a-62a.
                 The court explained that this was not the reason re-
                 lied upon by the decision-makers: The Attorney Gen-
                 eral’s stated reason for ending DACA was his belief
                 that it is illegal, and the Acting Secretary’s memoran-
                 dum relied on that determination, without separately
                 “consider[ing] whether defending the program in
                 court would (or would not) be worth the litigation
                 risk.” Id. at 56a. The agency never assessed litigation
                 risk or weighed it against countervailing benefits,
                 such as “DACA’s programmatic objectives” and “the
                 reliance interests of DACA recipients.” Id. at 58a.
                 The agency’s about-face, without a reasoned explana-
                 tion was a paradigmatic example of arbitrary and ca-
                 pricious agency action. Id. at 60a-61a.
                    The district court concluded that the equities
                 strongly favor a preliminary injunction. Pet. App.
                 62a-66a. The government “d[id] not dispute” that re-
                 spondents—especially the individual DACA recipi-
                 ents—will face irreparable injury absent temporary
                 injunctive relief. Id. at 62a-63a. And the court con-
                 cluded that the “public interest will be served by
                 DACA’s continuation,” because the rescission would
                 “result in hundreds of thousands of individuals losing
                 their work authorizations and deferred action status,”
                 tearing apart families and removing productive work-
                 ers from the national economy. Id. at 65a.
                     The preliminary injunction directs the government
                 “to maintain the DACA program,” except that the gov-
                 ernment need not accept new applications and foreign
                 travel requests. Pet. App. 66a-67a. The government
                 may exercise its discretion “on an individualized basis
                 for each renewal application” and may “remove any




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                 individual, including any DACA enrollee, who it de-
                 termines poses a risk to national security or public
                 safety, or otherwise deserves, in its judgment, to be
                 removed.” Id. at 66a.
                    The district court granted the government’s mo-
                 tion to dismiss respondents’ notice-and-comment and
                 rescission-based substantive due process claims, but
                 denied the motion with respect to respondents’ sub-
                 stantive APA, equal protection, and information-shar-
                 ing-based substantive due process claims. Pet. App.
                 71a-90a.
                     4. The government appealed the preliminary in-
                 junction order. Pet. App. 91a-95a. With permission
                 from the district court and court of appeals, the gov-
                 ernment and respondents each filed interlocutory ap-
                 peals of the motion to dismiss order. See C.A. No. 18-
                 15128, Dkt. 1; C.A. No. 18-15133, Dkt. 6; C.A. No. 18-
                 15134, Dkt. 1; see also 28 U.S.C. § 1292(b). The gov-
                 ernment did not seek—and never has sought—a stay
                 of the preliminary injunction.
                    Not content with the normal appellate process, the
                 government filed a petition for a writ of certiorari be-
                 fore judgment, which this Court denied. DHS v. Re-
                 gents of Univ. of Cal., 138 S. Ct. 1182 (2018).
                    5. In the meantime, another district court in the
                 District of Columbia entered an order vacating the
                 Acting Secretary’s memorandum rescinding DACA
                 and giving the government 90 days to provide a “fuller
                 explanation for the determination that the program
                 lacks statutory and constitutional authority.” NAACP
                 v. Trump, 298 F. Supp. 3d 209, 245 (D.D.C. 2018).
                 The court stayed its order pending the government’s
                 response. Id.




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                    In response, Secretary of Homeland Security
                 Kirstjen Nielsen issued a memorandum on June 22,
                 2018, in which she “decline[d] to disturb” the Acting
                 Secretary’s rescission decision because, in her view,
                 that decision “was, and remains, sound.” Pet. App.
                 121a. Her memorandum purported to offer “further
                 explanation” for the rescission decision. Id.
                     The district court in NAACP reaffirmed its deci-
                 sion to vacate the rescission, concluding that Secre-
                 tary Nielsen’s additional memorandum did not
                 “meaningful[ly] elaborat[e]” on the initial memoran-
                 dum. NAACP v. Trump, 315 F. Supp. 3d 457, 471-73
                 (D.D.C. 2018). Consistent with the preliminary in-
                 junction here, the NAACP court allowed its order to
                 go into effect to the extent it required the government
                 to continue processing renewal applications but
                 stayed its order with respect to new applications. See
                 NAACP v. Trump, 321 F. Supp. 3d 143, 150 (D.D.C.
                 2018).
                    6. Without waiting for the court of appeals, the
                 government filed a second petition for a writ of certio-
                 rari before judgment in this case, Pet. 15, and similar
                 petitions in NAACP and a third similar case, Batalla
                 Vidal v. Nielsen, 279 F. Supp. 3d 401, 421-33
                 (E.D.N.Y. 2018). See U.S. Cert. Pets., Nos. 18-588, 18-
                 589.
                     The court of appeals affirmed in all key respects.
                 U.S. Supp. Br. 2-7. Like every court that has consid-
                 ered the question, the court of appeals concluded that
                 the rescission is judicially reviewable. Supp. App.
                 23a-45a. The court explained that the APA permits
                 review of “an agency’s nonenforcement decision” that
                 is “based solely on a belief that the agency lacked the
                 lawful authority to do otherwise”: If the “agency head
                 is mistaken in her assessment that the law precludes




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                 one course of action,” the courts can correct that legal
                 error. Id. at 27a-31a (citing Mont. Air Chapter No. 29
                 v. Fed. Labor Relations Auth., 898 F.2d 753 (9th Cir.
                 1990)). The court concluded that the INA permits re-
                 view of “programmatic” decisions regarding deferred
                 action “like the DACA rescission.” Id. at 43a.
                     On the merits, the court of appeals agreed with the
                 district court that the rescission was likely arbitrary
                 and capricious because it was based on the govern-
                 ment’s erroneous belief that the program was unlaw-
                 ful. Supp. App. 35a-42a, 45a-57a. The court of ap-
                 peals determined that Secretary Nielsen’s new mem-
                 orandum was not properly before it, so any argument
                 about it would have to be presented to the district
                 court in the first instance. Id. at 57a n.24. The court
                 cautioned, however, that the memorandum did not
                 represent “fresh agency action” and that the govern-
                 ment could not rely on “post-hoc rationalizations” for
                 the decision to end DACA. Id. Noting that the gov-
                 ernment had not challenged the district court’s weigh-
                 ing of the equities, the court affirmed the preliminary
                 injunction. Id. at 45a-46a, 58a-60a. The court also
                 held that “plaintiffs’ equal protection claim is a sec-
                 ond, alternative ground for affirming the entry of the
                 injunction.” Id. at 77a n.31.
                    The court also affirmed dismissal of respondents’
                 notice-and-comment and rescission-based substantive
                 due process claims and denial of the government’s mo-
                 tion to dismiss respondents’ remaining claims. Supp.
                 App. 61a-77a.
                    Judge Owens concurred in the judgment. Supp.
                 App. 79a-87a. In his view, the rescission is an “immi-
                 gration enforcement decision[]” that is categorically
                 “unreviewable” under the APA even if it rests on an
                 incorrect view of the law. Id. at 81a. Judge Owens




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                 nonetheless would have affirmed the preliminary in-
                 junction based on respondents’ equal protection claim.
                 Id. at 84a.
                    7. After the court of appeals issued its decision,
                 the government filed a supplemental brief in this
                 Court seeking to convert its petition for certiorari be-
                 fore judgment into a petition for certiorari. U.S. Supp.
                 Br. 9.
                    REASONS FOR DENYING THE PETITION
                     The government asks this Court to intervene to de-
                 cide a significant issue that the lower courts have not
                 yet fully addressed. In this case, neither the district
                 court nor the court of appeals has conclusively adjudi-
                 cated respondents’ claims. And although five pending
                 cases present the legal questions here, only one court
                 of appeals has actually addressed some, but not all, of
                 the issues the government wants this Court to ad-
                 dress. Three other courts of appeals are considering
                 the issue. There is no reason for this Court to ignore
                 normal processes and grant review now. There is no
                 harm to the government—it has never sought a stay
                 of these rulings—as the decision below simply freezes
                 DACA in place and allows the government to continue
                 exercising its usual enforcement discretion. And
                 there is a real prospect of a policy solution by the po-
                 litical branches that would make this Court’s inter-
                 vention unnecessary. The petition should be denied.
                 A. Only One Court Of Appeals Has Considered
                    The Questions Presented
                    1. The Court ordinarily waits until the circuits
                 have divided to decide an important legal question.
                 Sup. Ct. R. 10(a). There is nothing even close to a cir-
                 cuit split here.




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                     Five relevant cases are pending: Regents of Univ.
                 of Cal. v. DHS, No. 3:17-cv-05211 (N.D. Cal.); NAACP
                 v. Trump, No. 1:17-cv-1907 (D.D.C.); Casa de Md. v.
                 DHS, 8:17-cv-2942 (D. Md.); Batalla Vidal v. Nielsen,
                 1:16-cv-4756 (E.D.N.Y.); Texas v. United States, 1:18-
                 cv-68 (S.D. Tex.). Only one—this one—has been de-
                 cided by a court of appeals. Appeals are pending in
                 three others, and the courts are proceeding expedi-
                 tiously to decide them. 4 In the remaining case, which
                 challenges the creation of DACA (not its rescission),
                 the district court declined to issue a preliminary in-
                 junction to stop the DACA program, Texas v. United
                 States, 328 F. Supp. 3d 662, 740-42 (S.D. Tex. 2018)
                 (“Texas II”); the States did not appeal that decision
                 but instead are trying to obtain a final judgment,
                 Joint Discovery/Case Management Plan at 6, Texas II,
                 Dkt. 335.
                    Thus, it is likely that there will be additional ap-
                 pellate decisions within months. This Court could ob-
                 tain the benefit of those courts’ decisions soon, and
                 have all of the government’s issues properly pre-
                 sented. There is no countervailing harm to the gov-
                 ernment should the Court do so. See pp. 21-23, infra.
                    All courts that have considered the issue have
                 found the decision to rescind DACA judicially review-
                 able. See NAACP v. Trump, 298 F. Supp. 3d 209, 234-
                 35 (D.D.C. 2018); Batalla Vidal v. Duke, 295 F. Supp.
                 3d 127, 148-50 (E.D.N.Y. 2017); Casa De Md. v. DHS,
                 284 F. Supp. 3d 758, 770 (D. Md. 2018). The district
                 court in Texas also concluded that the decision to start

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                      See Batalla Vidal, No. 18-485 (2d Cir.), Dkt. 588 (oral argu-
                 ment scheduled for Jan. 25, 2019); Casa De Md., No. 18-1522 (4th
                 Cir.), Dkt. 55 (oral argument held Dec. 11, 2018); NAACP,
                 No. 18-5245 (D.C. Cir.), Dkt. 1756433 (briefing to be completed
                 by Jan. 22, 2019).




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                 the DACA program is judicially reviewable. Texas II,
                 328 F. Supp. 3d at 706-09. There is no disagreement
                 among any courts about the first question presented
                 in this case.
                     On the merits, the district court decisions are more
                 varied, but most favor respondents’ position. The
                 NAACP court held on summary judgment that the re-
                 scission violated the APA for largely the same reasons
                 stated by the court of appeals here. 298 F. Supp. 3d at
                 237-43. The Batalla Vidal court preliminarily en-
                 joined the rescission for largely the same reasons. Ba-
                 talla Vidal v. Nielsen, 279 F. Supp. 3d 401, 421-33
                 (E.D.N.Y. 2018). The Casa de Maryland court disa-
                 greed, holding that “[r]egardless of whether DACA is,
                 in fact, lawful or unlawful,” the government reasona-
                 bly believed the program was unlawful and could ter-
                 minate the program on that basis. 284 F. Supp. 3d at
                 768-79. The district court in Texas held that DACA
                 likely was unlawful because it violated the INA and
                 was adopted without notice-and-comment rulemak-
                 ing. Texas II, 328 F. Supp. 3d at 712-36.
                     Of these decisions, only NAACP addressed Secre-
                 tary Nielsen’s memorandum offering “additional jus-
                 tification” for the decision to rescind DACA, which
                 was not before the court of appeals here, Supp. App.
                 57a n.24. The NAACP court held that the memoran-
                 dum failed to “meaningful[ly] elaborat[e]” on the deci-
                 sion to rescind DACA. 315 F. Supp. 3d at 471-72.
                     In the “absence of a pronounced conflict among the
                 circuits,” the Court “should not rush to answer a novel
                 question” that “could benefit from further attention in
                 the court of appeals.” Spears v. United States, 555
                 U.S. 261, 270 (2009) (Roberts, C.J., dissenting).
                 Awaiting “diverse opinions” from the federal appellate




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                 courts “may yield a better informed and more endur-
                 ing final pronouncement” that avoids unforeseen con-
                 sequences for administrative law, immigration law,
                 and Executive authority beyond the immediate dis-
                 pute. Arizona v. Evans, 514 U.S. 1, 23 n.1 (1995)
                 (Ginsburg, J., dissenting). The questions presented
                 here should be vetted by the courts of appeals, and
                 they will be soon. If the Court denies certiorari now,
                 it should have ample opportunity to revisit the ques-
                 tion next Term with the benefit of decisions from the
                 Second, Fourth, and D.C. Circuits. There is no reason
                 to act now.
                     2. The government contends (Pet. 16) that the
                 courts of appeals have disagreed over whether DACA
                 is lawful. The government made this same argument
                 in its prior petition for certiorari before judgment.
                 U.S. Pet., No. 17-1003, at 15-32. It was wrong then,
                 Individual Pls.’ Br. in Opp., at 15-16, and is wrong
                 now.
                     As before, the government wrongly assumes that
                 the Fifth Circuit’s analysis of the adoption of DAPA
                 applies equally to the rescission of DACA, despite
                 acknowledged differences between the programs and
                 the posture of the litigation. DAPA was a never-im-
                 plemented deferred action program that would have
                 affected up to 4.3 million individuals. Pet. App. 54a;
                 Supp. App. 54a. The Fifth Circuit itself recognized
                 that “DACA and DAPA are not identical” and that
                 “any extrapolation from DACA [to DAPA] must be
                 done carefully.” Texas v. United States, 809 F.3d 134,
                 173-74 (5th Cir. 2015), aff ’d, 136 S. Ct. 2271, 2272
                 (2016). The lower courts here each correctly gave sev-
                 eral reasons why the questions before them were not
                 the same as those before the Fifth Circuit. Pet. App.
                 50a-54a; Supp. App. 52a-55a; see note 5, infra. Given




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                 these distinctions, the Court should not assume a cir-
                 cuit split before the Fifth Circuit has had a chance to
                 weigh in about the implications of its earlier decision.
                     Even if there were disagreement about DACA’s
                 lawfulness, this case would be a poor vehicle for con-
                 sidering it: The government conspicuously failed to
                 make a full argument below that DACA is unlawful.
                 The government’s justification for the rescission was
                 that DACA’s continued implementation posed a risk
                 of litigation—“not the legality of DACA per se.” C.A.
                 No. 18-15068, Dkt. 31, at 36-38; see also Dkt. 204 at
                 10-11, 14-21. The government told the district court
                 that it “need not agree with [the Acting Secretary’s]
                 determination [that DACA was unlawful] to uphold
                 her decision.” Dkt. 204 at 17. It told the court of ap-
                 peals that the Acting Secretary could rely on her “as-
                 sessment of DACA’s legality” even if it was not “cor-
                 rect as a matter of law.” C.A. No. 18-15068, Dkt. 31,
                 at 38-39. The government cited the Fifth Circuit’s
                 prior DAPA decision as evidence of litigation risk, but
                 conspicuously avoided defending that decision’s rea-
                 soning or offering any fully-developed argument that
                 DACA is unlawful. Id. at 17. 5 The government
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                     For example, although the petition claims that “specific and
                 detailed provisions” of the INA preclude deferred action for
                 DACA recipients, Pet. 24, the government’s briefs on appeal cited
                 only statutes that support deferred action and similar relief, C.A.
                 No. 18-15068, Dkt. 31, at 2-5, 13, 17, 25-7, 34-38, and id., Dkt.
                 134, at 1, 15, 17, 24, 33 (citing, collectively, 6 U.S.C. § 202(5), 8
                 U.S.C. §§ 1182(h)-(i), 1229b-1229c, 1252, 1255). Further, alt-
                 hough the Attorney General stated that he found “constitutional
                 defects” in DACA, Pet. App. 17a, the government’s briefs below
                 did not identify any relevant constitutional provisions. And the
                 government declined to endorse the Fifth Circuit’s holding (809
                 F.3d at 178) that DAPA was procedurally defective; instead, the
                 government told the district court that “INS deferred-action di-
                 rectives” are “policy statements exempt from notice and com-
                 ment.” Dkt. 204 at 26-27.




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                 “ma[de] no effort in its briefs to challenge any of the
                 … reasons why DACA was and remains within the au-
                 thority of the agency.” Pet. App. 48a. Having made
                 that strategic decision below, the government should
                 not be allowed to change course now, especially when
                 it is asking this Court to decide the issues in the first
                 instance.
                 B. The Decision Below Is Preliminary And
                    Interlocutory And Would Not Present The
                    Full Dispute
                     1. Review is unwarranted now because the deci-
                 sion under review is preliminary and interlocutory.
                 The district court entered a preliminary injunction to
                 freeze the DACA program in place while the courts
                 address whether the government’s decision to rescind
                 it was lawful. This Court reviews that determination
                 for “abuse of discretion” and “uphold[s] the injunction”
                 if “the underlying … question is close.” Ashcroft v.
                 ACLU, 542 U.S. 656, 664-65 (2004). The district
                 court’s rulings about reviewability and likelihood of
                 success on the APA claim both are interlocutory. The
                 Court normally does not review interlocutory orders,
                 and for good reason; further development of the issues
                 often crystallizes the arguments in preparation for
                 this Court’s review. See Va. Military Inst. v. United
                 States, 508 U.S. 946 (1993) (Scalia, J., concurring in
                 denial of certiorari).
                     Importantly, the preliminary injunction at issue
                 here is based on only one of respondents’ claims for
                 relief—the substantive APA claim. The courts below
                 did not decide the ultimate merits of that claim, but
                 only found that respondents “have shown a likelihood
                 of success.” Pet. App. 41a; accord Supp. App. 46a.
                 And the court of appeals’ decision expressly contem-
                 plates further proceedings. It directs the district court




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                 to determine “in the first instance” the relevance, if
                 any, of Secretary Nielsen’s memorandum offering “ad-
                 ditional justification” for the decision to rescind
                 DACA. Supp. App. 57a n.24.
                     As the government recently told the Court, this
                 Court’s “general practice is ‘not to decide in the first
                 instance issues not decided below’” in the course of the
                 litigation. U.S. Mem. in Opp. to Mot. to Substitute, at
                 10, Michaels v. Whitaker, No. 18-496 (alteration omit-
                 ted) (quoting Zivotofsky ex rel. Zivotofsky v. Clinton,
                 566 U.S. 189, 201 (2012)). That is especially true
                 where, as here, this Court would be the “first appel-
                 late tribunal” to decide the issue. Elonis v. United
                 States, 135 S. Ct. 2001, 2013 (2015). Granting certio-
                 rari now would require the Court to address Secretary
                 Nielsen’s memorandum without the benefit of views
                 from any federal appellate court, and would send an
                 unfortunate message to the lower courts about the
                 value of their work.
                    2. Further, respondents have another, independ-
                 ent ground that potentially supports the preliminary
                 injunction—the equal protection claim. Supp. App.
                 77a n.31, 87a. But no court has yet assess the likeli-
                 hood that respondents will succeed on that claim. All
                 the court of appeals did is affirm the denial of the gov-
                 ernment’s motion to dismiss that claim. Id. at 73a-
                 74a, 77a. The panel majority also agreed with Judge
                 Owens that “plaintiffs’ equal protection claim is a sec-
                 ond, alternative ground for affirming the entry of the
                 injunction,” id. at 77a n.31, but in doing so, neither
                 the panel majority nor Judge Owens actually deter-
                 mined whether respondents are likely to succeed on
                 that claim. Instead, Judge Owens explained that the
                 district court should decide on a full record—including




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                 “whatever additional evidence Plaintiffs muster on re-
                 mand”—whether Respondents can “demonstrat[e] a
                 likelihood of success on the merits” by “rais[ing] a pre-
                 sumption that unconstitutional animus” against Lati-
                 nos was a “substantial factor in the rescission of
                 DACA.” Id. at 84a (Owens, J., concurring). That re-
                 quires discovery and completion of the administrative
                 record, which were stayed pending appeal. Dkt. 266,
                 at 12. There is not yet a full record on this claim that
                 would permit meaningful review by this Court.
                     Because the district court has not yet expressed its
                 definitive view of respondents’ claims after full devel-
                 opment of the record and briefing, granting certiorari
                 at this early stage would embroil this Court in piece-
                 meal review without the ability to conclusively resolve
                 the “ultimate merits” of respondents’ claims. Brown v.
                 Chote, 411 U.S. 452, 457 (1973).
                     3. The government attempts to get Secretary
                 Nielsen’s memorandum before this Court by asserting
                 without explanation that it was “error” for the Ninth
                 Circuit not to consider it. U.S. Supp. Br. 9. But it is
                 well settled that appellate courts need not decide in
                 the first instance issues not decided below. E.g., Byrd
                 v. United States, 138 S. Ct. 1518, 1530 (2018).
                     The government ultimately recognizes (Pet. 32)
                 that there is no way “[t]o ensure an adequate vehicle
                 for the timely and definitive resolution of this dispute”
                 without simultaneously seeking certiorari before
                 judgment from district court decisions in two other
                 cases: NAACP, in which the court vacated the memo-
                 randum rescinding DACA, 315 F. Supp. 3d at 471-73;
                 and Batalla Vidal, which involves a preliminary in-
                 junction with the same terms as the preliminary in-
                 junction here, 279 F. Supp. 3d at 421-33. In particu-




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                 lar, the government seeks certiorari in NAACP be-
                 cause that court has “passed on the effect of [Secretary
                 Nielsen’s] memorandum on the questions presented,”
                 Pet. at 33, while the district court and court of appeals
                 here did not. But granting certiorari in those cases
                 would not solve the problem of piecemeal, interlocu-
                 tory review: Batalla Vidal is likewise preliminary and
                 interlocutory, and NAACP “defer[red] ruling” on the
                 constitutional claims in that case, 298 F. Supp. 3d at
                 246. None of these cases presents a full record on any
                 equal protection claim.
                     More significantly, certiorari before judgment is an
                 extraordinary measure reserved only for cases of such
                 “imperative public importance” that the Court’s “im-
                 mediate” review is necessary. Sup. Ct. R. 11. The
                 Court has already denied that extraordinary remedy
                 once, 138 S. Ct. 1182, and nothing has changed that
                 would make it any more appropriate now than it was
                 in February. Regardless of whether the Court grants
                 certiorari here, therefore, this Court should deny cer-
                 tiorari before judgment in NAACP and Batalla Vidal.
                 And rather than engage in piecemeal review, it should
                 also deny certiorari here.
                 C. There Is No Urgent Need For This Court’s
                    Review
                     The government rushed this case to this Court by
                 filing a second petition for certiorari before the court
                 of appeals even issued its decision, all in the hopes of
                 “ensur[ing] review by [the Court] during its current
                 Term.” Pet. 13 n.5. The decision has now issued, but
                 there is still no circuit split on the issues presented,
                 no court of appeals decision presenting the full dis-
                 pute, and no harm to the government. There is ac-
                 cordingly no urgency justifying this Court’s immedi-
                 ate review.




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                    1. The government’s main complaint is that the
                 preliminary injunction requires it to “sanction[] an on-
                 going violation of federal immigration law” by each
                 DACA recipient. Pet. 14. But the injunction does not
                 compel the government to “sanction” the unlawful
                 presence of anyone. It expressly preserves the govern-
                 ment’s authority to exercise “fair discretion … on an
                 individualized basis for each renewal application,”
                 and “to remove any individual, including any DACA
                 enrollee, who it determines poses a risk to national se-
                 curity or public safety, or otherwise deserves, in its
                 judgment, to be removed.” Pet. App. 66a.
                    And the government is routinely required to “sanc-
                 tion” what it perceives to be ongoing violations of fed-
                 eral law pending appellate review. E.g., Nat’l Ass’n of
                 Mfrs. v. Dep’t of Def., 138 S. Ct. 617, 627 (2018) (noting
                 “nationwide stay” of enforcement of Waters of the
                 United States Rule). It is often enjoined from enforc-
                 ing federal laws against conduct that it believes to be
                 unlawful. E.g., Gonzalez v. O Centro Espirita Benefi-
                 cente Uniao do Vegetal, 546 U.S. 418, 423 (2006) (af-
                 firming injunction against enforcement of Controlled
                 Substances Act). The government’s belief in the cor-
                 rectness of its own position does not defeat the policy
                 of delaying review until these issues have been con-
                 sidered by the other courts of appeals.
                    2. More fundamentally, the government’s con-
                 duct is not consistent with its current expressions of
                 harm.
                    The injunction merely freezes the situation that
                 has been in place for more than five years, including
                 under the current administration, and with the cur-
                 rent President’s support. See Compl. ¶ 47 (President
                 confirming that his “policy” is “to allow the dreamers
                 to stay”). The current administration purposefully




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                 continued DACA for more than eight months before
                 rescinding it. Pet. App. 115a-16a. The government
                 has never sought a stay of the preliminary injunction
                 in this case. That fact alone demonstrates that the
                 preliminary injunction causes no harm. 6
                     Further, the Secretary of Homeland Security
                 stated publicly—and repeated to Congress under
                 oath—that removal of DACA recipients would “not [be
                 a] priority of enforcement for ICE” “should the pro-
                 gram end.”       Interview by John Dickerson with
                 Kirstjen Nielsen, Sec’y, Dep’t of Homeland Sec., “CBS
                 This Morning” (Jan. 16, 2018), https://tinyurl.com/
                 y8ekmzar; see Oversight of the United States Depart-
                 ment of Homeland Security: Hearing before the S.
                 Comm. on the Judiciary, 115th Cong. (2018) (state-
                 ment of Kristjen Nielsen). After the government’s
                 prior petition was filed, the President said he “cer-
                 tainly [has] the right” to keep DACA in place after
                 March 2018 (contrary to the petition’s argument that
                 DACA is unlawful), and that he very well “might” do
                 so. See READ: President Trump’s Full Exchange With
                 Reporters, CNN.com (Jan. 24, 2018), https://ti-
                 nyurl.com/ydcafdtr (CNN Statement). These state-
                 ments “blunt [the government’s] claim of urgency,”
                 Ruckelshaus v. Monsanto Co., 463 U.S. 1315, 1317-18
                 (1983) (Blackmun, J., in chambers), and “vitiate[]
                 much of the force” of its claimed harm, Beame v.
                 Friends of the Earth, 434 U.S. 1310, 1313 (1977) (Mar-
                 shall, J., in chambers).



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                      Indeed, it was not until August of this year—when the court
                 in NAACP went beyond maintaining the status quo for current
                 DACA recipients and vacated the decision rescinding DACA in
                 full—that the government asked any court to stay any part of
                 any order regarding DACA.




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                     The government cannot credibly claim harm when
                 the current administration willingly permitted the
                 Dreamers to stay for over a year; and stated that it
                 will continue to do so, either by treating recipients as
                 a low enforcement priority or by extending DACA; and
                 has forgone opportunities to avoid any purported
                 harm through a stay.
                    3. The truth is that the government has no de-
                 monstrable basis for demanding “immediate determi-
                 nation” by this Court because the continuation of
                 DACA harms no one. DACA recipients are vetted to
                 ensure they pose no “threat to national security or
                 public safety”; have not been convicted of a felony, or
                 multiple or significant misdemeanors; and fulfill edu-
                 cational and work-related criteria. Pet. App. 9a.
                 Their continued presence does not injure the United
                 States, and does not warrant short-circuiting appel-
                 late review.
                     Any conceivable hardship on the government is
                 muted, moreover, because the orders in this case, Ba-
                 talla Vidal, and NAACP, currently are in effect only
                 with respect to existing DACA recipients. See Pet.
                 App. 66a-67a; Batalla Vidal, 279 F. Supp. 3d at 437;
                 NAACP v. Trump, 321 F. Supp. 3d 143, 150 (D.D.C.
                 2018). These are individuals the government has al-
                 ready vetted and permitted to remain in this country,
                 and who have already relied on the government’s
                 promises to start families, pursue employment and
                 education, and invest in their communities. Every
                 court to consider these reliance interests has con-
                 cluded they strongly outweigh any interest in has-
                 tening DACA’s end. See Pet. App. 62a-66a; Batalla
                 Vidal, 279 F. Supp. 3d at 434; NAACP, 321 F. Supp.
                 3d. at 147-49. Even the district court in the Texas




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                 case, which stated the view that DACA was likely un-
                 lawful, left the program in place pending its ultimate
                 resolution of the merits because of the significant re-
                 liance interests of DACA recipients and the “great
                 risk” to them and their families should the case be
                 wrongly decided on “only a preliminary injunction rec-
                 ord.” 328 F. Supp. 3d at 742.
                     4. At the same time the Solicitor General claims
                 an urgent need for resolution by this Court, the Pres-
                 ident and the leadership of the new Congress have
                 both expressed their desire to pursue a political solu-
                 tion that will permit the Dreamers to remain in the
                 United States. See, e.g., Remarks by President Trump
                 in Press Conference After Midterm Elections (Nov. 7,
                 2018), https://tinyurl.com/y8ab6pjc (“THE PRESI-
                 DENT: I think we could really do something having
                 to do with DACA.”); Pelosi Statement on Immigration
                 Priorities (Dec. 1, 2018), https://tinyurl.com/y8ya2hz3
                 (“Our House Democratic Majority will once again pass
                 the Dream Act.”).
                      Here, the government’s petition would potentially
                 preempt the political process (in addition to preempt-
                 ing the work of the other three courts of appeals). And
                 it would do so in contravention of the President’s
                 statements that his policy is to protect the Dreamers,
                 that he favors a political resolution of their status, and
                 that he has the “right” to keep DACA in place and (ab-
                 sent a political solution) may well do so. See Compl.
                 ¶ 47; CNN Statement; Donald J. Trump (@real-
                 DonaldTrump), Twitter (Jan. 22, 2018, 8:30 p.m.),
                 https://tinyurl.com/yajslj5l (“I want a big win for eve-
                 ryone, including Republicans, Democrats and DACA
                 ... Should be able to get there. See you at the negoti-
                 ating table!”). While the government contends that




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                 this litigation is “imped[ing] efforts to enact legisla-
                 tion” addressing DACA, Pet. 16, and the President has
                 threatened to delay negotiations unless this Court
                 grants review and holds that DACA is unlawful, Jake
                 Sherman & Anna Palmer, Exclusive: Trump Threat-
                 ens Government Shutdown Over Border Wall Fund-
                 ing,     Politico    (Nov.   28,    2018),    https://ti-
                 nyurl.com/ya6bsgpr, the President’s statements of
                 support for DACA and for a legislative fix speak
                 louder than these apparent attempts to influence this
                 Court’s ruling. This is an “unusual” case in which “the
                 ultimate authority over the agency, the Chief Execu-
                 tive, publicly favors the very program the agency has
                 ended.” Pet. App. 65a. This Court therefore should
                 give the political process a chance to work. See, e.g.,
                 Braxton v. United States, 500 U.S. 344, 347-48 (1991);
                 Volpe v. D.C. Fed’n of Civic Ass’ns, 405 U.S. 1030,
                 1030 (1972) (Burger, C.J., concurring in denial of cer-
                 tiorari) (noting “legislative action” could effectively
                 preclude review of questions presented to the Court
                 before it would be able to decide the case).
                 D. The Government’s Merits Arguments Do Not
                    Justify Review
                     The government also argues that certiorari is war-
                 ranted because “[t]he decisions below are wrong.”
                 Pet. 17. But this Court does not sit as a “court of error
                 correction.” Martin v. Blessing, 134 S. Ct. 402, 405
                 (2013) (Alito, J., respecting the denial of certiorari).
                 The government’s merits arguments fail to demon-
                 strate a compelling need for this Court’s involvement
                 at this stage.




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                    1. The Court Of Appeals Properly Affirmed
                       The   District Court’s   Reviewability
                       Determination
                    The government first argues that the APA, 5 U.S.C
                 § 701(a)(2), and a particular provision of the INA,
                 8 U.S.C. § 1252(g), preclude judicial review of the Act-
                 ing Secretary’s decision to end the DACA program.
                 Not so.
                    1. Section 701(a)(2) precludes APA review of
                 agency action that is “committed to agency discretion
                 by law.” The government contends that a “presump-
                 tion of nonreviewability applies with particular force
                 when it comes to immigration.” Pet. 19. That is flatly
                 wrong: This Court has consistently applied a “strong
                 presumption in favor of judicial review of administra-
                 tive action” in the immigration context. INS v. St.
                 Cyr, 533 U.S. 289, 298 (2001).
                     Rather, Section 701(a)(2) “is a very narrow excep-
                 tion” that is applicable only where “there is no law to
                 apply,” Citizens to Pres. Overton Park, Inc. v. Volpe,
                 401 U.S. 402, 410 (1971) (emphasis added), abrogated
                 on other grounds by Califano v. Sanders, 430 U.S. 99
                 (1977), meaning that “a court would have no … judi-
                 cially manageable standards … for judging how and
                 when an agency should exercise its discretion,” Heck-
                 ler v. Chaney, 470 U.S. 821, 830 (1985). This is not
                 one of those rare instances where there is no law to
                 apply. As the district court explained, “the new ad-
                 ministration didn’t terminate DACA on policy
                 grounds”; it “terminated DACA over a point of
                 law.” Pet. App. 18a. “[D]etermining illegality is a
                 quintessential role of the courts.” Id. at 30a.




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                     The government’s assertion that review is impos-
                 sible because immigration enforcement decisions re-
                 quire “ ‘a complicated balancing’ of factors,” Pet. 19,
                 rings hollow given that the government ended DACA
                 “based solely on a belief that [it] lacked the lawful au-
                 thority to do otherwise.” Supp. App. 29a (emphasis
                 added). Judicial review of that decision in no way “en-
                 croach[es] on executive discretion”; respondents seek
                 only to put “back on the table” the authority the gov-
                 ernment disclaimed so the government can continue
                 to exercise that authority or face “democratic account-
                 ability to the people” for declining to do so. Id. at 31a-
                 32a. Executive officials cannot “claim that the law
                 ties [their] hands while at the same time denying the
                 courts’ power to unbind [them]. [They] may escape
                 political accountability or judicial review, but not
                 both.” NAACP, 298 F. Supp. 3d at 249.
                     Ending a five-year old program that confers signif-
                 icant benefits on its recipients—including work au-
                 thorization, non-accrual of unlawful presence, travel,
                 and the right to obtain a driver’s license—is a “major
                 policy decision” that is “quite different from day-to-
                 day agency nonenforcement decisions” that courts
                 have sometimes found unreviewable. Nat’l Treasury
                 Emps. Union v. Horner, 854 F.2d 490, 496 (D.C. Cir.
                 1988). There is no tradition of withholding review in
                 these circumstances, and thus the “appropriate start-
                 ing point” remains the “APA presumption of reviewa-
                 bility.” Id. at 496-97.
                     2. Section 1252(g) of Title 8 likewise does not bar
                 review. By its text, that provision applies to three spe-
                 cific types of decisions or actions: those taken “to com-
                 mence proceedings, adjudicate cases, or execute re-
                 moval orders.” 8 U.S.C. § 1252(g). This Court has in-
                 terpreted those provisions narrowly, explaining that




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                 judicial review is precluded only for those “three dis-
                 crete actions.” AADC, 525 U.S. at 482. This case in-
                 volves none of them. This is not a challenge to the
                 government’s decision to start the removal process
                 against a particular person, or to adjudicate an indi-
                 vidual’s immigration case, or to actually remove an in-
                 dividual. Rather, it is a challenge to the decision to
                 end the DACA program.
                     The government seizes on AADC’s statement that
                 Section 1252(g) seems “designed to give some measure
                 of protection to ‘no deferred action’ decisions and sim-
                 ilar discretionary determinations.” Pet. 21. But the
                 context makes clear that the statement referred only
                 to decisions involving a specific individual whose re-
                 moval proceedings had already commenced. The gov-
                 ernment has cited no case where Section 1252(g) has
                 barred a policy challenge by a group of plaintiffs
                 against whom the government has not even begun re-
                 moval proceedings. And the courts of appeals have
                 consistently cabined Section 1252(g) to the three cir-
                 cumstances enumerated and rejected its application
                 to programmatic challenges. See, e.g., Wong v. United
                 States, 373 F.3d 952, 965 (9th Cir. 2004); Texas I, 809
                 F.3d at 164. There is no imminent need for this Court
                 to review the issue.
                    2. The Court Of Appeals Correctly Affirmed
                       The Preliminary Injunction
                     The district court entered a preliminary injunction
                 after making an initial assessment of the merits, as-
                 sessing irreparable injury, and weighing the equities.
                 The court of appeals, reviewing for abuse of discretion,
                 Supp. App. 22a, affirmed the district court’s analysis
                 in its entirety. Nothing about the court of appeals’ de-
                 cision necessitates review.




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                    1. The court of appeals upheld the preliminary
                 injunction because it agreed with the district court’s
                 conclusion that respondents are likely to prevail on
                 their claim that the rescission is “arbitrary, capri-
                 cious, an abuse of discretion, or otherwise not in ac-
                 cordance with law.” Supp. App. 45a (quoting 5 U.S.C.
                 § 706(2)(A)). Here, the government provided three
                 justifications for DACA’s rescission, all of which fail
                 APA review.
                     a. The principal argument in the memorandum
                 rescinding DACA is that the Acting Secretary ended
                 DACA because continuing it would have been unlaw-
                 ful. Pet. 28. That view is contrary to the government’s
                 long-standing position that deferred action programs
                 are permissible, and so the agency was required to
                 “provide a reasoned explanation for the change.” En-
                 cino Motorcars LLC v. Navarro, 136 S. Ct. 2117, 2125
                 (2016). But the only legal analysis the Attorney Gen-
                 eral and Acting Secretary provided for their decision
                 was a citation to the Fifth Circuit’s decision about the
                 DAPA program. Dkt. 64-1 at AR251; Pet. App. 115a.
                 Before the district court and the court of appeals, the
                 government shifted its argument to litigation risk—
                 an argument that, according to the government, did
                 not depend on a showing that DACA is unlawful. See
                 Dkt. 204 at 17; see also Pet. 23-27. And the govern-
                 ment declined to defend the Fifth Circuit’s ruling. See
                 note 4, supra.
                    Even though the government had not argued that
                 DACA is unlawful, the district court addressed and
                 correctly rejected that argument. See Pet. App. 42a-
                 54a. The court of appeals arrived at the same conclu-
                 sion: “DACA was a permissible exercise of executive
                 discretion, notwithstanding the Fifth Circuit’s conclu-
                 sion that the related DAPA program exceeded DHS’s




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                 statutory authority.” Supp. App. 56a-57a. The court
                 of appeals reviewed the numerous authorities that
                 have long justified deferred action programs. Id. at
                 8a-13a. The district court (Pet. App. 50a-54a) and the
                 court of appeals each explained why the Fifth Circuit’s
                 decision about DAPA is “entirely inapposite” to
                 DACA. Supp. App. 57a. 7 As the district court stated,
                 the government “ma[de] no effort” “to challenge any of
                 the … reasons why DACA was and remains within the
                 authority of the agency.” Pet. App. 48a. Under the
                 circumstances, the court of appeals had ample basis
                 to conclude that respondents “are likely to succeed in
                 demonstrating that the rescission must be set aside.”
                 Supp. App. 57a.
                     b. The government’s principal argument before
                 the courts below, repeated in its petition, Pet. 23-27,
                 is that DACA’s rescission was justified by litigation
                 risk. But that rationale appears “[n]owhere in the ad-



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                      In brief: First, the Fifth Circuit’s procedural holding rested
                 on the district court’s factual finding that “DAPA would not gen-
                 uinely leave the agency and its employees free to exercise discre-
                 tion.” Texas I, 809 F.3d at 172-78. Here, by contrast, the district
                 court found ample evidence of “discretionary denials of DACA
                 applications,” Pet. App. 49a; see also Supp. App. 50a-51a. Sec-
                 ond, the Fifth Circuit’s substantive holding—that DAPA ex-
                 ceeded the government’s statutory authority—rested in part on
                 its determination that granting deferred action to alien parents
                 of U.S. citizens conflicted with INA provisions that gave them an
                 alternate pathway to lawful presence. Supp. App. 51a-54a.
                 DACA, in contrast, fills a gap in the statute by indicating how
                 the government exercises its prosecutorial discretion with re-
                 spect to a class of non-citizens whose fate was never directly de-
                 cided by Congress. Id. Third, DAPA was challenged before it
                 took effect, whereas DACA has been in place for more than five
                 years, meaning that any legal challenge to DACA would have to
                 overcome the significant reliance interests that have developed
                 over those years, and the doctrine of laches. Pet. App. 57a.




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                 ministrative record.” Pet. App. 56a. The reason “ac-
                 tually given” by the Attorney General and the Acting
                 Secretary was “DACA’s purported illegality”; neither
                 the Attorney General nor the agency ever “con-
                 sider[ed] whether defending the program in court
                 would (or would not) be worth the litigation risk.” Id.
                 The discussion of litigation in the Acting Secretary’s
                 memorandum was “limited to a simple summary of
                 the Texas [I] litigation’s procedural history” that “ap-
                 peared only in the ‘Background’ section of the memo-
                 randum” and “w[as] not referenced in the Acting Sec-
                 retary’s statement of what she was ‘[t]aking into con-
                 sideration.’” Supp. App. 40a (last alteration in origi-
                 nal). The Attorney General “likewise focuse[d] on the
                 supposed illegality of DACA.” Id. at 37a. The court of
                 appeals thus rightly took “Attorney General Sessions
                 literally at his word” that “the basis for the rescission
                 was a belief that DACA was unlawful.” Id. at 35a.
                    Though the government now purports to find a lit-
                 igation-risk rationale in the memorandum rescinding
                 DACA, it offers no evidence. It merely cites the
                 NAACP decision, which found a litigation-risk ra-
                 tionale in the Acting Secretary’s statement that
                 DACA should be “w[ound] … down in ‘an efficient and
                 orderly manner.’” 298 F. Supp. 3d at 241 (quoting Pet.
                 App. 116a). But that statement was made in light of
                 the decision to rescind DACA and was never offered
                 as a reason for rescinding it. Pet. App. 115a; see SEC
                 v. Chenery Corp., 332 U.S. 194, 196 (1947) (APA re-
                 view is limited to the “grounds invoked by the
                 agency”).
                     In any event, both the court of appeals and the dis-
                 trict court correctly determined that the government’s
                 post hoc “litigation risk” justification is itself arbitrary
                 and capricious. The government failed to consider the




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                 “differences between DAPA and DACA that might
                 have led to a different result” in any litigation than in
                 Texas I. Pet. App. 57a; see note 5, supra. Those inter-
                 ests have already had an impact in Texas II, spurring
                 the district court there to deny a preliminary injunc-
                 tion despite its doubts about the lawfulness of DACA.
                 328 F. Supp. 3d at 740-42. Even if that lawsuit should
                 ultimately prevail, the court’s careful consideration of
                 the reliance interests of DACA recipients and their
                 families and its recognition of the need for care in “un-
                 scrambl[ing] the egg,” id., dispels any fear of the sort
                 of “imminent” judicial termination of DACA that the
                 government now claims it was seeking to avoid by
                 winding down the program, Pet. 9; see also NAACP,
                 298 F. Supp. 3d at 241-42.
                     Unlike the district court in Texas, the government
                 did not weigh any perceived litigation risks against
                 countervailing interests that could have warranted
                 defending DACA. Pet. App. 58a-60a. Those interests
                 include the “serious reliance interests” by DACA re-
                 cipients, which are precisely the kinds of interests
                 that an agency “must … take[] into account” before
                 changing position. Encino Motorcars, 136 S. Ct. at
                 2126. The paucity of the government’s explanation for
                 its change in position meant the district court had am-
                 ple basis for believing that respondents’ claims had
                 sufficient merit to justify preliminary injunctive re-
                 lief.
                     c. The government’s final attempt to rationalize
                 the rescission (Pet. 24, 27-28) is to invoke Secretary
                 Nielsen’s subsequent memorandum, which purported
                 to offer “further explanation” for the initial decision to
                 rescind DACA in response to the remand order in
                 NAACP. Pet. App. 121a. But that memorandum “can-
                 not possibly be a part of the administrative record in




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                 this case.” Supp. App. 57a n.24. It was not authored
                 until after the decision under review, and the court of
                 appeals declined to consider it, instead directing the
                 district court to do so “in the first instance.” Id.
                     The memorandum also lacks any legal relevance to
                 this case. It not a “fresh agency action” (a Rescission
                 2.0) that can stand or fall on the Secretary’s new jus-
                 tifications. Supp. App. 57a n.24. It “provides almost
                 no meaningful elaboration on the Duke Memo’s asser-
                 tion that DACA is unlawful,” and “fails to engage
                 meaningfully with the reliance interests and other
                 countervailing factors that weigh against ending the
                 program.” NAACP, 315 F. Supp. 3d at 471-72. And to
                 the extent the Secretary purported to offer “additional
                 and independent policy concerns” not identified in the
                 original memorandum rescinding DACA, Pet. 27, the
                 court of appeals rightly declined to consider those
                 “‘post-hoc rationalization[s].’” Supp. App. 57a n.24.
                     2. The preliminary injunction in this case also
                 rested on the district court’s assessment of irreparable
                 injury and weighing of the equities. The court rightly
                 concluded that respondents—especially the individ-
                 ual DACA recipients—would be irreparably harmed if
                 DACA were permitted to expire during the pendency
                 of this litigation. Pet. App. 62a-64a. The court also
                 found that the public interest favors temporary relief
                 to freeze the DACA program. Id. at 64a-66a. As the
                 President explained, “[no]body really want[s] to throw
                 out good, educated and accomplished young people
                 who have jobs, some serving in the military.” Id. at
                 65a.
                     The government never disputed these factors be-
                 low and fails to do so here. Combined with the lower
                 courts’ preliminary assessment of the merits, the eq-
                 uities sufficiently justify the preliminary injunction.




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                 The government has shown no error, let alone error
                 worthy of upsetting a political process that may soon
                 provide a long-term solution for the Dreamers.




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                                       CONCLUSION
                    The petition for a writ of certiorari should be de-
                 nied. Should the Court grant the petition, it should
                 deny certiorari in Nos. 18-588 and 18-589.
                    Respectfully submitted.
                 STUART F. DELERY                      THEODORE J. BOUTROUS, JR.
                 MATTHEW S. ROZEN                      ETHAN D. DETTMER
                 HALEY S. MORRISSON                    KIRSTEN GALLER
                 ANDREW J. WILHELM                     JONATHAN N. SOLEIMANI
                 GIBSON, DUNN & CRUTCHER LLP           KELSEY J. HELLAND
                 1050 Connecticut Ave., N.W.           GIBSON, DUNN & CRUTCHER LLP
                 Washington, D.C. 20036                333 South Grand Avenue
                 (202) 955-8500                        Los Angeles, CA 90071
                                                       (213) 229-7000
                 MARK D. ROSENBAUM                     TBOUTROUS@GIBSONDUNN.COM
                 JUDY LONDON
                 PUBLIC COUNSEL                        LAURENCE H. TRIBE
                 610 South Ardmore Avenue              HARVARD LAW SCHOOL*
                 Los Angeles, CA 90005                 1575 Massachusetts Avenue
                 (213) 385-2977                        Cambridge, MA 02138
                                                       (617) 495-1767
                 LUIS CORTES ROMERO
                 BARRERA LEGAL GROUP, PLLC             LEAH M. LITMAN
                 19309 68th Avenue South,              UNIVERSITY OF CALIFORNIA,
                 Suite R102                            IRVINE SCHOOL OF LAW*
                 Kent, WA 98032                        401 E. Peltason Drive
                 (253) 872-4730                        Irvine, CA 92697
                                                       (949) 824-7722
                 ERWIN CHEMERINSKY
                 UNIVERSITY OF CALIFORNIA,
                 BERKELEY SCHOOL OF LAW*
                 215 Boalt Hall
                 Berkeley, CA 94720
                 (510) 642-6483

                    Counsel for Respondents Dulce Garcia, Miriam Gonzalez Avila,
                  Saul Jimenez Suarez, Viridiana Chabolla Mendoza, Norma Ramirez,
                                   and Jirayut Latthivongskorn
                                             *Affiliation for identification purposes only




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                                                 36
                  STACEY M. LEYTON                    JAMES R. WILLIAMS
                  ERIC P. BROWN                       GRETA S. HANSEN
                  ALTSHULER BERZON LLP                LAURA S. TRICE
                  177 Post Street, Suite 300          MARCELO QUIÑONES
                  San Francisco, CA 94108             OFFICE OF THE COUNTY COUNSEL
                  (415) 421-7151                      COUNTY OF SANTA CLARA
                                                      70 West Hedding Street
                  Counsel for Respondents County      East Wing, Ninth Floor
                  of Santa Clara and Service Em-      San Jose, CA 95110
                  ployees International Union Local   (408) 299-5900
                  521
                                                      Counsel for Respondent County of
                                                      Santa Clara


                 December 17, 2018




                                                                                         AR3757
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                                 No. 18-589
             In the Supreme Court of the United States
              KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                            SECURITY, ET AL.,
                                                 Petitioners,
                                   v.

                 MARTÍN JONATHAN BATALLA VIDAL, ET AL.,

                                                      Respondents.

               ON PETITION FOR A WRIT OF CERTIORARI BEFORE
                     JUDGMENT TO THE UNITED STATES
                COURT OF APPEALS FOR THE SECOND CIRCUIt

                BRIEF IN OPPOSITION FOR RESPONDENTS
              MARTÍN JONATHAN BATALLA VIDAL, ANTONIO
             ALARCON, ELIANA FERNANDEZ, CARLOS VARGAS,
            MARIANO MONDRAGON, CAROLINA FUNG FENG, AND
                      MAKE THE ROAD NEW YORK

            Michael J. Wishnie           Trudy S. Rebert
               Counsel of Record         NATIONAL IMMIGRATION
            Muneer I. Ahmad              LAW CENTER
            Marisol Orihuela             P.O. Box 721361
            JEROME N. FRANK LEGAL        Jackson Heights, NY
            SERVICES ORGANIZATION        11372
            P.O. Box 209090              (646) 867-8793
            New Haven, CT 06520
            (203) 432-4800
            michael.wishnie@yale.edu

                   Additional Counsel Listed on Inside Cover




                                                               AR3758
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            Karen C. Tumlin          Mayra B. Joachin
            Cooperating Attorney     Joshua A. Rosenthal
            JEROME N. FRANK LEGAL    NATIONAL IMMIGRATION
            SERVICES ORGANIZATION    LAW CENTER
            P.O. Box 27280           3450 Wilshire Blvd.
            Los Angeles, CA 90027    #108-62
            (323) 316-0944           Los Angeles, CA 90010
                                     (213) 639-3900


            Amy S. Taylor            Scott Foletta
            MAKE THE ROAD NEW YORK   MAKE THE ROAD NEW YORK
            301 Grove Street         92-10 Roosevelt Avenue
            Brooklyn, NY 11237       Jackson Heights, NY 11372
            (718) 418-7690           (929) 244-3456




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                                       i

                        QUESTION PRESENTED

                The Solicitor General concedes that the Ninth Cir-
            cuit’s decision in a companion case “eliminates” what
            appears to have been the government’s principal rea-
            son for filing this petition. Nevertheless, the govern-
            ment has not withdrawn this petition and instead
            asks this Court to take the extraordinary step of
            granting certiorari before judgment to answer several
            routine questions:
               1. Whether the Administrative Procedure Act or
            Immigration and Nationality Act preclude judicial re-
            view of the rescission of Deferred Action for Childhood
            Arrivals (DACA).
                2. Whether the district court abused its discretion
            in issuing a preliminary injunction on the ground that
            the rescission of DACA was arbitrary and capricious.
                3. Whether Respondents pled equal protection
            claims sufficiently.




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                                       1

                             INTRODUCTION

                The government seeks an extraordinary and un-
            warranted intervention from this Court to save it from
            routine judicial process and decisions it does not like.
            This Court grants certiorari before judgment “only
            upon a showing that the case is of such imperative
            public importance as to justify deviation from normal
            appellate practice and to require immediate determi-
            nation in this Court,” Sup. Ct. R. 11, and historically
            has done so only in national emergencies. This case
            does not meet that “very demanding standard.” Mount
            Soledad Memorial Ass’n v. Trunk, 134 S. Ct. 2658,
            2658 (2014) (Alito, J., statement respecting the denial
            of certiorari before judgment). Moreover, in a supple-
            mental filing in a companion case correcting a mate-
            rial misrepresentation to this Court, the government
            has essentially abandoned this petition altogether.
               The preliminary injunction entered by the district
            court—a stay of which the government never sought
            below—does no more than preserve the status quo and
            creates no circumstances that justify the extraordi-
            nary procedural departure of certiorari before judg-
            ment. In contrast, for this Court to disrupt the status
            quo without ordinary appellate review, as the govern-
            ment urges, would upend the lives of hundreds of
            thousands of young people and their families, schools,
            workplaces, and communities.
               Nor does this case rise to the level of warranting
            certiorari at all: The government does not present any
            momentous legal question, but rather seeks review
            merely of the application of settled law to the unique
            facts of this case. Additionally, this Court should not




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            adjudicate the merits of this case while disputes re-
            garding completion of the administrative record and
            discovery remain pending.
               In reality, this petition is a transparent gambit to
            sidestep “normal appellate practice,” Sup. Ct. R. 11,
            simply because the government lost below. This Court
            has rejected similar attempts by the government, see
            Dep’t of Homeland Sec. v. Regents of the Univ. of Cal.,
            138 S. Ct. 1182, 1182 (2018), and there is no valid rea-
            son to reward the government’s hyperbolic and inac-
            curate claims of emergency here—claims the Solicitor
            General now admits were overstated. The Court
            should deny the petition and allow the case to proceed
            before the Second Circuit, which has scheduled argu-
            ment for January 25, 2019.

                                STATEMENT

                 On September 5, 2017, then-Attorney General
            Sessions abruptly announced the termination of
            DACA, a decision affecting nearly 800,000 individu-
            als, on the basis of conclusory and erroneous legal as-
            sertions. Prior to the termination, the government
            had repeatedly and successfully defended DACA’s le-
            gality for over five years, and no court held it unlaw-
            ful. See, e.g., Arpaio v. Obama, 797 F.3d 11 (D.C. Cir.
            2015) (rejecting a challenge to the legality of DACA);
            Crane v. Johnson, 783 F.3d 244 (5th Cir. 2015) (same).
            In a memorandum that has never been withdrawn,
            the Department of Justice Office of Legal Counsel
            (OLC) concluded that DACA was lawful as long as of-
            ficials “retained discretion to evaluate each applica-
            tion on an individualized basis.” The Department of
            Homeland Security’s Authority to Prioritize Removal
            of Certain Aliens Unlawfully Present in the United
            States and to Defer Removal of Others, O.L.C. 2014




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            WL 10788677, at *18 n.8 (Nov. 19, 2014); see also Br.
            for United States as Amicus Curiae supporting appel-
            lees at *1, Ariz. Dream Act Coal. v. Brewer, 855 F.3d
            957 (9th Cir. 2017) (No. 15-15307), 2015 WL 5120846.
            After entering office, the Trump Administration twice
            declined to terminate DACA, exempting it from other
            broad changes in immigration policy announced in
            February and June 2017.
                 DACA allowed hundreds of thousands of young
            people to pursue their education, support their fami-
            lies, and build a life in the only country they had ever
            known as home. For instance, after receiving deferred
            action, Respondent Fung Feng began a career teach-
            ing; Respondent Vargas finished his undergraduate
            degree and enrolled in law school; and Respondent Ba-
            talla Vidal became a physical therapist aide and en-
            rolled in further education.
                On September 5, 2017, the government shifted
            course radically. Its decision to terminate DACA re-
            lied on conclusory legal assertions presented in a one-
            page letter from then-Attorney General Sessions to
            then-Acting Secretary of Homeland Security Elaine
            Duke (“Sessions Letter”) (Dkt. 77-1, AR00000251). 1
            The Sessions Letter asserted for the first time that
            DACA was “an unconstitutional exercise of authority
            by the Executive Branch,” in part “[b]ecause [it] has
            the same legal and constitutional defects that the
            courts recognized as to DAPA [Deferred Action for
            Parents of Americans and Lawful Permanent Resi-
            dents],” even though DACA and DAPA are distinct
            and no court had recognized a constitutional defect in

                1 All record citations refer to the docket in Batalla Vidal v.

            Nielsen, No. 16-CV-4756 (E.D.N.Y. filed Aug. 25, 2016), except as
            otherwise noted.




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            the latter. Id. Acting Secretary Duke then issued a
            brief memorandum terminating DACA, citing to the
            Sessions Letter and Fifth Circuit litigation about
            DAPA      (“Duke     Memorandum”)      (Dkt.    77-1,
            AR00000252–56); see generally Texas v. United States,
            809 F.3d 134 (5th Cir. 2015), aff’d by an equally di-
            vided Court, 136 S. Ct. 2271 (2016).
                However, rather than immediately terminating
            DACA, which the agency had proclaimed unlawful,
            the Department of Homeland Security (DHS) began a
            six-month “wind down” of DACA. During this time,
            DHS processed renewal applications received by Oc-
            tober 5, 2017 for those whose deferred action expired
            before March 5, 2018. See Duke Memorandum at
            AR000000255. The government did not address its
            prior legal analysis (or why its analysis had changed),
            the legal authority under which DHS processed re-
            newals during the wind-down period, or DACA recip-
            ients’ reliance interests.
                Respondents, including the organization Make
            the Road New York, initiated their challenge to the
            DACA termination in the Eastern District of New
            York on September 5, 2017. After amending their
            pleadings and joining additional Respondents, they
            alleged that the termination was arbitrary and capri-
            cious under the Administrative Procedure Act (APA),
            impermissibly motivated by discriminatory animus in
            violation of the equal protection guarantee of the Fifth
            Amendment, and a violation of procedural due process
            as to certain DACA recipients. Dkt. 113, ¶¶ 188–205.2


                2 Respondents also challenged the DACA termination as a

            violation of the APA’s notice and comment requirement and the
            Regulatory Flexibility Act, claims that the district court dis-




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                The government filed an administrative record
            consisting of a mere 256 pages, three-quarters of
            which were the decisions in Texas v. United States.
            See Regents Pet. App. 23a. The district court recog-
            nized that this record was “manifestly incomplete”
            and ordered its completion. Dkt. 89 at 3.
                 Rather than comply with this order, the govern-
            ment sought immediate review in the Second Circuit,
            filing an emergency petition under the All Writs Act
            to stay discovery, contest completion of the adminis-
            trative record, and challenge the court’s jurisdiction.
            Second Corr. Writ of Mandamus, In re Nielsen, No. 17-
            3345 (2d Cir. Oct. 19, 2017), ECF No. 3. A Second Cir-
            cuit panel unanimously denied the petition. Opinion
            and Order at 5, In re Nielsen, No. 17-3345 (2d Cir. Dec.
            27, 2017), ECF No. 171.
                The government filed a motion to dismiss under
            Rule 12(b)(1) and (b)(6), Dkt. 95, which the district
            court denied in part and granted in part. Pet. App. 1a–
            58a. Concluding that the government had failed to re-
            but the “strong presumption favoring judicial review
            of administrative action,” the district court held that
            the decision to terminate DACA was reviewable. Pet.
            App. 25a. The district court also noted its jurisdiction
            to review constitutional claims. Pet. App. 31a–32a.
            The government moved to certify an interlocutory ap-
            peal of the district court’s order. Pet. App. 59a–61a.



            missed, Pet. App. 145a–46a (E.D.N.Y. 2018), and which Respond-
            ents have not appealed. Further, Respondents moved for certifi-
            cation of a nation-wide class. The district court denied that mo-
            tion as moot, in light of its entry of a nation-wide preliminary
            injunction. Pet. App. 71a. Respondents did not seek interlocutory
            review of the denial of class certification.




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               The district court issued a preliminary injunction
            on February 13, 2018, ordering the government to
            “maintain the DACA program on the same terms . . .
            that existed prior to the promulgation of the DACA
            Rescission Memo,” except with respect to considera-
            tion of new applications and requests for advance pa-
            role. Pet. App. 126a. The district court found that Re-
            spondents were likely to succeed on their claim that
            the DACA termination was arbitrary and capricious
            because it stemmed from an “erroneous [legal] conclu-
            sion”; relied in part on a “plainly incorrect factual
            premise”; had internally contradictory logic; and did
            not take into account the reliance interests of hun-
            dreds of thousands of recipients. Pet. App. 67a–68a,
            113a–14a. The government appealed the preliminary
            order, Pet. App. 130a–32a, but did not seek a stay of
            the injunction.
                Finally, the district court issued an order granting
            in part and denying in part the government’s motion
            to dismiss under Rule 12(b)(6). Pet. App. 133a–171a.
            Concluding that Respondents had alleged “sufficient
            facts to raise a plausible inference that the DACA re-
            scission was substantially motivated by unlawful dis-
            criminatory purpose,” Dkt. 260, at 12–13,3 the district
            court declined to dismiss Respondents’ equal protec-
            tion claim. The government, for the third time, sought
            to appeal an order of the district court. Pet. App.
            172a–174a.
                The Second Circuit granted the government leave
            to appeal the district court’s orders denying its mo-



                3 The government’s appendix misquotes the district court’s

            decision. The quotation provided here is accurate. Compare Pet.
            App. 147a.




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            tions to dismiss, Pet. App. 175a–176a, and consoli-
            dated the three pending appeals. Oral argument is
            scheduled for January 25, 2019.
                The government filed three petitions for certiorari
            before judgment on November 5, 2018. Despite the
            supposed urgency of certiorari before judgment, the
            government waited more than a week after the Ninth
            Circuit affirmed entry of a preliminary injunction in
            Regents to supplement its petition. When it finally did
            so, the government misrepresented Respondents’
            claims. Supp. Br. at 12–13 (Nov. 19, 2018, No. 18-
            587).4 When the government eventually corrected the
            supplemental brief, it admitted that the Ninth Cir-
            cuit’s ruling “eliminates [one] reason for granting the
            government’s petition,” and instead urged that the
            Court “hold the Batalla Vidal petition pending the
            government’s petitions in these cases.” Petitioner’s
            Corr. Supp. Br. at 11 (Nov. 28, 2018, No. 18-587).

               REASONS FOR DENYING THE PETITION

               Rather than presenting questions “of imperative
            public importance,” despite the unique factual circum-
            stances, this petition concerns well-settled adminis-
            trative law and pleading questions that the courts be-
            low have correctly decided. Sup. Ct. R. 11. As such,
            there is no need for “immediate determination in this
            Court,” and no part of this case justifies “deviation
            from standard appellate practice.” Id. Moreover, this
            case differs dramatically from the limited instances of


                4 The government erroneously stated that Respondents had

            cross-appealed the district court’s dismissal of their notice-and-
            comment claim, and argued that this was an important reason to
            grant certiorari before judgment in the present case.




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             national emergency where the Court has taken the ex-
             traordinary step of granting certiorari before judg-
             ment.
                This petition not only fails to merit certiorari be-
             fore judgment, but it also fails to satisfy the Court’s
             traditional certiorari criteria. The case does not pre-
             sent an unresolved legal question dividing the courts
             of appeals. And disputes around the administrative
             record and discovery remain pending. The Court
             should deny the request for certiorari in any form.

        I.   The Court Should Deny the Government’s Re-
             quest for Certiorari Before Judgment

                 A grant of certiorari before judgment is properly
             “an extremely rare occurrence,” Coleman v. Paccar,
             Inc., 424 U.S. 1301, 1304 n.* (1976) (Rehnquist, J., in
             chambers), typically reserved for national emergen-
             cies. This petition meets none of the conditions for
             such a grant and should be denied.

         A. This Case Fails the Demanding Test for Certio-
            rari Before Judgment

                First, although DACA is of critical practical im-
             portance , the particular questions presented in the
             petition are not of “imperative public importance.”
             Sup. Ct. R. 11. The only questions of law presented are
             whether Petitioners’ termination of DACA is reviewa-
             ble and arbitrary and capricious, and whether Re-
             spondents have met their pleading requirements.
             These questions all concern application of settled law




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            to the facts of this case.5 There are no novel legal ques-
            tions that warrant extraordinary review.
                Second, this case does not require “immediate de-
            termination in this Court.” Sup. Ct. R. 11. The case
            does not present a public emergency and can be re-
            solved expeditiously without resorting to the extraor-
            dinary measure of certiorari before judgment.
                 That DACA recipients may “continu[e] their pres-
            ence in this country and pursu[e] their lives” under
            the current injunctions, which preserve the status
            quo, hardly presents a crisis. Nielsen Memorandum,
            Regents. Pet. App. 125a. This is evident from the gov-
            ernment’s own conduct in this litigation and the
            prompt schedule for appellate review. Certiorari be-
            fore judgment should not be granted where it is clear
            “that the Court of Appeals will proceed expeditiously
            to decide [the] case.” United States v. Clinton, 524 U.S.
            912, 912 (1998). Here, the government has never
            sought a stay of the preliminary injunction, even
            when petitioning numerous times for appellate court
            review. Moreover, briefing before the Second Circuit
            is complete and the Court has set argument for Janu-
            ary 25, 2019. Case Calendaring for Argument, No. 18-
            485 (2d Cir. Nov. 19, 2018), ECF No. 567. The govern-
            ment has not availed itself of remedies available at
            the appellate court and can identify no concrete harm
            caused by orderly adjudication, yet still argues that



                5 Even Amici challenging DACA itself, in a lawsuit pending

            before the Southern District of Texas, agree that the Executive’s
            decision to wind down DACA is reviewable under the APA. See
            Br. for State of Texas, et al., No. 18-589, at 8 n.4 (citing Heckler
            v. Chaney, 470 U.S. 821, 830 (1985)).




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            the presence of DACA recipients is so urgently con-
            cerning as to require a drastic deviation from appel-
            late practice.
                Third, the questions presented in the govern-
            ment’s petition would benefit from further review by
            the courts of appeals.6 Agencies are routinely subject
            to court orders and injunctions with which they disa-
            gree, including on actions that affect large numbers of
            people. This Court has not granted certiorari before
            judgment in past cases simply due to the presence of
            controversy, instead allowing for development of the
            circuit court law and relevant records. See, e.g.,
            Baldwin v. Sebelius, 562 U.S. 1037, 1037 (2010) (deny-
            ing certiorari before judgment on a challenge to the
            Affordable Care Act).
                Appellate practice is especially important to clar-
            ify and distill issues for this Court’s review, without
            which this Court is deprived of “all of the wisdom that
            our judicial process makes available.” Youngstown
            Sheet & Tube Co. v. Sawyer, 343 U.S. 937, 938 (1952)
            (Burton J., dissenting from grant of certiorari before
            judgment); id. (“The need for soundness in the result
            outweighs the need for speed in reaching it. The Na-
            tion is entitled to the substantial value inherent in [a
            decision] . . . by the Court of Appeals.”).

         B. Past Cases of Certiorari Before Judgment Fea-
            tured True Emergencies

                The government’s petition falls dramatically short
            of prior instances in which this Court has taken the

                6 The Fourth Circuit also held argument in a fourth case

            challenging the termination of DACA on December 11, 2018.
            Casa de Maryland v. Dep’t of Homeland Sec., No. 18-01522 (4th
            Cir. 2018), ECF No. 56.




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            extraordinary step of granting certiorari before judg-
            ment. Those cases presented a national wartime
            emergency, implicated the privacy of presidential
            communications, or required immediate resolution to
            prevent chaos at the lower courts. See, e.g., Mistretta
            v. United States, 488 U.S. 361, 371 & n.6 (1989) (find-
            ing an urgent need to clarify divisions in the district
            courts regarding sentencing guidelines); Dames &
            Moore v. Regan, 453 U.S. 654, 660 (1981) (authorizing
            action during a hostage crisis); United States v. Nixon,
            418 U.S. 683, 686–87 & nn.1–2 (1974) (addressing a
            subpoena for recordings of presidential conversa-
            tions); Youngstown, 343 U.S. at 584–85 (addressing
            seizure of national steel industry); Ex parte Quirin,
            317 U.S. 1, 1 (1942) (considering a challenge to juris-
            diction of military tribunals during World War II).
            Here, the government claims merely that it should not
            have to “retain a discretionary non-enforcement pol-
            icy” for a longer period. Pet. 16.
                Lacking true urgency, the government’s petition
            is but its latest attempt to avoid regular order in judi-
            cial review of its actions. 7 If the government were
            committed to achieving the correct legal result in this
            case, it would proceed with orderly appellate review.8


                7 Similarly, if the government truly viewed the present sit-

            uation as urgent, it could promulgate a new, procedurally correct
            and adequately-reasoned memorandum to rescind DACA, as
            Judge Bates invited. NAACP v. Trump, 298 F. Supp. 3d 209, 216
            (D.D.C. 2018), adhered to on denial of reconsideration, 315 F.
            Supp. 3d 457 (D.D.C. 2018). It also had multiple opportunities to
            a seek a stay of the preliminary injunction pending appeal, but
            repeatedly chose not to do so.
                8 The Court should also reject the government’s weak plea
            to hold this petition in abeyance. Denying the petition outright




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        II. Certiorari Is Not Proper in Any of the DACA
            Termination Cases

                The DACA cases do not meet the Court’s criteria
            for granting certiorari, nor do they adequately present
            the questions on which the government seeks review.
            “Review on a writ of certiorari is not a matter of right,
            but of judicial discretion . . . granted only for compel-
            ling reasons.” Sup. Ct. R. 10.
                The petitions do not offer any compelling reasons
            for this Court to grant certiorari. First, no conflict ex-
            ists between courts of appeals. Every court in the
            cases being considered for certiorari has concluded
            that the rescission of DACA was both reviewable and
            arbitrary and capricious. 9 The courts’ judgment on
            these cases so far is clear.



            will permit the Second Circuit to proceed to decision on the gov-
            ernment’s three pending appeals. Moreover, as noted above, the
            government’s material error in its first supplemental brief sub-
            stantially undermines its argument for certiorari in this case.
            Respondents here have not cross-appealed the district court’s
            dismissal of their notice-and-comment claim, as the government
            concedes. Compare Petitioner’s Supp. Br. at 12–13 with Peti-
            tioner’s Corr. Supp. Br. at 10–11. Nor does past practice support
            granting certiorari to Batalla Vidal as a “companion” case even
            if this Court grants certiorari in Regents. See, e.g., Gratz v.
            Bollinger, 539 U.S. 244, 259–60 (2003) (certiorari before judg-
            ment granted as a companion case where both cases challenged
            policies by the same University and had been heard by the Sixth
            Circuit on the same day).
                9 See Pet. App. 24a; id. at 67a; Regents of Univ. of Cal. v.

            U.S. Dep't of Homeland Sec., 908 F.3d 476, 503, 510 (9th Cir.
            Nov. 8, 2018); NAACP v. Trump, 298 F. Supp. 3d 209, 235, 243
            (D.D.C. April 24, 2018), adhered to on denial of reconsideration,
            315 F. Supp. 3d 457 (D.D.C. 2018). But see Casa de Maryland v.




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                Second, the administrative and factual records
            have not been finalized. Review under the APA re-
            quires courts to make their decision based on “the full
            administrative record” before the executive branch of-
            ficial “at the time [she] made [her] decision.” Citizens
            to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 420,
            (1971), abrogated on other grounds by Califano v.
            Sanders, 430 U.S. 99 (1977). However, the govern-
            ment “ha[s] yet to produce a plausible administrative
            record in these cases, without which the court cannot
            render a merits decision.” Pet. App. 123a; cf. Opinion
            and Order at 5, In re Nielsen (2d Cir. Dec 27, 2017).10
                Third, even if this Court grants certiorari on all
            three cases, it could not “reach all of the claims” and
            “provide a definitive resolution,” as the government
            suggests, without ruling on constitutional claims in
            the first instance, which is disfavored, let alone dis-
            missed claims not yet appealed.11 Pet. 17. The district
            court has not ruled on Respondents’ equal protection
            claim, merely finding that Respondents adequately
            stated that claim. Pet. App. 147a–157a; Nixon, 418
            U.S. at 690 (“The finality requirement of 28 U.S.C. §


            U.S. Dep’t of Homeland Sec., 284 F. Supp. 3d 758, 770, 773 (D.
            Md. 2018), appeal argued, (4th Cir. Dec. 11, 2018).
                10 Completion of the administrative record and discovery on

            the constitutional claims in this case are stayed. See Dkt. 233; cf.
            Joint Discovery/Case Management Plan, State of Texas v. United
            States, No. 18-00068, (S.D. Tex. Oct. 31, 2018) (discovery under-
            way in separate challenge to lawfulness of DACA).
                11 See California v. Carney, 471 U.S. 386, 399–401 (1985)

            (Stevens, J., dissenting) (citing B. Cardozo, The Nature of the Ju-
            dicial Process 179 (1921)) (“To identify rules that will endure, we
            must rely on the . . . lower federal courts to debate and evaluate
            the different approaches to difficult and unresolved questions of
            constitutional law.”).




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            1291 embodies a strong congressional policy against
            piecemeal reviews, and against obstructing or imped-
            ing an ongoing judicial proceeding by interlocutory ap-
            peals.”). Additionally, the Ninth Circuit ruling in
            Regents did not reach key issues in the case, under-
            scoring the need for further proceedings prior to certi-
            orari. See supra Part I.A.

        III. The Decisions Below Are Correct

                   This Court should not grant certiorari because
            the decisions below are correct. The termination is
            both reviewable and arbitrary and capricious, and Re-
            spondents have stated an equal protection claim.

         A. The DACA Termination Is Subject to Judicial
            Review

                The DACA termination does not fall into the “very
            narrow” exception to APA review, nor the discrete cat-
            egories of immigration enforcement action for which
            the INA bars judicial review; as such, it is reviewable.
            Overton Park, 401 U.S. at 410.
                The very narrow exception to the APA’s presump-
            tion of judicial review, where “agency action is com-
            mitted to agency discretion by law,” applies only “in
            those rare instances where [. . .] there is no law to ap-
            ply.” Id. at 410; see also Heckler v. Chaney, 470 U.S.
            821, 830 (1985). The district court correctly deter-
            mined that the government’s decision to abruptly ter-
            minate DACA did not fall under this narrow excep-
            tion.12

                12 Notably, when confronted with Texas’s lawsuit to enjoin

            DACA itself, the government did not contest the district court’s
            jurisdiction. See Defs.’ Resp. to Mot. for Prelim. Inj., State of




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                 As the government’s petition confirms, DHS ter-
            minated DACA exclusively on the basis of a legal de-
            termination. Pet. App. 26a–27a, 30a–31a. Thus, there
            is “law to apply”: the same law that the agency relied
            on in making the legal determination that DACA was
            unlawful. Pet. App. 26a–28a. This legal analysis does
            not “involve the complicated balancing” of policy and
            resource factors, nor is it within the “peculiar[] . . . ex-
            pertise” of DHS. Chaney, 470 U.S. at 831.
                 Section 1252(g) of Title 8 also does not bar judicial
            review of the decision to terminate DACA. See Pet.
            21–22. This Court has already rejected the govern-
            ment’s broad reading that § 1252(g) “covers the uni-
            verse of deportation claims—that it is a sort of ‘zipper’
            clause,” Reno v. American-Arab Anti-Discrimination
            Committee (AADC), 525 U.S. 471, 482 (1999). Instead,
            this Court held that the § 1252(g) jurisdiction-strip-
            ping provisions apply only to three discrete actions in-
            volving the Secretary of DHS’s decision “to commence
            proceedings, adjudicate cases, or execute removal or-
            ders.” 8 U.S.C. § 1252(g); AADC, 525 U.S. at 502; see
            also Texas v. United States, 809 F.3d 134, 164 (5th Cir.
            2015) (rejecting government’s arguments that §
            1252(g) precludes review of DAPA). None of those dis-
            crete actions is at issue here, as both the district court,
            Pet. App. 35a, and Petitioners themselves recognize.
            Regents Pet. 20 (“[T]he rescission does not, by itself,
            initiate removal proceedings.”).
                Petitioners’ admission similarly defeats their ar-
            gument, not raised before the district court, that 8
            U.S.C. § 1252(b)(9) channels review of Respondents’
            claims exclusively into proceedings challenging a final

            Texas v. Nielsen, No. 18-00068 (S.D. Tex. June 8, 2018), ECF No.
            71.




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            order of removal. Regents Pet. 22. The DACA termina-
            tion is not an “action taken [. . .] to remove an alien
            from the United States,” nor do Respondents chal-
            lenge a final order, see AADC, 525 U.S. at 483, and §
            1252(b)(9) is inapposite.

         B. The DACA Termination Was Arbitrary and Ca-
            pricious

                The DACA termination fails to meet the APA’s
            standards for reasoned decision-making. See 5 U.S.C.
            § 706(2)(a). The agency provided only “scant legal rea-
            soning” to justify its erroneous conclusion that DACA
            was unlawful, and it failed to consider the reliance in-
            terests engendered by the policy. NAACP v. Trump,
            298 F. Supp. 3d 209, 238 (D.D.C. 2018).
                The agency’s conclusion that DACA is unlawful is
            legally erroneous. DACA is consistent with the
            agency’s authority under the INA to grant deferred ac-
            tion. See, e.g., 8 U.S.C. § 1154(a)(1)(D)(i)(II) (stating
            that certain non-citizens are eligible for deferred ac-
            tion); id. § 1227(d)(2); AADC, 525 U.S. at 483–85 (de-
            scribing deferred action as a “commendable exercise
            in administrative discretion, developed without ex-
            press statutory authorization”). Furthermore, alt-
            hough the agency purported to rely on the Fifth Cir-
            cuit’s analysis in Texas v. United States, 809 F.3d 134
            (5th Cir. 2015), that court’s reasons for invalidating
            DAPA do not apply to DACA. For instance, the Texas
            court relied on assertions, since disproven, that DACA
            adjudications lacked discretion. See Regents of Univ.
            of Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d 476,
            507 (9th Cir. Nov. 8, 2018); see also Pet. App. 100a–
            04a (noting other relevant differences between DAPA
            and DACA). The DACA rescission rests on erroneous




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            legal reasoning and is arbitrary and capricious. See
            SEC v. Chenery Corp., 318 U.S. 80, 94 (1943).
                Nine months after terminating DACA, the agency
            attempted to rationalize its decision in the Nielsen
            Memorandum, Regents Pet. App. 120a, referencing al-
            leged litigation risk and enforcement policy concerns.
            However, such post-hoc justifications carry no weight.
            See SEC v. Chenery Corp., 332 U.S. 194, 196 (1947).
            Even if the agency had properly articulated that
            DACA was subject to litigation risk, its justification
            remains irrational. Organized Vill. of Kake v. U.S.
            Dep’t of Agric., 795 F.3d 956, 970 (9th Cir. 2015) (en
            banc). Finally, neither the agency’s contemporary nor
            post-hoc explanations adequately consider DACA re-
            cipients’ reliance interests, ignoring this Court’s ad-
            monition that “serious reliance interests . . . must be
            taken into account.” FCC v. Fox Television Stations,
            Inc., 556 U.S. 502, 515 (2009).

         C. Respondents Adequately Pled that Racial Bias
            Was a Motivating Factor in the DACA Termina-
            tion

                As the district court correctly concluded, Plaintiffs
            have properly stated a claim that the DACA termina-
            tion violated the Constitution’s equal protection guar-
            antee. The agency terminated a program whose recip-
            ients are mostly of Mexican or Latino heritage, in a
            highly irregular manner, under the direction of a
            President who routinely denigrates immigrants of
            color. Under this Court’s precedents, a court may thus
            infer that the decision was motivated by discrimina-
            tory animus. See, e.g., Vill. of Arlington Heights v.
            Metro. Hous. Dev. Corp., 429 U.S. 252 (1977). The gov-
            ernment’s argument that Respondents’ equal protec-




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            tion claim is foreclosed by AADC, 525 U.S. 471, is in-
            apposite. AADC was a selective prosecution case
            brought by individuals. Plaintiffs instead challenge
            the wholesale termination of deferred action under
            DACA, which allowed nearly 800,000 young people to
            obtain temporary protection from removal.

                              CONCLUSION

                Because the petition does not present an emer-
            gency warranting this Court’s immediate interven-
            tion, this Court should deny the government’s request
            to take the extraordinary step of granting certiorari
            before judgment.

                            Respectfully submitted,




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             Michael J. Wishnie           Trudy S. Rebert
               Counsel of Record          NATIONAL IMMIGRATION
             Muneer I. Ahmad              LAW CENTER
             Marisol Orihuela             P.O. Box 721361
             JEROME N. FRANK LEGAL        Jackson Heights, NY 11372
             SERVICES ORGANIZATION        (646) 867-8793
             P.O. Box 209090
             New Haven, CT 06520          Mayra B. Joachin
             (203) 436-4780               Joshua A. Rosenthal
             michael.wishnie@yale.edu     NATIONAL IMMIGRATION
                                          LAW CENTER
             Karen C. Tumlin              3450 Wilshire Blvd. 108-62
             Cooperating Attorney         Los Angeles, CA 90010
             JEROME N. FRANK LEGAL        (213) 639-3900
             SERVICES ORGANIZATION
             P.O. Box 27280               Scott Foletta
             Los Angeles, CA 90027        MAKE THE ROAD NEW
             (323) 316-0944               YORK
                                          92-10 Roosevelt Avenue
             Amy S. Taylor                Jackson Heights,
             MAKE THE ROAD NEW            NY 11372
             YORK                         (929) 244-3456
             301 Grove Street
             Brooklyn, NY 11237
             (718) 418-7690

               Dated: December 17, 2018




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                                      No. 18-588

                                       IN THE
                       Supreme Court of the United States
                                      _________
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                      ET AL.,
                                                   Petitioners,
                                        v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                            COLORED PEOPLE, ET AL.,
                                                 Respondents.
                                    ________
                      On Petition for a Writ of Certiorari Before
                   Judgment to the United States Court of Appeals
                         for the District of Columbia Circuit
                                        ________
                              BRIEF IN OPPOSITION
                                     ________

                JOSEPH M. SELLERS            THOMAS J. PERRELLI
                JULIE S. SELESNICK           LINDSAY C. HARRISON
                COHEN MILSTEIN SELLERS         Counsel of Record
                 & TOLL PLLC                 SAM HIRSCH
                1100 New York Ave., N.W.     JENNER & BLOCK LLP
                Fifth Floor                  1099 New York Ave., N.W.
                Washington, DC 20005         Suite 900
                (202) 408-4600               Washington, DC 20001
                                             (202) 639-6000
                Counsel for Respondents      lharrison@jenner.com
                NAACP; American               Counsel for Respondents The
                Federation of Teachers, AFL- Trustees of Princeton
                CIO; and United Food and      University, Microsoft
                Commercial Workers            Corporation, and Maria De
                International Union, AFL-     La Cruz Perales Sanchez
                CIO, CLC
                     (Additional Counsel Listed on Inside Cover)




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                                     9775




              RAMONA E. ROMERO             ISHAN BHABHA
              WESLEY MARKHAM               ALEX S. TREPP
              PRINCETON UNIVERSITY         JENNER & BLOCK LLP
              New South Building           1099 New York Ave., N.W.
              Fourth Floor                 Suite 900
              Princeton, NJ, 08544         Washington, DC 20001
              (609) 258-2500               (202) 639-6000

              Counsel for Respondent The   Counsel for Respondents The
              Trustees of Princeton        Trustees of Princeton
              University                   University, Microsoft
                                           Corporation, and Maria De
              CYNTHIA L. RANDALL           La Cruz Perales Sanchez
              MICROSOFT CORPORATION
              One Microsoft Way            DAVID J. STROM
              Redmond, WA 98052            AMERICAN FEDERATION OF
              (425) 538-3176                TEACHERS, AFL-CIO
                                           555 New Jersey Ave. N.W.
              Counsel for Respondent       Washington D.C.
              Microsoft Corporation
                                           (202) 393-7472
              BRADFORD M. BERRY
                                           Counsel for Respondent
              NAACP                        American Federation of
              4805 Mount Hope Drive        Teachers, AFL-CIO
              Baltimore, MD 21215
              (410) 580-5797               PETER J. FORD
                                           UNITED FOOD &
              Counsel for Respondent        COMMERCIAL WORKERS
              NAACP                         INTERNATIONAL UNION,
                                            AFL-CIO, CLC
                                           1775 K Street. N.W.
                                           Washington D.C. 20006
                                           (202) 223-3111

                                           Counsel for Respondent
                                           United Food & Commercial
                                           Workers International
                                           Union, AFL-CIO, CLC




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                              QUESTIONS PRESENTED
                    The questions presented are as follows:
                    1. Whether the Department of Homeland
                       Security’s rescission of the Deferred Action for
                       Childhood Arrivals (DACA) program is immune
                       from judicial review.
                    2. Whether the rescission of the DACA program is
                       lawful under the Administrative Procedure Act.




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                                          ii
                         PARTIES TO THE PROCEEDING
                    Respondents are The Trustees of Princeton
                 University; Microsoft Corporation; Maria De La Cruz
                 Perales Sanchez; the National Association for the
                 Advancement of Colored People; American Federation
                 of Teachers, AFL-CIO; and United Food and
                 Commercial Workers International Union, AFL-CIO,
                 CLC.
                    Petitioners are Donald J. Trump, President of the
                 United States; Matthew Whitaker, Acting Attorney
                 General of the United States; Kirstjen M. Nielsen,
                 Secretary of Homeland Security; U.S. Citizenship and
                 Immigration Services; U.S. Immigration and Customs
                 Enforcement; the U.S. Department of Homeland
                 Security; and the United States.




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                                       INTRODUCTION
                     The government seeks certiorari before judgment
                 in this case based primarily on the pendency of its
                 petition in a different case that is itself a poor candidate
                              1
                 for review. That case, United States Department of
                 Homeland Security v. Regents of the University of
                 California, No. 18-587, arrives to the Court on an
                 interlocutory posture without a circuit split. And the
                 government makes no credible case for interlocutory
                 review. The DACA program has been in place since
                 2012. The program was essentially unchallenged
                 through the past administration, and the current
                 administration voluntarily maintained the program for
                 more than eight months before rescinding it. Even
                 upon rescission, the administration allowed many
                 recipients to renew their status once more, effectively
                 continuing the program into 2020. The government has
                 not sought to stay the preliminary injunctions issued by
                 various courts while the parties litigate the Regents
                 respondents’ claims. Those injunctions are limited to
                 allowing existing DACA recipients to renew their
                 status; they do not compel the government to consider
                 new DACA applications, and they do not allow DACA
                 recipients to leave the country and return using


                 1 Although Respondents brought two separate cases, they were
                 litigated in the district court as one, and are treated in the Petition
                 as one. Respondents submit a single Brief in Opposition and will
                 refer to their related cases in the singular. Respondents will
                 likewise refer to the three related Regents cases in the singular,
                 and to the two related Batalla Vidal cases in the singular. See
                 Kirstjen M. Nielsen v. Martin Jonathan Batalla Vidal, No. 18-
                 589.




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                                            2
                 advance parole. In short, the government’s actions in
                 this case demonstrate a lack of urgency in rescinding
                 DACA that belies its current assertion that this Court
                 should review the Regents decision immediately. These
                 and other arguments are set forth in the briefs in
                 opposition submitted by the respondents in the Regents
                 case, and Respondents adopt them in full.
                    Stripped of the false sense of urgency created by
                 the government’s invocation of the Regents decision,
                 there is nothing left of the government’s petition for
                 certiorari before judgment here, and it should be
                 denied. This case is presently being briefed before the
                 D.C. Circuit and will likely be argued in early 2019.
                 Under this Court’s rules, certiorari before judgment is
                 warranted only where the petitioner establishes that
                 “the case is of such imperative public importance as to
                 justify deviation from normal appellate practice and to
                 require immediate determination in this Court.” Sup.
                 Ct. R. 11. It is thus the “extremely rare” case that is
                 appropriate for such review. Coleman v. Paccar Inc.,
                 424 U.S. 1301, 1304 n.* (1976) (Rehnquist, J., in
                 chambers); see 28 U.S.C. § 2101(e). This case does not
                 meet that standard. And even if it did, the Court should
                 deny review because the district court correctly held
                 that DACA’s rescission was reviewable and unlawful.
                            STATEMENT OF THE CASE
                      I.   DACA
                    Prior to 2012, millions of young people raised in this
                 country were compelled by circumstances beyond their
                 control to live in the shadows. Brought here as children,
                 they attended American schools, contributed to




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                 American communities, and strived to achieve
                 American dreams. But because they were not lawfully
                 present, their lives did not resemble those of their
                 American classmates: They often could not secure
                 government-issued identification and, accordingly,
                 could not travel by plane to visit family or attend
                 college far from home; they could not secure work
                 authorization; they generally could not open bank
                 accounts, obtain credit cards, or engage in commercial
                 activity requiring access to credit; they could not access
                 public benefits and, in many cases, health insurance;
                 they could not enlist in the Armed Forces; and they
                 lived in constant fear of law enforcement, with whom
                 any interaction might mean deportation to a country
                 that was foreign to them.
                     Despite these hardships, many of these young
                 people triumphed. They worked hard and excelled in
                 school, developed talents and professional skills, and
                 contributed to their families and communities. Known
                 as “Dreamers,” they achieved these accomplishments
                 notwithstanding their status under the immigration
                 laws. From the perspective of immigration authorities,
                 they were—and still are—a low priority for
                 enforcement. AR 1; infra pp. 16-17.2 From the
                 perspective of most Americans, regardless of political
                 affiliation, they were—and still are—individuals with
                 the values and work ethic America cherishes, and they

                 2 “AR” refers to the administrative record filed by the
                 government in these proceedings. Dkt. 8-3; see also Regents of the
                 University of California, et al. v. DHS, et al., Case No. 3:17-cv-
                 05211 (N.D. Cal.), ECF No. 64-1. All references to “Dkt.” are to
                 documents filed in the district court in No. 17-cv-2325.




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                 deserve to live their lives in the only country many
                 have known.3
                    In 2012, the Department of Homeland Security
                 (DHS) sought to address the plight of the Dreamers.
                 Consistent with its longstanding authority to establish
                 deferred-action programs. Pet. App. 3a-4a; AR 15-23.
                 DHS thus established the Deferred Action for
                 Childhood Arrivals program (DACA). Pet. App. 5a.
                     By statute and regulation separate and distinct
                 from the DACA program, all persons subject to
                 deferred action—whether under DACA or any other
                 program—may access certain benefits in recognition of
                 their continued presence in the United States. They
                 may seek work authorization. 8 C.F.R. § 274a.12(c)(14).
                 They may request advance parole to travel abroad and
                 re-enter the United States. Id. § 212.5(f). And they are
                 eligible for driver’s licenses, health insurance, and
                 certain public programs. 8 U.S.C. § 1611(b)(2)-(3)
                 (Social Security and Medicare); id. § 1621(d) (state
                 benefits); 42 C.F.R. §§ 417.422(h), 422.50(a)(7) (health
                 insurance).
                    Before the DACA program was instituted, the
                 Office of Legal Counsel (OLC) advised DHS that
                 DACA was lawful so long as “immigration officials
                 retained discretion to evaluate each application on an
                 individualized basis.” Pet. App. 53a n.22 (quotation

                 3NPR Poll: 2 in 3 Support Legal Status for DREAMers; Majority
                 Oppose Building a Wall, NPR: All Things Considered (Feb. 6,
                 2018), https://tinyurl.com/yblhrs2d; Scott Clement & David
                 Nakamura, Survey Finds Strong Support for ‘Dreamers’, Wash.
                 Post (Sept. 25, 2017), https://tinyurl.com/ybqvqajx.




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                 marks omitted). OLC later memorialized its analysis in
                 a 33-page memorandum that primarily addressed a
                 2014 proposed program known as “Deferred Action for
                 Parents of Americans and Lawful Permanent
                 Residents” (DAPA). Pet. App. 52a-53a. In its
                 memorandum addressing DAPA, the OLC noted, “[t]he
                 concerns animating DACA were . . . consistent with the
                 types of concerns that have customarily guided the
                 exercise of immigration enforcement discretion.” Pet.
                 App. 53a n.22 (quotation marks omitted; ellipsis in
                 original).
                    DACA went into force in 2012, and by all accounts,
                 DACA has been successful in enabling hundreds of
                 thousands of young people to pursue higher education
                 and work legally, without the fear of deportation. Pet.
                 App. 54a. Today, DACA recipients make substantial
                 contributions to the U.S. economy, in addition to
                 serving their communities and in this nation’s military.
                     Separately, DHS sought to implement DAPA.
                 DAPA would have extended eligibility for deferred
                 action to approximately 4 million parents of U.S.
                 citizens or lawful permanent residents who were
                 themselves unlawfully present in the United States.
                 AR 33. DAPA also purported to expand the DACA
                 program in certain minor respects. AR 39-40 (changing
                 from two to three-year extension terms, adjusting
                 date-of-entry requirement, and removing age cap).
                 DAPA never went into effect, however, because a
                 coalition of states led by Texas secured a preliminary
                 injunction based on the agency’s failure to follow the




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                 APA’s notice-and-comment rulemaking requirements.4
                 Pet. App. 6a. The Fifth Circuit affirmed, holding that
                 the states had demonstrated a likelihood of success on
                 the merits not only of their procedural APA claim, but
                 also of their substantive APA claim, because DAPA
                 appeared to conflict with the INA’s “intricate process
                 for illegal aliens to derive a lawful immigration
                 classification from their children’s immigration status.”
                 Texas v. United States, 809 F.3d 134, 146, 179 (5th Cir.
                 2015). This Court granted a petition for a writ of
                 certiorari but divided evenly, thereby affirming the
                 preliminary injunction. See United States v. Texas, 136
                 S. Ct. 2271 (2016). The government sought rehearing,
                 noting that the country lacked a “definitive ruling” on
                 DAPA’s legality. Dkt. 28-16 at 2504. That petition was
                 denied. United States v. Texas, 137 S. Ct. 285 (2016).
                    Even after President Trump took office, DHS opted
                 to maintain DACA. In February 2017, then-Secretary
                 of Homeland Security Kelly repealed a broad array of
                 immigration directives but specifically exempted
                 DACA. AR 230. As he later explained, he viewed
                 “DACA status” as a “commitment … by the
                 government towards the DACA person.” Dkt. 28-15 at
                 1922. In June 2017, Secretary Kelly rescinded DAPA,
                 but again left DACA in place. AR 235-37. Likewise, in
                 public comments the President said “dreamers should
                 rest easy,” characterizing the “policy of [his]
                 administration . . . to allow the dreamers to stay.” Dkt.
                 28-15 at 1939-40.

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                 4 The states expressly declined to challenge DACA, which had
                 already been in place for two years.




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                    In June 2017, approximately the time Secretary
                 Kelly made his second decision to leave DACA in place,
                 Attorney General Sessions and other members of the
                 Justice Department communicated with attorneys
                 general from several of the states that had challenged
                 DAPA in the Texas case. Dkt. 28-15 at 1951-52. Those
                 conversations culminated in a letter from the state
                 attorneys general to Attorney General Sessions on
                 June 29, 2017. AR 238-40. Although the states had not
                 challenged DACA in the five years since it had been
                 implemented, the letter asserted that DACA was
                 unlawful and asked Defendants to “phase out the
                 DACA program”; if Defendants did not do so, the
                 states said, they would amend their years-old complaint
                 against DAPA to challenge DACA for the first time.
                 AR 239.
                    On September 4, 2017, Attorney General Sessions
                 announced, in a one-page letter, that DACA was
                 “unconstitutional” and lacked “statutory authority.”
                 AR 251. The letter provided no legal analysis, but
                 simply referenced the Texas DAPA litigation and the
                 “potentially imminent litigation” over DACA. AR 251.
                 The next day, Acting Secretary of Homeland Security
                 Duke issued a memorandum rescinding DACA (the
                 “Duke Memorandum”). AR 252-56. After describing the
                 course of the Texas litigation and reciting the Attorney
                 General’s conclusion that DACA was unlawful, Acting
                 Secretary Duke simply announced that it was “clear”
                 that DACA should be terminated. AR 255.
                    The Duke Memorandum instructed DHS to stop
                 accepting new initial DACA applications and approving
                 new applications for advance parole; to accept renewal




                                                                            AR3801
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                 applications from individuals whose current deferred
                 action would expire by March 5, 2018; and to accept
                 such renewals until October 5, 2017. AR 255.
                     II.   Proceedings Below
                     Respondents sued in the United States District
                 Court for the District of Columbia to challenge the
                 decision to rescind DACA. In April 2018, Judge John D.
                 Bates granted Respondents’ motion for summary
                 judgment, holding the agency’s decision unlawful and
                 setting it aside. Judge Bates concluded that the
                 rescission of DACA was reviewable and that the
                 reasons given to support it were inadequate under the
                 Administrative Procedure Act (APA). Pet. App. 72a-
                 74a. In particular, Judge Bates held that the
                 government could not overcome the “strong
                 presumption favoring judicial review of administrative
                 action.” Mach Mining, LLC v. EEOC, 135 S. Ct. 1645,
                 1651 (2015) (internal quotation marks omitted). And he
                 held that DACA’s rescission was arbitrary and
                 capricious because the government “failed adequately
                 to explain its conclusion that the program was
                 unlawful.” Pet. App. 2a. Judge Bates stayed the order
                 of vacatur for ninety days to allow DHS to attempt to
                 remedy the Duke Memorandum’s inadequacies. Pet.
                 App. 66a.
                     In June 2018, Secretary Kirstjen M. Nielsen issued
                 a new memorandum “concur[ring] with and declin[ing]
                 to disturb” the Duke Memorandum. Pet. App. 81a, 86a.
                 The government then moved Judge Bates to revise the
                 April 2018 order and uphold the Duke Memorandum.
                 Pet. App. 81a.




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                    In August 2018, Judge Bates issued an opinion
                 denying the government’s motion to revise. The opinion
                 was narrow: “The Court did not hold in its prior
                 opinion, and it does not hold today, that DHS lacks the
                 statutory or constitutional authority to rescind the
                 DACA program. Rather, the Court simply holds that if
                 DHS wishes to rescind the program—or to take any
                 other action, for that matter—it must give a rational
                 explanation for its decision.” Pet. App. 108a-109a (citing
                 5 U.S.C. § 706(2)). Judge Bates found, once again, that
                 DHS had failed to satisfy the bare minimum of rational
                 decisionmaking required by the APA. Pet. App. 108a-
                 109a.
                     The government filed a notice of appeal to the
                 United States Court of Appeals for the D.C. Circuit.
                 Pet. App. 112a, 114a. The government then moved
                 Judge Bates for a stay of the vacatur pending appeal.
                 Judge Bates granted the government’s motion in part,
                 aligning the vacatur order with relief granted by other
                 courts and maintaining a stable status quo: DHS did
                 not have to begin accepting initial DACA applications
                 or applications for advance parole, but the government
                 had to continue processing DACA renewals. Dkt. 86 at
                 2. The government has not sought a stay before the
                 D.C. Circuit.
                    The government’s opening brief was filed in the
                 D.C. Circuit on November 26, 2018. Briefing will be
                 complete in the D.C. Circuit on January 22, 2019.
                    On November 5, 2018, the government filed a
                 petition for a writ for certiorari before judgment in this
                 case and two others: Regents No. 18-587 as well as
                 Nielsen v. Batalla Vidal, No. 18-589. On November 8,




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                 2018, the Ninth Circuit issued its opinion in the Regents
                 case. Two judges affirmed the district court in full,
                 holding that the rescission was reviewable and likely
                 unlawful. Regents Supp. Pet. App. 5a-78a. One judge
                 believed that the rescission was not reviewable under
                 the APA, but that the Regents respondents were likely
                 to prevail on their equal protection claim. Regents
                 Supp. Pet. App. 79a-87a.
                    On November 19, 2018, the government filed a
                 supplemental brief in this Court in the Regents case,
                 seeking to convert its petition for certiorari before
                 judgment into a petition for certiorari and arguing that
                 the Ninth Circuit opinion strengthened the case for
                 certiorari in all three cases. The government filed a
                 second supplemental brief on November 27, 2018,
                 correcting its prior supplemental brief and maintaining
                 the same position that certiorari before judgment
                 should be granted in this case.
                       REASONS FOR DENYING THE WRIT
                     Petitioners seek the extraordinary action of this
                 Court granting certiorari before any court of appeals
                 has reviewed a final judgment on the questions
                 presented—and before this case has been fully briefed
                 before the D.C. Circuit. Petitioners come nowhere near
                 satisfying this Court’s standards for a grant of
                 certiorari before judgment, and thus the petition should
                 be denied.
                      I.   Review of the Regents Case Is Premature.
                    As the respondents in the Regents case explain,
                 notwithstanding the issuance of the Ninth Circuit’s
                 decision, the petition in that case does not meet the




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                 standard for this Court’s review. That case does not
                 involve a circuit split. Nor does the petition present an
                 important question of federal law that should be
                 resolved now.
                     The first question presented asks only whether the
                 district court misapplied the long-settled legal standard
                 governing when agency action is exempt from judicial
                 review. Applying that standard, all courts that have
                 considered the matter have concluded that the agency’s
                 rescission of DACA is reviewable.
                     The second question presented addresses the
                 legality of DHS’s rescission of DACA. While that
                 question may ultimately merit this Court’s review,
                 granting certiorari at this stage would short-circuit the
                 development of these issues in the lower courts. “[T]his
                 is exactly the sort of issue that could benefit from
                 further attention in the courts of appeals.” Spears v.
                 United States, 555 U.S. 261, 270 (2009) (Roberts, C.J.,
                 dissenting). The D.C. Circuit, in particular, has valuable
                 expertise on questions of administrative law. It, along
                 with the Second and Fourth Circuits, will soon pass on
                 both issues presented by the petition, and the courts of
                 appeals will likely issue their decisions on these cases in
                 2019. Granting the petitions before those courts have
                 ruled would unnecessarily deprive the Court of their
                 analysis.
                    Additionally, the Ninth Circuit addressed the
                 questions presented in an interlocutory posture,
                 holding that the Regents respondents “are likely to
                 succeed in demonstrating that the rescission must be
                 set aside.” Regents Supp. Pet. App. 57a; see also
                 Regents Supp. Pet. App. 77a & n.31. This Court reviews




                                                                               AR3805
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                 that determination solely for “abuse of discretion” and
                 “uphold[s] the injunction” if “the underlying …
                 question is close.” Ashcroft v. ACLU, 542 U.S. 656, 664-
                 65 (2004) (internal quotation marks omitted). For this
                 very reason, ordinarily this Court awaits final
                 judgment before granting a petition for review.5 See,
                 e.g., Va. Military Institute v. United States, 508 U.S.
                 946 (1993) (Scalia, J., concurring in denial of certiorari);
                 Am. Constr. Co. v. Jacksonville, Tampa & Key W. Ry.
                 Co., 148 U.S. 372, 384 (1893).
                     Moreover, the Regents respondents present a
                 distinct equal protection claim that the Ninth Circuit
                 found credible, but which had not been fully developed.
                 That claim was not the basis for the district court’s
                 entry of a preliminary injunction. Regents Supp. Pet.
                 App. 84a. Thus, it is not squarely presented for this
                 Court’s review. See Brown v. Chote, 411 U.S. 452, 457
                 (1973). As all three Ninth Circuit judges recognized,
                 however, if presented to the district court, that claim
                 may result in the entry of an identical preliminary
                 injunction, should the existing injunction be vacated.
                 See Regents Supp. Pet. App. 77a n.31, 84a-87a.
                    For these reasons, and those set forth in greater
                 detail by the Regents respondents, review of the

                 5 While this Court granted United States v. Texas on an
                 interlocutory posture, circumstances there were materially
                 different. DAPA had not yet been implemented, thus there were
                 no reliance interests to weigh in the balance of factors. See AR 183
                 (“The interest the government has identified can be effectively
                 vindicated after a trial on the merits. The interest the states have
                 identified cannot be, given the difficulty of restoring the status quo
                 ante if DAPA were to be implemented.”).




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                 questions presented in that case is premature.
                     II.   The Petition for Certiorari Before
                           Judgment in this Case Should Be Denied.
                     Even leaving aside that the district court’s decision
                 below was correct on the merits, see infra pp. 18-34, the
                 petition for certiorari before judgment should be denied
                 for numerous reasons.
                     First, this case does not meet the standard for
                 review before judgment. Sup. Ct. R. 11. It does not
                 involve exigent circumstances remotely comparable to
                 those at issue in cases where the standard was met,
                 such as the legality of a military commission at a time of
                 war, Ex parte Quirin, 317 U.S. 1, 20 (1942); the
                 wartime seizure of a steel mill, Youngstown Sheet &
                 Tube Co. v. Sawyer, 343 U.S. 579, 583-84 (1952); an
                 impending deadline involving the breach of an
                 international treaty, Dames & Moore v. Regan, 453
                 U.S. 654, 660 (1981); or grand jury proceedings
                 involving the sitting President, United States v. Nixon,
                 418 U.S. 683, 686-87 (1974). Nor is there “disarray
                 among the Federal District Courts” that might justify
                 this Court’s expedited review. Mistretta v. United
                 States, 488 U.S. 361, 371 (1989). Each case in which
                 certiorari before judgment has been granted involved
                 emergent issues of national security or issues that
                 “touch fundamentally upon the manner in which our
                 Republic is to be governed.” Dames & Moore, 453 U.S.
                 at 659. Even if the questions of administrative law in
                 this case may ultimately be appropriate for the Court’s
                 review, there is no comparable emergency here. Simply
                 put, this is not the “extremely rare” case that justifies
                 “deviation from normal appellate practice.” Coleman,




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                 424 U.S. at 1304 n.* (Rehnquist, J., in chambers); Sup.
                 Ct. R. 11.
                     Second, the government’s own actions belie its
                 newly-minted claim of urgency. DACA has been in
                 place since 2012. The current administration continued
                 the program for more than eight months before
                 deciding to discontinue it in response to threats from
                 certain states. See Pet. App. 8a-9a. Even then, the
                 administration allowed some DACA recipients to
                 renew their deferred status, in effect extending the
                 program for an additional two and a half years. Because
                 the preliminary injunctions in other cases are limited
                 and the vacatur in this case is partially stayed, no new
                 applicants may receive deferred action under the
                 DACA program. Given this status, the district court in
                 the Southern District of Texas, the court which
                 invalidated DAPA, denied the states’ motion for a
                 preliminary injunction against DACA. Texas v. United
                 States, 328 F. Supp. 3d 662, 741-42 (S.D. Tex. 2018). No
                 exigency exists necessitating immediate review of a
                 policy that has been in place since 2012 and that the
                 government itself opted to extend in part through
                 March 2020.
                     The administration’s statements provide further
                 proof that immediate review is unwarranted. The
                 President has indicated that it is his “policy” to “allow
                 the dreamers to stay,” Dkt. 28-15 at 1939-40, and senior
                 officials have issued other statements in support of
                 DACA recipients, see, e.g., Dkt. 28-15 at 1922. Contrary
                 to Petitioners’ arguments, the President also has
                 asserted that he “certainly [has] the right” to keep
                 DACA in place and indicated he “might” decide to do




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                 so. See READ: President Trump’s Full Exchange With
                 Reporters, CNN.com (Jan. 24, 2018), https://tinyurl.
                 com/ydcafdtr (CNN Statement).
                     Third, the government’s litigation conduct confirms
                 that immediate review is unnecessary. The government
                 has never sought to stay the preliminary injunctions
                 issued in the Northern District of California or the
                 Eastern District of New York. Nor did the government
                 seek a stay of Judge Bates’ decision to allow portions of
                 the vacatur to take effect consistent with those
                 preliminary injunctions. A stay request would require
                 Petitioners to demonstrate irreparable harm, and to
                 show that the balance of hardships favors a stay,
                 something Petitioners have never attempted to
                 articulate—and could not do, even if they tried.
                 Petitioners’ litigation choices “blunt [the government’s]
                 claim of urgency,” Ruckelshaus v. Monsanto Co., 463
                 U.S. 1315, 1317-18 (1983) (Blackmun, J., in chambers),
                 and “vitiate[] much of the force” of its claimed harm,
                 Beame v. Friends of the Earth, 434 U.S. 1310, 1313
                 (1977) (Marshall, J., in chambers).
                     Fourth, the government faces no concrete harm
                 from allowing this case to be decided first by the D.C.
                 Circuit. The government suggests that review is
                 necessary because it is being required to retain a policy
                 it believes is unlawful. Pet. 14-15. But the government
                 need not grant any new DACA applications. And the
                 asserted harm with respect to existing DACA
                 recipients does not warrant premature review: courts
                 regularly maintain the status quo while the
                 government litigates the extent of its authority or
                 legality of its conduct. E.g., Nat’l Ass’n of Mfrs. v. Dep’t




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                 of Defense, 138 S. Ct. 617, 627 (2018) (noting the
                 “nationwide stay of the [Waters of the United States]
                 Rule pending further proceedings”); Gonzalez v. O
                 Centro Espirita Beneficente Uniao do Vegetal, 546 U.S.
                 418, 423 (2006) (affirming injunction against
                 enforcement of Controlled Substances Act). Indeed, an
                 alteration of the status quo pending final judgment is
                 the exception, not the norm. The purported harm of
                 maintaining in place a program that has existed since
                 2012, in the face of an attempt at rescission deemed
                 unlawful by Judge Bates, does not justify
                 circumventing the normal process for appellate review.
                     The alleged harm of permitting current DACA
                 recipients to maintain their status while this litigation
                 is pending is further discredited by Secretary Nielsen’s
                 testimony before Congress that DACA recipients
                 would not be an enforcement priority following
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                 DACA’s rescission. See Hearing on Kirstjen M.
                 Nielsen to be Homeland Security Secretary Before the
                 S. Comm. on Homeland Sec. and Gov’t Affairs, 115th
                 Cong. (2017) (exchange with Senator Harris); accord

                 6 Even if DACA recipients are not likely to be immediately
                 removed, without DACA they will lose their authorization to
                 work. As described in detail in Respondents’ submissions to the
                 district court, the consequences for DACA recipients will be
                 disastrous, effectively cutting short promising careers and
                 educational programs and terminating DACA recipients’ ability to
                 support themselves and their families. See Dkts. 28-8, 28-17;
                 Regents Pet. App. 62a-66a (recognizing catastrophic consequences
                 of rescission and concluding that consequences for DACA
                 recipients and other affected parties outweigh government’s
                 asserted interest in initiating wind-down); Batalla Vidal Pet. App.
                 123a-126a (same).




                                                                                       AR3810
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                 Hearing on Oversight of the United States Department
                 of Homeland Security Before the S. Comm. on the
                 Judiciary, 115th Cong. (2018) (exchange with Senator
                 Harris). Moreover, the district court’s order does not
                 compel the government to “sanction” the unlawful
                 presence of anyone. Under DACA’s plain terms, each
                 renewal application is evaluated “on a case by case
                 basis,” AR 2, and DHS can initiate removal proceedings
                 against DACA recipients determined to present a risk
                 to national security or public safety. AR 1-3; see also
                 Regents Pet. App. 45a. As Judge Bates noted, this
                 litigation “does not itself delay the removal of any
                 specific alien.” Pet. App. 38a.
                    Fifth, for similar reasons, the continuation of DACA
                 causes no harm to the public. DACA recipients were
                 subjected to rigorous background checks and heavy
                 scrutiny to ensure they did not pose a “threat to
                 national security or public safety,” had not “been
                 convicted of certain criminal offenses,” and fulfilled
                 educational and work-related criteria. Pet. App. 4a.
                 Under the terms of the DACA program itself, the
                 government can terminate deferred action if, for
                 example, a DACA recipient is convicted of a
                 disqualifying crime. Sensibly, the government does not
                 even contend that the public might somehow be
                 harmed by the continued lawful presence of DACA
                 recipients during this litigation.
                     Sixth, the government is incorrect that the
                 pendency of this litigation may stymie legislative
                 resolutions to these issues. Pet. at 15. As the
                 government concedes, the challenge of achieving
                 legislative compromise long predates this litigation.




                                                                            AR3811
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                 Pet. at 4, 15. And with a new Congress set to convene,
                 there is a renewed possibility of a legislative solution.
                 Congressional action could render the matter moot.
                 This    possibility   counsels     against     premature
                 consideration by this Court. See, e.g., Volpe v. D.C.
                 Fed’n of Civic Ass’ns, 405 U.S. 1030, 1030 (1972)
                 (Burger, C.J., concurring in denial of certiorari).
                     Finally, denying certiorari will not preclude
                 consideration of the questions presented. The
                 government’s demand that the Court abandon the
                 ordinary, time-tested appellate process is simply a
                 means to rush the case to the Court this Term—all in a
                 context where the government has never identified any
                 concrete harms caused by addressing this case in the
                 normal course. It is virtually certain that the D.C.
                 Circuit will issue a decision in plenty of time for a
                 petition to be considered next Term. See Aaron v.
                 Cooper, 357 U.S. 566, 566-67 (1958) (per curiam)
                 (denying petition for certiorari before judgment). If the
                 Court believes the questions merit review at that time,
                 it will have the benefit of additional circuit opinions. It
                 will also have the option of deciding these issues
                 through a vehicle that is not interlocutory.
                    III.   The District Court’s Decision Is Correct.
                    The Court should also deny certiorari because
                 Judge Bates’ decision is correct on the merits.
                    A. The Rescission of DACA Is Subject to
                       Judicial Review.
                    As every court to consider the first question
                 presented has agreed, DACA’s rescission is neither
                 “committed to agency discretion by law,” 5 U.S.C.




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                 § 701(a)(2), nor an action “to commence proceedings,
                 adjudicate cases, or executive removal orders,” 8
                 U.S.C. § 1252(g). See Pet. App. 25a-43a; Regents Pet.
                 App. 26a-30a; Batalla Vidal Pet. App. at 25a-31a; see
                 also Casa De Maryland v. U.S. Homeland Sec., 284 F.
                 Supp. 3d 758, 770 (D. Md. 2018), appeal docketed, No.
                 18-1522 (4th Cir. May 8, 2018).
                    1. There is a “strong presumption favoring judicial
                 review of administrative action,” that the government
                 “bears a heavy burden” to overcome. Mach Mining, 135
                 S. Ct. at 1651 (internal quotation marks omitted); see
                 also Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv.,
                 139 S. Ct. 361, 369-70 (2018) (slip op. at 11). Section
                 701(a)(2) offers a “very narrow exception” to that
                 strong presumption, triggered only when “in a given
                 case there is no law to apply.” Citizens to Preserve
                 Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971),
                 abrogated on other grounds by Califano v. Sanders, 430
                 U.S. 99 (1977). That is not the case here.
                    a. The government’s lead argument is that “Section
                 701(a)(2) precludes review of an agency’s decision not
                 to institute enforcement actions” under Heckler v.
                 Chaney, 470 U.S. 821, 831 (1985). Regents Pet. 18. But
                 the government does not even contend that DACA’s
                 rescission is such a decision; rather, it seeks to expand
                 Chaney to make unreviewable all agency decisions
                 about whether and how to enforce federal statutes—no
                 matter the scope and formality of the agency’s decision,
                 no matter whether the decision reflects an erroneous
                 view of the agency’s legal authority, and no matter
                 whether the agency action at issue is a non-
                 enforcement decision at all. Such an expansion—which




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                 would encourage politically unaccountable agencies to
                 make policy in the guise of unreviewable legal
                 determinations—is unwarranted, unwise, and without
                 basis in law.
                     In Chaney, death-row inmates filed a petition
                 asking the FDA to initiate enforcement proceedings to
                 stop two states from using certain drugs in their
                 executions. See 470 U.S. at 823-24. The FDA responded
                 by letter, explaining that the agency’s enforcement
                 authority in the area was “generally unclear” and that,
                 in any event, the agency had decided that the particular
                 facts alleged did not meet the agency’s criteria for
                 initiating enforcement. See id. at 824-25. The inmates
                 sought judicial review, arguing that the FDA did have
                 authority to act and that it had misapplied its own
                 enforcement criteria. Id. at 825-26.
                    This Court held that “an agency’s decision not to
                 take enforcement action should be presumed immune
                 from judicial review.” Id. at 832. But the Court’s
                 decision was limited in two critical respects. First, the
                 Court was careful to note that “[w]e do not have in this
                 case a refusal by the agency to institute proceedings
                 based solely on the belief that it lacks jurisdiction.” Id.
                 at 833 n.4. In such a case, “the statute conferring
                 authority on the agency” might suffice to indicate that
                 the agency’s decision to tie its own hands was not
                 “committed to agency discretion.” Id. (internal
                 quotation marks omitted). Second, the Court addressed
                 only an agency’s refusal to undertake a “particular
                 enforcement action” in a given instance. Id. at 831. The
                 Court referred throughout its opinion to an individual
                 “refusal to institute proceedings,” which it analogized




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                 to an individual prosecutor’s decision “not to indict” a
                 given offender. Id. at 832; see id. at 827-38.
                     i. The government seeks to expand Chaney’s
                 narrow presumption of unreviewability from individual
                 non-enforcement decisions to “broad enforcement
                 polic[ies].” Regents Pet. 20 (quotation marks omitted).
                 But Chaney does not apply to general enforcement
                 policies at all. This Court has previously declined to
                 extend Chaney to decisions not to institute a
                 rulemaking. See Massachusetts v. EPA, 549 U.S. 497,
                 527 (2007). The Court noted as “key differences” the
                 fact that “agency refusals to initiate rulemaking ‘are
                 less frequent, more apt to involve legal as opposed to
                 factual analysis, and subject to special formalities,
                 including a public explanation.’” Id. (quoting Am. Horse
                 Protection Ass’n v. Lyng, 812 F.2d 1, 4 (D.C. Cir.
                 1987)). There are similar “ample reasons for
                 distinguishing” between broad enforcement policies
                 and “single-shot” nonenforcement decisions like in
                 Chaney. See Crowley Caribbean Transp., Inc. v. Pena,
                 37 F.3d 671, 676-77 (D.C. Cir. 1994).7
                       To be clear, Respondents do not suggest that all
                 challenges to broad enforcement policies are
                 necessarily amenable to review, but simply that they
                 are, as a class, outside Chaney’s narrow reversal of the
                 presumption of reviewability. In some cases, there may
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                 7   For similar reasons, the lump sum appropriation held
                 unreviewable in Lincoln v. Vigil, 508 U.S. 182 (1993), is
                 distinguishable from a broad enforcement policy. Like a single-
                 shot enforcement decision, the decision not to fund a program for
                 handicapped Indian children in the Southwest is not as amenable
                 to judicial review as a broad enforcement policy. Id. at 192-93.




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                 be no “law to apply.” See infra pp. 24-26. And in many
                 cases, review of agency policies will be highly
                 deferential. See Massachusetts, 549 U.S. at 527 (holding
                 that review of a refusal to initiate rulemaking should be
                 deferential). But broad discretion is not the same as
                 unreviewable discretion, and neither Chaney nor any of
                 this Court’s other cases suggest that a general
                 enforcement policy is presumptively immune from
                 review under the APA.
                     ii. At a minimum, a general enforcement policy
                 predicated on a misconception of an agency’s legal
                 authority is presumptively reviewable. Agency
                 interpretations of law, by definition, are not
                 “committed to agency discretion,” as it is ultimately the
                 role of the courts to determine what the law is. DACA’s
                 rescission was predicated entirely—or, at a minimum,
                 overwhelmingly—on a legal judgment about the scope
                 of the Secretary’s authority. Supra p. 7. The district
                 court     held   that    “Chaney’s     presumption     of
                 unreviewability” did not apply “to a legal interpretation
                 phrased as a general enforcement policy,” including an
                 interpretation that “concerns the scope of the agency’s
                 lawful enforcement authority.” Pet. App. 39a. This
                 holding is correct.
                     An agency action premised on the belief that it is
                 compelled by law does not involve “a complicated
                 balancing of a number of factors which are peculiarly
                 within [the agency’s] expertise.” Chaney, 470 U.S. at
                 831. Indeed, the premise of Petitioners’ rescission is
                 that they lacked discretion to maintain DACA, so there
                 were no factors to balance. And for that reason, no
                 legitimate interest is served by insulating the agency’s




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                 legal judgment from review. Barring review of an
                 agency policy based on the value of “enforcement
                 discretion” is nonsensical when the very legal error at
                 issue is the agency’s too-narrow definition of its own
                 enforcement discretion. As the district court put it, “an
                 official cannot claim that the law ties her hands while at
                 the same time denying the courts’ power to unbind
                 her.” Pet. App. 73a.
                     This rule also draws powerful support from the core
                 purposes of the APA. If an agency’s narrow assessment
                 of its legal authority were immune from review, an
                 agency could avoid political accountability for a major
                 policy choice by insisting that the law forced its hand—
                 just as the government has repeatedly claimed here—
                 while also evading any review of the legal judgment As
                 the district court underscored, approving that result
                 would thwart the APA’s commitment to ensuring that
                 agencies are subject to meaningful checks—“in the
                 court of public opinion” or, if not, in a court of law. Pet.
                 App. 72a-73a. ICC v. Brotherhood of Locomotive
                 Engineers, 482 U.S. 270 (1987), is not to the contrary.
                 There, the denial of a petition to reconsider certain
                 labor conditions was exactly the sort of single-shot
                 decision not to act that was held unreviewable in
                 Chaney. Id. at 282. And the agency did not contend it
                 was without authority to act—it simply did not believe
                 the petition had merit. The Court’s statement that an
                 agency action is not reviewable simply where “the
                 agency gives a ‘reviewable’ reason for otherwise
                 unreviewable action,” id. at 283, is beside the point
                 where, as here, the agency action is reviewable.
                    iii. Chaney is also inapposite because the rescission




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                 of DACA is not “an agency’s refusal to take requested
                 enforcement action.” 470 U.S. at 831 (emphasis added).
                 Rather, the agency has affirmatively terminated a
                 significant program that provided a form of protection
                 against removal to hundreds of thousands of people and
                 offered them the opportunity to work, go to school,
                 obtain driver’s licenses, and seek other benefits. Supra
                 p. 4. Indeed, Chaney expressly distinguished non-
                 enforcement decisions from affirmative government
                 actions:
                    [W]hen an agency refuses to act it generally does
                    not exercise its coercive power over an
                    individual’s liberty or property rights, and thus
                    does not infringe upon areas that courts often
                    are called upon to protect. Similarly, when an
                    agency does act to enforce, that action itself
                    provides a focus for judicial review, inasmuch as
                    the agency must have exercised its power in
                    some manner.
                 470 U.S. at 832 (emphasis in original).
                    Termination of a substantial program providing
                 access to important benefits undoubtedly addresses an
                 “area that courts often are called upon to protect.”
                 Because Chaney does not apply to affirmative actions
                 of that sort, DACA’s rescission is subject to the
                 ordinary presumption of reviewability, and the
                 government bears the burden to show that there is “no
                 law to apply.”
                    b. There are judicially manageable standards to
                 apply in resolving Respondents’ claims, and the
                 government makes little effort to contend otherwise.




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                 First, the basis for the agency’s decision was a
                 determination that DHS lacks the statutory authority
                 to continue DACA. That is a purely legal judgment,
                 and, of course, legal standards exist to resolve legal
                 questions. See Int’l Union, UAW v. Brock, 783 F.2d
                 237, 246 (D.C. Cir. 1986) (noting that it is “almost
                 ludicrous to suggest that there is ‘no law to apply’ in
                 reviewing whether an agency has reasonably
                 interpreted a law”).
                     Second, in many cases, this Court has invalidated
                 agency action because it failed to “cogently explain why
                 it has exercised its discretion in a given manner.”
                 Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm
                 Mut. Auto. Ins. Co., 463 U.S. 29, 48-49 (1983). In
                 Judulang v. Holder, 565 U.S. 42 (2011), for example,
                 the Court unanimously rejected the government’s
                 policy for determining eligibility for discretionary
                 immigration relief as arbitrary and capricious,
                 explaining that the agency’s chosen approach was not
                 “tied, even … loosely, to the purposes of the
                 immigration laws or the appropriate operation of the
                 immigration system.” Id. at 55. Because the agency did
                 not “exercise its discretion in a reasoned manner,” its
                 policy could not “pass muster under ordinary principles
                 of administrative law.” Id. at 53, 64. The Court had no
                 difficulty making that judgment, even without a
                 statutory definition of the “appropriate operation of the
                 immigration system,” because the agency’s rationale
                 failed on its own terms. Id. at 55. The district court
                 undertook the equivalent inquiry in this case, ruling not
                 based on the wisdom of the particular immigration
                 policy at issue, but on the irrationality of the agency’s




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                 reconsideration of that order.” Id. (quoting 525 U.S. at
                 482). Here, as the district court explained, “there are no
                 pending removal proceedings with which plaintiffs’
                 challenge might interfere.” Pet. App. 21a.8
                 Accordingly, § 1252(g) does not bar review of
                 Respondents’ claims.
                       B. The District Court Correctly Held that the
                          Rescission of DACA Was Arbitrary and
                          Capricious.
                    1. The district court held that DHS failed to
                 “examine the relevant data and articulate a satisfactory
                 explanation for its action including a rational connection
                 between the facts found and the choice made.” Pet.
                 App. 48a. (quoting Encino Motorcars, LLC v. Navarro,
                 136 S. Ct. 2117, 2127 (2016)); see also Pet. App. 59a-60a.
                 That narrow holding, which does not rest on DACA’s
                 legality, is well grounded in this Court’s APA decisions.
                     First, the district court found the agency’s “scant
                 legal reasoning” contrary to this Court’s clear
                 articulation in Encino Motorcars of what the APA
                 requires. Pet. App. 49a-51a. The agency’s assertion that
                 DACA violated the INA was “based only on an
                 incongruous reference to the Fifth Circuit’s decision on
                 DAPA,” Pet. App. 52a, while its “analysis of DACA’s

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                 8 In addition, § 1252(g) could not bar the claims brought by
                 Respondents Microsoft and Princeton, neither of whom is an alien
                 or suing solely “on behalf of” an alien. Rather, each has alleged
                 that the rescission of DACA will hamper its own operations—in
                 Princeton’s case as a university, in Microsoft’s case as a
                 corporation. See Dkt. 1, ¶¶ 61, 62; see also Batalla Vidal Pet. App.
                 38a-39a.




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                 constitutionality was so barebones that the Court
                 cannot ‘discern[]’ the ‘path’ that the agency followed,”
                 Pet. App. 53a-54a (quoting Encino Motorcars, 136 S.
                 Ct. at 2125). Those failures were “particularly
                 egregious here in light of the reliance interests
                 involved.” Pet. App. 54a (citing Encino Motorcars, 136
                 S. Ct. at 2126); see also id. (“DACA had been in place
                 for five years and had engendered the reliance of
                 hundreds of thousands of beneficiaries, many of whom
                 had structured their education, employment, and other
                 life activities on the assumption that they would be able
                 to renew their DACA benefits.”). The district court
                 noted that this Court “has set aside changes in agency
                 policy for failure to consider reliance interests that pale
                 in comparison to the ones at stake here.” Pet. App. 54a-
                 55a (citing, e.g., Encino Motorcars, 136 S. Ct. at 2126).9
                     Second, the district court correctly found
                 inadequate the government’s explanation for its
                 “litigation risk” basis to rescind DACA. Pet. App. 55a-
                 59a. In the district court, the government argued that if
                 DACA were challenged in litigation brought by Texas,
                 “the district court there would enter a ‘nationwide
                 injunction’ that ‘would have prompted an immediate—
                 and chaotic—end to the policy.’” Pet. App. 55a (quoting
                 Defs.’ Reply at 15). The district court appropriately

                 9 The government suggests that it did consider these interests in
                 that it allowed DACA recipients to maintain their status until it
                 expired. Regents Pet. 26-27. But the Duke Memo belies that
                 argument: It does not so much as mention the interests of DACA
                 recipients, instead linking the choice to “wind [DACA] down in an
                 efficient and orderly fashion” to the “administrative complexities”
                 for the agency in ending the program. AR 254.




                                                                                       AR3822
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                 held this rationale “so implausible that it fails even
                 under the deferential arbitrary and capricious
                 standard.” Pet. App. 60a. In light of the discretion
                 available to a district court in Texas, “it strains
                 credulity” that such a court “would have enjoined
                 DACA immediately and completely without allowing
                 DHS any opportunity to wind the program down.”10
                 Pet. App. 58a. Because the agency failed even to
                 acknowledge the range of options available to a district
                 court, much less analyze and weigh them against the
                 benefits of maintaining the DACA program, the court
                 found this rationale arbitrary and capricious. Pet. App.
                 58a-59a.11
                    2. Relying on the Nielsen Memo, the government
                 seeks to morph its rationale for rescinding DACA into
                 an argument that it did so based on “serious doubts”
                 about DACA’s legality. To the extent that rationale
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                 10 As expected, the Southern District of Texas denied Texas’s
                 motion for a preliminary injunction. Texas, 328 F. Supp. 3d at 741-
                 42.
                 11 For the exact reasons given by the district court, amici’s
                 argument that “threatened litigation” alone provided a “valid basis
                 for ending DACA,”—even absent any analysis of the likely
                 outcome of the litigation or of the costs of rescinding DACA—is
                 baseless. Texas, Amicus Br. at 10. Moreover, Respondents
                 identified additional failures of explanation, but the district court
                 did not reach them in light of its central ruling that the rationales
                 provided for rescission were themselves inadequate. Nevertheless,
                 DACA’s rescission could equally be invalidated for failing to
                 consider alternatives, such as enhancements to the individualized
                 review of DACA applications, or failing to explain the reasoning
                 underlying the agency’s idiosyncratic and haphazard “wind-down”
                 process. See State Farm, 463 U.S. at 50-51.




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                 differs in substance from the rationale in the Duke
                 Memo, it may not be used to justify, retroactively,
                 Acting Secretary Duke’s rescission of DACA. And, in
                 any event, it too fails arbitrary and capricious review.
                     a. The Duke Memo articulates only one independent
                 rationale for DACA’s rescission: the claim that DACA
                 is illegal. Both Attorney General Sessions’ letter and
                 the Duke Memo are framed in purely legal terms. AR
                 251-256.      Indeed,     after     declaring    DACA
                 “unconstitutional” and lacking in “proper statutory
                 authority,” Attorney General Sessions invoked the
                 “duty to defend the Constitution and faithfully execute
                 the laws passed by Congress” and touted the
                 “restoration of the rule of law” that DACA’s rescission
                 would purportedly bring about. AR 251. In this context,
                 the Attorney General’s passing assertion that a court
                 would “likely” agree with him about DACA, AR 251,
                 cannot plausibly be viewed as a freestanding basis for
                 rescission. And the Duke Memo that followed the next
                 day added nothing of substance to the Attorney
                 General’s analysis, and certainly nothing resembling a
                 policy assessment.
                    The new justifications for the rescission of DACA
                 contained in the Nielsen Memo cannot retroactively
                 bolster the prior decision. Alpharma, Inc. v. Leavitt,
                 460 F.3d 1, 6 (D.C. Cir. 2006) (citing Overton Park, 401
                 U.S. at 420).12 As the district court put it, there is a

                 12 As the district court observed: “[H]ad Secretary Nielsen opted
                 to issue a new decision rescinding DACA, the explanations offered
                 in her memorandum would be contemporaneous and, consequently,
                 not post hoc. She did not do this, however.” Pet. App. 94a n.7.
                 Moreover, if Secretary Nielsen had taken a separate




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                 critical distinction between “an ‘amplified articulation’
                 of the agency’s prior reasoning (which must be
                 considered),” and “‘a new reason for why the agency
                 could have’ taken the action (which must be
                 disregarded).” Pet. App. 92a (citations omitted).
                     Camp v. Pitts, 411 U.S. 138 (1973), is instructive.
                 There, an agency declined to approve a bank charter,
                 and the court of appeals held that the agency’s
                 explanation for that decision was deficient. This Court
                 held that under Overton Park, the court could obtain
                 “such additional explanation of the reasons for the
                 agency decision as may prove necessary.” 411 U.S. at
                 143. But the Court stressed a “caveat”: “Unlike
                 Overton Park, in the present case there was
                 contemporaneous explanation of the agency decision”
                 to deny the bank charter; and while that explanation
                 “may have been curt,” it “surely indicated the
                 determinative reason for the final action taken.” Id.
                 Accordingly, the Court said, the validity of the agency’s
                 action “must … stand or fall on the propriety of that
                 finding.” Id. If the pivotal finding could not be
                 sustained even with the benefit of further explanation
                 from the relevant personnel, the agency would need to
                 make a fresh decision on remand. Id. (citing SEC v.
                 Chenery Corp., 318 U.S. 80 (1943)); see also Pension
                 Benefit Guar. Corp. v. LTV Corp., 496 U.S. 633, 654
                 (1990) (reaffirming that Overton Park authorizes “a
                 remand to the agency for a fuller explanation of the
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                 administrative action, Respondents would be entitled to review
                 the administrative record to assess whether Secretary Nielsen
                 weighed all of the relevant interests, “look[ing] at the costs as well
                 as the benefits.” State Farm, 463 U.S. at 52, 54.




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                 agency’s reasoning at the time of the agency action”
                 (emphasis added)); Pet. App. 82a.
                    Thus, while the Nielsen Memo’s legal analysis may
                 be considered, its other arguments—and certainly its
                 “policy” arguments, to the extent they exist—may not
                 be used to uphold the rescission.
                    b. Even if a court could consider the Nielsen Memo’s
                 “serious doubts about DACA’s legality,” that
                 justification is arbitrary and capricious.
                     First, the Nielsen Memo no more explains its
                 “doubts” about DACA’s legality than did the Duke
                 Memo explain its conclusion. Pet. App. 106a. Secretary
                 Nielsen asserts that DACA “was contrary to law”
                 without specifying which law,13 saying only that the
                 Fifth Circuit’s DAPA decision turned on the
                 “incompatibility of such a major non-enforcement policy
                 with the INA’s comprehensive scheme.” Regents Pet.
                 App. 122a. But she does not articulate when a non-
                 enforcement policy becomes sufficiently “major” that it
                 is incompatible with the INA. For example, Secretary
                 Nielsen does not say which of the myriad past deferred
                 action programs would pass muster under this novel,
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                 13 To the extent the government contends that DACA was
                 improper because it would have required notice and comment, that
                 itself would not be sufficient to uphold the rescission because the
                 government would have needed notice and comment to undo the
                 program. See Consumer Energy Council of Am. v. FERC, 673
                 F.2d 425, 446 (D.C. Cir. 1982) (“[T]he APA expressly contemplates
                 that notice and an opportunity to comment will be provided prior
                 to agency decisions to repeal a rule.”), aff’d sub nom. Process Gas
                 Consumers Grp. v. Consumer Energy Council of Am., 463 U.S.
                 1216 (1983).




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                 barely-articulated standard. Dkt. 28-16 at 2158-60. And
                 even though her analysis appears to turn on whether a
                 non-enforcement policy is sufficiently “major,”
                 Secretary Nielsen does not address the significant
                 differences between DACA and DAPA as to scope and
                 size: both that DAPA, unlike DACA, was an “open-
                 ended” policy “with no established end-date,” AR 251,
                 and that there were almost four persons eligible for
                 DAPA for each person eligible for DACA. Even
                 combining the efforts of the Duke and Nielsen Memos,
                 it remains true that “[w]hatever potential reasons
                 [Defendants] might have given, [they] in fact gave
                 almost no reasons at all.” Encino Motorcars, LLC v.
                 Navarro, 136 S. Ct. 2117, 2127 (2016).
                     The Nielsen Memo’s discussion of reliance interests
                 also remains inadequate. Secretary Nielsen notes her
                 awareness “that DACA recipients have availed
                 themselves of the policy” and states that the “asserted
                 reliance interests” do not “outweigh the questionable
                 legality of the DACA policy and [the] other reasons for
                 ending the policy discussed above.” Regents Pet. App.
                 125a. But acknowledging that DACA has existed is not
                 the same thing as weighing the real effects of its
                 rescission. Thus, like the Duke Memo, the Nielsen
                 Memo “entirely failed to consider an important aspect
                 of the problem.” State Farm, 463 U.S. at 43.
                     Second, even if Secretary Nielsen had provided an
                 adequate explanation, it would be incorrect. DACA is a
                 lawful exercise of DHS’s broad statutory authority to
                 “[e]stablish[] national immigration enforcement policies
                 and priorities,” 6 U.S.C. § 202(5), and to carry out the
                 “administration and enforcement of [the INA] and all




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                 other laws relating to the immigration and
                 naturalization of aliens,” 8 U.S.C. § 1103(a)(1), including
                 by providing for work authorization, 8 U.S.C.
                 § 1324a(h)(2). As the United States itself has previously
                 argued, the government has long used deferred action
                 to effectuate its enforcement priorities. See Dkt. 28-16
                 at 2152-74.14 Because the government is incorrect about
                 DACA’s legality, rescission based on that rationale is
                 arbitrary and capricious. SEC v. Chenery Corp., 318
                 U.S. 80, 94 (1943) (“[A]n order may not stand if the
                 agency has misconceived the law.”).
                    Accordingly, Secretary Duke’s rescission of DACA
                 remains arbitrary and capricious and cannot be saved
                 by the Nielsen Memo. Because the district court’s
                 narrow and well-reasoned decision is correct, the
                 petition should be denied.




                 14 In arguing that DACA is illegal, amici entirely ignore not only
                 the well-established history of deferred action programs, but also
                 the 2014 OLC Memorandum explicitly determining that DACA
                 was a lawful exercise of executive discretion. See Texas, Amicus
                 Br. 12. But failing to acknowledge evidence contrary to its position
                 does not render that evidence invalid.




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                                    CONCLUSION
                    The petition for a writ of certiorari before judgment
                 should be denied.
                                                Respectfully submitted,

                JOSEPH M. SELLERS               THOMAS J. PERRELLI
                JULIE S. SELESNICK              LINDSAY C. HARRISON
                COHEN MILSTEIN SELLERS            Counsel of Record
                 & TOLL PLLC                    SAM HIRSCH
                1100 New York Ave., N.W.        ISHAN BHABHA
                Fifth Floor                     ALEX S. TREPP
                Washington, DC 20005            JENNER & BLOCK LLP
                (202) 408-4600                  1099 New York Ave., N.W.
                                                Suite 900
                Counsel for Respondents         Washington, DC 20001
                NAACP; American                 (202) 639-6000
                Federation of Teachers,         lharrison@jenner.com
                AFL-CIO; United Food and
                                                Counsel for Respondents The
                Commercial International
                                                Trustees of Princeton
                Union, AFL-CIO
                                                University, Microsoft
                                                Corporation, and Maria De
                                                La Cruz Perales Sanchez




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                                        36
                RAMONA E. ROMERO             CYNTHIA L. RANDALL
                WESLEY MARKHAM               MICROSOFT CORPORATION
                Princeton University         One Microsoft Way
                New South Building           Redmond, WA 98052
                Fourth Floor                 (425) 538-3176
                Princeton, NJ, 08544
                (609) 258-2500               Counsel for Respondent
                                             Microsoft Corporation
                Counsel for Respondent The
                Trustees of Princeton      BRADFORD M. BERRY
                University
                                           NAACP
                                           4805 Mount Hope Drive
                DAVID J. STROM
                                           Baltimore, MD 21215
                AMERICAN FEDERATION OF
                                           (410) 580-5797
                 TEACHERS, AFL-CIO
                555 New Jersey Ave. N.W.   Counsel for Respondent
                Washington D.C.            NAACP
                (202) 393-7472
                                           PETER J. FORD
                Counsel for Respondent     UNITED FOOD &
                American Federation of      COMMERCIAL WORKERS
                Teachers, AFL-CIO           I NTERNATIONAL UNION,
                                            AFL-CIO, CLC
                                           1775 K Street. N.W.
                                           Washington D.C. 20006
                                           (202) 223-3111

                                             Counsel for Respondent
                                             United Food & Commercial
                                             Workers International Union,
                                             AFL-CIO, CLC




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                                          No. 18-589

                                             IN THE
                       Supreme Court of the United States

                                 KIRSTJEN M. NIELSEN,
                         Secretary of Homeland Security, et al.,
                                                Petitioners,
                                          v.
                        MARTIN JONATHAN BATALLA VIDAL, et al.,
                                                Respondents.

                          ON PETITION FOR A WRIT OF CERTIORARI
                         BEFORE JUDGMENT TO THE UNITED STATES
                        COURT OF APPEALS FOR THE SECOND CIRCUIT

                   BRIEF IN OPPOSITION FOR THE STATES OF NEW YORK,
                 MASSACHUSETTS, WASHINGTON, COLORADO, CONNECTICUT,
                 DELAWARE, HAWAI‘I, ILLINOIS, IOWA, NEW MEXICO, NORTH
                   CAROLINA, OREGON, PENNSYLVANIA, RHODE ISLAND,
                 VERMONT, AND VIRGINIA, AND THE DISTRICT OF COLUMBIA

                                                BARBARA D. UNDERWOOD*
                                                 Attorney General
                                                 State of New York
                                                ANISHA S. DASGUPTA
                                                 Deputy Solicitor General
                                                ANDREW W. AMEND
                                                 Senior Assistant
                                                 Solicitor General
                                                DAVID S. FRANKEL
                                                 Assistant Solicitor General
                                                  28 Liberty Street
                                                  New York, NY 10005
                                                  (212) 416-8020
                                                  barbara.underwood@ag.ny.gov
                                                  *Counsel of Record
                           (Additional counsel listed on signature page.)




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                            COUNTERSTATEMENT OF
                             QUESTION PRESENTED
                     Whether the extraordinary relief of certiorari
                 before judgment is warranted to consider the
                 reviewability and lawfulness of petitioners’ September
                 2017 decision to end Deferred Action for Childhood
                 Arrivals.




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                                    INTRODUCTION
                     Congress and this Court have long recognized the
                 Executive Branch’s discretion to forbear enforcement
                 against persons whom federal immigration law makes
                 removable from the United States—a practice
                 commonly referred to as “deferred action.” Respondents
                 are a group of sixteen States 1 and the District of
                 Columbia that have challenged petitioners’ decision to
                 terminate Deferred Action for Childhood Arrivals
                 (DACA), which provides a framework for the Depart-
                 ment of Homeland Security (DHS) to receive and
                 process requests for deferred action from law-abiding
                 individuals who were brought to the United States as
                 children. 2 In the proceedings below, the U.S. District
                 Court for the Eastern District of New York entered a
                 preliminary injunction partially enjoining DACA’s
                 termination in light of the irreparable harms that the
                 termination threatened to respondents and the public,
                 and the likelihood respondents would succeed on the
                 merits of their Administrative Procedure Act (APA)
                 claim that the termination was arbitrary and
                 capricious. (Pet. App. 62a-129a.) Separately, the
                 district court issued orders denying petitioners’
                 motions to dismiss respondents’ APA and equal-
                 protection claims for lack of jurisdiction (Pet. App. 1a-
                 58a) and failure to state a claim (Pet. App. 133a-171a).



                     1 Those States are New York, Massachusetts, Washington,

                 Colorado, Connecticut, Delaware, Hawai‘i, Illinois, Iowa, New
                 Mexico, North Carolina, Oregon, Pennsylvania, Rhode Island,
                 Vermont, and Virginia.
                      2 A group of individuals and organizations—the other

                 respondents to this petition—brought a separate, similar
                 challenge in the same district court.




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                     The U.S. Court of Appeals for the Second Circuit
                 has consolidated petitioners’ interlocutory appeals
                 from the district court’s orders and will hear argument
                 on those on January 25, 2019. (Case Calendaring, No.
                 18-485 (2d Cir. Nov. 19, 2018), ECF No. 567.)
                 Petitioners seek to bypass the court of appeals,
                 however, and have petitioned this Court for the extra-
                 ordinary remedy of certiorari before judgment.
                     This Court should deny the petition because no
                 external deadline or other urgent circumstance
                 requires the Court to conclusively resolve this litiga-
                 tion on an emergency basis. Petitioners have failed to
                 show that permitting the Second Circuit to consider
                 their appeals in the first instance will cause any injury
                 whatsoever to them or to the public. In addition, there
                 is no conflict among the courts of appeals on the issues
                 presented here. Only one circuit court has addressed
                 those issues, but three additional circuits are now
                 expeditiously hearing appeals, putting the benefits of
                 appellate percolation not far off. Finally, even if there
                 were a need for this Court to review those issues at the
                 present time, this litigation would be a poor vehicle for
                 that undertaking because it comes to the Court in an
                 interlocutory posture as well as before judgment by an
                 intermediate appellate court.

                                     STATEMENT
                     1. Like other forms of deferred action, DACA
                 reflects the reality that there are many more undocu-
                 mented immigrants in the United States than federal
                 immigration authorities have the means to remove. To
                 focus enforcement resources, DHS and its predeces-
                 sors have a long-standing practice of “giv[ing] some
                 cases lower priority” by “grant[ing] deferred action,”




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                 8 C.F.R. § 274a.12(c)(14). A grant of deferred action
                 memorializes the Executive’s decision not to proceed
                 against a potentially removable person for a specified
                 period of time. Reno v. American-Arab Anti-
                 Discrimination Comm. (“AADC”), 525 U.S. 471, 484
                 (1999). Under federal regulations, the grant also
                 makes that person eligible to apply for work
                 authorization and to receive other benefits. 8 C.F.R.
                 § 274a.12(c)(14) (work authorization); id. § 214.14(d)(3)
                 (no accrual of “unlawful presence” for purposes of re-
                 entry bars); 28 C.F.R. § 1100.35(b)(2) (similar). (See
                 CA2 J.A. 217 (memorandum of the U.S. Department
                 of Justice, Office of Legal Counsel (“OLC Mem.”).)
                     Deferred action has been “a regular practice” of
                 the Executive Branch for decades, “for humanitarian
                 reasons or simply for its own convenience.” AADC, 525
                 U.S. at 483-84. This Court has approved of the practice,
                 id. at 483-84, and Congress has enacted legislation
                 relying on the existence of both deferred action and the
                 federal regulation that makes deferred action grantees
                 eligible for work authorization, see 8 U.S.C. § 1154
                 (deferred action); Immigration Reform and Control
                 Act of 1986, Pub. L. 99-603, 100 Stat. 3359 (work
                 authorization). (See also Pet. App. 75a.)
                     On various occasions since the 1970s, DHS and its
                 predecessors have found it expedient to make deferred
                 action “available to certain classes of aliens” (CA2 J.A.
                 230 (OLC Mem.)). For example, the 1977 Silva Letter-
                 holders program stemming from executive action by
                 the Kennedy administration provided a framework for
                 250,000 “nationals of certain countries” to obtain stays
                 of removal; and the Family Fairness Program—
                 adopted by the Reagan administration and extended
                 under the first Bush administration—“deferred the
                 deportation of 1.5 million family members of




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                 noncitizens who were legalized through the Immigra-
                 tion Reform and Control Act.” Arizona Dream Act
                 Coal. v. Brewer, 855 F.3d 957, 968 n.2 (9th Cir. 2017),
                 cert. denied, 138 S. Ct. 1279 (2018).
                      a. In June 2012, DHS announced DACA: a
                 framework for processing requests for deferred action
                 from persons who were brought to the United States
                 as children and met several other threshold eligibility
                 criteria. (CA2 J.A. 213-215.) DHS explained that DACA
                 would help DHS “ensure that [its] enforcement
                 resources” would be expended on the serious criminals
                 that Congress directed DHS to prioritize for deporta-
                 tion, 3 rather than on “low priority cases.” (CA2 J.A.
                 213.)
                     To be eligible for DACA, a person must have come
                 to the United States under the age of sixteen,
                 continuously resided here between 2007 and 2012, not
                 yet attained the age of thirty, and satisfied specific
                 educational or military service requirements. (CA2
                 J.A. 213.) The person must not have been convicted of
                 a felony, a significant misdemeanor, or multiple
                 misdemeanors, and must not otherwise pose a threat
                 to national security or public safety. (CA2 J.A. 213-
                 215.) As the DACA memorandum explained, “prosecu-
                 torial discretion” was “especially justified” with respect
                 to such people, many of whom “have already contribu-
                 ted to our country in significant ways.” (CA2 J.A. 214.)
                 The memorandum emphasized, however, that no
                 individual could receive deferred action through DACA


                      3 See, e.g., DHS Appropriations Act, 2015, Pub. L. No. 114-4,

                 129 Stat. 39, 43; Consolidated Appropriations Act, 2014, Pub. L.
                 No. 113-76, div. F., tit. II, 128 Stat. 5, 251; DHS Appropriations
                 Act, 2010, Pub. L. No. 111-83, 123 Stat. 2142, 2149 (2009); H.R.
                 Rep. No. 111-157, at 8 (2009).




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                 without first passing a background check, and that all
                 requests for relief under DACA “are to be decided on a
                 case by case basis.” (CA2 J.A. 214.)
                     Individuals granted deferred action under DACA
                 received protection from removal for renewable two-
                 year periods, and the ability to apply for work authori-
                 zation and for permission to travel outside the country
                 (“advance parole”). (CA2 J.A. 214-215.) See 8 C.F.R.
                 § 212.5.
                     From June 2012 until September 2017, more than
                 800,000 individuals relied on DACA to obtain deferred
                 action and employment authorization, including more
                 than 100,000 residents of the respondent States. (Pet.
                 App. 62a-63a; CA2 J.A. 2332-2336.) DACA enabled
                 grantees to pursue higher education, secure employ-
                 ment, and create and run businesses. (CA2 J.A. 2129-
                 2213.) It also enabled States to employ grantees with
                 special skills, tax the grantees’ income and purchases,
                 and collect tuition from grantees who enrolled at
                 public colleges and universities based on assurances
                 that they would be able to work upon graduation. 4
                 (CA2 J.A. 2239-2258, 2266-2298, 3753-3757, 3774-
                 3794, 3956-3965.)
                     Prior to September 2017, several courts heard
                 challenges to DACA, but none of the challenges
                 succeeded. 5 In those cases, the federal government
                 defended the legality of DACA, including through

                     4 See  also 8 U.S.C. § 1324a(a), (e) (imposing penalties on
                 employers of persons who lack authorization to work).
                      5 See Arizona Dream Act Coal. v. Brewer, 818 F.3d 901, 906

                 (9th Cir. 2016), amended on denial of reh’g en banc, 855 F.3d 957
                 (9th Cir. 2017), cert. denied, 138 S. Ct. 1279 (2018); Arpaio v.
                 Obama, 797 F.3d 11, 15 (D.C. Cir. 2015), cert. denied, 136 S. Ct.
                 900 (2016); Crane v. Johnson, 783 F.3d 244, 247 (5th Cir. 2015).




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                 amicus curiae participation. See, e.g., United States
                 Br. as Amicus Curiae, Arizona Dream Act Coal., No.
                 15-15307 (9th Cir. Aug. 28, 2015), ECF No. 62. The
                 Office of Legal Counsel likewise explained in a lengthy
                 public opinion that DACA was legally sound so long as
                 immigration officials “retained discretion to evaluate
                 each application on an individualized basis.” (CA2 J.A.
                 233; see also CA2 J.A. 833 (petitioners’ admission
                 “that at least one DACA applicant who met the guide-
                 lines of the 2012 DACA memorandum was nonetheless
                 denied DACA”).)
                     b. In 2015, Texas and several other States
                 challenged DHS’s creation of a different deferred
                 action framework for certain parents of citizens and
                 permanent residents (Deferred Action for Parents of
                 Americans and Lawful Permanent Residents, also
                 known as DAPA), as well as particular changes that
                 DHS made to DACA in 2014. The U.S. District Court
                 for the Southern District of Texas entered a nation-
                 wide injunction against the implementation of DAPA
                 and the 2014 changes to DACA, concluding that the
                 plaintiffs were likely to succeed on their claim that
                 DHS had failed to comply with the procedural
                 requirements of the APA. Texas v. United States, 86 F.
                 Supp. 3d 591, 677 (2015). A divided panel of the Fifth
                 Circuit affirmed on both procedural and substantive
                 APA grounds. Texas v. United States, 809 F.3d 134,
                 146-49 (5th Cir. 2015). This Court affirmed by an
                 equally divided court. United States v. Texas, 136 S.
                 Ct. 2271 (2016) (per curiam).
                     The federal government continued DACA despite
                 the preliminary injunction against DAPA, accepting
                 more than 400,000 new and renewal DACA applica-
                 tions into the new Administration. (CA2 J.A. 1756.) In




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                 February 2017, DHS rescinded certain other immigra-
                 tion policies, but expressly left DAPA and DACA
                 intact. (Pet. App. 80a.) In mid-June of 2017, DHS
                 rescinded DAPA, which had never gone into effect due
                 to the injunction, but again explicitly did not disturb
                 DACA. (Pet. App. 80a-81a.) In late June 2017, the
                 Texas plaintiffs informed U.S. Attorney General Jeff
                 Sessions that they would amend the complaint in their
                 still-pending DAPA challenge to include a challenge to
                 DACA, unless the federal government agreed by
                 September 5 to rescind the DACA memorandum. (CA2
                 J.A. 451.) The letter did not ask for existing DACA
                 grants to be cancelled, or for the federal government
                 to change its enforcement priorities with respect to
                 DACA-eligible persons. (CA2 J.A. 451.)
                      c. On September 4, 2017, Attorney General
                 Sessions sent a one-page letter to Acting DHS
                 Secretary Elaine Duke advising that DHS “should
                 rescind” DACA. (CA2 J.A. 463.) The letter stated that
                 DACA lacked “statutory authority” and was “unconsti-
                 tutional,” and that DACA had been implemented
                 “after Congress’ repeated rejection of proposed legisla-
                 tion that would have accomplished a similar result.”
                 (CA2 J.A. 463.) The letter then opined that DACA “has
                 the same legal and constitutional defects that the
                 courts recognized as to DAPA,” and would likely meet
                 the same fate in the “potentially imminent litigation”
                 threatened by the Texas plaintiffs. (CA2 J.A. 463.)
                 Finally, the letter stated that “[i]n light of the costs
                 and burdens that will be imposed on DHS” if DACA
                 were enjoined, “DHS should consider an orderly and
                 efficient wind-down process.” (CA2 J.A. 463.) The letter
                 did not describe the basis for any of those conclusions
                 beyond a general citation to the Texas opinions, which
                 did not consider DAPA’s constitutionality and




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                 recognized several significant distinctions between
                 DAPA and DACA.
                      On September 5, Attorney General Sessions
                 announced the termination of DACA at a press
                 conference. (CA2 J.A. 3488-3489.) That same day,
                 Acting Secretary Duke issued a memorandum
                 formally terminating the program. (CA2 J.A. 464-468.)
                 The memorandum quoted from Attorney General
                 Sessions’s September 4 letter and then stated that
                 “[t]aking into consideration the Supreme Court’s and
                 the Fifth Circuit’s rulings” and the letter, “it is clear”
                 that DACA should be terminated. (CA2 J.A. 467.) Like
                 Attorney General Sessions’s letter, the memorandum
                 did not address or acknowledge the reasons that DHS
                 and the U.S. Department of Justice had previously
                 given to the public for concluding that DACA was
                 lawful, the benefits of the program, or the myriad costs
                 and harms that terminating the program would inflict
                 on grantees and the public. The only potential costs
                 that the memorandum mentioned were the unspecified
                 “administrative complexities” referenced by Attorney
                 General Sessions’s letter. (CA2 J.A. 466.) The termi-
                 nation memorandum announced that DHS would
                 reject all new DACA applications “filed after the date
                 of this memorandum,” and would accept renewal
                 applications only until October 5, and only from
                 individuals whose current deferred action status
                 would expire on or before March 5, 2018. (CA2 J.A.
                 467.) The memorandum further stated that DHS
                 would no longer approve any “applications for advance
                 parole under standards associated with the DACA
                 program.” (CA2 J.A. 467.)
                     2. The respondent States filed this suit on
                 September 7, 2017, alleging (among other things) that
                 the termination of DACA was driven by discriminatory




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                 animus in violation of equal protection and the APA;
                 failed to comply with the procedural requirements of
                 the APA and Regulatory Flexibility Act; and was
                 otherwise arbitrary and capricious. (CA2 J.A. 198,
                 200-202.) The district court ruled that (i) petitioners’
                 attempt to rescind DACA was reviewable under the
                 APA and Immigration and Naturalization Act (Pet.
                 App. 24a-39a); (ii) respondents’ equal protection and
                 substantive APA claims were adequately pleaded (Pet.
                 App. 137a-138a, 147a-157a); and (iii) respondents were
                 entitled to a preliminary injunction on their substan-
                 tive APA claim (Pet. App. 90a-129a). After delays
                 created by petitioners’ litigation conduct, petitioners’
                 interlocutory appeals from these orders were consoli-
                 dated for presentation to the Second Circuit, which is
                 scheduled to hear argument on the appeals on
                 January 25, 2019.
                     a. In October 2017, petitioners proffered an
                 extremely limited administrative record to the district
                 court consisting of “materials that [they] unilaterally
                 decide[d] to present to the court, rather than the record
                 upon which the agency made its decision.” (Order at 2,
                 No. 17-3345 (2d Cir. Dec. 27, 2017), ECF No. 171.)
                 Respondents objected, and the district court sustained
                 their objection. (Mem. & Order, No. 17-cv-5228
                 (E.D.N.Y. Oct. 19, 2017), ECF No. 66.) Petitioners then
                 petitioned the Second Circuit for a writ of mandamus,
                 seeking (i) vacatur of the district court’s orders to
                 complete the record and produce a privilege log
                 identifying any record materials petitioners were
                 withholding as privileged, and (ii) a stay of petitioners’
                 document-production obligations pending the resolu-
                 tion of threshold justiciability arguments that
                 petitioners had not yet presented to the district court
                 in the form of a motion to dismiss. (Pet. for a Writ of




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                 Mandamus, No. 17-3345 (2d Cir. Oct. 23, 2017), ECF
                 No. 33.) The Second Circuit held the mandamus
                 petition in abeyance and stayed petitioners’ document-
                 production obligations until the district court resolved
                 those “issues of jurisdiction and justiciability.” (Order,
                 No. 17-3345 (2d Cir. Oct. 24, 2017), ECF No. 41.)
                      b. Within two weeks after petitioners moved to
                 dismiss this suit, the district court entered an order
                 largely denying the portion of petitioners’ motion that
                 sought dismissal for lack of jurisdiction. 6 (Pet. App.
                 58a.) Petitioners did not promptly request certification
                 of that ruling for interlocutory appeal under 28 U.S.C.
                 § 1292(b), which would have enabled the ruling to be
                 considered on an expedited basis along with their
                 mandamus petition. Petitioners instead waited seven
                 weeks to request certification, by which time the
                 Second Circuit had denied their mandamus petition
                 (Pet. App. 85a-86a; see Notice of Mot., No. 17-cv-5228
                 (E.D.N.Y. Dec. 28, 2017), ECF No. 184.) Despite its
                 “grave misgivings” about the delay that would be
                 created by § 1292(b) certification at that stage of the
                 proceedings, the district court granted petitioners’
                 request and postponed the preliminary injunction
                 proceedings scheduled for the following week. (Mem.
                 & Order at 8, No. 17-cv-5228 (E.D.N.Y. Jan. 8, 2018),
                 ECF No. 198.) Petitioners applied to the Second
                 Circuit for permission to proceed with their


                     6 The district court dismissed for lack of standing the States’

                 claims that petitioners violated due process by failing to suffi-
                 ciently notify grantees of DACA’s end and the limited renewal
                 window, and by apparently ceasing to protect sensitive personal
                 information that DACA grantees had been induced to provide.
                 (Pet. App. 50a-56a.)




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                 interlocutory appeal, 7 but subsequently asked the
                 Second Circuit to hold their appeal until the district
                 court resolved the still-pending portion of their motion
                 to dismiss for failure to state a claim, and respondents’
                 motion for a preliminary injunction. (Pet. App. 87a.)
                 The Second Circuit accordingly directed that petition-
                 ers’ application for leave to file an interlocutory appeal
                 be “held in abeyance pending the district court’s
                 adjudication of the parties’ pending motions.” (Order
                 at 2, No. 18-122 (2d Cir. Jan. 31, 2018), ECF No. 46.)
                     c. Within two weeks of the order holding the
                 Second Circuit proceedings in abeyance, the district
                 court held a hearing and entered a preliminary injunc-
                 tion. The district court concluded that respondents
                 were likely to succeed on their claim that petitioners’
                 decision to terminate DACA was arbitrary and
                 capricious, and that the other preliminary injunction
                 factors weighed strongly in respondents’ favor. (Pet.
                 App. 119a, 126a.) The court directed petitioners to
                 allow DACA renewals “on the same terms and
                 conditions that existed prior to the promulgation of
                 the DACA Rescission Memo.” (Pet. App. 126a.) The
                 court declined to order petitioners to grant new
                 applications from “individuals who have never before
                 obtained DACA benefits” or to “continue granting
                 ‘advanced parole’ to DACA beneficiaries.” (Pet. App.
                 126a.) Petitioners noticed an appeal of the district
                 court’s preliminary injunction order (Pet. App. 130a-
                 131a), and the Second Circuit granted petitioners’
                 motion to expedite that appeal (Order, No. 18-485 (2d
                 Cir. Mar. 8, 2018), ECF No. 61).



                     7  (Pet. for Permission to Appeal, No. 18-122 (2d Cir. Jan. 16,
                 2018), ECF No. 1.)




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                      d. One month later, in March 2018, the district
                 court entered an order largely denying petitioners’
                 motion to dismiss for failure to state a claim. (Pet.
                 App. 133a-171a.) The court held that the state respon-
                 dents had adequately pleaded their equal protection
                 and substantive APA claims, but dismissed the States’
                 APA notice-and-comment claims and Regulatory Flexi-
                 bility Act claims. (Pet. App. 137a.) At petitioners’
                 request, the district court certified the order for
                 interlocutory appeal. 8 (Order, No. 17-cv-5228 (E.D.N.Y.
                 Apr. 30, 2018), ECF No. 220.)
                     e. In July 2018, the Second Circuit granted
                 petitioners’ applications for interlocutory appeal of the
                 district court’s November 2017 and March 2018 orders,
                 directed that those appeals be consolidated with
                 petitioners’ pending appeal from the district court’s
                 February 2018 preliminary injunction order, and
                 granted petitioners’ request for expedited supple-
                 mental briefing. 9 (Order, No. 18-1313 (2d Cir. July 5,


                      8 Petitioners also sought a stay of their deadline to answer

                 the complaint. (Mot. for Stay of Answer Deadlines Pending
                 Appeal, No. 17-cv-5228 (E.D.N.Y. Apr. 10, 2018), ECF No. 216.)
                 The district court largely denied that motion two days later,
                 requiring petitioners to file their answer within forty-five days
                 and explaining that it was “reasonable to require [petitioners] to
                 take the steps necessary to avoid exacerbating the needless
                 delays they have already caused.” (Order, No. 17-cv-5228
                 (E.D.N.Y. Apr. 12, 2018).)
                      9 Contrary to petitioners’ assertions, the litigation pending

                 before the Second Circuit does not present the question of
                 whether petitioners’ termination of DACA “should have gone
                 through notice-and-comment rulemaking.” See Pet. 15. Neither
                 the state plaintiffs nor the individual plaintiffs in this litigation
                 have appealed or cross-appealed the dismissal of their notice-
                 and-comment claims, as petitioners have acknowledged in a




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                 2018), ECF No. 44; Order, No. 18-122 (2d Cir. July 5,
                 2018), ECF No. 75; Mot. Order, No. 18-485 (2d Cir.
                 July 25, 2018), ECF No. 499.) The parties completed
                 supplemental briefing on October 30, 2018, and the
                 Second Circuit has calendared the consolidated appeals
                 for argument on January 25, 2019. (Suppl. Reply Br.,
                 No. 18-485 (2d Cir. Oct. 30, 2018), ECF No. 561; Case
                 Calendaring Entry, No. 18-485 (2d Cir. Nov. 19, 2018),
                 ECF No. 567.)
                     f. On November 5, 2018, petitioners filed petitions
                 for certiorari before judgment in this case and in
                 parallel DACA challenges being heard by the U.S.
                 Courts of Appeals for the Ninth and District of
                 Columbia Circuits: Department of Homeland Security
                 v. Regents of the University of California, No. 18-587
                 (Nov. 5, 2018); Trump v. NAACP, No. 18-588 (Nov. 5,
                 2018). Three days later, the Ninth Circuit issued an
                 opinion affirming the decisions of the U.S. District
                 Court for the Northern District of California which
                 petitioners had appealed. Regents of Univ. of Cal. v.
                 DHS, 908 F.3d 476, 487, 520 (9th Cir. 2018). The
                 Regents and Trump petitions are being briefed on the
                 same schedule as the present petition.




                 corrected supplemental brief supporting their parallel petition in
                 Department of Homeland Security v. Regents of the University of
                 California, No. 15-587, which was filed November 28, 2018.




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                    REASONS FOR DENYING THE PETITION

                 A. This Litigation Presents No Emergency
                    Warranting the Extraordinary Remedy of
                    Certiorari Before Judgment.
                     This Court will grant certiorari before judgment
                 “only upon a showing that the case is of such
                 imperative public importance as to justify deviation
                 from normal appellate practice and to require
                 immediate determination in this Court.” Sup. Ct. R.
                 11. This is a “very demanding standard,” Mount
                 Soledad Mem’l Ass’n v. Trunk, 134 S. Ct. 2658, 2658-
                 59 (2014) (Alito, J., statement respecting denial of
                 certiorari before judgment), and a grant of certiorari
                 before judgment is “an extremely rare occurrence,”
                 Coleman v. Paccar Inc., 424 U.S. 1301, 1304 n.* (1976)
                 (Rehnquist, J., in chambers).
                     The rare occasions on which this Court has
                 granted certiorari before judgment demonstrate the
                 exceptional urgency required to warrant that relief.
                 For instance, the exigencies of war demanded immedi-
                 ate resolution of the challenges to executive action in
                 Ex parte Quirin, 317 U.S. 1 (1942), and Youngstown
                 Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952). The
                 former case addressed a presidential order creating a
                 military tribunal to try German saboteurs who had
                 come to America after America entered World War II.
                 Ex parte Quirin, 317 U.S. at 6, 21-23. The latter case
                 dealt with a presidential order seizing most of the
                 Nation’s steel plants to avert a strike during the
                 Korean War. Youngstown Sheet & Tube, 343 U.S. at
                 582. This Court decided both cases within weeks of the
                 challenged presidential orders. See Ex parte Quirin,
                 317 U.S. at 22 (presidential order issued July 2, 1942;
                 case decided by this Court on July 31, 1942);




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                 Youngstown Sheet & Tube, 343 U.S. at 582-83
                 (presidential order issued April 8, 1952; case decided
                 by this Court on June 2, 1952).
                     Extraordinary circumstances likewise created
                 exceptional urgency in United States v. Nixon, which
                 concerned a motion to quash a subpoena that sought
                 recordings of confidential communications concerning
                 the Watergate scandal from the President, for use in a
                 pending criminal prosecution. See 418 U.S. 683, 686-
                 90 (1974). Similarly, in Dames & Moore v. Regan, this
                 Court was presented with a challenge to executive
                 orders implementing an international agreement to
                 end the Iran hostage crisis, against the backdrop of a
                 looming deadline by which “Iran could consider the
                 United States to be in breach of” the agreement. See
                 453 U.S. 654, 660 (1981). In Nixon and Dames &
                 Moore, this Court again acted with dispatch to resolve
                 those exceptionally pressing matters. See Nixon, 418
                 U.S. at 687-88 (subpoena issued April 18, 1974; case
                 decided by this Court on July 24, 1974); Dames &
                 Moore, 453 U.S. at 666-67 (suit filed April 28, 1981;
                 case decided by this Court on July 2, 1981).
                     The present litigation is not comparable. It
                 presents no urgent issue of national defense or
                 international relations; its pendency inhibits no crucial
                 government action; and no external deadline, pending
                 proceeding, or other circumstance requires its immedi-
                 ate and conclusive resolution. Indeed, less than a year
                 ago, this Court denied a petition for certiorari before
                 judgment in parallel litigation raising substantially
                 the same issues as petitioners’ appeals here. See DHS
                 v. Regents of Univ. of Cal., 138 S. Ct. 1182 (2018). This
                 Court’s denial of certiorari before judgment in Regents
                 stands in stark contrast to its expedited consideration
                 of the issues in Ex parte Quirin, Youngstown Sheet &




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                 Tube, Nixon, and Dames & Moore, and underscores
                 that the questions raised here present no emergency.
                      1. In a supplemental brief supporting their current
                 parallel petition in Regents, petitioners observed that
                 the Ninth Circuit’s decision in Regents eliminates one
                 of the main reasons they sought certiorari before
                 judgment in this Second Circuit litigation. See Pets.’
                 Suppl. Br. at 10-11, Regents, No. 18-587 (Nov. 28,
                 2018) (“Regents Suppl. Br.”). Petitioners explained
                 that they had sought certiorari before judgment here
                 to enable this Court to review any issue that might be
                 decided in their favor by the Ninth Circuit, but
                 resolved against them by the Eastern District of New
                 York: a concern that was obviated by the Ninth
                 Circuit’s rejection of all of petitioners’ arguments on
                 appeal. Id. Petitioners suggest that this Court “may
                 still wish” to grant certiorari to allow the parties to
                 “participate in the Court’s consideration of the overlap-
                 ping issues” raised here and in Regents. Id. at 11. But
                 such a suggestion is quite different from a showing
                 that a dispute is “of such imperative public importance
                 as to . . . require immediate determination in this
                 Court,” Sup. Ct. R. 11 (emphasis added).
                     Petitioners seem to recognize as much when they
                 analogize their appeals to prior cases where certiorari
                 before judgment was granted despite the absence of
                 any “‘great public emergency’” because “similar or
                 identical issues of importance were already pending
                 before the Court” and the Court elected “‘to review
                 simultaneously the questions posed in the case still
                 pending in the court of appeals.’” Regents Suppl. Br. at
                 11 (quoting Stephen M. Shapiro et al., Supreme Court
                 Practice § 2.4, at 86 (10th ed. 2013)). That characteri-
                 zation undermines any suggestion that petitioners’
                 appeals here present an emergency—and in any




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                 event, certiorari before judgment would not be
                 appropriate in the Batalla Vidal appeals even if this
                 Court were to grant certiorari in Regents or Trump, for
                 reasons we explain later (see infra at 26-30).
                     Petitioners’ conduct in the proceedings below is
                 likewise inconsistent with any claim of an emergency.
                 Although petitioners purport to need immediate relief
                 from the preliminary injunction entered by the district
                 court (Pet. 14-15), they have not sought a stay of the
                 injunction from any court during the more than nine
                 months that the injunction has been in place. In
                 addition, the litigation strategy they pursued below
                 delayed rather than advanced their appeals in the
                 Second Circuit. Petitioners waited seven weeks to ask
                 the district court to certify for interlocutory appeal its
                 order denying their motion to dismiss on jurisdictional
                 grounds; had they acted earlier, the interlocutory
                 appeal could have been presented and resolved in
                 conjunction with petitioners’ then-pending mandamus
                 petition. Moreover, when the district court granted
                 their request for certification, petitioners asked the
                 Second Circuit to hold the interlocutory appeal in
                 abeyance pending the preliminary injunction
                 proceedings in the district court, which the district
                 court had previously postponed in response to
                 petitioners’ declared intention to take an interlocutory
                 appeal. See supra at 10-11. (See Order, No. 17-cv-5228
                 (E.D.N.Y. Jan. 12, 2018).)
                     2. Petitioners also cannot show any injury from
                 allowing the Second Circuit to consider their appeals
                 in the first instance. The Second Circuit has been
                 willing to act expeditiously throughout this proceeding,
                 granting every request for expedited consideration
                 that petitioners have made. See supra at 11-12. And
                 that court is scheduled to hear oral argument on




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                 petitioners’ fully briefed appeals on January 25, 2019.
                 The circuit’s awareness of the need to “proceed expedi-
                 tiously to decide this case,” United States v. Clinton,
                 524 U.S. 912, 912 (1998)—when coupled with
                 petitioners’ failure to show any need for an immediate,
                 conclusive resolution—refutes any claim of prejudice
                 and provides a further factor in favor of denying certio-
                 rari before judgment. See Aaron v. Cooper, 357 U.S.
                 566, 567 (1958); see also Regents, 138 S. Ct. at 1182.
                     Indeed, the courts below have consistently granted
                 petitioners’ requests to stay completion of the admin-
                 istrative record and discovery, suspending petitioners’
                 evidentiary obligations nearly continuously since
                 October 20, 2017. 10 See supra at 9-10. (Mot. Order, No.
                 17-3345 (2d Cir. Oct. 20, 2017), ECF No. 23.) The
                 current stay will remain in place pending the Second
                 Circuit’s decision in petitioners’ appeals, and petition-
                 ers may seek an additional stay from the lower courts
                 or this Court if they can demonstrate that one is
                 needed. The Second Circuit’s consideration of these
                 appeals therefore will not burden petitioners with
                 discovery obligations of the type that they complained
                 about in their earlier, unsuccessful petition for
                 certiorari before judgment in Regents. See Pet. 13,
                 Regents, No. 17-1003 (U.S. Jan. 18, 2018).
                     3. Petitioners’ suggestion that their appeals require
                 immediate resolution by this Court is also belied by
                 the absence of any harm to the public from permitting
                 these appeals to go forward in the Second Circuit.
                 Although petitioners complain that the preliminary

                     10 Accordingly, petitioners have yet to produce any of the

                 missing administrative record documents. (Pet. App. 123a.) See
                 In re United States, 138 S. Ct. 443, 445 (2017).




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                 injunction will remain in place while the Second
                 Circuit considers their appeals, that injunction did no
                 more than maintain the status quo by preventing the
                 termination of DACA, a form of deferred action that
                 DHS has granted since 2012 to law-abiding indivi-
                 duals who have lived in the United States since at
                 least 2007. Petitioners do not and cannot explain how
                 DACA’s existence now poses a problem too urgent to
                 allow the Second Circuit to consider their appeals.
                 Indeed, for the first seven months of the current
                 Administration, petitioners deliberately left DACA in
                 place, publicly and expressly reaffirming their
                 commitment to DACA grantees until their abrupt
                 about-face in September 2017. (CA2 J.A. 141-142.)
                     As multiple courts have concluded based on fact-
                 intensive records, DACA’s continuation during the
                 pendency of these appeals serves rather than harms
                 the public interest. By protecting grantees who have
                 come out of the shadows and are undertaking higher
                 education and skilled employment, the continuation of
                 DACA safeguards the interests of hundreds of thou-
                 sands of grantees, their families and employers, the
                 institutions with which they are associated, and the
                 communities and States in which they reside.
                     Two district courts have thus concluded that the
                 balance of equities and the public interest favor
                 maintaining DACA, not terminating it, while challen-
                 ges to petitioners’ September 2017 rescission efforts
                 are litigated. (Pet. App. 123a-126a.) Regents of Univ.
                 of Cal. v. DHS, 279 F. Supp. 3d 1011, 1047-48 (N.D.
                 Cal.), aff’d, 908 F.3d 476 (9th Cir. 2018). As both
                 courts found, ending DACA would injure not only
                 grantees, but also many States and the District of
                 Columbia in their capacities as employers, providers




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                 of health services, and proprietors of public universi-
                 ties; terminating DACA would also cost these entities
                 many millions of dollars in tax revenue. (Pet. App.
                 122a-123a, 128a (sixteen States and District of
                 Columbia).) Regents, 279 F. Supp. 3d at 1033-34, 1046-
                 47 (four States). Based on similar considerations, a
                 third district court required petitioners to continue
                 processing DACA renewal requests pending petitioners’
                 appeal of an order vacating the September 2017
                 rescission decision as arbitrary and capricious. NAACP
                 v. Trump, 321 F. Supp. 3d 143, 148-49 (D.D.C. 2018)
                 (partly declining to stay vacatur order pending appeal).
                 And a fourth district court, although concluding that
                 DACA was likely unlawful, declined to enjoin DACA’s
                 operation because doing so would “not make sense nor
                 serve the best interests of the country” given that
                 “DACA recipients and others nationwide have relied
                 upon it for the last six years.” Texas v. United States,
                 328 F. Supp. 3d 662, 742 (S.D. Tex. 2018).
                     In sum, petitioners cannot show any urgent need
                 for a definitive resolution of these appeals, or any
                 injury to themselves or to the public from allowing
                 these appeals to proceed in the Second Circuit.
                 Petitioners thus fall well short of meeting the
                 demanding standard for the extraordinary relief of
                 certiorari before judgment.




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                 B. The Courts of Appeals Are Not Divided on
                    Any Issues Presented in This Litigation,
                    Nor Do Other Factors Warrant Denying
                    This Court the Benefit of Additional
                    Percolation of Those Issues.
                     Only the Ninth Circuit has ruled on the
                 reviewability and legality of the termination of DACA,
                 and thus there is no split in the federal courts of
                 appeals that requires this Court’s swift intervention to
                 resolve. Nor is there any significant level of disagree-
                 ment on these issues among the district courts, or any
                 other compelling need to bypass the review of these
                 issues that is currently underway in the Second
                 Circuit, the Fourth Circuit, and the D.C. Circuit. 11
                     1. Every court to reach the issue (the Ninth Circuit
                 and four district courts) has held that respondents’
                 APA claims are judicially reviewable. See 5 U.S.C.
                 § 705(a)(2). Each has explained why, under this
                 Court’s precedents, petitioners’ termination of DACA
                 for purported illegality falls outside the “very narrow”
                 class of agency actions that present no “meaningful
                 standard against which to judge the agency’s exercise
                 of discretion.” See Citizens to Preserve Overton Park,
                 Inc. v. Volpe, 401 U.S. 402, 410 (1971); Heckler v.
                 Chaney, 470 U.S. 821, 839 (1985). And all of those
                 courts—except for the district court in Maryland,
                 whose decision is now under review by the Fourth
                 Circuit—have agreed that the manner in which
                 petitioners terminated DACA was inconsistent with

                     11 Petitioners have not sought this Court’s intervention in

                 the Fourth Circuit litigation, Casa De Maryland v. DHS, No. 18-
                 1521 (4th Cir.), where the district court ruled largely in
                 petitioners’ favor.




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                 petitioners’ legal obligations. Each of these courts
                 reasoned that petitioners’ bare-bones, internally
                 inconsistent, and legally flawed explanations for their
                 decision failed to satisfy their APA obligation to
                 adequately present a reasoned basis for their action. 12
                 See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State
                 Farm Mut. Auto Ins. Co., 463 U.S. 29, 42-43 (1983).
                     Moreover, the outlier district court decision
                 upholding the merits of petitioners’ actions has not
                 resulted in widespread institutional confusion or
                 subjected any party to conflicting obligations. This case


                      12 In defending the rationality of petitioners’ legal analysis,

                 petitioners’ amici misplace their reliance on statements about the
                 incidental benefits of DACA that respondents made in the district
                 court. See Amicus Br. for States of Texas et al. 22-23. The notice-
                 and-comment violation found by the Texas courts hinged on the
                 premise—now proven to be incorrect (see infra at 29)—that
                 “DACA decisions were not truly discretionary.” (CA2 J.A. 465.)
                 Amici now pose an alternative theory that DACA was required to
                 go through notice and comment regardless of whether DHS
                 exercised discretion because DACA purportedly amounted to a
                 substantive rule that conferred benefits and affected individual
                 rights and obligations. Texas Amicus Br. at 18-22. This alternative
                 theory, however, is not germane to the legality of petitioners’
                 conduct under the APA. Petitioners’ actions must be judged on
                 the grounds they asserted at the time of decision, not post hoc
                 rationales asserted by third parties. See SEC v. Chenery Corp.,
                 318 U.S. 80, 87-88 (1943). In any event, amici misconstrue
                 respondents’ statements. Terminating DACA affected indivi-
                 duals’ rights and obligations because it deprived DHS officers of
                 discretion to grant DACA requests and renewals, thereby
                 stripping existing grantees of deferred action’s attendant benefits
                 without an individualized assessment. In contrast, the creation
                 of DACA established only a framework for accepting deferred
                 action requests. The ancillary benefits of deferred action are not
                 attributable to the DACA memorandum, but to longstanding
                 regulations that apply to deferred-action recipients generally.
                 See, e.g., 8 C.F.R. §§ 1.3(a)(4)(vi), 274a.12(c)(14).




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                 is thus unlike United States v. Mistretta, where the
                 Court granted certiorari before judgment because
                 lower courts were in “disarray” on the legality of
                 federal criminal sentencing guidelines, and the lack of
                 a uniform approach by the courts had chaotic implica-
                 tions for the functioning of the federal criminal justice
                 system. 488 U.S. 361, 371 & n.6 (1989); see also Dames
                 & Moore, 453 U.S. at 660 (noting the “conflicting
                 conclusions” of lower courts on the legality of Executive
                 actions that were imminently necessary to avoid
                 breaching an international agreement).
                     2. At present, three circuits are considering
                 challenges to petitioners’ termination of DACA: the
                 Second Circuit, the Fourth Circuit, and the D.C.
                 Circuit. Allowing these courts to first deliberate on the
                 questions of administrative law presented by the
                 termination of DACA would likely “yield a better
                 informed and more enduring final pronouncement” on
                 those issues if this Court does ultimately undertake
                 review at some point. See Arizona v. Evans, 514 U.S.
                 1, 23 n.1 (1995). And if all of these courts reach the
                 same conclusion as the Ninth Circuit regarding DACA’s
                 reviewability and legality, this Court may decide that
                 its own intervention is unnecessary. The Court will
                 not need to wait long to obtain the benefits of appellate
                 percolation: the Fourth Circuit heard argument on
                 December 11, 2018; the Second Circuit has scheduled
                 oral argument in this action for January 25, 2019; and
                 the D.C. Circuit has set a briefing schedule that
                 concludes on January 22, 2019. Batalla Vidal, No. 18-
                 485 (2d Cir.), ECF No. 567; Casa De Maryland v. DHS,
                 No. 18-1521 (4th Cir.), ECF No. 44; NAACP v. Trump,
                 No. 18-5243 (D.C. Cir.), Clerk’s Order (Oct. 22, 2018).
                    Although petitioners would now disregard the
                 benefits of additional appellate review, their brief to




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                 the Second Circuit decried the “detrimental effect” of
                 “foreclosing adjudication by a number of courts and
                 judges.” (Defs.-Appellants’ Opening Br. at 47, No. 18-
                 485 (2d Cir.), ECF No. 59 (quotation marks omitted).)
                 Similarly, in other recent litigation, the Justice
                 Department has vigorously proclaimed the importance
                 of allowing important issues to percolate through the
                 circuit courts. In defending the legality of conditions
                 imposed on certain law-enforcement grants, the
                 Department urged that the scope of relief should not
                 foreclose parallel review because “the Supreme Court
                 ‘benefits from permitting several courts of appeals’ to
                 consider ‘important questions of law.’” (Suppl. Br. for
                 Appellant 23, City of Chicago v. Sessions, No. 17-2991
                 (7th Cir. July 20, 2018), ECF No. 142 (alteration marks
                 omitted) (quoting United States v. Mendoza, 464 U.S.
                 154, 164 (1984))). The Justice Department further
                 asserted that “percolation is more valuable, not less,
                 for pure legal questions”—like some of the issues
                 here—because “appellate courts exercising de novo
                 review of a pure legal question can gain insights by
                 comparing differing analyses of a common question,
                 whereas appellate comparison of decisions arising in
                 fact-heavy contexts is less useful precisely because of
                 the varying factual record in each case.” Id.
                     3. Petitioners’ central argument here against
                 appellate percolation is baseless. Petitioners and their
                 amici claim that, absent immediate review and correc-
                 tive action by this Court, petitioners would be required
                 to retain DACA through an additional term of this
                 Court, even though they now regard DACA as unlawful
                 and objectionable. (Pet. 15; Amicus Br. for Citizens
                 United et al. 18.) That argument hinges on a false
                 premise. The lower courts that have found petitioners’
                 September 2017 termination of DACA to be reviewable




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                 and illegal have not bound petitioners’ discretion to
                 end DACA in a lawful manner, but instead have
                 recognized that petitioners could end DACA by issuing
                 a new agency decision on a new agency record. (E.g.,
                 Pet. App. 66a.) One court expressly invited petitioners
                 to do just that. See NAACP v. Trump, 298 F. Supp. 3d
                 209, 249 (D.D.C. 2018). 13 Petitioners declined that
                 invitation, electing instead to stand on the existing,
                 flawed rationales of illegality set forth in the Sessions
                 letter and the Duke memorandum.
                     Petitioners’ request for certiorari before judgment
                 thus flows from their desire to avoid accountability for
                 their policy choices, rather than from any need to
                 enable the exercise of discretion. Such circumstances
                 present no cause for intervention by this Court, and
                 certainly no cause for intervention in a manner that
                 would redound to this Court’s detriment by short-
                 circuiting the traditional appellate processes that
                 should inform the Court’s review.

                 C. In Light of the Procedural Posture of This
                    Litigation, Petitioners’ Batalla Vidal Appeals
                    Present an Especially Poor Vehicle for
                    Certiorari Before Judgment.
                     Whether or not the termination of DACA raises
                 issues that may ultimately warrant this Court’s
                 review, this litigation is an especially poor vehicle to
                 address those issues.



                      13 (See also Order at 2, NAACP, No. 17-cv-2325 (D.D.C. Apr.

                 24, 2018), ECF No. 69 (directing parties to inform the court
                 “whether DHS has issued a new decision rescinding DACA and
                 whether the parties contemplate the need for further proceedings
                 in this case”).)




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                     1. First, there is no intermediate appellate
                 decision. Further review by the Second Circuit would
                 offer the Court “the substantial value inherent in an
                 intermediate consideration of the issue by the Court of
                 Appeals,” Youngstown Sheet & Tube Co. v. Sawyer,
                 343 U.S. 937, 938 (1952) (Burton, J., dissenting from
                 grant of certiorari before judgment). By contrast,
                 granting certiorari here would prematurely cut off
                 that beneficial avenue of additional consideration.
                      Second, the district court has not issued a final
                 judgment. Petitioners instead seek review of three
                 interlocutory orders in which the district court
                 declined to dismiss respondents’ equal protection and
                 substantive APA claims, and entered a preliminary
                 injunction on the latter claim. Accordingly, this
                 litigation may yet require additional proceedings in
                 the district court. Granting certiorari now would
                 therefore depart from the “strong congressional policy
                 against piecemeal reviews, and against obstructing or
                 impeding an ongoing judicial proceeding by interlocu-
                 tory appeals,” Nixon, 418 U.S. at 690; see United
                 States v. Hollywood Motor Car Co., 458 U.S. 263, 265
                 (1982) (noting the longstanding principles “inimical to
                 piecemeal appellate review of trial court decisions
                 which do not terminate the litigation”); see also
                 Hamilton-Brown Shoe Co. v. Wolf Bros. & Co., 240
                 U.S. 251, 258 (1916) (writ of certiorari will not issue
                 before final judgment except in “extraordinary cases”).
                     2. Petitioners and their amici are simply incorrect
                 to argue that granting this petition would ensure a
                 “definitive resolution” of the entire action. (Pet. 16;
                 Texas Amicus Br. 5.) For example, litigation of respon-
                 dents’ equal-protection claims remains at an early
                 stage: the district court did not grant any relief based
                 on equal-protection grounds, determining only that




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                 the two complaints have adequately stated a claim.
                 And under this Court’s settled precedents, there are
                 no threshold challenges that would bar judicial review
                 of respondents’ equal-protection claims. See, e.g.,
                 Webster v. Doe, 486 U.S. 592, 603 (1988) (decisions
                 committed to agency discretion by law are still subject
                 to judicial review for constitutional violations).
                        Immediate interlocutory review also would not
                 guarantee a definitive resolution of respondents’ APA
                 claims. Petitioners argue that this Court could finally
                 dispose of those claims (1) by ruling that the termina-
                 tion of DACA is not subject to APA review, or (2) by
                 determining that the termination survives APA
                 review on the merits. See Regents Pet. at 23-30. But
                 petitioners are wrong in asserting that, if this Court
                 were to find the challenged action reviewable, the
                 Court could then rule in petitioners’ favor on the
                 ultimate merits of the APA claims. Under the APA,
                 judicial “review is to be based on the full adminis-
                 trative record that was before” the agency decision-
                 maker “at the time he made his decision.” Overton
                 Park, 401 U.S. at 420; see 5 U.S.C. § 706 (APA review
                 proceeds on basis of the “whole record”). And in this
                 action, the Second Circuit already has held—in a
                 decision on which petitioners have not now sought this
                 Court’s review 14—that “there is a strong suggestion
                 that the record before the [district] Court was not

                      14 The three interlocutory orders of the district court that

                 petitioners have appealed, and on which they have sought
                 certiorari before judgment, do not encompass the district court’s
                 rulings on any record or discovery issues. Those separate record
                 and discovery issues are thus outside of this Court’s potential
                 review upon a grant of certiorari before judgment. See United
                 States v. Stanley, 483 U.S. 669, 676-77 (1987) (interlocutory
                 appeals are “confined to the particular order[s] appealed from”).




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                 complete,” and that “some limited discovery” is still
                 necessary to ensure the district court has the whole
                 record when it finally adjudicates the merits of
                 respondents’ APA claims. (Order, No. 17-3345 (2d Cir.
                 Dec. 27, 2017), ECF No. 171 (quotation marks
                 omitted)). Accordingly, any evaluation of the merits of
                 respondents’ APA claims would, at this juncture, be
                 limited to reviewing whether the district court abused
                 its discretion in granting preliminary relief on a
                 partial record. 15
                     Recent proceedings in the U.S. District Court for
                 the Southern District of Texas illustrate the difficul-
                 ties inherent in interlocutory review, and caution
                 against a premature grant of certiorari. In 2015, that
                 court preliminarily enjoined related types of deferred
                 action (DAPA and DHS’s 2014 changes to DACA)
                 based on a preliminary record suggesting that DHS

                      15 Although certain challenges to administrative action—

                 such as claims that a rule is facially inconsistent with a statute—
                 may be resolved before production of the full record on a motion
                 under Federal Rule of Civil Procedure 12(b)(6), courts have
                 uniformly held that claims that challenge an agency’s reasons or
                 its rule-making process cannot be dismissed before the agency
                 presents the complete administrative record against which such
                 claims are evaluated. See, e.g., District Hosp. Partners, L.P. v.
                 Sebelius, 794 F. Supp. 2d 162, 171-73 (D.D.C. 2011) (elaborating
                 on this distinction and collecting cases). Indeed, to permit
                 dismissal upon review of “less than the full administrative record
                 might allow a party to withhold evidence unfavorable to its case,
                 and so the APA requires review of ‘the whole record.’” See Walter
                 O. Boswell Mem’l Hosp. v. Heckler, 749 F.2d 788, 792 (D.C. Cir.
                 1984) (quoting § 706). Here, for example, agency materials not
                 yet produced, but that were before the Attorney General and
                 Acting Secretary at the time of the termination decision, may
                 well “fairly detract[]” from petitioners’ stated justifications and
                 thus provide further support for respondents’ APA claims. See
                 Universal Camera Corp. v. NLRB, 340 U.S. 474, 487-88 (1951).




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                 was not exercising discretion in evaluating DACA
                 applications. Texas, 86 F. Supp. 3d at 677. That
                 preliminary injunction was affirmed by the Fifth
                 Circuit, 809 F.3d 134 (5th Cir. 2015), and by a per
                 curiam opinion of this Court, which was equally
                 divided, 136 S. Ct. 2271 (2016). In ending DACA,
                 Attorney General Sessions and Acting Secretary Duke
                 relied on the Texas district court’s finding: both
                 decision-makers cited to the Texas opinion, and the
                 Acting Secretary expressly relied on the Texas courts’
                 conclusion that “DACA decisions were not truly
                 discretionary.” (CA2 J.A. 465.)
                     But evidence recently adduced in a separate
                 challenge to the legality of DACA (see supra at 20)
                 conclusively refutes the Texas district court’s view
                 that DHS was not exercising discretion when evalu-
                 ating DACA applications. Based on a fuller record that
                 incorporates a number of materials not presented in
                 2015, the Texas district court has reversed course,
                 rejecting a claim brought by Texas and other States
                 that “those processing DACA applications are not free
                 to exercise discretion.” Texas, 328 F. Supp. 3d at 734.
                 That court has now concluded, based on a more
                 complete record, that the evidence supporting Texas’s
                 claim is “not convincing, either in its quantity or
                 quality.” Id.
                     3. In light of the posture of this case, a grant of the
                 instant petition is not warranted regardless of how
                 this Court addresses the pending petitions in Regents
                 and NAACP. Petitioners argue most forcefully for
                 review in Regents; indeed, they fully present the
                 merits of their claims in that petition only. But if this
                 Court were to grant review in Regents—despite the
                 current lack of a circuit split and at a time when three
                 appeals courts are actively deliberating on the same




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                 issues—there would be little reason to simultaneously
                 grant this petition. Regents is adequately postured to
                 present for review the same categories of claims and
                 issues raised here. Petitioners fail to explain why
                 granting review before judgment in this separate
                 case—and prematurely foreclosing Second Circuit
                 review—would also be necessary to protect their
                 interests. 16
                     This Court should also reject petitioners’
                 alternative request (Pet. 17) to hold their petition in
                 abeyance. Petitioners would suffer no harm from
                 having to refile a petition once the Second Circuit
                 completes its expeditious consideration of this appeal.
                 And this Court would benefit from a petition that
                 addresses the Second Circuit’s reasoning. Thus, the
                 better course is to await the Second Circuit’s ruling,
                 and to allow any aggrieved party to seek review as
                 necessary by filing a new petition (or cross-petition)
                 tailored to the issues and circumstances at that time.
                 In any event, if this Court does choose to hold the
                 petition, it should expressly direct the Second Circuit
                 to continue with its expeditious consideration of the
                 appeal, because such deliberations can only better
                 inform this Court’s ultimate review.



                      16 If this Court grants certiorari nonetheless, it should not

                 accept the request of petitioners’ amici to review additional
                 questions beyond those presented by petitioners. Citizens United
                 Amicus Br. 14, 23, 26. Petitioners’ amici have identified no basis
                 for this Court to deviate from its general practice of disregarding
                 claims that have been raised solely by an amicus and have not
                 been pursued in the petition for certiorari. See, e.g., Decker v.
                 Northwest Envt’l Def. Ctr., 568 U.S. 597, 614 (2013) (Roberts,
                 C.J., concurring); FTC v. Phoebe Putney Health Sys., Inc., 568
                 U.S. 216, 226 n.4 (2013).




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                                        CONCLUSION
                     The petition for certiorari before judgment should
                 be denied.

                                                   Respectfully submitted,

                                                   BARBARA D. UNDERWOOD*
                                                     Attorney General
                                                     State of New York
                                                   ANISHA S. DASGUPTA
                                                     Deputy Solicitor General
                                                   ANDREW W. AMEND
                                                    Senior Assistant
                                                     Solicitor General
                                                   DAVID S. FRANKEL
                                                    Assistant Solicitor General
                                                   barbara.underwood@ag.ny.gov

                 December 2018                     * Counsel of Record

                 (Counsel listing continues on next page.)




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                                         32

                 GEORGE JEPSEN            HECTOR H. BALDERAS
                  Attorney General         Attorney General
                  State of Connecticut     State of New Mexico
                 55 Elm St.               408 Galisteo St.
                 P.O. Box 120             Santa Fe, NM 87501
                 Hartford, CT 06106
                 MATTHEW P. DENN          JOSH STEIN
                  Attorney General         Attorney General
                  State of Delaware        State of North Carolina
                 820 N. French St.        114 W. Edenton St.
                 Wilmington, DE 19801     Raleigh, NC 27603
                 DOUGLAS S. CHIN          ELLEN F. ROSENBLUM
                  Attorney General         Attorney General
                  State of Hawai‘i         State of Oregon
                 425 Queen St.            1162 Court St. N.E.
                 Honolulu, HI 96813       Salem, OR 97301
                 LISA MADIGAN             JOSH SHAPIRO
                  Attorney General         Attorney General
                  State of Illinois        Commonwealth of
                 100 W. Randolph St.        Pennsylvania
                 Chicago, IL 60601        Strawberry Square, 16th Fl.
                                          Harrisburg, PA 17120
                 THOMAS J. MILLER         PETER F. KILMARTIN
                  Attorney General         Attorney General
                  State of Iowa            State of Rhode Island
                 1305 E. Walnut St.       150 South Main St.
                 Des Moines, IA 50319     Providence, RI 02903
                 MAURA HEALEY             THOMAS J. DONOVAN
                  Attorney General         Attorney General
                  Commonwealth of          State of Vermont
                  Massachusetts           109 State St.
                 One Ashburton Place      Montpelier, VT 05609
                 Boston, MA 02108




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                                             33

                 MARK R. HERRING              JOHN W. HICKENLOOPER
                  Attorney General             Governor
                  Commonwealth of Virginia     State of Colorado
                 202 North Ninth St.          JACKI COOPER MELMED
                 Richmond, VA 23219            Legal Counsel
                                               to the Governor
                                              136 State Capitol Bldg.
                                              Denver, CO 80203
                 ROBERT W. FERGUSON           KARL A. RACINE
                  Attorney General             Attorney General
                  State of Washington          District of Columbia
                 800 Fifth Ave., Ste. 2000 Suite 650 North
                 Seattle, WA 98104         441 4th St., NW
                                           Washington, DC 20001




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                                      No. 18-588

                 In the Supreme Court of the United States
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                ET AL., PETITIONERS

                                          v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL.

                         ON PETITION FOR A WRIT OF CERTIORARI
                        BEFORE JUDGMENT TO THE UNITED STATES
                         COURT OF APPEALS FOR THE D.C. CIRCUIT


                         REPLY BRIEF FOR THE PETITIONERS


                                               NOEL J. FRANCISCO
                                                 Solicitor General
                                                  Counsel of Record
                                                Department of Justice
                                                Washington, D.C. 20530-0001
                                                SupremeCtBriefs@usdoj.gov
                                                (202) 514-2217




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                 In the Supreme Court of the United States
                                        No. 18-588
                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                ET AL., PETITIONERS

                                            v.
                   NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                              COLORED PEOPLE, ET AL.

                           ON PETITION FOR A WRIT OF CERTIORARI
                         BEFORE JUDGMENT TO THE UNITED STATES
                          COURT OF APPEALS FOR THE D.C. CIRCUIT


                          REPLY BRIEF FOR THE PETITIONERS


                    1. In September 2017, the Department of Homeland
                 Security (DHS) determined, in accordance with the
                 views of the Attorney General, that the non-enforcement
                 policy known as Deferred Action for Childhood Arrivals
                 (DACA) was likely unlawful and should be wound down
                 in an orderly fashion. Such a quintessential exercise of
                 the Secretary of Homeland Security’s authority to es-
                 tablish “national immigration enforcement policies and
                 priorities,” 6 U.S.C. 202(5) (2012 & Supp. V 2017), is not
                 judicially reviewable and was eminently reasonable in
                 any event. See Pet. 17-31, United States DHS v. Re-
                 gents of the Univ. of Cal., No. 18-587 (Nov. 5, 2018); Re-
                 ply Br. 6-11, Regents, supra (No. 18-587). Yet DHS has
                 been compelled by two nationwide preliminary injunc-
                 tions to retain the unlawful policy and thereby sanction
                 the continuing violation of federal immigration law by
                 nearly 700,000 aliens.

                                            (1)




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                     Last February, this Court declined to review the
                 first of those injunctions before the court of appeals
                 could pass on its validity. See DHS v. Regents of the
                 Univ. of Cal., 138 S. Ct. 1182 (2018) (No. 17-1003). The
                 Court made clear its expectation, however, that the
                 court of appeals “w[ould] proceed expeditiously to de-
                 cide th[e] case,” at which time the government could re-
                 new its request. Id. at 1182. More than ten months
                 later, the court of appeals’ judgment is here and the
                 Court is presented the opportunity it anticipated in
                 February. For the reasons stated in the government’s
                 reply brief filed today in Regents, supra (No. 18-587),
                 the Court should now grant the government’s Regents
                 petition, and resolve this important dispute this Term.
                     2. In addition to granting certiorari in Regents, the
                 Court should also grant certiorari before judgment in
                 this case. Such an order would be consistent with this
                 Court’s past practices in similar circumstances. And it
                 would ensure that the Court both receives a comprehen-
                 sive presentation of the relevant issues and has an ade-
                 quate vehicle for the timely and definitive resolution of
                 this dispute. See Pet. 16-17; Supp. Br. 11, Regents, su-
                 pra (No. 18-587). Respondents’ arguments to the con-
                 trary are unpersuasive.
                     a. Respondents argue at length (Br. in Opp. 13) that
                 this case “does not involve exigent circumstances” that
                 would justify granting certiorari before judgment. But
                 that is not the right standard. When the government
                 filed its petitions in these cases, no court of appeals had
                 addressed the questions presented. The government
                 therefore explained that this dispute met the Court’s
                 heightened standard for certiorari before judgment be-
                 cause the issues here are of such “imperative public im-
                 portance as to * * * require immediate determination




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                 in this Court.” Sup. Ct. R. 11; see Pet. 14-15; Regents
                 Pet. 15-17. By virtue of the Ninth Circuit’s intervening
                 judgment, however, the certiorari decision in these
                 cases is no longer governed by that standard—and thus
                 the bulk of respondent’s opposition is moot.
                     Most obviously, the certiorari decision in the Regents
                 cases is now governed by the Court’s ordinary standard
                 under Rule 10. As explained more fully in the briefing
                 in those cases, further review is plainly warranted un-
                 der the Rule 10 standard. See Regents Reply Br. 1-11.
                 The Ninth Circuit’s judgment, however, also affects the
                 standard for determining whether certiorari before
                 judgment is appropriate here. As the government ex-
                 plained in its supplemental briefing, this Court has
                 granted certiorari before judgment “not only in cases of
                 great public emergency but also in situations where
                 similar or identical issues of importance were already
                 pending before the Court and where it was considered
                 desirable to review simultaneously the questions posed
                 in the case still pending in the court of appeals.”
                 Stephen M. Shapiro et al., Supreme Court Practice
                 § 2.4, at 86 (10th ed. 2013); see Regents Supp. Br. 11
                 (citing United States v. Fanfan, 542 U.S. 956 (2004)
                 (No. 04-105) (granting certiorari before judgment in
                 companion case to United States v. Booker, 543 U.S. 220
                 (2005) (No. 04-104)); Gratz v. Bollinger, 537 U.S. 1044
                 (2002) (No. 02-516) (granting certiorari before judgment
                 in companion case to Grutter v. Bollinger, 539 U.S. 306
                 (2003) (No. 02-241))).
                     Respondents ignore these precedents, but similar
                 considerations strongly counsel in favor of granting the
                 government’s petition here. Specifically, in granting
                 certiorari in this case alongside the Regents petition,
                 the Court would eliminate any argument that Secretary




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                 Nielsen’s June 22 memorandum is not part of the record
                 before this Court and would bring directly before the
                 Court the district court’s consideration of the impact of
                 that memorandum on the resolution of this dispute. See
                 Pet. 15-17. The Ninth Circuit’s refusal to undertake
                 that analysis and the Regents respondents’ refusal to
                 address the contents of the Nielsen memorandum in
                 their briefs in opposition only underscores the wisdom
                 of that approach.
                     b. Contrary to respondents’ assertion (Br. in Opp.
                 30-33), moreover, the entire Nielsen memorandum is
                 relevant to the Court’s consideration of the questions
                 presented. Respondents insist that the Court ignore
                 the bulk of that memorandum because they claim it was
                 not a “separate administrative action.” Id. at 30 n.12;
                 cf. Regents Indiv. Br. in Opp. 33 (arguing that the Niel-
                 sen memorandum is irrelevant because it was not a
                 “ ‘fresh agency action’ (a Rescission 2.0)”) (citation omit-
                 ted). Respondents would apparently require DHS to
                 reset this protracted litigation by issuing a “new” inde-
                 pendent agency decision on DACA before the current
                 Secretary could offer any further explanation of the re-
                 scission. But where, as here, a court determines that an
                 agency’s initial explanation is insufficient and requests
                 further explanation, “it is incumbent upon the court to
                 consider that explanation when it arrives.” Alpharma,
                 Inc. v. Leavitt, 460 F.3d 1, 6 (D.C. Cir. 2006). That is par-
                 ticularly appropriate here, given that every court to have
                 addressed the question has agreed that the rescission did
                 not require notice-and-comment rulemaking and there-
                 fore the Nielsen memorandum itself satisfies the proce-
                 dural requirements for a new agency action in any event.
                     To be sure, unlike the respondents in Regents, re-
                 spondents here now concede (Br. in Opp. 32) that the




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                 Court can and should consider certain aspects of the
                 Nielsen memorandum. They nevertheless contend that
                 only “amplifi[cations]” of previously offered rationales
                 may be considered after remand, not “new reason[s] for
                 why the agency could have taken the action”—which
                 they argue means that only Secretary Nielsen’s “legal
                 analysis may be considered.” Id. at 31-32 (citation and
                 internal quotation marks omitted). On a remand for in-
                 sufficient explanation, however, an agency is free to en-
                 gage in and offer to the reviewing court “additional in-
                 vestigation or explanation” for its action. Florida
                 Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985)
                 (emphasis added).
                    Camp v. Pitts, 411 U.S. 138 (1973) (per curiam), is
                 not to the contrary. In the passage on which respond-
                 ents rely, the Court discussed the appropriate scope of
                 “affidavits or testimony” that could be offered directly
                 to the reviewing court to allow it to properly assess
                 agency action. Id. at 143. The Court placed no limita-
                 tions on the explanation an agency might offer if the
                 court found that the reasons offered at the time of the
                 decision were insufficient and the decision was re-
                 manded to the agency for further consideration. Ibid.
                 And the Court’s ambiguous dicta in Pension Benefit
                 Guaranty Corp. v. LTV Corp., 496 U.S. 633 (1990),
                 about the scope of any remand is similarly inapposite.
                 See id. at 654 (noting that, where an agency’s initial ex-
                 planation is insufficient, “the preferred course” “ ‘except
                 in rare circumstances, is to remand to the agency for
                 additional investigation or explanation’ ”) (quoting Flor-
                 ida Power & Light Co., 470 U.S. at 744).
                    The rule against post hoc rationalizations generally
                 “forbids judges to uphold agency action on the basis of
                 rationales offered by anyone other than the proper




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                 decisionmakers.” Alpharma, 460 F.3d at 6. It “applies
                 to rationalizations offered for the first time in litigation
                 affidavits and arguments of counsel.” Ibid. An official
                 memorandum offered by the Secretary of Homeland
                 Security explaining why DHS’s decision to rescind
                 DACA “was, and remains, sound,” Regents Pet. App.
                 121a, is neither. For that reason, the Court should
                 grant the government’s petition in this case alongside
                 the Regents petition to eliminate any argument that it
                 may not consider the implications of Secretary Niel-
                 sen’s memorandum on the resolution of this dispute.
                                        * * * * *
                     For the foregoing reasons and those stated in the pe-
                 tition, the petition for a writ of certiorari before judg-
                 ment should be granted and the case consolidated with
                 United States DHS v. Regents of the University of Cal-
                 ifornia, No. 18-587 (filed Nov. 5, 2018), for the Court’s
                 consideration this Term.
                    Respectfully submitted.
                                                  NOEL J. FRANCISCO
                                                   Solicitor General

                 JANUARY 2019




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                                      No. 18-587

                 In the Supreme Court of the United States
                 UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                                ET AL., PETITIONERS
                                          v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                          ON PETITION FOR A WRIT OF CERTIORARI
                         TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT


                         REPLY BRIEF FOR THE PETITIONERS


                                            NOEL J. FRANCISCO
                                              Solicitor General
                                               Counsel of Record
                                             Department of Justice
                                             Washington, D.C. 20530-0001
                                             SupremeCtBriefs@usdoj.gov
                                             (202) 514-2217




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                 In the Supreme Court of the United States
                                       No. 18-587
                 UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                                ET AL., PETITIONERS

                                            v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                          ON PETITION FOR A WRIT OF CERTIORARI
                         TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT


                          REPLY BRIEF FOR THE PETITIONERS


                    When this Court declined to grant certiorari before
                 judgment to review the district court’s injunction re-
                 quiring the Department of Homeland Security (DHS)
                 to maintain the non-enforcement policy known as De-
                 ferred Action for Childhood Arrivals (DACA), the Court
                 made clear that it expected the court of appeals to “pro-
                 ceed expeditiously to decide this case,” at which time
                 the government could renew its request. 2/26/18 Order
                 (No. 17-1003). More than ten months later, the court of
                 appeals’ judgment is here and the Court is presented
                 the opportunity it anticipated in February. The Court
                 should now grant certiorari and resolve this important
                 dispute this Term.
                    1. When the government filed this petition in No-
                 vember, the court of appeals had still not issued its
                 judgment. The petition therefore explained (at 15-17)
                 why this case met the Court’s heightened standard for


                                            (1)




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                 certiorari before judgment. See Sup. Ct. R. 11. Re-
                 spondents rely heavily on that same standard in opposi-
                 tion. See, e.g., Indiv. Br. in Opp. 12 (“There is no reason
                 * * * to ignore normal processes and grant review”);
                 Regents Br. in Opp. 14 (arguing against “truncat[ing]
                 the ordinary process”). By virtue of the intervening
                 judgment, however, the certiorari decision is now gov-
                 erned by the Court’s ordinary standard under Rule 10.
                 And whether further review is warranted under that
                 standard is not a close question. Respondents’ argu-
                 ments to the contrary lack merit.
                     a. Respondents contend (Indiv. Br. in Opp. 12-17)
                 that review is unwarranted in the absence of a circuit con-
                 flict. But certiorari is appropriate when “a United States
                 court of appeals has decided an important question of
                 federal law that has not been, but should be, settled by
                 this Court.” Sup. Ct. R. 10(c). And the Court frequently
                 reviews decisions, like the one below, that interfere with
                 the implementation of federal policies and enforcement
                 of federal law, particularly immigration law, without any
                 conflict. See, e.g., Trump v. Hawaii, 138 S. Ct. 2392
                 (2018); United States v. Sanchez-Gomez, 138 S. Ct. 1532
                 (2018); Sessions v. Dimaya, 138 S. Ct. 1204 (2018). In-
                 deed, this Court granted certiorari absent a circuit con-
                 flict in United States v. Texas, 136 S. Ct. 2271 (2016), af-
                 ter the Fifth Circuit affirmed a nationwide preliminary
                 injunction preventing implementation of the Deferred Ac-
                 tion for Parents of Americans and Lawful Permanent
                 Residents (DAPA) and expanded DACA policies.
                     The court of appeals’ decision here presents at least
                 as strong a case for this Court’s review. The district
                 court’s nationwide injunction commands the govern-
                 ment to preserve a policy that affirmatively sanctions
                 the ongoing violation of federal law by 700,00 aliens who




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                 have no lawful immigration status and no right to
                 the policy’s continuation. Cf. Reno v. American-Arab
                 Anti-Discrimination Comm., 525 U.S. 471, 491 (1999)
                 (AADC). Absent this Court’s intervention, the govern-
                 ment will be required to maintain the policy nationwide
                 for years after DHS and the Attorney General deter-
                 mined that it should end.
                     Moreover, there is a circuit conflict. In Texas v.
                 United States, the Fifth Circuit held that the DAPA and
                 expanded DACA policies were “manifestly contrary” to
                 the Immigration and Nationality Act (INA). 809 F.3d
                 134, 186 (2015) (Texas I), aff ’d by an equally divided
                 Court, 136 S. Ct. 2271 (2016). As the district court that
                 enjoined those policies has recognized, the Fifth Cir-
                 cuit’s reasoning applies equally to DACA. See Texas v.
                 United States, 328 F. Supp. 3d 662, 723 (S.D. Tex. 2018)
                 (Texas II). Indeed, although the Ninth Circuit at-
                 tempted to distinguish Texas I in some respects, it ulti-
                 mately disagreed with critical portions of the Fifth Cir-
                 cuit’s reasoning. Compare Texas I, 809 F.3d at 179, 186
                 (concluding that in identifying several “narrow classes”
                 of aliens eligible for deferred action, Congress “fore-
                 closed” the creation of broad new categories), with
                 Supp. Br. App. 54a (“We think the much more reasona-
                 ble conclusion is that in * * * instructing that this and
                 that ‘narrow class[]’ of noncitizens should be eligible for
                 deferred action, Congress meant to say nothing at all
                 about the underlying power of the Executive Branch to
                 grant the same remedy to others.”) (citation omitted;
                 brackets in original). And the Ninth Circuit did not
                 even try to square its determination that DACA is law-
                 ful with the Fifth Circuit’s determination that expanded
                 DACA was not. See id. at 55a (finding “the Texas court’s




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                 treatment of the DACA expansion” not “to be strong
                 persuasive authority”).
                     b. Respondents argue (Indiv. Br. in Opp. 17-19) that
                 the interlocutory posture of this case is reason to deny
                 review. But the Court reviews interlocutory decisions
                 presenting important legal issues. See, e.g., Trump v.
                 Hawaii, supra; Nielsen v. Preap, 138 S. Ct. 1279 (2018);
                 Burwell v. Hobby Lobby Stores, Inc., 134 S. Ct. 2751
                 (2014). Again, the Court granted certiorari in Texas to
                 review the preliminary injunction against the DAPA and
                 expanded DACA policies. Just as in Texas, even if the
                 question were only whether to maintain the nationwide
                 “status quo” while litigation proceeds, Regents Br. in
                 Opp. 22, in a case of this magnitude the answer should
                 come from this Court.
                     In any event, respondents are plainly wrong to as-
                 sert (Regents Br. in Opp. 15) that it would be difficult
                 for the Court to “fully resolve the litigation at this
                 stage.” This Court always has the authority, in review-
                 ing a preliminary injunction, to “address the merits” of
                 the litigation when appropriate. Munaf v. Geren, 553
                 U.S. 674, 691 (2008). Moreover, the district court also
                 certified for interlocutory appeal its order resolving the
                 government’s motion to dismiss, in which the govern-
                 ment sought to dismiss the entire case. And the court of
                 appeals affirmed that order alongside the preliminary in-
                 junction. Supp. Br. App. 61a-77a. If this Court grants
                 certiorari and agrees with the government on the mer-
                 its, termination of this litigation would thus not only be
                 “[]possible,” Regents Br. in Opp. 15, but inevitable.
                     Respondents also err in contending (Regents Br. in
                 Opp. 18) that the earlier dispute about the scope of the
                 record counsels against further review. Respondents
                 themselves recognize (ibid.) that the Court does not




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                 need to resolve any record issues to review the prelimi-
                 nary injunction itself. The Court would also, of course,
                 not need to resolve the scope of the record for APA re-
                 view if it determines the rescission is not reviewable un-
                 der the APA at all. If the Court determines that the
                 merits of respondents’ claim are reviewable under the
                 APA, it may need to determine the scope of the record.
                 But that subsidiary question itself is one on which the
                 lower courts are in need of this Court’s guidance. See,
                 e.g., 138 S. Ct. 443.
                     c. Contrary to respondents’ assertions (Indiv. Br. in
                 Opp. 21), the government’s conduct has been consistent
                 with the need for prompt resolution of this dispute. It
                 has so advocated from the very start of this litigation,
                 and it has made considerable effort in all of these cases
                 to make it possible—filing briefs in advance of court-
                 ordered deadlines, seeking expedition, and seeking cer-
                 tifications for interlocutory appeal of dispositive rul-
                 ings. Respondents nevertheless fault (State Br. in Opp.
                 16) the government for not requesting stays of the in-
                 junctions here and in the related cases. But seeking
                 such relief is not a prerequisite to seeking certiorari.
                 And the government has taken other steps to ensure
                 that the injunctions are not unnecessarily prolonged, in-
                 cluding filing a petition for a writ of certiorari before
                 judgment within days of the entry of the first injunction
                 and filing this petition in time for the Court to hear this
                 dispute in the ordinary course before the end of this Term.
                     d. Finally, a decision from this Court would not “pre-
                 empt the political process.” Indiv. Br. in Opp. 24. A deci-
                 sion concerning DHS’s authority to rescind DACA would
                 say nothing about Congress’s unquestioned power to al-
                 ter the immigration status of DACA recipients. And if
                 anything, it is the preliminary injunction obtained by




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                 respondents and the legal uncertainty surrounding the
                 rescission that is impeding legislative efforts.
                    2. Review of the court of appeals’ judgment is fur-
                 ther warranted because the decision is wrong.
                    a. Establishing enforcement policies is a type of
                 agency action that “traditionally” has been regarded
                 as unsuitable for judicial review, Heckler v. Chaney,
                 470 U.S. 821, 832 (1985), and is therefore “committed to
                 agency discretion by law,” 5 U.S.C. 701(a)(2). Pet. 17-
                 21. Respondents argue (State Br. in Opp. 19-22) that
                 rule does not apply because DHS supposedly based its
                 rescission decision solely on a legal conclusion—
                 namely, that DACA is unlawful. But even if Chaney
                 “left open” whether resting on a legal ground can ren-
                 der a traditionally unreviewable decision reviewable, id.
                 at 19 (citation omitted), this Court’s subsequent deci-
                 sion in I.C.C. v. Brotherhood of Locomotive Engineers,
                 482 U.S. 270, 283 (1987) (BLE), removes any doubt. See
                 Supp. Br. App. 82a (Owens, J., concurring in the judg-
                 ment). As the BLE Court explained, agency actions fall-
                 ing within a “tradition of nonreviewability” do not “be-
                 come[] reviewable” any time they rest on the agency’s
                 view of the underlying legal regime. 482 U.S. at 282-283.
                 Indeed, “a common reason for failure to prosecute an
                 alleged criminal violation is the prosecutor’s belief
                 (sometimes publicly stated) that the law will not sustain
                 a conviction,” yet it is “entirely clear” that such deci-
                 sions are unreviewable. Id. at 283.
                    In any event, DACA’s rescission is also based on con-
                 cerns about the implications of maintaining a non-
                 enforcement policy of questionable legality and other
                 policy concerns. See Pet. 23-28. In other words, it re-
                 flects the sort of “complicated balancing of a number of




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                 factors which are peculiarly within [the agency’s] exper-
                 tise” that makes enforcement discretion traditionally
                 unreviewable. Chaney, 470 U.S. at 831. Particularly in
                 light of Secretary Nielsen’s official memorandum
                 clearly stating that these concerns justify rescinding
                 DACA “whether the courts would ultimately uphold
                 [the policy] or not,” Pet. App. 123a, judicial review of
                 such a decision is not required to “ensur[e] clear public
                 accountability for government actions.” State Br. in
                 Opp. 21.
                    Respondents also briefly repeat (State Br. in Opp.
                 19) the district court’s theory that programmatic deter-
                 minations of enforcement priorities are “different from
                 day-to-day agency nonenforcement decisions.” Pet. App.
                 28a (citation omitted). The court of appeals declined to
                 endorse that theory for good reason: it is flatly contrary
                 to Chaney, which itself concerned the programmatic de-
                 termination whether to enforce the Federal Food, Drug,
                 and Cosmetics Act with respect to drugs used to admin-
                 ister the death penalty. See 470 U.S. at 824-825.
                    b. Even if the decision were reviewable, it was emi-
                 nently reasonable for DHS to rescind DACA based on
                 three independent rationales.
                    First, the rescission is supported by DHS’s serious
                 doubts about the legality of the policy. Pet. 23-27. Con-
                 trary to respondents’ assertions (Regents Br. in Opp.
                 32), that rationale is readily discernible from the Duke
                 memorandum—which explained that, in light of the
                 Texas decisions and the Attorney General’s letter, the
                 DACA policy “should be terminated,” not that it must.
                 Pet. App. 117a (emphasis added). Acting Secretary
                 Duke rescinded the policy “[i]n the exercise of [her] au-
                 thority in establishing national immigration policies and
                 priorities,” not as compelled by law. Ibid. And in any




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                 event, the Nielsen memorandum removes any doubt
                 whether the rescission rests on concerns about main-
                 taining an enforcement policy of questionable legality,
                 independent of its ultimate legality. See id. at 123a.
                     Respondents contend (Indiv. Br. in Opp. 31-32) that
                 the government did not adequately consider either poten-
                 tial non-merits defenses to a lawsuit by the Texas plain-
                 tiffs or DACA recipients’ reliance interests. But there
                 are “sound reasons for a law enforcement agency to
                 avoid discretionary policies that are legally questiona-
                 ble,” wholly apart from whether those policies will ulti-
                 mately be invalidated by courts, including “the risk that
                 such policies may undermine public confidence in and
                 reliance on the agency and the rule of law.” Pet. App.
                 123a. Respondents also provide no basis for second-
                 guessing DHS’s conclusion that these concerns “out-
                 weigh” any reliance interests that DACA recipients may
                 assert in the maintenance of such a policy. Id. at 125a.
                     Second, the rescission is justified by independent
                 policy concerns that Secretary Nielsen explained would
                 support rescission “[e]ven if a policy such as DACA
                 could be implemented lawfully.” Pet. App. 124a; see
                 Pet. 27-28. Respondents insist that the Court ignore
                 these concerns because the Nielsen memorandum was
                 not a “ ‘fresh agency action’ (a Rescission 2.0).” Indiv.
                 Br. in Opp. 33 (citation omitted). Respondents would
                 apparently require DHS to reset this protracted litiga-
                 tion by issuing a “new” independent agency decision on
                 DACA before the current Secretary could offer any fur-
                 ther explanation of the rescission. But where, as in
                 NAACP, a court determines that an agency’s initial ex-
                 planation is insufficient and requests further explana-
                 tion, “it is incumbent upon the court to consider that ex-
                 planation when it arrives.” Alpharma, Inc. v. Leavitt,




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                 460 F.3d 1, 6 (D.C. Cir. 2006). That is particularly ap-
                 propriate here, given that every court to have ad-
                 dressed the question has agreed that the rescission did
                 not require notice-and-comment rulemaking and there-
                 fore the Nielsen memorandum itself satisfies the proce-
                 dural requirements for a new agency action.
                     Third, the rescission is supported by DHS’s correct
                 determination that the DACA policy is unlawful. Pet.
                 28-30. Although respondents criticize (State Br. in Opp.
                 23-25) DHS for failing to sufficiently explain its legal
                 reasoning, it was utterly reasonable for DHS to rely on
                 the Fifth Circuit’s detailed analysis of the closely re-
                 lated DAPA and expanded DACA policies. See Pet.
                 App. 122a (“Any arguable distinctions between the DAPA
                 and DACA policies are not sufficiently material to convince
                 me that the DACA policy is lawful.”).
                     Respondents remarkably contend that the Texas I
                 decision is “inapposite.” Indiv. Br. in Opp. 30 (citation
                 omitted). They observe (Regents Br. in Opp. 32) that
                 the Fifth Circuit cited INA provisions that create a
                 mechanism for aliens to derive lawful immigration sta-
                 tus from the status of their U.S. citizen children. Be-
                 cause no parallel pathway to lawful status allegedly ex-
                 ists for DACA recipients, respondents contend that no
                 direct conflict with the INA exists here. Ibid.; see Supp.
                 Br. App. 52a. But the pathway to lawful status in Texas
                 I is available to only some of the aliens who would have
                 qualified for DAPA, see 809 F.3d at 179-180 (not for par-
                 ents of lawful permanent residents), and to none of the
                 aliens who would have qualified for expanded DACA,
                 see Texas II, 328 F. Supp. 3d at 724. A direct conflict
                 with those particular provisions therefore could not
                 have been necessary to the Fifth Circuit’s judgment.
                 They are simply part of the “INA’s specific and intricate




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                 provisions” that preclude DHS from creating vast new
                 deferred-action policies. Texas I, 809 F.3d at 186.
                     Respondents also observe (Regents Br. in Opp. 32)
                 that DAPA would have been available to approximately
                 4.3 million aliens, while DACA has been granted to
                 “only” around three quarters of a million aliens. But
                 that difference cannot be ascribed “legal significance.”
                 Texas II, 328 F. Supp. 3d at 724 (emphasis omitted). At
                 the outset, the right comparator is not the number of
                 aliens granted DACA, but the number qualified to request
                 it: approximately 1.5 million. See id. at 676. In either
                 case, a non-enforcement policy affecting 700,000 or 1.5
                 million aliens is plainly a policy of “vast ‘economic and
                 political significance’ ” to which the Fifth Circuit’s anal-
                 ysis applies. Texas I, 809 F.3d at 183 (citation omitted).
                     c. Finally, the court of appeals erred in affirming
                 the denial of the government’s motion to dismiss the
                 other ancillary claims. Pet. 30-31. No respondent de-
                 fends the court’s due-process ruling. Cf. State Br. in
                 Opp. 31-32 (urging only that the Court decline to review
                 it). As for equal protection, respondents make the puz-
                 zling contention that this Court’s decision in AADC
                 does not apply because this case purportedly does not
                 implicate AADC’s concerns about “inhibiting prosecu-
                 torial discretion, allowing continuing violations of immi-
                 gration law, and impacting foreign relations.” Id. at 32
                 (citation omitted). But respondents assert an equal-
                 protection claim in an effort to prevent DHS from re-
                 scinding a discretionary non-enforcement policy sanc-
                 tioning the ongoing violation of federal immigration law
                 by 700,000 aliens based, at least in part, on their asser-
                 tion that the primary beneficiaries of that policy are na-
                 tionals of certain foreign countries. That claim, of
                 course, directly implicates the AADC Court’s concerns.




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                 In any event, respondents have not adequately pleaded
                 an equal-protection claim even if AADC does not apply.
                 See Pet. 31.
                     3. The Court should also grant the government’s pe-
                 tition in Trump v. NAACP, No. 18-588 (filed Nov. 5,
                 2018). Granting certiorari before judgment in NAACP
                 would eliminate any argument that the Nielsen memo-
                 randum is not squarely before the Court—a course that
                 seems particularly prudent given respondents’ failure
                 to offer any response to the content of that memoran-
                 dum here. The Court may also wish to grant the peti-
                 tion in Nielsen v. Batalla Vidal, No. 18-589 (filed Nov.
                 5, 2018), despite the overlapping claims, to ensure the
                 fullest presentation of the issues. Supp. Br. 11.
                     Respondents in those cases also oppose certiorari by
                 arguing that the government has not demonstrated “ex-
                 igent circumstances” justifying certiorari under Rule
                 11. NAACP Br. in Opp. 13. But the Court grants certi-
                 orari before judgment “not only in cases of great public
                 emergency but also in situations where similar or iden-
                 tical issues of importance [are] already pending before
                 the Court and where it [i]s considered desirable to re-
                 view simultaneously the questions posed in the case still
                 pending in the court of appeals.” Stephen M. Shapiro
                 et al., Supreme Court Practice § 2.4, at 86 (10th ed.
                 2013); see Supp. Br. 11. That rationale applies here.




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                     For the foregoing reasons and those stated in the pe-
                 tition for a writ of certiorari and supplemental brief, the
                 petition should be granted. The petition in Trump v.
                 NAACP, No. 18-588 (filed Nov. 5, 2018), should also be
                 granted and the case consolidated with this one. The
                 petition in Nielsen v. Batalla Vidal, No. 18-589 (filed
                 Nov. 5, 2018), should either be granted and consolidated
                 or, at a minimum, be held pending resolution of the
                 other petitions and any further proceedings in this
                 Court.
                    Respectfully submitted.
                                                  NOEL J. FRANCISCO
                                                   Solicitor General

                 JANUARY 2019




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                                      No. 18-589

                 In the Supreme Court of the United States
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                            SECURITY, ET AL., PETITIONERS
                                          v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                          ON PETITION FOR A WRIT OF CERTIORARI
                         BEFORE JUDGMENT TO THE UNITED STATES
                        COURT OF APPEALS FOR THE SECOND CIRCUIT


                         REPLY BRIEF FOR THE PETITIONERS


                                               NOEL J. FRANCISCO
                                                 Solicitor General
                                                  Counsel of Record
                                                Department of Justice
                                                Washington, D.C. 20530-0001
                                                SupremeCtBriefs@usdoj.gov
                                                (202) 514-2217




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                 In the Supreme Court of the United States
                                    No. 18-589
                    KIRSTJEN M. NIELSEN, SECRETARY OF HOMELAND
                            SECURITY, ET AL., PETITIONERS
                                         v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                          ON PETITION FOR A WRIT OF CERTIORARI
                         BEFORE JUDGMENT TO THE UNITED STATES
                        COURT OF APPEALS FOR THE SECOND CIRCUIT


                          REPLY BRIEF FOR THE PETITIONERS


                    1. In September 2017, the Department of Homeland
                 Security (DHS) determined, in accordance with the
                 views of the Attorney General, that the non-enforcement
                 policy known as Deferred Action for Childhood Arrivals
                 (DACA) was likely unlawful and should be wound down
                 in an orderly fashion. Such a quintessential exercise of
                 the Secretary of Homeland Security’s authority to es-
                 tablish “national immigration enforcement policies and
                 priorities,” 6 U.S.C. 202(5) (2012 & Supp. V 2017), is not
                 judicially reviewable and was eminently reasonable in
                 any event. See Pet. 17-31, United States DHS v. Re-
                 gents of the Univ. of Cal., No. 18-587 (Nov. 5, 2018); Re-
                 ply Br. 6-11, Regents, supra (No. 18-587). Yet DHS has
                 been compelled by two nationwide preliminary injunc-
                 tions to retain the unlawful policy and thereby sanction
                 the continuing violation of federal immigration law by
                 nearly 700,000 aliens.


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                     Last February, this Court declined to review the
                 first of those injunctions before the court of appeals
                 could pass on its validity. See DHS v. Regents of the
                 Univ. of Cal., 138 S. Ct. 1182 (2018) (No. 17-1003). The
                 Court made clear its expectation, however, that the
                 court of appeals “w[ould] proceed expeditiously to de-
                 cide th[e] case,” at which time the government could re-
                 new its request. Id. at 1182. More than ten months
                 later, the court of appeals’ judgment is here and the
                 Court is presented the opportunity it anticipated in
                 February. For the reasons stated in the government’s
                 reply brief filed today in Regents, supra (No. 18-587),
                 the Court should now grant the government’s Regents
                 petition, and resolve this important dispute this Term.
                     2. In addition to granting certiorari in Regents, the
                 Court may also wish to consider granting certiorari in
                 these related cases. Such an order would be consistent
                 with this Court’s past practices in similar circumstanc-
                 es, and it would ensure that the Court receives a compre-
                 hensive presentation of the relevant issues for the timely
                 and definitive resolution of this dispute. See Pet. 16-17;
                 Supp. Br. 11, Regents, supra (No. 18-587). Respondents’
                 arguments to the contrary are unpersuasive.
                     Respondents argue at length that this case “presents
                 no emergency” that would justify granting a writ of cer-
                 tiorari before judgment. State Br. in Opp. 14 (capitali-
                 zation omitted); see id. at 14-20. But that is not the
                 right standard. When the government filed its petitions
                 in these cases, no court of appeals had addressed the
                 questions presented. The government therefore ex-
                 plained that this dispute met the Court’s heightened
                 standard for certiorari before judgment because the is-
                 sues here are of such “imperative public importance as
                 to * * * require immediate determination in this




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                 Court.” Sup. Ct. R. 11; see Pet. 14-15; Regents Pet. 15-
                 17. By virtue of the Ninth Circuit’s intervening judg-
                 ment, however, the certiorari decision in these cases is
                 no longer governed by that standard—and thus the bulk
                 of respondent’s opposition is moot.
                     Most obviously, the certiorari decision in the Regents
                 cases is now governed by the Court’s ordinary standard
                 under Rule 10. As explained more fully in the briefing
                 in those cases, further review is plainly warranted un-
                 der the Rule 10 standard. See Regents Reply Br. 1-11.
                 The Ninth Circuit’s judgment, however, also affects the
                 standard for determining whether certiorari before
                 judgment is appropriate here. As the government
                 explained in its supplemental briefing, this Court
                 has granted certiorari before judgment “not only in
                 cases of great public emergency but also in situations
                 where similar or identical issues of importance were al-
                 ready pending before the Court and where it was con-
                 sidered desirable to review simultaneously the ques-
                 tions posed in the case still pending in the court of ap-
                 peals.” Stephen M. Shapiro et al., Supreme Court Prac-
                 tice § 2.4, at 86 (10th ed. 2013); see Regents Supp. Br. 11
                 (citing United States v. Fanfan, 542 U.S. 956 (2004)
                 (No. 04-105) (granting certiorari before judgment in
                 companion case to United States v. Booker, 543 U.S. 220
                 (2005) (No. 04-104)); Gratz v. Bollinger, 537 U.S. 1044
                 (2002) (No. 02-516) (granting certiorari before judgment
                 in companion case to Grutter v. Bollinger, 539 U.S. 306
                 (2003) (No. 02-241))). The Court should consider grant-
                 ing the government’s petition in these related cases for
                 similar reasons. Specifically, reviewing these cases in
                 addition to the Regents cases would ensure that the
                 Court receives the fullest presentation of the overlap-
                 ping issues and would immediately bring before it any




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                 intervening decision by the Second Circuit addressing
                 the questions presented. See Pet. 15-17.
                     Contrary to respondents’ contention (State Br. in
                 Opp. 25), the cases before the Second Circuit do not pre-
                 sent an “especially poor vehicle to address” the ques-
                 tions presented. Like the district court in Regents, the
                 district court here addressed the merits of all respond-
                 ents’ claims in resolving the government’s motion to dis-
                 miss and certified its order for interlocutory appeal.
                 Pet. App. 133a-171a. And like the Ninth Circuit in Re-
                 gents, after accepting the interlocutory appeal, the Sec-
                 ond Circuit consolidated the appeals of the preliminary
                 injunction and the motion-to-dismiss orders. See Pet.
                 13. Granting certiorari before judgment would there-
                 fore bring the entire case before this Court.
                     Respondents err in asserting (State Br. in Opp. 27)
                 that the earlier dispute about the scope of the record
                 would inhibit this Court’s review. As in Regents, re-
                 spondents themselves recognize (ibid.) that the Court
                 does not need to resolve any record issues to review the
                 preliminary injunction itself. They likewise accept
                 (ibid.) that the Court would not need to resolve the
                 scope of the record for APA review if it determines the
                 rescission is not reviewable under the APA at all. If the
                 Court determines that the merits of respondents’ claim
                 are reviewable under the APA, it may need to deter-
                 mine the scope of the record. But in those circum-
                 stances, the record issues would not be “outside of this
                 Court’s potential review.” Id. at 27 n.14. To the extent
                 that resolving the government’s motion to dismiss these
                 cases depends on resolving the record issues, then the
                 district court’s certification for interlocutory appeal of
                 its motion-to-dismiss order also places those issues be-
                 fore the court of appeals—and therefore before this




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                 Court. Under 28 U.S.C. 1292(b), the “scope of review
                 includes all issues material to the order in question.”
                 Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199,
                 205 (1996) (brackets and citation omitted); see
                 16 Charles Alan Wright et al., Federal Practice and
                 Procedure § 3929 (3d ed. 2012 & Supp. 2018) (“The court
                 [of appeals] may * * * consider any question reasona-
                 bly bound up with [a] certified order, whether it is ante-
                 cedent to, broader or narrower than, or different from
                 the question specified by the district court.”). And
                 the record issues are themselves ones on which the
                 lower courts are in need of this Court’s guidance.
                 See, e.g., In re United States, 138 S. Ct. 443 (2017) (per
                 curiam); Department of Commerce v. United States
                 Dist. Court for the S. Dist. of N.Y., cert. granted, No.
                 18-557 (oral argument scheduled for Feb. 19, 2018).
                    3. At a minimum, the Court should hold this petition
                 pending resolution of the Regents petition and any fur-
                 ther proceedings before this Court. Because the dis-
                 trict court here issued a nationwide injunction identical
                 to the one in Regents, an order vacating the injunction
                 in Regents would have no immediate practical effect un-
                 less the injunction issued here is also vacated. Holding
                 this petition (or granting it) is the most efficient way to
                 accomplish that result. Pet. 16-17.
                    Respondents contend (State Br. in Opp. 30) that a hold
                 is unwarranted because the Court “would benefit from
                 a [subsequent] petition that addresses the Second Cir-
                 cuit’s reasoning * * * tailored to the issues and circum-
                 stances at that time.” But respondents concede (ibid.)
                 that “Regents is adequately postured to present for re-
                 view the same categories of claims and issues raised
                 here.” If the Court grants the Regents petition and the
                 Second Circuit addresses those issues before this Court




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                 issues its decision, any relevant analysis can be ad-
                 dressed in the briefing for Regents. And if the Court de-
                 cides Regents before the Second Circuit issues its deci-
                 sion, that will control the Second Circuit’s analysis. *
                                        * * * * *
                     For the foregoing reasons and those stated in the pe-
                 tition, the petition for a writ of certiorari before judg-
                 ment should either be granted and consolidated with
                 United States DHS v. Regents of the University of Cal-
                 ifornia, No. 18-587 (filed Nov. 5, 2018), or, at a mini-
                 mum, be held pending resolution of the government’s
                 other petitions and any further proceedings in this
                 Court.
                      Respectfully submitted.
                                                       NOEL J. FRANCISCO
                                                        Solicitor General

                 JANUARY 2019




                  *
                     The Second Circuit is also considering the district court’s refusal
                 to dismiss a due-process claim based on DHS’s alleged failure to
                 process certain renewal requests made after the rescission, which
                 arrived late to DHS or contained clerical errors. See Pet. App. 170a.
                 But the government is not challenging that ruling here, and the rul-
                 ing provides no basis for the district court’s nationwide preliminary
                 injunction preventing DACA’s rescission. See Pet. 13 n.4.




                                                                                           AR3901
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                            Nos. 18-587, 18-588, and 18-589

                 In the Supreme Court of the United States
                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                      PETITIONERS

                                            v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                                 ON WRIT OF CERTIORARI
                         TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT


                             BRIEF FOR THE PETITIONERS


                                                 NOEL J. FRANCISCO
                                                   Solicitor General
                                                     Counsel of Record
                                                 JOSEPH H. HUNT
                                                   Assistant Attorney
                                                     General
                                                 JEFFREY B. WALL
                                                   Deputy Solicitor General
                                                 HASHIM M. MOOPPAN
                                                   Deputy Assistant Attorney
                                                     General
                                                 JONATHAN Y. ELLIS
                                                   Assistant to the Solicitor
                                                     General
                                                 MARK B. STERN
                                                 ABBY C. WRIGHT
                                                 THOMAS PULHAM
                                                   Attorneys
                                                   Department of Justice
                                                   Washington, D.C. 20530-0001
                                                   SupremeCtBriefs@usdoj.gov
                                                   (202) 514-2217



                        Additional Captions Listed on Inside Cover




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                  DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                ET AL., PETITIONERS

                                          v.
                     NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                             OF COLORED PEOPLE, ET AL.


                        ON WRIT OF CERTIORARI BEFORE JUDGMENT
                         TO THE UNITED STATES COURT OF APPEALS
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT


                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                      HOMELAND SECURITY, ET AL., PETITIONERS
                                       v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                        ON WRIT OF CERTIORARI BEFORE JUDGMENT
                         TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE SECOND CIRCUIT




                                                                            AR3903
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                                QUESTIONS PRESENTED
                     This dispute concerns the policy of immigration en-
                 forcement discretion known as Deferred Action for Child-
                 hood Arrivals (DACA). In 2016, this Court affirmed, by
                 an equally divided vote, a decision of the Fifth Circuit
                 holding that two related Department of Homeland Se-
                 curity (DHS) discretionary enforcement policies, includ-
                 ing an expansion of the DACA policy, were likely unlaw-
                 ful and should be enjoined. See United States v. Texas,
                 136 S. Ct. 2271 (per curiam). In September 2017, DHS
                 determined that the original DACA policy was unlawful
                 and would likely be struck down by the courts on the
                 same grounds as the related policies. DHS thus insti-
                 tuted an orderly wind-down of the DACA policy. The
                 questions presented are as follows:
                     1. Whether DHS’s decision to wind down the DACA
                 policy is judicially reviewable.
                     2. Whether DHS’s decision to wind down the DACA
                 policy is lawful.




                                           (I)




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                 In the Supreme Court of the United States
                                      No. 18-587
                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                     PETITIONERS
                                          v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                            ON WRIT OF CERTIORARI TO THE
                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT

                                     No. 18-588
                     DONALD J. TRUMP, PRESIDENT OF THE UNITED
                            STATES, ET AL., PETITIONERS
                                         v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                            OF COLORED PEOPLE, ET AL.

                        ON WRIT OF CERTIORARI BEFORE JUDGMENT
                         TO THE UNITED STATES COURT OF APPEALS
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                     No. 18-589
                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                      HOMELAND SECURITY, ET AL., PETITIONERS
                                       v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.

                        ON WRIT OF CERTIORARI BEFORE JUDGMENT
                         TO THE UNITED STATES COURT OF APPEALS
                                 FOR THE SECOND CIRCUIT

                            BRIEF FOR THE PETITIONERS


                                         (1)




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                                     OPINIONS BELOW
                     In Department of Homeland Security v. Regents of
                 the University of California, No. 18-587 (Regents), the
                 opinion of the court of appeals (Regents Supp. Br. App.
                 1a-87a) is reported at 908 F.3d 476, and the orders of
                 the district court granting respondents’ motion for a
                 preliminary injunction and granting in part and denying
                 in part the government’s motion to dismiss (Regents
                 Pet. App. 1a-70a, 71a-90a) are reported at 279 F. Supp.
                 3d 1011 and 298 F. Supp. 3d 1304. In Trump v. NAACP,
                 No. 18-588 (NAACP), the order of the district court grant-
                 ing respondents summary judgment (NAACP Pet. App.
                 1a-74a) is reported at 298 F. Supp. 3d 209, and the order
                 of the district court declining to reconsider its prior order
                 (NAACP Pet. App. 80a-109a) is reported at 315 F. Supp.
                 3d 457. In McAleenan v. Batalla Vidal, No. 18-589 (Ba-
                 talla Vidal), the order of the district court granting re-
                 spondents’ motion for a preliminary injunction (Batalla
                 Vidal Pet. App. 62a-129a) is reported at 279 F. Supp. 3d
                 401, and the orders of the district court granting in part
                 and denying in part the government’s motion to dismiss
                 (Batalla Vidal Pet. App. 1a-58a, 133a-171a) are reported
                 at 295 F. Supp. 3d 127 and 291 F. Supp. 3d 260.
                                       JURISDICTION
                     In Regents, the judgment of the court of appeals was
                 entered on November 8, 2018. In NAACP, the judg-
                 ment of the district court was entered on August 3, 2018
                 (NAACP Pet. App. 110a-111a); the notices of appeal
                 were filed on August 6, 2018 (id. at 112a-115a); and the
                 appeal was docketed in the court of appeals on August
                 10, 2018. The court of appeals’ jurisdiction rests on
                 28 U.S.C. 1291. In Batalla Vidal, the district court cer-
                 tified its orders granting in part and denying in part the
                 government’s motion to dismiss on January 8, 2018, and




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                 April 30, 2018; the notices of appeal were filed, respec-
                 tively, on January 8, 2018 (Batalla Vidal Pet. App. 59a-
                 61a), and May 21, 2018 (id. at 172a-174a); and the ap-
                 peals of those orders were docketed on July 5, 2018.
                 The district court entered its preliminary injunction on
                 February 13, 2018 (id. at 62a-129a); the notice of appeal
                 was filed on February 20, 2018 (id. at 130a-132a); and
                 the appeal was docketed on the same day. The court of
                 appeals’ jurisdiction over the appeals of the certified or-
                 ders in Batalla Vidal rests on 28 U.S.C. 1292(b). The
                 court of appeals’ jurisdiction over the appeal of the pre-
                 liminary injunction rests on 28 U.S.C. 1292(a)(1). The
                 petitions for writs of certiorari in all three cases were
                 filed on November 5, 2018, and were granted on June
                 28, 2019. The jurisdiction of this Court rests on 28 U.S.C.
                 1254(1) and 2101(e).
                           CONSTITUTIONAL AND STATUTORY
                               PROVISIONS INVOLVED
                    Relevant constitutional and statutory provisions are
                 reproduced in an appendix to this brief. App., infra,
                 1a-22a.
                                       STATEMENT
                    A. Legal Framework
                    The Immigration and Nationality Act (INA), 8 U.S.C.
                 1101 et seq., charges the Secretary of Homeland Secu-
                 rity “with the administration and enforcement” of the
                 immigration laws. 8 U.S.C. 1103(a)(1). The Secretary
                 is vested with the authority to “establish such regula-
                 tions; * * * issue such instructions; and perform such
                 other acts as he deems necessary for carrying out his
                 authority” under the Act, and is given “control, direc-
                 tion, and supervision” of all Department of Homeland
                 Security (DHS) employees. 8 U.S.C. 1103(a)(2) and (3).




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                     Individual aliens are subject to removal if, inter alia,
                 “they were inadmissible at the time of entry, have been
                 convicted of certain crimes, or meet other criteria set
                 by federal law.” Arizona v. United States, 567 U.S. 387,
                 396 (2012); see 8 U.S.C. 1182(a) (2012 & Supp. V 2017),
                 8 U.S.C. 1227(a). As a practical matter, however, the
                 Executive Branch lacks the resources to remove every
                 removable alien, and a “principal feature of the removal
                 system is the broad discretion exercised by immigration
                 officials.” Arizona, 567 U.S. at 396. For any alien subject
                 to removal, DHS officials must first “decide whether it
                 makes sense to pursue removal at all.” Ibid. After re-
                 moval proceedings begin, government officials may de-
                 cide to grant discretionary relief, such as asylum or can-
                 cellation of removal. See 8 U.S.C. 1158(b)(1)(A), 1229b.
                 And, “[a]t each stage” of the process, “the Executive has
                 discretion to abandon the endeavor.” Reno v. American-
                 Arab Anti-Discrimination Comm., 525 U.S. 471, 483
                 (1999) (AADC).
                     In making these decisions, like other agencies exer-
                 cising enforcement discretion, DHS must engage in “a
                 complicated balancing of a number of factors which are
                 peculiarly within its expertise.” Heckler v. Chaney,
                 470 U.S. 821, 831 (1985). Recognizing the need for such
                 balancing, Congress has provided that the “Secretary
                 [of Homeland Security] shall be responsible for * * *
                 [e]stablishing national immigration enforcement poli-
                 cies and priorities.” 6 U.S.C. 202(5).1
                     Deferred action is a practice in which the Secretary
                 exercises enforcement discretion to notify an alien of
                 the agency’s decision to forbear from seeking the alien’s
                 removal for a designated period. AADC, 525 U.S. at

                  1
                    All references to Section 202(5) are to 6 U.S.C. 202(5) (2012 &
                 Supp. V 2017).




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                 484. Under DHS regulations, aliens granted deferred
                 action may receive certain benefits, including work
                 authorization for the same period if they establish eco-
                 nomic necessity, 8 C.F.R. 274a.12(c)(14). A grant of de-
                 ferred action does not confer lawful immigration status
                 or provide any defense to removal. DHS retains discre-
                 tion to revoke deferred action unilaterally, and the alien
                 remains removable at any time. Regents Pet. App. 101a.
                      B. Factual Background
                    1. a. In 2012, DHS announced the nonenforcement
                 policy known as Deferred Action for Childhood Arrivals
                 (DACA). Regents Pet. App. 97a-101a. DACA provided
                 deferred action to “certain young people who were
                 brought to this country as children.” Id. at 97a. The
                 INA does not provide any exemptions or special relief
                 from removal for such individuals. And dating back to
                 at least 2001, bipartisan efforts to provide such relief
                 legislatively had failed (and have continued to fail).2 Un-
                 der the DACA policy, following successful completion of
                 a background check and other review, an alien would
                 receive deferred action for a period of two years, sub-
                 ject to renewal. Id. at 99a-100a. The policy specified,
                 however, that it “confer[red] no substantive right, immi-
                 gration status or pathway to citizenship,” because “[o]nly
                 the Congress, acting through its legislative authority,
                 can confer these rights.” Id. at 101a.
                    In 2014, DHS announced an expansion of the DACA
                 policy and a new, related policy of nonenforcement
                 known as Deferred Action for Parents of Americans and
                 Lawful Permanent Residents (DAPA). Regents Pet.

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                    See, e.g., S. 1291, 107th Cong., 1st Sess. (2001); S. 2075, 109th
                 Cong., 1st Sess. (2005); S. 3827, 111th Cong., 2d Sess. (2010); S. 744,
                 113th Cong., 1st Sess. (2013); S. 1615, 115th Cong., 1st Sess. (2017).




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                 App. 102a-110a. The expansion of DACA would have
                 loosened the age and residency criteria and extended the
                 deferred-action period to three years. Id. at 106a-107a.
                 DAPA would have provided deferred action to certain
                 parents whose children were U.S. citizens or lawful per-
                 manent residents through a process designed to be
                 “similar to DACA.” Id. at 107a.
                    b. Texas and 25 other States promptly brought suit
                 in the Southern District of Texas to enjoin DAPA and
                 the expansion of DACA. The district court issued a na-
                 tionwide preliminary injunction, finding a likelihood of
                 success on the claim that the DAPA and expanded DACA
                 memorandum violated the notice-and-comment require-
                 ment of the Administrative Procedure Act (APA),
                 5 U.S.C. 701 et seq. Texas v. United States, 86 F. Supp.
                 3d 591 (S.D. Tex. 2015).
                    The Fifth Circuit affirmed the preliminary injunc-
                 tion, holding that DAPA and expanded DACA likely vi-
                 olated both the APA and INA. Texas v. United States,
                 809 F.3d 134, 146, 170-186 (2015). The court agreed that
                 the DAPA and expanded DACA memorandum likely re-
                 quired notice-and-comment rulemaking. Id. at 178. It
                 also concluded that the policies were likely substan-
                 tively contrary to the INA. Ibid. The court reasoned
                 that the INA contains an “intricate system of immigra-
                 tion classifications and employment eligibility,” and
                 “does not grant the Secretary discretion to grant de-
                 ferred action and lawful presence on a class-wide basis
                 to 4.3 million otherwise removable aliens.” Id. at 184,
                 186 n.202.




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                     This Court affirmed the Fifth Circuit’s judgment by
                 an equally divided vote. United States v. Texas, 136 S. Ct.
                 2271, 2272 (2016) (per curiam). 3
                     c. Following this Court’s decision, two relevant
                 events occurred concerning the original DACA policy.
                 First, Texas and other States in the Texas case an-
                 nounced their intention to amend their complaint
                 to challenge DACA. J.A. 872-876. They asserted that
                 “[f ]or the[] same reasons that DAPA and Expanded
                 DACA’s unilateral Executive Branch conferral of eligi-
                 bility for lawful presence and work authorization was
                 unlawful, the original June 15, 2012 DACA memoran-
                 dum is also unlawful.” J.A. 873. Second, in a letter to
                 then-Acting Secretary of Homeland Security Elaine C.
                 Duke, then-Attorney General Jefferson B. Sessions III
                 concluded that, like the DAPA policy, the DACA policy
                 was effectuated “without proper statutory authority,”
                 and thus “it [wa]s likely that [the] potentially imminent
                 litigation would yield similar results” to the Texas liti-
                 gation. J.A. 877-878.
                     2. On September 5, 2017, DHS decided to wind down
                 DACA in an orderly fashion. Regents Pet. App. 111a-
                 119a (Duke Memorandum). Acting Secretary Duke ex-
                 plained that, “[t]aking into consideration the Supreme
                 Court’s and the Fifth Circuit’s rulings in the ongoing
                 litigation,” as well as the Attorney General’s view that
                 the DACA policy was unlawful and that the “potentially
                 imminent” challenge to DACA would “likely * * * yield
                 similar results” as the Texas litigation, “it is clear that
                 the June 15, 2012 DACA program should be termi-


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                    After consulting with the Attorney General, then-Secretary of
                 Homeland Security John Kelly rescinded the memorandum an-
                 nouncing DAPA and expanded DACA. J.A. 868-871.




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                 nated.” Id. at 116a-117a. The Acting Secretary accord-
                 ingly announced that, “[i]n the exercise of [her] author-
                 ity in establishing national immigration policies and pri-
                 orities,” the original DACA policy was “rescind[ed].”
                 Id. at 117a.
                     The Duke Memorandum stated, however, that the
                 government would “not terminate the grants of previ-
                 ously issued deferred action * * * solely based on the
                 directives in this memorandum.” Regents Pet. App.
                 118a. It also explained that DHS would “provide a lim-
                 ited window” in which it would “adjudicate—on an indi-
                 vidual, case by case basis—properly filed pending DACA
                 renewal requests * * * from current beneficiaries that
                 have been accepted by the Department as of the date of
                 this memorandum, and from current beneficiaries whose
                 benefits will expire between the date of this memoran-
                 dum and March 5, 2018 that have been accepted by the
                 Department as of October 5, 2017.” Id. at 117a-118a.
                      C. Procedural History
                    These challenges to DACA’s rescission were filed in
                 the Northern District of California, the District of Co-
                 lumbia, and the Eastern District of New York. See J.A.
                 376-796.4 Collectively, respondents allege that the re-
                 scission of DACA is arbitrary and capricious under the
                 APA; violates the APA’s requirement for notice-and-



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                    The government’s petition for a writ of certiorari to review the
                 Fourth Circuit’s judgment in another challenge to the rescission is
                 pending before this Court. See DHS v. Casa de Maryland,
                 No. 18-1469 (filed May 24, 2019). After the Court granted review in
                 these cases, the government asked the Court to hold the petition in
                 Casa de Maryland pending the Court’s decision here.




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                 comment rulemaking; and denies equal protection and
                 due process to DACA recipients.5
                        1. District courts enjoin or vacate the rescission on a
                           nationwide basis
                    In all three of the cases before the Court, district
                 courts either enjoined or vacated DHS’s decision on a
                 nationwide basis.
                    a. In Regents and Batalla Vidal, the district courts
                 granted in part and denied in part the government’s mo-
                 tions to dismiss, and entered identical preliminary in-
                 junctions. Regents Pet. App. 1a-90a; Batalla Vidal Pet.
                 App. 1a-58a, 62a-129a, 133a-171a. Those courts deter-
                 mined that, although agency enforcement decisions
                 “are generally not reviewable,” the rescission of DACA
                 was different because it terminated a general policy of
                 nonenforcement, and the “main” rationale was the “sup-
                 posed illegality” of the prior policy. Regents Pet. App.
                 27a-28a, 30a (citation omitted); see Batalla Vidal Pet.
                 App. 29a-30a. They further concluded that the rescis-
                 sion was likely arbitrary and capricious, primarily be-
                 cause, in their view, DACA was lawful. Regents Pet.
                 App. 42a; Batalla Vidal Pet. App. 91a. Each court or-
                 dered the government to maintain DACA “on the same
                 terms and conditions as were in effect before the rescis-
                 sion,” with certain exceptions, principally that “new ap-
                 plications from applicants who have never before re-
                 ceived deferred action need not be processed.” Regents
                 Pet. App. 66a-67a. The courts also both declined to dis-
                 miss the equal protection claim, finding that respond-


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                     The notice-and-comment claim and due process challenge to the
                 rescission have been uniformly rejected by the lower courts and are
                 not at issue before this Court.




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                 ents’ allegations “raise[d] a plausible inference that ra-
                 cial animus towards Mexicans and Latinos was a moti-
                 vating factor in the decision to end DACA.” Id. at 87a;
                 see id. at 83a-87a; Batalla Vidal Pet. App. 152a-153.
                     b. In NAACP, the district court granted summary
                 judgment to respondents and vacated the rescission of
                 DACA in its entirety. NAACP Pet. App. 1a-74a. Like the
                 other district courts, the D.C. district court determined
                 that the rescission was reviewable because it was “a
                 general enforcement policy predicated on [a] legal de-
                 termination that the program was invalid.” Id. at 43a.
                 Unlike the other courts, the D.C. district court did not
                 address whether DHS’s legal conclusion was correct—
                 i.e., whether DACA was lawful. Id. at 50a. Instead, the
                 court concluded that the Duke Memorandum’s “legal
                 reasoning was insufficient” to satisfy arbitrary-and-
                 capricious review. Id. at 51a. In light of that ruling, the
                 court deferred addressing respondents’ equal protec-
                 tion claim. Id. at 66a-67a. And it stayed its order for
                 90 days to permit DHS to “reissue a memorandum re-
                 scinding DACA, this time providing a fuller explanation.”
                 Id. at 66a.
                       2. Secretary Nielsen further explains the rescission
                    On June 22, 2018, then-Secretary of Homeland Secu-
                 rity Kirstjen M. Nielsen issued a memorandum respond-
                 ing to the D.C. district court’s invitation to provide fur-
                 ther explanation of DHS’s decision to rescind DACA.
                 Regents Pet. App. 120a-126a (Nielsen Memorandum).
                 Secretary Nielsen explained that “the DACA policy
                 properly was—and should be—rescinded, for several
                 separate and independently sufficient reasons.” Id. at
                 122a.




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                    First, the Secretary agreed that “the DACA policy
                 was contrary to law.” Regents Pet. App. 122a. The Sec-
                 retary endorsed the Fifth Circuit’s conclusion that “ ‘the
                 INA d[id] not grant [her] discretion to grant deferred
                 action and lawful presence on a class-wide basis’ ” at the
                 scale of the DAPA policy, and she explained that “[a]ny
                 arguable distinctions between the DAPA and DACA
                 policies” were “not sufficiently material” to alter that
                 conclusion. Ibid. (citation omitted); see id. at 122a-123a.
                    Second, the Secretary reasoned that, “[l]ike Acting
                 Secretary Duke, [she] lack[ed] sufficient confidence in the
                 DACA policy’s legality to continue this non-enforcement
                 policy, whether the courts would ultimately uphold it or
                 not.” Regents Pet. App. 123a. She noted “sound rea-
                 sons for a law enforcement agency to avoid discretion-
                 ary policies that are legally questionable,” including the
                 risk of “undermin[ing] public confidence” in the agency
                 and “the threat of burdensome litigation that distracts
                 from the agency’s work.” Ibid.
                    Third, the Secretary offered several “reasons of en-
                 forcement policy to rescind the DACA policy,” regard-
                 less of whether the policy is “illegal or legally question-
                 able.” Regents Pet. App. 123a. She reasoned that, in
                 her view, “public policies of non-enforcement * * * for
                 broad classes and categories of aliens” should be “en-
                 acted legislatively,” not “under the guise of prosecuto-
                 rial discretion.” Id. at 123a-124a. She reasoned that
                 DHS should exercise its prosecutorial discretion only
                 “on a truly individualized, case-by-case basis.” Id. at
                 124a. And she reasoned that, given the unacceptably
                 high numbers of illegal border crossings, it was “criti-
                 cally important for DHS to project a message that
                 leaves no doubt regarding the clear, consistent, and




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                 transparent enforcement of the immigration laws against
                 all classes and categories of aliens.” Ibid.
                     Finally, the Secretary explained that, although she
                 “d[id] not come to these conclusions lightly,” “neither
                 any individual’s reliance on the expected continuation of
                 the DACA policy nor the sympathetic circumstances of
                 DACA recipients as a class” outweigh the reasons to
                 end the policy. Regents Pet. App. 125a. And she noted
                 that the rescission of the policy would not “preclude the
                 exercise[] of deferred action in individual cases if cir-
                 cumstances warrant.” Ibid.
                       3. The D.C. district court declines to reconsider its
                          decision in light of the Nielsen Memorandum
                    Following Secretary Nielsen’s memorandum, the
                 D.C. district court denied the government’s motion to
                 reconsider its prior order. NAACP Pet. App. 80a-109a.
                 The court refused to reconsider whether DHS’s deci-
                 sion was reviewable, reasoning that the Nielsen Memo-
                 randum, like the Duke Memorandum, was based “first
                 and foremost” on the view that “ ‘the DACA policy was
                 contrary to law.’ ” Id. at 97a (citation omitted). And the
                 court concluded that the independent, non-legal policy
                 reasons offered by Secretary Nielsen were simply “at-
                 tempt[s] to disguise an objection to DACA’s legality as a
                 policy justification for its rescission.” Id. at 100a. On the
                 merits, the court reaffirmed its conclusion that DHS
                 had not provided a sufficient “legal assessment.” Id. at
                 105a. The court further asserted that the Secretary’s
                 memorandum “fail[ed] to engage meaningfully with the
                 reliance interests and other countervailing factors that
                 weigh against ending the program.” Ibid. The court
                 therefore reaffirmed its conclusion that the rescission
                 “must be set aside” in its entirety, id. at 109a; see id. at




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                 109a n.13, though it ultimately stayed its order with re-
                 spect to aspects of the rescission exempted from the in-
                 junctions issued in California and New York, 17-cv-1907
                 D. Ct. Doc. 31 (Aug. 17, 2018). See p. 19, supra.
                       4. The Ninth Circuit affirms the nationwide preliminary
                          injunction
                    Several months later, the Ninth Circuit in Regents af-
                 firmed the preliminary injunction and the orders resolv-
                 ing the government’s motion to dismiss. Regents Supp.
                 Br. App. 1a-87a.
                    a. The panel majority acknowledged that an agency’s
                 nonenforcement decision is “generally committed to an
                 agency’s absolute discretion.” Regents Supp. Br. App.
                 25a (citation omitted). But it reasoned that such a deci-
                 sion is nevertheless reviewable if it is “based solely on a
                 belief that the agency lacked the lawful authority to do
                 otherwise.” Id. at 29a. The panel majority determined
                 that DACA’s rescission, as reflected in the initial Duke
                 Memorandum, rested exclusively on “a belief that DACA
                 was unlawful,” not on concerns about maintaining the pol-
                 icy in the face of the then-ongoing litigation or any other
                 exercise of the agency’s discretion. Id. at 35a; see id. at
                 35a-42a. And it refused to consider the Nielsen Memo-
                 randum, suggesting that it was an impermissible “post-
                 hoc rationalization[]” and was not part of the record. Id.
                 at 57a-58a n.24 (citation omitted). On the merits, the
                 panel majority agreed that respondents were likely to
                 succeed on their APA claim because DHS’s decision was
                 based entirely on an erroneous legal conclusion that
                 DACA was unlawful. Id. at 45a-60a.
                    The panel also affirmed the denial of the govern-
                 ment’s motion to dismiss respondents’ equal protection




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                 claim, concluding that respondents had plausibly al-
                 leged that the rescission was racially motivated. Re-
                 gents Supp. Br. App. 73a-77a.
                    b. Judge Owens concurred. Regents Supp. Br. App.
                 79a-87a. He disagreed that the rescission was reviewa-
                 ble “for compliance with the APA.” Id. at 79a. He ex-
                 plained that “when determining the scope of permissible
                 judicial review, courts consider only the type of agency
                 action at issue, not the agency’s reasons for acting,” and
                 that DHS’s decision to “rescind a non-enforcement policy
                 in the immigration context is th[e] type of administra-
                 tive action” that this Court has recognized is “ ‘commit-
                 ted to agency discretion by law.’ ” Id. at 79a-80a, 83a (ci-
                 tation omitted). Nevertheless, Judge Owens explained
                 that he would affirm the preliminary injunction and re-
                 mand for the district court to consider whether re-
                 spondents’ equal protection claim provided an alterna-
                 tive ground for enjoining the rescission. Id. at 84a-85a.
                                SUMMARY OF ARGUMENT
                    I. The orders and judgments under review hold that
                 DACA’s rescission either is or likely is arbitrary and ca-
                 pricious under the APA. But the rescission is not re-
                 viewable under that standard. Section 701(a)(2) ex-
                 empts agency action from arbitrary-and-capricious re-
                 view to the extent the action is “committed to agency
                 discretion by law.” A decision to rescind a policy of
                 nonenforcement is a quintessential action committed to
                 an agency’s absolute discretion, absent a statutory di-
                 rective limiting that discretion. And no one contends
                 that the INA itself limits DHS’s authority to resume en-
                 forcing the law as written.
                    The lower courts held that Section 701(a)(2) does not
                 apply to DACA’s rescission principally on the ground
                 that DHS based its decision solely on a determination




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                 that DACA was unlawful. Even if the rescission were
                 based solely on DHS’s legal judgment, however, this
                 Court has squarely held that an otherwise unreviewable
                 agency action does not become reviewable due to the
                 reasons that an agency provides. In any event, the re-
                 scission did not rest solely on a legal rationale. The
                 Duke and Nielsen Memoranda make clear that DHS’s
                 decision also rests on policy grounds. The lower courts’
                 reasons for disregarding those policy rationales are un-
                 persuasive. Thus, even under the lower courts’ theory,
                 arbitrary-and-capricious review is unavailable.
                    II. Even assuming the rescission were reviewable,
                 DHS provided multiple, independently sufficient grounds
                 for withdrawing DACA. First, as a practical matter,
                 DHS was reasonably concerned about maintaining a
                 nonenforcement policy that is similar to, if not materi-
                 ally indistinguishable from, two related policies that the
                 Fifth Circuit had held unlawful, in a decision affirmed
                 by an equally divided vote of this Court. Second, as a
                 matter of policy, DHS wanted to terminate a legally
                 questionable nonenforcement policy and leave the crea-
                 tion of policies as significant as DACA to Congress.
                 Third, as a matter of law, DHS correctly, and at a mini-
                 mum reasonably, concluded that DACA is unlawful.
                 None of those three grounds is remotely arbitrary or
                 capricious, let alone all three. Finally, respondents’
                 equal protection claim fails as a matter of law and pro-
                 vides no basis for affirming the orders and judgments
                 below.




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                                       ARGUMENT
                     These cases concern the Executive Branch’s author-
                 ity to revoke a discretionary policy of nonenforcement
                 that is sanctioning an ongoing violation of federal immi-
                 gration law by nearly 700,000 aliens. At best, DACA is
                 legally questionable; at worst, it is illegal. Either way,
                 DACA is similar to, if not materially indistinguishable
                 from, the policies—including an expansion of DACA
                 itself—that the Fifth Circuit previously held were con-
                 trary to federal immigration law in a decision that this
                 Court affirmed by an equally divided vote. In the face
                 of those decisions, DHS reasonably determined—based
                 on both legal concerns and enforcement priorities—that
                 it no longer wished to retain DACA. Yet two nationwide
                 preliminary injunctions have forced DHS to maintain
                 this entirely discretionary policy for nearly two years.
                     Contrary to the decisions below, the APA does not
                 require DHS to retain a discretionary policy that the
                 INA at most barely permits and likely forbids. Deci-
                 sions about how the government will exercise enforce-
                 ment discretion within the bounds of the law are uniquely
                 entrusted to the Executive Branch. The APA’s judicial-
                 review provision thus does not apply. But even if DHS’s
                 decision were reviewable, DHS’s legal and policy justi-
                 fications for discontinuing DACA were not remotely ar-
                 bitrary or capricious. DACA was created as a tempo-
                 rary, stopgap measure in 2012, after legislative efforts
                 to provide permanent immigration relief for a similar
                 class of aliens repeatedly failed. DHS has offered a
                 number of reasons why it now wishes to withdraw that
                 policy and instead enforce the INA as written, and the
                 lower courts’ criticisms of those rationales do not with-
                 stand scrutiny.




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                 I. DACA’S RESCISSION IS NOT JUDICIALLY REVIEWA-
                    BLE UNDER THE APA
                    The courts below each found that the rescission of
                 DACA either is or likely is arbitrary and capricious un-
                 der the APA, 5 U.S.C. 706(2)(A). But Section 706(2)(A)
                 does not apply to agency actions to the extent those
                 actions are “committed to agency discretion by law.”
                 5 U.S.C. 701(a)(2). And DACA’s rescission is a quintes-
                 sential exercise of enforcement discretion to which
                 arbitrary-and-capricious review does not apply.
                    A. DHS’s Decision To Rescind A Policy Of Enforcement
                       Discretion Is Committed To Agency Discretion By Law
                    “Over the years,” this Court has interpreted Section
                 701(a)(2) to apply to various types of agency decisions
                 that “traditionally” have been regarded as unsuitable
                 for judicial review. Lincoln v. Vigil, 508 U.S. 182, 191
                 (1993). That provision precludes review, for example, of
                 an agency’s decision not to institute enforcement ac-
                 tions, Heckler v. Chaney, 470 U.S. 821, 831 (1985); an
                 agency’s refusal to reconsider a prior decision based on
                 an alleged “material error,” ICC v. Brotherhood of Lo-
                 comotive Eng’rs, 482 U.S. 270, 282 (1987) (BLE); and an
                 agency’s allocation of funds from a lump-sum appropri-
                 ation, Lincoln, 508 U.S. at 192. The same is especially
                 true of an agency decision to rescind a discretionary pol-
                 icy of nonenforcement against a category of individuals
                 who are violating the law on an ongoing basis.
                    1. Chaney is most instructive. The Court there con-
                 sidered a challenge to the decision of the Food and Drug
                 Administration (FDA) not to enforce the Federal Food,
                 Drug, and Cosmetic Act (FDCA), 21 U.S.C. 301 et seq.,
                 against the “unapproved use of approved drugs” for
                 capital punishment. Chaney, 470 U.S. at 824. The FDA
                 had reasoned that it lacked jurisdiction to bring such




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                 enforcement actions and that, even if it had jurisdiction,
                 the agency would exercise its “inherent” enforcement
                 discretion to decline to do so. Ibid. The Court refused
                 to subject the agency’s decision to arbitrary-and-
                 capricious review. Id. at 831.
                    The Court observed that “an agency’s decision not to
                 prosecute or enforce, whether through civil or criminal
                 process,” is “generally committed to an agency’s abso-
                 lute discretion” and “unsuitab[le] for judicial review.”
                 Chaney, 470 U.S. at 831. It explained that a decision not
                 to enforce “often involves a complicated balancing of a
                 number of factors which are peculiarly within [the
                 agency’s] expertise,” including “whether agency re-
                 sources are best spent on this violation or another” and
                 whether enforcement in a particular scenario “best fits
                 the agency’s overall policies.” Ibid. The Court noted,
                 in addition, that when an agency declines to enforce, it
                 “generally does not exercise its coercive power over an
                 individual’s liberty or property rights, and thus does not
                 infringe upon areas that courts often are called upon to
                 protect.” Id. at 832. And it recognized that agency en-
                 forcement discretion “shares to some extent the char-
                 acteristics of the decision of a prosecutor in the Execu-
                 tive Branch not to indict—a decision which has long
                 been regarded as the special province of the Executive
                 Branch.” Ibid. Accordingly, the Court concluded that,
                 absent a statute “circumscribing an agency’s power to
                 discriminate among issues or cases it will pursue,” the
                 agency’s “exercise of enforcement power” is “commit-
                 ted to agency discretion by law.” Id. at 833, 835.
                    DHS’s decision to discontinue the DACA policy is ex-
                 actly the type of agency decision that traditionally has
                 been understood as unsuitable for judicial review and




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                 therefore “committed to agency discretion” under Sec-
                 tion 701(a)(2). Like the decision to adopt a policy of non-
                 enforcement, the decision whether to retain such a pol-
                 icy “often involves a complicated balancing” of factors that
                 are “peculiarly within [the] expertise” of the agency, in-
                 cluding determining how the agency’s resources are best
                 spent in light of its overall priorities. Chaney, 470 U.S. at
                 831. Likewise, a decision to abandon an existing nonen-
                 forcement policy will not, by itself, bring to bear the
                 agency’s coercive power over any individual; that will
                 occur only if any resulting enforcement proceeding leads
                 to a final adverse order. And, like a decision to adopt a
                 nonenforcement policy, an agency’s decision to reverse
                 a prior policy of nonenforcement is akin to changes in
                 policy as to criminal prosecutorial discretion. Casa de
                 Maryland v. DHS, 924 F.3d 684, 709 (4th Cir. 2019)
                 (Richardson, J., dissenting in relevant part), petition for
                 cert. pending, No. 18-1469 (filed May 24, 2019). Such
                 discretion is regularly exercised within the Department
                 of Justice, both within and between presidential admin-
                 istrations, and separation-of-powers considerations un-
                 derscore why it has never been considered amenable to
                 APA review. See United States v. Armstrong, 517 U.S.
                 456, 464 (1996).
                    Accordingly, absent a statutory directive “otherwise
                 circumscribing” DHS’s traditional discretion, there is
                 no “law to apply” to judge the Secretary’s exercise of
                 her broad enforcement discretion. Chaney, 470 U.S. at
                 833-834. No one has suggested that the INA expressly
                 or implicitly circumscribes the Secretary’s decision to
                 rescind DACA’s broad policy of nonenforcement. See
                 Regents Supp. Br. App. 57a (“To be clear: we do not
                 hold that DACA could not be rescinded as an exercise




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                 of Executive Branch discretion.”). Section 701(a)(1)
                 therefore squarely applies.
                     2. These principles of nonreviewability apply with
                 particular force in the context of enforcement of the im-
                 migration laws. As the Court has observed, the “broad
                 discretion exercised by immigration officials” has be-
                 come a “principal feature of the removal system.” Ari-
                 zona v. United States, 567 U.S. 387, 396 (2012). And in
                 that context, the concerns inherent in any challenge to
                 prosecutorial discretion “are greatly magnified.” Reno
                 v. American-Arab Anti-Discrimination Comm., 525 U.S.
                 471, 490 (1999). “Whereas in criminal proceedings the
                 consequence of delay is merely to postpone the crimi-
                 nal’s receipt of his just deserts,” a delay in the enforce-
                 ment of immigration laws “permit[s] and prolong[s] a
                 continuing violation of United States law.” Ibid.
                     Congress’s particular concern for these principles is
                 underscored by the INA. Section 1252(g) of the INA
                 channels “any cause or claim by or on behalf of any alien
                 arising from the decision or action * * * to commence
                 proceedings, adjudicate cases, or execute removal orders
                 against any alien” into petitions for review of final re-
                 moval orders. 8 U.S.C. 1252(g). And Section 1252(b)(9)
                 likewise provides that “all questions of law and fact
                 * * * arising from any action taken or proceeding
                 brought to remove an alien from the United States un-
                 der this subchapter” is subject only to “judicial review
                 of a final order under this section.” 8 U.S.C. 1252(b)(9)
                 (emphasis added). The Court has previously recognized
                 that these provisions were “designed to give some meas-
                 ure of protection to ‘no deferred action’ decisions and
                 similar discretionary determinations, providing that if
                 they are reviewable at all, they at least will not be made
                 the bases for separate rounds of judicial intervention




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                 outside the streamlined process that Congress has de-
                 signed.” AADC, 525 U.S. at 485; see INS v. St. Cyr,
                 533 U.S. 289, 313 & n.37 (2001).
                    The rescission of the DACA policy is the sort of “ ‘no
                 deferred action’ decision[],” AADC, 525 U.S. at 485, that
                 Congress intended to channel through the INA’s care-
                 ful review scheme. It is properly considered an initial
                 “action” in DHS’s “commence[ment] [of ] proceedings”
                 within the meaning of Section 1252(g), and an “action
                 taken” to “remove an alien from the United States” within
                 the broader meaning of Section 1252(b)(9), see Jennings
                 v. Rodriguez, 138 S. Ct. 830, 854 (2018) (Thomas, J.,
                 concurring in part and concurring in the judgment).
                 But even if those provisions do not directly preclude re-
                 view here, see Regents Supp. Br. App. 43a-45a & n.19,
                 the INA’s cabined review scheme confirms the im-
                 portance Congress placed on shielding DHS’s discre-
                 tionary decisions from review, and reinforces why im-
                 migration enforcement policy decisions are unreviewa-
                 ble under the APA as “committed to agency discretion
                 by law.” 5 U.S.C. 701(a)(2).
                    B. The Lower Courts’ Rationales For Reviewing DHS’s
                       Decision Lack Merit
                    The courts below concluded that DHS’s decision to
                 rescind the DACA policy was reviewable on three dif-
                 ferent grounds. Each is wrong.
                    1. The courts below reasoned in part that the DACA
                 rescission is reviewable because it is a particular type of
                 enforcement decision—namely, a broad and categorical
                 decision to rescind a nonenforcement policy, rather
                 than a single-shot decision not to enforce against an in-
                 dividual. But Chaney itself concerned the program-
                 matic determination whether to enforce the FDCA with
                 respect to drugs used to administer the death penalty,




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                 not the particular circumstances of any individual case.
                 See 470 U.S. at 824-825. The FDA explained that state
                 lethal-injection laws, as a class, did not present the sort
                 of “serious danger to the public health” that would war-
                 rant enforcement of the FDCA, and therefore, even if
                 the agency had “jurisdiction in the area,” it would de-
                 cline to exercise that jurisdiction against such a state
                 law. Ibid. As even the D.C. district court here recog-
                 nized, “the FDA’s refusal to act in [Chaney] was more
                 than just a one-off nonenforcement decision.” NAACP
                 Pet. App. 35a.
                     Chaney’s reasoning also fully supports a finding of
                 nonreviewability here. Agency decisions about how its
                 “resources are best spent” or how certain enforcement
                 activity “best fits the agency’s overall policies,” 470 U.S.
                 at 831, are, if anything, more susceptible to implemen-
                 tation through broad guidance than through case-by-
                 case enforcement decisions. See, e.g., Wayte v. United
                 States, 470 U.S. 598, 601-603 (1985). Indeed, “supervi-
                 sory control over that discretion is necessary to avoid
                 arbitrariness and ensure consistency.” Casa de Mary-
                 land, 924 F.3d at 713 (Richardson, J., dissenting in rel-
                 evant part). A rule that shielded enforcement decisions
                 from review “only when inferior officers exercise single-
                 shot enforcement decisions” would be counterproduc-
                 tive. Ibid. It would also “brush[] aside the separation of
                 powers” concerns that underlie the Court’s decisions in
                 this area. Ibid.; see AADC, 525 U.S. at 489 (explaining
                 that review of enforcement discretion “invade[s] a spe-
                 cial province of the Executive”).
                     It is likewise immaterial that DHS has eliminated a
                 policy of nonenforcement, rather than adopted one.
                 See, e.g., Regents Supp. Br. App. 34a n.13. A decision
                 whether to retain a nonenforcement policy implicates




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                 all of the same considerations about agency priorities
                 and resources that inform the decision to adopt such a
                 policy in the first instance. And as the D.C. district
                 court also acknowledged, because the rescission does
                 not, by itself, initiate removal proceedings, “like the
                 FDA’s nonenforcement decision in Chaney, there are no
                 agency proceedings here to provide a ‘focus for judicial
                 review,’ and DACA’s rescission does not itself involve
                 the exercise of coercive power over any person.”
                 NAACP Pet. App. 33a (citation omitted). Like a crimi-
                 nal defendant, an alien subjected to removal proceed-
                 ings may challenge the substantive validity of an ad-
                 verse final order, but he may not raise a procedural
                 claim that the government was arbitrary and capricious
                 for commencing enforcement.
                     2. The courts below also reasoned that DHS’s ra-
                 tionale rendered its enforcement decision reviewable
                 because DHS purportedly rested solely on a legal judg-
                 ment about DACA’s lawfulness. That reasoning is both
                 legally and factually wrong. Because the rescission of
                 DACA is the type of decision that Chaney held is unre-
                 viewable, it makes no difference what reasons DHS
                 gave. And in any event, DHS’s decision did not rest
                 solely on a legal judgment.
                     a. As an initial matter, even if the rescission were
                 based solely on DHS’s conclusion that DACA is unlaw-
                 ful, the decision would not be reviewable under the
                 APA. In BLE, this Court squarely held that agency ac-
                 tions falling within a “tradition of nonreviewability” do
                 not “become[] reviewable” just because the agency “gives
                 a ‘reviewable’ reason” concerning its legal authority.
                 482 U.S. at 282-283. As the Court further explained, “a
                 common reason for failure to prosecute an alleged crim-




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                 inal violation is the prosecutor’s belief (sometimes pub-
                 licly stated) that the law will not sustain a conviction,”
                 yet it is “entirely clear” that such decisions are unre-
                 viewable. Id. at 283. The reconsideration decision at
                 issue in BLE was therefore unreviewable, even though
                 the agency based that decision on its legal interpreta-
                 tion of a federal statute. Id. at 276, 283. As Judge Ow-
                 ens recognized, the same would “plainly” be true of
                 DHS’s decision to rescind DACA, even if it were based
                 solely on the agency’s interpretation of the INA. Re-
                 gents Supp. Br. App. 82a; see Casa de Maryland,
                 924 F.3d at 714-715 (Richardson, J., dissenting in rele-
                 vant part) (“[T]he scope of permissible judicial review
                 must be determined by the type of agency action * * *
                 not the agency’s reasons for acting.”).
                     In concluding otherwise, the Ninth Circuit relied on
                 footnote four in Chaney, in which this Court “ex-
                 press[ed] no opinion” on whether a nonenforcement de-
                 cision might be reviewable if it were “based solely on
                 the belief that [the agency] lacks jurisdiction” or were
                 “so extreme as to amount to an abdication of [the
                 agency’s] statutory responsibilities.” 470 U.S. at 833
                 n.4; see Regents Supp. Br. App. 25a-26a. But whatever
                 doubt Chaney left, the Court’s subsequent decision in
                 BLE resolved it. In any event, as the rest of the foot-
                 note and accompanying text make clear, Chaney was re-
                 ferring only to circumstances in which “the statute con-
                 ferring authority on the agency might indicate that such
                 decisions were not ‘committed to agency discretion.’ ”
                 470 U.S. at 833 n.4; see id. at 832-833. That was why, in
                 the Texas litigation, courts could review the claim that
                 the INA barred DHS from adopting DAPA and ex-
                 panded DACA. But that theory cannot apply here,
                 where no one argues that the INA somehow bars DHS




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                 from rescinding DACA and resuming enforcement of
                 the law.
                     The Ninth Circuit recognized that BLE “stands for
                 the proposition that if a particular type of agency action
                 is presumptively unreviewable, the fact that the agency
                 explains itself in terms that are judicially cognizable
                 does not change the categorical rule.” Regents Supp.
                 Br. App. 30a. And it correctly assumed that a decision
                 to rescind a policy of enforcement discretion, like
                 DACA, is the type of decision that is presumptively un-
                 reviewable under Chaney. See id. at 34a n.13. It never-
                 theless reasoned that a “nonenforcement decision[]
                 based solely on the agency’s belief that it lacked power
                 to take a particular course” is reviewable. Id. at 31a.
                 But the only difference between an unreviewable “non-
                 enforcement decision[],” ibid., and a “nonenforcement
                 decision[] based solely on the agency’s belief that it
                 lacked power to take a particular course,” ibid. (empha-
                 sis added), is the agency’s reason for its decision. That
                 is precisely what BLE teaches cannot convert an unre-
                 viewable decision into a reviewable one.
                     Some of the courts below were concerned that, if an
                 enforcement decision that rests on a legal interpreta-
                 tion is unreviewable, an agency could shield any inter-
                 pretation from review by embedding it in such a policy.
                 See, e.g., NAACP Pet. App. 31a. As a threshold matter,
                 that concern is not presented here. DHS did not rest
                 the rescission on any interpretation of particular sub-
                 stantive provisions of the INA that plaintiffs could oth-
                 erwise challenge under the APA. But in any event, the
                 concern is fundamentally misguided. Assuming that an
                 agency’s interpretation is otherwise reviewable (i.e., if
                 the plaintiff can satisfy the APA’s various requirements




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                 for review), it does not matter that the agency has an-
                 nounced the interpretation together with a nonenforce-
                 ment policy. “Nothing in the [APA] or in the holding
                 or policy of [Chaney], precludes review” of an interpre-
                 tation as a categorical matter because it is announced
                 with an enforcement decision. International Union v.
                 Brock, 783 F.2d 237, 245 (D.C. Cir. 1986). A court may
                 or may not be able to review the interpretation and de-
                 clare it invalid on a prospective basis, id. at 247-248; but
                 what it may never do is review the nonenforcement de-
                 cision itself, id. at 246-247. The former would be subject
                 to whatever review is otherwise available under the
                 APA; and the latter remains committed to agency dis-
                 cretion. Combining the two in the same document does
                 not change the reviewability of either.
                     b. In any event, DACA’s rescission was not based
                 solely on DHS’s legal conclusion that the policy is un-
                 lawful. Acting Secretary Duke decided that she did not
                 want to retain and litigate a policy whose legality was,
                 at a minimum, highly questionable in light of the Texas
                 litigation. And Secretary Nielsen was clear that those
                 considerations, as well as additional policy concerns
                 with DACA, were the bases for DHS’s decision. Ac-
                 cordingly, even under the lower courts’ erroneous un-
                 derstanding of Chaney and BLE, DHS’s rescission of
                 DACA is not reviewable under the APA.
                     i. A fair reading of the Duke Memorandum demon-
                 strates that DHS’s decision never rested exclusively on
                 a legal conclusion that DACA was unlawful. The Acting
                 Secretary recounted in significant detail the litigation
                 surrounding the DAPA and expanded DACA policies.
                 Regents Pet. App. 111a-114a. She noted that the agency’s
                 previous decision to discontinue DAPA and expanded
                 DACA was made after “considering the [government’s]




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                 likelihood of success on the merits of th[at] ongoing lit-
                 igation.” Id. at 115a-116a. She described the subse-
                 quent letter from Texas and other States to the Attor-
                 ney General notifying him of those States’ intention to
                 amend the existing lawsuit to challenge the original
                 DACA policy. Id. at 116a. And she focused on litigation
                 risk when she highlighted the Attorney General’s state-
                 ment that “it is likely that potentially imminent litiga-
                 tion would yield similar results with respect to DACA.”
                 Ibid. The Acting Secretary concluded that, in light of
                 the foregoing, and “[i]n the exercise of [her] authority
                 in establishing national immigration policies and prior-
                 ities,” the DACA policy “should” be terminated and
                 wound down in “an efficient and orderly fashion.” Id. at
                 116a-117a. As even the D.C. district court recognized,
                 “[t]ogether, these statements were sufficient to express
                 the Department’s concern that a nationwide injunction
                 in the Texas litigation would abruptly shut down the
                 DACA program.” NAACP Pet. App. 56a.
                     The Ninth Circuit nevertheless reasoned that the
                 Acting Secretary’s statement is “most naturally read as
                 supporting a rationale based on DACA’s illegality.” Re-
                 gents Supp. Br. App. 36a. It asserted that “litigation
                 risks” were never expressly mentioned as something
                 that Acting Secretary Duke took into “consideration.”
                 Ibid. And after scrutinizing her word choice and sen-
                 tence structure as compared to that of her predecessor
                 in rescinding the DAPA policy, the court concluded that
                 the “difference in language” cut against any “sugges-
                 tion that the rescission was discretionary.” Id. at 40a.
                 But the memorandum is not a statutory provision
                 properly parsed with legislative precision. The relevant
                 question is whether the Acting Secretary’s rationale
                 “may reasonably be discerned.” Bowman Transp., Inc.




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                 v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 286
                 (1974). The Acting Secretary’s extensive discussion of
                 the prior litigation and her statement that she “should”—
                 not must—rescind DACA confirm that the risk she per-
                 ceived was that the government was not “likel[y]” to
                 “succe[ed]” on the merits of the “imminent litigation.”
                 Regents Pet. App. 115a-117a.
                    ii. Regardless, Secretary Nielsen’s memorandum
                 removes any doubt that DHS’s decision rests on more
                 than DACA’s unlawfulness per se. That memorandum
                 makes crystal clear that, “regardless of whether the
                 DACA policy is ultimately illegal,” DHS’s decision to re-
                 scind is also based on the agency’s “serious doubts
                 about its legality” and other “reasons of enforcement
                 policy.” Regents Pet. App. 123a; see id. at 122a (“[T]he
                 DACA policy properly was—and should be—rescinded,
                 for several separate and independently sufficient rea-
                 sons.”). Although the Ninth Circuit and the D.C. dis-
                 trict court both refused to credit Secretary Nielsen’s
                 non-legal rationales, neither court’s reasoning with-
                 stands scrutiny.
                    As a threshold matter, the Ninth Circuit refused to
                 consider the Nielsen Memorandum at all on the ground
                 that it postdated the district-court proceedings. Re-
                 gents Supp. Br. App. 58a n.24. By virtue of this Court’s
                 grant of certiorari before judgment in NAACP, in which
                 the district court invited the additional memorandum
                 and addressed it at length, the Nielsen Memorandum is
                 undoubtedly before this Court. See NAACP Pet. App.
                 66a. The Court cannot and should not decide these
                 cases without assessing the whole of the agency’s ac-
                 tions, and its assessment of the Nielsen Memorandum
                 in NAACP will necessarily control whether the Regents
                 injunction must be vacated.




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                    The Ninth Circuit also wrongly suggested that the
                 Nielsen Memorandum is an impermissible “post-hoc ra-
                 tionalization[].” Regents Supp. Br. App. 58a n.24 (cita-
                 tion omitted). To be sure, in reviewing an agency deci-
                 sion under the APA, “courts may not accept appellate
                 counsel’s post hoc rationalizations for agency action.”
                 Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.
                 Ins. Co., 463 U.S. 29, 50 (1983) (emphasis altered). An
                 agency’s actions “must be upheld, if at all, on the basis
                 articulated by the agency itself.” Ibid. But that rule
                 has no application here. The Nielsen Memorandum was
                 issued directly by the Secretary of Homeland Security—
                 the official vested by Congress with the authority to
                 “[e]stablish[] national immigration enforcement policies
                 and priorities,” 6 U.S.C. 202(5)—to explain her reasons
                 for concluding that DHS’s decision to rescind DACA
                 “was, and remains, sound.” Regents Pet. App. 121a.
                 Just as much as the memoranda establishing DACA and
                 then rescinding it, the Nielsen Memorandum “is agency
                 action, not a post hoc rationalization of it.” Martin v.
                 OSHRC, 499 U.S. 144, 157 (1991).
                    Indeed, the D.C. district court itself recognized that
                 almost all of Secretary Nielsen’s policy grounds were
                 not “post hoc rationalization[s].” NAACP Pet. App. 95a.
                 Remarkably, however, that court disregarded Secre-
                 tary Nielsen’s policy reasons for rescinding DACA as
                 an “attempt to disguise an objection to DACA’s legality
                 as a policy justification for its rescission.” Ibid.; see id.
                 at 98a-99a. But Secretary Nielsen could not have been
                 clearer that the policy reasons she offered for rescind-
                 ing DACA were independent from her legal concerns.
                 See Regents Pet. App. 123a (“[R]egardless of whether
                 these concerns about the DACA policy render it illegal




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                 or legally questionable, there are sound reasons of en-
                 forcement policy to rescind the DACA policy.”); id. at
                 122a (providing “several separate and independently
                 sufficient reasons”). There is no basis to question those
                 statements, particularly in light of the presumption of
                 regularity that courts owe to the coordinate Branches.
                 See Armstrong, 517 U.S. at 464.
                    The D.C. district court observed that two of Secre-
                 tary Nielsen’s policy concerns—that DHS (1) “should
                 not adopt public policies of non-enforcement of those
                 laws for broad classes and categories of aliens,” Regents
                 Pet. App. 123a; and (2) “should only exercise its prose-
                 cutorial discretion not to enforce the immigration laws
                 on a truly individualized, case-by-case basis,” id. at
                 124a—also had informed the legal analysis of the DACA
                 policy by Attorney General Sessions, Acting Secretary
                 Duke, and the Fifth Circuit. NAACP Pet. App. 98a-
                 100a. But far from evidence of pretext, such overlap is
                 entirely expected: those same factors are relevant to
                 whether only Congress can adopt such an enforcement
                 policy as a legal matter and to whether, at a minimum,
                 only Congress should adopt the policy as a discretion-
                 ary matter. In Chaney itself, the FDA similarly relied
                 on federalism concerns to conclude both that it lacked
                 jurisdiction to enforce the FDCA against state lethal-
                 injection laws and that, even if it possessed such author-
                 ity, it would not enforce the FDCA against those laws.
                 See Pet. App. at 81a-86a, Chaney, supra (No. 83-1878).
                 The overlapping considerations did not undermine the
                 nonreviewability of the FDA’s decision. The same is
                 true here.
                    In any event, the D.C. district court’s reasoning does
                 not apply by its own terms to Secretary Nielsen’s addi-




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                 tional concern that, in light of “tens of thousands of mi-
                 nor aliens [who] have illegally crossed or been smuggled
                 across our border in recent years,” it was important for
                 DHS to “project a message that leaves no doubt regard-
                 ing the clear, consistent, and transparent enforcement
                 of the immigration laws against all classes and catego-
                 ries of aliens” that will discourage such dangerous and
                 illegal journeys. Regents Pet. App. 124a. The court it-
                 self recognized that rationale was not reflected in the
                 Duke Memorandum or the Attorney General’s letter.
                 NAACP Pet. App. 94a. For that reason, the court
                 deemed that one rationale an impermissible post hoc ex-
                 planation. Id. at 94a-95a. But that conclusion was
                 wrong for the same reasons the Ninth Circuit’s post hoc
                 rationalization holding was incorrect: it is the agency’s
                 own explanation for its decision. See p. 29, supra. And
                 thus Secretary Nielsen’s messaging rationale alone is
                 sufficient to show that the agency did not rely solely on
                 a legal rationale, and that the agency’s decision is unre-
                 viewable on any theory.
                     3. Finally, contrary to the lower courts’ suggestion,
                 Regents Supp. Br. App. 31a-32a; NAACP Pet. App. 73a,
                 principles of political accountability do not justify re-
                 viewing DHS’s decision to rescind DACA. As a threshold
                 matter, the Nielsen Memorandum clearly states that
                 DHS’s concerns justify rescinding DACA “whether the
                 courts would ultimately uphold [the policy] or not.” Re-
                 gents Pet. App. 123a. Given that plain statement, the
                 lower courts’ concerns about political accountability
                 ring hollow. In any event, free-floating concerns about
                 accountability have no grounding in either the text of
                 Section 701(a)(2) or the precedent construing it. The
                 teaching of Chaney and BLE is that some discretionary




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                 decisions by the Executive Branch are beyond the au-
                 thority of courts to review—even when justified by rea-
                 sons that courts might review in other contexts. The
                 Executive Branch is to be held accountable for those
                 discretionary decisions through democratic channels.
                 For instance, Congress may respond to, and accept or
                 override, the Executive’s reasons for adopting or re-
                 scinding a nonenforcement policy. Here, in fact, Con-
                 gress and the President were in the midst of attempting
                 to negotiate a legislative solution, when DHS’s rescission
                 was enjoined, and the negotiations collapsed. See Dean
                 DeChairo, Immigration Framework Coming Next Week,
                 Senators Say, RollCall.com (Jan. 4, 2018), http://www.
                 rollcall.com/news/immigration-framework-coming-next-
                 week-senators-say-2. If anything, judicial review of
                 DHS’s decision undermined that political process.
                 II. DACA’S RESCISSION IS LAWFUL
                    Even assuming the rescission is reviewable, it is
                 plainly valid. Cf. Trump v. Hawaii, 138 S. Ct. 2392,
                 2409 (2018). Under the APA, the decision must be
                 upheld unless it is “arbitrary, capricious, an abuse
                 of discretion, or otherwise not in accordance with law.”
                 5 U.S.C. 706(2)(A). The scope of review under that
                 standard is “narrow.” Department of Commerce v. New
                 York, 139 S. Ct. 2551, 2569 (2019) (citation omitted). It
                 requires only that the agency “ ‘examined the relevant
                 data’ and articulated ‘a satisfactory explanation’ ” for its
                 decision, “ ‘including a rational connection between the
                 facts found and the choice made.’ ” Ibid. (citation omit-
                 ted). A court “may not substitute [its] judgment for that
                 of the [agency].” Ibid. DHS’s decision here easily
                 passes that test on multiple legal and policy grounds.
                 Ultimately, whether or not DHS was required to re-
                 scind DACA, it certainly was not required to maintain




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                 it. The courts below erred in second-guessing DHS’s
                 entirely rational judgment to stop facilitating ongoing
                 violations of federal law on a massive scale.
                    A. The Rescission Is Reasonable In Light Of DHS’s Serious
                       Doubts About DACA’s Lawfulness
                     DHS’s decision to wind down the DACA policy was
                 more than justified by DHS’s serious doubts about the
                 lawfulness of the policy and the litigation risks in main-
                 taining it. Regardless of whether one agrees or disa-
                 grees with the Fifth Circuit’s decision enjoining both
                 DAPA and expanded DACA—and this Court’s affir-
                 mance of that decision by an equally divided vote—
                 those decisions provided ample reason to doubt whether
                 the similar, if not materially indistinguishable, DACA
                 policy could survive a legal challenge. DHS reasonably
                 concluded that maintaining a legally questionable policy
                 of nonenforcement could “undermine public confidence
                 in and reliance on the agency and the rule of law,” and
                 risk “burdensome litigation” that could distract from
                 the agency’s work. Regents Pet. App. 123a. Particu-
                 larly once Texas and other States announced their in-
                 tention to challenge DACA, it was more than reasonable
                 for DHS to determine that it was better to wind down
                 DACA in an orderly fashion rather than incur the time,
                 expense, and legal and practical risks of continuing to
                 defend it. Id. at 117a-118a.
                     1. In Texas v. United States, the Fifth Circuit af-
                 firmed a nationwide preliminary injunction against
                 DAPA and expanded DACA. 809 F.3d 134, 186 (2015),
                 aff ’d, 136 S. Ct. 2271 (2016) (per curiam). The court con-
                 cluded that both DAPA and expanded DACA were
                 “manifestly contrary,” id. at 186, to the INA for four
                 reasons: (1) “[i]n specific and detailed provisions,” the




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                 INA already “confers eligibility for ‘discretionary re-
                 lief,’ ” including “narrow classes of aliens eligible for de-
                 ferred action,” id. at 179 (citation omitted); (2) the INA’s
                 otherwise “broad grants of authority” could not reason-
                 ably be construed to assign to the Secretary the author-
                 ity to create additional categories of aliens of “vast ‘eco-
                 nomic and political significance,’ ” id. at 183 (citation
                 omitted); (3) DAPA and expanded DACA were incon-
                 sistent with historical “discretionary deferral[]” policies
                 because they were not undertaken on a “ ‘country-specific
                 basis * * * in response to war, civil unrest, or natural
                 disasters,’ ” nor served as a “bridge[] from one legal status
                 to another,” id. at 184 (citation omitted); and (4) “Con-
                 gress ha[d] repeatedly declined to enact the Develop-
                 ment, Relief, and Education for Alien Minors Act
                 (‘DREAM Act’), features of which closely resemble
                 DACA and DAPA,” id. at 185 (footnote omitted).
                     The entirety of that reasoning applies equally to
                 DACA. The original DACA policy, like its subsequent
                 expansion and the related DAPA policy, grants de-
                 ferred action to a vast category of aliens, not in response
                 to any country-specific emergency and despite repeated
                 inaction by Congress. Indeed, the Southern District of
                 Texas recently determined, “guided by [that] Fifth Cir-
                 cuit precedent,” that the INA could not “ ‘reasonably be
                 construed’ ” to authorize the maintenance of DACA.
                 Texas v. United States, 328 F. Supp. 3d 662, 715 (2018)
                 (citation omitted). 6 At a minimum, given these similar-
                 ities and “potentially imminent litigation,” Acting Sec-
                 retary Duke acted reasonably in instituting an orderly

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                     The district court nevertheless declined to issue a preliminary
                 injunction enjoining the DACA policy in light of, among other things,
                 Texas’s delay in seeking injunctive relief. See Texas, 328 F. Supp.
                 3d at 736-742.




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                 wind-down of the policy, rather than risking a court-
                 ordered shutdown, the terms and timing of which would
                 be beyond the agency’s control. Regents Pet. App. 116a-
                 117a. And Secretary Nielsen reasonably concluded that
                 she too “lack[ed] sufficient confidence in the DACA pol-
                 icy’s legality” to maintain it, “whether the courts would
                 ultimately uphold it or not.” Id. at 123a. The arbitrary-
                 and-capricious standard does not allow a court “to sub-
                 stitute its judgment” for DHS’s on that question. State
                 Farm, 463 U.S. at 42-43.
                     2. The courts below distinguished DAPA from
                 DACA on two grounds, both of which lack merit. Cer-
                 tainly, neither is so compelling that it was unreasonable
                 for DHS to conclude that the costs of retaining DACA
                 outweighed the benefits.
                     a. First, the courts below focused on the Fifth Cir-
                 cuit’s observation in Texas that “Congress has enacted
                 an intricate process for illegal aliens to derive a lawful
                 immigration classification from their children’s immi-
                 gration status,” and DAPA would have applied to some
                 similarly situated aliens “without complying with any of
                 the requirements,” 809 F.3d at 179-180. E.g., Regents
                 Supp. Br. App. 52a. They reasoned that because “there
                 is no analogous provision in the INA defining how im-
                 migration status may be derived by undocumented per-
                 sons who arrived in the United States as children,”
                 “[o]ne of the major problems the Fifth Circuit identified
                 with DAPA is * * * not present” in DACA. Ibid.
                     That pathway to legal status, however, was not criti-
                 cal to the Fifth Circuit’s analysis. That process was only
                 one of a host of “specific and detailed provisions” that
                 the Fifth Circuit relied on to decide that DAPA and ex-
                 panded DACA were inconsistent with the INA’s overall
                 scheme. Texas, 809 F.3d at 179; see id. at 179-181.




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                 Moreover, as the Fifth Circuit pointed out, the INA’s
                 process applied only to parents of U.S. citizens. See id.
                 at 180. DAPA, on the other hand, would have provided
                 relief to parents of U.S. citizens and lawful permanent
                 residents—and the Fifth Circuit concluded the policy
                 was invalid in whole, not just in part. Regents Pet. App.
                 108a.
                    b. Second, the courts noted that DAPA would have
                 made up to “4.3 million otherwise removable aliens” el-
                 igible for deferred action and associated benefits, while
                 DACA had been granted to 689,800 enrollees as of Sep-
                 tember 2017. Regents Supp. Br. App. 54a; see Batalla
                 Vidal App. 103a. As an initial matter, although the
                 number of aliens who were ultimately granted DACA is
                 approximately 700,000, approximately 1.7 million origi-
                 nally met the eligibility criteria. See Jeffrey S. Passel
                 & Mark Hugo Lopez, Pew Research Center, Up to 1.7
                 Million Unauthorized Immigrant Youth May Benefit
                 from New Deportation Rules 3 (Aug. 14, 2012). But
                 whether 1.7 million or nearly 700,000 aliens, there can
                 be no debate that DACA, like DAPA and expanded
                 DACA, is a policy of “vast ‘economic and political signif-
                 icance’ ” to which the Fifth Circuit’s reasoning applies.
                 Texas, 809 F.3d at 183 (citations omitted). The type of
                 deferred-action policies that the Fifth Circuit sug-
                 gested might be permissible typically “affect[ed] only a
                 few thousand aliens for months or, at most, a few
                 years.” Id. at 185 n.197 (emphasis added).
                    c. In any event, even if DACA were distinguishable
                 from DAPA, there still would be no question that main-
                 taining the DACA policy presented serious legal con-
                 cerns. After all, the Fifth Circuit and this Court af-
                 firmed an injunction not only against DAPA, but also
                 against the expansion of DACA—which merely would




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                 have extended the length of DACA grants from two to
                 three years and tweaked the age and residency criteria.
                 Although the courts below did not find the Fifth Cir-
                 cuit’s decision “persuasive authority” on the validity of
                 expanded DACA, Regents Supp. Br. App. 55a, it is ob-
                 vious that there was, at the very least, serious doubt
                 concerning DACA’s lawfulness and a real risk that the
                 policy would meet the same fate. The Secretary there-
                 fore faced a choice: expend time and resources defend-
                 ing DACA, with the risk that a court would order it shut
                 down either immediately or pursuant to a court-drafted
                 plan beyond DHS’s control, or rescind DACA in an or-
                 derly fashion. Regardless of whether one agrees with
                 the policy choice, the Secretary’s decision to opt for the
                 latter was an eminently reasonable one.
                    B. The Rescission Is Reasonable In Light Of DHS’s
                       Additional Policy Concerns
                    DHS’s decision to rescind DACA is independently
                 supported by several additional enforcement-policy
                 concerns. Secretary Nielsen explained that “regardless
                 of whether * * * the DACA policy [is] illegal or legally
                 questionable, there are sound reasons of enforcement
                 policy to rescind the DACA policy.” Regents Pet. App.
                 123a. The INA vests the Secretary with the authority
                 to set the Nation’s immigration-enforcement priorities.
                 See 6 U.S.C. 202(5). There is no appropriate basis for
                 courts to second-guess the Secretary’s policy judg-
                 ments, which fall well “within the range of reasonable
                 options.” Department of Commerce, 139 S. Ct. at 2571.




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                       1. The Secretary reasonably concluded that DHS should
                          not decline on this scale to enforce the law adopted
                          by Congress
                     The Secretary concluded that, as a matter of policy,
                 broad-based and controversial deferred-action policies
                 like DACA and DAPA should proceed only with con-
                 gressional approval and the political legitimacy and sta-
                 bility that such approval entails. She thus determined
                 that, even if she could have continued DACA unilater-
                 ally, she did not want to. Regents Pet. App. 123a-124a.
                 That determination was entirely sensible.
                     In fact, many of her policy concerns echo those ex-
                 pressed by President Obama upon the announcement of
                 the DACA policy itself. The President agreed with the
                 Secretary’s assessment that unilateral executive action
                 could not provide a permanent solution for DACA recip-
                 ients: “This is not a path to citizenship. It’s not a per-
                 manent fix. This is a temporary stopgap measure.” The
                 White House, Remarks by the President on Immigra-
                 tion (June 15, 2012), https://go.usa.gov/xnZFY (Obama
                 Remarks). The policy itself acknowledges that it does
                 not confer any lawful “immigration status,” because
                 “[o]nly the Congress, acting through its legislative au-
                 thority, can confer those rights.” Regents Pet. App.
                 101a. And precisely because the DACA solution was
                 only “temporary,” President Obama agreed that “Con-
                 gress need[ed] to act.” Obama Remarks. The Secretary
                 reasonably determined that, in the absence of such con-
                 gressional action, DHS should not maintain this tempo-
                 rary stopgap measure six years later.
                     The D.C. district court gave only one reason for re-
                 jecting the Secretary’s desire to await action by Con-
                 gress: “an agency’s view as to which branch of govern-
                 ment ought to address a particular policy issue” is not




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                 “an assessment appropriately” made by an agency.
                 NAACP Pet. App. 99a (citation omitted). That is a star-
                 tling and unsupported assertion. Far from illegitimate,
                 such executive restraint is laudable. It is both a com-
                 mon and salutary feature of our constitutional structure
                 that the political branches may seek to achieve large-
                 scale policy solutions through consensus rather than
                 unilateral action. That is particularly so for controver-
                 sial policies, where the give and take of the legislative
                 process can help forge stable political compromises that
                 unilateral action cannot. Nothing in our system of sep-
                 arated powers prohibits executive officials from seeking
                 legislative approval for particularly significant execu-
                 tive actions. And the Secretary’s decision to do so here
                 was plainly reasonable.
                        2. The Secretary reasonably concluded that DHS should
                           exercise its prosecutorial discretion not to enforce on
                           a case-by-case basis
                    The Secretary’s determination that “DHS should
                 only exercise its prosecutorial discretion not to enforce
                 the immigration laws on a truly individualized, case-by-
                 case basis” was also reasonable. Regents Pet. App.
                 124a. Whatever its merits, DACA plainly creates an im-
                 plicit presumption that requestors who meet its eligibil-
                 ity criteria will be granted deferred action.7 Otherwise,
                 it would serve no purpose. A truly individualized ap-
                 proach to deferred action, in contrast, begins with the

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                     The numbers bear that out. The approval rate for initial re-
                 quests for DACA is 91% since its adoption in 2012—and that takes
                 into account even requests that were denied merely because the al-
                 ien did not satisfy the eligibility criteria. See USCIS, Number of
                 Form I-821D, Consideration of Deferred Action for Childhood Ar-
                 rivals, by Fiscal Year, Quarter, Intake and Case Status, Fiscal
                 Year 2012–2019 (Apr. 30, 2019), https://go.usa.gov/xVCpC.




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                 presumption that those here illegally should be re-
                 moved, and seeks to identify, on a case-by-case basis,
                 individuals who should be excused from that presump-
                 tion. The Secretary’s preference for the latter merely
                 continued the policy adopted by her predecessor, Sec-
                 retary Kelly. See J.A. 857-867 (prohibiting DHS offi-
                 cials from exercising prosecutorial discretion “in a man-
                 ner that exempts or excludes a specified class or cate-
                 gory of aliens from enforcement of the immigration
                 laws” except pursuant to DAPA, expanded DACA, and
                 DACA); J.A. 868-871 (rescinding DAPA and expanded
                 DACA).
                    The D.C. district court called this rationale “[s]pe-
                 cious,” reasoning that, “if Secretary Nielsen believes
                 that DACA is not being implemented as written, she can
                 simply direct her employees to implement it properly.”
                 NAACP Pet. App. 100a. But the Secretary’s point was
                 not about “her own employees’ misapplication of [the
                 DACA policy],” ibid.; it was about the thumb on the
                 scales that is created by any categorical deferred-action
                 policy with stated eligibility criteria. The Secretary
                 wanted to remove that presumption, and return to the
                 truly individualized review of deferred-action requests
                 that was available pre-DACA. One can agree or disa-
                 gree with that judgment, but it is not remotely specious.
                       3. The Secretary reasonably concluded that DHS should
                          discourage illegal immigration by projecting a
                          message of consistent enforcement
                    As Secretary Nielsen recognized, “tens of thousands
                 of minor aliens” in recent years have made the danger-
                 ous trek—with or without their families—to and across
                 our southern border without legitimate claims to law-
                 fully enter the country. Regents Pet. App. 124a; see
                 generally 84 Fed. Reg. 33,829, 33,838 (July 16, 2019)




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                 (discussing “demographic shift in the alien population
                 crossing the southern border from Mexican single adult
                 males to predominantly Central American famil[ies]”).
                 To address that problem, the Secretary determined
                 that DHS should send a strong message that children
                 who are sent or taken on this perilous and illegal jour-
                 ney will not be accorded preferential treatment. She
                 thus additionally concluded that “it is critically im-
                 portant for DHS to project a message that leaves no
                 doubt regarding the clear, consistent, and transparent en-
                 forcement of the immigration laws against all classes and
                 categories of aliens,” and that rescission of the DACA
                 policy will help project that message. Regents Pet. App.
                 124a. That too is an eminently reasonable judgment.
                    The D.C. district court questioned whether the
                 DACA policy could be blamed for the patterns of illegal
                 immigration about which the Secretary expressed con-
                 cern, noting that DACA was available only to individu-
                 als who have lived in the United States since 2007 and
                 thus aliens who illegally entered the country more re-
                 cently would not be eligible. NAACP Pet. App. 102a.
                 But that misses the point entirely. Amnesty-like poli-
                 cies typically do not encourage further illegal conduct
                 by expressly blessing it prospectively, but rather by
                 “creat[ing] an expectation of future amnesties” and
                 “[h]opes of gaining legal status conditional on living or
                 working in the U.S. for a certain period of time.” Pia
                 Orrenius & Madeline Zavodny, What Are the Conse-
                 quences of an Amnesty for Undocumented Immigrants?,
                 9 Geo. Pub. Pol’y Rev. 21, 31 (2004). The Secretary rea-
                 sonably concluded that creating that expectation was
                 undermining the Nation’s immigration system and that
                 conveying a powerful message of consistent enforce-
                 ment would address that concern.




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                       4. The Secretary adequately considered any reliance
                          interests
                     Finally, the Secretary sufficiently considered the re-
                 liance interests of DACA recipients as weighed against
                 these reasonable policy concerns. As President Obama
                 forthrightly explained, DACA was a “temporary stop-
                 gap measure,” not a “permanent fix.” Obama Remarks.
                 By its own terms, the policy “confer[ed] no substantive
                 right” or lawful “immigration status.” Regents Pet. App.
                 101a. It instead expressed the government’s intention
                 not to enforce the federal immigration law against the
                 recipient for a two-year period, which itself could be ter-
                 minated at any time at the agency’s discretion. Ibid.
                     Nevertheless, Secretary Nielsen explained that the
                 agency was “keenly aware that DACA recipients have
                 availed themselves of the policy in continuing their
                 presence in this country and pursuing their lives.” Re-
                 gents Pet. App. 125a. The Duke Memorandum balanced
                 those interests by permitting existing DACA grants to
                 expire according to their stated two-year terms and by
                 allowing a limited window for additional renewals. Id.
                 at 117a-118a. And contrary to the D.C. district court’s
                 dismissive suggestion that Secretary Nielsen “ignore[d]”
                 the “serious reliance interests,” NAACP Pet. App. 107a
                 (citations omitted), she explained that her decision to
                 stand by the rescission was not one she came to
                 “lightly,” Regents Pet. App. 125a. In the end, however,
                 she concluded that neither the asserted reliance inter-
                 ests of any individual DACA recipient nor “the sympa-
                 thetic circumstances” of all such recipients could “over-
                 come[] the legal and institutional concerns with sanc-
                 tioning the continued presence of hundreds of thou-
                 sands of aliens who are illegally present in violation of
                 the laws passed by Congress.” Ibid. The APA provides




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                 no basis to second-guess that “value-laden” judgment.
                 Department of Commerce, 139 S. Ct. at 2571.
                    C. The Rescission Is Reasonable In Light Of DHS’s
                       Conclusion That DACA Is Unlawful
                    Finally, DHS’s conclusion that the DACA policy was
                 not just legally questionable but indeed unlawful itself
                 requires that the rescission be upheld. That conclusion
                 was correct. But even if the Court disagrees, DHS’s
                 reasonable determination of the scope of its own author-
                 ity provides ample justification for its decision.
                       1. DHS correctly concluded that DACA is unlawful
                    a. Deferred action under the INA originally “devel-
                 oped without express statutory authorization.” AADC,
                 525 U.S. at 484 (citation omitted). The government has
                 since grounded its authority in the Secretary’s general
                 powers to “[e]stablish[] national immigration enforce-
                 ment policies and priorities,” 6 U.S.C. 202(5), and to “es-
                 tablish such regulations; * * * issue such instructions;
                 and perform such other acts as he deems necessary for
                 carrying out his authority under the provisions of this
                 chapter,” 8 U.S.C 1103(a)(3). And Congress and this
                 Court have recognized the practice’s use in certain con-
                 texts. See, e.g., AADC, 525 U.S. at 484 (noting that “[a]
                 case may be selected for deferred action” for “humani-
                 tarian reasons”) (citation omitted); 49 U.S.C. 30301 note
                 (authorizing States to issue driver’s licenses to aliens
                 with “approved deferred action status”). But neither
                 the INA’s general grants of authority in 6 U.S.C. 202(5)
                 and 8 U.S.C. 1103(a)(3), nor the other scattered refer-
                 ences to deferred action throughout the U.S. Code, can
                 be fairly interpreted as authorizing DHS to maintain a
                 categorical deferred-action policy affirmatively sanc-
                 tioning the ongoing violation of federal law by up to




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                 1.7 million aliens to whom Congress has repeatedly de-
                 clined to extend immigration relief.
                     In the INA, Congress has provided a comprehensive,
                 detailed scheme for affording certain aliens relief or re-
                 prieve from removal. See, e.g., 8 U.S.C. 1158(b) (asylum),
                 1182(d)(5) (parole), 1229b (cancellation of removal), 1229c
                 (voluntary departure), 1254a (temporary protected sta-
                 tus). Those provisions set forth, often in significant de-
                 tail, when and to whom such relief is available. Section
                 1229b(a), for example, provides the Attorney General
                 discretion to cancel removal for non-lawful-permanent
                 resident aliens only if the alien (i) has been physically
                 present in the United States for ten years; (ii) has been
                 a person of good moral character; (iii) has not been con-
                 victed of an aggravated felony; and (iv) removal would
                 result in exceptional and extremely unusual hardship to
                 the alien’s U.S. citizen relative. 8 U.S.C. 1229b(b)(1)(D).
                 Other provisions are similarly detailed. See, e.g., 8 U.S.C.
                 1254a(b)(1) (defining criteria for temporary protected
                 status).
                     Of course, DHS retains authority to address “inter-
                 stitial matters” of immigration enforcement, FDA v.
                 Brown & Williamson Tobacco Corp., 529 U.S. 120, 159
                 (2000) (citation omitted), but the DACA policy is hardly
                 interstitial. It presumptively makes a class of more
                 than a million illegal aliens, to whom the INA provides
                 no recognition or special solicitude, eligible for reprieve
                 from removal that the INA does not afford. And that
                 forbearance, pursuant to longstanding regulations, in
                 turn makes DACA recipients eligible to obtain affirma-
                 tive assistance—e.g., work authorization—to aid them
                 in their continuing unlawful presence. See 8 C.F.R.
                 274a.12(c)(14). That is not a gap-filling measure in any
                 meaningful sense. It is instead “an agency decision[] of




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                 vast ‘economic and political significance’ ” without any
                 warrant from Congress. Utility Air Regulatory Grp. v.
                 EPA, 573 U.S. 302, 324 (2014) (citation omitted). And
                 “[w]hen an agency claims to discover in a long-extant
                 statute an unheralded power” over important national
                 affairs, this Court “typically greet[s] its announcement
                 with a measure of skepticism.” Ibid.
                     To be sure, the Court has recognized DHS’s “broad
                 discretion” in the enforcement of the federal immigra-
                 tion laws, Arizona, 567 U.S. at 396, including its ability
                 to grant deferred action, AADC, 525 U.S. at 484. And,
                 as a practical matter, DHS does not have the ability to
                 vigorously enforce the immigration laws against every
                 alien unlawfully present in the United States. Cf. Re-
                 gents Supp. Br. App. 55a-56a. DHS therefore must es-
                 tablish enforcement priorities, and strategically deploy
                 its resources to enforce the law. See 6 U.S.C. 202(5).
                 But informing roughly 1.7 million aliens that they
                 may continue violating federal law without fear of
                 enforcement—while establishing a procedure to make
                 them eligible for additional benefits—goes well beyond
                 strategically directing the agency’s resources to the
                 highest priority violators. It instead deploys those re-
                 sources on a massive scale in a manner that will under-
                 mine the deterrent effect of federal law by facilitating
                 its continuing violation.
                     Regardless of the sympathetic circumstances of the
                 aliens involved or the merits of deferred action as a gen-
                 eral matter, “we must be guided to a degree by common
                 sense as to the manner in which Congress is likely to
                 delegate a policy decision of such economic and political
                 magnitude to an administrative agency.” Brown & Wil-
                 liamson, 529 U.S. at 133. And the Secretary’s general




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                 powers to “[e]stablish[] national immigration enforce-
                 ment policies and priorities,” 6 U.S.C. 202(5), and to
                 “perform such other acts as he deems necessary for car-
                 rying out his authority under the [INA],” 8 U.S.C
                 1103(a)(3), simply do not provide the clarity that is re-
                 quired to authorize a nonenforcement policy of the na-
                 ture and scope of DACA.
                    b. In reaching a contrary conclusion, the lower
                 courts did not dispute the magnitude of the policy or
                 identify any specific delegation on which DHS could
                 rely. Rather, the lower courts principally rested on the
                 vast disparity between the estimated number of aliens
                 unlawfully within the United States and the resources
                 available to DHS to enforce the immigration laws. E.g.,
                 Batalla Vidal Pet. App. 95a. But at most, that justifies
                 a decision not to deploy limited resources to remove
                 low-priority targets. As explained above, however, it
                 does not justify deploying those limited resources in a
                 manner that facilitates ongoing violation of federal law
                 by a massive number of aliens. There is an obvious dif-
                 ference between not pursuing lower-priority offenses
                 (especially completed ones) and affirmatively assisting
                 lower-priority offenders to persist in ongoing illegal
                 activity.
                    The lower courts also identified several prior class-
                 based deferred-action policies that they deemed analo-
                 gous to DACA. E.g., Regents Supp. Br. App. 13a, 56a.
                 Although the courts did not spell out the theory, a pre-
                 vious memorandum from the Office of Legal Counsel
                 (OLC), when addressing DAPA, observed that “Con-
                 gress has long been aware of the practice of granting
                 deferred action, including in its categorical variety, and
                 of its salient features; and it has never acted to disap-




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                 prove or limit the practice.” J.A. 828. That memoran-
                 dum further observed that, on several occasions, Con-
                 gress has “either assumed that deferred action would
                 be available in certain circumstances, or expressly di-
                 rected that [it] be extended to certain categories of al-
                 iens.” J.A. 828-829.
                     The OLC memorandum, however, does not under-
                 mine the Secretary’s conclusion that DACA is unlawful.
                 Even if legislation that “assume[s]” the existence of a
                 DHS policy should be understood as ratifying that pol-
                 icy, J.A. 828, the prior deferred-action policies on which
                 OLC relied are all easily distinguished. 8 To begin, they
                 all used deferred action to provide certain aliens tempo-
                 rary relief while the aliens sought or awaited permanent
                 status afforded by Congress—e.g., while the alien’s
                 bona fide visa application awaited approval or until a
                 visa actually issued following approval. They were also
                 afforded to categories of aliens for whom Congress had

                  8
                     See Memorandum from Paul W. Virtue, Acting Exec. Assoc.
                 Comm’r, INS., to Reg’l Dirs. et al., INS, Supplemental Guidance
                 on Battered Alien Self-Petitioning Process and Related Issues
                 (May 6, 1997) (domestic violence victims whose visa applications had
                 been approved, but were not immediately available); Memorandum
                 from Stuart Anderson, Exec. Assoc. Comm’r, INS, to Johnny N.
                 Williams, Exec. Assoc. Comm’r, INS, Deferred Action for Aliens
                 with Bona Fide Applications for T Nonimmigrant Status (May 8,
                 2002) (possible victims of human trafficking with bona fide pending
                 visa applications); Press Release, USCIS, USCIS Announces In-
                 terim Relief for Foreign Students Adversely Impacted by Hurri-
                 cane Katrina (Nov. 25, 2005) (aliens on nonimmigrant student visas
                 temporarily displaced from their full course of study by Hurricane
                 Katrina); Memorandum from Donald Neufeld, Acting Assoc. Dir.,
                 Office of Domestic Operations, USCIS, to Field Leadership,
                 USCIS, Guidance Regarding Surviving Spouses of Deceased U.S.
                 Citizens and their Children (Sept. 4, 2009) (widows and widowers of
                 U.S. citizens previously eligible for visas, pending a statutory fix).




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                 expressed a special solicitude in the INA—e.g., victims
                 of domestic violence or human trafficking. And, im-
                 portantly, they were far more limited in scope, “affect-
                 ing only a few thousand aliens for months or, at most, a
                 few years.” Texas, 809 F.3d at 185 n.197. For these
                 reasons, all of those policies might fairly be described
                 as “interstitial” in nature. Brown & Williamson, 529 U.S.
                 at 159 (citation omitted). They are categorically differ-
                 ent from DACA.
                    As for the various other DHS discretionary-relief
                 policies cited by the lower courts—on which OLC did
                 not focus—they are also inapposite. See Regents Supp.
                 Br. App. 11a-13a. Consider, for example, the “Family
                 Fairness” policy, which the Ninth Circuit deemed a “sa-
                 lient” precedent. Id. at 12a. Under that policy, the Im-
                 migration and Nationality Service (INS) exercised its
                 discretion, in certain circumstances, to grant so-called
                 “extended voluntary departure” to the spouses and chil-
                 dren of aliens who had been granted a pathway to legal
                 status by the Immigration Reform and Control Act of
                 1986 (IRCA), Pub. L. No. 99-603, 100 Stat. 3359.9 OLC
                 has explained that extended voluntary departure was
                 “derived from the voluntary departure statute,” which,
                 at the time, “permitted the Attorney General to make a
                 finding of removability if an alien agreed to voluntarily
                 depart the United States, without imposing a time limit
                 for the alien’s departure.” J.A. 817 n.5 (citing 8 U.S.C.

                  9
                     See Recent Developments, 64 No. 41 Interpreter Releases 1190,
                 App. I at 1203-1204 (Oct. 26, 1987); Memorandum from Gene
                 McNary, Comm’r, INS, to Reg’l Comm’rs, et. al., INS, Family
                 Fairness: Guidelines for Voluntary Departure under 8 CFR 242.5
                 for the Ineligible Spouses and Children of Legalized Aliens (Feb. 2,
                 1990).




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                 1252(b) (1988 & Supp. II 1990)). When created, Family
                 Fairness and similar policies thus had a plausible basis
                 in the INA.10 Congress has since set a time limit of
                 120 days for voluntary departure, and DHS has not
                 granted an alien extended voluntary departure in more
                 than 30 years. Ibid.
                    Moreover, like the prior deferred-action policies,
                 Family Fairness provided limited relief to aliens while
                 they awaited permanent relief expressly provided by
                 the INA. See Recent Developments, 64 No. 41 Inter-
                 preter Releases 1190, App. I at 1202 (Oct. 26, 1987) (ex-
                 plaining that once an alien was approved for permanent
                 resident status under IRCA, “the legalized alien will be
                 eligible to bring in immediate relatives” under the
                 INA). Its scale also ultimately did not match that of
                 DACA. While some contemporaneous estimates stated
                 that as many as 1.5 million aliens were eligible for relief
                 under Family Fairness, Regents Supp. Br. App. 13a &
                 n.3, other estimates by the INS suggested as few as
                 100,000 aliens would be affected. Recent Developments,
                 67 No. 6 Interpreter Releases 153, 153 (Feb. 5, 1990);
                 see Recent Developments, 67 No. 8 Interpreter Re-
                 leases 201, 206 (Feb. 26, 1990). In the end, fewer than
                 50,000 applications were reportedly received. David
                 Hancock, Few Immigrants Use Family Aid Program,

                  10
                     In Texas, the United States argued that extended voluntary de-
                 parture was distinct from statutory voluntary departure. See U.S.
                 Br. 48-49, Texas, supra (No. 15-674); U.S. Reply Br. 23 & n.3, Texas,
                 supra (No. 15-674). Whether or not that was correct, the INS at
                 least purported to be implementing the voluntary-departure statute
                 in granting extended voluntary departure. See 43 Fed. Reg. 29,526,
                 29,528 (July 10, 1978) (describing extended voluntary departure as
                 an exercise of the “authority contained in [8 U.S.C. 1252(b) (1976)]
                 to allow aliens to depart voluntarily”). The same cannot be said
                 here.




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                 Miami Herald, 1990 WLNR 2016525 (Oct. 1, 1990). In
                 sum, neither Family Fairness nor other historical poli-
                 cies provide a basis for sustaining the very different
                 DACA policy.
                       2. DHS’s legal conclusion provides ample basis for
                          upholding the decision
                    In any event, even if the Court disagrees with DHS’s
                 legal conclusion, DHS’s decision to rescind DACA
                 based on its own view of its legal authority—informed
                 by the Fifth Circuit’s decision, this Court’s equally di-
                 vided affirmance, and the Attorney General’s opinion—
                 was not the type of “clear error of judgment” that would
                 make it arbitrary and capricious under the APA. State
                 Farm, 463 U.S. at 43 (citation omitted).
                    a. The Ninth Circuit and New York district court
                 held that DHS could not rely on an assessment of
                 DACA’s legality unless the courts agreed that it was
                 correct as a matter of law. Regents Supp. Br. App. 46a;
                 Batalla Vidal Pet. App. 91a. Both courts relied on this
                 Court’s statement that “if [agency] action is based upon
                 a determination of law as to which the reviewing author-
                 ity of the courts does come into play, an order may not
                 stand if the agency has misconceived the law.” SEC v.
                 Chenery Corp., 318 U.S. 80, 94 (1943). In Chenery, how-
                 ever, the agency was adjudicating the rights of various
                 third parties in a company’s reorganization plan. Id. at
                 82-85. Here, DHS was interpreting the scope of its own
                 authority to maintain a discretionary policy of nonen-
                 forcement that no one claims was required by law.
                    That difference matters because, as a coordinate
                 Branch, the Executive has an independent duty to de-
                 termine whether it lacks authority to act. And in the
                 unique context of its decision whether or not to enforce
                 the law, the Executive is entitled to act on its view of the




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                 bounds of its enforcement discretion even if the courts
                 might disagree. For example, the Attorney General
                 may direct United States Attorneys not to bring prose-
                 cutions that, in his view, would be unconstitutional—
                 even if the courts might hold those prosecutions valid.
                 There is nothing arbitrary and capricious about making
                 such an enforcement decision based on the Executive’s
                 own view of what the law permits. So too here, DHS
                 was entitled to stand on its view that DACA is an invalid
                 exercise of prosecutorial discretion even if the courts
                 would uphold it.
                     b. The D.C. district court declined to uphold the re-
                 scission on the basis of DHS’s legal conclusion because,
                 in its view, DHS did not adequately explain its change
                 in position. NAACP Pet. App. 49a-55a; see Encino Mo-
                 torcars, LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016)
                 (“Agencies are free to change their existing policies as
                 long as they provide a reasoned explanation for the
                 change.”). Of course, if DACA is unlawful, even an in-
                 adequate explanation could not provide a basis to over-
                 turn the agency’s decision to rescind the unlawful pol-
                 icy. See Morgan Stanley Capital Grp., Inc. v. Public
                 Util. Dist. No. 1, 554 U.S. 527, 544-545 (2008). But as-
                 suming a reasoned explanation were needed, the agency
                 met that requirement here. DHS “display[ed] aware-
                 ness that it [was] changing position,” “show[ed] that
                 there are good reasons for the new policy,” and took into
                 account any “serious reliance interests.” Encino Mo-
                 torcars, 136 S. Ct. at 2126 (citation omitted).
                     In both the Duke and Nielsen Memoranda, DHS
                 plainly displayed an awareness that it was changing its
                 policy and its legal view by issuing a memorandum re-
                 scinding DACA based, in part, on the legal concerns.
                 Regents Pet. App. 117a, 122a. Both memoranda also




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                 provided good reasons for that new position by discuss-
                 ing at length the intervening history of the DAPA liti-
                 gation, including the Fifth Circuit’s and this Court’s de-
                 cisions, and the Attorney General’s view that DACA
                 suffered from the same legal defects. Id. at 112a-117a,
                 122a-123a. And to the extent the asserted reliance in-
                 terests are cognizable, the Nielsen Memorandum elab-
                 orated on the reasons why they were insufficient to
                 maintain the prior policy. See pp. 42-43, supra.
                    The D.C. district court nevertheless reasoned that
                 DHS did not “satisfy [its] obligation to explain its de-
                 parture from its prior stated view that DACA was law-
                 ful.” NAACP Pet. App. 51a. The court appeared to be
                 referring to the prior OLC opinion. See Id. at 53a-54a
                 nn.22-23. As noted, that opinion principally addressed
                 the lawfulness of DAPA and another related deferred-
                 action policy that DHS was considering. In a footnote,
                 the opinion reported that, before the announcement of
                 the DACA policy, OLC had “orally advised” DHS of its
                 “preliminary view” that the policy “would be permissi-
                 ble.” J.A. 827 n.8. But of course, OLC’s opinion had
                 since been flatly rejected by the Fifth Circuit in an opin-
                 ion that was affirmed by an equally divided vote in this
                 Court. And DHS made clear that it agrees with the ro-
                 bust analysis in the Fifth Circuit’s intervening decision
                 and that it sees no meaningful distinctions between the
                 lawfulness of those policies and the lawfulness of the
                 original DACA policy. Regents Pet. App. 117a, 122a.
                 The APA demands nothing more.
                    D. The Rescission Does Not Violate Equal Protection
                    Lastly, DACA’s rescission does not violate the equal
                 protection principles of the Fifth Amendment. Re-
                 spondents contend that DHS’s exercise of enforcement
                 discretion was motivated by discriminatory animus.




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                 Although review of that constitutional claim is not fore-
                 closed by Section 701(a)(2), see Webster v. Doe, 486 U.S.
                 592, 603-604 (1988); Chaney, 470 U.S. at 838, the claim
                 fails on the merits for multiple reasons.
                     1. At the outset, a discriminatory-enforcement claim
                 is not cognizable in the immigration context. As the
                 Court explained in AADC, “a selective prosecution
                 claim is a rara avis.” 525 U.S. at 489. Even in the ordi-
                 nary criminal context, discriminatory-motive chal-
                 lenges to enforcement discretion “invade a special prov-
                 ince of the Executive” and “ ‘threaten[] to chill law en-
                 forcement by subjecting the prosecutor’s motives and
                 decisionmaking to outside inquiry.’ ” Id. at 489-490 (cita-
                 tion omitted). In the immigration context, these concerns
                 are “greatly magnified,” because a selective-prosecution
                 claim not only delays “just deserts,” but “permit[s] and
                 prolong[s] a continuing violation” of law. Id.at 490.
                 Courts are also “ill equipped” to consider the authentic-
                 ity or the adequacy of the foreign-policy considerations
                 that motivate such decisions. Id. at 491. For those rea-
                 sons, although the Court has “not rule[d] out the possi-
                 bility of a rare case in which the alleged basis of discrim-
                 ination is so outrageous that the foregoing considera-
                 tions can be overcome,” as a general matter, “an alien
                 unlawfully in this country has no constitutional right to
                 assert selective enforcement as a defense against his
                 deportation.” Id. at 488, 491.
                     The Ninth Circuit and New York district court re-
                 fused to dismiss the equal protection claim under AADC,
                 reasoning that respondents had plausibly stated a claim
                 under the general equal protection standard articulated
                 in Village of Arlington Heights v. Metropolitan Hous-
                 ing Development Corp., 429 U.S. 252 (1977). Regents
                 Supp. Br. App. 73a-77a; Batalla Vidal Pet. App. 147a-




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                 157a. The courts reasoned that, rather than asserting a
                 selective enforcement claim “as a defense against * * *
                 deportation,” AADC, 525 U.S. at 488, respondents raise
                 a “freestanding claim that the Executive Branch, moti-
                 vated by animus, ended a program that overwhelmingly
                 benefits a certain ethnic group.” Regents Supp. Br.
                 App. 75a. But the “program” the government ended
                 was a policy of immigration enforcement that “bene-
                 fit[ed]” the group by formally forbearing from remov-
                 ing them. Contrary to the Ninth Circuit’s puzzling as-
                 sertion, a challenge to DHS’s decision to rescind that
                 policy as motivated by a discriminatory purpose di-
                 rectly implicates the AADC Court’s concerns about “in-
                 hibiting prosecutorial discretion, allowing continuing vi-
                 olations of immigration law, and impacting foreign rela-
                 tions.” Id. at 76a. Because DHS’s facially neutral re-
                 scission of a nonenforcement policy is not the rare case
                 where an exception to AADC may be warranted, re-
                 spondents’ claim fails.
                     2. In any event, even under the Arlington Heights
                 factors, respondents do not state a claim. The courts
                 below relied on three categories of allegations: (1) the
                 disparate impact of the rescission, noting that “93% of
                 DACA recipients” are “Latinos and individuals of Mex-
                 ican heritage”; (2) various “pre-presidential and post-
                 presidential statements” made by President Trump al-
                 most entirely unrelated to the DACA policy or the deci-
                 sion to rescind; and (3) the “unusual history” behind the
                 rescission. Regents Supp. Br. App. 74a-75a (footnote
                 omitted); see Batalla Vidal Pet. App. 152a-153a. None
                 of those factors, either alone or together, supports re-
                 spondents’ equal protection claim.
                     First, given the United States’ natural immigration
                 patterns, the disparate impact of the rescission of DACA




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                 is neither surprising nor illuminating of the agency’s
                 motives. Indeed, if it were enough to state a claim that
                 a broad-scale immigration decision disparately im-
                 pacted individuals of any particular ethnicity, virtually
                 any such decision could be challenged on that ground.
                    Second, the cited statements are equally irrelevant.
                 Here, the relevant decisionmakers were Secretaries
                 Duke and Nielsen, and there is no evidence that either
                 harbored any discriminatory animus towards anyone.
                 As the New York district court recognized, respondents
                 “have not identified statements by Acting Secretary
                 Duke or the Attorney General that would give rise to an
                 inference of discriminatory motive,” Batalla Vidal Pet.
                 App. 156a, and the same goes for Secretary Nielsen. In
                 any event, only one of the President’s statements relied
                 on by the lower courts even addresses DACA recipients
                 and it reveals nothing more than the obvious fact that
                 DACA has been an important part of legislative negoti-
                 ations on immigration reform. See Regents Supp. Br.
                 App. 74a-75a n.30 (“The Democrats have been told, and
                 fully understand, that there can be no DACA without
                 the desperately needed WALL at the Southern Bor-
                 der.”) (citation omitted). And in fact, the President has
                 repeatedly praised DACA recipients and urged Con-
                 gress to “legalize” their protection. Batalla Vidal Pet.
                 App. 156a; see J.A. 679 (“Does anybody really want to
                 throw out good, educated and accomplished young peo-
                 ple who have jobs, some serving in the military?”) (cita-
                 tion omitted); The White House, Remarks by President
                 Trump in Press Conference (Feb. 16, 2017), https://go.
                 usa.gov/xVYjF (“But the DACA situation is a very,
                 very—it’s a very difficult thing for me. Because, you
                 know, I love these kids.”).




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                     Finally, there is nothing remotely “unusual” about
                 the history of the rescission. On February 20, 2017,
                 then-Secretary of Homeland John Kelly announced a
                 general policy against exercising immigration enforce-
                 ment discretion “in a manner that exempts or excludes
                 a specified class or category of aliens.” J.A. 863. At the
                 time, Secretary Kelly carved out DACA, expanded
                 DACA, and DAPA from that policy. J.A. 858. In June
                 2017, Secretary Kelly announced that, “[a]fter consult-
                 ing with the Attorney General” and in light of the ongo-
                 ing Texas litigation, he was rescinding the DAPA and
                 expanded DACA policies, while DACA “remain[ed] in
                 effect.” J.A. 870-871. And in September 2017, Acting
                 Secretary Duke rescinded DACA as well. Regents Pet.
                 App. 111a. Far from a “strange about-face,” Regents
                 Supp. Br. App. 75a, the rescission of DACA was the log-
                 ical consequence of a general policy approach adopted
                 at the beginning of this Administration and, after care-
                 ful deliberation, gradually extended to the most contro-
                 versial of such policies.
                     The Ninth Circuit approvingly quoted the district
                 court’s description of the Duke Memorandum as “hur-
                 riedly cast[ing] aside” a policy that had recently been
                 “reaffirm[ed]” on the basis of “what seems to have been
                 a contrived excuse (its purported illegality).” Regents
                 Pet. App. 86a; see Regents Supp. Br. App. 75a. But the
                 court’s description omits key facts: two weeks after
                 Secretary Kelly rescinded the DAPA and expanded
                 DACA policies, the Texas plaintiffs indicated their in-
                 tent to challenge the original DACA policy, and the At-
                 torney General informed the Acting Secretary that he
                 had concluded that the policy was unlawful based in sig-
                 nificant part on the Texas litigation invalidating the
                 DAPA and expanded DACA policies. Both of those




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                 facts provide ample explanation for the policy change
                 and its timing.
                     In short, whether considered separately or collec-
                 tively under either AADC or Arlington Heights, re-
                 spondents’ allegations are wholly insufficient to show
                 that Secretaries Duke and Nielsen were motivated by
                 racial animus in deciding to rescind a policy sanctioning
                 the ongoing violation of federal immigration law by
                 700,000 aliens, especially given the serious questions
                 about its legality. Respondents’ equal protection claim
                 fails as a matter of law, and cannot provide a basis for
                 affirming the orders and judgments below.
                                      CONCLUSION
                     The judgments of the Ninth Circuit and the District
                 Court for the District of Columbia, as well as the orders
                 of the Eastern District of New York, should be reversed.
                    Respectfully submitted.
                                                 NOEL J. FRANCISCO
                                                   Solicitor General
                                                 JOSEPH H. HUNT
                                                   Assistant Attorney
                                                    General
                                                 JEFFREY B. WALL
                                                   Deputy Solicitor General
                                                 HASHIM M. MOOPPAN
                                                   Deputy Assistant Attorney
                                                    General
                                                 JONATHAN Y. ELLIS
                                                   Assistant to the Solicitor
                                                    General
                                                 MARK B. STERN
                                                 ABBY C. WRIGHT
                                                 THOMAS PULHAM
                                                   Attorneys
                 AUGUST 2019




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                                             APPENDIX

                 1.    U.S. Const. Amend. V provides:
                     No person shall be held to answer for a capital, or
                 otherwise infamous crime, unless on a presentment or
                 indictment of a Grand Jury, except in cases arising in
                 the land or naval forces, or in the Militia, when in actual
                 service in time of War or public danger; nor shall any
                 person be subject for the same offence to be twice put in
                 jeopardy of life or limb; nor shall be compelled in any
                 criminal case to be a witness against himself, nor be de-
                 prived of life, liberty, or property, without due process
                 of law; nor shall private property be taken for public use,
                 without just compensation.


                 2.    5 U.S.C. 701 provides:
                 Application; definitions
                    (a) This chapter applies, according to the provi-
                 sions thereof, except to the extent that—
                            (1)   statutes preclude judicial review; or
                         (2) agency action is committed to agency discre-
                      tion by law.
                      (b)     For the purpose of this chapter—
                         (1) “agency” means each authority of the Gov-
                      ernment of the United States, whether or not it is
                      within or subject to review by another agency, but
                      does not include—
                              (A)    the Congress;
                              (B)    the courts of the United States;



                                                 (1a)




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                           (C) the governments of the territories or pos-
                         sessions of the United States;
                            (D)   the government of the District of Colum-
                         bia;
                            (E) agencies composed of representatives of
                         the parties or of representatives of organizations
                         of the parties to the disputes determined by them;
                           (F)    courts martial and military commissions;
                            (G) military authority exercised in the field in
                         time of war or in occupied territory; or
                            (H) functions conferred by sections 1738,
                         1739, 1743, and 1744 of title 12; subchapter II of
                         chapter 471 of title 49; or sections 1884, 1891-1902,
                         and former section 1641(b)(2), of title 50, appen-
                         dix; and
                         (2) “person”, “rule”, “order”, “license”, “sanction”,
                      “relief ”, and “agency action” have the meanings
                      given them by section 551 of this title.


                 3.    5 U.S.C. 706 provides:
                 Scope of review
                    To the extent necessary to decision and when pre-
                 sented, the reviewing court shall decide all relevant
                 questions of law, interpret constitutional and statutory
                 provisions, and determine the meaning or applicability
                 of the terms of an agency action. The reviewing court
                 shall—
                        (1) compel agency action unlawfully withheld or
                      unreasonably delayed; and




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                         (2) hold unlawful and set aside agency action,
                      findings, and conclusions found to be—
                           (A) arbitrary, capricious, an abuse of discre-
                        tion, or otherwise not in accordance with law;
                          (B) contrary to constitutional right, power,
                        privilege, or immunity;
                           (C) in excess of statutory jurisdiction, author-
                        ity, or limitations, or short of statutory right;
                          (D) without observance of procedure required
                        by law;
                          (E) unsupported by substantial evidence in a
                        case subject to sections 556 and 557 of this title or
                        otherwise reviewed on the record of an agency
                        hearing provided by statute; or
                          (F) unwarranted by the facts to the extent
                        that the facts are subject to trial de novo by the
                        reviewing court.
                 In making the foregoing determinations, the court shall
                 review the whole record or those parts of it cited by a
                 party, and due account shall be taken of the rule of prej-
                 udicial error.


                 4.    6 U.S.C. 202 (2012 & Supp. V 2017) provides:
                 Border, maritime, and transportation responsibilities
                      The Secretary shall be responsible for the following:
                         (1) Preventing the entry of terrorists and the in-
                      struments of terrorism into the United States.




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                       (2) Securing the borders, territorial waters, ports,
                    terminals, waterways, and air, land, and sea trans-
                    portation systems of the United States, including
                    managing and coordinating those functions trans-
                    ferred to the Department at ports of entry.
                       (3) Carrying out the immigration enforcement
                    functions vested by statute in, or performed by, the
                    Commissioner of Immigration and Naturalization (or
                    any officer, employee, or component of the Immigra-
                    tion and Naturalization Service) immediately before
                    the date on which the transfer of functions specified
                    under section 251 of this title takes effect.
                       (4) Establishing and administering rules, in ac-
                    cordance with section 236 of this title, governing the
                    granting of visas or other forms of permission, in-
                    cluding parole, to enter the United States to individ-
                    uals who are not a citizen or an alien lawfully admit-
                    ted for permanent residence in the United States.
                      (5) Establishing national immigration enforce-
                    ment policies and priorities.
                       (6) Except as provided in part C of this subchap-
                    ter, administering the customs laws of the United
                    States.
                       (7) Conducting the inspection and related ad-
                    ministrative functions of the Department of Agricul-
                    ture transferred to the Secretary of Homeland Secu-
                    rity under section 231 of this title.
                        (8) In carrying out the foregoing responsibili-
                    ties, ensuring the speedy, orderly, and efficient flow
                    of lawful traffic and commerce.




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                 5.    8 U.S.C. 1103 provides in pertinent part:
                 Powers and duties of the Secretary, the Under Secretary,
                 and the Attorney General
                 (a)   Secretary of Homeland Security
                    (1) The Secretary of Homeland Security shall be
                 charged with the administration and enforcement of this
                 chapter and all other laws relating to the immigration
                 and naturalization of aliens, except insofar as this chap-
                 ter or such laws relate to the powers, functions, and du-
                 ties conferred upon the President, Attorney General,
                 the Secretary of State, the officers of the Department of
                 State, or diplomatic or consular officers: Provided,
                 however, That determination and ruling by the Attorney
                 General with respect to all questions of law shall be con-
                 trolling.
                    (2) He shall have control, direction, and supervi-
                 sion of all employees and of all the files and records of
                 the Service.
                    (3) He shall establish such regulations; prescribe
                 such forms of bond, reports, entries, and other papers;
                 issue such instructions; and perform such other acts as
                 he deems necessary for carrying out his authority under
                 the provisions of this chapter.
                    (4) He may require or authorize any employee of
                 the Service or the Department of Justice to perform or
                 exercise any of the powers, privileges, or duties con-
                 ferred or imposed by this chapter or regulations issued
                 thereunder upon any other employee of the Service.
                   (5) He shall have the power and duty to control and
                 guard the boundaries and borders of the United States




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                 against the illegal entry of aliens and shall, in his discre-
                 tion, appoint for that purpose such number of employees
                 of the Service as to him shall appear necessary and proper.
                    (6) He is authorized to confer or impose upon any
                 employee of the United States, with the consent of the
                 head of the Department or other independent establish-
                 ment under whose jurisdiction the employee is serving,
                 any of the powers, privileges, or duties conferred or im-
                 posed by this chapter or regulations issued thereunder
                 upon officers or employees of the Service.
                     (7) He may, with the concurrence of the Secretary
                 of State, establish offices of the Service in foreign coun-
                 tries; and, after consultation with the Secretary of State,
                 he may, whenever in his judgment such action may be
                 necessary to accomplish the purposes of this chapter, de-
                 tail employees of the Service for duty in foreign countries.
                    (8) After consultation with the Secretary of State,
                 the Attorney General may authorize officers of a foreign
                 country to be stationed at preclearance facilities in the
                 United States for the purpose of ensuring that persons
                 traveling from or through the United States to that for-
                 eign country comply with that country’s immigration
                 and related laws.
                    (9) Those officers may exercise such authority and
                 perform such duties as United States immigration offic-
                 ers are authorized to exercise and perform in that for-
                 eign country under reciprocal agreement, and they shall
                 enjoy such reasonable privileges and immunities neces-
                 sary for the performance of their duties as the govern-
                 ment of their country extends to United States immigra-
                 tion officers.




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                    (10) In the event the Attorney General determines
                 that an actual or imminent mass influx of aliens arriving
                 off the coast of the United States, or near a land border,
                 presents urgent circumstances requiring an immediate
                 Federal response, the Attorney General may authorize
                 any State or local law enforcement officer, with the con-
                 sent of the head of the department, agency, or establish-
                 ment under whose jurisdiction the individual is serving,
                 to perform or exercise any of the powers, privileges, or
                 duties conferred or imposed by this chapter or regula-
                 tions issued thereunder upon officers or employees of
                 the Service.
                    (11) The Attorney General, in support of persons in
                 administrative detention in non-Federal institutions, is
                 authorized—
                       (A) to make payments from funds appropriated
                    for the administration and enforcement of the laws
                    relating to immigration, naturalization, and alien reg-
                    istration for necessary clothing, medical care, neces-
                    sary guard hire, and the housing, care, and security
                    of persons detained by the Service pursuant to Fed-
                    eral law under an agreement with a State or political
                    subdivision of a State; and
                       (B) to enter into a cooperative agreement with
                    any State, territory, or political subdivision thereof,
                    for the necessary construction, physical renovation,
                    acquisition of equipment, supplies or materials re-
                    quired to establish acceptable conditions of confine-
                    ment and detention services in any State or unit of
                    local government which agrees to provide guaran-
                    teed bed space for persons detained by the Service.

                                      *   *   *    *   *




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                 (g)     Attorney General
                       (1)   In general
                          The Attorney General shall have such authorities
                       and functions under this chapter and all other laws
                       relating to the immigration and naturalization of al-
                       iens as were exercised by the Executive Office for
                       Immigration Review, or by the Attorney General
                       with respect to the Executive Office for Immigration
                       Review, on the day before the effective date of the
                       Immigration Reform, Accountability and Security
                       Enhancement Act of 2002.
                       (2)   Powers
                          The Attorney General shall establish such regula-
                       tions, prescribe such forms of bond, reports, entries,
                       and other papers, issue such instructions, review
                       such administrative determinations in immigration
                       proceedings, delegate such authority, and perform
                       such other acts as the Attorney General determines
                       to be necessary for carrying out this section.




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                 6.     8 U.S.C. 1252 provides:
                 Judicial review of orders of removal
                 (a)     Applicable provisions
                       (1)     General orders of removal
                          Judicial review of a final order of removal (other
                       than an order of removal without a hearing pursuant
                       to section 1225(b)(1) of this title) is governed only by
                       chapter 158 of title 28, except as provided in subsec-
                       tion (b) of this section and except that the court may
                       not order the taking of additional evidence under sec-
                       tion 2347(c) of such title.
                       (2)     Matters not subject to judicial review
                             (A)     Review relating to section 1225(b)(1)
                                 Notwithstanding any other provision of law
                             (statutory or nonstatutory), including section 2241
                             of title 28, or any other habeas corpus provision,
                             and sections 1361 and 1651 of such title, no court
                             shall have jurisdiction to review—
                                      (i) except as provided in subsection (e),
                                   any individual determination or to entertain
                                   any other cause or claim arising from or relat-
                                   ing to the implementation or operation of an
                                   order of removal pursuant to section 1225(b)(1)
                                   of this title,
                                      (ii) except as provided in subsection (e) of
                                   this section, a decision by the Attorney General
                                   to invoke the provisions of such section,
                                      (iii) the application of such section to indi-
                                   vidual aliens, including the determination made
                                   under section 1225(b)(1)(B) of this title, or




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                               (iv) except as provided in subsection (e) of
                            this section, procedures and policies adopted
                            by the Attorney General to implement the pro-
                            visions of section 1225(b)(1) of this title.
                      (B)     Denials of discretionary relief
                          Notwithstanding any other provision of law
                      (statutory or nonstatutory), including section 2241
                      of title 28, or any other habeas corpus provision,
                      and sections 1361 and 1651 of such title, and ex-
                      cept as provided in subparagraph (D), and regard-
                      less of whether the judgment, decision, or action
                      is made in removal proceedings, no court shall
                      have jurisdiction to review—
                               (i) any judgment regarding the granting
                            of relief under section 1182(h), 1182(i), 1229b,
                            1229c, or 1255 of this title, or
                               (ii) any other decision or action of the At-
                            torney General or the Secretary of Homeland
                            Security the authority for which is specified
                            under this subchapter to be in the discretion of
                            the Attorney General or the Secretary of Home-
                            land Security, other than the granting of relief
                            under section 1158(a) of this title.
                      (C)     Orders against criminal aliens
                          Notwithstanding any other provision of law
                      (statutory or nonstatutory), including section 2241
                      of title 28, or any other habeas corpus provision,
                      and sections 1361 and 1651 of such title, and ex-
                      cept as provided in subparagraph (D), no court
                      shall have jurisdiction to review any final order of
                      removal against an alien who is removable by rea-




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                          son of having committed a criminal offense cov-
                          ered in section 1182(a)(2) or 1227(a)(2)(A)(iii), (B),
                          (C), or (D) of this title, or any offense covered by
                          section 1227(a)(2)(A)(ii) of this title for which both
                          predicate offenses are, without regard to their
                          date of commission, otherwise covered by section
                          1227(a)(2)(A)(i) of this title.
                          (D)   Judicial review of certain legal claims
                              Nothing in subparagraph (B) or (C), or in any
                          other provision of this chapter (other than this
                          section) which limits or eliminates judicial review,
                          shall be construed as precluding review of consti-
                          tutional claims or questions of law raised upon a
                          petition for review filed with an appropriate court
                          of appeals in accordance with this section.
                    (3)     Treatment of certain decisions
                       No alien shall have a right to appeal from a deci-
                    sion of an immigration judge which is based solely on
                    a certification described in section 1229a(c)(1)(B) of
                    this title.
                    (4)     Claims under the United Nations Convention
                        Notwithstanding any other provision of law (stat-
                    utory or nonstatutory), including section 2241 of title
                    28, or any other habeas corpus provision, and sec-
                    tions 1361 and 1651 of such title, a petition for review
                    filed with an appropriate court of appeals in accord-
                    ance with this section shall be the sole and exclusive
                    means for judicial review of any cause or claim under
                    the United Nations Convention Against Torture and
                    Other Forms of Cruel, Inhuman, or Degrading Treat-
                    ment or Punishment, except as provided in subsec-
                    tion (e).




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                       (5)   Exclusive means of review
                           Notwithstanding any other provision of law (stat-
                       utory or nonstatutory), including section 2241 of title
                       28, or any other habeas corpus provision, and sec-
                       tions 1361 and 1651 of such title, a petition for review
                       filed with an appropriate court of appeals in accord-
                       ance with this section shall be the sole and exclusive
                       means for judicial review of an order of removal en-
                       tered or issued under any provision of this chapter,
                       except as provided in subsection (e). For purposes
                       of this chapter, in every provision that limits or elim-
                       inates judicial review or jurisdiction to review, the
                       terms “judicial review” and “jurisdiction to review”
                       include habeas corpus review pursuant to section
                       2241 of title 28, or any other habeas corpus provision,
                       sections 1361 and 1651 of such title, and review pur-
                       suant to any other provision of law (statutory or non-
                       statutory).
                 (b)     Requirements for review of orders of removal
                    With respect to review of an order of removal under
                 subsection (a)(1), the following requirements apply:
                       (1)   Deadline
                          The petition for review must be filed not later than
                       30 days after the date of the final order of removal.
                       (2)   Venue and forms
                          The petition for review shall be filed with the court
                       of appeals for the judicial circuit in which the immi-
                       gration judge completed the proceedings. The rec-
                       ord and briefs do not have to be printed. The court
                       of appeals shall review the proceeding on a typewrit-
                       ten record and on typewritten briefs.




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                   (3)     Service
                         (A)   In general
                            The respondent is the Attorney General. The
                         petition shall be served on the Attorney General
                         and on the officer or employee of the Service in
                         charge of the Service district in which the final or-
                         der of removal under section 1229a of this title was
                         entered.
                         (B)   Stay of order
                            Service of the petition on the officer or em-
                         ployee does not stay the removal of an alien pend-
                         ing the court’s decision on the petition, unless the
                         court orders otherwise.
                         (C)   Alien’s brief
                            The alien shall serve and file a brief in connec-
                         tion with a petition for judicial review not later
                         than 40 days after the date on which the adminis-
                         trative record is available, and may serve and file
                         a reply brief not later than 14 days after service of
                         the brief of the Attorney General, and the court
                         may not extend these deadlines except upon mo-
                         tion for good cause shown. If an alien fails to file
                         a brief within the time provided in this paragraph,
                         the court shall dismiss the appeal unless a mani-
                         fest injustice would result.
                   (4)     Scope and standard for review
                         Except as provided in paragraph (5)(B)—
                             (A) the court of appeals shall decide the pe-
                         tition only on the administrative record on which
                         the order of removal is based,




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                             (B) the administrative findings of fact are con-
                          clusive unless any reasonable adjudicator would
                          be compelled to conclude to the contrary,
                            (C) a decision that an alien is not eligible for
                          admission to the United States is conclusive unless
                          manifestly contrary to law, and
                             (D) the Attorney General’s discretionary judg-
                          ment whether to grant relief under section 1158(a)
                          of this title shall be conclusive unless manifestly
                          contrary to the law and an abuse of discretion.
                    No court shall reverse a determination made by a
                    trier of fact with respect to the availability of corrobo-
                    rating evidence, as described in section 1158(b)(1)(B),
                    1229a(c)(4)(B), or 1231(b)(3)(C) of this title, unless
                    the court finds, pursuant to subsection (b)(4)(B) of
                    this section, that a reasonable trier of fact is com-
                    pelled to conclude that such corroborating evidence
                    is unavailable.
                    (5)     Treatment of nationality claims
                          (A)   Court determination if no issue of fact
                              If the petitioner claims to be a national of the
                          United States and the court of appeals finds from
                          the pleadings and affidavits that no genuine issue
                          of material fact about the petitioner’s nationality
                          is presented, the court shall decide the nationality
                          claim.
                          (B)   Transfer if issue of fact
                             If the petitioner claims to be a national of the
                          United States and the court of appeals finds that
                          a genuine issue of material fact about the peti-
                          tioner’s nationality is presented, the court shall




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                          transfer the proceeding to the district court of the
                          United States for the judicial district in which the
                          petitioner resides for a new hearing on the nation-
                          ality claim and a decision on that claim as if an ac-
                          tion had been brought in the district court under
                          section 2201 of title 28.
                          (C)   Limitation on determination
                             The petitioner may have such nationality claim
                          decided only as provided in this paragraph.
                    (6)     Consolidation with review of motions to reopen
                            or reconsider
                       When a petitioner seeks review of an order under
                    this section, any review sought of a motion to reopen
                    or reconsider the order shall be consolidated with the
                    review of the order.
                    (7)     Challenge to validity of orders in certain crimi-
                            nal proceedings
                          (A)   In general
                              If the validity of an order of removal has not
                          been judicially decided, a defendant in a criminal
                          proceeding charged with violating section 1253(a)
                          of this title may challenge the validity of the order
                          in the criminal proceeding only by filing a separate
                          motion before trial. The district court, without a
                          jury, shall decide the motion before trial.
                          (B)   Claims of United States nationality
                             If the defendant claims in the motion to be a na-
                          tional of the United States and the district court
                          finds that—




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                               (i)   no genuine issue of material fact about
                            the defendant’s nationality is presented, the
                            court shall decide the motion only on the ad-
                            ministrative record on which the removal order
                            is based and the administrative findings of fact
                            are conclusive if supported by reasonable, sub-
                            stantial, and probative evidence on the record
                            considered as a whole; or
                               (ii) a genuine issue of material fact about
                            the defendant’s nationality is presented, the
                            court shall hold a new hearing on the nationality
                            claim and decide that claim as if an action had
                            been brought under section 2201 of title 28.
                          The defendant may have such nationality claim
                          decided only as provided in this subparagraph.
                          (C)   Consequence of invalidation
                             If the district court rules that the removal order
                          is invalid, the court shall dismiss the indictment
                          for violation of section 1253(a) of this title. The
                          United States Government may appeal the dismis-
                          sal to the court of appeals for the appropriate cir-
                          cuit within 30 days after the date of the dismissal.
                          (D)   Limitation on filing petitions for review
                             The defendant in a criminal proceeding under
                          section 1253(a) of this title may not file a petition
                          for review under subsection (a) during the crimi-
                          nal proceeding.
                    (8)     Construction
                          This subsection—




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                                (A) does not prevent the Attorney General,
                             after a final order of removal has been issued,
                             from detaining the alien under section 1231(a) of
                             this title;
                                (B) does not relieve the alien from complying
                             with section 1231(a)(4) of this title and section
                             1253(g)1 of this title; and
                                (C) does not require the Attorney General to
                             defer removal of the alien.
                       (9)     Consolidation of questions for judicial review
                          Judicial review of all questions of law and fact, in-
                       cluding interpretation and application of constitu-
                       tional and statutory provisions, arising from any ac-
                       tion taken or proceeding brought to remove an alien
                       from the United States under this subchapter shall
                       be available only in judicial review of a final order un-
                       der this section. Except as otherwise provided in
                       this section, no court shall have jurisdiction, by ha-
                       beas corpus under section 2241 of title 28 or any other
                       habeas corpus provision, by section 1361 or 1651 of
                       such title, or by any other provision of law (statutory
                       or nonstatutory), to review such an order or such
                       questions of law or fact.
                 (c)     Requirements for petition
                    A petition for review or for habeas corpus of an order
                 of removal—
                             (1)   shall attach a copy of such order, and
                          (2) shall state whether a court has upheld the
                       validity of the order, and, if so, shall state the name

                  1
                       See References in Text note below.




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                       of the court, the date of the court’s ruling, and the
                       kind of proceeding.
                 (d)     Review of final orders
                       A court may review a final order of removal only if—
                         (1) the alien has exhausted all administrative
                       remedies available to the alien as of right, and
                          (2) another court has not decided the validity of
                       the order, unless the reviewing court finds that the
                       petition presents grounds that could not have been
                       presented in the prior judicial proceeding or that the
                       remedy provided by the prior proceeding was inade-
                       quate or ineffective to test the validity of the order.
                 (e)     Judicial review of orders under section 1225(b)(1)
                       (1)     Limitations on relief
                          Without regard to the nature of the action or claim
                       and without regard to the identity of the party or par-
                       ties bringing the action, no court may—
                                (A) enter declaratory, injunctive, or other eq-
                             uitable relief in any action pertaining to an order
                             to exclude an alien in accordance with section
                             1225(b)(1) of this title except as specifically au-
                             thorized in a subsequent paragraph of this subsec-
                             tion, or
                                (B) certify a class under Rule 23 of the Fed-
                             eral Rules of Civil Procedure in any action for
                             which judicial review is authorized under a subse-
                             quent paragraph of this subsection.




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                    (2)     Habeas corpus proceedings
                       Judicial review of any determination made under
                    section 1225(b)(1) of this title is available in habeas
                    corpus proceedings, but shall be limited to determi-
                    nations of—
                             (A)   whether the petitioner is an alien,
                            (B) whether the petitioner was ordered re-
                          moved under such section, and
                              (C) whether the petitioner can prove by a
                          preponderance of the evidence that the petitioner
                          is an alien lawfully admitted for permanent resi-
                          dence, has been admitted as a refugee under sec-
                          tion 1157 of this title, or has been granted asylum
                          under section 1158 of this title, such status not
                          having been terminated, and is entitled to such
                          further inquiry as prescribed by the Attorney
                          General pursuant to section 1225(b)(1)(C) of this
                          title.
                    (3)     Challenges on validity of the system
                          (A) In general
                              Judicial review of determinations under sec-
                          tion 1225(b) of this title and its implementation is
                          available in an action instituted in the United
                          States District Court for the District of Columbia,
                          but shall be limited to determinations of—
                                (i) whether such section, or any regulation
                             issued to implement such section, is constitu-
                             tional; or
                               (ii) whether such a regulation, or a written
                             policy directive, written policy guideline, or




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                             written procedure issued by or under the au-
                             thority of the Attorney General to implement
                             such section, is not consistent with applicable
                             provisions of this subchapter or is otherwise in
                             violation of law.
                          (B) Deadlines for bringing actions
                             Any action instituted under this paragraph
                          must be filed no later than 60 days after the date
                          the challenged section, regulation, directive, guide-
                          line, or procedure described in clause (i) or (ii) of
                          subparagraph (A) is first implemented.
                          (C) Notice of appeal
                             A notice of appeal of an order issued by the Dis-
                          trict Court under this paragraph may be filed not
                          later than 30 days after the date of issuance of
                          such order.
                          (D) Expeditious consideration of cases
                             It shall be the duty of the District Court, the
                          Court of Appeals, and the Supreme Court of the
                          United States to advance on the docket and to ex-
                          pedite to the greatest possible extent the disposi-
                          tion of any case considered under this paragraph.
                    (4)     Decision
                       In any case where the court determines that the
                    petitioner—
                            (A) is an alien who was not ordered removed
                          under section 1225(b)(1) of this title, or
                             (B) has demonstrated by a preponderance of
                          the evidence that the alien is an alien lawfully ad-




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                              mitted for permanent residence, has been admit-
                              ted as a refugee under section 1157 of this title, or
                              has been granted asylum under section 1158 of
                              this title, the court may order no remedy or relief
                              other than to require that the petitioner be pro-
                              vided a hearing in accordance with section 1229a
                              of this title. Any alien who is provided a hearing
                              under section 1229a of this title pursuant to this
                              paragraph may thereafter obtain judicial review
                              of any resulting final order of removal pursuant to
                              subsection (a)(1).
                        (5)     Scope of inquiry
                           In determining whether an alien has been ordered
                        removed under section 1225(b)(1) of this title, the
                        court’s inquiry shall be limited to whether such an or-
                        der in fact was issued and whether it relates to the
                        petitioner. There shall be no review of whether the
                        alien is actually inadmissible or entitled to any relief
                        from removal.
                 (f )     Limit on injunctive relief
                        (1)     In general
                            Regardless of the nature of the action or claim or
                        of the identity of the party or parties bringing the ac-
                        tion, no court (other than the Supreme Court) shall
                        have jurisdiction or authority to enjoin or restrain
                        the operation of the provisions of part IV of this sub-
                        chapter, as amended by the Illegal Immigration Re-
                        form and Immigrant Responsibility Act of 1996,
                        other than with respect to the application of such pro-
                        visions to an individual alien against whom proceed-
                        ings under such part have been initiated.




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                       (2)   Particular cases
                          Notwithstanding any other provision of law, no
                       court shall enjoin the removal of any alien pursuant
                       to a final order under this section unless the alien
                       shows by clear and convincing evidence that the en-
                       try or execution of such order is prohibited as a mat-
                       ter of law.
                 (g)     Exclusive jurisdiction
                    Except as provided in this section and notwithstand-
                 ing any other provision of law (statutory or nonstatu-
                 tory), including section 2241 of title 28, or any other ha-
                 beas corpus provision, and sections 1361 and 1651 of
                 such title, no court shall have jurisdiction to hear any
                 cause or claim by or on behalf of any alien arising from
                 the decision or action by the Attorney General to com-
                 mence proceedings, adjudicate cases, or execute re-
                 moval orders against any alien under this chapter.




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                                 Nos. 18-587, 18-588, 18-589

                 In the Supreme Court of the United States
                                      ————————
                   DEPARTMENT OF HOMELAND SECURITY, et al., Petitioners,
                                           v.
                REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al., Respondents.
                                    ————————
                     ON WRIT OF CERTIORARI TO THE UNITED STATES
                        COURT OF APPEALS FOR THE NINTH CIRCUIT
                                    ————————
                           DONALD J. TRUMP, PRESIDENT OF THE
                             UNITED STATES, et al., Petitioners,
                                           v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                           COLORED PEOPLE, et al., Respondents.
                                    ————————
                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                        TO THE UNITED STATES COURT OF APPEALS
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ————————
                      KEVIN K. MCALEENAN, ACTING SECRETARY OF
                          HOMELAND SECURITY, et al., Petitioners,
                                           v.
                   MARTÍN JONATHAN BATALLA VIDAL, et al., Respondents.
                                    ————————
                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                        TO THE UNITED STATES COURT OF APPEALS
                                FOR THE SECOND CIRCUIT
                                    ————————
                         BRIEF OF RESPONDENTS THE STATES OF
                    CALIFORNIA, MAINE, MARYLAND, AND MINNESOTA
                                      ————————
                                             XAVIER BECERRA
                                               Attorney General of California
                                             MICHAEL J. MONGAN*
                                               Solicitor General
                                             MICHAEL L. NEWMAN
                                               Senior Assistant Attorney General
                                             SAMUEL P. SIEGEL
                                             JOSHUA PATASHNIK
                                               Deputy Solicitors General
                                             SHUBHRA SHIVPURI
                                             JAMES F. ZAHRADKA II
                                               Deputy Attorneys General
                                             455 Golden Gate Ave.
                                             San Francisco, CA 94102
                                             (415) 510-3920
                                             Michael.Mongan@doj.ca.gov
                 September 27, 2019          *Counsel of Record
                           (Additional counsel listed on inside cover)




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                 AARON M. FREY                 KEITH ELLISON
                  Attorney General of Maine     Attorney General
                 SUSAN P. HERMAN                 of Minnesota
                  Deputy Attorney General      LIZ KRAMER
                 6 State House Station          Solicitor General
                 Augusta, ME 04333             JACOB CAMPION
                                                Assistant Attorney General
                 BRIAN E. FROSH                445 Minnesota Street
                  Attorney General             Suite 1100
                   of Maryland                 St. Paul, MN 55101
                 STEVEN M. SULLIVAN
                  Solicitor General
                 LEAH J. TULIN
                  Assistant Attorney General
                 200 Saint Paul Place
                 20th Floor
                 Baltimore, MD 21202




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                             QUESTIONS PRESENTED
                     Whether the district courts in these consolidated
                 cases properly held (i) that petitioners’ September
                 2017 decision to terminate the Deferred Action for
                 Childhood Arrivals policy is subject to judicial review
                 under the Administrative Procedure Act, (ii) that the
                 decision violated or likely violated the Act, and (iii)
                 that petitioners’ motions to dismiss certain other
                 claims that remain pending in the California and New
                 York proceedings should be denied.




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                                  INTRODUCTION
                     The Deferred Action for Childhood Arrivals policy
                 enables certain young people to apply for deferred
                 action, a form of discretionary immigration relief, on
                 an individual basis. Those eligible for consideration
                 under DACA arrived in the United States as children
                 and many of them have never known any other home.
                 All are either enrolled in school, have completed it, or
                 have served honorably in our armed forces. DACA
                 recipients contribute to their States and the Nation as
                 employees, parents, and productive members of our
                 communities. Deferred action affords them a measure
                 of stability and reassurance as they go about their
                 lives and careers here. As a policy, DACA has enjoyed
                 widespread support. As a legal matter, it is grounded
                 in the Executive Branch’s broad authority to set prior-
                 ities and exercise discretion in enforcing the immigra-
                 tion laws, and is consistent with similar class-based
                 discretionary relief policies adopted over the last six
                 decades.
                    In September 2017, however, petitioners decided to
                 terminate the DACA policy. The decision memoran-
                 dum, signed by then-Acting Secretary of Homeland
                 Security Duke, offered only one rationale: that DACA
                 was unlawful. It cited a one-page letter from then-
                 Attorney General Sessions asserting that the policy
                 was unconstitutional and beyond the agency’s statu-
                 tory authority.
                     The respondents in the proceedings now before this
                 Court filed suits challenging the termination decision
                 in district courts in California, New York, and the Dis-
                 trict of Columbia. All three courts held that the deci-
                 sion was subject to review under the Administrative
                 Procedure Act, in light of the legal rationale proffered
                 for the action. The California and New York district




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                 courts granted preliminary injunctions on the ground
                 that the agency’s stated legal premise was incorrect,
                 and the Ninth Circuit has since affirmed the grant of
                 preliminary relief in the California proceeding. The
                 D.C. district court vacated the agency’s decision on the
                 ground that the legal premise was, at a minimum,
                 inadequately explained. Those rulings are correct,
                 and the termination decision may be vacated on either
                 ground identified by the courts below.
                     Petitioners complain that the lower courts “have
                 forced DHS to maintain this entirely discretionary pol-
                 icy for nearly two years.” U.S. Br. 16. In fact, no court
                 has held that “DACA could not be rescinded as an
                 exercise of Executive Branch discretion.” Regents
                 Supp. App. 57a; see NAACP Pet. App. 108a-109a; Ba-
                 talla Vidal Pet. App. 67a. On the contrary, the courts
                 below have recognized and highlighted the Executive’s
                 wide discretion in setting policies regarding immigra-
                 tion enforcement. So far, however, petitioners have
                 chosen to stand by their original decision, which is
                 based not on policy grounds but on the assertion that
                 DACA is unlawful. That decision must stand or fall
                 on the contemporaneous rationale that the agency
                 chose to offer as the public basis for its action. See,
                 e.g., Camp v. Pitts, 411 U.S. 138, 142-143 (1973) (per
                 curiam). It cannot be sustained on that basis.
                                     STATEMENT
                     A. Legal and Factual Background
                    1. Congress has granted the Executive Branch
                 broad authority with respect to immigration enforce-
                 ment. It has charged the Secretary of Homeland
                 Security “with the administration and enforcement of ”
                 the Immigration and Nationality Act “and all other
                 laws relating to . . . immigration and naturalization,”




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                 8 U.S.C. § 1103(a)(1); directed him to “establish such
                 regulations; . . . issue such instructions; and perform
                 such other acts as he deems necessary for carrying out
                 his authority,” id. § 1103(a)(3); and made him respon-
                 sible for “[e]stablishing national immigration enforce-
                 ment policies and priorities,” 6 U.S.C. § 202(5).
                    That responsibility carries with it an obligation to
                 exercise “broad discretion” in enforcing the immigra-
                 tion laws. Arizona v. United States, 567 U.S. 387, 396
                 (2012). Such discretion is a “principal feature of the
                 removal system.” Id. It is inherent in the fact that the
                 federal government cannot realistically remove every
                 undocumented immigrant, see Regents Supp. App.
                 55a-56a—even if doing so were desirable as a policy
                 matter. And it “embraces immediate human con-
                 cerns” and the “equities of an individual case,” such as
                 whether an immigrant has “long ties to the commu-
                 nity, or a record of distinguished military service.” Ar-
                 izona, 567 U.S. at 396.
                    The authority to exercise discretion takes several
                 forms. Some are specifically authorized by statute.
                 See, e.g., 8 U.S.C. § 1182(d)(5)(A) (parole); id. § 1254a
                 (temporary protected status). Others have been rec-
                 ognized as inherent in the Executive’s authority in
                 this area. See J.A. 817 n.5 (deferred enforced depar-
                 ture); Hotel & Rest. Emps. Union v. Smith, 846 F.2d
                 1499, 1519 (D.C. Cir. 1988) (en banc) (opinion of Sil-
                 berman, J.) (extended voluntary departure).
                     This case involves deferred action, a “regular prac-
                 tice” in which the Executive decides that “no action
                 will thereafter be taken to proceed against an appar-
                 ently deportable alien.” Reno v. Am.-Arab Anti-Dis-
                 crimination Comm., 525 U.S. 471, 484 (1999) (quoting
                 6 Gordon et al., Immigration Law and Procedure




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                 § 72.03[2][h] (1998)). Under longstanding federal reg-
                 ulations, the validity of which is not disputed here,
                 recipients of deferred action may seek work authoriza-
                 tion and receive certain other limited benefits. See 8
                 C.F.R. §§ 1.3(a)(4)(vi), 214.14(d)(3), 274a.12(c)(14); 28
                 C.F.R. § 1100.35(b)(2). Like other forms of discretion-
                 ary immigration relief, deferred action may be exer-
                 cised on a purely ad hoc basis, or through policies that
                 provide a framework to guide individualized decisions
                 for applicants in a particular class. For nearly 60
                 years, the Executive Branch has operated dozens of
                 class-based discretionary relief policies, including sev-
                 eral that involved deferred action. See J.A. 821-826.
                    2. Established in 2012, DACA creates a framework
                 guiding deferred action decisions regarding “certain
                 young people who were brought to this country as chil-
                 dren,” many of whom “know only this country as
                 home.” Regents Pet. App. 97a-98a. Individuals who
                 obtain deferred action under DACA receive a provi-
                 sional grant of forbearance from removal for a two-
                 year period, subject to renewal. Id. at 98a-101a. They
                 do not gain any lawful immigration status, and immi-
                 gration officials retain the ability to commence re-
                 moval proceedings against them at any time. J.A. 819.
                     Before the Secretary announced DACA, the Office
                 of Legal Counsel at the Department of Justice advised
                 that a policy such as DACA would be legally sound so
                 long as immigration officials “retained discretion to
                 evaluate [its] application on an individualized basis.”
                 J.A. 827 n.8. After the Secretary implemented DACA,
                 the federal government successfully defended the pol-
                 icy against various legal challenges. See Arpaio v.
                 Obama, 797 F.3d 11 (D.C. Cir. 2015); Crane v. John-
                 son, 783 F.3d 244 (5th Cir. 2015).




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                    By September 2017 there were nearly 700,000
                 active DACA recipients, with an average age of just
                 under 24 years old. Regents Pet. App. 13a. More than
                 400,000 of those individuals lived in the respondent
                 States. J.A. 998. Over 90 percent of DACA recipients
                 are employed, and 45 percent are in school. Regents
                 Pet. App. 13a. They have bought homes, embarked on
                 careers, and started families. See J.A. 879-980. They
                 are employees at our state and local agencies, and stu-
                 dents and staff at our public colleges and universities.
                 See, e.g., J.A. 513, 515, 557, 756-765. They add value
                 to the States and our local communities in many
                 ways—including by contributing to our economies,
                 paying billions of dollars in taxes, and parenting their
                 children. See, e.g., J.A. 510-525, 733-753.
                     3. In 2014, then-Secretary of Homeland Security
                 Johnson announced the creation of a new program,
                 Deferred Action for Parents of Americans and Lawful
                 Permanent Residents (DAPA). DAPA would have
                 applied to adults who, among other things, had been
                 in the United States since 2010, were the parents of
                 citizens or lawful permanent residents, and were not
                 enforcement priorities. Regents Pet. App. 107a-110a.
                 It also would have expanded the scope of DACA in sev-
                 eral respects. Id. at 106a-107a.
                     Before DAPA could be implemented, Texas and
                 other States challenged its legality, and a district
                 court granted a nationwide preliminary injunction
                 temporarily barring its implementation. See Texas v.
                 United States, 86 F. Supp. 3d 591, 677-678 (S.D. Tex.
                 2015). A divided panel of the Fifth Circuit affirmed
                 that interlocutory order, see Texas v. United States,
                 809 F.3d 134, 146 (5th Cir. 2015), and this Court
                 affirmed the Fifth Circuit’s judgment by an equally
                 divided vote, see United States v. Texas, 136 S. Ct.




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                 2271 (2016) (per curiam). Before that litigation pro-
                 ceeded to final judgment, the current administration
                 took office and rescinded the DAPA policy. DAPA and
                 the intended expansion of DACA thus never went into
                 effect. But the preliminary injunction entered and
                 affirmed in Texas did not affect the original DACA pol-
                 icy.
                     4. The new administration initially retained
                 DACA and continued to solicit and process applica-
                 tions for deferred action under the policy. See Regents
                 Pet. App. 16a. Indeed, the President and other senior
                 officials expressed their commitment to the policy.
                 See, e.g., J.A. 435, 720. In the summer of 2017, how-
                 ever, officials at the Department of Justice began to
                 discuss DACA with the plaintiffs in the Texas litiga-
                 tion (which remained pending despite the rescission of
                 DAPA). Regents D.Ct. Dkt. 124 at 79-82. On June 29,
                 those plaintiffs publicly informed then-Attorney Gen-
                 eral Sessions that if the administration did not “phase
                 out the DACA program” by September 5, they would
                 amend their complaint to challenge DACA. J.A. 874.
                     On September 4, the Attorney General sent a one-
                 page letter advising then-Acting Secretary of Home-
                 land Security Duke that her Department “should
                 rescind” DACA because it was “unconstitutional” and
                 “effectuated . . . without proper statutory authority.”
                 J.A. 877. He further asserted that DACA “has the
                 same legal and constitutional defects that the courts
                 recognized as to DAPA.” J.A. 878. The Attorney Gen-
                 eral announced the termination of DACA at a press
                 conference the next day. J.A. 999-1004.
                    Also on September 5, Acting Secretary Duke issued
                 a memorandum formally rescinding DACA. Regents
                 Pet. App. 111a-119a. Her memorandum contained
                 one sentence explaining the reason for the decision:




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                 “Taking into consideration the Supreme Court’s and
                 the Fifth Circuit’s rulings in the ongoing [DAPA] liti-
                 gation, and the September 4, 2017 letter from the
                 Attorney General, it is clear that the June 15, 2012
                 DACA program should be terminated.” Id. at 117a.
                 She instructed her Department to stop accepting new
                 DACA applications immediately and to stop accepting
                 all renewal applications after one month. See id. at
                 117a-118a.
                     B. Procedural Background
                    These consolidated proceedings arise out of multi-
                 ple suits challenging the decision to terminate DACA,
                 which respondents filed in district courts in Califor-
                 nia, New York, and the District of Columbia.
                    1. The States of California, Maine, Maryland, and
                 Minnesota, as well as the other respondents in No. 18-
                 587, filed complaints in the Northern District of Cali-
                 fornia. They alleged, among other things, that the ter-
                 mination decision was arbitrary, capricious, or other-
                 wise not in accordance with law and thus invalid
                 under the Administrative Procedure Act, 5 U.S.C.
                 § 706(2)(A). See J.A. 376-579
                     a. Petitioners proffered an administrative record
                 consisting of 14 documents and “256 publicly available
                 pages, roughly three-quarters of which are taken up
                 by the three published judicial opinions from the
                 Texas litigation.” Regents Supp. App. 21a. The parties
                 disputed the adequacy of that putative administrative
                 record, including in proceedings before this Court. See
                 In re United States, 138 S. Ct. 443 (2017) (per curiam).
                 Consistent with this Court’s instructions, see id. at
                 445, the district court postponed petitioners’ obliga-
                 tion to complete the record and stayed discovery pend-
                 ing review of certain threshold defenses.




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                     Thereafter, the district court rejected petitioners’
                 arguments on reviewability, Regents Pet. App. 26a-
                 41a, and granted a limited preliminary injunction, id.
                 at 41a-70a. The court held that respondents were
                 likely to succeed on their APA claim because, among
                 other things, the agency’s decision was based on the
                 incorrect premise that DACA was unlawful. Id. at
                 41a-62a. The court also concluded that the equities
                 favored provisional relief. Id. at 62a-66a. The prelim-
                 inary injunction partially preserved the status quo for
                 individuals who had already received deferred action
                 under DACA. Id. at 66a. It allowed the agency to con-
                 tinue exercising individualized discretion in reviewing
                 renewal applications and to “proceed[] to remove any
                 individual, including any DACA enrollee, who it deter-
                 mines poses a risk to national security or public safety,
                 or otherwise deserves, in its judgment, to be removed.”
                 Id. In a separate order, the court dismissed some
                 additional claims, while allowing certain due process
                 and equal protection claims to proceed. Id. at 71a-90a.
                     b. The court of appeals affirmed. Regents Supp.
                 App. 1a-78a. It first addressed whether petitioners’
                 decision to terminate DACA was unreviewable as a
                 matter “committed to agency discretion by law” within
                 the meaning of 5 U.S.C. § 701(a)(2). The court as-
                 sumed without deciding that the decision fell within
                 the scope of Heckler v. Chaney, 470 U.S. 821 (1985),
                 which applied Section 701(a)(2) to create a presump-
                 tion of non-reviewability for “agency refusals to insti-
                 tute investigative or enforcement proceedings.” Id. at
                 838; see Regents Supp. App. 34a-35a n.13. The court
                 concluded, however, that “an agency’s nonenforcement
                 decision is outside the scope of the Chaney presump-
                 tion—and is therefore presumptively reviewable—if it
                 is based solely on a belief that the agency lacked the
                 lawful authority to do otherwise.” Regents Supp.




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                 App. 29a; see id. at 23a-34a. Here, the termination
                 decision was reviewable because it was based “solely
                 on a belief that DACA was beyond the authority of
                 DHS.” Id. at 41a. The court also rejected petitioners’
                 argument that 8 U.S.C. § 1252 stripped the district
                 court of jurisdiction to hear this case. Id. at 42a-45a.
                    On the merits, the court of appeals noted that the
                 only preliminary injunction factor in dispute was re-
                 spondents’ likelihood of success on the merits of their
                 APA claim. Regents Supp. App. 45a-46a. Because an
                 agency action “based solely on an erroneous legal
                 premise . . . must be set aside,” id. at 47a, the court
                 examined petitioners’ stated ground that DACA was
                 unlawful. In view of the Executive Branch’s broad
                 authority over immigration enforcement policy and
                 priorities and its longstanding practice of using class-
                 based discretionary relief policies, the court concluded
                 “that DACA was a permissible exercise of executive
                 discretion.” Id. at 56a; see id. at 47a-57a. It empha-
                 sized that it was “not hold[ing] that DACA could not
                 be rescinded as an exercise of Executive Branch dis-
                 cretion.” Id. But petitioners’ decision to rescind the
                 program “based on an erroneous view of what the law
                 required” was subject to vacatur. Id. The court next
                 held that the district court’s decision to make its pre-
                 liminary injunction effective nationwide was not an
                 abuse of discretion under the circumstances of this
                 case. See id. at 58a-60a. It also affirmed the district
                 court’s ruling on petitioners’ motion to dismiss. Id. at
                 61a-77a.
                    Judge Owens concurred in the judgment. Regents
                 Supp. App. 79a-87a. Although he would have held
                 that petitioners’ decision to terminate DACA was
                 insulated from APA review under Section 701(a)(2)
                 and Chaney, id. at 79a-84a, he would have affirmed




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                 the preliminary injunction on the alternative basis of
                 the equal protection claim advanced by certain re-
                 spondents, id. at 79a, 86a.
                    2. In No. 18-589, the Eastern District of New York
                 entered a preliminary injunction co-extensive with the
                 one affirmed in the California proceeding. Batalla Vi-
                 dal Pet. App. 62a-129a. The court reasoned that the
                 asserted basis for the termination decision was inade-
                 quately explained and rested on a premise that was
                 legally and factually flawed. See id. at 67a-69a, 90a-
                 119a.
                     3. In No. 18-588, the district court for the District
                 of Columbia entered a final judgment vacating the ter-
                 mination decision. See NAACP Pet. App. 1a-74a. It
                 reasoned that the decision “was predicated primarily
                 on [a] legal judgment that the program was unlawful.”
                 Id. at 73a. But that legal judgment could not support
                 the agency’s action because it was “virtually unex-
                 plained.” Id. The court temporarily stayed its judg-
                 ment to afford the agency an opportunity to “provid[e]
                 a fuller explanation for the determination that the
                 program lacks statutory and constitutional authority.”
                 Id. at 66a.
                    Two months later, petitioners submitted a supple-
                 mental memorandum from then-Secretary of Home-
                 land Security Nielsen. Regents Pet. App. 120a-126a.
                 She “decline[d] to disturb” her predecessor’s decision
                 and offered her own “understanding of the Duke mem-
                 orandum.” Id. at 121a. The district court held that
                 this supplemental memorandum “fail[ed] to elaborate
                 meaningfully on the agency’s primary rationale for its
                 decision.” NAACP Pet. App. 81a. Secretary Nielsen
                 merely “repackage[d] legal arguments previously
                 made” and offered new rationales that could not sup-




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                 port the original decision because they were not iden-
                 tified in Duke’s memorandum. Id. at 81a-82a; see id.
                 at 95a-103a. The court accordingly adhered to its orig-
                 inal final judgment, id. at 108a-109a, but it partially
                 stayed its order pending appeal, to the extent that full
                 vacatur would provide relief beyond the preliminary
                 injunctions that had been entered in the other cases,
                 see NAACP v. Trump, 321 F. Supp. 3d 143, 146 (D.D.C.
                 2018).
                     4. This Court granted certiorari in the California
                 case, granted certiorari before judgment in the New
                 York and D.C. cases, and consolidated the proceedings
                 for purposes of briefing and argument.
                             SUMMARY OF ARGUMENT
                    The critical feature of this case is that petitioners
                 decided to terminate DACA on the stated ground that
                 the policy was unlawful. That drives the analysis of
                 both the reviewability and merits questions.
                     As to reviewability, petitioners contend that the
                 courts are powerless to review this decision because it
                 is a type of agency action that has traditionally been
                 treated as presumptively immune from review. The
                 termination decision does not, in fact, fall within such
                 a tradition. But even if it did, it would still be subject
                 to review because the sole rationale that the agency
                 offered for the decision was that it lacked authority to
                 maintain DACA. The Administrative Procedure Act’s
                 narrow exception precluding review of actions that are
                 “committed to agency discretion by law,” 5 U.S.C.
                 § 701(a)(2), cannot apply when the publicly stated
                 basis for the action is that the law left the agency with
                 no discretionary choice to make.




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                     As to the merits, agency action that is based on an
                 invalid legal premise must be vacated. Here, petition-
                 ers’ assertion that they lack authority to maintain
                 DACA is incorrect. The Executive Branch has broad
                 authority to set policies and priorities and to exercise
                 discretion in enforcing the immigration laws. That
                 includes the authority to grant deferred action and
                 other forms of discretionary relief, as well as the
                 authority to adopt a policy framework that guides in-
                 dividual relief decisions for a class of potential appli-
                 cants with common characteristics. DACA is part of a
                 long tradition of class-based discretionary relief poli-
                 cies that stretches back six decades. It applies to a
                 carefully defined class of young people who are partic-
                 ularly likely to present compelling cases for discretion-
                 ary relief; it facilitates the agency’s efficient and even-
                 handed consideration of their applications for deferred
                 action, while preserving its discretion to deny relief
                 where appropriate; and, for those who receive deferred
                 action, it provides a measure of stability and reassur-
                 ance as they go about their lives and careers. The INA
                 does not require petitioners to continue the DACA pol-
                 icy, but it also does not prohibit them from doing so.
                 And the agency’s contrary assertion was not only
                 incorrect, it was almost entirely unexplained, which
                 provides an additional ground for vacatur.
                     Before this Court, petitioners primarily defend the
                 termination decision based on “policy grounds” (U.S.
                 Br. 32) that they advanced in a supplemental memo-
                 randum long after the decision was made. Those
                 rationales are not properly considered here (and, in
                 any event, would be insufficient to support the deci-
                 sion). Administrative action must “stand or fall” on
                 the basis of the original rationale offered by the agency
                 at the time of the decision, judged in light of the com-
                 plete administrative record. Camp v. Pitts, 411 U.S.




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                 138, 143 (1973) (per curiam). Courts sometimes afford
                 an agency the opportunity to provide further explana-
                 tion for its original rationale, as the D.C. district court
                 did here. But agencies may not use that opportunity
                 to introduce new rationales for an old decision. A con-
                 trary rule would blur the lines of accountability and
                 create confusion about the actual basis for agency
                 action. That result is not acceptable—especially when
                 an agency has made a decision as consequential as this
                 one.
                                      ARGUMENT
                 I.   THE DECISION TO TERMINATE DACA IS SUBJECT
                      TO JUDICIAL REVIEW

                     Petitioners first argue (U.S. Br. 17-32) that the
                 courts may not review their decision to terminate
                 DACA. Every court to consider petitioners’ reviewa-
                 bility arguments has properly rejected them.
                      A. The Termination Decision Is Not “Commit-
                         ted to Agency Discretion by Law”
                     Petitioners principally contend that the termina-
                 tion decision is one “committed to agency discretion by
                 law.” 5 U.S.C. § 701(a)(2). The threshold inquiry un-
                 der Section 701(a)(2) is whether the challenged action
                 is of a type that courts have traditionally treated as
                 non-reviewable. There is no such tradition with re-
                 spect to an agency’s termination of a policy framework
                 such as DACA. And even if there were, the termina-
                 tion decision in this case would still be subject to
                 review. As a matter of text and precedent, Section
                 701(a)(2) applies only to actions that actually involve
                 “[an] agency’s exercise of discretion.” Heckler v.
                 Chaney, 470 U.S. 821, 830 (1985). But the decision to
                 terminate DACA was grounded solely on an assertion
                 that the policy was unlawful—that is, that the agency




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                 had no discretionary choice to make. See Regents Pet.
                 App. 117a. Petitioners cannot resist judicial review on
                 the premise that the law committed that action to
                 their discretion.
                     1. The Administrative Procedure Act embodies a
                 strong presumption in favor of judicial review. Lin-
                 coln v. Vigil, 508 U.S. 182, 190 (1995); see 5 U.S.C.
                 § 702. That presumption recognizes that “‘legal lapses
                 and violations occur.’” Weyerhaeuser Co. v. U.S. Fish
                 & Wildlife Serv., 139 S. Ct. 361, 370 (2018). When
                 they do, courts play a critical role in providing appro-
                 priate remedies and ensuring that “federal agencies
                 are accountable to the public.” Franklin v. Massachu-
                 setts, 505 U.S. 788, 796 (1992).
                     “[T]o honor the presumption of review,” and to
                 “give effect to” the substantive requirements of the
                 APA, this Court has “read the exception in § 701(a)(2)
                 quite narrowly.” Weyerhaeuser, 139 S. Ct. at 370; see
                 also Dep’t of Commerce v. New York, 139 S. Ct. 2551,
                 2568 (2019). It has “generally limited the exception to
                 ‘certain categories of administrative decisions that
                 courts traditionally have regarded as committed to
                 agency discretion,’” and for which there is “no mean-
                 ingful standard against which to judge the agency’s”
                 discretionary action. Dep’t of Commerce, 139 S. Ct. at
                 2568 (citations omitted). Agency actions falling out-
                 side such a tradition are reviewable, apart from “those
                 rare instances” where there is simply “‘no law to ap-
                 ply.’” Citizens to Preserve Overton Park, Inc. v. Volpe,
                 401 U.S. 402, 410 (1971); see also Chaney, 470 U.S. at
                 830 (“no judicially manageable standards”).
                    On the few occasions when this Court has recog-
                 nized a category of traditionally unreviewable actions,
                 it has relied on a clear history to that effect. In




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                 Chaney, for example, the Court cited judicial prece-
                 dent dating back to the nineteenth century, which
                 established a general tradition of declining to review
                 an agency’s decision not to institute a particular
                 enforcement proceeding. See 470 U.S. at 831. Else-
                 where, the Court pointed to “a similar tradition of non-
                 reviewability,” including decades of case law, in hold-
                 ing unreviewable an agency’s refusal to reconsider a
                 decision in response to allegations of material error.
                 ICC v. Bhd. of Locomotive Eng’rs, 482 U.S. 270, 282
                 (1987) (BLE); see id. at 280; cf. Vigil, 508 U.S. at 192-
                 193 (discussing “tradition[]” of regarding an agency’s
                 “allocation of funds from a lump-sum appropriation”
                 as unreviewable).
                     Petitioners can point to nothing similar here. To
                 the contrary, any identifiable tradition favors review.
                 Since the emergence of class-based discretionary relief
                 policies nearly 60 years ago, courts have repeatedly
                 entertained legal challenges to their adoption or ter-
                 mination. That history includes a Second Circuit de-
                 cision four decades ago, see Noel v. Chapman, 508 F.2d
                 1023, 1029 (2d Cir. 1975); the Fifth Circuit’s decision
                 in the DAPA case, see Texas v. United States, 809 F.3d
                 134, 169 (5th Cir. 2015); and the unbroken chain of
                 decisions reviewing the agency action at issue here,
                 see, e.g., Regents Supp. App. 41a-42a.1
                    Petitioners attempt to shoehorn the DACA termi-
                 nation decision into the tradition of non-review recog-
                 nized in Chaney. See, e.g., U.S. Br. 23. Chaney in-
                 volved condemned prisoners in Texas and Oklahoma

                 1 There is also a tradition of courts reviewing agency denials of

                 discretionary relief in individual cases. See, e.g., Cheng Fan
                 Kwok v. INS, 392 U.S. 206, 217 (1968); Foti v. INS, 375 U.S. 217,
                 228 n.15 (1963); Wong Wing Hang v. INS, 360 F.2d 715, 718 (2d
                 Cir. 1966) (Friendly, J.).




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                 who contended that the use of certain drugs in lethal
                 injection protocols violated the Food, Drug, and Cos-
                 metic Act. 470 U.S. at 823. They “petitioned the FDA
                 . . . to take various investigatory and enforcement
                 actions to prevent these perceived violations,” and the
                 agency “refus[ed] to take the requested actions.” Id.
                 at 823-824. The agency “conclud[ed] that FDA juris-
                 diction in the area was generally unclear but in any
                 event should not be exercised to interfere with this
                 particular aspect of state criminal justice systems.”
                 Id. at 824. The prisoners then filed an APA suit “ask-
                 ing that the FDA be required to take the same enforce-
                 ment actions requested” in their petition. Id. at 825.
                 This Court concluded “that an agency’s decisions not
                 to take enforcement action should be presumed im-
                 mune from judicial review under 701(a)(2)” in light of
                 the established “tradition” of committing such deci-
                 sions to agency discretion. Id. at 832. It held that the
                 presumption had not been rebutted in that case. See
                 id. at 832-837.
                     The type of agency action at issue here is funda-
                 mentally different from “an agency’s refusal to insti-
                 tute proceedings.” Chaney, 470 U.S. at 832; see, e.g.,
                 Regents Pet. App. 26a-30a; Batalla Vidal Pet. App.
                 28a-31a. Most critically, whether the FDA action in
                 Chaney is described as “programmatic” or “single-
                 shot,” U.S. Br. 21, it reflected a definitive decision not
                 to enforce the Food, Drug, and Cosmetic Act with
                 respect to particular conduct by drug manufacturers
                 and prison administrators, see 470 U.S. at 824-826.
                 By contrast, a decision to adopt or rescind a class-
                 based deferred action policy does not represent a
                 “[r]efusal[] to take enforcement steps” against anyone.
                 Id. at 831. By adopting such a policy, the agency es-
                 tablishes a framework that guides and facilitates
                 future deferred action decisions with respect to a class




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                 of potential recipients; by terminating it, the agency
                 takes away that framework. Neither decision is the
                 type of non-enforcement action addressed by Chaney.
                 See, e.g., OSG Bulk Ships, Inc. v. United States, 132
                 F.3d 808, 812 (D.C. Cir. 1998) (“an agency’s adoption
                 of a general enforcement policy” falls outside of
                 Chaney); Regents Supp. App. 34a n.13 (Chaney does
                 not support the proposition “that any decision simply
                 related to enforcement should be presumed unreview-
                 able”).2
                     Because the agency’s decision to terminate DACA
                 does not fall within any tradition of non-review, it is
                 reviewable unless, as petitioners contend, “there is no
                 ‘law to apply’” here. U.S. Br. 19. But the only ground
                 Acting Secretary Duke cited in her one-sentence pub-
                 lic explanation was a legal one. See Regents Pet. App.
                 117a. Petitioners acknowledge that the Attorney Gen-
                 eral’s pronouncement about DACA’s illegality was
                 binding on Duke, id. at 123a (citing 8 U.S.C.
                 § 1103(a)(1)); they assert that Duke herself “concluded
                 that DACA is unlawful,” U.S. Br. 43; and they offer
                 extensive legal argument about why “[t]hat conclusion
                 was correct,” id.; see id. at 43-50. Having publicly
                 based and defended their decision on that legal
                 ground, petitioners cannot credibly argue that a court
                 has no law to apply in reviewing it.
                    2. Even if the termination decision could fit within
                 the tradition of non-review recognized in Chaney (as

                 2 Petitioners focus (U.S. Br. 18-19) on Chaney’s discussion of var-

                 ious concerns related to judicial review of non-enforcement deci-
                 sions that the Court “list[ed] . . . to facilitate understanding” of
                 courts’ “traditional[ ]” reluctance to review such decisions. 470
                 U.S. at 832. As the courts below explained, most of those con-
                 cerns do not apply to the separate type of action at issue here.
                 See, e.g., Regents Pet. App. 28a-30a.




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                 the Ninth Circuit assumed without deciding, Regents
                 Supp. App. 34a n.13), it would remain subject to re-
                 view under the circumstances here. In Chaney, this
                 Court “emphasize[d]” that the presumption against
                 judicial review of non-enforcement decisions “may be
                 rebutted” in appropriate circumstances. 470 U.S. at
                 832-833. One possible circumstance, expressly re-
                 served in footnote four, was a decision in which the
                 agency declined to act “based solely on the belief that
                 it lacks jurisdiction.” Id. at 833 n.4.3 Such an excep-
                 tion is consistent with the text of the APA and the
                 principles underlying Chaney, and it squarely applies
                 to the decision challenged here.
                    By its terms, Section 701(a)(2) requires an action
                 that involves “the agency’s exercise of discretion.”
                 Chaney, 470 U.S. at 830. If an agency’s decision
                 instead rests solely on a publicly stated conclusion
                 that it lacks any legal authority to take a particular
                 action, it cannot resist judicial review on the ground
                 that its decision was “committed to agency discretion
                 by law.” To the contrary, such an action presents the
                 kind of “relevant question[] of law” that Congress in-
                 tended the courts to decide. 5 U.S.C. § 706; cf. Kisor
                 v. Wilkie, 139 S. Ct. 2400, 2432 (2019) (Gorsuch, J.,
                 concurring in the judgment) (the “unqualified com-
                 mand” of Section 706 “requires the court to determine
                 legal questions . . . by its own lights, not by those of




                 3 The Court noted that, in such a situation, “the statute confer-

                 ring authority on the agency might indicate” that the decision is
                 non-discretionary. 470 U.S. at 833 n.4. But the Court did not
                 suggest—much less “make clear” (U.S. Br. 24)—that the excep-
                 tion it reserved would be limited to that circumstance.




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                 political appointees or bureaucrats who may even be
                 self-interested litigants in the case at hand”).
                      Chaney’s analysis confirms that the exception it
                 suggested in footnote four is a sensible one. A “refusal
                 by the agency to institute proceedings based solely on
                 the belief that it lacks jurisdiction,” 470 U.S. at 833,
                 n.4, does not involve any “complicated balancing” of
                 policy factors that “are peculiarly within [agency] ex-
                 pertise” and that courts are not “equipped . . . to deal
                 with.” Id. at 831. And it does provide “a focus for ju-
                 dicial review.” Id. at 832. The same is true when an
                 agency refuses to act based solely on the belief that it
                 lacks authority to do so: an “agency’s interpretation of
                 . . . the scope of [its] statutory authority” is no differ-
                 ent from an interpretation of “its jurisdiction.” City of
                 Arlington v. FCC, 569 U.S. 290, 296-297 (2013).
                     Far from encroaching on any executive preroga-
                 tive, see U.S. Br. 18, 22, judicial review of an agency’s
                 asserted lack of authority protects the agency’s ability
                 to exercise lawful discretion. If an agency is laboring
                 under a mistaken view that it lacks discretion to act
                 in a particular way, judicial review will free the agency
                 to make “a reasoned, discretionary policy choice.” Re-
                 gents Supp. App. 31a. At the same time, review ad-
                 vances the APA’s core purpose of ensuring that “fed-
                 eral agencies are accountable to the public.” Franklin,
                 505 U.S. at 796. When “an agency justifies an action
                 solely with an assertion that the law prohibits any
                 other course, it shifts responsibility for the outcome
                 from the Executive Branch to Congress . . . or the
                 courts.” Regents Supp. App. 33a. Absent judicial re-
                 view, an agency professing a lack of legal authority to
                 act will “avoid[] democratic accountability for a choice
                 that was the agency’s to make all along.” Id.




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                    All of these considerations support adopting the
                 exception reserved in footnote four, as the Ninth Cir-
                 cuit did many years ago. See Mont. Air Chapter No.
                 29, Ass’n of Civilian Technicians, Inc. v. FLRA, 898
                 F.2d 753, 756 (1990). And that exception squarely
                 applies to the agency decision at issue here. As noted,
                 the sole justification the agency offered for the deci-
                 sion to terminate DACA was a conclusion that contin-
                 uing the policy would violate the law. See Regents Pet.
                 App. 117a; J.A. 877-878.4
                    Petitioners contend that this Court’s decision in
                 BLE rejected the exception suggested in Chaney. U.S.
                 Br. 23-24. That is incorrect. BLE considered an action
                 that was both discretionary and traditionally unre-
                 viewable: a refusal to re-open a prior proceeding for
                 the purpose of considering a renewed merits argu-
                 ment. See 482 U.S. at 280. In a departure from the
                 standard agency practice of denying requests to re-
                 open “without [a] statement of reasons,” id. at 283
                 (emphasis omitted), the agency in BLE chose to
                 explain its discretionary denial in an order that “re-
                 spond[ed] in some detail to all of the major conten-
                 tions” on the merits, id. at 276. This Court held that
                 the action was unreviewable, notwithstanding the
                 agency’s discussion of the underlying merits. See id.
                 at 280. In the process, the Court rejected the notion
                 “that if the agency gives a ‘reviewable’ reason for oth-
                 erwise unreviewable action, the action becomes
                 reviewable.” Id. at 283. But BLE did not present an
                 opportunity to address whether courts could review an

                 4 See also Regents Supp. App. 47a (rescission of DACA was “prem-

                 ised on the belief that the DACA program was unlawful”);
                 Regents Pet. App. 56a (same); Batalla Vidal Pet. App. 67a-68a
                 (same); Casa de Md. v. DHS, 924 F.3d 684, 699-700 (4th Cir.
                 2019), cert. pending, No. 18-1469 (same).




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                 agency non-enforcement decision that is predicated
                 solely on the ground that the agency lacks authority to
                 act. The case did not involve any non-enforcement
                 decision and the agency did not deny the request to re-
                 open based on any purported lack of authority. See id.
                 at 280-282. There is no indication that this Court in-
                 tended its observation about “‘reviewable’ reason[s]”
                 even to comment on the question reserved in Chaney,
                 let alone to “resolve[]” it. U.S. Br. 24.
                    B. New Rationales Advanced by Petitioners
                       After the Termination Decision Do Not
                       Make It Unreviewable
                     In litigation, petitioners have argued that the ter-
                 mination decision is unreviewable because it was
                 based on an alternative and discretionary “litigation
                 risk” rationale. U.S. Br. 27. Most of the courts to con-
                 sider this argument have held—correctly—that no
                 such rationale can be found in the decision memoran-
                 dum. See Regents Supp. App. 36a-41a; Regents Pet.
                 App. 55a-57a; Batalla Vidal Pet. App. 68a. While the
                 “Background” portion of the memorandum mentioned
                 the threatened lawsuit from Texas (among other his-
                 torical developments), Regents Pet. App. 116a, the
                 memorandum did not identify that threat as a basis
                 for the decision or suggest that the agency made any
                 real assessment of the threat, id. at 117a.
                     But even if the Court could plausibly discern a liti-
                 gation risk rationale from the decision memorandum,
                 that would not alter the reviewability analysis. See
                 NAACP Pet. App. 39a-42a. If an agency based a deci-
                 sion on a reasoned assessment of litigation risk, such
                 as by weighing the benefits of an action or policy
                 against the costs of potential litigation, that might “be
                 ‘discretionary’ in a meaningful sense.” Id. at 40a.
                 Here, however, any litigation risk rationale is (at




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                 most) barely discernible. And it is entirely derivative
                 of the agency’s express conclusion that it lacked
                 authority to continue DACA. A secondary considera-
                 tion of that sort cannot create a “discretionary” action
                 for purposes of Section 701(a)(2). See id. at 41a-42a
                 (“litigation-risk justification was too closely bound up
                 with [the] evaluation of DACA’s legality to trigger
                 Chaney’s presumption of unreviewability”).
                     Petitioners also argue that the supplemental mem-
                 orandum submitted by former Secretary Nielsen in
                 the D.C. litigation renders the termination decision
                 unreviewable. U.S. Br. 28-31. As discussed in greater
                 detail below, infra pp. 47-49, core principles of admin-
                 istrative law require judicial review to focus on the
                 rationale publicly stated by the agency decisionmaker
                 at the time the challenged decision was made. In rare
                 circumstances, federal courts invite an agency to fur-
                 ther explain its stated rationale (as the D.C. district
                 court did here). But that further explanation may be
                 considered by the courts only because it was invited by
                 a judicial tribunal with authority to review the
                 agency’s action, and only as a further explication of the
                 agency’s original rationale. There is no logical rea-
                 son—and no basis in precedent—for concluding that a
                 supplemental memorandum intended to facilitate
                 judicial review of an originally reviewable action could
                 render that action unreviewable. If petitioners were
                 to “issue a new decision rescinding DACA,” NAACP
                 Pet. App. 94a n.7, the reviewability inquiry could
                 properly focus on whatever new rationales the agency
                 might advance at that time. For now, the inquiry
                 must focus on the September 2017 termination deci-
                 sion, which was publicly premised solely on a conclu-
                 sion about the limits of the agency’s authority.




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                    C. Section 1252 Does Not Bar Review
                     The APA also recognizes that a statute may “pre-
                 clude judicial review” of agency action. 5 U.S.C.
                 § 701(a)(1). Here, the lower courts correctly rejected
                 petitioners’ argument that 8 U.S.C. § 1252(g) “fore-
                 closed district courts from adjudicating” the present
                 dispute. Regents Pet. 21; see U.S. Br. 21. Section
                 1252(g) limits federal court jurisdiction with respect to
                 only “three discrete actions” by the Secretary of Home-
                 land Security: “her ‘decision or action’ to ‘commence
                 proceedings, adjudicate cases, or execute removal or-
                 ders.’” Reno v. Am.-Arab Anti-Discrimination Comm.,
                 525 U.S. 471, 482 (1999) (AADC ). The decision to ter-
                 minate the DACA policy is not any of those actions.
                 Petitioners also argue that review is foreclosed by 8
                 U.S.C. § 1252(b)(9). U.S. Br. 21. But that provision
                 applies only to claims “arising from any action taken
                 or proceeding brought to remove an alien,” and this
                 case does not involve any such action or proceeding.
                 See Regents Supp. App. 45a n.19. The channeling pro-
                 visions Congress adopted in Section 1252 do not apply
                 here by their terms, and petitioners’ suggestion that
                 they implicitly foreclose review (see U.S. Br. 21) is
                 untenable. See SAS Inst., Inc. v. Iancu, 138 S. Ct.
                 1348, 1359 (2018) (“[T]his Court’s precedents require
                 ‘clear and convincing indications’ that Congress meant
                 to foreclose review.”).
                 II. THE TERMINATION DECISION IS INVALID UNDER
                     THE APA

                    On the merits, petitioners now principally defend
                 the decision to terminate DACA on the strength of “a
                 number of reasons” first advanced after the decision
                 was made. U.S. Br. 16; see id. at 32-43. But having
                 originally based the decision on the stated ground that
                 DACA was unlawful—and having so far declined to




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                 replace it with any new decision based on a different
                 ground—petitioners must defend their action on the
                 legal rationale they originally offered. See, e.g., SEC
                 v. Chenery Corp., 318 U.S. 80, 94 (1943) (Chenery I ).
                     The termination decision cannot be sustained on
                 that rationale. Before this Court, petitioners do not
                 question the Executive Branch’s “‘broad discretion’ in
                 the enforcement of the federal immigration laws,” U.S.
                 Br. 45; or its authority to designate particular classes
                 of undocumented immigrants as “low-priority targets,”
                 id. at 46; or its authority to grant deferred action in
                 individual cases, see id. at 39-40, 43, 45; or its author-
                 ity, “pursuant to longstanding regulations,” to grant
                 work authorization to those who receive deferred
                 action, id. at 44. They do not seriously contest the
                 legality of prior class-based deferred action policies
                 that were “more limited in scope” than DACA. Id. at
                 48. And they suggest no apparent desire to actually
                 remove DACA recipients from the country. See, e.g.,
                 id. at 55. But they nonetheless argue that DACA’s
                 “nature and scope” make it illegal. Id. at 46.
                     That argument is not tenable. When the Executive
                 Branch identifies a class of immigrants who, while
                 undocumented, are very likely to be low priorities for
                 removal and strong candidates for discretionary relief,
                 nothing prevents it from adopting a policy framework
                 under which individuals within that class may seek
                 deferred action. Such a policy does not prevent the
                 Executive from denying deferred action—or even ini-
                 tiating removal proceedings—in any appropriate case.
                 In many other cases, immigration officials will appro-
                 priately decide to grant deferred action to deserving
                 individuals. That relief, and the limited benefits that
                 flow from it under existing regulations, are consistent




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                 with longstanding law and practice—as well as fair-
                 ness and common sense. To be sure, the INA does not
                 require the Executive Branch to adopt or continue a
                 policy such as DACA. But, just as surely, nothing in
                 the law forbids it.
                    A. The Agency’s Stated Premise That DACA
                       Is Unlawful Is Incorrect
                    An agency’s “action must be upheld, if at all, on the
                 basis articulated by the agency itself.” Motor Vehicle
                 Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto.
                 Ins. Co., 463 U.S. 29, 50 (1983). When the agency’s
                 stated rationale rests on a “determination of law,” the
                 action “may not stand if the agency has misconceived
                 the law”—even if the action might have been justified
                 on some other ground. Chenery I, 318 U.S. at 94. Un-
                 der that settled principle, the decision to terminate
                 DACA cannot stand because the legal conclusion on
                 which the agency publicly based it is incorrect. See
                 Regents Supp. App. 46a-57a. To illuminate the
                 agency’s legal error, we first address the practice of
                 deferred action generally and the long history of class-
                 based discretionary relief policies, and then turn to the
                 legality of the policy at issue here.
                       1. Deferred action is lawful
                     It is common ground that the practice of granting
                 deferred action in individual cases is lawful. See U.S.
                 Br. 39-40, 43. Although deferred action “developed
                 without express statutory authorization,” this Court
                 has described it as a “regular practice” that the Exec-
                 utive may employ “for humanitarian reasons or simply
                 for its own convenience.” AADC, 525 U.S. at 484. And
                 since the emergence of the practice, Congress has
                 adopted statutes that expressly contemplate pre-exist-
                 ing executive authority to grant deferred action. See,




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                 e.g., 8 U.S.C. § 1227(d)(2); 49 U.S.C. § 30301 note. All
                 agree that deferred action is available only as a matter
                 of executive discretion, and that individual grants of
                 deferred action do not provide a defense to removal
                 and are “revocable at any time in the agency’s discre-
                 tion.” J.A. 854.
                     By regulation, the Attorney General (and now the
                 Secretary) have exercised statutory authority to con-
                 fer certain limited benefits on individuals who receive
                 deferred action. Petitioners do not question these
                 “longstanding regulations.” U.S. Br. 44. In particular,
                 deferred action recipients may apply to be considered
                 for work authorization if they “establish[] an economic
                 necessity for employment.” 8 C.F.R. § 274a.12(c)(14).
                 That regulation was adopted by the INS in 1981 to
                 codify its existing practice. See 46 Fed. Reg. 25,080-
                 25,081 (May 5, 1981) (citing 8 U.S.C. § 1103). Con-
                 gress confirmed the Attorney General’s authority to
                 adopt this regulation in the Immigration Reform and
                 Control Act of 1986, which made it unlawful for an
                 employer to hire an “unauthorized alien,” defined as
                 one who is not either a lawful permanent resident or
                 “authorized to be so employed by [the INA] or by the
                 Attorney General.” 8 U.S.C. § 1324a(h)(3) (emphasis
                 added). Other federal regulations conferring limited
                 benefits on deferred action recipients are likewise
                 grounded in particular grants of statutory authority.5


                 5 Certain  regulations provide that the period of time during
                 which an individual enjoys deferred action does not count as a
                 period of “unlawful presence” for purposes of various re-entry
                 bars. 8 C.F.R. § 214.14(d)(3); 28 C.F.R. § 1100.35(b)(2); see 8
                 U.S.C. § 1182(a)(9)(B)(ii) (an “alien is deemed to be unlawfully
                 present in the United States if the alien is present in the United
                 States after the expiration of the period of stay authorized by the




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                         2. Class-based deferred action policies
                            are a permissible policy tool
                     As an alternative to granting discretionary immi-
                 gration relief on an ad hoc basis, the Secretary may
                 adopt policies that guide and channel deferred action
                 decisions for a class of potentially eligible individuals
                 who share certain circumstances or characteristics.
                 Class-based policies are a salutary method for the Sec-
                 retary to promote both efficiency and fairness, by iden-
                 tifying categories of individuals who are likely to be
                 low priorities for removal and establishing a frame-
                 work that facilitates even-handed consideration of
                 their applications for relief.
                    a. The federal government has operated “more
                 than two dozen” such policies over the past six decades
                 involving various forms of discretionary relief. See
                 J.A. 821-822.6 From 1960 through 1990, for example,
                 the INS adopted various class-based policies for grant-
                 ing “extended voluntary departure,” an “extrastatu-
                 tory” form of immigration relief. Hotel & Rest. Emps.
                 Union v. Smith, 846 F.2d 1499, 1519 (D.C. Cir. 1988)
                 (en banc) (opinion of Silberman, J.).7 Those policies


                 Attorney General”). Another regulation defines individuals “cur-
                 rently in deferred action status” to be “‘lawfully present’” within
                 the meaning of the statute governing eligibility for certain work-
                 related benefit programs. 8 C.F.R. § 1.3(a)(4)(vi); see 8 U.S.C.
                 § 1611(b)(2)-(4) (individuals “lawfully present in the United
                 States as determined by the Attorney General” may participate).
                 6 See generally Bruno, et al., CRS, Analysis of June 15, 2012 DHS

                 Memorandum, at 20-23 (July 13, 2012), https://tinyurl.com/
                 y5muva2y.
                 7 Petitioners previously
                                        agreed with Judge Silberman that ex-
                 tended voluntary departure was extrastatutory, but now suggest




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                 applied to immigrants from particular countries. H.R.
                 Rep. No. 100-627 at 6 (1988) (EVD Report). They ul-
                 timately allowed hundreds of thousands of “otherwise
                 deportable aliens to remain temporarily in the United
                 States” for humanitarian reasons. Id.
                     Other discretionary relief policies defined the eligi-
                 ble class more broadly. A prominent example is the
                 “Family Fairness” policy, established in 1987 and
                 expanded in 1990, which made extended voluntary de-
                 parture available to qualifying spouses and children of
                 immigrants who had been granted legal status under
                 the Immigration Reform and Control Act.8 At the time
                 it was expanded, the Commissioner of the INS testi-
                 fied that up to 1.5 million individuals could be eligible
                 for relief.9
                     For over two decades, the Executive has also em-
                 ployed class-based policies to guide the exercise of
                 deferred action in individual cases. See generally J.A.
                 822-826. Class-based deferred action policies have ad-
                 dressed, for example, certain victims of spousal abuse,
                 id. at 822-823; victims of human trafficking and cer-
                 tain other crimes who were applying for “T” or “U”
                 visas, id. at 823-825; certain foreign students affected

                 that it may have “‘derived from the voluntary departure stat-
                 ute.’” U.S. Br. 48; see id. at 48-49 & n.10. Either way, like de-
                 ferred action, it “developed without express statutory authoriza-
                 tion.” AADC, 525 U.S. at 484.
                 8 See Memorandum from Gene McNary, Commissioner, INS to

                 Reg’l Comm’rs, Re: Family Fairness (Feb. 2, 1990) (Family Fair-
                 ness Memo).
                 9 Immigration Act of 1989:  Hearing Before the Subcomm. on Im-
                 migration, Refugees, and Int’l Law of the House Comm. on the
                 Judiciary, 101st Cong., 2d Sess. Pt. 2, at 49, 56 (1990) (testi-
                 mony); see also 55 Fed. Reg. 6058 (Feb. 21, 1990) (“approximately
                 one million”).




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                 by Hurricane Katrina, id. at 825; and certain widows
                 and widowers of U.S. citizens, id. at 825-826. Like
                 DACA, these policies required immigration officials to
                 make individualized assessments of whether deferred
                 action was appropriate, and did “not ‘provide any
                 assurance that all such requests [would] be granted.’”
                 Id. at 825; see id. at 822-826.
                     Congress has long been aware of these and other
                 class-based discretionary relief policies, and has
                 encouraged their use. In 1983, for example, a “sense
                 of the Congress” resolution encouraged the creation of
                 a class-based relief policy that would have applied to
                 El Salvadoran immigrants. See Dep’t of State Author-
                 ization Act, Pub. L. No. 98-164, § 1012, 97 Stat. 1017,
                 1062 (1983). In 1990, Congress adopted a statute
                 addressing individuals covered by the Family Fair-
                 ness policy; it delayed the effective date by one year
                 and emphasized that the delay “shall not be construed
                 as reflecting a Congressional belief that the existing
                 family fairness program should be modified in any
                 way before such date.” Immigration Act of 1990 (IM-
                 MACT), Pub. L. No. 101-649, tit. III, § 301(g), 104 Stat.
                 4978, 5030. Since the emergence of class-based de-
                 ferred action policies in the 1990s, Congress has never
                 disapproved of the practice; instead, it has adopted
                 multiple statutes that pre-suppose executive author-
                 ity to grant deferred action. See, e.g., 8 U.S.C.
                 § 1227(d)(2); id. § 1154(a)(1)(D)(i)(II), (IV); 49 U.S.C.
                 § 30301 note.
                    b. Petitioners seek to distinguish prior class-based
                 policies from the DACA policy at issue here (U.S. Br.
                 46-50), but those distinctions do not survive scrutiny.
                 For example, not all of the prior policies may “fairly be
                 described as ‘interstitial’ in nature,” id. at 48, provid-
                 ing only “temporary relief while the aliens sought or




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                 awaited permanent status afforded by Congress,” id.
                 at 47. Several class-based policies were adopted at a
                 time when the eligible population had no existing
                 mechanism for obtaining legal status (outside of gen-
                 erally available channels such as asylum). The de-
                 ferred action policy for certain widows and widowers
                 of U.S. citizens, for example, was established when “no
                 [other] avenue of immigration relief exist[ed].”10 It is
                 true that Congress eventually created a pathway for
                 those individuals to obtain lawful status. See Dep’t of
                 Homeland Sec. Appropriations Act, 2010, Pub. Law
                 111-83, § 568(c), 123. Stat. 2142, 2186-2187. But that
                 simply highlights that the policy was “interstitial”
                 only in hindsight—as petitioners themselves seem to
                 hope will soon be true of DACA. See U.S. Br. 32 (dis-
                 cussing petitioners’ pursuit of “a legislative solution”).
                    Nor were all prior policies more time-limited than
                 DACA. See U.S. Br. 48. For example, the federal gov-
                 ernment granted certain Czechoslovakians extended
                 voluntary departure in one-year increments from 1968
                 through 1977. See EVD Report at 6; see also id. (list-
                 ing other policies with similar durations). And three
                 successive presidential administrations have granted
                 deferred enforced departure to certain Liberians since
                 2007. See, e.g., 84 No. 36 Interpreter Releases 2125
                 (Sept. 17, 2007); 96 No. 14 Interpreter Releases 14
                 (April 1, 2019).
                    Finally, while many prior policies defined the eligi-
                 ble population quite narrowly, see U.S. Br. 49, others
                 were much broader. As the Executive told Congress,
                 for example, fully 40 percent of the undocumented
                 10 Memorandum from Donald Neufeld, Acting Assoc. Dir., Office

                 of Domestic Operations, USCIS to Field Leadership, Guidance
                 Regarding Surviving Spouses of Deceased U.S. Citizens and their
                 Children (June 15, 2009).




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                 population at the time were eligible for relief under
                 the expanded Family Fairness policy. See J.A. 851-
                 852; supra p. 28. Substantially fewer people ulti-
                 mately applied because Congress authorized statutory
                 relief shortly thereafter. See IMMACT, tit. III,
                 § 301(g). At the time the policy was expanded, how-
                 ever, its scale not only “match[ed] that of DACA,” U.S.
                 Br. 49, but far exceeded it.
                       3. DACA is a permissible class-based de-
                          ferred action policy
                     DACA tracks the established practice of using
                 class-based frameworks to identify and process the
                 cases of individuals who are likely to be compelling
                 candidates for relief or forbearance. It applies only to
                 young people who came or were brought to this coun-
                 try as children; have continuously resided here since
                 2007; are current students, have completed high
                 school, or are honorably discharged veterans; have not
                 been convicted of any serious crimes; and do not oth-
                 erwise threaten national security or public safety. See
                 Regents Pet. App. 98a. Eligible individuals who pass
                 a background check and pay a fee may apply for de-
                 ferred action on an individual basis. Id. at 11a, 99a.
                 Successful applicants receive a grant of deferred ac-
                 tion for a two-year period. Id. at 100a. That grant is
                 revocable and provides no defense to removal, see J.A.
                 819, but it does afford recipients a measure of stability
                 and the opportunity to seek authorization to work le-
                 gally in the country they know as home.
                    Like past class-based policies, DACA is grounded
                 in important part in “immediate human concerns.”
                 Arizona v. United States, 567 U.S. 387, 396 (2012).
                 Those who meet the minimum criteria have, by defini-
                 tion, “long ties to the community.” Id. Many of them
                 also have “a record of distinguished military service,”




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                 “children born in the United States,” or other qualities
                 that make them particularly suitable for discretionary
                 relief. Id. They are not among the populations that
                 Congress has prioritized for removal. And many of the
                 DACA criteria are consonant with considerations that
                 Congress itself has relied on in setting immigration
                 policy.11 Indeed, nearly everyone seems to agree with
                 the agency’s initial assessment that individuals who
                 satisfy the DACA criteria are likely to present “low
                 priority cases” for removal. Regents Pet. App. 98a; see
                 id. at 64a-65a (statement by President Trump: “Does
                 anybody really want to throw out good, educated and
                 accomplished young people who have jobs, some serv-
                 ing in the military? Really!”); id. at 125a (Secretary
                 Nielsen’s recognition of “the sympathetic circum-
                 stances of DACA recipients as a class”).
                     Also like other class-based deferred action policies,
                 DACA requires individual applications to be evalu-
                 ated on a case-by-case basis as a matter of “[p]rosecu-
                 torial discretion.” Regents Pet. App. 99a; see J.A. 827
                 & n.8. Immigration officials are free to consider all the
                 information available to them and to deny (or revoke)
                 deferred action based on any relevant factor. Since the
                 policy’s inception, USCIS has denied more than 81,000
                 initial applications for deferred action.12 Petitioners
                 11 Congress has, for example, adopted laws prioritizing the re-

                 moval of criminals rather than law-abiding individuals, see Con-
                 solidated Appropriations Act, 2016, Pub. L. No. 114-113, div. F,
                 tit. II, 129 Stat. 2242, 2497; see also J.A. 813, and provisions re-
                 flecting a special concern for undocumented immigrants who
                 come to this country as children, see 8 U.S.C. §§ 1101(a)(27)(J),
                 1158(a)(2)(E), 1182(a)(9)(B)(iii)(I), have been physically present
                 in the United States for lengthy periods, see id. § 1229b(b)(1), or
                 have served honorably in the armed forces, see id. § 1439.
                 12 USCIS,   Number of Form I-821D, Consideration of Deferred




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                 do not publish data on the basis for those denials, but
                 they have acknowledged in this litigation that some
                 number of the denials involved applicants “who met
                 the threshold criteria for consideration [under]
                 DACA,” J.A. 1010, and therefore must have been re-
                 jected based on consideration of other factors in their
                 individual cases.13
                     No doubt, a large percentage of those who meet the
                 stated criteria and submit applications do receive
                 grants of deferred action. See U.S. Br. 39 n.7 (91% ap-
                 proval rate since 2012); Regents Supp. App. 51a (17.8%
                 of applications acted on in 2016 denied). That is what
                 one would expect of a policy that is calibrated to iden-
                 tify, as potential candidates for discretionary relief,
                 “productive young people” who “have already contrib-
                 uted to our country in significant ways.” Regents Pet.
                 App. 99a; see also Texas, 809 F.3d at 174 (“DACA
                 applicants are less likely to have backgrounds that
                 would warrant a discretionary denial.”). In addition,
                 the nature of the DACA policy encourages self-selec-
                 tion among the population of people who satisfy the
                 threshold criteria, many of whom have never applied


                 Action for Childhood Arrivals, by Fiscal Year, Quarter, Intake
                 and Case Status, Fiscal Year 2012-2019 (Apr. 30 2019), https://ti-
                 nyurl.com/y59zwrtd.
                 13 The lower courts in the DAPA litigation expressed doubts as to

                 whether “DACA allowed for discretion,” based on their review of
                 information in the preliminary injunction record. E.g., Texas,
                 809 F.3d at 175-176. In light of the more robust factual record
                 developed in recent litigation, however, the same district court
                 concluded that the evidence proffered by plaintiffs to show that
                 “individual decision-makers are not exercising . . . discretion”
                 was “not convincing, either in its quantity or quality.” Texas v.
                 United States, 328 F. Supp. 3d 662, 734 (S.D. Tex. 2018); see gen-
                 erally DACA Recipients & New Jersey Amicus Br. 9-24.




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                 for relief. See Texas, 809 F.3d at 210 (King, J., dissent-
                 ing). Applicants must pay a substantial fee (currently
                 $495), submit to a federal background check, and pro-
                 vide sensitive personal information and biometric
                 data to federal authorities. See Regents Pet. App. 9a-
                 11a; J.A. 713. It is no wonder that the substantial
                 majority of individuals who are willing to take those
                 steps present compelling cases for deferred action.
                        4. The agency’s assertion that DACA is il-
                           legal rests on a mistaken legal premise
                    The question of DACA’s legality is at issue in this
                 case because petitioners based their decision to termi-
                 nate the policy on the stated premise that it was
                 unlawful. As discussed above, judicial review of the
                 agency’s legal conclusion must focus on the specific
                 “grounds invoked by the agency” in its decision mem-
                 orandum. SEC v. Chenery Corp., 332 U.S. 194, 196
                 (1947) (Chenery II ). Here, the asserted grounds are
                 that DACA was “unconstitutional” and beyond the
                 agency’s “proper statutory authority.” Regents Pet.
                 App. 116a.
                     a. The constitutional objection can be addressed
                 briefly. To this day, petitioners have not identified
                 any constitutional flaw in the DACA policy—including
                 in their merits brief in this case. As noted, a “principal
                 feature of the removal system is the broad discretion
                 exercised by” executive officials, who “must decide
                 whether it makes sense to pursue removal at all” in a
                 particular case. Arizona, 567 U.S. at 396. A policy
                 that guides the exercise of that discretion in certain
                 cases, subject to all the procedures and requirements
                 imposed by Congress, does not violate the Constitu-
                 tion.




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                    b. The only considerations invoked by Acting Sec-
                 retary Duke and Attorney General Sessions for the
                 assertion that DACA is beyond the agency’s statutory
                 authority were the rulings in the DAPA case. See Re-
                 gents Pet. App. 117a; J.A. 877; U.S. Br. 33-36. But the
                 reasons offered by the Fifth Circuit majority for af-
                 firming the preliminary injunction in that case are
                 either inapplicable to DACA, incorrect, or both.
                     The Fifth Circuit relied on language in the DAPA
                 memorandum deeming DAPA recipients to be “‘law-
                 fully present in the United States.’” Texas, 809 F.3d at
                 148; see Regents Pet. App. 104a. The DACA memoran-
                 dum contains no similar language. See Regents Pet.
                 App. 97a-101a. Although established regulations di-
                 rect that, for certain limited purposes, periods of
                 deferred action do not constitute “unlawful presence,”
                 see supra n.5, that is true of any grant of deferred ac-
                 tion—whether under DACA, under a “previous-de-
                 ferred action program[],” Texas, 809 F.3d at 184, or on
                 an “ad hoc” basis, id. at 186 n.202. And neither those
                 regulations nor the grant of deferred action itself
                 interferes with the Secretary’s ability to initiate re-
                 moval proceedings with respect to any deferred action
                 recipient.
                     The Fifth Circuit also focused on INA provisions
                 “allowing defined classes of aliens to be lawfully pre-
                 sent” and making certain specific “classes of aliens
                 eligible for deferred action.” Texas, 809 F.3d at 179.
                 Those provisions do not foreclose the ability of the
                 Executive to grant deferred action, which does not con-
                 fer any lawful immigration status and has always
                 been understood as an exercise of the Secretary’s gen-
                 eral authority that “developed without express statu-
                 tory authorization.” AADC, 525 U.S. at 484. Congress
                 has indicated its understanding and approval of the




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                 deferred-action mechanism when it has adopted pro-
                 visions instructing the Secretary to consider granting
                 that relief to specific classes of individuals. See, e.g., 8
                 U.S.C. § 1154(a)(1)(D)(i)(II), (IV). But nothing about
                 those provisions suggests that they were intended to
                 prohibit the Executive from granting deferred action
                 to other individuals in other situations.
                     Another consideration the Fifth Circuit invoked
                 was the fact that Congress has “repeatedly declined to
                 enact” specific statutory relief for the DACA popula-
                 tion. Texas, 809 F.3d at 185; see U.S. Br. 34, 44. Of
                 course, “unsuccessful attempts at legislation are not
                 the best of guides to legislative intent.” Red Lion
                 Broad. Co. v. FCC, 395 U.S. 367, 381 n.11 (1969).
                 They are particularly unilluminating here: The legis-
                 lative proposal cited by the Fifth Circuit would have
                 created a path to lawful immigration status, not a
                 statutory deferred action policy. See DREAM Act of
                 2010, H.R. 5281, 111th Cong. (2010). And Congress
                 has also declined to enact bills that would have cur-
                 tailed class-based deferred action policies or otherwise
                 limited the practice of deferred action. See, e.g., J.A.
                 828 n.9; H.R. 29, 114th Cong. (2015).
                     In addition, the Fifth Circuit was troubled by the
                 size and breadth of the DAPA policy. See, e.g., Texas,
                 809 F.3d at 181 (“4.3 million otherwise removable
                 aliens eligible”). Whatever force that concern might
                 have had in the context of the DAPA case, it does not
                 undermine the legality of a policy such as DACA—
                 which applies to a far smaller category of immigrants
                 that is carefully defined to include only those who are
                 particularly likely to be deserving of discretionary
                 relief.




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                    Finally, the Fifth Circuit relied on an alternative
                 holding that DAPA likely required a notice-and-com-
                 ment rulemaking process. See Texas, 809 F.3d at 170-
                 178. But petitioners do not suggest that they agree
                 with that holding; nor have they made any similar
                 argument here regarding DACA.14
                    c. Before this Court, petitioners unveil a theory of
                 why they lack authority to continue DACA that is
                 somewhat more elaborate than the cursory assertions
                 they have advanced to date. They now argue that “the
                 nature and scope of DACA” make it unlawful. U.S. Br.
                 46. That argument is unpersuasive.
                     Petitioners do not question their authority to des-
                 ignate classes of undocumented immigrants as “low-
                 priority targets,” U.S. Br. 45, and they seem to agree
                 that the immigrants eligible for DACA are among the
                 lowest priority in the Nation. See Regents Pet. App.
                 64a-65a. To be sure, for purposes of this litigation, pe-
                 titioners have taken to characterizing DACA recipi-
                 ents as complicit in “ongoing violations of federal law
                 on a massive scale.” E.g., U.S. Br. 33. But the fact
                 remains that most of them “were brought to this coun-
                 try as children,” Regents Pet. App. 97a, lacked any “in-
                 tent to violate the law,” id. at 98a, “know only this
                 country as home,” id., and have become “productive”
                 members of our society, id. at 99a. And petitioners
                 appear to embrace the idea that these individuals
                 could properly seek and obtain deferred action on an
                 “individualized” and “case-by-case basis.” Id. at 124a;
                 U.S. Br. 39-40.



                 14 In any event, that holding rested in substantial part on a fac-

                 tual premise that even the district court in the DAPA proceedings
                 has since disavowed. See supra n.13.




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                     Petitioners object to DACA’s use of “stated eligibil-
                 ity criteria,” which they view as creating an “implicit
                 presumption” that those who satisfy the criteria will
                 obtain relief. U.S. Br. 39-40. But every policy that
                 seeks to “strategically deploy [agency] resources” (id.
                 at 45) by identifying people who are likely to be low
                 priorities for removal must state criteria of one form
                 or another. Defined criteria are particularly im-
                 portant for policies guiding the exercise of discretion-
                 ary relief, because they help “to avoid arbitrary en-
                 forcement decisions by individual officers” and to
                 facilitate a degree of consistency across the agency.
                 J.A. 837. At the same time, DACA clearly directs that
                 immigration officials retain discretion to deny de-
                 ferred action in appropriate cases based on any rele-
                 vant factors. See Regents Pet. App. 99a-101a. Experi-
                 ence has demonstrated that many applications are in
                 fact denied, supra pp. 32-33, and petitioners have not
                 identified anything in the DACA policy supporting
                 their assertion that it “inhibit[s] assessments of
                 whether deferred action is appropriate in a particular
                 case,” Regents Pet. App. 124a. Petitioners may prefer
                 a purely ad hoc approach to deferred action as a mat-
                 ter of policy, see id., but nothing in the INA prohibits
                 the Secretary from adopting a more robust and trans-
                 parent framework to guide deferred action decisions
                 for especially deserving populations.
                     Petitioners also focus on the fact that those who
                 receive deferred action under DACA are eligible to
                 seek work authorization. U.S. Br. 44-46. This is not
                 any “unheralded” executive authority. Id. at 45. As
                 noted, the possibility of work authorization flows from
                 a separate and “longstanding” regulation, id. at 44,
                 which petitioners do not challenge.           8 C.F.R.
                 § 274a.12(c)(14). As a result of that regulation, each
                 of the class-based deferred action policies described




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                 above enabled those who received relief to pursue
                 work authorization. So did many other class-based
                 discretionary relief policies, including the Family
                 Fairness policy that applied to up to 40 percent of the
                 undocumented population.         See Family Fairness
                 Memo; J.A. 822. All the while, Congress has never
                 modified its statute recognizing the Attorney Gen-
                 eral’s (and now the Secretary’s) ability to “authoriz[e]”
                 those who receive discretionary relief “to be so em-
                 ployed.” 8 U.S.C. § 1324a(h)(3); see NLRB v. Bell Aer-
                 ospace Co., 416 U.S. 267, 275 (1974) (“[C]ongressional
                 failure to revise or repeal the agency’s interpretation
                 is persuasive evidence that the interpretation is the
                 one intended by Congress.”).15
                     Moreover, it is consistent with “common sense”
                 (U.S. Br. 45) that Congress has allowed the Secretary
                 to use his authority in this way. When the Executive
                 has made a considered decision to temporarily forbear
                 from removing particular individuals from the United
                 States, it is sensible to allow them the opportunity to
                 support themselves and their families through lawful
                 employment during that period of forbearance. The
                 only practical alternative would be for deferred action
                 recipients to work illegally—exposing themselves to
                 exploitation and affecting the labor market. No plau-
                 sible interpretation of the INA demands that result.
                     Petitioners’ final objection to DACA relates to the
                 policy’s size and “scope.” U.S. Br. 46-50; see id. at 46-
                 49. No doubt, the scope of such a policy is relevant to
                 its legality. It could present substantial legal concerns

                 15 This case is thus quite unlike FDA v. Brown & Williamson To-

                 bacco Corp., 529 U.S. 120 (2000), where the agency’s longstand-
                 ing position was that it lacked authority to regulate tobacco prod-
                 ucts and Congress “ratif[ied]” that position “and precluded the
                 FDA from regulating.” Id. at 158, 161; see U.S. Br. 45.




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                 if a class-based deferred action policy encompassed
                 people whom Congress designated as priorities for
                 removal, see J.A. 807, or was so large that it would
                 likely “impede removals that would otherwise occur in
                 its absence,” id. at 851. Here, however, DACA uses
                 carefully selected criteria to define a population of
                 young people that all seem to agree are among the
                 very lowest priorities for immigration enforcement.
                 Petitioners’ complaint about the total number of peo-
                 ple who satisfy those criteria merely states an aspect
                 of the problem facing the agency; it is not an argument
                 one way or the other about the legality of any particu-
                 lar policy response to that problem.
                     We can all regret that so many deserving young
                 people are caught in a legal limbo that is not of their
                 own making. No one is happy that the political
                 branches of our federal government have not agreed to
                 a sensible solution. While we await such a solution,
                 the Secretary remains responsible for establishing
                 “national immigration enforcement policies and prior-
                 ities” to deal with the situation as it presently stands.
                 6 U.S.C. § 202(5); see 8 U.S.C. § 1103(a)(1), (3). Peti-
                 tioners have not established that the law forbids them
                 from maintaining, as part of that effort, a policy
                 framework that guides discretionary deferred action
                 decisions about this carefully defined and highly
                 deserving group of immigrants.
                     d. Petitioners finally argue that even if the legal
                 conclusion on which the termination decision rests is
                 “[in]correct,” the decision may stand if that conclusion
                 was nonetheless “reasonable.” U.S. Br. 43; see id. at
                 50-51. That argument is foreclosed by Chenery, which
                 applies with full force here. Regardless of whether an
                 agency action might be justified on some other basis,
                 if it “is based upon a determination of law,” then it




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                 “may not stand if the agency has misconceived the law.”
                 Chenery I, 318 U.S. at 94; see, e.g., Sea-Land Serv., Inc.
                 v. Dep’t of Transp., 137 F.3d 640, 646 (D.C. Cir. 1998);
                 cf. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 402
                 (1990) (“‘[I]f a district court’s findings rest on an erro-
                 neous view of the law, they may be set aside on that
                 basis.’”). The question here is not whether an agency’s
                 statutory interpretation or other legal analysis could
                 be viewed as “reasonable,” but whether the agency
                 acted on a mistaken view of the limits of its lawful dis-
                 cretion.
                    B. The Agency’s Explanation for Its Decision
                       Does Not Satisfy the APA’s Requirements
                       for Reasoned Decisionmaking
                    As the D.C. district court explained, the termina-
                 tion decision must be vacated for the additional reason
                 that the agency “fail[ed] to give an adequate explana-
                 tion” for its action. NAACP Pet. App. 54a; see id. at
                 49a-55a; see also Casa de Md., 924 F.3d at 703-705.
                    One of the “basic procedural requirements of ad-
                 ministrative rulemaking is that an agency must give
                 adequate reasons for its decisions.” Encino Motorcars,
                 LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016). Agency
                 explanations must be “based on consideration of the
                 relevant factors,” and may not “fail[] to consider an
                 important aspect of the problem.” State Farm, 463
                 U.S. at 42, 43. When an agency departs from its prior
                 position, it must (among other things) supply a “rea-
                 soned explanation for the change,” Encino Motorcars,
                 136 S. Ct. at 2125, and “display awareness that it is
                 changing positions,” FCC v. Fox Television Stations,
                 Inc., 556 U.S. 502, 515 (2009).
                    To explain the illegality rationale here, the deci-
                 sion memorandum invokes just two considerations:
                 the rulings in the DAPA litigation and the Attorney




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                 General’s letter. Regents Pet. App. 117a. That letter
                 also invokes the rulings in the DAPA litigation. J.A.
                 877. Neither document explains why those rulings
                 were fatal to the separate DACA policy. Neither says
                 anything about why the Fifth Circuit’s interlocutory
                 decision would control the analysis of DACA’s legality,
                 or acknowledges any of the differences between the
                 two policies. See supra pp. 35-36. Neither addresses
                 the fact that this Court’s order affirming the Fifth Cir-
                 cuit was not accompanied by any explanation, is not
                 precedential, and affirmed only a grant of preliminary
                 equitable relief. Under those circumstances, the
                 Court’s order could not have resolved the validity of
                 DAPA—let alone of DACA. 16 And while both docu-
                 ments assert that DACA “was effectuated . . . without
                 proper statutory authority,” Regents Pet. App. 116a;
                 J.A. 877, neither one discusses the Secretary’s broad
                 statutory authority to establish immigration enforce-
                 ment policies and priorities or the long history of class-
                 based deferred action policies.
                    Indeed, the letter and the decision memorandum
                 raise more questions about petitioners’ rationale than
                 they answer. The letter asserts that “the DACA policy
                 has the same . . . constitutional defects that the courts
                 recognized as to DAPA,” J.A. 878, when in fact no
                 court ever recognized any “constitutional defect[]” in
                 DAPA, see Regents Supp. App. 48a-49a. The decision
                 memorandum asserts that the agency was unable to
                 identify specific discretionary denials of deferred
                 action involving applicants who “appeared to satisfy

                 16 See Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080,

                 2087 (2017) (a preliminary injunction is “often dependent as
                 much on the equities of a given case as the substance of the legal
                 issues it presents,” and its purpose is “not to conclusively deter-
                 mine the rights of the parties”).




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                 the” DACA eligibility criteria, Regents Pet. App. 112a-
                 113a n.1, an assertion that petitioners have since ad-
                 mitted is incorrect, see J.A. 1010.
                     The agency also failed to demonstrate any “aware-
                 ness that it [was] changing position[s].” Fox Television,
                 556 U.S. at 515. Petitioners created DACA after re-
                 ceiving advice from the Office of Legal Counsel that it
                 would be lawful, J.A. 827 n.8; they successfully de-
                 fended the policy in court, supra p. 4; and they contin-
                 ued the policy long after this Court’s summary affir-
                 mance in the DAPA case—soliciting, accepting, and
                 processing hundreds of thousands of applications for
                 deferred action under DACA during the last seven
                 months of the Obama Administration and the first
                 seven months of the Trump Administration.17 The de-
                 cision memorandum does not acknowledge any of that
                 history. See Fox Television, 556 U.S. at 515.
                    After finding the explanation in the decision mem-
                 orandum inadequate, the D.C. district court stayed its
                 vacatur order to allow the agency an opportunity to
                 “provid[e] a fuller explanation for the determination
                 that [DACA] lacks statutory and constitutional au-
                 thority.” NAACP Pet. App. 66a; see infra pp. 49-50.
                 But when Secretary Nielsen responded in a supple-
                 mental memorandum, she barely expanded on the ex-
                 planation offered by her predecessor. Once again, the
                 agency’s explanation of why “the DACA policy was
                 contrary to law” relied exclusively on the Attorney
                 General’s letter and the Fifth Circuit’s decision. Re-
                 gents Pet. App. 122a; see id. at 122a-123a. The sup-
                 plemental memorandum at least acknowledged the
                 17 See USCIS, Number of Form I-821D, Consideration of Deferred

                 Action for Childhood Arrivals, by Fiscal Year, Quarter, Intake Bi-
                 ometrics and Case Status, Fiscal Year 2012-2017 (June 30, 2017),
                 https://tinyurl.com/y868mj7y.




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                 existence of “arguable distinctions between the DAPA
                 and DACA policies,” id. at 122a, but it did not discuss
                 those distinctions or explain why the agency believed
                 the Fifth Circuit’s decision was fatal to DACA. See
                 NAACP Pet. App. 105a (“[T]he Nielsen Memo offers
                 nothing even remotely approaching a considered legal
                 assessment.”).
                     Petitioners’ argument that the “APA demands
                 nothing more” than the unelaborated assertions of
                 illegality that the agency offered here (U.S. Br. 52)
                 misunderstands both the nature and purpose of the
                 requirement for a reasoned explanation. See Dep’t of
                 Commerce, 139 S. Ct. at 2575. That requirement “is
                 meant to ensure that agencies offer genuine justifica-
                 tions for important decisions, reasons that can be scru-
                 tinized by courts and the interested public.” Id. at
                 2575-2576. A reasoned explanation facilitates effec-
                 tive judicial review and ensures “political accountabil-
                 ity,” which is “the very premise of administrative dis-
                 cretion in all its forms.” Newman v. Apfel, 223 F.3d
                 937, 943 (9th Cir. 2000) (O’Scannlain, J.); see Regents
                 Supp. App. 31a-34a.
                     While an agency need not prepare “the equivalent
                 of a bench memo” to explain its changed legal position,
                 Regents C.A. Dkt. 31 at 31, that does not excuse it from
                 offering enough of an explanation to allow a jurist or a
                 concerned citizen to understand the true basis for the
                 agency’s conclusion that one of its own policies was
                 unlawful. Here, even a discerning reader is left uncer-
                 tain about, for example, whether the Executive
                 Branch believes that DACA violates the Constitution
                 (and, if so, why), and on what basis it believes the pol-
                 icy exceeds the Executive’s broad statutory authority
                 to decide how to enforce the immigration laws. Espe-
                 cially when making a decision that directly affects the




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                 lives of hundreds of thousands of people, an agency
                 owes the public and the courts a more substantial and
                 reasoned explanation.
                    C. Alternative Rationales Advanced by Peti-
                       tioners During this Litigation Cannot
                       Save the Termination Decision
                    The bulk of petitioners’ merits arguments before
                 this Court address rationales that the Acting Secre-
                 tary did not express in her September 2017 decision
                 memorandum. See U.S. Br. 32-43. Those additional
                 rationales were either advanced by counsel during the
                 course of this litigation or presented in Secretary Niel-
                 sen’s June 2018 supplemental memorandum, which
                 “decline[d] to disturb” the challenged decision. Re-
                 gents Pet. App. 121a. They are not properly consid-
                 ered here. Petitioners chose to justify this important
                 decision on the ground that DACA is unlawful. Unless
                 and until they choose to supersede that original action
                 with some new one, their decision must “stand or fall”
                 on that ground. Camp, 411 U.S. at 143.
                       1. “Litigation Risk”
                    A court conducting review under the APA “may not
                 accept appellate counsel’s post hoc rationalizations for
                 agency action.” Burlington Truck Lines, Inc. v. United
                 States, 371 U.S. 156, 168 (1962). Petitioners have
                 argued in these proceedings that the termination
                 decision may be justified on an alternative “litigation
                 risk” rationale. U.S. Br. 27. The great majority of the
                 courts to consider the issue have correctly held that
                 this rationale is post hoc. See Regents Supp. App. 35a;
                 Regents Pet. App. 55a-57a; Batalla Vidal Pet. App.
                 109a-112a; Casa de Md., 924 F.3d at 700 & n.12. As
                 discussed above, supra p. 21, the decision memoran-
                 dum never even mentioned litigation risk as an alter-
                 native ground for the decision.




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                     Petitioners argue that such a rationale can be in-
                 ferred. See U.S. Br. 26-28. A corollary of the principle
                 that courts must review agency action on the contem-
                 poraneous basis identified by the decisionmaker, how-
                 ever, is that the “basis must be set forth with such
                 clarity as to be understandable.” Chenery II, 332 U.S.
                 at 196. A reviewing court may not “chisel that which
                 must be precise from what the agency has left vague
                 and indecisive.” Id. at 197. Neither the “discussion of
                 the prior litigation” over DAPA in the decision memo-
                 randum’s “Background” section, U.S. Br. 28, nor the
                 Acting Secretary’s “statement that she ‘should’—not
                 must—rescind DACA,” id., is sufficient to suggest to a
                 discerning reader that the decision was based on an
                 assessment of litigation risk.
                     And even if a separate litigation risk rationale
                 could reasonably be discerned from the decision mem-
                 orandum, see NAACP Pet. App. 56a, it could not sup-
                 port the decision, see id. at 56a-59a. While the memo-
                 randum briefly describes the DAPA litigation and
                 notes that Texas had threatened to challenge DACA,
                 there is no indication that the agency conducted any
                 reasoned assessment of that threat. Any such assess-
                 ment would have had to consider the availability of
                 possible defenses, both procedural and on the merits.
                 It would have evaluated policy adjustments the
                 agency might make to forestall any legal attack. And
                 it would have balanced any perceived risk of a possible
                 adverse court decision against the costs—to DACA
                 recipients, the States, the federal government, and the
                 overall economy—that were certain to be inflicted by
                 abruptly ending the policy. Nothing in the decision
                 memorandum or the proffered administrative record




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                 suggests that the agency gave any thought to those
                 considerations.18
                     Nor can the decision to rescind DACA be justified
                 by concerns about an immediate “court-ordered shut-
                 down” on terms “beyond the agency’s control” (U.S.
                 Br. 35)—even if those concerns had been expressed in
                 the decision memorandum. District courts have
                 “broad discretion” to “fashion[] equitable relief.” E.g.,
                 Crawford v. Silette, 608 F.3d 275, 278 (5th Cir. 2010).
                 The equities surrounding a challenge to a policy that
                 has been in place for years, and one on which hun-
                 dreds of thousands of young people have structured
                 their lives, would weigh heavily against any abrupt
                 court-ordered shutdown. Indeed, after the threatened
                 litigation eventually materialized in May 2018, the
                 district court in Texas, while inclined to agree with the
                 plaintiffs on the merits, refused to enter any provi-
                 sional order shutting down the policy. Texas v. United
                 States, 328 F. Supp. 3d 662, 740 (S.D. Tex. 2018).
                         2. Former Secretary Nielsen’s Policy Ra-
                            tionales
                    Most of petitioners’ merits arguments focus on ra-
                 tionales unveiled in Secretary Nielsen’s supplemental
                 memorandum, which was submitted to the district
                 court in the D.C. proceeding. See U.S Br. 35, 37-43.
                 Those new rationales are not properly considered here.
                     Judicial review of agency action is ordinarily lim-
                 ited to the contemporaneous rationale of the formal

                 18 When the D.C. district court invited the agency to further ex-

                 plain any concern about litigation risk, Secretary Nielsen in-
                 voked the “burdens[ ]” of litigation and her “serious doubts” about
                 DACA’s legality (based principally on the “determination and rul-
                 ing” in the Attorney General’s summary letter), but again offered
                 no reasoned assessment of the threat. Regents Pet. App. 123a.




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                 agency decisionmaker and the complete administra-
                 tive record before the agency at the time of the deci-
                 sion. See Dep’t of Commerce, 139 S. Ct. at 2573; Camp,
                 411 U.S. at 143. If the decision cannot be sustained
                 on that basis, the proper course is normally to vacate
                 the decision and remand to the agency for further con-
                 sideration. See Camp, 411 U.S. at 143; Fla. Power &
                 Light Co. v. Lorion, 470 U.S. 729, 744 (1985); see gen-
                 erally 5 U.S.C. § 706(2)(A). Vacatur allows the agency
                 to “deal with the problem afresh,” Chenery II, 332 U.S.
                 at 201, and it serves an important “‘think-it-over’ func-
                 tion,” Friendly, Chenery Revisited, 1969 Duke L.J.
                 199, 209 (1969). Courts allow the agency to take a
                 fresh look at the problem—even if there is “scant
                 doubt” about what it will do in the new proceeding,
                 id.—out of respect for the proper division of authority
                 between the judicial and executive branches. And
                 remand benefits the public by requiring the agency to
                 state formally and forthrightly the grounds for any
                 further action.
                    In rare circumstances, some courts defer vacatur
                 and instead invite the agency to provide further expla-
                 nation for a rationale that would not otherwise satisfy
                 the APA’s requirements for reasoned decisionmaking.
                 At its most formal this practice is known as “remand
                 without vacatur,” and it is not without controversy.19
                 But it has been recognized by the D.C. Circuit, see, e.g.,
                 United Steel v. Mine Safety & Health Admin., 925 F.3d
                 1279, 1287 (D.C. Cir. 2019), and finds some support in
                 this Court’s jurisprudence, see Camp, 411 U.S. at 143;
                 Overton Park, 401 U.S. at 420. It affords the agency

                 19 See, e.g., Checkosky v. SEC, 23 F.3d 452, 490-493 (D.C. Cir.

                 1994) (opinion of Randolph, J.) (remand without vacatur is “flatly
                 prohibit[ed]” by section 706(2)(A)’s command that reviewing
                 courts “‘shall . . . hold unlawful and set aside’ the agency action”).




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                 an opportunity to submit “an amplified articulation”
                 of the rationale it originally advanced. Local 814, Int’l
                 Bhd. of Teamsters, Chauffeurs, Warehousemen v.
                 NLRB, 546 F.2d 989, 992 (D.C. Cir. 1976). What it
                 does not afford is an opportunity to defend an old de-
                 cision on new rationales. Whether the “additional
                 explanation” is obtained through a formal remand, id.,
                 or through a less formal procedure, it “should be
                 merely explanatory of the original record and should
                 contain no new rationalizations.” Envtl. Def. Fund,
                 Inc. v. Costle, 657 F.2d 275, 285 (D.C. Cir. 1981) (ad-
                 dressing agency affidavits).
                    This Court’s decision in Camp underscores that
                 limitation. The Court acknowledged the possibility of
                 seeking “additional explanation” of the agency’s “curt”
                 stated rationale, which rested on a “finding that a new
                 bank was an uneconomic venture.” 411 U.S. at 143.
                 But it added that “[i]f that finding is not sustainable
                 on the administrative record [originally] made, then
                 the Comptroller’s decision must be vacated.” Id. (em-
                 phasis added).
                     Here, the D.C. district court stayed its judgment
                 vacating the termination decision for 90 days to give
                 petitioners “an opportunity to better explain” their
                 stated rationale “that DACA is unlawful.” NAACP Pet.
                 App. 74a; see id. at 66a. Petitioners could have re-
                 sponded to the court’s invitation by providing a rea-
                 soned explanation for that original rationale. Or they
                 could have advanced new rationales for terminating
                 DACA—by “issu[ing] a new decision” presenting any
                 such rationales, which then would have been the basis
                 for any future judicial review. Id. at 94a n.7; cf. Int’l
                 Refugee Assistance Project, 137 S. Ct. at 2083. But pe-
                 titioners did neither.




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                    Instead, Secretary Nielsen submitted a short sup-
                 plemental memorandum that purported to give “fur-
                 ther explanation” for her predecessor’s rationale, Re-
                 gents Pet. App. 121a, but in fact “provide[d] almost no
                 meaningful elaboration on the Duke Memo’s assertion
                 that DACA is unlawful,” NAACP Pet. App. 104a. At
                 the same time, she emphasized that she was not mak-
                 ing any new decision: she “decline[d] to disturb the
                 Duke memorandum’s rescission of the DACA policy,”
                 and wrote only to explain her “understanding of the
                 Duke memorandum and why [Duke’s] decision to re-
                 scind the DACA policy was, and remains, sound.”
                 Regents Pet. App. 121a. As a direct consequence of the
                 agency’s choice to stand by its original decision, that
                 decision must “stand or fall” based on the rationale
                 identified in Duke’s original decision memorandum
                 and the agency’s explanation of that rationale. Camp,
                 411 U.S. at 143. Secretary Nielsen’s new policy ration-
                 ales cannot be advanced to sustain the earlier decision.
                     In any event, those new rationales would not sat-
                 isfy the requirements of the APA. Most of the “reasons
                 of enforcement policy” identified by Secretary Nielsen
                 (Regents Pet. App. 123a) are in fact premised on the
                 validity of the legal ground offered by her predecessor.
                 Nielsen describes her “serious doubts about [DACA’s]
                 legality,” id.; asserts that grants of deferred action un-
                 der the DACA policy are not “truly individualized” or
                 “case-by-case,” id. at 124a; and contends that a policy
                 such as DACA “should be enacted legislatively,” id.
                 Those rationales “simply recapitulate” the agency’s
                 unsupported and incorrect conclusion that DACA is
                 unlawful. NAACP Pet. App. 106a. At the very least,
                 they depend heavily on the premise that DACA is
                 unlawful, and there is reason to doubt that Secretary
                 Nielsen would have advanced them if she knew that
                 premise was incorrect.




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                     Secretary Nielsen’s final rationale is that the
                 agency terminated DACA to “project a message” of
                 “clear” and “consistent” enforcement of the immigra-
                 tion laws in response to an influx of “minor aliens” who
                 “have illegally crossed or been smuggled across our
                 border in recent years.” Regents Pet. App. 124a. Peti-
                 tioners acknowledge that this argument “was not re-
                 flected in the Duke Memorandum.” U.S. Br. 31. This
                 type of policy rationale could be reviewed under the
                 arbitrary and capricious standard, in light of the “full
                 administrative record,” if offered as a contemporane-
                 ous ground for agency action. Overton Park, 401 U.S.
                 at 420; see Dep’t of Commerce, 139 S. Ct. at 2573;
                 Camp, 411 U.S. at 143. Here, however, the problem is
                 not just that the agency decisionmaker did not ad-
                 vance this policy rationale, but also that there is no
                 support for Nielsen’s policy views in the proffered rec-
                 ord of materials underlying Duke’s decision. Petition-
                 ers acknowledge as much by citing only materials from
                 outside that record to bolster this rationale. See U.S.
                 Br. 40-41.
                     That deficiency highlights why it is not appropriate
                 to review agency action based on new, after-the-fact
                 rationales. This Court limits review to the originally
                 stated rationale not for the sake of formalism, but so
                 that courts and the public can evaluate the justifica-
                 tions for agency action offered by the accountable
                 agency decisionmaker in light of the information
                 before the agency at the time of the decision. A rule
                 allowing agencies to introduce a new rationale long
                 after the decision was made would blur the lines of ac-
                 countability, by creating confusion about who made
                 the decision and why they did so; it would reduce the
                 agency’s incentives for offering a sustainable rationale
                 in the first instance; and it would deprive the courts
                 and the public of the record materials necessary to




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                 evaluate whether the new rationale is a genuine one
                 that resulted from reasoned decisionmaking. Cf. Dep’t
                 of Commerce, 139 S. Ct. at 2575-2576.
                     The D.C. district court recognized that nothing pre-
                 vented former Secretary Nielsen from “issu[ing] a new
                 decision rescinding DACA.” NAACP Pet. App. 94a n.7.
                 Nothing prohibits her successor from doing the same.
                 Indeed, given petitioners’ stated concerns that contin-
                 ued judicial review of the Acting Secretary’s decision
                 has “undermined [the] political process” by frustrating
                 their “attempt[s] to negotiate a legislative solution,”
                 U.S. Br. 32, the most perplexing aspect of this case
                 may be that they have not done so. If the agency
                 issues a new decision, any further judicial review
                 would properly focus on whatever rationales are pub-
                 licly proffered to support it. Until then, however,
                 petitioners must defend their decision to terminate
                 DACA on the legal rationale they offered to the public
                 and the courts in the decision memorandum signed by
                 Acting Secretary Duke.
                 III. THE JUDGMENTS OF          THE   COURTS BELOW
                      SHOULD BE AFFIRMED
                     Because the contemporaneous rationale that the
                 agency offered for the termination decision rests on an
                 incorrect and inadequately explained premise, the de-
                 cision is subject to vacatur. See 5 U.S.C. § 706(2)(A).
                 It follows that the final judgment of the D.C. district
                 court should be affirmed. It follows a fortiori that the
                 respondents in the California and New York actions
                 are likely to succeed on the merits. And the equitable
                 considerations here tilt overwhelmingly in favor of af-
                 firming the provisional relief granted in those proceed-
                 ings: petitioners have not identified any tangible
                 harm caused by DACA; and they do not dispute the
                 profound harm that their decision would cause to




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                 individuals, families, communities, employers, univer-
                 sities, and States as a result of nearly 700,000 DACA
                 recipients losing their deferred action. See, e.g., Re-
                 gents Pet. App. 62a-63a.
                     Although the D.C. case arrives at this Court follow-
                 ing a final judgment, the California and New York
                 cases remain in an interlocutory posture, following the
                 district courts’ partial denials of petitioners’ motions
                 to dismiss. In the California case, for example, the
                 lower courts ruled that respondents stated a due pro-
                 cess claim regarding changes to the federal policy gov-
                 erning the sensitive personal information provided by
                 DACA recipients. Regents Supp. App. 68a-73a; Re-
                 gents Pet. 79a-81a. Petitioners mentioned those rul-
                 ings in their petition, see Regents Pet. 31, but have for-
                 feited any challenge to them by omitting the issue
                 from their merits brief. See, e.g., Republic of Argen-
                 tina v. NML Capital, Ltd., 573 U.S. 134, 140 n.2
                 (2014).20
                    As to the pending APA claims, the respondents in
                 California and New York (unlike those in D.C.) have
                 challenged the adequacy of the 14-document adminis-
                 trative record proffered by petitioners—and every
                 court to consider that question has held that the prof-
                 fered record is incomplete.21 If this Court holds that


                 20 Although the state respondents in the California proceeding

                 did not allege an equal protection claim based on discriminatory
                 animus (see U.S. Br. 52-57), the court of appeals correctly denied
                 the motion to dismiss as to that claim (see Regents Supp. App.
                 73a-77a).
                 21 See In re United States, 875 F.3d 1200, 1205 (9th Cir. 2017),

                 judgment vacated, 138 S. Ct. 443 (2017); In re Nielsen, No. 17-
                 3345, Dkt. 171 at 2-3 (2d. Cir. Dec. 27, 2017); Regents D.Ct. Dkt.
                 79 at 8; Batalla Vidal D.Ct. Dkt. 89 at 3.




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                 the APA claim is reviewable and then affirms the judg-
                 ment in the D.C. case, that would substantially resolve
                 the remaining proceedings. But if the claim is review-
                 able and the D.C. judgment is not affirmed in its
                 entirety, then the California and New York cases
                 should be remanded for completion of the administra-
                 tive record.
                     Obtaining the complete record is not a matter of
                 mere academic significance. Petitioners promoted and
                 continued DACA well into the present federal admin-
                 istration and long after the rulings in the DAPA case;
                 they terminated the policy after private deliberations
                 with the state plaintiffs in the DAPA litigation (which
                 are not reflected in the proffered administrative rec-
                 ord); and they chose to offer a legal conclusion as the
                 sole basis for the decision, but have separately
                 advanced numerous policy rationales (which also are
                 not reflected or supported in the proffered record), see,
                 e.g., J.A. 999-1004; Regents Pet. App. 123a-125a. That
                 sequence of events raises legitimate questions about
                 whether the rationale offered by the agency here is a
                 “contrived excuse.” See Regents Supp. App. 75a.
                 While agencies normally enjoy a presumption of regu-
                 larity, U.S. Br. 30, the courts are always entitled to
                 obtain the complete administrative record before
                 finally resolving the legality of agency action—to en-
                 sure, among other things, that the rationale offered by
                 the agency is a genuine one. Cf. Dep’t of Commerce,
                 139 S. Ct. at 2575 (court order requiring completion of
                 administrative record led to documents establishing
                 that “the sole stated reason” for the agency decision
                 “seems to have been contrived”).




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                                  CONCLUSION
                    The judgments below should be affirmed.

                                 Respectfully submitted,

                                 XAVIER BECERRA
                                  Attorney General of California
                                 MICHAEL J. MONGAN
                                  Solicitor General
                                 MICHAEL L. NEWMAN
                                  Senior Assistant Attorney General
                                 SAMUEL P. SIEGEL
                                 JOSHUA PATASHNIK
                                  Deputy Solicitors General
                                 SHUBHRA SHIVPURI
                                 JAMES F. ZAHRADKA II
                                  Deputy Attorneys General

                                 AARON M. FREY
                                  Attorney General of Maine
                                 SUSAN P. HERMAN
                                  Deputy Attorney General

                                 BRIAN E. FROSH
                                  Attorney General of Maryland
                                 STEVEN M. SULLIVAN
                                  Solicitor General
                                 LEAH J. TULIN
                                  Assistant Attorney General

                                 KEITH ELLISON
                                  Attorney General of Minnesota
                                 LIZ KRAMER
                                  Solicitor General
                                 JACOB CAMPION
                                  Assistant Attorney General

                 September 27, 2019




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                                 Nos. 18-587, 18-588, 18-589

                                             IN THE
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                                       _______________
                  UNITED STATES DEPARTMENT OF HOMELAND SECURITY,
                                       ET AL.,
                                                          Petitioners,
                                          v.
                   REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                        Respondents.
                                   _______________
                      KEVIN K. MCALEENAN, ACTING SECRETARY OF
                             HOMELAND SECURITY, ET AL.,
                                                          Petitioners,
                                          v.
                       MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                        Respondents.
                                       _______________
                  On Writ Of Certiorari To The United States Court
                        Of Appeals For The Ninth Circuit And
                  Writ Of Certiorari Before Judgment To The United
                   States Court Of Appeals For The Second Circuit
                                       _______________
                  Brief for DACA Recipient Respondents, Make the
                    Road New York, County of Santa Clara, and
                  Service Employees International Union Local 521
                                        _______________
                 THEODORE J. BOUTROUS, JR.         THEODORE B. OLSON
                 ETHAN D. DETTMER                    COUNSEL OF RECORD
                 JONATHAN N. SOLEIMANI             STUART F. DELERY
                 GIBSON, DUNN & CRUTCHER LLP       MATTHEW S. ROZEN
                 333 South Grand Avenue            ANDREW J. WILHELM
                 Los Angeles, CA 90071             SURIA M. BAHADUE
                 (213) 229-7000                    GIBSON, DUNN & CRUTCHER LLP
                                                   1050 Connecticut Avenue, N.W.
                 MARK D. ROSENBAUM                 Washington, D.C. 20036
                 JUDY LONDON                       (202) 955-8500
                 PUBLIC COUNSEL                    TOlson@gibsondunn.com
                 610 South Ardmore Avenue
                 Los Angeles, CA 90005
                 (213) 385-2977

                        Counsel for DACA Recipient Respondents in No. 18-587
                       (Additional Captions and Counsel Listed on Inside Cover)




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                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                              ET AL.,
                                                                          Petitioners,
                                                  v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                               COLORED PEOPLE, ET AL.,
                                                       Respondents.
                                        _______________
                    On Writ Of Certiorari Before Judgment To The
                       United States Court Of Appeals For The
                            District Of Columbia Circuit
                                        _______________


                 ERWIN CHEMERINSKY                     LUIS CORTES ROMERO
                 UNIVERSITY OF CALIFORNIA,             IMMIGRANT ADVOCACY & LITIGATION
                 BERKELEY SCHOOL OF LAW*               CENTER, PLLC
                 215 Boalt Hall                        19309 68th Avenue South,
                 Berkeley, CA 94720                    Suite R102
                 (510) 642-6483                        Kent, WA 98032
                                                       (253) 872-4730
                 LAURENCE H. TRIBE
                 HARVARD LAW SCHOOL*                   LEAH M. LITMAN
                 1575 Massachusetts Avenue             UNIVERSITY OF MICHIGAN
                 Cambridge, MA 02138                   LAW SCHOOL*
                 (617) 495-1767                        3226 Jeffries Hall
                                                       Ann Arbor, MI 48109
                                                       (734) 764-0549

                    Additional Counsel for DACA Recipient Respondents in No. 18-587

                                             *Affiliation for identification purposes only




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                                     10051




                  MICHAEL J. WISHNIE                TRUDY S. REBERT
                  MUNEER I. AHMAD                   NATIONAL IMMIGRATION LAW
                  MARISOL ORIHUELA                  CENTER
                  JEROME N. FRANK LEGAL             P.O. Box 721361
                  SERVICES ORGANIZATION             Jackson Heights, NY 11372
                  P.O. Box 209090                   (646) 867-8793
                  New Haven, CT 06520
                  (203) 432-4800

                  KAREN C. TUMLIN                   ARACELI MARTÍNEZ-OLGUÍN
                  COOPERATING ATTORNEY              MAYRA B. JOACHIN
                  JEROME N. FRANK LEGAL             NATIONAL IMMIGRATION LAW
                  SERVICES ORGANIZATION             CENTER
                  P.O. Box 209090                   3450 Wilshire Blvd.
                  New Haven, CT 06520               #108-62
                  (323) 316-0944                    Los Angeles, CA 90010
                                                    (213) 639-3900

                  AMY S. TAYLOR                     SCOTT FOLETTA
                  PAIGE AUSTIN                      MAKE THE ROAD NEW YORK
                  MAKE THE ROAD NEW YORK            92-10 Roosevelt Avenue
                  301 Grove Street                  Jackson Heights, NY 11372
                  Brooklyn, NY 11237                (929) 244-3456
                  (718) 418-7690

                             Counsel for DACA Recipient Respondents and
                               Make the Road New York in No. 18-589




                 STACEY M. LEYTON                  JAMES R. WILLIAMS
                 ALTSHULER BERZON LLP              GRETA S. HANSEN
                 177 Post Street, Suite 300        LAURA S. TRICE
                 San Francisco, CA 94108           MARCELO QUIÑONES
                 (415) 421-7151                    OFFICE OF THE COUNTY COUNSEL
                                                   COUNTY OF SANTA CLARA
                 Counsel for Respondents County of 70 West Hedding Street
                 Santa Clara and Service Employees East Wing, Ninth Floor
                 International Union Local 521 in  San Jose, CA 95110
                 No. 18-587                        (408) 299-5900

                                                   Counsel for Respondent County of
                                                   Santa Clara in No. 18-587




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                                            i

                             QUESTIONS PRESENTED

                     Since 2012, the Deferred Action for Childhood Ar-
                 rivals (“DACA”) policy has enabled nearly 800,000 un-
                 documented individuals who arrived in the United
                 States as children to live and work here without fear
                 of deportation, so long as they qualify and remain eli-
                 gible for the policy. In September 2017, the Attorney
                 General issued a one-page, conclusory letter reversing
                 the government’s longstanding legal position. Bound
                 by the Attorney General’s advice, the Acting Secretary
                 of Homeland Security abruptly issued a new immigra-
                 tion enforcement policy that terminated DACA.
                    The questions presented in these consolidated
                 cases are:
                    1. Whether either the Administrative Procedure
                 Act (“APA”), 5 U.S.C. § 701(a)(2), or the Immigration
                 and Nationality Act (“INA”), 8 U.S.C. § 1252(b)(9), (g),
                 precludes judicial review of the Secretary’s decision to
                 terminate the DACA policy.
                    2. Whether the Secretary’s decision was “arbi-
                 trary, capricious, an abuse of discretion, or otherwise
                 not in accordance with law,” in violation of the APA, 5
                 U.S.C. § 706(2)(A).




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                                               ii

                          PARTIES TO THE PROCEEDING
                     In No. 18-587, Petitioners are Donald J. Trump,
                 President of the United States; William P. Barr, At-
                 torney General of the United States; Kevin K.
                 McAleenan, Acting Secretary of Homeland Security;
                 U.S. Department of Homeland Security; and the
                 United States.
                     Respondents are the Regents of the University of
                 California; Janet Napolitano, President of the Univer-
                 sity of California; the State of California; the State of
                 Maine; the State of Maryland; the State of Minnesota;
                 the City of San Jose; Dulce Garcia; Miriam Gonzalez
                 Avila; Saul Jimenez Suarez; Viridiana Chabolla Men-
                 doza; Norma Ramirez; Jirayut Latthivongskorn; the
                 County of Santa Clara; and Service Employees Inter-
                 national Union Local 521.*
                     In No. 18-588, Petitioners are Donald J. Trump,
                 President of the United States; William P. Barr, At-
                 torney General of the United States; Kevin K.
                 McAleenan, Acting Secretary of Homeland Security;
                 U.S. Citizenship and Immigration Services; U.S. Im-
                 migration and Customs Enforcement; the U.S. De-
                 partment of Homeland Security; and the United
                 States.
                     Respondents are the Trustees of Princeton Uni-
                 versity; Microsoft Corporation; Maria De La Cruz Per-
                 ales Sanchez; National Association for the Advance-
                 ment of Colored People; American Federation of
                 Teachers, AFL-CIO; and the United Food and Com-
                 mercial Workers International Union, AFL-CIO,
                 CLC.

                  *
                      After the Complaint was filed in September 2017, Viridiana
                 Chabolla Mendoza was granted Lawful Permanent Resident sta-
                 tus.




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                                            iii

                     In No. 18-589, Petitioners are Kevin K.
                 McAleenan, Acting Secretary of Homeland Security;
                 the U.S. Department of Homeland Security; William
                 P. Barr, Attorney General of the United States; Don-
                 ald J. Trump, President of the United States; U.S. Cit-
                 izenship and Immigration Services; U.S. Immigration
                 and Customs Enforcement; and the United States.
                      Respondents are Martin Jonathan Batalla Vidal,
                 Antonio Alarcon, Eliana Fernandez, Carlos Vargas,
                 Mariano Mondragon, and Carolina Fung Feng, on be-
                 half of themselves and all other similarly situated in-
                 dividuals; Make the Road New York, on behalf of it-
                 self, its members, its clients, and all similarly situated
                 individuals; the State of New York; the State of Mas-
                 sachusetts; the State of Washington; the State of Con-
                 necticut; the State of Delaware; the District of Colum-
                 bia; the State of Hawaii; the State of Illinois; the State
                 of Iowa; the State of New Mexico; the State of North
                 Carolina; the State of Oregon; the State of Pennsylva-
                 nia; the State of Rhode Island; the State of Vermont;
                 the State of Virginia; and the State of Colorado.




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                                  INTRODUCTION
                     The Constitution and federal immigration laws
                 afford the Executive Branch significant authority to
                 set immigration enforcement priorities. For decades,
                 presidential administrations from both political
                 parties have used that authority to permit certain
                 categories of individuals to remain and work in the
                 United States. The principal check on the Executive’s
                 authority in this area is procedural: As with other
                 exercises of the government’s coercive power, the
                 Executive must comply with the Administrative
                 Procedure Act (“APA”) by giving “reasoned
                 explanation[s] … that can be scrutinized by courts and
                 the interested public.” Dep’t of Commerce v. New
                 York, 139 S. Ct. 2551, 2575-76 (2019).              An
                 administration may impose new or different
                 priorities, but only if it adheres to APA requirements
                 and clearly states its policy choices so that it can be
                 held publicly accountable for them. The judiciary, in
                 turn, has a limited but essential role: ensuring that
                 the Executive considers and clearly explains the
                 consequences of new approaches, especially for those
                 who will be profoundly affected by a change.
                    This case concerns an immigration policy change
                 covering undocumented individuals who arrived in
                 the United States as children. Since 2012, the
                 Deferred Action for Childhood Arrivals (“DACA”)
                 policy allowed these individuals, known as
                 “Dreamers,” to obtain an education, work, and
                 contribute to this nation and its economy without
                 constant fear of deportation.    The Secretary of
                 Homeland Security announced DACA in a
                 memorandum that explicitly articulated the factors
                 underlying the policy: the agency’s limited
                 “enforcement     resources,”   DACA      recipients’




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                 “contribut[ions] to our country,” and the need for a
                 “clear and efficient process for exercising
                 prosecutorial discretion” on an “individual basis.”
                 Regents Pet. App. 98a-100a. The policy has been
                 widely perceived as a success, and many people—
                 including DACA recipients, and their families,
                 employers, and educational institutions—have made
                 significant decisions based on forbearance from
                 removal, just as the government intended them to do.
                    For many months, the current administration
                 maintained and publicly supported DACA. But in
                 September 2017, the Secretary suddenly announced a
                 new policy that terminated the five-year-old policy,
                 threatening deportation of DACA recipients from the
                 only country many of them have ever known as home.
                 In sharp contrast to the decision adopting DACA, the
                 new memorandum came nowhere near satisfying the
                 APA’s requirements for reasoned decisionmaking.
                 The Secretary did not even mention enforcement
                 resources or the significant costs to DACA recipients,
                 their families, communities, workplaces, schools, and
                 the larger economy.
                     The government has offered different rationales
                 for the decision over time. But the same fatal flaw
                 infects them all: The Secretary’s assertion that DACA
                 exceeded her authority. In terminating DACA, the
                 Secretary purported to respond to a binding letter
                 from the Attorney General stating that DACA is
                 unlawful and unconstitutional.            The letter’s
                 perfunctory legal analysis included an obvious factual
                 error and failed to acknowledge the administration’s
                 departure from the Executive Branch’s longstanding
                 legal position, as presented to this Court and reflected
                 in advice of the Justice Department’s Office of Legal
                 Counsel (“OLC”). In fact, the Secretary’s ostensible




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                 legal premise driving her decision was erroneous:
                 DACA is lawful.
                     The administration could have left DACA in place.
                 It did not have to end this humanitarian policy that
                 allows nearly 700,000 people to stay in the only
                 country they have ever really known. It did not have
                 to eliminate the opportunity for these individuals to
                 earn a living to support themselves and their families.
                 It did not have to disclaim Executive authority that
                 administrations of both parties rightly have exercised
                 for decades. But rather than own up to its choice, the
                 administration claimed its hands were tied by the
                 courts and the law. It is a cardinal principle of
                 administrative law that the Executive may not shield
                 discretionary policy decisions from scrutiny behind
                 erroneous claims that the law allows only one result,
                 yet that is what the administration did here.
                    The APA demands—and the public deserves—a
                 genuine analysis and lucid explanation of the relevant
                 policy considerations before reversing a long-standing
                 policy and subjecting 700,000 individuals to
                 deportation to unfamiliar nations where they may not
                 even speak the language. Because DHS failed to meet
                 these basic standards, the lower courts correctly set
                 aside the new policy.
                                    STATEMENT
                    1. The Immigration and Nationality Act (“INA”)
                 grants immigration officials “broad discretion” to
                 pursue removal from the United States of noncitizens
                 deemed removable by Congress. Arizona v. United
                 States, 567 U.S. 387, 396 (2012). That discretion is
                 one of immigration law’s “principal feature[s].” Ibid.
                 It reflects the reality that “there simply are not
                 enough resources to enforce all of the rules and
                 regulations presently on the books,” and that “[i]n




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                 some circumstances”—because Congress “cannot
                 possibly [have] contemplate[d] all of the possible
                 circumstances in which the [INA] may be applied”—
                 “application of the literal letter of the law” would be
                 “unconscionable” and “serve no useful purpose.”
                 Regents Ct. App. ECF No. 45, at 1215. The INA
                 accordingly directs the Secretary of Homeland
                 Security to “[e]stablis[h] national immigration
                 enforcement policies and priorities.”          6 U.S.C.
                 § 202(5).
                     Every presidential administration over the past 65
                 years has exercised some form of enforcement
                 discretion—through more than thirty separate
                 policies—to make categories of undocumented
                 noncitizens deemed low priority eligible for
                 forbearance from removal. American Immigration
                 Council, Executive Grants of Temporary Immigration
                 Relief,     1956-Present     3-10      (Oct.     2014),
                 https://tinyurl.com/y27k6qx8 (“AIC Report”). The
                 Eisenhower, Kennedy, Johnson, and Nixon
                 Administrations, for example, paroled more than
                 600,000 Cubans into the United States, and the Ford
                 and Carter Administrations paroled in nearly 360,000
                 Vietnamese, Cambodians, and Laotians.             Ibid.
                 Similarly, from 1960 to 1990, each presidential
                 administration used “extended voluntary departure”
                 to forbear removal of groups of “otherwise deportable
                 aliens” based on their nationality “out of concern that
                 … forced repatriation … could endanger their lives or
                 safety.” H.R. Rep. No. 627, 100th Cong., 2d Sess. 6
                 (1988).     The Reagan and George H.W. Bush
                 Administrations’ Family Fairness Program made
                 extended voluntary departure available to 1.5 million
                 eligible recipients—more than 40 percent of the
                 undocumented population at the time—while their
                 parents or spouses pursued immigration status under




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                 newly enacted legislation.       AIC Report, at 2.
                 Subsequent administrations used “deferred enforced
                 departure” to grant similar relief to 80,000 Chinese
                 following the Tiananmen Square protests, 190,000
                 Salvadorans after their eligibility for temporary
                 protected status expired, and others. Id. at 6-7.
                    One way the Executive exercises its enforcement
                 discretion is through deferred action, “a regular
                 practice” in which the government elects not to seek
                 removal of individuals “for humanitarian reasons or
                 simply for its own convenience.” Reno v. Am.-Arab
                 Anti-Discrimination Comm., 525 U.S. 471, 483-84 &
                 n.8 (1999) (“AADC”). The Executive has granted
                 deferred action since the 1970s, Regents Ct. App. ECF
                 No. 45, at 1220, and each presidential administration
                 since 1997 has adopted deferred action policies
                 covering categories of noncitizens. J.A. 822-26. Past
                 policies covered battered spouses and human
                 trafficking survivors awaiting visas, students
                 displaced by Hurricane Katrina, and surviving
                 spouses of U.S. citizens who had “no avenue of
                 immigration relief.” Ibid.
                    The Executive has long recognized the need for in-
                 dividuals granted discretionary relief from removal to
                 support themselves and their families. Since 1981,
                 federal regulations have expressly authorized recipi-
                 ents of deferred action and other exercises of enforce-
                 ment discretion to work in the United States. 8 C.F.R.
                 § 109.1(b)(6) (1982); id. § 274a.12(c)(14). Congress
                 later codified this authority by permitting employers
                 to hire any noncitizen “authorized to be … employed
                 by [the INA] or by the Attorney General” (now Secre-
                 tary). 8 U.S.C. § 1324a(h)(3) (emphasis added); 8
                 C.F.R. § 274a.12(c)(14). By statute and regulation,




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                 deferred action recipients may also obtain driver’s li-
                 censes, REAL ID Act of 2005, Pub. L. No. 109-13,
                 Div. B., § 201(c)(2)(B)(viii), 119 Stat. 302 (2005); par-
                 ticipate in Social Security and Medicaid, 8 U.S.C.
                 § 1611(b)(2)-(4); 8 C.F.R. § 1.3(a)(4)(vi); 42 C.F.R.
                 § 417.422(h); and apply for and receive advance pa-
                 role, allowing them to travel abroad and re-enter the
                 United States, 8 C.F.R. § 212.5.
                     2. In 2012, Secretary of Homeland Security Ja-
                 net Napolitano established the DACA policy. Regents
                 Pet. App. 97a-101a. Undocumented individuals who
                 arrived in the United States as children and met rig-
                 orous criminal background checks and education or
                 military service requirements could apply for deferred
                 action for renewable two-year periods. Ibid. Both in-
                 itial and renewal applications were decided on a “case
                 by case basis,” and DHS provided no “assurance[s]
                 that relief w[ould] be granted in all cases.” Id. at 99a.
                 Indeed, the government does not dispute the Ninth
                 Circuit’s determination that DHS actually exercised
                 discretion in adjudicating DACA applications. See Re-
                 gents Supp. App. 50a-51a. Individuals granted de-
                 ferred action could apply for work authorization and
                 other benefits pursuant to existing statutes and regu-
                 lation. Id. at 12a. Secretary Napolitano explained
                 that immigration laws were not “designed to remove
                 productive young people to countries where they may
                 not have lived or even speak the language,” and DHS’s
                 exercise of “prosecutorial discretion” to forbear re-
                 moval of these individuals was “especially justified”
                 because they had “already contributed to our country
                 in significant ways” and “lack the intent to violate the
                 law.” Regents Pt. App. 98a-99a. She adopted DACA
                 to “ensure that [the government’s] enforcement re-
                 sources are not expended on these low priority cases.”
                 Ibid. The government actually encouraged eligible




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                 noncitizens to apply to participate in DACA. See
                 Supp. Pet. App. 73a (Ninth Circuit “agreeing” that the
                 government’s “assurances were crucial to inducing
                 [DACA recipients] to apply for DACA”) (quotation
                 marks omitted); Regents Dist. Ct. ECF No. 121-1, at
                 181, 227; id. ECF No. 1 ¶ 33.
                    DACA has allowed nearly 800,000 people—
                 including nearly 700,000 current recipients—to build
                 productive lives in the United States without
                 persistent fear of deportation. NAACP Pet. App. 5a.
                 Based upon DACA, they have organized their lives to
                 advance their education, serve in the U.S. military,
                 start businesses, have families, and make other life-
                 changing decisions. J.A. 435-49, 652-70. Like many
                 other DACA recipients, the individual respondents
                 here—Dulce Garcia, Miriam Gonzalez Avila, Saul
                 Jimenez      Suarez,    Norma      Ramirez,    Jirayut
                 Latthivongskorn, Martín Jonathan Batalla Vidal,
                 Antonio Alarcon, Eliana Fernandez, Carlos Vargas,
                 Mariano Mondragon, and Carolina Fung Feng—have
                 pursued new paths and dreams previously
                 unavailable to them. Some have embarked on careers
                 as lawyers, medical professionals, and teachers;
                 others now can raise families without fear of
                 separation, pay for children’s or parents’ health care,
                 drive family members to school and medical
                 appointments, provide a home for their families, or
                 advocate for their communities. Id. at 659, 889-910,
                 927, 946, 960. DACA recipients are embedded
                 throughout the economy; 72% of Fortune 500
                 companies have hired DACA recipients. Id. at 605. If
                 DACA is eliminated, recipients will face the persistent
                 fear of being uprooted from their homes and separated
                 from their families. They, their families, and their
                 communities will suffer extraordinary losses. Id. at
                 435-49, 461.




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                     3. Four years after DACA began, this Court con-
                 sidered a challenge to a different policy—Deferred Ac-
                 tion for Parents of Americans and Lawful Permanent
                 Residents (“DAPA”). Announced in 2014 but never
                 implemented, DAPA would have made deferred action
                 available to up to 4.3 million parents whose children
                 were U.S. citizens or lawful permanent residents. Re-
                 gents Pet. App. 54a, 107a-08a. Unlike DACA, the
                 memorandum announcing DAPA said that, although
                 “[d]eferred action does not confer any form of legal sta-
                 tus in this country, … it simply means that, for a spec-
                 ified period of time, an individual is presumed to be
                 lawfully present in the United States.” Id. at 104a.
                 DAPA also would have loosened the age and residency
                 requirements for DACA and extended the deferred ac-
                 tion period to three years. Id. at 106a-07a.
                    Before DAPA was implemented, several states
                 challenged it under the APA and obtained a prelimi-
                 nary injunction. A divided Fifth Circuit panel af-
                 firmed. Texas v. United States, 809 F.3d 134, 171-86
                 (5th Cir. 2015). This Court affirmed by an evenly di-
                 vided vote in a per curiam, nonprecedential decision
                 on June 23, 2016. Texas v. United States, 136 S. Ct.
                 2271 (2016).
                     4. The     current      administration      initially
                 supported DACA. In March 2017, DHS Secretary
                 John Kelly stated that DACA embodies a
                 “commitment” “by the government towards …
                 Dreamer[s].” J.A. 435. In April 2017, the President
                 personally assured DACA recipients they could “rest
                 easy” because the “policy of [his] administration [is] to
                 allow the dreamers to stay.” Ibid (alterations in
                 original). DHS continued to accept, process, and grant
                 DACA applications.




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                     Then the administration reversed course. On
                 September 4, 2017, Attorney General Jefferson
                 Sessions sent a one-page letter to Acting DHS
                 Secretary Elaine Duke, stating that “DACA was
                 effectuated by the previous administration through
                 executive action, without proper statutory authority”
                 and “was an unconstitutional exercise of authority by
                 the Executive Branch.” J.A. 877. Although no court
                 had found DAPA constitutionally defective, the
                 Attorney General cited the Texas decision and stated
                 that DACA has “the same legal and constitutional
                 defects that the courts recognized as to DAPA.” Id. at
                 877-78.
                     The following day, Secretary Duke issued a new
                 enforcement policy memorandum that ended DACA.
                 Regents Pet. App. 111a-19a. Her explanation was
                 brief: “Taking into consideration the Supreme Court’s
                 and the Fifth Circuit’s rulings in the ongoing [DAPA]
                 litigation, and the September 4, 2017 letter from the
                 Attorney General,” she concluded that DACA “should
                 be terminated.” Id. at 117a. The memorandum con-
                 tained no analysis of purported litigation risks. Nor
                 did it weigh defending DACA and its benefits against
                 the hardship that limiting deferred action would im-
                 pose on the hundreds of thousands of DACA recipi-
                 ents, their families, employers, schools, communities,
                 and the economy. The memorandum instructed DHS
                 to stop approving new DACA applications—even
                 where immigration officials might have granted the
                 same relief before DACA—and to stop processing cer-
                 tain renewal applications in October 2017, thus allow-
                 ing individual recipients’ deferred action to expire be-
                 ginning in March 2018. Id. at 117a-18a.
                    Even after the new policy was announced, the
                 President publicly supported DACA recipients. E.g.,




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                 Donald Trump (@realDonaldTrump), Twitter (Sept.
                 14,    2017,     5:28     AM),     https://tinyurl.com/
                 y378dsy9 (“Does anybody really want to throw out
                 good, educated and accomplished young people who
                 have jobs, some serving in the military? Really!”);
                 Donald Trump (@realDonaldTrump), Twitter (Sept.
                 14, 2017, 5:35 AM), https://tinyurl.com/y29uh56w
                 (“They have been in our country for many years
                 through no fault of their own - brought in by parents
                 at young age.”).
                    5. Respondents in these consolidated cases filed
                 lawsuits challenging DHS’s action in the Northern
                 District of California, the District of Columbia, and
                 the Eastern District of New York. J.A. 376-796.
                 Respondents contend, inter alia, that the policy is
                 unlawful under the APA because it is “arbitrary,
                 capricious, an abuse of discretion, or otherwise not in
                 accordance with law,” 5 U.S.C. § 706(2)(A). J.A. 463-
                 767.
                     The government produced a mere 256-page
                 administrative record comprising just 14 public
                 documents: the memoranda adopting and rescinding
                 DACA, OLC’s analysis of DAPA, the Attorney
                 General’s letter, published opinions from the DAPA
                 litigation, and letters from States and Members of
                 Congress. Regents Dist. Ct. ECF No. 64-1. “All
                 nonpublic materials, some eighty-four documents,
                 actually reviewed by the Acting Secretary remained
                 withheld as privileged.” Regents Pet. App. 23a. The
                 lower courts in Regents and Batalla Vidal found that
                 the administrative record was incomplete. Regents
                 Dist. Ct. ECF No. 79, at 8; Batalla Vidal Dist. Ct. ECF
                 No. 89, at 3; see also In re Nielsen, No. 17-3345, ECF
                 No. 171, at 3 (2d Cir. Dec. 27, 2017) (finding “strong
                 suggestion” that administrative record was




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                 incomplete). It turns out, for example, that DHS did
                 not include a Summary of Conclusions from a
                 Principals Committee meeting, dated August 24,
                 2017, reflecting the Committee’s “agree[ment] that”
                 DHS will “withdraw the 2012 DACA memorandum …
                 in light of DOJ’s legal determination” that DACA is
                 unlawful.     Make the Road N.Y. v. U.S. Dep’t
                 Homeland Sec., No. 1:18-cv-2445, ECF No. 63-1, at
                 209 (E.D.N.Y. Aug. 14, 2019).
                    In all three cases, the district courts rejected the
                 government’s arguments that the APA and the INA
                 prohibit judicial review of its action. Regents Pet.
                 App. 26a-33a; NAACP Pet. App. 25a-43a; Batalla
                 Vidal Pet. App. 24a-38a. Each court then either
                 enjoined or vacated the policy.
                     In Department of Homeland Security v. Regents of
                 the University of California, No. 18-587 (“Regents”),
                 the district court granted preliminary injunctive re-
                 lief. Regents Pet. App. 41a-69a. It found respondents
                 likely to succeed on their APA claim that DHS’s policy
                 was “‘not in accordance law’ because [the decision to
                 adopt it] was based on the flawed legal premise that
                 the agency lacked authority to implement DACA.” Id.
                 at 42a. And it held that equity strongly favored pre-
                 liminary relief because eliminating DACA would “re-
                 sult in hundreds of thousands of individuals losing
                 their work authorizations and deferred action status,”
                 tearing apart families and removing productive work-
                 ers from the economy. Id. at 65a. The Ninth Circuit
                 affirmed the injunction for largely the same reasons.
                 Regents Supp. App. 1a-78a.1


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                    The Ninth Circuit also affirmed the denial of the govern-
                 ment’s motion to dismiss the DACA Recipient Respondents’
                 Equal Protection claim, but noted that “Plaintiffs did not seek a




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                     In McAleenan v. Batalla Vidal, No. 18-589
                 (“Batalla Vidal”), the district court granted an
                 identical preliminary injunction. Batalla Vidal Pet.
                 App. 90a-129a. It found that respondents were likely
                 to succeed on their APA claim because DHS acted
                 “based on an erroneous legal premise.” Id. at 91a.
                 The court also concluded that the action was arbitrary
                 and capricious because: (1) it rested on an “obvious
                 factual mistake”—the Attorney General’s assertion
                 that the Fifth Circuit in Texas had found
                 “‘constitutional defects … as to DAPA,’” id. at 105a
                 (omission in original); and (2) the Secretary’s decision
                 to wind down DACA gradually was “internally
                 inconsistent” with her statement that DACA is
                 unlawful, id. at 107a-09a.
                     In Trump v. NAACP, No. 18-588, the district court
                 vacated Secretary Duke’s memorandum. NAACP Pet.
                 App. 48a-66a. It reasoned that the government had
                 failed sufficiently to explain its legal conclusion that
                 DACA is unlawful, and the decision therefore was ar-
                 bitrary and capricious regardless of the correctness of
                 that legal conclusion. Id. at 49a-55a. The court re-
                 jected the government’s request to remand to the new
                 DHS Secretary, Kirstjen Nielsen, while leaving DHS’s
                 new policy in place. Id. at 62a-66a. Instead, it vacated
                 the policy but stayed its order for 90 days to give the

                 preliminary injunction on [that] claim, instead relying solely on
                 their APA argument.” Regents Supp. App. 84a. The district
                 court in Batalla-Vidal likewise found that plaintiffs had stated
                 an Equal Protection claim, Batalla-Vidal Pet. App. 157a, but
                 based its preliminary injunction only on the APA, id. at 68a. Re-
                 spondents do not rely on the Equal Protection claims to affirm
                 the issuance of the preliminary injunctions. No court has yet de-
                 cided the merits of those claims. The APA claims are sufficient
                 to resolve the case, and this Court need not address Equal Pro-
                 tection in this interlocutory posture at the pleading stage.




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                 Secretary an opportunity to “reissue a memorandum
                 rescinding DACA, this time providing a fuller expla-
                 nation for the determination that the program lacks
                 statutory and constitutional authority.” Id. at 66a.
                    6. Secretary Nielsen declined the NAACP court’s
                 invitation to issue a new agency action. Instead, she
                 issued a memorandum in which she “decline[d] to
                 disturb” Secretary Duke’s policy and proffered several
                 reasons why, in her view, that action “was, and
                 remains, sound.” Regents Pet. App. 121a.
                    Secretary Nielsen’s memorandum stated that she
                 was “bound” by the Attorney General’s conclusion that
                 DACA is unlawful, and therefore legally compelled to
                 terminate DACA. Regents Pet. App. 122a-23a. Thus,
                 she did not address—any more than the Attorney
                 General or Secretary Duke—the Trump and Obama
                 administrations’ prior support for DACA or the
                 Executive’s longstanding legal position and exercises
                 of deferred action authority. Instead, Secretary
                 Nielsen purported to recast that conclusion in policy
                 terms—suggesting for example that deferred action
                 “should be enacted legislatively” rather than
                 implemented by the Executive. Id. at 123a-24a. The
                 memorandum did not weigh these supposed policy
                 considerations independently against the significant
                 hardships that denying deferred action would cause to
                 multiple stakeholders. Instead, it offered only the
                 perfunctory conclusion that DACA’s “questionable
                 legality” and “other reasons” together outweighed the
                 unstated “interests” of DACA recipients alone. Id. at
                 125a.
                     The government has not defended Secretary
                 Nielsen’s memorandum as a new agency action.
                 Instead, DHS offered the memorandum as a reason
                 for the district court to reconsider its order vacating




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                 Secretary Duke’s initial decision. See NAACP Pet.
                 App. 81a. Exercising discretion under Federal Rule of
                 Civil Procedure 54(b)—which permits reconsideration
                 of interlocutory orders any time before final
                 judgment—the court declined to consider any “‘new
                 reason[s]’” first offered by Secretary Nielsen. Id. at
                 92a. The court agreed to consider the Nielsen
                 memorandum only as it clarified Secretary Duke’s
                 reasoning, id. at 91a-92a, but concluded that even
                 with this additional gloss, the reasons Secretary Duke
                 “previously gave” could not salvage her decision
                 “because the Court ha[d] already rejected them.” Id.
                 at 82a. The Court thus allowed its vacatur of
                 Secretary Duke’s policy to stand. Ibid.
                            SUMMARY OF ARGUMENT
                    1. Neither the APA’s narrow exception for
                 decisions “committed to agency discretion by law,”
                 5 U.S.C. § 701(a)(2), nor the INA prevents judicial
                 review of the government’s new enforcement policy.
                    The APA does not preclude review of an agency’s
                 action affecting 700,000 DACA recipients’ ability to
                 remain in the United States, as well as eligibility for
                 work authorization and other benefits under separate
                 authorities. There is no remotely comparable case
                 withholding judicial review, much less a “tradition” of
                 unreviewability.     Here, there are meaningful
                 standards for the Court to apply, particularly because
                 DHS’s decision was based on an (incorrect) legal
                 judgment. The government now claims that its
                 decision was based on “litigation risk,” but that
                 rationale appears nowhere in Secretary Duke’s
                 memorandum, nor can it be meaningfully separated
                 from DHS’s incorrect belief that DACA is unlawful.
                    The government also argues that Secretary
                 Nielsen’s subsequent memorandum precludes review.




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                 But that memorandum was not offered as a new
                 agency action on a new administrative record. It
                 merely purported to provide additional support for
                 Secretary Duke’s memorandum after it was vacated
                 by the NAACP court. That court did not abuse its
                 discretion in refusing to reconsider the vacatur based
                 on Secretary Nielsen’s memorandum. In any event,
                 both memoranda can be reviewed under the APA’s
                 general requirement of reasoned decisionmaking.
                    Nor does the INA, 8 U.S.C. § 1252(b)(9), (g),
                 preclude review. Section 1252(b)(9) applies only to
                 removal orders, detention decisions, and removal
                 decisions. Section 1252(g) applies only to decisions to
                 commence proceedings, adjudicate cases, or executive
                 removal orders. Respondents’ claims do not fall into
                 any of these categories.
                     2. The Executive can change course on
                 enforcement policies, but not in arbitrary and
                 unreasoned ways. DHS’s new policy terminating
                 DACA did not meet the APA’s requirement for
                 reasoned decisionmaking and public accountability.
                 DHS did not consider, for example, the Executive’s
                 long history of deferred action policies and
                 institutional claim of legal authority. Nor did it
                 consider the costs of its decision, including loss of work
                 authorization for 700,000 DACA recipients. The
                 failure to consider costs to DACA recipients, their
                 families and employers, and the larger economy is
                 particularly egregious as hundreds of thousands of
                 people made life-altering decisions based on DACA, as
                 the government intended them to do.
                    Moreover, the central rationale for DHS’s
                 decision—that DACA is unlawful—is wrong. The
                 government has never defended the Attorney
                 General’s assertion that DACA is “unconstitutional.”




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                 Nor has it questioned the Executive’s authority to
                 grant deferred action on an individualized basis, 70
                 years of deferred action policies affecting more than a
                 million noncitizens, or the validity of regulations
                 making deferred action recipients eligible for work
                 authorization. The Executive’s inherent authority
                 over immigration, which this administration and
                 others have consistently argued to this Court, and the
                 congressional ratification of deferred action put DACA
                 on solid legal footing. DACA fits comfortably within
                 the tradition of past humanitarian deferred action
                 policies. The government’s contrary conclusion is “not
                 in accordance with the law.” 5 U.S.C. § 706(2)(A).
                    The government’s remaining rationales also fail.
                    First, purported concerns over litigation risk
                 cannot justify DHS’s action. Secretary Duke claimed
                 she was bound by the Attorney General’s erroneous
                 conclusion that DACA was unlawful; thus, any
                 discussion of litigation risk was an afterthought and
                 bound up with the legal error. Regardless, the agency
                 never fully considered litigation risk through, for
                 example, carefully comparing DACA and DAPA or
                 weighing the benefits of defending DACA against
                 risks the government might face if DACA were
                 successfully challenged. Moreover, because nearly all
                 major agency action will spur litigation, this
                 rationale—if credited—would defeat judicial review of
                 nearly any agency action. As Gene Hamilton, the
                 principal drafter of Secretary Duke’s memorandum
                 testified, a “litigation risk” rationale “sounds like the
                 craziest policy you could have in a department. You
                 could never do anything if you were always worried
                 about being sued.” J.A. 1007.
                    Second, Secretary Nielsen’s memorandum does not
                 justify the agency’s action. She, too, claimed to be




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                 bound by the Attorney General’s legal conclusion and
                 she, too, failed to meaningfully analyze litigation risk.
                 Her other rationales, which she claims are
                 independent, merely recast the legal case against
                 DACA in policy terms. Her memorandum is not
                 supported by any administrative record (none was
                 ever filed).
                    Secretary Nielsen’s purported rationales—
                 “doubts” about legal authority and concern that relief
                 “should be enacted legislatively,” be provided
                 “individually,” and “project a message” of consistent
                 enforcement—cannot          provide     the    “reasoned
                 explanation”     absent      from    Secretary    Duke’s
                 memorandum because Secretary Nielsen chose not to
                 take new agency action.           Regardless, Secretary
                 Nielsen (like her predecessor) never accounted for the
                 hardships that DHS’s reversal would impose on
                 DACA recipients or others. Her superficial cost-
                 benefit analysis weighed the costs of ending DACA
                 against all of her collective reasons for supporting that
                 outcome—including her erroneous views on DACA’s
                 legality. Her conclusion cannot stand.
                                      ARGUMENT
                 I. DHS’s New Immigration Enforcement Policy
                    Terminating DACA Is Judicially Reviewable
                     The APA mandates that those who “suffe[r] legal
                 wrong because of agency action” are “entitled to
                 judicial review.” 5 U.S.C. § 702. Because agencies are
                 “‘especially’” likely to disregard their legal obligations
                 “‘when [violations] have no consequence,’” the APA
                 establishes a “‘strong presumption favoring judicial
                 review of administrative action,’” Weyerhaeuser Co. v.
                 U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 370 (2018),
                 especially in the immigration context, see INS v. St.




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                 Cyr, 533 U.S. 289, 298 (2001). The government bears
                 the “heavy burden” to overcome that presumption.
                 Mach Mining, LLC v. EEOC, 135 S. Ct. 1645, 1651
                 (2015).
                    Agency decisions are reviewable unless: (1) they
                 have been “committed to agency discretion by law,” 5
                 U.S.C. § 701(a)(2); or (2) another “statut[e] preclude[s]
                 judicial review,” id. § 701(a)(1). As every court to
                 consider the issue has agreed, see, e.g., U.S. Opening
                 Brief (“Br.”) 9-14, neither bar applies here.
                    A. The APA Does Not Bar Judicial Review
                     This Court “narrowly” construes the APA’s
                 exception to judicial review for decisions “committed
                 to agency discretion by law.” Dep’t of Commerce
                 v. New York, 139 S. Ct. 2551, 2568 (2019). The
                 exception is “limited … to certain categories of
                 administrative decisions that courts traditionally
                 have regarded as committed to agency discretion.”
                 Ibid. (quotation marks omitted).         And it only
                 precludes review when there is “no meaningful
                 standard” for courts to apply.        Ibid.   Neither
                 requirement is met here.
                       1. DHS’s Action Is Not A Traditionally
                          Unreviewable       Nonenforcement
                          Decision
                     The government asserts that DHS’s new policy
                 terminating DACA is unreviewable because it is like
                 a traditionally unreviewable decision “not to institute
                 enforcement actions.” Br. 17. But DHS did not
                 decline to institute an enforcement action. It made a
                 broad policy change affecting all DACA recipients’
                 ability to remain in the country and, pursuant to
                 separate authorities, access work authorization and
                 other attendant benefits. The government cannot




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                 point to any remotely similar policy reversal that has
                 escaped judicial review—let alone a tradition of
                 denying review—because none exists.                The
                 government thus falls far short of its “heavy burden”
                 to avoid review. Mach Mining, 135 S. Ct. at 1651.
                     The government relies mainly on Heckler v.
                 Chaney, 470 U.S. 821 (1985), but Chaney involved a
                 completely different situation. In Chaney, eight
                 inmates who had been sentenced to death petitioned
                 the FDA to initiate enforcement proceedings against
                 two States to prevent their use of particular drugs for
                 lethal injections. In denying the petition, the FDA
                 invoked its “inherent discretion to decline to pursue
                 certain enforcement matters.” Id. at 824. This Court
                 held that the decision was not reviewable in light of
                 the “tradition” of affording “absolute” deference to “an
                 agency’s decision not to prosecute or enforce.” Id. at
                 831.     The Court emphasized the “complicated
                 balancing of … factors” involved in selecting
                 enforcement targets and measuring “particular
                 enforcement action[s]” against the “agency’s overall
                 policies.” Ibid. Most tellingly, the Court reasoned
                 that nonenforcement decisions generally lack any
                 “focus for judicial review” because they do not involve
                 the exercise of “coercive power” over an individual. Id.
                 at 832.
                     Here, by contrast, DHS’s action is coercive.
                 Although DACA is rooted in the government’s
                 authority to defer removal proceedings against
                 individuals subject to deportation, Congress (by
                 statute) and DHS (by regulation) have added benefits
                 that flow from deferred action, including access to
                 work authorization. Ending DACA denies 700,000
                 DACA recipients the ability to work, and thus directly
                 “infringe[s] upon areas that courts are called upon to




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                 protect.” Chaney, 470 U.S. at 832. The government is
                 therefore wrong that ending DACA “will not, by itself,
                 bring to bear the agency’s coercive power over any
                 individual.” Br. 19.
                     Further, the Secretary exercised that power
                 categorically, whereas Chaney involved “[i]ndividual,
                 isolated nonenforcement decisions.” 470 U.S. at 839
                 (Brennan, J., concurring).     As Justice Brennan
                 explained, Chaney “holds that [the FDA’s] individual
                 decisions … not to take enforcement action in
                 response to citizen requests are presumptively not
                 reviewable” because Congress did not “inten[d] courts
                 to review such mundane matters.” Id. at 838-39
                 (emphasis added).      The FDA did not make an
                 affirmative, public “programmatic determination” to
                 exempt all cases from enforcement, as the government
                 contends. Br. 21-22. It declined to initiate specific
                 enforcement actions sought in a single petition.
                    This Court has declined to extend Chaney to
                 decisions that are “‘less frequent’” and “‘more apt to
                 involve legal as opposed to factual analysis.’”
                 Massachusetts v. EPA, 549 U.S. 497, 527 (2007).
                 Decisions about general enforcement policy are both.
                 They are “abstracted from the particular
                 combinations of facts” that “drive … individual
                 enforcement decision[s],” and that agencies may be
                 better suited to evaluate. Crowley Caribbean Transp.,
                 Inc. v. Pena, 37 F.3d 671, 677 (D.C. Cir. 1994). They
                 also cover more ground, so agencies typically supply
                 “a clearer (and more easily reviewable) statement of
                 [their] reasons.” Ibid. “[C]ursory, ad hoc, or post hoc”
                 decisionmaking may be the norm, by necessity, for
                 “individual decisions to forego enforcement,” ibid, but
                 agencies must explain major policy initiatives that




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                 tangibly and adversely affect hundreds of thousands
                 of persons.
                     These considerations permit review of Secretary
                 Duke’s decision for the same reason they permit
                 review of the decisions to adopt DACA and DAPA. As
                 the Fifth Circuit explained, a decision that “triggers
                 … eligibility for federal benefits” involves “much more
                 than nonenforcement,” and is therefore reviewable.
                 Texas v. United States, 809 F.3d 134, 166 (5th Cir.
                 2015). This was the ground for reviewability offered
                 to this Court. State Resp. Br. at 39, Texas, 2016 WL
                 1213267 (U.S. Mar. 28, 2016). And the very premise
                 of the change in policy is that “potentially imminent
                 litigation” would enjoin DACA. J.A. 878. The
                 government dismisses any distinction between
                 “eliminat[ing]”     and     “adopt[ing]”    DACA     as
                 “immaterial,” Br. 22 (emphasis omitted), so its
                 assertion that the decision to eliminate DACA is
                 unreviewable contradicts the stated premise of DHS’s
                 new policy. DHS’s action is reviewable.
                       2. There Are Meaningful Standards For
                          Judicial Review
                    There are “meaningful standard[s]” for courts to
                 apply in reviewing Secretary Duke’s action. Dep’t of
                 Commerce, 139 S. Ct. at 2568.
                    a. Secretary Duke ostensibly announced a new
                 policy terminating DACA because Attorney General
                 Sessions      determined      that     DACA      was
                 “unconstitutional” and “effectuated … without proper
                 statutory authority.” J.A. 877. Secretary Nielsen
                 later recognized that conclusion was binding on DHS.
                 Regents Pet. App. 122a-23a (citing 8 U.S.C.
                 § 1103(a)(1)). In her memorandum, Secretary Duke
                 said that she “[took] into consideration” only the




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                 Attorney General’s letter and the authorities
                 underlying his legal conclusion. Id. at 117a.
                    Assessing this purely legal premise falls squarely
                 within the judiciary’s core competency: “to say what
                 the law is.” Marbury v. Madison, 5 U.S. (1 Cranch)
                 137, 177 (1803). The APA likewise “requires the court
                 to determine legal questions,” Kisor v. Wilkie, 139 S.
                 Ct. 2400, 2432 (2019) (Gorsuch, J., concurring in the
                 judgment). The legal question here can be answered
                 by reference to the INA’s text and structure, the
                 Executive’s broad discretion over immigration and
                 long history of implementing deferred action policies,
                 and this Court’s precedent on the appropriateness of
                 deferred action. See infra at 37-48.
                     Secretary Duke’s disavowal of legal authority to
                 maintain DACA also further distinguishes this case
                 from Chaney. The Secretary did not “exercise [her]
                 ‘discretion’” to change DHS’s deferred action policy
                 based on a “complicated balancing of a number of
                 factors which are peculiarly within [the agency’s]
                 expertise.” Chaney, 470 U.S. at 823, 831. In fact, she
                 disclaimed discretion to maintain DACA in light of
                 the Attorney General’s binding legal determination.
                 Cf. id. at 833 n.4 (distinguishing “a refusal by an
                 agency to institute proceedings based solely on the
                 belief that it lacks jurisdiction”).
                     Reviewing an agency’s determination that it lacks
                 legal authority furthers, rather than threatens, the
                 agency’s discretion. It frees the agency to make a
                 policy decision to exercise or decline to exercise its
                 authority. “[A]llowing judicial review under these
                 circumstances     …    promot[es]    …     democratic
                 accountability” within the Executive Branch by
                 preventing it from “blam[ing] the other two branches
                 … for a choice that was the agency’s to make all




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                 along.” Regents Supp. App. 31a-33a. Reviewing the
                 Executive’s new enforcement policy “prevents this
                 anti-democratic and untoward outcome,” id. at 33a,
                 and ensures that “an official cannot claim that the law
                 ties her hands while at the same time denying the
                 courts’ power to unbind her,” NAACP Pet. App. 73a.
                 These are not “free-floating” accountability concerns,
                 Br. 31; they reflect the APA’s central purpose of
                 holding federal agencies “accountable to the public
                 and their actions subject to review by the courts.”
                 Franklin v. Massachusetts, 505 U.S. 788, 796 (1992).
                    The government is wrong that under ICC v.
                 Brotherhood of Locomotive Engineers, 482 U.S. 270
                 (1987) (“BLE”), it “makes no difference what reasons
                 DHS gave.” Br. 23. BLE involved an agency’s single-
                 shot decision not to reconsider its prior order after the
                 time to obtain judicial review had passed. This Court
                 held that parties could not “exten[d] indefinitely” the
                 time to seek relief by first asking the agency to
                 reconsider its order and then petitioning for review of
                 the decision denying reconsideration, 482 U.S. at 280,
                 and emphasized that there is a “tradition” of denying
                 review in similar circumstances, id. at 282. These
                 reasons did not depend on why the agency had denied
                 reconsideration, so the Court adopted a blanket rule
                 that such decisions are always unreviewable, even if
                 the agency gives a “‘reviewable’ reason.” Id. at 283.
                     This situation is very different. It may be that
                 under BLE, “agency actions falling within a tradition
                 of nonreviewability” remain nonreviewable even when
                 they are based on “reviewable reason[s].” Br. 23-24
                 (quoting BLE, 482 U.S. at 282-83) (quotation marks
                 omitted; emphasis added). But Secretary Duke’s
                 decision—to deprive DACA recipients of deferred
                 action and, as a result, eligibility for work




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                 authorization by regulation—is the type of decision
                 that courts traditionally review. See supra at 21. It
                 is enough, therefore, that there are meaningful
                 standards to apply in this case. Citizens to Pres.
                 Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971)
                 (review available if there is “law to apply” “in a given
                 case”), abrogated on other grounds by Califano v.
                 Sanders, 430 U.S. 99 (1977). The Secretary’s reliance
                 on a reviewable legal premise satisfies that
                 requirement.
                     b. The government denies that the decision was
                 “based solely on DHS’s legal conclusion.” Br. 26.
                 Although Secretary Duke’s sole stated reason for her
                 new policy was DACA’s supposed illegality, the
                 government has unearthed a new and different
                 argument in this litigation—that it was justified by
                 “litigation risk.” Br. 27. This maneuver does not
                 defeat reviewability.
                    First, the Ninth Circuit correctly deemed that
                 justification a “mere post hoc rationalization” and
                 refused to consider it, including in deciding
                 reviewability. Regents Supp. App. 35a. Post hoc
                 rationalizations cannot deprive courts of the ability to
                 review the agency’s otherwise-reviewable original
                 action. See infra at 48-49.
                    Second, even if Secretary Duke’s reasoning were
                 stretched to encompass litigation risk, there are still
                 meaningful standards for courts to apply. The
                 Attorney General’s conclusion about the likely
                 outcome of litigation challenging DACA was expressly
                 premised on his own view of the policy’s legality. J.A.
                 878 (“Because the DACA policy has the same legal and
                 constitutional defects that the courts recognized as to
                 DAPA, it is likely that potentially imminent litigation
                 would yield similar results with respect to DACA.”).




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                 Nothing else in Secretary Duke’s memorandum is
                 tethered to litigation risk. As such, litigation risk here
                 is inseparable from the reviewable legal judgment.
                 NAACP Pet. App. 41a-42a. Moreover, assessing a
                 lawsuit’s likelihood of success—as the lower courts did
                 here in assessing the need for a preliminary
                 injunction—is standard fare for courts. E.g., Regents
                 Supp. App. 77a.
                    c. Secretary Nielsen’s later memorandum comes
                 too late to bear on reviewability and in any event
                 would not lead to a different result.
                     i.  The Nielsen memorandum is not a new
                 agency action like the successive travel bans in Trump
                 v. Hawaii, 138 S. Ct. 2392 (2018), and the government
                 has not defended it as such. The government offers it
                 only as support for the Duke memorandum. Br. 28.
                 Since NAACP vacated that memorandum before
                 Secretary Nielsen issued hers, the Nielsen
                 memorandum is relevant only if it provides a basis to
                 reconsider the vacatur.
                     The decision to reconsider an interlocutory order
                 rests in “the discretion of the district judge.” Moses H.
                 Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S.
                 1, 12 (1983). As BLE confirms, decisions denying
                 reconsideration—“by lower courts” and agencies
                 alike—are traditionally reviewable only in limited
                 circumstances. 482 U.S. at 282. Appellate courts
                 review denials of reconsideration for abuse of
                 discretion. E.g., SPV-LS, LLC v. Transamerica Life
                 Ins. Co., 912 F.3d 1106, 1111 (8th Cir. 2019); Capitol
                 Sprinkler Inspection, Inc. v. Guest Servs., Inc., 630
                 F.3d 217, 227 (D.C. Cir. 2011).
                    The district court in NAACP did not abuse its
                 discretion in denying reconsideration. DHS had every
                 opportunity to offer additional reasons for its new




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                 policy, both before the policy was vacated and after.
                 The court invited Secretary Nielsen to revive the
                 policy properly—through a new agency action on a
                 new administrative record, NAACP Pet. App. 94a—
                 but she declined. The court was not required to revisit
                 its vacatur at all, let alone based on arguments DHS
                 failed to advance before vacatur. See Moore’s Federal
                 Practice §§ 54.25[4], 59.30[6] (2019). The court thus
                 reasonably declined to consider Secretary Nielsen’s
                 “new reason[s]” through the backdoor of a
                 reconsideration motion. NAACP Pet. App. 92a.
                    The government points out that NAACP discussed
                 the Nielsen memorandum at length. Br. 28. But the
                 court considered that memorandum only as evidence
                 of Secretary Duke’s reasons, NAACP Pet. App. 91a-
                 92a, and properly read, it sheds no light on that issue.
                 Secretary Nielsen issued her memorandum “to
                 explain her reasons,” not Secretary Duke’s. Br. 29.
                 Since nothing in the record suggests Secretary Duke
                 shared Secretary Nielsen’s reasons, the Nielsen
                 memorandum does not affect the district court’s
                 reasoning.
                     ii. Regardless, the Nielsen memorandum is
                 reviewable in its own right “according to the general
                 requirements of reasoned agency decisionmaking”
                 under the APA. Dep’t of Commerce, 139 S. Ct. at 2569.
                 Judicial review is available to ensure, at minimum,
                 that DHS: (1) gave a “reasoned explanation … that
                 can be scrutinized by courts and the interested
                 public,” id. at 2575-76; (2) considered the “facts and
                 circumstances that underlay or were engendered by
                 [its] prior policy” before “chang[ing] … course,” FCC v.
                 Fox Television Stations, Inc., 556 U.S. 502, 515-16
                 (2009); and (3) “pa[id] attention to the advantages and
                 the disadvantages of [its] decisions,” Michigan v. EPA,




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                 135 S. Ct. 2699, 2707 (2015). Courts routinely apply
                 these standards.
                     It makes no difference, therefore, whether the INA
                 itself “circumscribes the Secretary’s decision.” Br. 19.
                 The authority to set aside agency action that is
                 “arbitrary” and “capricious” or an “abuse of
                 discretion,” 5 U.S.C. § 706(2)(A), is independent of the
                 authority to set aside actions “in excess of statutory
                 jurisdiction,” id. § 706(2)(C).
                     In Judulang v. Holder, for example, this Court
                 held that a Board of Immigration Appeals policy
                 governing eligibility for discretionary relief from
                 deportation was properly reviewed under the APA’s
                 “arbitrary and capricious” standard, even though the
                 challenged policy was “not an interpretation of any
                 statutory language” and the statute “d[id] not
                 mention” the question decided by the agency. 565
                 U.S. 42, 52 n.7 (2011). Even without a “textual
                 anchor” to guide its review, the Court unanimously
                 rejected the policy because it was based on
                 “irrelevant” factors unconnected to whether the
                 noncitizens affected deserved the requested relief. Id.
                 at 55, 60. As Judulang recognized, removal of
                 noncitizens with “longstanding ties to this country” is
                 “a matter of the utmost importance,” and statutory
                 silence cannot justify approaching that matter
                 arbitrarily without judicial oversight. Id. at 64. Even
                 when an agency acts within its substantive authority,
                 courts have “a role, and an important one, in ensuring
                 that [it] engaged in reasoned decisionmaking.” Id. at
                 53.2



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                    Although DHS’s substantive authority is “broad,” it is not
                 “unbounded.” Dep’t of Commerce, 139 S. Ct. at 2568. Congress




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                     B. The INA Does Not Bar Judicial Review
                    The government’s truncated arguments based on
                 the INA, 8 U.S.C. § 1252(b)(9), (g), are similarly
                 misplaced. See Br. 20-21. The challenged action does
                 not fit within either provision’s plain language and
                 thus cannot overcome the presumption of
                 reviewability. Mach Mining, 135 S. Ct. at 1651.
                     Neither provision applies outside of the removal
                 process. Section 1252(b)(9) limits judicial review of
                 claims that challenge “an order of removal,” a
                 “decision to detain … or to seek removal,” or “part of
                 the process by which … removability will be
                 determined.” Jennings v. Rodriguez, 138 S. Ct. 830,
                 841 (2018) (plurality op.). The three-justice plurality
                 in Jennings stated this expressly, and the three
                 dissenting justices would have gone farther, limiting
                 Section 1252(b)(9) to claims that “challenge … an
                 order of removal.” Id. at 876 (Breyer, J., dissenting).
                 Section 1252(g), meanwhile, “applies only to three
                 discrete actions that the Attorney General may take:
                 her ‘decision or action’ to ‘commence proceedings,
                 adjudicate cases, or execute removal orders.’” Reno
                 v. AADC, 525 U.S. 471, 482 (1999). It is not triggered
                 by “all claims arising from deportation proceedings,”
                 ibid., and does not “sweep in any claim that can

                 authorized the Secretary to set “national immigration … priori-
                 ties,” 6 U.S.C. § 202(5), but it regularly circumscribes that au-
                 thority. See, e.g., Consolidated Appropriations Act, 2016, Pub. L.
                 No. 114-113, Div. F, Tit. II, 129 Stat. 2242, 2497 (directing the
                 Secretary to prioritize the removal of criminal noncitizens by “se-
                 verity of th[e] crime”); Consolidated Appropriations Act, 2008,
                 Pub. L. No. 110-161, Div. A, Tit. II, 121 Stat. 1844, 2051 (condi-
                 tioning grant of funds to deport noncitizens who have committed
                 crimes on the Secretary’s creation of a “methodology” to “identify
                 and prioritize for removal criminal aliens convicted of violent
                 crimes”).




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                 technically be said to ‘arise from’ the three listed
                 actions of the Attorney General,” Jennings, 138 S. Ct.
                 at 841 (plurality op.).
                    Respondents here do not challenge any removal
                 order or detention decision.         And the Duke
                 memorandum is not a decision to “commence” removal
                 proceedings against any DACA recipient; “adjudicate”
                 any case; or “execute” any removal order. 8 U.S.C.
                 § 1252(g). Accordingly, neither statute applies.
                     Sections 1252(b)(9) and 1252(g) may “give some
                 measure of protection to ‘no deferred action’ decisions”
                 in the specific context of individual removal
                 proceedings. Br. 20 (quoting AADC, 525 U.S. at 485)
                 (emphasis added). But Congress was concerned about
                 “‘[e]fforts to challenge the refusal to exercise [deferred
                 action] on behalf of specific aliens.’” AADC, 525 U.S.
                 at 485 (emphasis added).              The government’s
                 programmatic decision here is not a matter that must
                 await judicial review in separate, individual actions in
                 immigration courts.
                 II. DHS Violated The APA By Failing To Engage
                     In Reasoned Decisionmaking
                    DHS’s new policy that terminated DACA is
                 “arbitrary, capricious, an abuse of discretion, or
                 otherwise not in accordance with law” in violation of
                 the APA, 5 U.S.C. § 706(2)(A), and must be set aside,
                 SEC v. Chenery Corp., 318 U.S. 80, 94 (1943)
                 (“Chenery I”) (“[A]n order may not stand if the agency
                 has misconceived the law.”).
                     The fundamental principle of administrative law is
                 that “administrative agencies are required to engage
                 in reasoned decisionmaking.” Michigan, 135 S. Ct. at
                 2706 (quotation marks omitted). While agencies
                 remain “free to change their existing policies,” the




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                 APA demands that they “provide a reasoned
                 explanation for [such] change[s],” Encino Motorcars,
                 LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016), “that
                 can be scrutinized by courts and the interested
                 public,” Dep’t of Commerce, 139 S. Ct. at 2575-76.
                    Respondents do not ask this Court to “second-
                 gues[s]” DHS’s policy “judgment” or question its
                 ability to change policy. Br. 32-33. The decisions
                 below recognized that the Executive can rescind
                 DACA “as an exercise of [its] discretion,” Regents
                 Supp. App. 57a, but the policy cannot be changed
                 without the “minimal level of analysis” necessary for
                 reasoned decisionmaking, judicial oversight, and
                 public accountability, Encino Motorcars, 136 S. Ct. at
                 2125, supported by the administrative record, Dep’t of
                 Commerce, 139 S. Ct. at 2573. The way in which DHS
                 replaced DACA with a new enforcement policy is
                 antithetical to proper administrative action. DACA is
                 a matter of significant public concern.        DACA
                 recipients, their communities, and the public deserve
                 a reasoned explanation for the government’s decision
                 supported by a complete administrative record. They
                 did not receive one.
                    A. The Government Violated the APA By
                       Failing To Explain Its Policy Change Or
                       Acknowledge Its Prior Stance On DACA’s
                       Legality
                    The letter from Attorney General Sessions and
                 Secretary Duke’s memorandum do not allow a
                 reviewer to reasonably “discer[n]” the legal “path”
                 DHS followed in jettisoning its prior positions and
                 concluding that DACA is unlawful. Bowman Transp.,
                 Inc. v. Ark.-Best Freight Sys., Inc., 419 U.S. 281, 286
                 (1974). The decision violated the APA.




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                    For decades, the Executive has exercised its
                 authority to grant deferred action for humanitarian
                 purposes, including on a categorical basis, and to
                 couple that relief from removal with work
                 authorization and other benefits. After DACA was
                 adopted, the Department of Justice vigorously
                 defended it as a “valid exercise of the [Executive’s]
                 broad authority and discretion to set policies for
                 enforcing the immigration laws.” U.S. Amicus Br. at
                 1, Ariz. Dream Act Coalition v. Brewer, 2015 WL
                 5120846 (9th Cir. Aug. 2015); see also Arpaio v.
                 Obama, 797 F.3d 11 (D.C. Cir. 2015); Crane v.
                 Johnson, 783 F.3d 244 (5th Cir. 2015). Reflecting the
                 Executive’s     legal     judgment      and    long-term
                 institutional interests, the Solicitor General defended
                 DAPA before this Court and argued that challenges to
                 that     deferred     action     policy    “dramatically
                 understate[d] the scope of [DHS’s] authority” to
                 establish immigration-enforcement policies and
                 priorities. Pet. Br. at 61, Texas, 2016 WL 836758 (U.S.
                 Mar. 1, 2016); see also Appellants’ Br. at 26, Barr v. E.
                 Bay Sanctuary Covenant, 2019 WL 4307408 (9th Cir.
                 Sept. 3, 2019) (government arguing it was permitted
                 to “exercise its discretion” to limit asylum “through
                 categorical rules”).
                    That position was backed by OLC’s considered
                 legal analysis. OLC “orally advised” DHS that DACA
                 was lawful, J.A. 827 n.8, and later memorialized its
                 recognition of DHS’s authority to grant deferred
                 action on a categorical basis in a lengthy opinion that
                 the Justice Department made public. Id. at 797-856.
                 Such OLC “formal written opinions” are a
                 “particularly important form of controlling legal
                 advice,” and especially “significant” OLC opinions are
                 “presumpt[ively]” made public, thereby educating the
                 nation “on some of the weightiest matters in our




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                 public life.” Citizens for Responsibility & Ethics in
                 Washington v. U.S. Dep’t of Justice, 922 F.3d 480, 483-
                 84 (D.C. Cir. 2019) (quotation marks omitted). And
                 for much of 2017—even after this Court’s 4-4
                 affirmance in Texas—President Trump, the DHS
                 Secretary, and other members of the current
                 administration publicly supported DACA. J.A. 455.
                    Notwithstanding this history, Attorney General
                 Sessions and Secretary Duke offered only a
                 threadbare explanation of their central legal premise
                 that DACA is both unconstitutional and unlawful.
                 Neither addressed the Solicitor General’s detailed
                 defense of Executive authority and practice on
                 deferred action before this Court or the analysis in
                 OLC’s opinion, nor did they explain why the Fifth
                 Circuit’s reasons for rejecting DAPA would apply to
                 the materially different policy considerations in
                 DACA. Indeed, in citing the Fifth Circuit’s Texas
                 decision to conclude that DACA is unconstitutional,
                 the Attorney General’s letter mischaracterized the
                 very opinion on which it purported to rely—a crucial
                 and “obvious factual mistake.” Batalla Vidal Pet.
                 App. 98a. The Fifth Circuit expressly declined to
                 resolve constitutional questions regarding DAPA,
                 Texas, 809 F.3d at 154, and as the government
                 recently argued to this Court, “‘claims that an official
                 exceeded his statutory authority’ are not
                 constitutional claims.” App. for Stay Pending Appeal,
                 Trump v. Sierra Club, No. 19A60 (U.S., July 12, 2019)
                 (quoting Dalton v. Specter, 511 U.S. 462, 474 (1994)).
                     The government tries to excuse its unexplained
                 about-face by asserting that it reflected DHS’s
                 “agree[ment]” with the Fifth Circuit’s “fla[t]
                 reject[ion]” of OLC’s lengthy analysis. Br. 52. But
                 neither the Attorney General’s letter nor Secretary




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                 Duke’s memorandum said that. And regardless, a
                 conclusory, unexplained statement “agreeing” with
                 the ruling of a single, divided court of appeals—in the
                 face of DOJ’s analysis and decades-old Executive
                 practice across administrations of both parties—does
                 not constitute “[r]easoned decisionmaking.” Dep’t of
                 Commerce, 139 S. Ct. at 2576. Nor does this Court’s
                 4-4 summary affirmance in Texas elevate the legal
                 significance of the Fifth Circuit’s ruling or its
                 reasoning. See Br. 7, 15, 16, 33, 52. “An unexplained
                 affirmance by an equally divided court” is “not
                 entitled to precedential weight no matter what
                 reasoning may have supported it.” Rutledge v. United
                 States, 517 U.S. 292, 304 (1996).
                      While the government need not outline its
                 reasoning “with legislative precision” (Br. 27), the
                 Attorney General’s letter and Secretary Duke’s
                 memorandum are so sparse that one cannot
                 reasonably “discer[n]” the logical “path” DHS followed
                 in its decisionmaking. Bowman, 419 U.S. at 286. It
                 would be one thing for the government to have
                 acknowledged its official prior positions, as
                 articulated by OLC and elsewhere, and explained its
                 newfound disagreement to justify disclaiming
                 Executive authority and abandoning the five-year-old
                 policy with 700,000 participants. But the Attorney
                 General’s unexplained “failure to even consider OLC’s
                 thorough [public] analysis”—without any principled
                 reasons for doing so—“is [itself] arbitrary and
                 capricious.” NAACP Pet. App. 54a n.23.
                    B. The Government Violated the APA By
                       Failing To Consider The Costs Of Its
                       Decision Or The Interests Affected
                    “[R]easonable regulation” also “ordinarily requires
                 paying attention to the advantages and the




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                 disadvantages of agency decisions,” Michigan, 135 S.
                 Ct. at 2707, and then “explain[ing] whether the
                 benefits outweigh the costs,” Mingo Logan Coal Co. v.
                 EPA, 829 F.3d 710, 734 (D.C. Cir. 2016) (Kavanaugh,
                 J., dissenting). In adopting her new policy, Secretary
                 Duke “failed [her] most basic duty under the [APA] to
                 consider all of the relevant factors, including costs,”
                 and thereby “asses[s] whether [her] proposed action
                 would do more good than harm.” Id. at 732. Both
                 “common administrative practice and common sense
                 require[d]” such an assessment, id. at 733, and its
                 absence here violated the APA, Michigan, 135 S. Ct.
                 at 2707.
                    These principles apply with special force where, as
                 here, an agency’s “longstanding policies …
                 engendered serious reliance interests,” Encino
                 Motorcars, 136 S. Ct. at 2126. When individuals and
                 businesses form plans around a policy, reversing
                 course is “more costly” than when an agency
                 “announces a decision on a clean slate.” Mingo, 829
                 F.3d at 732 (Kavanaugh, J., dissenting). Considering
                 the consequences of a change for people and
                 institutions who have ordered their affairs in response
                 to government action, in other words, is part of
                 agencies’ basic obligation to consider costs, which
                 exists independent of whether regulated parties can
                 assume that the government will stay its course from
                 administration to administration, see Br. 42; Encino
                 Motorcars, 136 S. Ct. at 2126 (agency was free to
                 change interpretation at any time but had to
                 acknowledge harms that could result). Here, the
                 government never considered the “disruption” its
                 policy “would have on the lives of DACA recipients, let
                 alone their families, employers and employees,
                 schools and communities.” Regents Pet. App. 60a.




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                     In establishing DACA, Secretary Napolitano
                 explained that the policy was meant “to ensure that
                 [DHS’s] enforcement resources are not expended on …
                 low priority cases but are instead appropriately
                 focused on people who meet [DHS’s] enforcement
                 priorities.” Regents Pet. App. 98a. Generally, those
                 who met the policy’s criteria were not enforcement
                 priorities because they “lacked the intent to violate
                 the law,” and “many” were “already [being] offer[ed]
                 administrative closure” in any event.            Ibid.
                 “[P]rosecutorial discretion” was also “especially
                 justified” because those “productive young people” had
                 “already contributed to our country in significant
                 ways.” Id. at 98a-99a.
                     In terminating DACA for a different enforcement
                 approach, neither Attorney General Sessions nor
                 Secretary Duke even acknowledged such “facts and
                 circumstances,” let alone provided “a reasoned
                 explanation … for disregarding [them].” Fox, 556 U.S.
                 at 516. They neither questioned DHS’s original
                 reasons for adopting DACA nor suggested that the
                 circumstances supporting the policy had changed.
                    Indeed, nothing in Secretary Duke’s memorandum
                 suggests the government considered any of the
                 hardships that DACA recipients and others would
                 face without deferred action. Michigan, 135 S. Ct. at
                 2708. By 2017, DACA had enabled hundreds of
                 thousands of young people “to enroll in colleges and
                 universities, complete their education, start
                 businesses that help improve our economy, and give
                 back to our communities as teachers, medical
                 professionals, engineers, and entrepreneurs—all on
                 the books.” Regents Dist. Ct. ECF No. 121-1, at 252-
                 53. DACA recipients, including the individual
                 respondents here, had subjected themselves to




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                 background checks, paid their fair share of taxes, and
                 ceased living in persistent fear of removal. They have
                 advanced their education, served in the U.S. military,
                 started businesses, formed families, and taken out
                 business and student loans and mortgages. Regents
                 Dist. Ct. ECF No. 124-2, at 1-3. They have made
                 significant contributions to their employers and
                 educational institutions, which in turn made decisions
                 and investments based on the ability of DACA
                 recipients to continue to work or study in the United
                 States. Id. at 7-9. Data from shortly before Secretary
                 Duke’s memorandum showed that over 90 percent of
                 DACA recipients were then-employed. Regents Dist.
                 Ct. ECF No. 119-2, at 41, 44. And research from 2017
                 estimated that ending DACA would cost the federal
                 government $60 billion in lost revenue and eliminate
                 $215 billion from the economy in lost GDP. Regents
                 Dist. Ct. ECF No. 113-1, at 73.
                    Rather than weigh these costs against the
                 perceived “advantages … of [its] decisio[n],” Michigan,
                 135 S. Ct. at 2707, the government adopted an
                 impermissibly “cost-blind approach” to terminating
                 the policy, White Stallion Energy Ctr., LLC v. EPA,
                 748 F.3d 1222, 1265 (D.C. Cir. 2014) (Kavanaugh, J.,
                 dissenting), majority rev’d sub nom. Michigan, 135 S.
                 Ct. 2699. It treats DHS’s policy change as if nothing
                 significant will come of it. This Court is “‘not required
                 to exhibit [such] naiveté.’” Dep’t of Commerce, 139
                 S. Ct. at 2575.
                    Beyond failing to consider costs, DHS failed to
                 consider “reasonably obvious alternatives” to
                 terminating DACA. Walter O. Boswell Mem’l Hosp. v.
                 Heckler, 749 F.2d 788, 803 (D.C. Cir. 1984). For
                 example, even if the Secretary believed DACA was
                 implemented in a manner that gave insufficient




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                 discretion to agency employees, she was required to
                 consider, at minimum, “significant and viable”
                 alternatives that remedy DACA’s alleged legal defects
                 while mitigating the foreseeable impact on relevant
                 reliance interests. Shieldalloy Metallurgical Corp. v.
                 Nuclear Regulatory Comm’n, 624 F.3d 489, 493 (D.C.
                 Cir. 2010); accord Motor Vehicle Mfrs. Ass’n. of U.S.,
                 Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43
                 (1983) (agency must consider “important aspect[s]” of
                 its decision). She did not do so.
                      C. The Decision Violates the APA Because Its
                         Central Legal Premise—That DACA Is
                         Unlawful—Is Wrong
                    Earlier in this litigation, the government did not
                 directly defend the Secretary’s premise that DACA is
                 unlawful; it merely argued that the Secretary’s legal
                 premise was “reasonable,” Regents Ct. App. Br. 31, 39-
                 40, and “ma[de] no effort” to argue that DACA is
                 unlawful, Regents Pet. App. 48a. Before this Court,
                 however, the government squarely contends that
                 DACA is unlawful. See Br. 43. This Court “normally
                 decline[s] to entertain such forfeited arguments.”
                 Kingdomware Techs., Inc. v. United States, 136 S. Ct.
                 1969, 1978 (2016).
                     Further, the government does not defend Attorney
                 General Sessions’ conclusion that DACA is
                 “unconstitutional.” It limits its argument that DACA
                 is unlawful to one assertion: The INA cannot be
                 “fairly interpreted as authorizing DHS to maintain a
                 categorical deferred-action policy” comparable to
                 DACA. Br. 43-44.3

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                     The challengers to DAPA took the opposite position in Texas,
                 conceding before this Court that the government had ample au-
                 thority to “forbea[r] from remov[ing]” a large group of noncitizens




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                    The government concedes that, by regulation,
                 noncitizens “granted deferred action may receive
                 certain benefits, including work authorization for the
                 same period if they establish economic necessity.”
                 Br. 5 (citing 8 C.F.R. § 274a.12(c)(14)). It has never
                 questioned the legality of those regulations—or any of
                 the benefits conferred by DACA. Thus, this Court
                 need not determine the lawfulness of longstanding
                 regulations that treat recipients of deferred action as
                 “lawfully present” for purposes of Social Security or
                 Medicare. E.g., 8 C.F.R. § 1.3(a)(4)(vi); 42 C.F.R.
                 § 417.422(h). Nor is this Court called upon to assess
                 DHS’s longstanding guidance that remaining in the
                 United States during a period of deferred action does
                 not count against an individual seeking lawful
                 admission.     See Memorandum from Johnny N.
                 Williams, Exec. Assoc. Comm’r, Office of Field
                 Operations, to Reg’l Dirs. et al., Unlawful Presence 1
                 (June 12, 2002); 8 U.S.C. § 1182(a)(9)(B). This Court
                 need not go further than the arguments advanced by
                 the parties. See Burwell v. Hobby Lobby Stores, Inc.,
                 573 U.S. 682, 721 (2014).
                    The arguments the government does make against
                 the legality of DACA fail for several reasons.
                    1. The Executive Has Long Granted Deferred
                 Action. The government’s argument that deferred
                 action cannot be granted through a broad policy is
                 inconsistent with the INA and the Executive’s
                 longstanding practice, which has been approved by
                 Congress and the courts.
                    The INA directs the Secretary to “establis[h]
                 national immigration enforcement policies and


                 on a “class bas[is].” Oral Arg. Tr., United States v. Texas, No. 15-
                 674, at 50:9-11 (U.S. Apr. 18, 2016).




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                 priorities,” 6 U.S.C. § 202(5), and authorizes her to
                 perform all acts she “deems necessary” for enforcing
                 the immigration laws, 8 U.S.C. § 1103(a)(3). “[T]he
                 broad discretion exercised by immigration officials”
                 pursuant to these provisions is a “principal feature of
                 the removal system.” Arizona v. United States, 567
                 U.S. 387, 396 (2012). As the government recognizes,
                 “DHS does not have the ability to vigorously enforce
                 the immigration laws against every alien unlawfully
                 present in the United States.” Br. 45. Congress
                 annually appropriates only enough funding to remove
                 400,000 of 11.3 million undocumented noncitizens, so
                 prioritizing enforcement of certain deportable
                 noncitizens is a “practical necessity.” Batalla Vidal
                 Pet. App. 72a. The government concedes that setting
                 those     priorities   is   “more     susceptible    to
                 implementation through broad guidance than
                 through case-by-case enforcement decisions.” Br. 22.
                    For nearly seventy years, the Executive has
                 interpreted the INA to authorize discretionary relief
                 to forbear removal on a categorical basis of
                 undocumented noncitizens deemed to be low-priority.
                 Between 1976 and 2011, the government issued over
                 twenty “administrative directives on blanket or
                 categorical deferrals of deportation” for humanitarian
                 and other reasons ranging from protecting refugees to
                 keeping families together. Andorra Bruno et al.,
                 Cong. Research Serv., Analysis of June 15, 2012 DHS
                 Memorandum, Exercising Prosecutorial Discretion
                 with Respect to Individuals Who Came to the United
                 States as Children 15 n.72, 20-23 (July 13, 2012)
                 (capitalization omitted). The Executive has used
                 deferred action to provide relief to battered spouses,
                 human trafficking survivors, foreign students
                 displaced by Hurricane Katrina, and surviving
                 spouses of U.S. citizens. Id. at 20. Many of these




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                 policies include work authorization, e.g. id. at 21; J.A.
                 822, 825, and since 1981, the Executive has
                 acknowledged its authority to grant deferred action in
                 published regulations that allow noncitizens to
                 receive work authorization in connection with
                 deferred action, see 8 C.F.R. § 109.1(b)(6) (1982),
                 codifying 46 Fed. Reg. 25,079, 25,080 (May 5, 1981);
                 8 C.F.R. § 274a.12(c)(14).
                    Collectively, these policies provided relief to more
                 than a million recipients before DACA was adopted.
                 In addition, the Family Fairness program (1987-1990)
                 made as many as 1.5 million individuals eligible for
                 discretionary relief—more than 40 percent of the
                 undocumented population at the time. AIC Report at
                 2.
                     Thus, in implementing DACA, DHS did not
                 “‘discover … an unheralded power’” in a “‘long-extant
                 statute,’” as the government contends. Br. 45 (quoting
                 Utility Air Regulatory Grp. v. EPA, 573 U.S. 302, 324
                 (2014)). Instead, the Executive’s interpretation of the
                 INA to permit categorical deferred action policies was
                 “early, longstanding, and consistent,” and it
                 accordingly “count[s] as powerful evidence of [the
                 INA’s] original public meaning.” Kisor, 139 S. Ct. at
                 2426 (Gorsuch, J., concurring in the judgment)
                 (emphasis omitted). The novel decision was not the
                 adoption of DACA, but instead the Executive’s current
                 position to cede authority long exercised by
                 administrations of both parties rather than protect
                 institutional prerogatives.
                     2.   Congress And This Court Have Ratified
                 Deferred Action. This Court has recognized deferred
                 action as “a regular practice” that the government
                 may exercise “for humanitarian reasons or simply for
                 [its] own convenience.” AADC, 525 U.S. at 483-84 &




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                 n.8. “Congress,” meanwhile, “has not just kept its
                 silence by refusing to overturn the administrative
                 construction” of the INA authorizing deferred action,
                 “but has ratified it with positive legislation.” Red Lion
                 Broad. Co. v. FCC, 395 U.S. 367, 381-82 (1969).
                     Even before the INA included any express mention
                 of deferred action, Congress amended the INA to
                 account for it. In 1987, for example, Congress enacted
                 the current provision underlying DACA’s work-
                 authorization component, which provides that a
                 noncitizen may be lawfully hired if she is “authorized
                 to be so employed by … the Attorney General.”
                 8 U.S.C. § 1324a(h)(3).      And in 1996, Congress
                 enacted 8 U.S.C. § 1252(g), which, as this Court
                 recognized, was “clearly designed to give some
                 measure of protection to ‘no deferred action’ decisions”
                 in individual cases, AADC, 525 U.S. at 485. Congress
                 enacted both provisions without purporting to
                 prohibit the Executive’s established practice of
                 granting deferred action (including on a categorical
                 basis), or countermanding the regulation expressly
                 permitting the Attorney General to authorize
                 employment for deferred-action recipients, 8 C.F.R.
                 § 109.1(b)(6) (1982).
                     Since that time, moreover, Congress has:
                 (1) provided statutory authority to grant deferred
                 action to specific classes of noncitizens, e.g., USA
                 PATRIOT Act of 2001, Pub. L. No. 107-56, § 423(b),
                 115 Stat. 361 (certain family members of lawful
                 permanent residents killed on September 11, 2001, or
                 of citizens killed in combat); (2) codified procedural
                 protections for deferred action applications, 8 U.S.C.
                 § 1227(d)(2) (denial of administrative stay “shall not
                 preclude the alien from applying for … deferred
                 action”); and (3) authorized States to issue driver’s




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                 licenses to deferred action recipients, REAL ID Act of
                 2005, Pub. L. No. 109-13, Div. B, § 201(c)(2)(B)(viii),
                 119 Stat. 302 (2005).
                    Nowhere in this “closely related” legislation
                 codifying deferred action and its attendant benefits
                 did Congress evince any “contrary indication” that it
                 sought to limit the “broad discretion” thus conferred.
                 Dames & Moore v. Regan, 453 U.S. 654, 678 (1981).
                 This    demonstrates     that   the    Executive    is
                 “implementing congressional policy rather than
                 embarking on a frolic of its own.” United States v.
                 Riverside Bayview Homes, Inc., 474 U.S. 121, 139
                 (1985).
                    3. The Executive Has Inherent Authority To
                 Implement And Maintain DACA. In any event, the
                 power to grant deferred action does not depend on any
                 delegation from Congress because it is inherent in the
                 Executive’s constitutional authority.      “When the
                 President acts in absence of either a congressional
                 grant or denial of authority, he can only rely upon his
                 own independent powers, but there is a zone of
                 twilight in which he and Congress may have
                 concurrent authority.” Youngstown Sheet & Tube Co.
                 v. Sawyer, 343 U.S. 579, 637 (1952) (Jackson, J.,
                 concurring). Here, the Executive’s constitutional duty
                 under the Take Care Clause to “take Care that the
                 Laws be faithfully executed” is more than enough to
                 confer power to grant deferred action even “in absence
                 of … a congressional grant … of authority.” Ibid.
                 “‘Broad discretion,’” including “whether or not to
                 prosecute” is a core executive constitutional function.
                 United States v. Armstrong, 517 U.S. 456, 464 (1996)
                 (quoting Wayte v. United States, 470 U.S. 598, 607
                 (1985)). And, an enduring principle of prosecutorial
                 discretion is not prosecution to the full extent of the




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                 law, but rather “that justice shall be done.” Berger v.
                 United States, 295 U.S. 78, 88 (1935).
                    The Executive has “sweeping authority” in the
                 immigration context. Trump, 138 S. Ct. at 2413.
                 Accordingly, Congress’s “‘delegat[ion]’” of enforcement
                 discretion to DHS “merely authorizes the Executive
                 Branch to exercise a power that it already has.”
                 Sessions v. Dimaya, 138 S. Ct. 1204, 1248-49 (Thomas,
                 J., dissenting).    Congress need not speak with
                 precision to “‘delegate a policy decision of [great]
                 economic     and     political  magnitude       to    an
                 administrative agency,’” Br. 45-46, when the
                 constitutional separation of powers already assigns
                 that decision to the Executive in the first instance.
                    The government’s argument to the contrary is at
                 odds with the administration’s own theory of
                 Executive authority. The government told this Court
                 in Trump v. Hawaii that the Executive’s power over
                 immigration “stems not alone from legislative power
                 but is inherent in the executive power.” U.S. Br. 45,
                 Trump v. Hawaii, No. 17-965 (U.S. Feb. 21, 2018)
                 (quoting United States ex rel. Knauff v. Shaughnessy,
                 338 U.S. 537, 542 (1950)). The government offers no
                 principled basis for retreating from that authority
                 here.
                     This is not to say that the Executive is unchecked.
                 Congress can impose substantive limitations on
                 deferred action—through legislation but not through
                 silence. And under the APA, DHS can adopt deferred
                 action policies only after giving “genuine,” “reasoned
                 explanation[s] … that can be scrutinized by courts and
                 the interested public.” Dep’t of Commerce, 139 S. Ct.
                 at 2575-76.
                    But Congress has not imposed any substantive
                 limit here. Its failure to pass the DREAM Act, see




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                 Texas, 809 F.3d at 185; Texas Pet. Br. 5 & n.2, cannot
                 be read to limit deferred action because that Act was
                 not a deferred-action policy; instead, it would have
                 provided the Dreamers with a pathway to permanent
                 residency. Regents Supp. App. 48a.         Congress’s
                 failure to act left the status quo intact—where the
                 agency can use, and often has used, deferred action.
                 In fact, Congress repeatedly has refused to pass bills
                 that would terminate DACA. See, e.g., The Separation
                 of Powers Act of 2015, H.R. 29, 114th Cong. (Jan. 6,
                 2015); No Free Rides Act, H.R. 3090, 115th Cong.
                 (June 28, 2017).
                    4. DACA Fits Within Traditional Deferred Action
                 Policies. DACA fits squarely within longstanding
                 Executive practice.       The policy is limited to
                 individuals who even by Secretary Nielsen’s
                 standards are “not [a] priority of enforcement.” DHS
                 Secretary on Trump’s Reported Vulgar Comments,
                 DACA Policy, CBS News (Jan. 16, 2018),
                 https://tinyurl.com/y8ekmzar. They undergo rigorous
                 background checks, J.A. 924; may not have felony or
                 multiple or serious misdemeanor convictions or
                 “pos[e] a threat to national security or public safety”;
                 and must be “in school,” have a high school degree or
                 equivalent, or be a veteran, Regents Pet. App. 98a.
                 They are “productive young people” who “have already
                 contributed to our country in significant ways.” Id. at
                 99a. And because they arrived in this country “as
                 children,” ibid.—at the average age of 6.5, Regents
                 Dist. Ct. ECF No. 119-2, at 41—they “lacked the
                 intent to violate the law.” Regents Pet. App. 98a.
                 Indeed, “[a]s a general rule, it is not a crime for a
                 removable alien to remain in the United States.”
                 Arizona, 567 U.S. at 407. DACA “ensure[s] that [the
                 government’s] enforcement resources are not




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                 expended on these low priority cases.” Regents Pet.
                 App. 98a.
                     Like past forbearance policies, moreover, DACA
                 serves “humanitarian” purposes. AADC, 525 U.S. at
                 483-84. DACA recipients “know only this country as
                 home.” Regents Pet. App. 97a-98a. Deportation “to
                 countries where they may not have lived or even
                 speak the language,” id. at 99a, is a “‘drastic
                 measure’” akin to “‘banishment or exile,’” Dimaya,
                 138 S. Ct. at 1213. The Executive has long treated a
                 person’s “ties to [her] home country (e.g., whether the
                 alien speaks the language or has relatives in the home
                 country)” as a “[r]elevant humanitarian concern” in
                 exercising prosecutorial discretion in immigration
                 cases.      Memorandum from Doris Meissner,
                 Commissioner of Immigration and Naturalization
                 Service, on Exercising Prosecutorial Discretion 3
                 (Nov. 17, 2000), https://tinyurl.com/y6hw8gsq. The
                 concerns animating DACA are “consistent with the
                 types of concerns that have customarily guided the
                 exercise of immigration enforcement discretion.” J.A.
                 828 n.8.
                     The government argues that DACA is a policy of
                 “‘vast economic and political significance’” and
                 therefore different from prior policies. Br. 44-45.
                 Setting aside the fact that DHS was required to, but
                 did not, weigh this “vast economic and political
                 significance” in adopting its new policy terminating
                 DACA (supra at 33-37), the government identifies no
                 authority that the size of a categorical deferred action
                 policy has statutory or constitutional significance.
                 And the government offers no “discernible and
                 manageable standard” for deciding when a deferred
                 action policy goes “too far.” Rucho v. Common Cause,
                 139 S. Ct. 2484, 2501 (2019).




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                     Even still, whether this Court considers the
                 number of individuals eligible or the number of
                 recipients, DACA is comparable to past policies. The
                 government inflates the number eligible to 1.7 million
                 by including every child that could eventually age into
                 the policy. Jeffrey S. Passel & Mark Hugo Lopez, Pew
                 Research Center, Up to 1.7 Million Unauthorized
                 Immigrant Youth May Benefit from New Deportation
                 Rules 3 (Aug. 14, 2012). The number immediately
                 eligible was 950,000. Ibid. Either way, the population
                 is comparable to the 1.5 million that were eligible for
                 Family Fairness by the government’s own
                 contemporaneous estimates. The number ultimately
                 “affected” by Family Fairness may have been smaller
                 because fewer applied, Br. 49, but other policies
                 reached hundreds of thousands of recipients, see
                 supra at 4.
                     The government’s remaining attempts to
                 distinguish past policies are meritless. Those policies
                 did not exclusively cover individuals awaiting visas or
                 “categories of aliens for whom Congress had expressed
                 special solicitude in the INA.” Br. 47-48. The
                 government granted deferred enforced departure to
                 190,000 Salvadorans after their eligibility for
                 temporary protected status expired. AIC Report, at 7.
                 And it granted deferred action for surviving spouses
                 of U.S. citizens who had “no avenue of immigration
                 relief.” J.A. 826. Family Fairness covered individuals
                 whose spouses and parents had a pathway to
                 citizenship and at most could hope to “‘bring in
                 immediate relatives’” many years in the future. Br.
                 49. While some of these policies “purported” to
                 exercise specific grants of statutory authority, Br. 49
                 n.10 (discussing extended voluntary departure
                 statute), so does DACA, see supra at 6, and none of the
                 past statutes support the government’s insistence




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                 that only explicit congressional authorization of
                 categorical discretionary relief is sufficient.
                     5. DACA Does Not Facilitate Legal Violations. The
                 government asserts that DACA “facilitates ongoing
                 violation[s]” of the immigration laws.         Br. 46
                 (emphasis omitted). But that is no more true of DACA
                 than of individual grants of deferred action or for the
                 myriad deferred enforcement policies historically
                 approved by all three branches of government over
                 decades. Perhaps more importantly, remaining in the
                 country while removable is not a crime. Nor is
                 obtaining work authorization or other benefits
                 pursuant to regulations backed by statutory authority
                 that the government does not question in this
                 litigation.   If anything, encouraging low-priority
                 enforcement targets to self-identify facilitates
                 enforcement against higher-priority targets. Indeed,
                 the year that the Obama Administration implemented
                 DACA, it deported a record number of individuals.
                 See Ana Gonzalez-Barrera, Record Number of
                 Deportations in 2012, Pew Research Center (Jan. 24,
                 2014), https://tinyurl.com/y292hjnh.
                     6. The APA Does Not Protect “Reasonable” But
                 Wrong Legal Conclusions. Finally, the government
                 argues that its legal position, even if not correct, was
                 nevertheless “reasonable.” Br. 43, 50-52. Under the
                 APA, however, a “reasonable” but wrong legal
                 analysis cannot sustain agency action. Agencies, like
                 lower courts, may have “independent duty to
                 determine whether [they] lac[k] authority to act.”
                 Br. 50. But those determinations, no less than lower
                 courts’ rulings, cannot evade judicial review. Agency
                 decisions are reviewed for “abuse of discretion” and
                 must be set aside if the agency’s “conclusions” are “not
                 in accordance with law.” 5 U.S.C. § 706(2)(A). Just as




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                 a lower court decision based on “an erroneous view of
                 the law” is “necessarily” an abuse of discretion, Cooter
                 & Gell v. Hartmarx Corp., 496 U.S. 384, 405 (1990),
                 an agency “order may not stand if the agency has
                 misconceived the law,” Chenery I, 318 U.S. at 94.
                 Beyond conflicting with the APA, the government’s
                 proffered standard of a “reasonable” legal analysis is
                 so ambiguous and subjective as to nearly always be a
                 fallback argument for sustaining agency action. That
                 is not, and cannot be, the law.
                    D. The Government's Other Proffered
                       Rationales Do Not Justify DHS’s Policy
                    Unable to defend Secretary Duke’s stated ra-
                 tionale for her policy, the government primarily de-
                 fends it on grounds she did not articulate. But these
                 cannot survive scrutiny.
                        1. Concerns About Litigation Risk Do Not
                           Justify The Decision
                    The government now claims Secretary Duke ended
                 DACA because she had “serious doubts about the
                 lawfulness of the policy and the litigation risks in
                 maintaining it.” Br. 33.
                     a. It is well-settled that courts “may not accept
                 appellate counsel’s post hoc rationalizations for
                 agency action.” Burlington Truck Lines, Inc. v. United
                 States, 371 U.S. 156, 168 (1962). Instead, APA review
                 is limited to the “grounds invoked by the agency.”
                 SEC v. Chenery Corp., 332 U.S. 194, 196 (1947)
                 (“Chenery II”). “[A]n agency’s action must be upheld,
                 if at all, on the basis articulated by the agency itself.”
                 State Farm, 463 U.S. at 50.
                     The government’s litigation-risk rationale is a
                 “classic post hoc rationalization” because it appears




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                 “[n]owhere in the administrative record.” Regents
                 Pet. App. 56a. Neither Attorney General Sessions nor
                 Secretary Duke ever “consider[ed] whether defending
                 the program in court would (or would not) be worth
                 the litigation risk.” Ibid. Although Secretary Duke
                 mentioned possible litigation challenging DACA, she
                 never identified “risks” posed by this litigation that
                 the government would avoid by adopting a new policy.
                     The government now suggests the decision was
                 motivated by a concern that a “court-ordered” end to
                 the policy would be more “‘abrupt’” than an
                 administrative “wind-down.” Br. 27, 34-35. But
                 Secretary Duke’s memorandum “offers absolutely no
                 indication that [the government] considered these
                 impacts,” and no one reading the memorandum would
                 “have guessed that [the government] made [its]
                 decision for this reason.” Batalla Vidal Pet. App.
                 111a-13a. The memorandum’s statement that DACA
                 should be terminated in “‘an efficient and orderly
                 fashion,’” Br. 27 (quoting Regents Pet. App. 116a-17a),
                 did not evince a reason for terminating DACA; it was
                 a statement of how the Secretary planned to end the
                 policy given the administrative “complexities” of doing
                 so.
                     A recent Freedom of Information Act production by
                 the government confirms that DACA was terminated
                 based on a legal judgment and not any other
                 reason. See supra at 11. A Principals Committee
                 meeting at the White House determined that DACA
                 “is unlawful and will be ended” and specified a process
                 to be followed. “The DOJ will send a memorandum to
                 DHS outlining the legal reasons that the DACA
                 program is unlawful,” and then “DHS will draft a
                 memorandum to withdraw the 2012 DACA
                 memorandum, and any related memoranda or




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                 guidance, in light of DOJ’s legal determination.”
                 Make the Road, No. 1:18-cv-2445, ECF No. 63-1, at
                 209. At that point, “DHS will then propose a plan to
                 wind down the DACA program.” Ibid. This document
                 establishes that the government did not include vital
                 information in the incomplete administrative records
                 in these cases, and that “litigation risk” and other
                 subsequent “rationales” are litigation-driven, post hoc
                 justifications and not legitimate bases for the
                 decision.
                     b. The prospect of litigation hovers over virtually
                 all major policy decisions by an agency. If that alone
                 justified abandoning a rule, the APA’s requirement of
                 reasoned explanation would be a dead letter. As Gene
                 Hamilton, the principal drafter of Secretary Duke’s
                 memorandum, testified, a “litigation risk” rationale
                 “sounds like the craziest policy you could have in a
                 department.” J.A. 1007. Nor would anyone have
                 thought that a decision to terminate DACA—a
                 longstanding policy currently affecting 700,000
                 people—would avoid significant litigation.         And
                 indeed, it did not.
                     Any assessment of litigation risk also cannot be
                 extricated from the government’s flawed conclusion
                 that DACA is unlawful. The Attorney General
                 predicted that litigation challenging DACA would
                 likely succeed “[b]ecause” of DACA’s “legal and
                 constitutional defects.” J.A. 878. His factual and legal
                 errors inevitably infected his conclusion.        More
                 fundamentally, Secretary Duke and Secretary
                 Nielsen were “bound” by the Attorney General’s
                 conclusion that DACA is unlawful, Regents Pet. App.
                 122a-23a, so the discussion of potential litigation at
                 best was offered to bolster a foregone conclusion. In
                 these circumstances, it is impossible to excise the




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                 Secretary’s “mistake[s]” in concluding that DACA was
                 unlawful and say they “clearly had no bearing on the
                 … substance” of whatever litigation risk analysis she
                 may have performed. Mass. Trs. of E. Gas & Fuel
                 Assocs. v. United States, 377 U.S. 235, 248 (1964).
                     c. Although the Attorney General and the
                 Secretary placed great weight on the Fifth Circuit’s
                 decision in Texas, neither considered the “differences
                 between DAPA and DACA that might have led to a
                 different result.” Regents Pet. App. 57a. The Fifth
                 Circuit recognized that “DAPA and DACA are not
                 identical” and that “any extrapolation from DACA [to
                 DAPA] must be done carefully.” Texas, 809 F.3d at
                 173-74. The policies differ in significant ways.
                     First, DAPA, unlike DACA, would have classified
                 recipients as “lawfully present in the United States,”
                 as the memorandum adopting DAPA expressly stated.
                 Regents Pet. App. 104a. This language formed the
                 centerpiece of the Texas plaintiffs’ arguments
                 challenging DAPA before this Court. Texas Pet. Br.,
                 United States v. Texas, No. 15-674, at 1, 7-8 (U.S. Dec.
                 2015). By contrast, “the DACA memo itself said
                 nothing about lawful presence.” Id. at 6.
                    Second, DAPA covered parents of citizens and
                 lawful permanent residents, who already had a
                 statutory path to lawful immigration status. Texas,
                 809 F.3d 179-80.4 The Fifth Circuit found this fact
                 decisive in concluding that DAPA could not be
                 justified as filling a “‘gap’” in the INA. Id. at 186.
                 Secretary Nielsen thus mischaracterized the Fifth

                  4
                     The government is wrong that parents of lawful permanent
                 residents have no path to lawful status. Br. 36. Lawful perma-
                 nent residents can become citizens, 8 U.S.C. § 1427, and then
                 sponsor their parents for lawful permanent residence, id.
                 § 1151(b)(2)(A)(i).




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                 Circuit’s opinion when she claimed the decision “did
                 not turn on whether [DAPA recipients] had a pathway
                 to lawful status.” Regents Pet. App. 122a. Unlike
                 DAPA, DACA “has no … analogue in the INA”—
                 DACA recipients have no statutory path to lawful
                 status. Id. at 54a.
                     Third, DAPA was challenged before it took effect,
                 whereas DACA took effect over seven years ago. Any
                 judicial decision to terminate DACA necessarily
                 would have to account for the policy’s impact on
                 hundreds of thousands of people. Regents Pet. App.
                 57a. Indeed, consideration of those costs had an
                 impact in Texas v. United States, where a district
                 court recently denied a preliminary injunction against
                 DACA despite its doubts about DACA’s lawfulness.
                 328 F. Supp. 3d 662, 740-42 (S.D. Tex. 2018). The
                 court recognized the difficulty of “unscrambl[ing] the
                 egg” after DACA recipients and their families relied
                 on the program. Ibid. The recognition dispels any
                 fear of the sort of imminent judicial termination of
                 DACA that the government now claims it was seeking
                 to avoid by winding down the policy.
                    Fourth, DAPA would have covered more than one-
                 third of those unlawfully present in the United States.
                 Texas, 809 F.3d at 148. The Fifth Circuit concluded
                 that DAPA’s size undermined its legality. Id. at 181-
                 82. DACA is “open to far fewer individuals than
                 DAPA would have been,” Batalla Vidal Pet. App.
                 103a, and is close in size to past deferred action
                 policies.
                    There is no evidence in the administrative record
                 that the Secretary ever considered these distinctions.
                 Failing to do so was arbitrary and capricious.




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                       2. Secretary Nielsen’s Memorandum Does
                          Not Justify The Decision
                     a. Secretary Nielsen’s central reason for
                 supporting Secretary Duke’s policy remains the
                 Attorney General’s erroneous conclusion that DACA
                 is unlawful and unconstitutional. Regents Pet. App.
                 122a-23a. She also states that DACA should be ended
                 because: (1) maintaining it despite “doubts” about its
                 lawfulness may “undermine public confidence in and
                 reliance on the agency and the rule of law” and result
                 in “burdensome litigation”; (2) relief “should be
                 enacted legislatively”; (3) deferred action should be
                 implemented on an “individualized” basis; and
                 (4) DHS should convey a “message” of “consistent”
                 enforcement. Id. at 123a-24a.
                    The NAACP court rightly dismissed these
                 “attempt[s] to disguise … objection[s] to DACA’s
                 legality as … policy justification[s].” NAACP Pet.
                 App. 100a. “[B]oilerplate assertions[s]” that agencies
                 should avoid legally questionable policies and leave
                 them to Congress cannot “insulate” an agency’s
                 assessment of its legal authority from judicial review.
                 Id. at 98a.      Especially given the government’s
                 concession that the Attorney General’s legal
                 conclusion compelled Secretary Nielsen to defend
                 DACA’s termination, NAACP Ct. App. Oral Arg.
                 33:11-33:26, https://tinyurl.com/y64xnxoc, there is no
                 way extricate her reasoning from the Attorney
                 General’s. See Mass. Trustees, 377 U.S. at 248. If
                 Secretary Nielsen did not believe she was free to leave
                 DACA in place, then there was no policy choice for her
                 to make. At a minimum, her attempt to reframe the
                 decision in policy terms in the midst of litigation
                 challenging that premise must be “viewed critically.”
                 Overton Park, 401 U.S. at 420.




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                    b. Even if considered independently, Secretary
                 Nielsen’s additional rationales also fail to supply the
                 “reasoned explanation” missing from the Duke
                 memorandum. Dep’t of Commerce, 139 S. Ct. at 2575-
                 76. None of the rationales finds support in the
                 administrative record, to which “a court is ordinarily
                 limited.” Id. at 2573. Indeed, the government has
                 never produced an administrative record supporting
                 the Nielsen memorandum, and the judicial opinions
                 on DAPA that largely comprise the record for the
                 Duke memorandum do not support Secretary
                 Nielsen’s rationales. That alone is fatal. The
                 rationales each fail on their own terms as well.
                     First, “doubts” about legal authority alone are
                 insufficient to justify abandoning a lawful policy.
                 Agencies do not ordinarily give up their policies
                 merely because they are challenged, at least without
                 specific, articulable reasons for doing so.       This
                 administration is no exception: Secretary Nielsen
                 defended multiple controversial policies against legal
                 challenges—including policies that detain minor
                 children and separate them from their parents, Ms. L.
                 v. ICE, 310 F. Supp. 3d 1133, 1149 (S.D. Cal. 2018),
                 preclude asylum for individuals who enter the United
                 States outside a designated port of entry, E. Bay
                 Sanctuary Covenant v. Trump, 354 F. Supp. 3d 1094,
                 1101 (N.D. Cal. 2018), and return asylum seekers to
                 Mexico during their immigration proceedings, M.G.U.
                 v. Nielsen, 325 F. Supp. 3d 111, 124 (D.D.C. 2018).
                 Each time, consistent with past practice, e.g., Trump,
                 138 S. Ct. at 2423, the government endured “the
                 litigation risks in maintaining” these policies despite
                 public “doubts” about their lawfulness, Br. 33.
                 Secretary Nielsen offers no neutral principle for
                 treating “doubts” as dispositive here but not
                 elsewhere.     The evident explanation, which she




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                 conceded, is that she was bound by the Attorney
                 General’s erroneous legal conclusion.
                     Second, asserting that relief “should be enacted
                 legislatively” does not explain why the Executive
                 should not act absent a legislative solution. As the
                 government concedes, President Obama pursued a
                 legislative solution but still supported DACA as a
                 “stopgap” measure. Br. 38. Secretary Nielsen never
                 explained why she viewed these two solutions as
                 mutually exclusive.
                    Third, Secretary Nielsen’s asserted aversion to
                 categorical Executive action is incompatible both with
                 decades-long deferred-action practice, supra at 4, and
                 DHS’s recent policies.           Under the current
                 administration, DHS has unilaterally imposed
                 categorical bans on noncitizens from multiple
                 countries and categorically altered the requirements
                 for obtaining asylum—a far more expansive use of
                 executive power than allowing a class of people to
                 apply for an individualized grant of deferred action.
                 See supra at 54. Indeed, just last month, the
                 Executive defended its authority to “exercise its
                 discretion” to limit asylum “through categorical rules,
                 not just through case-by-case adjudication.” App. for
                 Stay Pending Appeal, at 26, E. Bay, No. 19A230 (U.S.
                 Aug. 26, 2019). Selective departure from an agency’s
                 asserted principles is fundamentally arbitrary.
                    Fourth, maintaining DACA is fully compatible
                 with Secretary Nielsen’s view that deferred action
                 decisions should be made on an “individualized” basis.
                 The DACA policy requires all “requests for relief … to
                 be decided on a case by case basis,” affording ample
                 “consideration … to the individual circumstances of
                 each case.” Regents Pet. App. 98a-99a. Satisfying
                 DACA’s criteria was only a prerequisite to being




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                 “considered” for relief, ibid. (emphasis added)—it did
                 not create a “presumption” that relief would be
                 granted.    Br. 39-40.       The high percentage of
                 applications granted reflects that many warranted
                 discretionary relief, and that the most deserving
                 applicants self-selected to apply. If Secretary Nielsen
                 believed that fewer applications should have been
                 granted, “she [could have] simply direct[ed] her
                 employees to implement” the policy accordingly.
                 NAACP Pet. App. 100a.
                    DHS’s new policy, in fact, leaves no possibility for
                 the “individualized” relief that Secretary Nielsen
                 promises. Secretary Duke’s memorandum directs
                 DHS officers to deny all deferred action requests from
                 DACA-eligible individuals, even where DHS might
                 have granted the same relief before DACA’s adoption
                 in 2012. Regents Pet. App. 117a-18a. In practice,
                 therefore, ending DACA is not a return to
                 individualized discretion—it is a policy of categorical
                 denial of relief.
                     Fifth, ending DACA to “project a message” of
                 consistent enforcement makes little sense, since
                 “DACA is available only to those individuals who have
                 lived in the United States since 2007.” NAACP Pet.
                 App. 102a. DACA’s termination would send no
                 meaningful signal to undocumented individuals who
                 arrived after 2007. The notion that the failure to
                 rescind this program has caused even one person,
                 much less many of them, to enter unlawful with the
                 hope of obtaining amenities and a path to remain is
                 unsupported by the record and contrary to recent
                 empirical research. See Tom K. Wong & Hillary
                 Kosnac, Does the Legalization of Undocumented
                 Immigrants in the US Encourage Unauthorized
                 Immigration from Mexico? An Empirical Analysis of




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                 the Moral Hazard of Legalization, 55 International
                 Migration 159 (2017).
                     c. In any event, Secretary Nielsen’s analysis is
                 insufficient because she did not grapple with the toll
                 of Secretary Duke’s action on the affected people and
                 institutions. Her memorandum simply asserts that
                 she is “keenly aware” that “DACA recipients” have
                 “availed themselves” of the policy, and that their
                 “interests” do not “outweigh” the agency’s other
                 concerns. Regents Pet. App. 125a.
                    This perfunctory analysis falls well short of the
                 “detailed justification”—“consider[ing] all of the
                 relevant costs”—that the APA requires. Mingo, 829
                 F.3d at 737 (Kavanaugh, J., dissenting) (emphasis
                 added).     Secretary Nielsen never identifies the
                 “interests” of DACA recipients that she supposedly
                 weighed or addresses the hardships they will face
                 without DACA. Instead, she dismisses these concerns
                 because DACA “conferred no substantive rights.”
                 Regents Pet. App. 125a. Nor does she purport to weigh
                 the substantial burden her decision imposes on the
                 economy as a whole and the many stakeholders—
                 families, communities, workplaces, and schools—that
                 structured their lives and businesses around the
                 policy, just as the government intended them to do.
                    Ultimately, moreover, Secretary Nielsen’s limited
                 cost-benefit analysis depends on the validity of each of
                 the reasons discussed in her memorandum. While
                 Secretary Nielsen claimed each “separate” rationale
                 was “independently sufficient” to justify the new
                 policy, Regents Pet. App. 122a, her conclusion was
                 that “the questionable legality of the DACA policy and
                 other reasons for ending the policy” collectively
                 outweigh DACA recipients’ interests in maintaining
                 the policy. Id. at 125a. Any error in her reasoning—




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                 including her threshold legal error that DACA is
                 unlawful—undermines that conclusion. This Court
                 cannot dismiss Secretary Nielsen’s numerous errors
                 as harmless. Mass. Trustees, 377 U.S. at 248.




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                                    CONCLUSION
                    The beneficiaries of DACA—including individual
                 recipients, communities, schools, and businesses—are
                 as numerous and varied as the contributions DACA
                 recipients make to our nation. DACA allows 700,000
                 vetted young people to live, work, and learn in this
                 country without persistent fear of being sent to a place
                 they may not remember or even speak the language.
                 The government may replace DACA with a different
                 policy, thus raising the specter of deportation, only if
                 it satisfies the APA’s requirement for reasoned deci-
                 sionmaking so it can be held publicly accountable.
                 That includes weighing the costs of eliminating this
                 valuable humanitarian policy. Perhaps knowing that
                 a true cost-benefit analysis could not possibly justify
                 this change, the government argues that its hands
                 were tied as a legal matter. That is wrong—DACA is
                 lawful, and the government is free to maintain the
                 program. If it does not wish to do so, the APA requires
                 a reasoned explanation of why it is changing course
                 supported by an administrative record. Because the
                 government has provided no such explanation, this
                 Court should affirm the decisions below.




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                   Respectfully submitted.

                 THEODORE J. BOUTROUS, JR.             THEODORE B. OLSON
                 ETHAN D. DETTMER                        COUNSEL OF RECORD
                 JONATHAN N. SOLEIMANI                 STUART F. DELERY
                 GIBSON, DUNN & CRUTCHER LLP           MATTHEW S. ROZEN
                 333 South Grand Avenue                ANDREW J. WILHELM
                 Los Angeles, CA 90071                 SURIA M. BAHADUE
                 (213) 229-7000                        GIBSON, DUNN & CRUTCHER LLP
                                                       1050 Connecticut Avenue, N.W.
                                                       Washington, D.C. 20036
                                                       (202) 955-8500
                                                       TOlson@gibsondunn.com

                 MARK D. ROSENBAUM                     LUIS CORTES ROMERO
                 JUDY LONDON                           IMMIGRANT ADVOCACY &
                 PUBLIC COUNSEL                        LITIGATION CENTER, PLLC
                 610 South Ardmore Avenue              19309 68th Avenue South,
                 Los Angeles, CA 90005                 Suite R102
                 (213) 385-2977                        Kent, WA 98032
                                                       (253) 872-4730
                 ERWIN CHEMERINSKY
                 UNIVERSITY OF CALIFORNIA,             LEAH M. LITMAN
                 BERKELEY SCHOOL OF LAW*               UNIVERSITY OF MICHIGAN
                 215 Boalt Hall                        LAW SCHOOL*
                 Berkeley, CA 94720                    3226 Jeffries Hall
                 (510) 642-6483                        Ann Arbor, MI 48109
                                                       (734) 764-0549
                 LAURENCE H. TRIBE
                 HARVARD LAW SCHOOL*
                 1575 Massachusetts Avenue
                 Cambridge, MA 02138
                 (617) 495-1767

                       Counsel for DACA Recipient Respondents in No. 18-587
                                             *Affiliation for identification purposes only




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                                                 61

                  MICHAEL J. WISHNIE                  TRUDY S. REBERT
                  MUNEER I. AHMAD                     NATIONAL IMMIGRATION LAW
                  MARISOL ORIHUELA                    CENTER
                  JEROME N. FRANK LEGAL               P.O. Box 721361
                  SERVICES ORGANIZATION               Jackson Heights, NY 11372
                  P.O. Box 209090                     (646) 867-8793
                  New Haven, CT 06520
                  (203) 432-4800

                  KAREN C. TUMLIN                     ARACELI MARTÍNEZ-OLGUÍN
                  COOPERATING ATTORNEY                MAYRA B. JOACHIN
                  JEROME N. FRANK LEGAL               NATIONAL IMMIGRATION LAW
                  SERVICES ORGANIZATION               CENTER
                  P.O. Box 209090                     3450 Wilshire Blvd.
                  New Haven, CT 06520                 #108-62
                  (323) 316-0944                      Los Angeles, CA 90010
                                                      (213) 639-3900

                  AMY S. TAYLOR                       SCOTT FOLETTA
                  PAIGE AUSTIN                        MAKE THE ROAD NEW YORK
                  MAKE THE ROAD NEW YORK              92-10 Roosevelt Avenue
                  301 Grove Street                    Jackson Heights, NY 11372
                  Brooklyn, NY 11237                  (929) 244-3456
                  (718) 418-7690


                   Counsel for DACA Recipient Respondents and Make the Road New
                                         York in No. 18-589


                  STACEY M. LEYTON                    JAMES R. WILLIAMS
                  ALTSHULER BERZON LLP                GRETA S. HANSEN
                  177 Post Street, Suite 300          LAURA S. TRICE
                  San Francisco, CA 94108             MARCELO QUIÑONES
                  (415) 421-7151                      OFFICE OF THE COUNTY COUNSEL
                                                      COUNTY OF SANTA CLARA
                  Counsel for Respondents County      70 West Hedding Street
                  of Santa Clara and Service Em-      East Wing, Ninth Floor
                  ployees International Union Local   San Jose, CA 95110
                  521 in No. 18-587                   (408) 299-5900

                                                      Counsel for Respondent County of
                                                      Santa Clara in No. 18-587


                 September 27, 2019




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                             Nos. 18-587, 18-588, and 18-589

                                         IN THE
                    Supreme Court of the United States

                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                     Petitioners,
                                      v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                     Respondents.

                  ON WRIT OF CERTIORARI TO THE UNITED STATES COURT
                          OF APPEALS FOR THE NINTH CIRCUIT


                            BRIEF FOR RESPONDENTS
                  THE REGENTS OF THE UNIVERSITY OF CALIFORNIA,
                   JANET NAPOLITANO, AND THE CITY OF SAN JOSÉ

                  Jeffrey M. Davidson                Robert A. Long
                  David Watnick                        Counsel of Record
                  COVINGTON & BURLING LLP            Lanny A. Breuer
                  415 Mission Street, Suite 5400     Mark H. Lynch
                  San Francisco, CA 94105-2533       Alexander A. Berengaut
                  (415) 591-6000                     Megan A. Crowley
                                                     Ivano M. Ventresca
                  Charles F. Robinson                COVINGTON & BURLING LLP
                  Margaret Wu                        One CityCenter
                  Sonya Sanchez                      850 Tenth Avenue, NW
                  University of California           Washington, DC 20001
                  Office of the General Counsel      (202) 662-6000
                  1111 Franklin Street, 8th Floor
                  Oakland, CA 94607
                  (510) 987-9800
                        Counsel for The Regents of the University of California
                                        and Janet Napolitano
                      (Additional Captions and Counsel Listed On Inside Cover)




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                   DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                        ET AL.,
                                                         Petitioners,

                                           v.
                     NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                             OF COLORED PEOPLE, ET AL.
                                                       Respondents.

                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                       TO THE UNITED STATES COURT OF APPEALS
                        FOR THE DISTRICT OF COLUMBIA CIRCUIT




                      KEVIN K. MCALEENAN, ACTING SECRETARY OF
                             HOMELAND SECURITY, ET AL.,
                                                        Petitioners,

                                           v.
                        MARTIN JONATHAN BATALLA VIDAL, ET AL.
                                                      Respondents.

                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                       TO THE UNITED STATES COURT OF APPEALS
                               FOR THE SECOND CIRCUIT




                 Justin T. Berger
                 Brian Danitz
                 Tamarah Prevost
                 COTCHETT, PITRE & MCCARTHY, LLP
                 840 Malcolm Road, Suite 200
                 Burlingame, CA 94010
                 (650) 697-6000
                 Counsel for City of San José




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                            QUESTIONS PRESENTED
                     1. Whether the decision of the Acting Secretary of
                 Homeland Secretary to rescind the Deferred Action
                 for Childhood Arrivals (DACA) policy is subject to ju-
                 dicial review under the Administrative Procedure Act.
                     2. Whether the decision to rescind the DACA pol-
                 icy was arbitrary and capricious.




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                    equally divided Court, 136 S. Ct. 2271
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                   Grants of Temporary Immigration Relief,
                   1956-Present (Oct. 2014), available at
                   https://bit.ly/2hIzgX8 ............................................. 3
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                    Are the Consequences of an Amnesty for
                    Undocumented Immigrants?, 9 Geo. Pub.
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                                  INTRODUCTION
                     After the President stated repeatedly that DACA
                 participants had nothing to fear and should rest easy,
                 the Acting Secretary of Homeland Security abruptly
                 announced the rescission of DACA. There is no dis-
                 pute that this decision has life-changing implications
                 for nearly 700,000 DACA participants and their fami-
                 lies. Yet the Acting Secretary provided only a single
                 vague sentence of explanation for the decision that
                 leaves basic questions unanswered.
                    The government argues that this highly conse-
                 quential decision is immune from judicial review un-
                 der the Administrative Procedure Act. But the govern-
                 ment has not overcome the strong presumption favor-
                 ing judicial review of agency action. Nor has it demon-
                 strated that this case fits into one of the few and nar-
                 row categories of agency action traditionally viewed as
                 “committed to agency discretion by law.” When an
                 agency determines that an action is required by law,
                 as the agency did here, it is not exercising discretion.
                 Instead, the agency is concluding that it has no discre-
                 tion to exercise. It makes no sense to hold that such
                 legal determinations cannot be reviewed by a court.
                     On the merits, the Acting Secretary’s explanation
                 is too vague and cursory to satisfy the APA’s arbi-
                 trary-and-capricious standard. These deficiencies are
                 not cured by Secretary Nielsen’s post hoc effort, in the
                 midst of litigation, to rehabilitate Acting Secretary
                 Duke’s explanation.
                    In addition, the interlocutory posture of Regents
                 and Batalla Vidal, the evident incompleteness of the
                 administrative record, and evidence that the actual

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                 reasons for rescinding DACA are different from the
                 stated reasons, are additional reasons for affirming
                 the preliminary injunctions in those cases.
                          STATUTORY AND REGULATORY
                             PROVISIONS INVOLVED
                    Relevant statutory and regulatory provisions not
                 reproduced in Petitioners’ brief are reproduced in an
                 appendix to this brief. App., infra, 1a-11a.

                                        STATEMENT
                     1. Deferred Action Policies. The Immigration
                 and Nationality Act (INA) establishes requirements
                 governing the admissibility of noncitizens into the
                 United States, see, e.g., 8 U.S.C. §§ 1181-88, as well
                 as procedures for the detention and removal of noncit-
                 izens, see, e.g., id. §§ 1226-29c. Subject to those provi-
                 sions, Congress has assigned the Secretary of Home-
                 land Security responsibility for “[e]stablishing na-
                 tional immigration enforcement policies and priori-
                 ties.” 6 U.S.C. § 202(5).
                     Since 1956, every presidential administration has
                 exercised this authority by adopting policies under
                 which the government forgoes immigration enforce-
                 ment against certain categories of immigrants. See
                 SER265-66 (summarizing 17 pre-DACA discretionary
                 relief policies).1 President Eisenhower “paroled” into
                 the United States tens of thousands of otherwise-ex-
                 cludable Hungarian refugees after the Soviet Union
                 crushed the Hungarian Revolution. Dkt. 121-1 at 11,


                 1 “ER” and “SER” refer to the Ninth Circuit Excerpts and Sup-

                 plemental Excerpts of Record. “Dkt.” refers to docket entries in
                 the district court.




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                 13 (Statements of President Eisenhower). Presidents
                 Eisenhower, Kennedy, Johnson, and Nixon paroled
                 more than 600,000 Cuban immigrants into the United
                 States through a series of discretionary policies.
                 American Immigration Council, Executive Grants of
                 Temporary Immigration Relief, 1956-Present (Oct.
                 2014), available at https://bit.ly/2hIzgX8.
                     In 1987, the Reagan Administration instituted the
                 Family Fairness Program, which provided eligibility
                 for extended voluntary departure to spouses and chil-
                 dren of individuals in the process of legalizing their
                 immigration status under the Immigration Reform
                 and Control Act of 1986, Pub. L. No. 99-603, 100 Stat.
                 3359 (IRCA), even though the Act itself did not cover
                 spouses and children. Dkt. 121-1 at 20-24 (INS Com-
                 missioner Alan C. Nelson, Legalization and Family
                 Fairness — An Analysis (Oct. 21, 1987)). In 1990,
                 President George H. W. Bush expanded that program.
                 Id. at 26-27 (Memorandum from Gene McNary,
                 Comm’r, INS, to Reg’l Comm’rs, INS, Family Fair-
                 ness: Guidelines for Voluntary Departure under 8 CFR
                 242.5 for the Ineligible Spouses and Children of Legal-
                 ized Aliens (Feb. 2, 1990)). The Family Fairness Pro-
                 gram ultimately extended relief to approximately 1.5
                 million people, an estimated 40 percent of the undoc-
                 umented population at the time. See U.S. Cert. Pet. at
                 7, United States v. Texas, No. 15-674 (2015).
                    The Clinton Administration established a deferred
                 action policy for individuals petitioning for relief un-
                 der the Violence Against Women Act of 1994. Dkt.
                 121-1 at 56-62 (Memorandum from Paul W. Virtue,
                 Acting Exec. Assoc. Comm’r, INS., to Reg’l Dirs. et al.,
                 INS, Supplemental Guidance on Battered Alien Self-
                 Petitioning Process and Related Issues (May 6, 1997)).




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                 The George W. Bush Administration similarly pro-
                 vided deferred action to certain applicants for T and
                 U visas (victims of human trafficking and crimes such
                 as domestic violence, respectively), id. at 67-68 (Mem-
                 orandum from Stuart Anderson, Exec. Assoc. Comm’r,
                 INS, to Johnny N. Williams, Exec. Assoc. Comm’r,
                 INS, Deferred Action for Aliens with Bona Fide Appli-
                 cations for T Nonimmigrant Status (May 8, 2002)),
                 which subsequently were ratified by statute, see 8
                 U.S.C. § 1227(d)(2) (U visa and T visa applicants are
                 eligible for “deferred action”).
                     These policies, and others like them, reflect the re-
                 ality that the government lacks sufficient resources to
                 “enforce all of the [immigration] rules and regulations
                 presently on the books,” and that in “some situations,
                 application of the literal letter of the law would simply
                 be unconscionable and would serve no useful pur-
                 pose.” SER1215 (Memorandum from Sam Bernsen,
                 INS General Counsel, to Commissioner, Legal Opin-
                 ion Regarding Service Exercise of Prosecutorial Dis-
                 cretion (July 15, 1976)). For decades, the legality of
                 these policies was widely accepted and none was chal-
                 lenged in court.
                     Congress has also expressly acknowledged the ex-
                 istence of deferred action policies. See, e.g., 8 U.S.C.
                 § 1227(d)(2); id. § 1154(a)(1)(D)(i)(II), (IV) (petitioners
                 under the Violence Against Women Act are eligible for
                 “deferred action and work authorization”); id. § 1151
                 note (certain immediate family members of certain
                 United States citizens “shall be eligible for deferred
                 action”).
                    2. DACA. The Department of Homeland Security
                 (DHS) established the DACA policy in 2012. Regents
                 Pet. App. 97a-101a. The memorandum establishing




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                 the policy provides that “certain young people who
                 were brought to this country as children and know
                 only this country as home” are eligible to apply for
                 case-by-case discretionary relief from removal if they
                 (1) came to the United States under the age of sixteen;
                 (2) have continuously resided in the United States
                 since June 15, 2007, and were present in the United
                 States both on June 15, 2012, and on the date they
                 requested DACA; (3) are in school, have graduated
                 from high school, have obtained a GED, or have been
                 honorably discharged from the United States military
                 or Coast Guard; (4) do not have a significant criminal
                 record and are not a threat to national security or pub-
                 lic safety; (5) were under the age of 31 as of June 15,
                 2012; and (6) do not have lawful immigration status.
                 Id. at 97a-98a. Eligible applicants are required to pro-
                 vide the government with sensitive personal infor-
                 mation, including their home address and finger-
                 prints, submit to a rigorous DHS background check,
                 and pay a substantial application fee. SER1308, 1325-
                 26, 1328 (USCIS Form I-821D, Consideration of De-
                 ferred Action for Childhood Arrivals, and Instruc-
                 tions).
                     Before DACA was announced, the Office of Legal
                 Counsel (OLC) advised that “such a program would be
                 permissible, provided that immigration officials re-
                 tained discretion to evaluate each application on an
                 individualized basis.” JA 827-28 n.8. This advice was
                 memorialized in a comprehensive 2014 OLC opinion.
                 JA 797-856. In accordance with OLC’s advice, the
                 memorandum creating DACA directs that, for appli-
                 cants meeting the threshold criteria, “requests for re-
                 lief pursuant to this memorandum are to be decided
                 on a case by case basis,” as “part of th[e] exercise of




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                 prosecutorial discretion.” Regents Pet. App. 99a. The
                 memorandum further provides that “DHS cannot pro-
                 vide any assurance that relief will be granted in all
                 cases.” Ibid. In defending against legal challenges to
                 the DACA policy, the government argued that DACA
                 is “a valid exercise of the Secretary’s broad authority
                 and discretion to set policies for enforcing the immi-
                 gration laws.” U.S. Br. *1, Ariz. Dream Act Coal. v.
                 Brewer, 855 F.3d 957 (9th Cir. 2017), 2015 WL
                 5120846.
                     The government does not dispute that DACA has
                 created enormous benefits for participants and the
                 country as a whole. Nearly 700,000 young immigrants
                 currently have deferred action under the policy. Dkt.
                 290-2 (Demographics Report). Pursuant to longstand-
                 ing regulations, DACA participants, like the benefi-
                 ciaries of prior deferred action policies, may obtain
                 employment authorization and a social security num-
                 ber. See 8 C.F.R. § 274a.12(c)(14) (promulgated in
                 1987); id. § 109.1(b)(7) (1982); id. § 1.3(a)(4) (promul-
                 gated in 1996). These benefits have allowed DACA
                 participants to achieve a 91 percent employment rate,
                 and to increase their wages by 69 percent. SER1145-
                 48 (Wong Decl.). Access to lawful work allows DACA
                 participants to support their families, including their
                 estimated 200,000 U.S.-citizen children, SER1155,
                 and to receive employer-sponsored health insurance.
                 Dkt. 118-1 at 260 (McLeod Decl.). The rescission of
                 DACA would cost the country an estimated $215 bil-
                 lion in lost GDP and $60 billion in lost federal tax rev-
                 enue over a ten-year period. SER359 (Brannon & Al-
                 bright Decl.). In addition, DACA participants contrib-
                 ute more than $1.25 billion in state and local tax rev-
                 enue each year. SER447 (Essig, et al. Decl.).




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                    DACA has allowed 94 percent of participants to
                 pursue educational opportunities previously unavail-
                 able to them; 72 percent are pursuing a bachelor’s or
                 higher degree. SER1152 (Wong Decl.). For example,
                 Mitchell Santos Toledo arrived in the United States
                 from Mexico when he was less than two years old. JA
                 954 (Santos Toledo Decl.). Despite growing up in diffi-
                 cult circumstances, he excelled in school. Id. at 954-
                 56. Upon graduation from high school, he was ac-
                 cepted at the University of California, Berkeley, but
                 could not attend because his family was poor and he
                 was unable to lawfully work in the United States. Id.
                 at 957-58. Once DACA was created, Santos Toledo
                 was granted deferred action in 2013. Id. at 959. For
                 the first time, he was allowed to lawfully work, and
                 earned enough as a bank teller and paralegal to begin
                 his studies at UC Berkeley, while also helping to sup-
                 port his family. Id. at 960-61. Santos Toledo gradu-
                 ated with Highest Distinction in Legal Studies in
                 2016, and was the commencement speaker for his pro-
                 gram. Id. at 962-63. He now attends Harvard Law
                 School. Id. at 963. If DACA is rescinded, Santos Toledo
                 will be unable to lawfully work in the United States
                 and could be deported at any time to a country he has
                 not lived in since he was less than two years old. Id.
                 at 964.
                     Evelyn Valdez-Ward arrived in the United States
                 when she was six months old. SER1109 (Valdez-Ward
                 Decl.). She did not know that she was undocumented
                 until she applied for college. Id. at 1110. When she re-
                 ceived her work authorization after obtaining de-
                 ferred action through DACA, she “got [her] first real
                 job as a cashier at Kroger’s,” then worked as a tutor




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                 and restaurant server—all while paying undergradu-
                 ate tuition and giving money to her family. She has
                 since become an acclaimed doctoral student in Ecology
                 and Biology at UC Irvine. Id. at 1111-13. Her doctoral
                 research, which is supported by a grant from the Ford
                 Foundation, cannot be completed if DACA is termi-
                 nated. Id. at 1113.
                     3. The Government’s Decision to Rescind
                 DACA. Early in his Administration, President Trump
                 affirmed that the “policy of [his] administration [is] to
                 allow the dreamers to stay” and declared that “dream-
                 ers should rest easy.”2 In February 2017, then-Secre-
                 tary of Homeland Security Kelly exempted DACA
                 from a repeal of other immigration directives, JA 857-
                 67, and stated that “DACA status” is a “commitment
                 * * * by the government towards the DACA person,”
                 Dkt. 121-1 at 273.
                     On September 4, 2017, however, then-Attorney
                 General Sessions sent a half-page letter to then-Act-
                 ing Secretary of Homeland Security Duke, advising
                 that DHS “should rescind” DACA because it was “ef-
                 fectuated * * * without proper statutory authority”
                 and “was an unconstitutional exercise of authority by
                 the Executive Branch.” JA 877-78. The letter asserted
                 that DACA “has the same legal and constitutional de-
                 fects” as a different deferred action policy, Deferred
                 Action for Parents of Americans and Lawful Perma-
                 nent Residents (DAPA), which had been preliminarily
                 enjoined in a decision affirmed by the Fifth Circuit in
                 Texas v. United States, 809 F.3d 134 (5th Cir. 2015),

                 2 SER1346-47 (Tr. of AP Interview with Trump (Apr. 24, 2017),

                 https://www.cbsnews.com/news/transcript-of-ap-interview-with-
                 trump/).




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                 aff’d by an equally divided Court, 136 S. Ct. 2271
                 (2016). JA 878. The Attorney General’s letter does not
                 elaborate on the purported “constitutional defects” in
                 DACA. Neither the Fifth Circuit nor any other court
                 has ever found any deferred action policy unconstitu-
                 tional.
                    On September 5, the day after the Attorney Gen-
                 eral’s letter, Acting Secretary Duke issued a memo-
                 randum rescinding DACA. Regents Pet. App. 111a-
                 12a. The memorandum instructed DHS to cease ac-
                 cepting new DACA applications and advance parole
                 applications and to accept renewal applications only
                 through October 5, 2017, and only from individuals
                 whose deferred action would expire before March 5,
                 2018. Id. at 117a-18a. The memorandum provided a
                 one-sentence justification for ending DACA: “Taking
                 into consideration the Supreme Court’s and the Fifth
                 Circuit’s rulings in the ongoing litigation, and the Sep-
                 tember 4, 2017 letter from the Attorney General, it is
                 clear that the June 15, 2012 DACA program should be
                 terminated.” Id. at 117a.
                     That same day, the President tweeted: “Congress
                 now has 6 months to legalize DACA (something the
                 Obama Administration was unable to do). If they
                 can’t, I will revisit this issue!” Donald J. Trump
                 (@realDonaldTrump), Twitter (Sept. 5, 2017, 8:38
                 PM), https://tinyurl.com/y7f2y6tj. The President later
                 tweeted that “[t]he Democrats have been told, and
                 fully understand, that there can be no DACA without
                 the desperately needed WALL at the Southern Border
                 and an END to the horrible Chain Migration & ridic-
                 ulous Lottery System of Immigration etc.” Donald J.
                 Trump (@realDonaldTrump), Twitter (Dec. 29, 2017,
                 5:16 AM), https://goo.gl/aZ19im.




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                     4. The California Litigation. The University of
                 California and other Respondents brought actions in
                 the Northern District of California contending that
                 the decision to rescind DACA violated the Administra-
                 tive Procedure Act (APA). Regents Pet. App. 19a-22a.
                 Some Respondents also challenged the rescission on
                 due process and equal protection grounds. Id. at 22a.
                    a. The administrative record produced by the gov-
                 ernment consists of 14 publicly-available documents
                 totaling 256 pages, including 187 pages of judicial
                 opinions. See Dkt. 64-1. The lower courts have deter-
                 mined that this administrative record is incomplete.3
                 This Court has directed the lower courts to adjudicate
                 the government’s threshold reviewability arguments
                 before proceeding with litigation to complete the ad-
                 ministrative record. In re United States, 138 S. Ct. 443
                 (2017).
                     b. Petitioners moved to dismiss the complaints; Re-
                 spondents opposed Petitioners’ motion and sought a
                 preliminary injunction on their APA claims. See Dkt.
                 111 at 10; Dkt. 205. The district court granted both
                 motions in part. Regents Pet. App. 66a-69a. The court
                 held that Respondents are likely to succeed on their
                 claim that the rescission was arbitrary and capricious.
                 Id. at 54a, 62a. In finding that Respondents also sat-
                 isfied the remaining preliminary injunction factors,
                 the court relied on Respondents’ extraordinary show-
                 ing of irreparable harm, see id. at 62a-63a, which es-
                 tablishes, for example, that the rescission would cause


                 3 See Dkt. 79 (ordering completion of the administrative record);

                 In re United States, 875 F.3d 1200, 1205 (9th Cir.) (denying man-
                 damus petition), judgment vacated, 138 S. Ct. 443 (2017); In re
                 Nielsen, No. 17-3345, slip op. at 2-3 (2d Cir. Dec. 27, 2017).




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                 roughly 1,400 DACA participants to lose their jobs
                 each business day, SER1459 (Center for America Pro-
                 gress, Study: The Impact of Deferred Action for Child-
                 hood Arrivals (DACA) Program Repeal on Jobs), and
                 force tens of thousands of DACA participant under-
                 graduate and graduate students to discontinue their
                 studies for lack of support, SER1152-53 (Wong Decl.).
                 The University of California alone has approximately
                 1,700 DACA students whose educations and contribu-
                 tions to the University would be imperiled by the re-
                 scission. SER365-69 (Brick Decl.).
                     The court’s injunction required the government to
                 “allow[] DACA enrollees to renew their enrollments”
                 under the terms applicable prior to the rescission. Re-
                 gents Pet. App. 66a. For “each renewal application,”
                 the district court permitted the government to con-
                 tinue to “take administrative steps to make sure fair
                 discretion is exercised on an individualized basis.”
                 Ibid. The injunction does not prohibit DHS “from pro-
                 ceeding to remove any individual, including any
                 DACA enrollee, who it determines poses a risk to na-
                 tional security or public safety, or otherwise deserves,
                 in its judgment, to be removed.” Ibid. Nor does the in-
                 junction require DHS to process DACA applications
                 from individuals who had not previously received de-
                 ferred action, or to restore DACA participants’ ability
                 to obtain advance parole to travel abroad and return
                 home to the United States. Ibid.
                    c. The Ninth Circuit affirmed the district court’s
                 orders. Regents Pet. Supp. App. 1a-87a. The court held
                 that the rescission decision is not “committed to
                 agency discretion by law” under 5 U.S.C. § 701(a)(2).
                 The court reasoned that the rescission was based on a
                 non-discretionary legal determination that “DACA




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                 was beyond the authority of DHS.” Regents Pet. Supp.
                 App. 41a. It concluded that administrative decisions
                 premised “on a belief that any alternative choice was
                 foreclosed by law” are not “committed to agency dis-
                 cretion.” Id. at 29a.
                     The court next held that Respondents are likely to
                 succeed on the merits of their APA claims, because
                 DACA is “a permissible exercise of executive discre-
                 tion” that is consistent with the INA, id. at 56a-57a,
                 and “where an agency purports to act solely on the ba-
                 sis that a certain result is legally required, and that
                 legal premise turns out to be incorrect, the action
                 must be set aside,” id. at 46a. The court emphasized
                 that it was “not hold[ing] that DACA could not be re-
                 scinded as an exercise of Executive Branch discre-
                 tion,” but only that the legal grounds identified by the
                 agency were erroneous. Id. at 57a.
                     On appeal, the government did not dispute the dis-
                 trict court’s holdings that the likelihood of irreparable
                 harm, the balance of hardships, and the public inter-
                 est all strongly favor a preliminary injunction. Id. at
                 45a-46a.
                    The court of appeals also affirmed the denial of the
                 government’s motion to dismiss Respondents’ equal
                 protection claims, holding that “the likelihood of suc-
                 cess on [Respondents’] equal protection claim is a sec-
                 ond, alternative ground for affirming the entry of the
                 injunction.” Id. at 61a-77a & n.31.
                    Judge Owens concurred in the judgment, conclud-
                 ing that the APA claim was immune from judicial re-
                 view but that the preliminary injunction should be af-
                 firmed on equal protection grounds. Id. at 84a-87a.




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                    5. The New York, Maryland, and District of
                 Columbia Litigation. While the Regents cases were
                 proceeding, additional challenges to the rescission of
                 DACA proceeded in other courts and reached the
                 same result.
                    •   In February 2018, the District Court for the
                        Eastern District of New York preliminarily en-
                        joined the rescission of DACA in an order that
                        tracks the terms of the Regents injunction. Ba-
                        talla Vidal Pet. App. 126a-128a.

                    •   In March 2018, the District Court for the Dis-
                        trict of Maryland granted summary judgment
                        to the government, concluding that the rescis-
                        sion was reviewable, but not arbitrary and ca-
                        pricious. Casa De Maryland v. U.S. Dep’t of
                        Homeland Sec., 284 F. Supp. 3d 758 (D. Md.
                        2018). On appeal, the Fourth Circuit reversed,
                        concluding that the rescission was reviewable,
                        arbitrary and capricious, and should be vacated
                        under the APA. Casa De Maryland v. U.S. Dep’t
                        of Homeland Sec., 924 F.3d 684 (4th Cir. 2019).

                    •   In April 2018, the District Court for the District
                        of Columbia granted partial summary judg-
                        ment against the government and vacated the
                        rescission of DACA, concluding that it violated
                        the APA. NAACP Pet. App. 72a-74a.

                     In NAACP, the district court stayed its order for 90
                 days to give DHS the opportunity to “issue[] a new de-
                 cision rescinding DACA.” NAACP Pet. App. 76a. Ra-
                 ther than issue a new decision, Secretary of Homeland
                 Security Nielsen issued a memorandum “concur[ring]




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                 with and declin[ing] to disturb” the Duke Memoran-
                 dum’s rescission of the DACA policy. Regents Pet.
                 App. 126a. The memorandum states that it “reflects
                 [Secretary Nielsen’s] understanding of the Duke
                 memorandum” and purports to offer “further explana-
                 tion” of the rescission of DACA. Id. at 121a.
                    5. The Government’s Petitions for Certiorari.
                 In January 2018, the government filed a petition seek-
                 ing certiorari before judgment to review the prelimi-
                 nary injunction entered by the district court in Re-
                 gents. This Court denied the petition. 138 S. Ct. 1182.
                    In November 2018, the government filed a second
                 petition for certiorari before judgment in Regents, and
                 also sought certiorari before judgment in NAACP and
                 Batalla Vidal. On June 28, 2019, this Court granted
                 certiorari in Regents, and granted certiorari before
                 judgment in NAACP and Batalla Vidal.4
                              SUMMARY OF ARGUMENT
                    1. The decision to rescind DACA is judicially re-
                 viewable. The strong presumption favoring judicial re-
                 view of administrative action, rather than the very
                 narrow exception for actions “committed to agency
                 discretion by law,” 5 U.S.C. § 701(a)(2), applies here.
                    First, the rescission rests on a determination that
                 DACA is unlawful. In reviewing that legal determina-
                 tion, a court clearly has “law to apply.” Moreover,
                 when an agency concludes that an action is prohibited
                 by law, it is not exercising discretion. Instead, it has
                 found that it has no discretion to exercise. To say that
                 an agency’s determination that it lacks discretion is

                 4 The government also filed a petition for certiorari in Casa de

                 Maryland, No. 18-1469, which remains pending.




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                 committed to the agency’s discretion verges on the
                 nonsensical.
                     Second, DACA is a generally-applicable policy that
                 affects hundreds of thousands of people. Decisions to
                 terminate such policies have not traditionally been re-
                 garded as among the very few categories of agency de-
                 cisions that are committed to agency discretion by
                 law.
                    The Nielsen Memorandum does not alter the re-
                 viewability analysis. The “discretionary” reasons it of-
                 fers for ending DACA are impermissibly post hoc, in-
                 extricably linked to the lawfulness of DACA, or both.
                 Moreover, the APA expressly contemplates that
                 agency actions based on discretionary considerations
                 are reviewable for “abuse of discretion.” 5 U.S.C.
                 § 706(2)(A).
                    2. The rescission was arbitrary and capricious.
                    a. Acting Secretary Duke’s one-sentence explana-
                 tion cannot withstand judicial review. The Duke
                 Memorandum does not explain the basis for conclud-
                 ing that a Fifth Circuit decision concerning DAPA
                 compels the conclusion that DACA is unlawful, nor
                 does it address the differences between those policies.
                 The Duke Memorandum leaves unexplained the At-
                 torney General’s erroneous assertion that the Fifth
                 Circuit held DAPA to be unconstitutional. It does not
                 address whether the Secretary regarded the Attorney
                 General’s letter as “controlling.” See 8 U.S.C.
                 § 1103(a)(1). And it never explains why a carefully-
                 reasoned OLC opinion reaching the opposite conclu-
                 sion is incorrect.
                    The post hoc Nielsen Memorandum does not cure
                 these defects. That memorandum fails to address,




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                 among other things, the OLC opinion and the differ-
                 ences between DAPA and DACA. Moreover, its rea-
                 soning is inextricably tied to the lawfulness of DACA
                 and its “messaging” rationale is insupportable.
                     DHS also failed to demonstrate that it gave ade-
                 quate consideration to the welfare of the individuals
                 affected by the decision or the reliance of DACA par-
                 ticipants on the policy, rendering its decision arbi-
                 trary.
                     The government’s reliance on “litigation risk,”
                 which is never mentioned in the Duke Memorandum,
                 is not an adequate, independent basis for the rescis-
                 sion. Agencies cannot evade meaningful judicial re-
                 view of legal conclusions by repackaging them as “lit-
                 igation risk” assessments. In any event, DHS failed to
                 show that it considered important aspects of litigation
                 risk.
                    b. The Acting Secretary erred in concluding that
                 DACA is unlawful. Congress granted DHS authority
                 to “[e]stablish[] national immigration enforcement
                 policies and priorities.” 6 U.S.C. § 202(5). Beginning
                 with President Eisenhower, every administration has
                 exercised this authority to grant deferred action to
                 groups of otherwise removable immigrants. Congress
                 has expressly recognized that the Executive Branch
                 possesses this authority. It did so knowing that
                 longstanding regulations confer benefits, such as
                 work authorization, on individuals granted deferred
                 action. See 8 U.S.C. § 1324a(h)(3).
                     The government’s assertion that DACA automati-
                 cally grants deferred action to a vast category of un-
                 documented individuals is incorrect. The DACA Mem-




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                 orandum expressly provides that immigration offi-
                 cials must evaluate each application on an individual-
                 ized basis, and the evidence confirms that this is how
                 the policy has been implemented.
                    c. At a minimum, this Court should not reach a
                 final decision on the merits in the absence of a com-
                 plete administrative record. The current record is in-
                 complete on its face, and multiple courts have so
                 found. The arguments against making a final decision
                 on the merits in the absence of a complete record are
                 strengthened by indications that the Executive
                 Branch had other reasons, apart from its view of the
                 lawfulness of DACA, for rescinding the policy.
                                     ARGUMENT
                 I.   The Rescission Of DACA Is Reviewable.

                     There is a “strong presumption” that administra-
                 tive actions are subject to judicial review. Weyerhau-
                 ser Co. v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361,
                 370 (2018). That presumption applies to the decision
                 to rescind DACA. Where, as here, an agency concludes
                 that its action is required by law, it is not exercising
                 discretion. Instead, it is concluding that it has no dis-
                 cretion to exercise. Moreover, when an agency asserts
                 that an action is required by judicial decisions, it
                 shifts responsibility for its actions onto the courts. In
                 such cases, it is “the province and duty” of this Court,
                 not the agency, “to say what the law is.” Marbury v.
                 Madison, 1 Cranch 137, 177 (1803); see 5 U.S.C. § 706
                 (“the reviewing court shall decide all relevant ques-
                 tions of law”).




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                     A. Acting Secretary Duke’s Decision Is Re-
                        viewable.
                     The starting point for analyzing reviewability is
                 the “strong presumption favoring judicial review of
                 administrative action.” Mach Mining, LLC v. EEOC,
                 135 S. Ct. 1645, 1653 (2015); INS v. St. Cyr, 533 U.S.
                 289, 298-99 (2001) (applying presumption in the im-
                 migration context). The APA’s expansive judicial re-
                 view provision provides that any “person suffering le-
                 gal wrong because of agency action, or adversely af-
                 fected or aggrieved by agency action within the mean-
                 ing of a relevant statute, is entitled to judicial review
                 thereof.” 5 U.S.C. § 702. The APA’s “generous review
                 provisions must be given a hospitable interpretation.”
                 Abbott Labs. v. Gardner, 387 U. S. 136, 140-41 (1967)
                 (citations omitted).
                     The government’s brief never mentions the strong
                 presumption favoring judicial review, or the “heavy
                 burden” the government must carry to overcome that
                 presumption. Mach Mining, 135 S. Ct. at 1651. In-
                 stead, it moves directly to an argument that judicial
                 review is precluded by 5 U.S.C. § 701(a)(2), which ap-
                 plies to actions “committed to agency discretion by
                 law.” Section 701(a)(2) creates only a “very narrow ex-
                 ception” to the strong presumption of judicial review,
                 Citizens to Preserve Overton Park, Inc. v. Volpe, 401
                 U.S. 402, 410 (1971), that applies only in “‘rare cir-
                 cumstances where the relevant statute is drawn so
                 that a court would have no meaningful standard
                 against which to judge the agency’s exercise of discre-
                 tion,’” Dep’t of Commerce v. New York, 139 S. Ct. 2551,
                 2568 (2019) (quoting Weyerhaeuser, 139 S. Ct. at 370).




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                 So long as there is “law to apply” in reviewing a chal-
                 lenged action, the exception does not apply and judi-
                 cial review is available. Id. at 2568-69.
                     This Court has limited section 701(a)(2) to a very
                 short list of categories of “administrative decisions
                 that courts traditionally have regarded as ‘committed
                 to agency discretion.’” Dep’t of Commerce, 139 S. Ct. at
                 2568 (citing Heckler v. Chaney, 470 U.S. 821, 831-32
                 (1985); Webster v. Doe, 486 U.S. 592, 600-01 (1988);
                 Lincoln v. Vigil, 508 U.S. 182, 192 (1993)). The rescis-
                 sion of DACA is not an intelligence agency personnel
                 decision, see Webster, 486 U.S. at 600-01, a denial of a
                 reconsideration motion alleging material error, see
                 ICC v. Brotherhood of Locomotive Engineers, 482 U.S.
                 270, 282 (1987) (BLE), or a re-allocation of funds from
                 a lump-sum appropriation, Lincoln, 508 U.S. at 192.
                 The government contends, however, that the rescis-
                 sion of DACA falls within the traditionally unreview-
                 able category of a decision not to institute enforcement
                 proceedings. U.S. Br. 23. That argument fails for sev-
                 eral reasons.
                     1. The Court undoubtedly has “law to apply” in
                 evaluating the rescission. Acting Secretary Duke gave
                 a one-sentence explanation for her action: “Taking
                 into consideration the Supreme Court’s and the Fifth
                 Circuit’s rulings in the ongoing litigation, and the Sep-
                 tember 4, 2017 letter from the Attorney General, it is
                 clear that the June 15, 2012 DACA program should be
                 terminated.” Regents Pet. App. 117a. This explana-
                 tion, such as it is, rests entirely on the law. It invokes
                 a legal determination by the then-Attorney General
                 that DACA was “effectuated * * * without proper stat-
                 utory authority” and “was an unconstitutional exer-
                 cise of authority by the Executive Branch.” Id. at




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                 116a. It also relies on judicial opinions concerning an-
                 other deferred action policy, DAPA. The Acting Secre-
                 tary offered nothing else as a basis for her decision.
                     Courts are well equipped to review the legal con-
                 clusion that DACA is unlawful. Indeed, it is “almost
                 ludicrous to suggest that there is ‘no law to apply’ in
                 reviewing whether an agency has reasonably inter-
                 preted a law.” Int’l Union, UAW v. Brock, 783 F.2d
                 237, 246 (D.C. Cir. 1986). The APA expressly provides
                 that courts, not agencies, are to “decide all relevant
                 questions of law.” 5 U.S.C. § 706. This case thus pre-
                 sents “the sort of routine dispute that federal courts
                 regularly review.” Weyerhauser, 139 S. Ct. at 370. See,
                 e.g., Massachusetts v. EPA, 549 U.S. 497, 529-34
                 (2007) (setting aside EPA decision premised on the
                 agency’s misinterpretation of its legal authority); SEC
                 v. Chenery Corp. (“Chenery I”), 318 U.S. 80, 94 (1943)
                 (“an order may not stand if the agency has miscon-
                 ceived the law”).
                     Moreover, when an agency concludes that an ac-
                 tion is required by law, it is not exercising discretion.
                 Instead, it has determined that it lacks any discretion.
                 It thus make no sense to say that the agency’s action
                 is “committed to agency discretion by law.” Cf. Fed.
                 Election Comm’n v. Akins, 524 U.S. 11, 25 (1998)
                 (“Agencies often have discretion about whether or not
                 to take a particular action. Yet those adversely af-
                 fected by a discretionary agency decision generally
                 have standing to complain that the agency based its
                 decision upon an improper legal ground.”). If the gov-
                 ernment’s position were accepted, it would have the
                 bizarre consequence that when an agency mistakenly
                 concludes that it lacks discretion, the courts are pow-
                 erless to correct the agency’s legal error, leaving the




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                 agency to exercise less than the powers actually pro-
                 vided by law.
                     Here, moreover, the agency deflected responsibil-
                 ity for ending DACA to the courts, by declaring that
                 judicial decisions require that DACA be ended. When
                 an agency makes such a declaration, judicial review
                 upholds not only the design of the APA but the struc-
                 ture of the Constitution. As the Ninth Circuit noted,
                 judicial review in these circumstances upholds “val-
                 ues fundamental to the administrative process,” serv-
                 ing “the critical function of promoting * * * democratic
                 accountability to the people,” by preventing the Exec-
                 utive Branch from shirking accountability for its ac-
                 tions. Regents Pet. Supp. App. 31a-32a.
                    2. The government relies on this Court’s decisions
                 in Chaney and BLE, but those decisions do not resolve
                 the reviewability issue in this case, and in fact cast
                 doubt on the government’s expansive interpretation of
                 section 701(a)(2).
                     a. In Chaney, eight death-row inmates petitioned
                 the FDA to initiate enforcement proceedings to pre-
                 vent the use of drugs in their executions that they al-
                 leged were not “safe and effective.” 470 U.S. at 823-24.
                 The FDA denied their request, concluding that its en-
                 forcement authority “was generally unclear” and that,
                 assuming it possessed such authority, it was “author-
                 ized to decline to exercise it under [its] inherent dis-
                 cretion to decline to pursue certain enforcement mat-
                 ters.” Id. at 824-25. Reasoning that “an agency’s deci-
                 sion not to take enforcement action should be pre-
                 sumed immune from judicial review,” the Court held
                 that the FDA’s refusal to take enforcement action was
                 unreviewable. Id. at 832. That holding was limited in
                 several important respects.




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                     First, Chaney concerned an agency’s decision not
                 to institute specific requested enforcement proceed-
                 ings, which the Court found “has traditionally been
                 ‘committed to agency discretion.’” Ibid. Chaney did not
                 concern the creation or rescission of a generally appli-
                 cable policy like DACA. Id. at 823 (“This case presents
                 the question of the extent to which a decision of an
                 administrative agency to exercise its ‘discretion’ not to
                 undertake certain enforcement actions is subject to ju-
                 dicial review * * * .” (emphasis added)); see also Dep’t
                 of Commerce, 139 S. Ct. at 2568 (describing Chaney as
                 involving “a decision not to institute enforcement pro-
                 ceedings”). Both the Court and the FDA viewed the
                 requested agency action as a one-time enforcement
                 decision “involv[ing] a complicated balancing of a
                 number of factors which [were] peculiarly within [the
                 FDA’s] expertise.” Chaney, 470 U.S. at 831. As the
                 Ninth Circuit correctly observed, “[n]owhere does
                 [Chaney] suggest the broader proposition that any de-
                 cision simply related to enforcement should be pre-
                 sumed unreviewable.” Regents Pet. Supp. App. 34a
                 n.13.
                     Unlike the one-time enforcement decision at issue
                 in Chaney, the rescission was not a decision to initiate,
                 or not initiate, enforcement proceedings in any spe-
                 cific immigration case. Nor did the Acting Secretary’s
                 decision involve “a complicated balancing of a number
                 of factors * * * peculiarly within [DHS’s] expertise.”
                 Instead, the rescission rests on a legal conclusion con-
                 cerning the scope of DHS’s authority. Cf. Massachu-
                 setts, 549 U.S. at 527 (declining to extend Chaney to
                 decisions not to institute a rulemaking and noting
                 that “agency refusals to initiate rulemaking ‘are less




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                 frequent, more apt to involve legal as opposed to fac-
                 tual analysis, and subject to special formalities, in-
                 cluding a public explanation’” (citation omitted)).
                     In contrast to the individual enforcement decisions
                 in Chaney, there is no established tradition of non-re-
                 viewability for programmatic policy decisions. The re-
                 scission of DACA directly affects nearly 700,000 par-
                 ticipants, and has even more widespread indirect ef-
                 fects. Such decisions repeatedly have been held re-
                 viewable. E.g., Dep’t of Commerce, 139 S. Ct. at 2567-
                 69 (reviewing decision to reinstate citizenship ques-
                 tion to standard census form); OSG Bulk Ships, Inc.
                 v. United States, 132 F.3d 808, 812 (D.C. Cir. 1998)
                 (“an agency’s statement of a general enforcement pol-
                 icy” is reviewable even though a “single-shot nonen-
                 forcement decision” may not be (citation and empha-
                 ses omitted)); cf. also Texas, 809 F.3d at 163-69.
                     Moreover, when a court reviews a single-shot non-
                 enforcement decision, it considers whether the agency
                 must enforce a statute against a specific target. If the
                 inmates’ claim in Chaney had succeeded, the “implau-
                 sible result” would have been that a court would have
                 required FDA “to exercise its enforcement power to
                 ensure that States only use drugs that are ‘safe and
                 effective’ for human execution.” 470 U.S. at 827. In
                 contrast, judicial review of whether an agency has the
                 authority to implement a discretionary non-enforce-
                 ment policy involves no such intrusion into agency au-
                 thority. Far from forcing the agency to do anything, a
                 judicial finding that an agency possesses certain au-
                 thority provides the agency with greater policy flexi-
                 bility.
                    Second, this Court’s decision in Chaney recognized
                 a critical distinction between enforcement decisions




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                 and non-enforcement decisions, noting that “when an
                 agency refuses to act it generally does not exercise its
                 coercive power over an individual’s liberty or property
                 rights.” Id. at 832. That reasoning does not extend to
                 the rescission of DACA. By eliminating a non-enforce-
                 ment policy, the government paves the way for the
                 subsequent exercise of coercive power over individu-
                 als, including arrest and deportation. See U.S. Br. 45
                 (arguing that DACA participants should face “fear of
                 enforcement”).
                     Third, the Court’s opinion in Chaney expressly
                 noted that review may be appropriate where, as here,
                 the agency’s decision was “based solely on the belief
                 that it lacks jurisdiction” to act. 470 U.S. at 833 n.4.
                 Thus, “Chaney itself left open the possibility that re-
                 view might be available even for a nonenforcement de-
                 cision if that decision is predicated solely on the
                 agency’s interpretation of a statute. The rationale for
                 this exception is clear: the court has law to apply in
                 determining whether the agency erred.” Brock, 783
                 F.2d at 245 n.10 (citation omitted).
                     b. The government contends that BLE answers the
                 question left open in Chaney’s footnote 4, but it reads
                 far too much into that decision. In BLE, the Court held
                 that a denial of a petition to reconsider for material
                 error was unreviewable, based on a “tradition of non-
                 reviewability” of such denials. 482 U.S. at 282. The
                 Court’s holding was narrow, and limited to the cir-
                 cumstances of the case. Critical to the Court’s analysis
                 in BLE was the explanation that, so long as the peti-
                 tion for reconsideration is timely, the agency’s original
                 order remains subject to judicial review after the
                 agency denies the reconsideration petition. By con-




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                 trast, the Court explained, denials of petitions for re-
                 consideration based on “new evidence” or “changed
                 circumstances” are reviewable, because barring re-
                 view of such denials would eliminate “all opportunity
                 for judicial consideration” of new facts or circum-
                 stances. Id. at 279.
                     In the course of a detailed discussion, the Court
                 noted that the “vast majority of denials of reconsider-
                 ation * * * are made without statement of reasons.” Id.
                 at 283. It was in this context that the Court remarked
                 that its cases did not stand for “the principle that if
                 the agency gives a ‘reviewable’ reason for otherwise
                 unreviewable action, the action becomes reviewable.”
                 Ibid. Read in context, this statement applies to the de-
                 nial of reconsideration motions, where the underlying
                 decision remains subject to judicial review, and means
                 only that a traditionally nonreviewable decision that
                 would be unreviewable if no reason had been given
                 would not become reviewable merely because the
                 agency chose to give a reason. As explained above, the
                 decision to rescind DACA does not fall into a recog-
                 nized category of traditionally unreviewable agency
                 action.
                    c. In the courts below, the government advanced a
                 separate argument that review of the decision to re-
                 scind DACA is precluded by 8 U.S.C. § 1252(g). The
                 lower courts uniformly rejected this argument, ex-
                 plaining that it is contrary to this Court’s holding that
                 section 1252(g) applies only to “three discrete actions”
                 antecedent to a reviewable final removal order,
                 namely actions to “commence proceedings, adjudicate
                 cases, or execute removal orders,” and not to the
                 “many other decisions or actions that may be part of




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                 the deportation process.” Reno v. Am.-Arab Anti-Dis-
                 crimination Comm., 525 U.S. 471, 482 (1999) (AADC)
                 (citation and emphases omitted). Respondents are not
                 seeking review of any of these discrete actions, and
                 therefore section 1252(g) does not preclude review.
                    In this Court, the government has effectively aban-
                 doned its INA-based argument. Instead, it briefly con-
                 tends that Congress’s decision to preclude review of
                 three discrete actions supports the government’s ar-
                 gument that immigration enforcement policy deci-
                 sions are generally unreviewable. U.S. Br. 20. The
                 government’s reasoning is backwards: Section 1252(g)
                 demonstrates that Congress knows how to preclude
                 judicial review when it wishes to do so. The fact that
                 section 1252(g) applies only to three discrete actions
                 suggests that judicial review of other actions, such as
                 the rescission of DACA, is not precluded.
                     B. The Nielsen Memorandum Does Not Al-
                        ter The Reviewability Analysis.
                    Nine months after Acting Secretary Duke issued
                 the decision to rescind DACA, and in response to liti-
                 gation setbacks, Secretary Nielsen issued a second
                 memorandum that purports to expand on the expla-
                 nation provided in the Duke Memorandum. The Niel-
                 sen Memorandum does not render Acting Secretary
                 Duke’s decision unreviewable.
                     As explained above, the decision to rescind DACA
                 falls outside the few categories of agency action tradi-
                 tionally recognized as unreviewable. Even if the gov-
                 ernment could rely on the Nielsen Memorandum to
                 show that the decision to rescind DACA was based on
                 discretionary factors as well as legal considerations,
                 that still would not render the decision unreviewable.




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                 The APA provides that agency actions are reviewable
                 for “abuse of discretion,” 5 U.S.C. § 706(2)(A), and
                 courts routinely review discretionary agency actions
                 to ensure that they are reasonable and reasonably ex-
                 plained. See, e.g., Dep’t of Commerce, 139 S. Ct. at
                 2568; Judulang v. Holder, 565 U.S. 42, 53 (2011).
                     Additionally, the Nielsen Memorandum is not a
                 new agency action. Instead, it is a post hoc document
                 created by the agency for the purpose of gaining an
                 advantage in ongoing litigation, and issued because
                 the government did not wish “to reset this protracted
                 litigation by issuing a ‘new’ independent agency deci-
                 sion on DACA.” U.S. Reply Br. 4, Trump v. NAACP,
                 No. 18-588 (U.S. Jan. 4, 2019).
                    It is a long-established principle that judicial re-
                 view of agency action is limited to the reasons the
                 agency gave when it took the action in question.
                 See, e.g., Burlington Truck Lines, Inc. v. United
                 States, 371 U.S. 156, 168-69 (1962) (agency action may
                 be “upheld, if at all, on the same basis articulated in
                 the order by the agency itself”); Michigan v. E.P.A.,
                 135 S. Ct. 2699, 2710 (2015) (“[A] court may uphold
                 agency action only on the grounds that the agency in-
                 voked when it took the action.”) (emphases added). The
                 operative order rescinding the DACA policy is the
                 Duke Memorandum. Therefore, the Court should con-
                 sider only the grounds invoked in that memorandum.
                    If agencies were free to alter the rationale for their
                 actions in the middle of judicial review, courts could
                 be required to review a continuously moving target.
                 Faced with possible defeat in litigation, agencies could
                 render briefs, oral argument, and even lower court
                 opinions obsolete by issuing post hoc documents un-
                 supported by an administrative record. In this case,




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                 for example, the Nielsen Memorandum was issued af-
                 ter the district court entered a preliminary injunction
                 in Regents, and after oral argument in the Ninth Cir-
                 cuit.
                    Consideration of post hoc agency explanations is
                 particularly inappropriate where, as here, courts have
                 found that the administrative record is incomplete.
                 The agency should not be able to manipulate judicial
                 review by changing the rationale for its decisions
                 while withholding the full administrative record that
                 was before the original decisionmaker.
                     The Nielsen Memorandum expressly “decline[s] to
                 disturb” the Duke Memorandum, and merely provides
                 “further explanation” that “reflects [Secretary Niel-
                 sen’s] understanding” of the Duke Memorandum. Re-
                 gents Pet. App. 121a. This “further explanation” con-
                 sists of three “enforcement” rationales to justify the
                 Duke Memorandum’s rescission of DACA: (1) “DHS
                 should enforce the policies reflected in the laws
                 adopted by Congress”; (2) “DHS should only exercise
                 its prosecutorial discretion not to enforce * * * on a
                 truly individualized, case-by-case basis”; and (3) DHS
                 must “project a message that leaves no doubt” that
                 DHS will enforce the immigration laws, given that
                 “tens of thousands of minor aliens have illegally
                 crossed or been smuggled across our border in recent
                 years.” Id. at 123a-24a. None of these rationales is ar-
                 ticulated in the Duke Memorandum, and two of them
                 are inextricably tied to the lawfulness of DACA. The
                 rationale that “DHS should enforce the policies re-
                 flected in the laws adopted by Congress” rests on a le-
                 gal conclusion that DACA is inconsistent with the
                 laws adopted by Congress. Similarly, the rationale




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                 that “DHS should only exercise its prosecutorial dis-
                 cretion not to enforce * * * on a truly individualized,
                 case-by-case basis” rests on a conclusion that DACA is
                 not, and cannot be, applied in such a manner. As the
                 government acknowledges (with considerable under-
                 statement), those rationales “overlap” with the legal-
                 ity rationale. U.S. Br. 30.
                    The Nielsen Memorandum does not identify the
                 “messaging” rationale as an independent basis for re-
                 scinding DACA. Instead, it claims to offer three inde-
                 pendent reasons for the rescission, preceded by para-
                 graphs beginning with “First,” “Second,” and “Third.”
                 “Messaging” is one of multiple justifications that to-
                 gether form the third asserted reason for rescission.
                 Thus, the Nielsen Memorandum does not assert that
                 the “messaging” rationale alone was sufficient to re-
                 scind the policy.
                     The government’s current arguments concerning
                 the Nielsen Memorandum are also sharply at odds
                 with its prior statements to this Court that the rescis-
                 sion was based exclusively on legal concerns. See U.S.
                 Mandamus Pet. at 21, No. 17-801 (“The Acting Secre-
                 tary’s explanation for her decision rested on her as-
                 sessment of the risks presented by (and the ultimate
                 legality of) maintaining a policy (original DACA) that
                 was materially identical to ones (expanded DACA and
                 DAPA) struck down by the Fifth Circuit in a decision
                 affirmed by this Court, and that the plaintiffs who
                 prevailed in that earlier suit intended to challenge be-
                 fore the same court on the same grounds.”); U.S. Cert.
                 Pet. at 16, No. 17-1003 (“The Acting Secretary opted
                 to wind down DACA after reasonably concluding that
                 the policy was likely to be struck down by courts and
                 indeed was unlawful.”); see also id. at 24.




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                    For these reasons, the Nielsen Memorandum does
                 not alter the conclusion that the rescission of DACA is
                 subject to judicial review.
                 II. The Rescission Of DACA Was Arbitrary And
                     Capricious.

                     In Regents and Batalla Vidal, the district courts
                 granted Respondents’ motions for a preliminary in-
                 junction.5 The government has not sought a stay of
                 these injunctions. Nor has it challenged the lower
                 courts’ determinations that Respondents meet three
                 of the four preliminary injunction factors. In particu-
                 lar, the undisputed record on irreparable harm is
                 nothing short of overwhelming. Absent an injunction,
                 hundreds of thousands of DACA participants face dev-
                 astating and life-changing harm, including loss of em-
                 ployment, loss of educational opportunities, and re-
                 moval from the only country they have known since
                 they were young children. These harms will also have
                 cascading effects on the families of DACA partici-
                 pants, including their nearly 200,000 U.S.-citizen chil-
                 dren, as well as their employers, schools, and commu-
                 nities.
                     The balance of hardships likewise tips decisively in
                 favor of Respondents. The injunctions place no limita-
                 tion on the government’s authority to remove any
                 DACA participant who “poses a risk to national secu-
                 rity or public safety, or otherwise deserves, in its judg-
                 ment, to be removed.” Regents Pet. App. 66a. Although


                 5 See Regents Pet. App. 62a-66a; Batalla Vidal Pet. App. 119a-

                 126a. The Ninth Circuit affirmed the Regents injunction, and this
                 Court granted certiorari before the Second Circuit ruled on the
                 Batalla Vidal injunction.




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                 the government’s counsel complains about “sanction-
                 ing an ongoing violation of federal immigration law by
                 nearly 700,000 aliens,” U.S. Br. 16, the President has
                 affirmed that the “policy of [his] administration [is] to
                 allow the dreamers to stay.” SER1346-47; accord,
                 ER45 (“Does anybody really want to throw out good,
                 educated and accomplished young people who have
                 jobs, some serving in the military? Really!....”).
                     Having conceded three of four preliminary injunc-
                 tion factors, the government argues that Respondents
                 are unlikely to succeed on the merits because the de-
                 cision to rescind DACA was not arbitrary and capri-
                 cious. That argument fails for three principal reasons.
                 First, the decision to rescind DACA was inadequately
                 explained. Second, the rescission rests on an incorrect
                 determination that DACA is unlawful. Third, the in-
                 completeness of the administrative record, and evi-
                 dence that the stated reasons for ending DACA are
                 not the true reasons, provide additional grounds for
                 this Court to reject the government’s arguments.
                     A. The Rescission Of DACA Was Not Ade-
                        quately Explained.
                    Meaningful judicial review requires that “the
                 grounds upon which the administrative agency acted
                 [be] clearly disclosed and adequately sustained.”
                 Chenery I, 318 U.S. at 94. The basis for agency action
                 must be “set forth with such clarity as to be under-
                 standable.” SEC v. Chenery Corp., 332 U.S. 194, 196
                 (1947) (Chenery II); see also Judulang, 565 U.S. at 64.
                 Under the arbitrary and capricious standard, the
                 agency “must examine the relevant data and articu-
                 late a satisfactory explanation for its action including
                 a rational connection between the facts found and the
                 choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v.




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                 State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)
                 (internal quotation marks omitted). An agency may
                 choose to reverse an existing policy but must first
                 “provide a reasoned explanation for the change, * * *
                 show that there are good reasons for the new policy,”
                 and “be cognizant that longstanding policies may have
                 ‘engendered serious reliance interests that must be
                 taken into account.’” Encino Motorcars, LLC v. Na-
                 varro, 136 S. Ct. 2117, 2125-26 (2016) (citation omit-
                 ted).
                   The rescission of DACA fails to meet these require-
                 ments.
                         1. The Duke Memorandum Fails To Ad-
                            equately Explain The Rescission.
                     Acting Secretary Duke provided a one-sentence ex-
                 planation for the rescission of DACA: “Taking into
                 consideration the Supreme Court’s and the Fifth Cir-
                 cuit’s rulings in the ongoing litigation, and the Sep-
                 tember 4, 2017 letter from the Attorney General, it is
                 clear that the June 15, 2012 DACA program should be
                 terminated.” Regents Pet. App. 117a. The rest of the
                 Duke Memorandum consists of “background” discus-
                 sion and instructions for winding down the policy. It
                 is truly remarkable that a Cabinet-level officer would
                 offer such a cursory explanation for a decision that af-
                 fects hundreds of thousands of lives and reverses a
                 longstanding and carefully-reasoned government po-
                 sition. The APA requires more.
                    The Duke Memorandum states that the decision to
                 rescind DACA was based on three sources: the Fifth
                 Circuit’s DAPA decision, this Court’s order affirming
                 that decision by an equally divided Court, and the At-
                 torney General’s letter. The memorandum does not




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                 explain how or why these sources led to the Secre-
                 tary’s decision. Because this superficial explanation
                 fails to explain the Acting Secretary’s reasoning, it
                 does not withstand APA review. See Encino, 136 S. Ct.
                 at 2125.
                      a. The Duke Memorandum’s bare reference to the
                 Fifth Circuit’s DAPA decision does not supply the req-
                 uisite explanation. The memorandum does not ex-
                 plain whether the Acting Secretary was relying on the
                 Fifth Circuit’s procedural ruling (which could have
                 been addressed by providing an opportunity for notice
                 and comment) or its substantive ruling. Nor does it
                 address the significant distinctions between DAPA
                 and DACA. The primary substantive defect identified
                 by the Fifth Circuit was that DAPA encroached upon
                 an “intricate [statutory] process” in the INA for immi-
                 grants “to derive a lawful immigration classification
                 from their children’s immigration status.” Texas, 809
                 F.3d at 179. Under that statutory process, “an appli-
                 cant must (i) have a U.S. citizen child who is at least
                 twenty-one years old, (ii) leave the United States,
                 (iii) wait ten years, and then (iv) obtain one of the lim-
                 ited number of family-preference visas from a United
                 States consulate.” Id. at 179-80. The Fifth Circuit held
                 that DAPA would allow undocumented individuals “to
                 receive the benefits of lawful presence solely on ac-
                 count of their children’s immigration status without
                 complying with any of the requirements, enumerated
                 above, that Congress has deliberately imposed.” Id. at
                 180.
                    There is no comparable “intricate statutory pro-
                 cess” for the individuals eligible for DACA. As a result,
                 there is no basis to conclude, as the Fifth Circuit did




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                 with respect to DAPA, that “Congress has ‘directly ad-
                 dressed the precise question at issue.’” Id. at 186 (ci-
                 tation omitted).6 The Duke Memorandum’s failure to
                 address this distinction raises the possibility that the
                 Acting Secretary acted on a “mistaken assumption”
                 that the Fifth Circuit’s reasoning applies directly to
                 DACA. See Negusie v. Holder, 555 U.S. 511, 522
                 (2009).
                     The Fifth Circuit also concluded that DAPA was a
                 policy of “vast economic and political significance,”
                 and that if Congress intended to create such a policy,
                 it would have done so by express legislation. Texas,
                 809 F.3d at 188 (internal quotation marks omitted).
                 DAPA made approximately four million individuals
                 eligible for deferred action—more than one-third of all
                 undocumented individuals in the United States. Id. at
                 181. By contrast, DACA applies to many fewer indi-
                 viduals and is similar in scale to at least one past dis-
                 cretionary relief program adopted during the Reagan
                 Administration. U.S. Br. at *49, United States v.
                 Texas, 136 S. Ct. 2271 (2016), 2016 WL 836758 (dis-
                 cussing Family Fairness Program).
                     Moreover, the memorandum that created DAPA
                 expressly stated that participants would be “lawfully
                 present in the United States.” Regents Pet. App. 104a.
                 In contrast, the DACA Memorandum does not discuss,
                 or even mention, “lawful presence.” Instead, DACA is
                 a policy of deferred action under which the govern-
                 ment forbears for renewable two-year periods from en-
                 forcement action against individuals considered low

                 6 The Fifth Circuit enjoined the entire DAPA memorandum, in-

                 cluding provisions that moderately expanded DACA, but the
                 court did not say anything about those provisions.




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                 priorities for enforcement. To be sure, longstanding
                 and unchallenged regulations separately provide that
                 individuals receiving deferred action are permitted to
                 work to support themselves during the deferral pe-
                 riod. See 8 C.F.R. § 274a.12(c)(14) (providing for work
                 authorization). But DACA, by its express terms, does
                 not create a path to immigration status or establish
                 lawful presence. Regents Pet. App. 101a (“This memo-
                 randum confers no substantive right, immigration
                 status or pathway to citizenship.”).
                    The Duke Memorandum does not acknowledge or
                 discuss these differences.
                    b. The Duke Memorandum’s reference to this
                 Court’s order affirming the Fifth Circuit’s decision, by
                 an equally divided Court, adds nothing of substance.
                 Such orders have no precedential value. See Neil v.
                 Biggers, 409 U.S. 188, 192 (1972). The Duke Memo-
                 randum fails to acknowledge this basic point.
                     c. The Duke Memorandum’s reference to the At-
                 torney General’s letter makes matters worse by rais-
                 ing additional questions that require an explanation
                 from the Secretary. The Attorney General’s half-page
                 letter states that DACA was “effectuated * * * without
                 proper statutory authority,” and was “an unconstitu-
                 tional exercise of authority by the Executive Branch.”
                 JA 877. The letter asserts, without explanation, that
                 DACA has the same “constitutional defects that the
                 courts recognized as to DAPA.” JA 878. But neither
                 the Fifth Circuit nor any other court has held that
                 DAPA (or DACA) has any “constitutional defects.”
                 Neither the Attorney General nor Acting Secretary




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                 Duke acknowledged or discussed OLC’s detailed opin-
                 ion concluding that DAPA was constitutional.7
                    The Attorney General’s letter also asserts that
                 DACA was implemented “without proper statutory
                 authority,” JA 877, but it neither acknowledges nor
                 addresses the long and unchallenged history of such
                 policies and Congress’s statutory recognition of de-
                 ferred action.
                     The Duke Memorandum’s reference to the Attor-
                 ney General’s letter also raises another problem: the
                 Acting Secretary failed to address 8 U.S.C.
                 § 1103(a)(1), which provides that the “determination
                 and ruling by the Attorney General with respect to all
                 questions of law shall be controlling” on the Secretary
                 of DHS. Ibid. By listing multiple sources and placing
                 the Attorney General’s letter last on the list, the Duke
                 Memorandum suggests that the Acting Secretary did
                 not regard herself as bound by the Attorney General’s
                 letter. But this, along with much else, is unclear. The
                 Acting Secretary should have explained whether she
                 was making an independent determination to rescind
                 DACA, or regarded herself as required to reach that
                 decision under 8 U.S.C. § 1103(a)(1).
                     In addition to providing an inadequate explanation
                 for the legal sources it cites, the Duke Memorandum
                 fails to address highly relevant legal sources that cut
                 against the decision. The memorandum does not
                 acknowledge that its conclusion is directly contrary to
                 a detailed 2014 OLC opinion and the government’s
                 longstanding litigation position. See JA 797-856; U.S.

                 7 The government has not attempted to defend the Attorney Gen-

                 eral’s unexplained statement that DACA is unconstitutional, and
                 has not challenged the constitutionality of DACA.




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                 Br. at *1, Ariz. Dream Act Coal. v. Brewer, 855 F.3d
                 957 (9th Cir. 2017), 2015 WL 5120846. It never ex-
                 plains why the 2014 OLC opinion reached the wrong
                 conclusion, or why the considerations the government
                 previously relied on to defend DHS’s authority to es-
                 tablish a policy such as DACA are no longer valid.
                     For all of these reasons, the Duke Memorandum’s
                 explanation of the decision to rescind DACA is inade-
                 quate. As this Court has explained, it “will not do for
                 a court to be compelled to guess at the theory under-
                 lying the agency’s action; nor can a court be expected
                 to chisel that which must be precise from what the
                 agency has left vague and indecisive.” Chenery II, 332
                 U.S. at 196-97.
                         2. The Nielsen Memorandum Does Not
                            Cure The Defects In The Duke Mem-
                            orandum.
                     The Court should decline to consider the Nielsen
                 Memorandum because it is a post hoc rationalization
                 issued without any supporting administrative record.
                 But even if the Court were to consider the Nielsen
                 Memorandum, it fails to adequately explain the re-
                 scission.
                     Secretary Nielsen asserts that “[t]he Fifth Circuit’s
                 rejection of DAPA and expanded DACA did not turn
                 on whether the covered aliens had a pathway to lawful
                 status (which not all of them had). Rather, it turned
                 on the incompatibility of such a major non-enforce-
                 ment policy with the INA’s comprehensive scheme.”
                 Regents Pet. App. 122a. This statement falls well
                 short of an adequate explanation for the rescission. It
                 still fails to address the differences between DACA
                 and DAPA, Congress’s acknowledgement of deferred




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                 action, the government’s prior defenses of DAPA and
                 DACA, the half-century practice of deferred action,
                 and the detailed OLC opinion.
                    As discussed above, see supra at 28-29, the Nielsen
                 Memorandum’s additional “policy” rationales for re-
                 scinding DACA are largely a repackaging of the ra-
                 tionale that DACA is unlawful. The sole rationale that
                 does not depend on DACA’s lawfulness is that DHS
                 must “project a message that leaves no doubt” that
                 DHS will enforce the immigration laws, given that
                 “tens of thousands of minor aliens have illegally
                 crossed or been smuggled across our border in recent
                 years” and “then have been released into the country
                 owing to loopholes in our laws.” Regents Pet. App.
                 124a.
                     The Nielsen Memorandum does not assert that the
                 “messaging” rationale is sufficient to support the re-
                 scission, nor could it. First, the “messaging” rationale
                 states, in effect, that the government should inflict
                 grievous harm on nearly 700,000 young immigrants
                 living in the United States, each of whom was individ-
                 ually determined to be a low priority for enforcement,
                 in order to send a message to potential immigrants
                 living outside the United States. If such a policy could
                 ever be rational, it would have to be supported by
                 some explanation of what “message” the government
                 intended to send, an evaluation of whether the bene-
                 fits of such a “message” outweigh the obvious and
                 large costs to DACA participants, their families, and
                 communities, and whether the “message” could be de-
                 livered through other less harmful means. If agencies
                 could inflict such grievous harm based solely on a
                 “messaging” rationale unsupported by any facts or




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                 analysis, there would be virtually no limit to the harm
                 they could inflict.
                     Second, the “messaging” rationale is unreasonable
                 on its own terms. DACA has nothing to do with the
                 vaguely described “loopholes in our laws” that have
                 permitted minors to be released rather than detained
                 during the pendency of asylum or other immigration
                 proceedings. DACA applies only to a subset of individ-
                 uals who were residing in the United States as of June
                 15, 2007. It has no bearing on minors that have ille-
                 gally crossed or been smuggled into the United States
                 in “recent years.” An agency cannot base its policies
                 on such irrelevant factors. See Judulang, 565 U.S. at
                 55 (“agency action must be based on non-arbitrary,
                 ‘relevant factors’” (citation omitted)).
                     Third, the “messaging” rationale lacks any support
                 in the administrative record. The Nielsen Memoran-
                 dum cites no record support for the proposition that
                 “thousands of minors” have “illegally crossed or been
                 smuggled” into the United States in “recent years.”
                 The government tries to fill this gap with a Federal
                 Register notice from this summer, see U.S. Br. 40-41,
                 but that notice cannot retroactively justify an action
                 taken nearly two years earlier. The government also
                 fails to explain what beneficial effect the “message”
                 will have. Neither the Nielsen Memorandum nor the
                 government’s brief asserts that the “message” will de-
                 ter or decrease illegal immigration, and there is no
                 analysis, data, or fact-finding supporting such an as-
                 sertion. In the absence of relevant facts, there can be
                 no “rational connection between the facts found and
                 the choice made.” State Farm, 463 U.S. at 43 (citation
                 omitted).




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                     The government also cites a single 15-year old law
                 review article about legalization under IRCA. U.S. Br.
                 41 (citation omitted). The authors state, without cita-
                 tion, that a “fundamental problem with an amnesty is
                 that it creates an expectation of future amnesties.” Pia
                 Orrenius & Madeline Zavodny, What Are the Conse-
                 quences of an Amnesty for Undocumented Immi-
                 grants?, 9 Geo. Pub. Pol’y Rev. 21, 31 (2004). Extend-
                 ing this argument to DACA requires unsupported
                 speculation. DACA does not provide legalization and
                 applies to a fixed population already in the United
                 States as of 2012. There is no reason for potential im-
                 migrants outside the United States, if they are even
                 aware of DACA, to expect that there will be future pol-
                 icies similar to DACA, to foresee that they would be
                 the beneficiaries of such policies, and to change their
                 decisions about immigration as a result. Nor is there
                 any explanation how this hypothesized sequence of
                 events would be prevented by rescinding DACA. Nei-
                 ther the Nielsen Memorandum nor the Duke Memo-
                 randum addresses any of these issues.
                    In sum, even if the Nielsen Memorandum were
                 properly considered, the government’s explanation for
                 rescinding DACA remains “so ambiguous that it falls
                 short of that standard of clarity that administrative
                 orders must exhibit.” Fed. Power Comm’n v. Texaco
                 Inc., 417 U.S. 380, 395-96 (1974).
                         3. The Agency Failed To Give Adequate
                            Consideration To Reliance Interests.
                    The rescission of DACA is also arbitrary and capri-
                 cious because the agency failed to demonstrate that it
                 gave adequate consideration to reliance interests.




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                     When an agency reverses a policy previously in ef-
                 fect, a “reasoned explanation” must include reasons
                 “for disregarding facts and circumstances that under-
                 lay or were engendered by the prior policy.” FCC v.
                 Fox Television Stations, 566 U.S. 502, 516 (2009).
                 Where “serious reliance interests [are] at stake,” the
                 agency must offer more than “conclusory statements.”
                 Encino, 136 S. Ct. at 2127.
                    The Duke Memorandum never mentions the reli-
                 ance interests created by the DACA policy. For more
                 than five years, DACA participants have enrolled in
                 degree programs, embarked on careers, started busi-
                 nesses, purchased homes, and even married and had
                 children, all in reliance on the benefits of the DACA
                 policy, principally that they would be free from arrest
                 and deportation and could lawfully work. See, e.g.,
                 SER1470-72, Topics 1, 2, 4, 5. Employers and educa-
                 tional institutions likewise will lose their extensive in-
                 vestments in DACA participants if those participants
                 became ineligible to work or are deported. See, e.g.,
                 SER832-33.
                    There are nearly 700,000 DACA participants and
                 they support nearly 200,000 U.S.-citizen children
                 through their lawful work. SER1155 (Wong Decl.). Be-
                 ginning the day the rescission were permitted to go
                 into effect, and every day thereafter, nearly one thou-
                 sand DACA participants would lose their DACA
                 grants and their work authorizations as the two-year
                 term of the grants expired. SER1459.
                     For Mitchell Santos Toledo, who arrived in the
                 United States when he was less than two years old,
                 “DACA has been and continues to be central to [his]
                 ability to financially support [him]self and [his] fam-
                 ily.” JA 954, 964 (Santos Toledo Decl.). DACA enabled




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                 him to complete his studies at the University of Cali-
                 fornia and enroll at Harvard Law School. Id. at 960-
                 63. He is working to support himself and has taken
                 out loans to permit him to complete his studies. Id. at
                 960, 963. If the rescission were permitted to go into
                 effect, he would be unable to lawfully work in the
                 United States. He would lose whatever job he has,
                 along with any employer-sponsored health insurance.
                 Id. at 960-61. On any day, at any time, at home or in
                 public, he could be arrested by federal immigration
                 authorities and deported to a country he has not lived
                 in since he was two years old. The rescission of DACA
                 would result in similarly catastrophic consequences to
                 hundreds of thousands of individuals.
                     The consequences of rescinding DACA would not
                 be limited to DACA participants themselves, but
                 would radiate outward to their families, schools, and
                 employers. For example, many DACA participants are
                 school teachers. SER382-83 (Carrizales Decl.). Their
                 students would lose their classroom teachers when
                 their DACA grants expire. Other DACA participants
                 are studying to become doctors, and many will work
                 in under-served communities. SER761. They could
                 not treat patients if DACA is rescinded. In the aggre-
                 gate, DACA participants’ work in the lawful labor
                 force is estimated to generate $215 billion in economic
                 activity and $60 billion in tax revenue over the next
                 ten years. SER359 (Brannon & Albright Decl.).
                     The Duke Memorandum never even acknowledges,
                 let alone weighs, these reliance interests and the dev-
                 astating consequences of the rescission on the hun-
                 dreds of thousands of DACA participants and the
                 countless other stakeholders who have come to rely on
                 the policy. Regents Pet. App. 111a-19a. Nor does the




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                 administrative record contain any assessment of
                 those interests. The wholesale disregard for the seri-
                 ous reliance interests of hundreds of thousands of in-
                 dividuals, their families, their employers, and their
                 communities renders the decision to rescind DACA ar-
                 bitrary and capricious decisionmaking. See Encino,
                 136 S. Ct. at 2127 (“In light of the serious reliance in-
                 terests at stake, the Department’s conclusory state-
                 ments do not suffice to explain its decision.”).
                     The Nielsen Memorandum’s brief reference to reli-
                 ance interests is both too little and too late. This post
                 hoc document, issued without any supporting record,
                 fails to provide anything more than conclusory state-
                 ments about the enormous reliance interests impli-
                 cated by DACA. Secretary Nielsen’s passing state-
                 ment that she is “keenly aware” of DACA participants’
                 reliance interests is insufficient. Regents Pet. App.
                 125a. She completely failed to identify the nature and
                 extent of the reliance interests implicated by the re-
                 scission, instead referring in a vague and conclusory
                 fashion to the “sympathetic circumstances of DACA
                 recipients.” Ibid. The issue is not “sympathetic cir-
                 cumstances,” but rather an agency decision that will
                 systematically immiserate 700,000 people and their
                 families, taken without any serious discussion of
                 those consequences or whether they could be miti-
                 gated. Indeed, her stated reason for disregarding the
                 serious reliance interests is because “issues of reliance
                 would best be considered by Congress.” Ibid. That is
                 not an evaluation of reliance interests, but an abdica-
                 tion of the agency’s responsibility to conduct an eval-
                 uation.




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                    B.     DACA Is Lawful.
                     To date, no court has issued a final decision on
                 whether DACA is legal. Because this Court is “a court
                 of review, not of first view,” Cutter v. Wilkinson, 544
                 U.S. 709, 718 n.7 (2005), it should not decide that is-
                 sue at this stage of the litigation. If the Court were
                 nevertheless to reach the issue, it should hold that
                 DACA is lawful.
                     The issue is not whether the rescission of DACA
                 was “reasonable,” U.S. Br. 33, but whether the
                 agency’s legal rationale is correct. The APA provides
                 that courts “shall” set aside agency action that is “not
                 in accordance with law.” 5 U.S.C. § 706(2)(A). This
                 Court has not hesitated to set aside agency action for
                 legal error. E.g., Negusie, 555 U.S. at 516 (remanding
                 for agency to “confront the same question free of [its]
                 mistaken legal premise”); Massachusetts, 549 U.S. at
                 532-34 (setting aside agency decision premised on
                 misinterpretation of its legal authority); Chenery I,
                 318 U.S. at 94 (“an order may not stand if the agency
                 has misconceived the law”).
                         1. DACA Is A Lawful Exercise Of Au-
                            thority Conferred By The INA.
                     The INA confers authority to “[e]stablish[] na-
                 tional immigration enforcement policies and priori-
                 ties.” 6 U.S.C. § 202(5). Beginning with President Ei-
                 senhower, every administration has exercised this au-
                 thority to “defer action” against otherwise removable
                 immigrants, both in individual cases and with respect
                 to particular categories of immigrants deemed to be
                 low priorities for enforcement. See supra at 2-4 (sum-
                 marizing history of deferred action policies). As this




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                 Court has recognized, the executive has been “engag-
                 ing in a regular practice (which had come to be known
                 as ‘deferred action’)” of exercising enforcement discre-
                 tion “for humanitarian reasons or simply for its own
                 convenience.” AADC, 525 U.S. at 483-84.
                     “Congress has long been aware of the practice of
                 granting deferred action, including in its categorical
                 variety, and of its salient features; and it has never
                 acted to disapprove or limit the practice.” JA 828 (OLC
                 opinion); see also Zivotofsky ex rel. Zivotofsky v. Kerry,
                 135 S. Ct. 2076, 2094 (2015) (relying on “[t]he weight
                 of historical evidence” as indicating that “Congress
                 has accepted” executive’s power). Indeed, Congress
                 has expressly recognized deferred action in several
                 statutes. See, e.g., 8 U.S.C. §§ 1227(d)(2), 1151 note,
                 1154(a)(1)(D)(i)(II), (IV); 49 U.S.C. § 30301 note. In
                 the Real ID Act of 2005, Congress accepted “approved
                 deferred action status” as “[e]vidence of [l]awful [s]ta-
                 tus” for purposes of determining whether state-issued
                 driver’s licenses or identification cards could be used
                 at the federal level. 49 U.S.C. § 30301 note. And Con-
                 gress expressly recognized the executive’s use of de-
                 ferred action in authorizing DHS to grant administra-
                 tive stays of final orders of removal to T and U visa
                 applicants. 8 U.S.C. § 1227(d)(2) (“denial of a request
                 for an administrative stay of removal under this sub-
                 section shall not preclude the alien from applying for
                 * * * deferred action”). As the government previously
                 argued to this Court, these statutes “highlight Con-
                 gress’s continued acceptance of this flexible and dis-
                 cretionary practice.” U.S. Br. at *58, Texas, 136 S. Ct.
                 2271, 2016 WL 836758 (internal quotation marks
                 omitted).




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                     Congress enacted these statutes against the back-
                 drop of longstanding regulations that enable those
                 with deferred action to access benefits like work au-
                 thorizations. See 8 C.F.R. § 274a.12(c)(14) (1987). And
                 Congress itself has expressly allowed employers to
                 hire any undocumented individual “authorized to be
                 * * * employed by th[e INA] or by [the Secretary of
                 DHS].” 8 U.S.C. § 1324a(h)(3) (emphasis added).
                     The government recognizes that DHS has “broad
                 discretion” to implement deferred action so long as it
                 does so through the use of case-by-case determina-
                 tions. See U.S. Br. 40, 45; see also JA 827 n.8 (OLC
                 opinion) (DACA “would be permissible, provided that
                 immigration officials retained discretion to evaluate
                 each application on an individualized basis.”). The
                 DACA Memorandum satisfies this standard. It ex-
                 pressly provides that “requests for relief pursuant to
                 this memorandum are to be decided on a case by case
                 basis.” Regents Pet. App. 99a; see also id. at 99a-100a
                 (discretion should be exercised “on an individual ba-
                 sis”; “DHS cannot provide any assurance that relief
                 will be granted in all cases”).
                    Case-by-case discretion has also been exercised in
                 practice. The OLC opinion observes that “DHS evalu-
                 ates applicants’ eligibility for DACA on a case-by-case
                 basis.” JA 827. As the Ninth Circuit noted, “in fiscal
                 year 2016, * * * 17.8% of the applications acted upon
                 were denied.” See Regents Pet. Supp. App. 51a (“the
                 denial rate has risen as the DACA program has ma-
                 tured”). Although the Fifth Circuit in Texas relied on
                 a conclusion that, based on experience in the DACA
                 policy, DAPA would not be applied on a true-case-by-
                 case basis, the evidence now demonstrates that DACA
                 has been administered in precisely that way. See Br.




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                 for Amici Texas v. United States Defendant-Interve-
                 nor DACA Recipients and State of New Jersey at 9-25
                 (“N.J. Br.”) (collecting evidence).8 For example, the
                 Associate Director for USCIS Service Center Opera-
                 tions has testified that “USCIS has denied DACA even
                 when all the DACA guidelines, including public safety
                 considerations, have been met.” Neufeld Decl., Texas
                 Dkt. 130-11 ¶ 18 (S.D. Tex. 2015); see also N.J. Br. 11
                 (“DACA can be denied if [USCIS] determine[s] that
                 the person doesn’t merit a favorable exercise of discre-
                 tion,” including due to “the totality of the circum-
                 stances.” (citation and emphasis omitted)).9 And, as of
                 2015, “approximately 200,000 requests for additional
                 evidence had been made upon receipt of DACA appli-
                 cations.” Texas, 809 F.3d at 175. The government does
                 not dispute any of this evidence, but instead asserts
                 that DACA creates “an implicit presumption” that el-
                 igible applications will be granted. U.S. Br. 39. Even
                 if that were true, however, it would not distinguish


                 8 The Fifth Circuit relied in part on the 2014 declaration of a un-

                 ion representative who subsequently testified that that he has
                 no firsthand knowledge of reviewing DACA applications. N.J. Br.
                 25-27. The government’s brief asserts that the “approval rate for
                 initial requests for DACA is 91% since its adoption in 2012.” U.S.
                 Br. 39 n.7. The 91% figure is not in the administrative record and
                 appears to leave out individuals denied at the “lockbox” stage.
                 Moreover, the government does not argue that this approval rate
                 demonstrates that DACA is non-discretionary.
                 9 The Duke Memorandum asserts in a footnote that “USCIS has

                 not been able to identify specific denial cases where an applicant
                 appeared to satisfy the programmatic categorical criteria as out-
                 lined in the June 15, 2012 memorandum, but still had his or her
                 application denied based solely upon discretion.” Regents Pet.
                 App. 112a-13a n.1. That statement is contrary to the testimony
                 of the responsible government personnel, and the government’s
                 brief does not rely on it.




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                 DACA from the many previous discretionary relief
                 policies implemented by the government.
                     The DACA policy is congruent with historical and
                 current government practice. For example, the gov-
                 ernment currently maintains a deferred-action policy
                 for the “spouse, widow(er), parent, son, or daughter”
                 of military members and veterans. See Discretionary
                 Options for Military Members, Enlistees and Their
                 Families, available at https://bit.ly/2kLe3ho. In addi-
                 tion, the Family Fairness Program exceeded the size
                 of the current DACA-participant population. See U.S.
                 Br. at *49, Texas, 136 S. Ct. 2271, 2016 WL 836758
                 (estimating that program “targeted as many as 1.5
                 million people, about 40% of the undocumented popu-
                 lation at the time”).
                    The Family Fairness Program was established fol-
                 lowing the passage of IRCA, in which Congress
                 granted lawful status to millions of undocumented im-
                 migrants meeting certain criteria. The statutory le-
                 galization did not extend to those immigrants’ spouses
                 and children. Nevertheless, the INS, in 1987, decided
                 to “indefinitely defer deportation” for (1) ineligible
                 spouses and children who could show compelling or
                 humanitarian factors; and (2) ineligible unmarried
                 minor children who could show that both parents (or
                 their only parent) had obtained lawful temporary res-
                 ident status. SER1231-32.
                    In 1990, the INS adopted an expanded version of
                 the program establishing programmatic criteria that
                 bound agency officers, and granted extended volun-
                 tary departure and work authorization. See Dkt. 121-
                 1 at 26-27 (“Voluntary departure will be granted to the
                 spouse and to unmarried children under 18 years of




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                 age” meeting certain requirements and “[w]ork au-
                 thorization will be granted” (emphasis added)). Any
                 ineligible spouse or minor child of an individual legal-
                 izing under IRCA would be entitled to relief upon
                 showing that he or she (1) had been residing in the
                 country by the date of IRCA’s enactment; (2) was oth-
                 erwise inadmissible; (3) had not been convicted of a
                 felony or three misdemeanors; and (4) had not as-
                 sisted in persecution of persons. Ibid.
                     After the expanded program was implemented,
                 Congress ratified it by passing legislation providing
                 relief to the participants in the program. The legisla-
                 tion effectively recognized the validity of INS’s man-
                 datory, programmatic policy by delaying the effective-
                 ness of the legislation for one year, but providing that
                 the one-year delay “shall not be construed as reflect-
                 ing a Congressional belief that the existing family
                 fairness program should be modified in any way be-
                 fore such date.” Pub. L. No. 101-649, Tit. III, § 301(g),
                 104 Stat. 5030. Congress thus conveyed its view that
                 a broad-based mandatory relief policy is within the ex-
                 ecutive’s authority.
                     In accordance with these precedents, the Execu-
                 tive Branch, until September 2017, had concluded
                 that DACA falls within its authority to employ de-
                 ferred action to effectuate its enforcement priorities.
                 See Regents Pet. App. 99a (DACA Memorandum); JA
                 827 n.8 (OLC opinion).
                         2. The Government’s Arguments That
                            DACA Is Unlawful Lack Merit.
                    The government seems to agree that DHS has
                 broad authority to implement deferred action, but




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                 now contends that it is not authorized to grant the re-
                 lief provided by the DACA Memorandum. In straining
                 to portray DACA as unlawful, the government mis-
                 states what DACA does. The government’s brief de-
                 scribes DACA as “grant[ing] deferred action to a vast
                 category of aliens,” U.S. Br. 34, and “informing
                 roughly 1.7 million aliens that they may continue vio-
                 lating federal law without fear of enforcement,” id. at
                 45. But the DACA Memorandum does no such thing.
                 As explained above, it does not require that deferred
                 action be granted to a “category” of individuals. Even
                 those who have received DACA may have it revoked
                 or non-renewed if circumstances warrant. Dkt. 121-1
                 at 201 (DACA Toolkit); cf. Regents Pet. App. 66a-67a.
                     In describing the DACA policy, the government
                 disregards the actual language of the DACA Memo-
                 randum, which does not dictate a categorical outcome,
                 but rather sets out criteria to guide the exercise of dis-
                 cretion by subordinate agency officials in evaluating
                 particular cases. See supra at 46-47. These guidelines
                 implement rather than supplant the Secretary’s dis-
                 cretion. As the government acknowledges, some “su-
                 pervisory control over [agency] discretion is necessary
                 to avoid arbitrariness and ensure consistency.” U.S.
                 Br. 22 (citation omitted). The government knows how
                 to require subordinate officials to provide relief from
                 removal. It did so in the Family Fairness Program, see
                 supra at 48-49, but did not do so in the case of DACA.
                     Even if DACA could properly be understood as a
                 “categorical” policy, the government acknowledges
                 that it has adopted numerous such “categorical” poli-
                 cies in the past. See U.S. Br. 46-47. The government
                 attempts to distinguish these policies as either “coun-




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                 try-specific” or “interstitial.” Id. at 34, 48. But the de-
                 ferred action policies described above do not fit either
                 description. See supra at 48-49. And the government
                 does not explain why a “country-specific” deferred-ac-
                 tion policy is more or less lawful than other “categori-
                 cal” policies.
                     Likewise, the government’s “interstitial” standard
                 fails to meaningfully distinguish DACA from other
                 discretionary relief policies. For instance, the govern-
                 ment consigns to a footnote a reference to its Guidance
                 Regarding Surviving Spouses of Deceased U.S. Citi-
                 zens and their Children. U.S. Br. 47 n.8. Individuals
                 eligible for deferred action under this policy—certain
                 surviving spouses of deceased U.S. citizens where the
                 surviving spouse and the U.S. citizen were married
                 less than two years at the time of the citizen’s death—
                 had “no avenue of immigration relief.” Dkt. 121-1 at
                 85 (Memorandum from Donald Neufeld, Acting Assoc.
                 Dir., Office of Domestic Operations, USCIS, to Field
                 Leadership, USCIS, Guidance Regarding Surviving
                 Spouses of Deceased U.S. Citizens and their Children
                 (Sept. 4, 2009)). Although there was “proposed legis-
                 lation in the U.S. Congress” to address these spouses
                 and children, USCIS nonetheless allowed them to re-
                 ceive deferred action. Ibid. Although Congress even-
                 tually passed legislation addressing this issue, JA 826
                 n.7, there was no way of knowing in advance whether
                 the policy was “interstitial” when it was adopted.
                 Should Congress eventually pass legislation granting
                 immigration status to DACA participants, DACA
                 would similarly be seen as “interstitial” in hindsight.
                    The government’s efforts to distinguish the Family
                 Fairness Program are unpersuasive. According to the
                 government, the difference between that program and




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                 DACA is that there was an arguable statutory basis
                 for “extended voluntary departure” in the INA at the
                 time of the Family Fairness Program. But deferred ac-
                 tion also has a statutory basis, as the government rec-
                 ognizes, see U.S. Br. 43 (citing 6 U.S.C. § 202(5),
                 8 U.S.C. § 1103(a)(3)).
                     The government also asserts that DACA rests on
                 the agency’s “discover[y]” of an “unheralded power,”
                 resulting in a decision of “vast ‘economic and political
                 significance’ without any warrant from Congress.”
                 U.S. Br. 45 (citations omitted). But nothing about
                 DACA is “unheralded.” Discretionary relief from re-
                 moval is well-trodden ground, whether granted
                 through case-by-case discretion with guidelines, see,
                 e.g., AADC, 525 U.S. at 484 n.8, or through mandatory
                 programmatic criteria, see supra at 48-49.
                     This case differs from Utility Air Regulatory Grp.
                 v. EPA, 573 U.S. 302 (2014) and FDA v. Brown & Wil-
                 liamson Tobacco Corp., 529 U.S. 120 (2000), in which
                 an agency asserted newly unearthed powers to regu-
                 late previously unregulated activities. Here, in con-
                 trast, the government does not dispute that DHS
                 could grant deferred action to each of the individuals
                 eligible for DACA. See Regents Pet. App. 125a (“the
                 rescission of the DACA policy does not preclude the
                 exercise of deferred action in individual cases if cir-
                 cumstances warrant”). There is likewise agreement
                 that the government lacks the resources to remove
                 every undocumented immigrant in the United States
                 and must accordingly set “policies and priorities.” 6
                 U.S.C. § 202(5). Unlike the truly “unheralded” powers
                 at issue in Utility Air and Brown & Williamson, the
                 DACA Memorandum adopts common-sense criteria to




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                 prioritize DHS’s enforcement through its recognized
                 deferred-action authority.
                    In sum, DHS erroneously concluded that it lacks
                 authority to maintain the DACA policy. As a result,
                 the rescission of DACA was “not in accordance with
                 law,” and must be set aside. 5 U.S.C. § 706(2)(A).
                         3. “Litigation Risk” Is Not A Valid, In-
                            dependent Basis For Rescinding
                            DACA.
                    The government argues that “litigation risk,” as
                 opposed to a determination that DACA is unlawful,
                 provided a separate rationale for the rescission. That
                 argument fails for several reasons.
                     First, the Duke Memorandum never mentions
                 “risk,” and never identifies, much less weighs, any
                 risks or benefits of litigation. Indeed, the drafter of the
                 Duke Memorandum testified that a policy of respond-
                 ing to “litigation risk” would be “the craziest policy you
                 could have in a department.” JA 1007.
                     Second, “litigation risk” is not an adequate, inde-
                 pendent rationale for agency action. If it were, agen-
                 cies could avoid meaningful APA review of their legal
                 conclusions simply by relabeling them as “litigation
                 risk” assessments. See Int’l Union, United Mine Work-
                 ers of Am. v. U.S. Dep’t of Labor, 358 F.3d 40, 44 (D.C.
                 Cir. 2004) (litigation risk was not valid ground upon
                 which to act); Organized Vill. of Kake v. U.S. Dep’t of
                 Agric., 795 F.3d 956, 970 (9th Cir. 2015) (en banc) (re-
                 jecting litigation risk rationale). Moreover, “litigation
                 risk” is simply a prediction about legality. See Regents
                 Pet. Supp. App. 35a n.14. Allowing agencies to circum-
                 vent judicial review of that ultimate issue would vio-
                 late the APA’s instruction that “the reviewing court,”




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                 rather than the agency, “shall decide all relevant
                 questions of law.” 5 U.S.C. § 706.
                     Third, even if “litigation risk” could qualify as a
                 valid reason for agency action in some circumstances,
                 DHS utterly failed to engage in a reasoned assess-
                 ment of litigation risk. See State Farm, 463 U.S. at 43.
                 For example, the government asserts that DHS was
                 concerned about an “immediate[]” judicial end of
                 DACA, U.S. Br. 37, but it never addressed the obvious
                 point that the risk that Texas and other states could
                 obtain a preliminary injunction abruptly ending
                 DACA was greatly reduced by the years-long delay in
                 seeking such an injunction, as well as the powerful eq-
                 uities weighing against such an injunction. Indeed,
                 when the plaintiffs in Texas finally sought a prelimi-
                 nary injunction, the district court denied the motion
                 because it came too late and was inequitable. Texas v.
                 United States, 328 F. Supp. 3d 662, 736-42 (S.D. Tex.
                 2018).
                     The government also failed to address the litiga-
                 tion risks created by rescinding DACA. This aspect of
                 litigation risk undermines the government’s claim
                 that the rescission was necessary because “‘burden-
                 some litigation’ * * * could distract from the agency’s
                 work.” U.S. Br. 33. In any event, Secretary Duke
                 never articulated such a concern, and Secretary Niel-
                 sen merely speculated that “a law enforcement
                 agency” may want to avoid legally questionable poli-
                 cies for several reasons, including “the threat of bur-
                 densome litigation.” Regents Pet. App. 123a (emphasis
                 added).
                    Fourth, the post hoc Nielsen Memorandum states
                 only that Secretary Nielsen “lack[ed] sufficient confi-
                 dence in the DACA policy’s legality to continue this




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                 non-enforcement policy, whether the courts would ul-
                 timately uphold it or not.” Ibid. Such a vague and con-
                 clusory statement is insufficient. An agency cannot
                 “merely recite the terms ‘substantial uncertainty’ as a
                 justification for its actions” and comply with the APA.
                 State Farm, 463 U.S. at 52.
                     C.      This Court Should Not Rule For The
                             Government Without A Complete Ad-
                             ministrative  Record,    Particularly
                             Given The Evidence Of Pretext.
                          1. The Administrative Record Is Incom-
                             plete.
                    Judicial review of agency action under the APA is
                 on “the whole record,” 5 U.S.C. § 706, which requires
                 that the Court have access to “the full administrative
                 record that was before the Secretary at the time he
                 made his decision,” Overton Park, 401 U.S. at 420.
                     That requirement has not been satisfied here. Two
                 district courts have determined that the administra-
                 tive record is incomplete, and two courts of appeals
                 have upheld that determination.10 Those rulings are
                 entirely reasonable. It is implausible that Acting Sec-
                 retary Duke rescinded a policy directly affecting
                 700,000 individuals based on nothing more than a
                 handful of judicial opinions and other public docu-
                 ments. Documents obtained in response to Freedom of




                 10 Dkts. 79, 266; In re United States, 875 F.3d at 1205, judgment

                 vacated, 138 S. Ct. 443; Batalla Vidal Dkt. 89 at 3; In Re: Kirstjen
                 M. Nielsen, No. 17-3345 (2d. Cir. Dec. 27, 2017).




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                 Information Act requests, and subject to judicial no-
                 tice, confirm that the administrative record is incom-
                 plete.11
                    Without access to the full body of evidence and
                 analysis that was before Acting Secretary Duke at the
                 time of her decision, the Court is not in a position to
                 determine that her decision survives arbitrary and ca-
                 pricious review. See State Farm, 463 U.S. at 43 (arbi-
                 trary and capricious review considers whether agency
                 “entirely failed to consider an important aspect of the
                 problem” or “offered an explanation * * * that runs
                 counter to the evidence before the agency”). Given the
                 interlocutory posture of Regents and Batalla Vidal, a
                 ruling by this Court that the rescission was not arbi-
                 trary and capricious would be premature.
                          2. There Is Evidence That DHS’s Expla-
                             nation Is Pretextual.
                     The need for a complete administrative record is
                 confirmed by disturbing indications that the govern-
                 ment’s stated reasons for rescinding DACA are not the
                 true reasons for its decision. Judicial review under the
                 APA requires the agency to disclose the actual basis
                 for its action. Dep’t of Commerce, 139 S. Ct. at 2573.
                 “The reasoned explanation requirement of adminis-
                 trative law, after all, is meant to ensure that agencies
                 offer genuine justifications for important decisions,
                 reasons that can be scrutinized by courts and the in-



                 11 For example, these documents describe a “Principals Commit-

                 tee Deferred Action for Childhood Arrivals” meeting on August
                 24, 2017, where it “was agreed that” DACA “is unlawful and will
                 be ended.” Make the Road N.Y. v. DHS, No. 18-cv-2445, Dkt. 63-
                 1 at 209 (E.D.N.Y.).




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                 terested public.” Id. at 2575-76 (emphasis added). Ac-
                 cordingly, agency action must be set aside where the
                 “explanation for agency action * * * is incongruent
                 with what the record reveals about the agency’s prior-
                 ities and decisionmaking process.” Id. at 2575. Here,
                 the government’s explanation does not square with
                 what appear to be its actual priorities and deci-
                 sionmaking process.
                    For example, when Attorney General Sessions an-
                 nounced the rescission, he stated that DACA denies
                 Americans jobs and contributes to crime. SER1354-
                 55. These rationales were not included in the Duke
                 Memorandum, and there is no support for them in the
                 administrative record. Indeed, DACA participants are
                 required as a condition of the policy not to have com-
                 mitted any serious crime, Regents Pet. App. 98a, and
                 the undisputed evidence shows that the DACA policy
                 makes a positive contribution to the economy,
                 SER359.
                    There is also evidence that the Administration re-
                 scinded DACA to gain leverage in negotiations with
                 Congress over funding for a border wall and other im-
                 migration matters. On October 8, 2017, for example,
                 President Trump sent a letter to congressional leaders
                 setting out “Immigration Principles and Policies” that
                 “must be included as part of any legislation address-
                 ing the status of [DACA] recipients.” JA 982. These
                 “Principles and Policies” included funding for a border
                 wall. See also Donald J. Trump (@realDonaldTrump),
                 Twitter      (Dec.     29,     2017,     5:16     AM),
                 https://goo.gl/aZ19im (“The Democrats have been told,
                 and fully understand, that there can be no DACA
                 without the desperately needed WALL at the South-




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                 ern Border and an END to the horrible Chain Migra-
                 tion & ridiculous Lottery System of Immigration
                 etc.”); Donald J. Trump (@realDonaldTrump), Twitter
                 (Jan. 23, 2018, 8:07 PM), https://goo.gl/Zz46iq (“[I]f
                 there is no Wall, there is no DACA.”); Donald J.
                 Trump (@realDonaldTrump), Twitter (Feb. 5, 2018,
                 6:36 AM), https://goo.gl/BpvHV6 (“Any deal on DACA
                 that does not include STRONG border security and
                 the desperately needed WALL is a total waste of
                 time.”). These statements indicate that the Admin-
                 istration rescinded DACA in order to create a legisla-
                 tive bargaining chip. See, e.g., Make the Road N.Y. No.
                 18-cv-2445, Dkt. 63-1.
                    Finally, the President has indicated that he may
                 “revisit” the rescission. See Donald J. Trump (@real-
                 DonaldTrump), Twitter (Sept. 5, 2017, 8:38 PM),
                 https://tinyurl.com/y7f2y6tj. That statement is at odds
                 with Acting Secretary Duke’s explanation that the
                 policy must be ended because it is unlawful, since if
                 the policy were unlawful, there would be nothing to
                 “revisit.”
                    The evidence that the government’s asserted rea-
                 sons for rescinding DACA are not its actual reasons
                 provides an additional basis for affirming the injunc-
                 tion.

                                    CONCLUSION
                    The judgment of the court of appeals should be af-
                 firmed.




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                                            Respectfully submitted,

                  Jeffrey M. Davidson       Robert A. Long
                  David Watnick               Counsel of Record
                  COVINGTON &               Lanny A. Breuer
                  BURLING LLP               Mark H. Lynch
                  415 Mission Street,       Alexander A. Berengaut
                  Suite 5400                Megan A. Crowley
                  San Francisco, CA         Ivano M. Ventresca
                  94105                     COVINGTON & BURLING LLP
                  (415) 591-6000            One CityCenter
                                            850 Tenth Avenue, NW
                  Charles F. Robinson       Washington, DC 20001
                  Margaret Wu               (202) 662-6000
                  Sonya Sanchez
                  University of
                  California
                  Office of the General
                  Counsel
                  1111 Franklin Street,
                  8th Floor
                  Oakland, CA 94607
                  (510) 987-9800

                      Counsel for The Regents of the University of
                          California and Janet Napolitano

                 Justin T. Berger
                 Brian Danitz
                 Tamarah Prevost
                 COTCHETT, PITRE
                 &MCCARTHY, LLP
                 840 Malcolm Road,
                 Suite 200
                 Burlingame, CA 94010
                 (650) 697-6000

                  Counsel for City of San
                  José




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                                        APPENDIX
                 1. 8 U.S.C. § 1151 note provides:
                     * * *
                     EXTENSION OF POSTHUMOUS BENEFITS TO
                   SURVIVING SPOUSES, CHILDREN, AND PARENTS
                 Pub. L. 108-136, div. A, title XVII, §1703(a)-(e), Nov.
                 24, 2003, 117 Stat. 1693, provided that:
                     * * *
                 (c) SPOUSES AND CHILDREN OF LAWFUL PERMANENT
                     RESIDENT ALIENS.—
                       (1) TREATMENT AS IMMEDIATE RELATIVES.—

                             (A) IN GENERAL.—A spouse or child of an al-
                                 ien described in paragraph (3) who is in-
                                 cluded in a petition for classification as a
                                 family-sponsored immigrant under sec-
                                 tion 203(a)(2) of the Immigration and
                                 Nationality Act (8 U.S.C. 1153(a)(2))
                                 that was filed by such alien, shall be con-
                                 sidered (if the spouse or child has not
                                 been admitted or approved for lawful
                                 permanent residence by such date) a
                                 valid petitioner for immediate relative
                                 status under section 201(b)(2)(A)(i) of the
                                 Immigration and Nationality Act (8
                                 U.S.C. 1151(b)(2)(A)(i)). Such spouse or
                                 child shall be eligible for deferred action,
                                 advance parole, and work authorization.
                             (B) PETITIONS.—An alien spouse or child de-
                                 scribed in subparagraph (A) may file a
                                              1a




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                              petition with the Secretary of Homeland
                              Security for classification of the alien un-
                              der section 201(b)(2)(A)(i) of the Immi-
                              gration and Nationality Act (8 U.S.C.
                              1151(b)(2)(A)(i)). For purposes of such
                              Act [8 U.S.C. 1101 et seq.], such a peti-
                              tion shall be considered a petition filed
                              under section 204(a)(1)(A) of such Act (8
                              U.S.C. 1154(a)(1)(A)).
                       (2) SELF-PETITIONS.—Any spouse or child of an
                           alien described in paragraph (3) who is not
                           a beneficiary of a petition for classification
                           as a family-sponsored immigrant may file a
                           petition for such classification under section
                           201(b)(2)(A)(i) of the Immigration and Na-
                           tionality Act (8 U.S.C. 1151(b)(2)(A)(i)) with
                           the Secretary of Homeland Security, but
                           only if the spouse or child files a petition
                           within 2 years after such date. Such spouse
                           or child shall be eligible for deferred action,
                           advance parole, and work authorization.

                       (3) ALIEN DESCRIBED.—An alien is described in
                           this paragraph if the alien—

                          (A) served honorably in an active duty status
                              in the military, air, or naval forces of the
                              United States;
                          (B) died as a result of injury or disease in-
                              curred in or aggravated by combat; and
                          (C) was granted posthumous citizenship un-
                              der section 329A of the Immigration and
                              Nationality Act (8 U.S.C. 1440-1).




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                                              3a

                 (d) PARENTS OF LAWFUL PERMANENT RESIDENT AL-
                     IENS.—

                       (1) SELF-PETITIONS.—Any parent of an alien
                           described in paragraph (2) may file a peti-
                           tion for classification under section
                           201(b)(2)(A)(i) of the Immigration and Na-
                           tionality Act (8 U.S.C. 1151(b)(2)(A)(i)), but
                           only if the parent files a petition within 2
                           years after such date. For purposes of such
                           Act [8 U.S.C. 1101 et seq.], such petition
                           shall be considered a petition filed under
                           section 204(a)(1)(A) of such Act (8 U.S.C.
                           1154(a)(1)(A)). Such parent shall be eligible
                           for deferred action, advance parole, and
                           work authorization.

                       (2) ALIEN DESCRIBED.—An alien is described in
                           this paragraph if the alien-

                             (A) served honorably in an active duty status
                                 in the military, air, or naval forces of the
                                 United States;
                             (B) died as a result of injury or disease in-
                                 curred in or aggravated by combat; and
                             (C) was granted posthumous citizenship un-
                                der section 329A of the Immigration and
                                Nationality Act (8 U.S.C. 1440-1).
                     * * *




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                                          4a

                 2. 8 U.S.C. § 1154 provides:
                     Procedure for granting immigrant status
                 (a) PETITIONING PROCEDURE
                     * * *
                             (D)(i)(I) Any child who attains 21 years
                             of age who has filed a petition under
                             clause (iv) of subsection (a)(1)(A) of this
                             section or subsection (a)(1)(B)(iii) of this
                             section that was filed or approved before
                             the date on which the child attained 21
                             years of age shall be considered (if the
                             child has not been admitted or approved
                             for lawful permanent residence by the
                             date the child attained 21 years of age) a
                             petitioner for preference status under
                             paragraph (1), (2), or (3) of section
                             1153(a) of this title, whichever para-
                             graph is applicable, with the same prior-
                             ity date assigned to the self-petition filed
                             under clause (iv) of subsection (a)(1)(A)
                             of this section or subsection (a)(1)(B)(iii)
                             of this section. No new petition shall be
                             required to be filed.
                             (II) Any individual described in sub-
                             clause (I) is eligible for deferred action
                             and work authorization.
                             (III) Any derivative child who attains 21
                             years of age who is included in a petition
                             described in clause (ii) that was filed or
                             approved before the date on which the
                             child attained 21 years of age shall be




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                                             5a

                                considered (if the child has not been ad-
                                mitted or approved for lawful permanent
                                residence by the date the child attained
                                21 years of age) a VAWA self-petitioner
                                with the same priority date as that as-
                                signed to the petitioner in any petition
                                described in clause (ii). No new petition
                                shall be required to be filed.
                                (IV) Any individual described in sub-
                                clause (III) and any derivative child of a
                                petition described in clause (ii) is eligible
                                for deferred action and work authoriza-
                                tion.
                     * * *
                 3. 8 U.S.C. § 1227 provides:
                     Deportable aliens
                     * * *
                 (d) ADMINISTRATIVE STAY
                       (1) If the Secretary of Homeland Security deter-
                           mines that an application for nonimmigrant
                           status under subparagraph (T) or (U) of sec-
                           tion 1101(a)(15) of this title filed for an alien
                           in the United States sets forth a prima facie
                           case for approval, the Secretary may grant
                           the alien an administrative stay of a final
                           order of removal under section 1231(c)(2) of
                           this title until-

                             (A) the application for nonimmigrant status
                                 under such subparagraph (T) or (U) is
                                 approved; or




                                                                                AR4212
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                                             6a

                             (B) there is a final administrative denial of
                                 the application for such nonimmigrant
                                 status after the exhaustion of adminis-
                                 trative appeals.
                       (2) The denial of a request for an administra-
                           tive stay of removal under this subsection
                           shall not preclude the alien from applying
                           for a stay of removal, deferred action, or a
                           continuance or abeyance of removal pro-
                           ceedings under any other provision of the
                           immigration laws of the United States.

                     * * *
                 4. 8 U.S.C. 1324a provides:
                     Unlawful employment of aliens
                     * * *
                 (h) MISCELLANEOUS PROVISIONS
                     * * *
                       (3) Definition of unauthorized alien

                           As used in this section, the term “unauthor-
                       ized alien” means, with respect to the employ-
                       ment of an alien at a particular time, that the
                       alien is not at that time either (A) an alien law-
                       fully admitted for permanent residence, or (B)
                       authorized to be so employed by this chapter or
                       by the Attorney General.

                     * * *




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                                            7a

                 5. 49 U.S.C. § 30301 note provides:
                     * * *
                  IMPROVED SECURITY FOR DRIVERS’ LICENSES AND
                        PERSONAL IDENTIFICATION CARDS
                     * * *
                 Pub. L. 109-13, div. B, title II, May 11, 2005, 119 Stat.
                 311, provided that:
                     * * *
                 SEC. 202. MINIMUM DOCUMENT REQUIRE-
                 MENTS AND ISSUANCE STANDARDS FOR
                 FEDERAL RECOGNITION.
                 (a) MINIMUM STANDARDS FOR FEDERAL USE. —
                       (1) IN GENERAL.—Beginning 3 years after the
                           date of the enactment of this division [May
                           11, 2005], a Federal agency may not accept,
                           for any official purpose, a driver's license or
                           identification card issued by a State to any
                           person unless the State is meeting the re-
                           quirements of this section.

                       (2) STATE CERTIFICATIONS.—The Secretary
                           shall determine whether a State is meeting
                           the requirements of this section based on
                           certifications made by the State to the Sec-
                           retary. Such certifications shall be made at
                           such times and in such manner as the Sec-
                           retary, in consultation with the Secretary of
                           Transportation, may prescribe by regula-
                           tion.




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                 (b) MINIMUM DOCUMENT REQUIREMENTS.—To meet
                     the requirements of this section, a State shall in-
                     clude, at a minimum, the following information
                     and features on each driver’s license and identifi-
                     cation card issued to a person by the State:
                       (1) The person’s full legal name.
                       (2) The person’s date of birth.
                       (3) The person’s gender.
                       (4) The person’s driver's license or identifica-
                           tion card number.
                       (5) A digital photograph of the person.
                       (6) The person’s address of principle residence.
                       (7) The person's signature.
                       (8) Physical security features designed to pre-
                           vent tampering, counterfeiting, or duplica-
                           tion of the document for fraudulent pur-
                           poses.
                       (9) A common machine-readable technology,
                           with defined minimum data elements.
                 (c) MINIMUM ISSUANCE STANDARDS. —
                       (1) IN GENERAL.—To meet the requirements of
                           this section, a State shall require, at a min-
                           imum, presentation and verification of the
                           following information before issuing a
                           driver’s license or identification card to a
                           person:

                           (A) A photo identity document, except that a
                               non-photo identity document is accepta-
                               ble if it includes both the person’s full le-
                               gal name and date of birth.
                           (B) Documentation showing the person's
                               date of birth.




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                          (C) Proof of the person's social security ac-
                              count number or verification that the
                              person is not eligible for a social security
                              account number.
                          (D) Documentation showing the person's
                              name and address of principal residence.
                       (2) SPECIAL REQUIREMENTS.—

                          (A) IN GENERAL.—To meet the requirements
                              of this section, a State shall comply with
                              the minimum standards of this para-
                              graph.
                          (B) EVIDENCE OF LAWFUL STATUS.—A State
                              shall require, before issuing a driver's li-
                              cense or identification card to a person,
                              valid documentary evidence that the per-
                              son-
                             (i)    is a citizen or national of the
                                   United States;
                             (ii) is an alien lawfully admitted for
                                   permanent or temporary residence
                                   in the United States;
                             (iii) has conditional permanent resident
                                   status in the United States;
                             (iv) has an approved application for
                                   asylum in the United States or has
                                   entered into the United States in
                                   refugee status;
                             (v) has a valid, unexpired nonimmi-
                                   grant visa or nonimmigrant visa
                                   status for entry into the United
                                   States;




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                              (vi) has a pending application for asy-
                                     lum in the United States;
                              (vii) has a pending or approved applica-
                                     tion for temporary protected status
                                     in the United States;
                              (viii) has approved deferred action sta-
                                     tus; or
                              (ix) has a pending application for ad-
                                     justment of status to that of an al-
                                     ien lawfully admitted for perma-
                                     nent residence in the United States
                                     or conditional permanent resident
                                     status in the United States.
                     * * *
                 6. 8 C.F.R § 274a.12 provides:
                     Classes of aliens authorized to accept em-
                     ployment.
                     * * *
                 (c) Aliens who must apply for employment authoriza-
                     tion. An alien within a class of aliens described in
                     this section must apply for work authorization. If
                     authorized, such an alien may accept employment
                     subject to any restrictions stated in the regulations
                     or cited on the employment authorization docu-
                     ment. USCIS, in its discretion, may establish a
                     specific validity period for an employment author-
                     ization document, which may include any period
                     when an administrative appeal or judicial review
                     of an application or petition is pending.
                     * * *
                       (14) An alien who has been granted deferred ac-
                          tion, an act of administrative convenience to




                                                                             AR4217
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                             the government which gives some cases
                             lower priority, if the alien establishes an
                             economic necessity for employment;


                     * * *




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                             Nos. 18-587, 18-588, and 18-589

                                          IN THE
                        Supreme Court of the United States
                                       _________
                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                                      ET AL.,
                                                   Petitioners,
                                        v.
                  NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF
                            COLORED PEOPLE, ET AL.,
                                                 Respondents.
                                    ________
                On Writ of Certiorari Before Judgment to the United States
                   Court of Appeals for the District of Columbia Circuit
                                        ________
                      BRIEF FOR THE D.C. RESPONDENTS
                                  ________

                BENJAMIN M. EIDELSON           LINDSAY C. HARRISON
                1525 Massachusetts Ave.          Counsel of Record
                Cambridge, MA 02138            IAN HEATH GERSHENGORN
                (617) 495-4846                 THOMAS J. PERRELLI
                                               MATTHEW E. PRICE
                Counsel for Respondents        ISHAN K. BHABHA
                The Trustees of Princeton      JENNER & BLOCK LLP
                University, Microsoft          1099 New York Ave., NW
                Corporation, and Maria De      Suite 900
                La Cruz Perales Sanchez        Washington, DC 20001
                                               (202) 639-6000
                                               lharrison@jenner.com
                                               Counsel for Respondents
                                               The Trustees of Princeton
                                               University, Microsoft
                                               Corporation, and Maria De
                                               La Cruz Perales Sanchez
               (Additional Captions and Counsel Listed on Inside Cover)




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                    DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                                  Petitioners,
                                        V.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.,
                                                 Respondents.
                                     ________
                        On Writ of Certiorari to the United States
                         Court of Appeals for the Ninth Circuit
                                        ________
                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                            HOMELAND SECURITY, ET AL.,
                                                        Petitioners
                                            v.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.,
                                                       Respondents.
                                        ________
                On Writ of Certiorari Before Judgment to the United States
                          Court of Appeals for the Second Circuit
                                        ________

                  JOSEPH M. SELLERS              BRADFORD M. BERRY
                  JULIE S. SELESNICK             NAACP
                  COHEN MILSTEIN SELLERS         4805 Mount Hope Drive
                   & TOLL PLLC                   Baltimore, MD 21215
                  1100 New York Ave., NW         (410) 580-5797
                  Fifth Floor
                  Washington, DC 20005           Counsel for Respondent
                  (202) 408-4600                 NAACP

                  Counsel for Respondents
                  NAACP; American
                  Federation of Teachers,
                  AFL-CIO; and United Food
                  and Commercial Workers
                  International Union, AFL-
                  CIO, CLC




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              RAMONA E. ROMERO              DAVID J. STROM
              WESLEY MARKHAM                AMERICAN FEDERATION
              PRINCETON UNIVERSITY           OF TEACHERS, AFL-CIO
              New South Building            555 New Jersey Ave. N.W.
              Fourth Floor                  Washington, DC
              Princeton, NJ 08544           (202) 393-7472
              (609) 258-2500
                                            Counsel for Respondent
              Counsel for Respondent The    American Federation of
              Trustees of Princeton         Teachers, AFL-CIO
              University                    PETER J. FORD
                                            UNITED FOOD &
              CYNTHIA L. RANDALL
                                             COMMERCIAL WORKERS
              MICROSOFT CORPORATION
                                             INTERNATIONAL UNION,
              One Microsoft Way
                                             AFL-CIO, CLC
              Redmond, WA 98052
                                            1775 K Street. N.W.
              (425) 538-3176
                                            Washington, DC 20006
                                            (202) 223-3111
              Counsel for Respondent
              Microsoft Corporation
                                            Counsel for Respondent
                                            United Food & Commercial
                                            Workers International
                                            Union, AFL-CIO, CLC




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                             QUESTIONS PRESENTED
                    The questions presented are:
                    1. Whether the rescission of the Deferred Action for
                       Childhood Arrivals (DACA) policy is immune
                       from judicial review.
                    2. Whether the rescission of the DACA policy vio-
                       lated the Administrative Procedure Act.




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                                             1

                                   INTRODUCTION
                    The D.C. Respondents agree with the other Re-
                 spondents that Deferred Action for Childhood Arrivals
                 (DACA) is lawful. But the focus of this brief is nar-
                 rower. Regardless of one’s view of DACA’s legality,
                 Judge Bates was correct to vacate its rescission. The
                 Government’s explanation of why it thought DACA un-
                 lawful was incoherent. And that failure of reasoned
                 decision-making mattered: It led the agency to neglect
                 consideration of remedial approaches short of abandon-
                 ing DACA outright—approaches that might well have
                 resolved whatever legal concerns the Government had.
                     The Government frames its brief around the propo-
                 sition that a new Administration ought to be able to re-
                 evaluate the discretionary policy choices of its predeces-
                 sors.    Respondents agree. But Secretary Duke’s
                 rescission of DACA was not based on a discretionary
                 policy judgment. Instead, it was grounded in a legal de-
                 termination by the Attorney General that DACA is
                 unlawful. That approach allowed the Administration to
                 tell the public that it could not permissibly maintain
                 DACA, and that Congress and the courts, rather than
                 the President, thus bore responsibility for the rescis-
                 sion’s human consequences.
                     The Government must now live with the conse-
                 quences of claiming that its hands were tied. For
                 starters, the Administration’s determination that it
                 lacked discretion is reviewable. An agency cannot claim
                 that its action was compelled by law and at the same
                 time that the action was “committed to agency discre-
                 tion by law.” As Judge Bates correctly recognized, the




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                                             2

                 Government can avoid accountability or reviewability,
                 but not both.
                     Nor can the Government avoid judicial review by re-
                 lying on the Nielsen Memorandum to recast the
                 rescission as a policy call. The Government was (and is)
                 free to issue a new rescission memorandum on policy
                 grounds. But under this Court’s precedents, an agency
                 may not defend an existing action on grounds it invents
                 after the fact. This rule promotes both the accountabil-
                 ity of agency decision-making and the orderly process of
                 judicial review.
                     This case shows the wisdom of that rule. Judge Bates
                 invited the Government to issue a new rescission deci-
                 sion based on an appropriate administrative record
                 assembled for that purpose. The Government instead
                 elected to re-defend the Duke Memorandum, thereby
                 steering the case toward what it perceived as a path to
                 faster review. The result is a jumble of conclusory, post
                 hoc policy justifications made for litigation advantage,
                 resting on an old administrative record assembled for an
                 entirely different purpose. The APA demands more.
                     As for the actual basis of the rescission decision—the
                 determination that DACA is unlawful—Judge Bates
                 correctly concluded that the Administration’s reasoning
                 was incoherent. It is impossible to discern what, exactly,
                 the Government found unlawful about DACA. And be-
                 cause the Administration did not analyze its own legal
                 concerns in a reasoned fashion, it was premature for the
                 Administration to conclude that rescission of DACA in
                 its entirety was required or appropriate.




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                     To be clear, vacatur is not an empty gesture, the first
                 volley in a game of court-agency “ping-pong,” or a re-
                 quest for a better “bench memo.” The failure of
                 reasoned explanation here goes to the heart of the
                 case. As the Government’s brief explains, DACA’s core
                 is simply enforcement forbearance: “Deferred action is a
                 practice in which the Secretary exercises enforcement
                 discretion to notify an alien of the agency’s decision to
                 forbear from seeking the alien’s removal for a desig-
                 nated period.” U.S. Br. 4. Other “DHS regulations”—
                 each pre-dating DACA and grounded in its own statu-
                 tory authority—then allow “aliens granted deferred
                 action [to] receive certain benefits.” Id. at 5. The Gov-
                 ernment’s threadbare assertion that it lacked legal
                 authority to maintain DACA entirely failed to consider
                 the distinction between pure deferred action—that is,
                 notifying the DACA recipient of the decision to forbear
                 from enforcement—and the collateral consequences of
                 deferred action.
                     No one contends here that a policy of pure deferred
                 action for childhood-arrivals, standing alone, is unlaw-
                 ful. That policy is of immense significance in its own
                 right. Yet this baby went out with the bathwater. To
                 the extent the Administration believed DACA recipi-
                 ents could not lawfully receive certain additional
                 benefits that DHS has associated with deferred action,
                 it made no effort to identify which ones or to analyze the
                 statutory authority for the relevant regulations, which
                 are independent of DACA. Instead, the Administration
                 simply leaped to the conclusion that DACA needed to be
                 rescinded. No wonder that Judge Bates concluded the




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                 Government had failed the basic requirements of rea-
                 soned decision-making.   No other conclusion was
                 possible.
                     This case, in short, is about accountability. Judge
                 Bates made crystal clear that the Government has the
                 power to rescind DACA, but only if it takes responsibil-
                 ity for its actions, offers forthright justifications, and
                 explains them in a reasoned fashion. Because the Gov-
                 ernment failed to do so, the decision below should be
                 affirmed.
                             STATEMENT OF THE CASE
                    A.    Legal and Factual Background
                     1.a. “Deferred action” is a term of art for an admin-
                 istrative decision not to “‘proceed against an apparently
                 deportable alien.’” Reno v. Am.-Arab Anti-Discrimina-
                 tion Comm. (AAADC), 525 U.S. 471, 483-84 (1999)
                 (citation omitted). It is, in other words, “an informal ad-
                 ministrative stay of deportation … bestowed as a matter
                 of prosecutorial grace.” Matter of Quintero, 18 I. & N.
                 Dec. 348, 349 (B.I.A. 1982). By engaging in this “regular
                 practice” of prioritizing its limited prosecutorial re-
                 sources, AAADC, 525 U.S. at 484, the Government
                 allows those whom it does not intend to remove to live
                 without the constant fear of deportation. But because
                 deferred action is, by definition, just a decision about en-
                 forcement, it does not change a person’s underlying
                 status as removable.
                     b. Although deferred action itself is only a non-en-
                 forcement decision, DHS has also chosen to treat its
                 deferred-action decisions as relevant to certain other




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                                             5

                 matters within the agency’s purview. Because these col-
                 lateral effects of deferring action appear to have loomed
                 large in the Government’s assessment of DACA, they
                 provide vital context here.
                     First, the statute prohibiting employment of any
                 “unauthorized alien” defines that term to exclude per-
                 sons “authorized to be so employed by [the INA] or by
                 the [DHS Secretary].” 8 U.S.C. 1324a(h)(3) (emphasis
                 added). Since 1987, the Secretary has exercised this au-
                 thority to permit employers to hire numerous categories
                 of noncitizens—ranging from certain persons with pend-
                 ing asylum applications, to non-immigrant students who
                 face unforeseen economic hardship, to “[a]n alien who
                 has been granted deferred action … if the alien estab-
                 lishes an economic necessity for employment.” 8 C.F.R.
                 274a.12(c)(14). Both the statute granting the Secretary
                 this authority and the regulation exercising it long post-
                 date the practice of deferred action itself.
                     Second, the INA bars most noncitizens from partici-
                 pating in Social Security and Medicare, but allows their
                 participation if they are “lawfully present in the United
                 States as determined by the [Secretary].” 8 U.S.C.
                 1611(b)(2) (emphasis added). Since 1996, the Govern-
                 ment has deemed that statute to encompass various
                 categories of noncitizens for whom it “has decided for hu-
                 manitarian or other public policy reasons not to initiate
                 removal proceedings,” including through deferred ac-
                 tion—while stressing that this definition of “lawfully
                 present” was “[f]or purposes of 8 U.S.C. 1611(b)(2) only.”
                 8 C.F.R. 1.3(a)(4); see Definition of the Term Lawfully
                 Present in the United States for Purposes of Applying




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                 for Title II Benefits Under Section 401(b)(2) of Public
                 Law 104-193, 61 Fed. Reg. 47,039 (Sept. 6, 1996). Once
                 again, that regulation arose long after, extends beyond,
                 and is distinct from deferred action itself.
                     Third, since 2002, DHS has treated a deferred-action
                 decision as one of the circumstances that tolls periods of
                 “unlawful presence” for purposes of any future inadmis-
                 sibility determination. See 8 U.S.C. 1182(a)(9)(B)(ii)
                 (specifying when “an alien is deemed to be unlawfully
                 present” for this purpose). In adopting this reading, the
                 Government made clear that the interpretation “does
                 not in any way alter the nature of deferred action” itself.
                 Memorandum from Johnny N. Williams, Unlawful Pres-
                 ence 1 (June 12, 2002).
                     In contrast to these policies, Congress and federal
                 agencies have chosen not to extend other benefits to per-
                 sons with deferred action and not to treat such persons
                 as “lawfully present” for other purposes. For example,
                 such individuals are not “qualified” for most public ben-
                 efits programs. See 8 U.S.C. 1611(a), 1641(b); see also
                 infra at 42. And they are treated as “present in the
                 United States in violation of … law” for purposes of re-
                 movability. 8 U.S.C. 1227(a)(1)(B).
                     c. The Government sometimes elects to defer action
                 on an ad hoc basis, and other times pursuant to general
                 policies that guide individual officials’ discretion. The
                 Government has adopted numerous policies of the latter
                 variety over many decades. See generally H.R. Rep. No.
                 100-627, at 4-6 (1988). For example, a 1990 “Family Fair-
                 ness” program deferred removal of approximately 1.5
                 million individuals whose spouses or parents had been




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                 granted legal status in the United States. JA 850 n.15.
                     2.a. In 2012, then-DHS Secretary Napolitano issued
                 a memorandum (the DACA Memorandum) instituting a
                 deferred-action policy known as “Deferred Action for
                 Childhood Arrivals” (DACA). DACA is a “nonenforce-
                 ment policy” that “provide[s] deferred action to ‘certain
                 young people who were brought to this country as chil-
                 dren.’” U.S. Br. 5. Specifically, Secretary Napolitano
                 identified a class of childhood-arrivals for whom a favor-
                 able exercise of “prosecutorial discretion” would be
                 “especially justified”—barring any countervailing con-
                 siderations, which officials were charged with
                 identifying on a “case by case” basis. Regents Pet. App.
                 98a-101a. These young people generally did not act with
                 “intent to violate the law,” and the agency’s priorities
                 did not extend to “remov[ing] productive young people
                 to countries where they may not have lived or even
                 speak the language.” Id. The DACA Memorandum thus
                 established agency-wide guidance for the exercise of
                 “prosecutorial discretion … by deferring action” for re-
                 newable two-year periods. Id. 100a. But it expressly
                 “confer[red] no substantive right [or] immigration sta-
                 tus.” Id. 101a.
                     b. As of September 2017, nearly 700,000 young peo-
                 ple had been granted deferred action based on DACA.
                 U.S. Br. 36. The life-changing impact of those decisions
                 is undisputed. First, DACA recipients no longer live in
                 fear of contact with law-enforcement (including as a wit-
                 ness or victim) or others who might instigate their




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                 removal.1 Second, because DACA recipients know the
                 Government has no intention to remove them immi-
                 nently, they can plan their lives here accordingly—from
                 starting college with the expectation of graduating, to
                 forging long-term relationships, to investing in their
                 communities. Third, most have established the “eco-
                 nomic necessity” required by the pre-existing work
                 authorization regulation, allowing them to work on-the-
                 books and pursue productive careers. The positive im-
                 pacts of DACA have therefore been shared by
                 recipients’ families, classmates, and co-workers; by edu-
                 cational institutions like Princeton University; and by
                 employers like Microsoft Corporation.
                    3.a. In 2014, then-DHS Secretary Johnson issued an-
                 other memorandum (the DAPA Memorandum) adopting
                 “new policies for the use of deferred action.” Regents
                 Pet. App. 103a. In the name of “family unity,” the DAPA
                 Memorandum recommended 4.3 million adults for con-
                 sideration for deferred action, on the ground that they
                 were parents of U.S. citizens or lawful permanent resi-
                 dents. Id. 104a. It tweaked the eligibility criteria for
                 DACA as well. Id.
                    The DAPA Memorandum had two other notable fea-
                 tures that framed the litigation that followed. First, the
                 memorandum asserted, without citation or qualification,


                 1 For example, before DACA, Respondent Maria De La Cruz Per-
                 ales Sanchez “avoided the police, and would not have contacted
                 them unless it was a life or death situation”; was “reluctant to seek
                 out medical treatment”; and could not “travel[] without fear” even
                 in her own community. JA 880-83.




                                                                                         AR4238
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                 that a decision to defer action under DAPA “means that
                 … an individual is permitted to be lawfully present in the
                 United States.” Id. Second, the memorandum itself in-
                 voked and appeared to exercise the Secretary’s
                 statutory “authority to grant [work] authorization.” Id.
                 108a (citing 8 U.S.C. 1324a(h)(3)). The DAPA Memoran-
                 dum thus invited the characterization of DAPA as a
                 unified policy or status under which deferred enforce-
                 ment was inextricably tied to “lawful presence” and
                 eligibility for work authorization. In contrast, as ex-
                 plained above, past agency guidance regarding deferred
                 action (including the DACA Memorandum) had pro-
                 vided only for deferred action itself—that is, for
                 enforcement forbearance—leaving any further conse-
                 quences of that deferral to be determined by whatever
                 the regulations addressing other subjects might provide
                 at the time they are applied. See supra at 5-6.2
                     b. Before the DAPA Memorandum went into effect,
                 Texas and other States secured a preliminary injunction.
                 The Fifth Circuit affirmed, holding that the States would
                 likely succeed on their notice-and-comment and substan-
                 tive APA claims. Texas v. United States, 809 F.3d 134
                 (5th Cir. 2015).
                    With respect to the substantive APA claim, the Fifth
                 Circuit “conclude[d] … that the INA does not grant the

                 2 In keeping with this traditional approach, the DACA Memoran-
                 dum touched on work authorization only in passing—instructing
                 agency officials to “accept applications” from those granted de-
                 ferred action “to determine whether these individuals qualify for
                 work authorization” under the pre-existing scheme. Regents Pet.
                 App. 101a.




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                 Secretary discretion to grant deferred action and lawful
                 presence on a class-wide basis to 4.3 million otherwise
                 removable aliens.” Id. at 186 n.202 (emphasis added). In
                 so holding, the court contrasted this Court’s “descrip-
                 tion, in AAADC, of deferred action as a nonprosecution
                 decision,” with the fact that “[u]nder DAPA, ‘[d]eferred
                 action . . . means that, for a specified period of time, an
                 individual is permitted to be lawfully present in the
                 United States.’” Id. at 167-68 (quoting the DAPA Mem-
                 orandum). As the court explained, “the INA expressly
                 and carefully provides legal designations allowing de-
                 fined classes of aliens to be lawfully present,” but
                 “absent from those specific classes is the group of 4.3 mil-
                 lion illegal aliens who would be eligible for lawful
                 presence under DAPA.” Id. at 179; see id. at 180.
                     The Fifth Circuit was careful to note that “[p]art of
                 DAPA involves the Secretary’s decision … not to en-
                 force the immigration laws as to a class of what he deems
                 to be low-priority illegal aliens,” and the court took no
                 issue with that “part” of DAPA—i.e., with deferred ac-
                 tion itself, as described in AAADC. Id. at 166. But, the
                 court explained, the fact remained that the DAPA Mem-
                 orandum purported to “make 4.3 million otherwise
                 removable aliens eligible for lawful presence, employ-
                 ment authorization, and associated benefits,” and
                 Congress would not have delegated a decision “‘of such
                 economic and political magnitude to an administrative
                 agency.’” Id. at 181 (citation omitted).3


                 3 The Government did not ask the Fifth Circuit to distinguish or




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                     c. This Court granted the Government’s petition for
                 certiorari. Like the Fifth Circuit, the Respondent
                 States stressed that they did not object to DAPA insofar
                 as it afforded deferred action in the traditional sense. As
                 they put it, DHS was “free … to issue ‘low-priority’ iden-
                 tification cards to aliens” as it saw fit. Resp’ts Br. at 39,
                 United States v. Texas, No. 15-674 (U.S. Mar. 28, 2016),
                 2016 WL 1213267. And the States agreed that DHS
                 could lawfully take that kind of action on a class-wide ba-
                 sis and on DAPA’s vast scale. See Oral Argument Tr.
                 50-53, United States v. Texas, No. 15-674 (U.S. Apr. 18,
                 2016). But “DAPA’s granting of lawful presence,” they
                 argued, “pushes the concept of deferred action far be-
                 yond what this Court has recognized.” Resp’ts Br. at 41-
                 42.
                     This Court affirmed the Fifth Circuit’s preliminary
                 injunction by an equally divided vote. See United States
                 v. Texas, 136 S. Ct. 2271 (2016). In June 2017, a new DHS
                 Secretary rescinded the DAPA Memorandum, but left
                 the DACA Memorandum in place.
                     4.a. Shortly thereafter, the attorneys general of
                 some of the States that had challenged DAPA sent a let-
                 ter to Attorney General Sessions contending that the
                 DACA Memorandum was legally defective because,
                 “just like DAPA, DACA unilaterally confers eligibility
                 for work authorization and lawful presence without any

                 sever the DAPA Memorandum’s guidance for deferring action from
                 any further consequences of that deferral. To the contrary, the Gov-
                 ernment insisted that “‘[d]eferred action under DAPA’” and
                 “‘lawful presence’” were “‘two sides of the same coin.’” Texas, 809
                 F.3d at 167.




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                 statutory authorization from Congress.” JA 873 (inter-
                 nal citation omitted).     Unless the Administration
                 rescinded the DACA Memorandum by September 5,
                 2017, the States said, they would challenge DACA as
                 well.
                     b. On August 24, 2017, the relevant cabinet secretar-
                 ies and agency heads met at the White House. See
                 Principals Committee, DACA: Summary of Conclu-
                 sions at 209, No. 1:18-cv-02445 (E.D.N.Y. Aug. 14, 2019),
                 Dkt. 63-1. At that meeting, “[i]t was agreed” that “the
                 previous Administration’s [DACA] program is unlawful
                 and will be ended.” Id. Accordingly, “DOJ will send a
                 memorandum to DHS outlining the legal reasons that
                 the DACA program is unlawful.” Id. Then, DHS would
                 “draft a memorandum” to “withdraw the 2012 DACA
                 memorandum … in light of DOJ’s legal determination.”
                 Id. DHS would also “propose a plan to wind down the
                 DACA program,” within specified parameters. Id.
                 Meanwhile, the Domestic Policy Council would “develop
                 a unified list of legislative items” relating to immigration
                 reform, setting up a potential bargain “that addresses
                 individuals who had previously been eligible to receive
                 DACA permits.” Id.
                    c. The agencies carried out their assigned tasks. On
                 September 4, 2017, Attorney General Sessions sent Act-
                 ing DHS Secretary Duke a one-page letter stating that
                 the DACA Memorandum was unlawful; noting the
                 courts would “likely” agree; and instructing that DHS
                 should therefore rescind it. JA 877-78.
                     The next day, Secretary Duke issued a memorandum
                 to her subordinates rescinding the DACA Memorandum




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                 (the “Duke Memorandum”), Regents Pet. App. 111a,
                 which was later published in the Federal Register, see
                 Notice of Availability, 82 Fed. Reg. 43,556 (Sept. 18,
                 2017). After describing the litigation over DAPA and
                 the letter from the States, Secretary Duke recited the
                 Attorney General’s “legal determination” that the pro-
                 gram lacked “proper statutory authority” and was
                 “unconstitutional.” Regents Pet. App. 116a. “Taking
                 into consideration the Supreme Court’s and the Fifth
                 Circuit’s rulings in the ongoing litigation, and the Sep-
                 tember 4, 2017 letter from the Attorney General,” she
                 wrote, “it is clear that the June 15, 2012 DACA program
                 should be terminated.” Id. 117a. She therefore “re-
                 scind[ed] the June 15, 2012 memorandum.” Id.
                 “Nevertheless,” she explained, “in light of the adminis-
                 trative complexities associated with ending the
                 program, [the Attorney General] recommended that the
                 Department wind [DACA] down in an efficient and or-
                 derly fashion.” Id. 116a. Accordingly, Secretary Duke
                 established a six-month window for DHS to grant final
                 renewals of deferred action in certain cases. Id. 117a-
                 118a.
                     Neither the Attorney General’s letter nor Secretary
                 Duke’s memorandum identified what precisely they
                 found unlawful about DACA—the mere decision to defer
                 enforcement action (and notify individuals of the same),
                 or some or all of the benefits that followed under sepa-
                 rate DHS regulations and policies. Accordingly, neither
                 official considered whether the DACA Memorandum’s
                 rescission—i.e., the rescission of enforcement forbear-
                 ance—was the necessary or appropriate cure, or




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                 whether some other remedy was available that would
                 have fewer disruptive impacts for the agency, DACA re-
                 cipients, and the public.
                     d. In their public-facing explanations of the decision
                 to rescind DACA, the President and his subordinates re-
                 peatedly insisted that their hands were tied by Congress
                 and the Constitution.
                     As the White House Press Secretary stated just af-
                 ter the rescission’s announcement: “The President made
                 the best decision in light of the fact that the system was
                 set up by the Obama administration, in clear violation of
                 federal law.” Press Briefing by Press Secretary Sarah
                 Sanders (Sept. 5, 2017), https://bit.ly/2kxBJld. When re-
                 porters asked whether the President was trying to avoid
                 public responsibility by leaving the main announcement
                 (on live television) to the Attorney General, she reiter-
                 ated that “[i]t was a legal decision, and that would fall
                 to the Attorney General.” Id. (emphasis added); see id.
                 (“[I]t would be the Department of Justice to make a legal
                 recommendation, and that’s what they did.”). Another
                 reporter asked where “the President stand[s] on the
                 program itself,” apart from “objections to the constitu-
                 tionality of DACA.” Id. The Press Secretary answered
                 that “it’s something that he would support if Congress
                 puts it before him”; his concern was simply that “this has
                 to be something where the law is put in place.” Id.
                    The President’s written statement reiterated the
                 same message. “I do not favor punishing children … for
                 the actions of their parents,” he explained. Statement
                 from President Donald J. Trump (Sept. 5, 2017),
                 https://bit.ly/2ExWxCQ. But “[t]he legislative branch,




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                 not the executive branch, writes these laws.” Id. The
                 States’ threat of litigation “requir[ed] my Administra-
                 tion to make a decision regarding [DACA’s] legality,”
                 and the Administration concluded that “the program is
                 unlawful and unconstitutional and cannot be successfully
                 defended in court.” Id. Far from suggesting that the
                 Administration was terminating DACA in an exercise of
                 policymaking discretion, the President emphatically as-
                 serted the opposite.
                     The Administration returned to this refrain as the
                 “wind down” unfolded. When the President was pressed
                 on the “[e]ighty-six percent of the American people”
                 who favor relief for “DACA-protected kids,” he re-
                 sponded that he “doesn’t have the right to do this”
                 without “go[ing] through Congress.” Remarks by Pres-
                 ident Trump (Jan. 9, 2018), https://perma.cc/5QHA-
                 97S6. The Assistant DHS Secretary similarly advised
                 the Senate Judiciary Committee that “we are not au-
                 thorized to exercise [authority] against the advice of the
                 Attorney General,” and thus “when we were advised
                 [DACA] was unlawful,” only the terms of “draw[ing] it
                 down” were discussed. Oversight of the Administra-
                 tion’s Decision to End DACA: Hearing Before S. Comm.
                 on the Judiciary, 115th Cong. (Oct. 3, 2017) (statement
                 of Michael Dougherty, Assistant Sec’y). Likewise, when
                 Acting Secretary Nielsen (who took office in December
                 2017) was pressured in another Senate hearing to extend
                 the “wind down” period, she “stress[ed] how strong[ly]
                 [she] feel[s] about finding a permanent solution for this
                 population,” but insisted that she had no discretion in the
                 matter. See Hearing Before S. Judiciary Comm. on




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                 Oversight of the U.S. Dep’t of Homeland Sec., 115th
                 Cong. (Jan. 16, 2018). She stated: “I believe the attorney
                 general has made it clear that he believes such exercise
                 is unconstitutional. It’s for Congress to fix.” Id.
                    B.   Proceedings Below
                     1. Respondents challenged the Duke Memorandum
                 in the U.S. District Court for the District of Columbia.
                 The administrative record consisted of just fourteen
                 publicly available documents totaling 256 pages, three-
                 quarters of which were the judicial opinions in the
                 DAPA litigation.
                     In April 2018, the District Court (Bates, J.) granted
                 summary judgment to Respondents and vacated the
                 Duke Memorandum. The court first concluded that the
                 rescission was reviewable because it was predicated on
                 a legal judgment that the agency lacked discretion to do
                 otherwise. NAACP Pet. App. 25a-43a. The court then
                 held that the Government had “failed adequately to ex-
                 plain its conclusion that the program was unlawful”—
                 instead offering only “barebones” and “inapposite” anal-
                 ysis—and had “egregious[ly]” failed to account for the
                 interests of existing DACA recipients. Id. 2a, 51a, 54a,
                 55a. The court did not reach the question of DACA’s
                 lawfulness.
                    The court stayed the effect of its vacatur for ninety
                 days to allow DHS to “reissue a memorandum rescind-
                 ing DACA, this time providing a fuller explanation for
                 the determination that the program lacks statutory and
                 constitutional authority.” Id. 66a. It “anticipated that
                 DHS would do so by way of a new agency action,” in




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                 which DHS would be free to revise its policy or invoke
                 new reasons in support of its decision. Id. 90a.
                     2. On June 22, 2018, DHS instead filed in the District
                 Court a memorandum, addressed to no one, from Secre-
                 tary Nielsen (the “Nielsen Memorandum”). Regents
                 Pet. App. 120a-126a.       The Nielsen Memorandum
                 acknowledged that Secretary Duke’s decision had been
                 “vacated,” id. 121a, but it did not rescind the DACA
                 Memorandum anew or take any other new action. In-
                 stead, it offered “further explanation” that “reflects
                 [Secretary Nielsen’s] understanding of the Duke memo-
                 randum and why the decision to rescind the DACA
                 policy was, and remains, sound.” Id. 121a. The Nielsen
                 Memorandum was neither supported by any administra-
                 tive record nor published in the Federal Register.
                     The Government then moved the District Court to
                 “revise” its earlier order vacating the Duke Memoran-
                 dum and instead “leave in place DHS’s September 5,
                 2017 decision to rescind the DACA policy.” Motion to
                 Revise at 19, NAACP v. Trump, No. 17-cv-2325 (D.D.C.
                 July 11, 2018), Dkt. 74 (“Motion to Revise”). The District
                 Court denied that motion. Rather than “issu[ing] a new
                 decision rescinding DACA” as the earlier “order had
                 contemplated,” the court explained, DHS had chosen “to
                 stand by its September 2017 rescission decision.”
                 NAACP Pet. App. 82a, 86a, 90a & n.6. Accordingly, the
                 court could consider the Nielsen Memorandum only in-
                 sofar as it further explained the agency’s actual reasons
                 for that prior decision. Id. 92a. And to the extent the
                 Nielsen Memorandum was grounded in the Duke Mem-
                 orandum at all, it still failed to offer a reasoned




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                 explanation of Secretary Duke’s decision. Id. 105a.
                    In August 2018, the District Court entered final
                 judgment. NAACP Pet. App. 110a-111a. The Govern-
                 ment appealed, and the D.C. Circuit heard oral
                 argument. This Court then granted certiorari before
                 judgment.
                    3. Six months after filing her in-court memorandum,
                 Secretary Nielsen testified regarding DACA’s rescis-
                 sion before Congress.        She reiterated that the
                 Administration rescinded DACA because it “was an un-
                 lawful use of executive authority” and predicted that the
                 courts would ultimately agree. Written Testimony of
                 DHS Secretary Kirstjen Nielsen (Dec. 20, 2018),
                 https://bit.ly/2lWjQ3X. She did not say that DACA was
                 rescinded for other “independently sufficient reasons.”
                 Regents Pet. App. 122a.
                     In September 2019, after the Government filed its
                 brief in this Court, the President reiterated that his Ad-
                 ministration rescinded the DACA Memorandum
                 because it was a “[t]otally illegal document” and that the
                 public should “rest assured” he favors a “bipartisan
                 deal” to protect childhood-arrivals from removal
                 through lawful means. Twitter, @realDonaldTrump
                 (Sept. 6, 2019), https://bit.ly/2m6JSRY & https://bit.ly
                 /2lcwkEy.
                              SUMMARY OF ARGUMENT
                     I. For two independent reasons, Secretary Duke’s
                 rescission of DACA is not “committed to agency discre-
                 tion by law.” First, the action did not involve any




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                 exercise of discretion. Rather, the Attorney General de-
                 termined that DACA could not lawfully be
                 maintained. In light of that legal determination, Secre-
                 tary Duke had no discretion to continue the policy. And
                 when the Government disclaims, rather than exercises,
                 its discretion, nothing in the APA or this Court’s cases
                 immunizes its legal judgment from judicial review. The
                 Government seeks to avoid these problems by recasting
                 the rescission as a discretionary decision about “litiga-
                 tion risk,” but the binding nature of the Attorney
                 General’s determination, the text of the Duke Memoran-
                 dum, and the Administration’s contemporaneous public
                 statements all belie that description.
                     Second, and in any event, the Duke Memorandum is
                 reviewable because it is a general enforcement pol-
                 icy. As the D.C. Circuit has long held, there are sound
                 reasons to treat such general policies—unlike the FDA’s
                 decision to deny a particular enforcement request in
                 Heckler v. Chaney, 470 U.S. 821 (1985)—as presump-
                 tively reviewable. Such policies are less frequent than
                 individual enforcement decisions, likelier to involve legal
                 as opposed to factual analysis, and more often accompa-
                 nied by a public explanation that provides a focus for
                 review. This case is a perfect example.
                     II. On the merits, Judge Bates correctly held that
                 the Government failed to offer the reasoned explanation
                 that the APA demands. It is impossible to discern from
                 the materials before the Court just what the Govern-
                 ment regards as illegal about DACA or its collateral
                 effects. And the Government failed to draw any rational




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                 connection between its vague legal concerns and the ac-
                 tion—rescinding      DACA       altogether—that      it
                 took. Accordingly, the Court should affirm Judge Bates’
                 order vacating the rescission.
                     Although that judgment will leave the Government
                 free to articulate its legal objection to DACA anew,
                 there is no reason to think the Government necessarily
                 will reach the same result. Insofar as the Government’s
                 legal concerns can be discerned, they appear to pertain
                 not to DACA’s policy of deferred action (i.e., of enforce-
                 ment forbearance and notice to the recipient of that
                 forbearance), but instead to the benefits that deferred-
                 action recipients may obtain as a consequence of other
                 regulations. As the Government acknowledges, how-
                 ever, those benefits are distinct from both DACA in
                 particular and deferred action in general. Accordingly,
                 when the Government finally evaluates the issues here
                 in a reasoned fashion, it will likely recognize that any
                 perceived illegality can be cured without rescinding the
                 DACA Memorandum and the deferred-action policy it
                 adopted. Because the Government thought itself legally
                 bound to take that step, however, it overlooked all other
                 remedial possibilities.
                     III. The Court should not consider the Nielsen Mem-
                 orandum for anything other than its attempt at
                 explicating the Government’s legal reasoning. Although
                 the Government could have issued a new rescission de-
                 cision on policy grounds after Judge Bates vacated the
                 Duke Memorandum, it chose to double-down on defend-
                 ing Secretary Duke’s decision instead. As a result of
                 that choice, the Government may not defend its action




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                 on grounds other than those invoked by Secretary Duke.
                 That rule is both well-settled and well-justified. In any
                 event, the Nielsen Memorandum’s new “policy” ration-
                 ales could not justify DACA’s rescission even if they
                 were properly before the Court.
                                           ARGUMENT
                 I. THE DUKE MEMORANDUM IS REVIEWABLE.
                    This Court has “‘long applied a strong presumption
                 favoring judicial review of administrative action.’”
                 Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv., 139 S.
                 Ct. 361, 370 (2018) (citation omitted). Rebutting this
                 presumption ordinarily requires showing that a court
                 “‘would have no meaningful standard against which to
                 judge the agency’s exercise of discretion.’” Id. (citation
                 omitted). But the Government makes no attempt to
                 show that here, and for good reason: The Duke Memo-
                 randum rests on legal reasoning that a court could
                 readily review.4
                    Instead, the Government argues that the Duke Mem-
                 orandum is analogous to the non-enforcement decision
                 held presumptively unreviewable in Chaney. U.S. Br.
                 17-20. This argument fails for two independent reasons.
                 First, an agency action predicated on the agency’s own
                 lack of authority—as DACA’s rescission was here—is
                 reviewable. Second, unlike Chaney, this case concerns a

                 4 Though the Nielsen Memorandum’s “policy” rationales are not
                 properly before the Court, see infra Section III.A, if the Court nev-
                 ertheless considers them, they relate to a general enforcement
                 policy and are therefore reviewable for reasoned decision-making
                 under the APA, see infra Sections I.B, III.B.




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                 general enforcement policy, and such policies are pre-
                 sumptively reviewable.
                    A. The Non-Discretionary Rescission of DACA Is
                       Not Committed to Agency Discretion by Law.
                     1. Secretary Duke did not rescind DACA in an exer-
                 cise of enforcement discretion. Rather, as she explained,
                 the Attorney General made a “legal determination” that
                 the policy was unlawful. Regents Pet. App. 116a. And
                 as the Government agrees, that “determination … of
                 law” was binding on her. 8 U.S.C. 1103(a)(1); accord Re-
                 gents Pet. App. 122a-123a. The Government cannot
                 seriously contend that Secretary Duke had discretion to
                 maintain a policy that she was bound to treat as illegal.
                     Nonetheless, the Government argues that because
                 Secretary Duke also “recounted … the [DAPA] litiga-
                 tion,” quoted the Attorney General’s prediction that
                 courts would “likely” agree with him, and ultimately
                 used the word “should” rather than “must,” she made a
                 freestanding, discretionary judgment of “litigation risk.”
                 U.S. Br. 26-27. That makes too much of too little.
                     First, had Secretary Duke perceived such discretion,
                 one would expect to see an assessment of the costs of re-
                 scinding the policy weighed against the legal risk of
                 maintaining it. But there is no such assessment in the
                 memorandum or the administrative record. Indeed,
                 when pressed in the D.C. Circuit to point to any lan-
                 guage suggesting the agency relied on litigation risk, the
                 Government had no answer. See Oral Arg. Recording
                 2:00-4:07 (“[Judge Griffith:] It’s not there … It’s the an-
                 swer, it’s an easy, it’s not there. … [Government:] Okay.




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                 Let’s assume that’s true.”), https://bit.ly/2kFWEqf.
                      Second, assessing “litigation risk” would have made
                 little sense. Given the Attorney General’s binding de-
                 termination that the policy was unlawful, the only reason
                 to consider “litigation risk” would be to assess whether
                 the agency could get away with administering an unlaw-
                 ful policy—or perhaps instead, as Judge Bates observed,
                 to lay a predicate for artificially “insulat[ing] [the legal
                 decision] from judicial review.” NAACP Pet. App. 40a.
                     Third, the Government’s reading fails to distinguish
                 between the decision whether to end DACA and the de-
                 cision how quickly to end it. At most, Secretary Duke
                 asserted discretion to devise an “orderly” process for
                 “ending the program”—subject to the Attorney Gen-
                 eral’s “review[] [of] the terms on which” she would do
                 even that. Regents Pet. App. 116a. But there is no hint
                 of discretion to preserve the DACA Memorandum (or,
                 relatedly, to resolve any legal concerns by adjusting
                 other features of the regulatory scheme while leaving
                 the DACA Memorandum in place, see infra at 39-43).
                     Fourth, the Solicitor General’s interpretation of the
                 Duke Memorandum is inconsistent with the Administra-
                 tion’s numerous statements to the public and to
                 Congress, which asserted unambiguously that the Ad-
                 ministration eliminated DACA because it was “unlawful
                 and unconstitutional.” See supra at 13-15.
                     Finally, while the statement that DACA would
                 “likely” fail in court cannot plausibly be cast as a distinct
                 rationale for the Government’s decision, it was in any
                 event a judgment expressly predicated on the Attorney




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                 General’s legal determination, and so would not carry in-
                 dependent weight regardless. See, e.g., Motor Vehicle
                 Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
                 Co., 463 U.S. 29, 54-55 (1983) (invalidating rationale that
                 was “expressly dependent on” another, invalid premise).
                    In short, the question before this Court is whether
                 the decision the Government actually made and an-
                 nounced—that it was legally required to rescind
                 DACA—is immune from judicial review.
                      2. When an agency action simply gives effect to the
                 agency’s determination that it lacks discretion to do oth-
                 erwise, nothing in the APA bars judicial review. The
                 APA precludes review “to the extent that … agency ac-
                 tion is committed to agency discretion by law.” 5 U.S.C.
                 701(a)(2). But it is nonsensical to say that an agency’s
                 disavowal of its own discretion is “committed to agency
                 discretion.” “To [that] extent,” at least, the agency’s ac-
                 tion is plainly not committed to its unreviewable
                 discretion. Cf. Lincoln v. Vigil, 508 U.S. 182, 193 (1993)
                 (holding that an agency’s allocation of funds “to meet
                 permissible statutory objectives” is unreviewable be-
                 cause “‘[t]o [that] extent,’ the decision to allocate funds
                 ‘is committed to agency discretion by law’” (brackets in
                 original)). No text, tradition, or principle weighs against
                 such limited review. And apart from its mistaken claims
                 that Chaney or ICC v. Bhd. of Locomotive Eng’rs
                 (“BLE”), 482 U.S. 270 (1987), settled the issue (see infra
                 at 25-29), the Government does not even argue other-
                 wise. See U.S. Br. 23-26.
                    3. Two principles of this Court’s jurisprudence fur-
                 ther confirm the propriety of judicial review when an




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                 agency opts to disavow its discretion.
                     a. First, judicial review of agency action disclaiming
                 discretion can only enhance that discretion—and so fur-
                 thers the ends of Congress and the legitimate ends of the
                 Executive Branch alike. When Congress confers au-
                 thority on an agency, it “desire[s] the agency … to
                 possess whatever degree of discretion the [statute] al-
                 lows,” Smiley v. Citibank (S. Dakota), N.A., 517 U.S.
                 735, 741 (1996), not some lesser degree. And when
                 courts demand that an agency “exercise[] the discretion
                 with which Congress has empowered it,” they “affirm
                 most emphatically the authority of the [agency]” itself.
                 Phelps Dodge Corp. v. NLRB, 313 U.S. 177, 197 (1941).
                     b. Second, review in such cases is essential to the
                 separation of powers and to clear lines of accountability.
                 This Court has afforded agencies deference when they
                 exercise discretion based on their sense of good policy,
                 even when they resolve statutory ambiguities pertain-
                 ing to the limits of their own authority. See City of
                 Arlington v. FCC, 569 U.S. 290, 296 (2013). But the
                 Court has never extended such deference—let alone in-
                 sulation from all review—to cases in which the
                 Government purports to lack discretion in light of what
                 it claims to be inflexible legal commands. See, e.g., Ne-
                 gusie v. Holder, 555 U.S. 511, 523 (2009). To that extent,
                 at least, courts “do not to leave it to the agency to decide
                 when it is in charge.” City of Arlington, 569 U.S. at 327
                 (Roberts, C.J., dissenting).
                     An agency decision that it is not in charge—and that
                 it therefore must take a particular action, however ill-
                 advised or unpopular—poses special concerns. When an




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                 agency makes a discretionary decision, its choice is re-
                 viewed “in the court of public opinion.” NAACP Pet.
                 App. 72a-73a. But when the Government claims instead
                 that the law forced its hand, it shifts responsibility to
                 Congress and the courts. Review in such cases is thus
                 essential to ensuring that the Executive Branch “may
                 escape political accountability or judicial review, but not
                 both.” Id. 73a. Put otherwise, the APA should be inter-
                 preted to ensure that a President “can[not] escape
                 responsibility for his choices by pretending that they are
                 not his own.” Free Enter. Fund v. Pub. Co. Accounting
                 Oversight Bd., 561 U.S. 477, 497 (2010).
                    3. Neither Chaney nor BLE is to the contrary.
                     a. First, the Government mischaracterizes both the
                 facts and the holding of Chaney. In that case, eight
                 death-row inmates filed a petition “requesting that the
                 FDA take various enforcement actions” to prevent Ok-
                 lahoma and Texas from using certain drugs in their
                 executions. 470 U.S. at 823. The agency “refused their
                 request.” Id.
                     Contrary to the Solicitor General’s description, the
                 FDA did not “reason[] that it lacked jurisdiction.” U.S.
                 Br. 17. Rather, the agency concluded that its “jurisdic-
                 tion in the area was generally unclear” but “in any event
                 should not be exercised” on policy grounds. Chaney, 470
                 U.S. at 824-25. The Court therefore framed the case as
                 “present[ing] the question of the extent to which a deci-
                 sion of an administrative agency to exercise its
                 ‘discretion’ not to undertake certain enforcement actions
                 is subject to judicial review.” Id. at 823 (emphasis
                 added). And that is why Chaney reserved the question




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                 of whether a non-enforcement decision would be review-
                 able if it were “based solely on the belief that [the
                 agency] lacks jurisdiction.” Id. at 833 n.4.
                     In fact, Chaney hinted at the logical answer to that
                 reserved question: The very existence of “[t]he statute
                 conferring authority on the agency” might indicate that
                 a disavowal of that same authority was not “‘committed
                 to agency discretion.’” Id. (emphasis added); see also id.
                 at 833 (“Congress did not set agencies free to disregard
                 legislative direction in the statutory scheme that the
                 agency administers.”). That answer makes sense, as
                 none of the practical reasons favoring unreviewability in
                 Chaney have any application to an agency’s judgment
                 that it lacks authority altogether. See id. at 831.
                     b. The Government’s remaining argument—indeed,
                 its principal argument—is that “whatever doubt Chaney
                 left, the Court’s subsequent decision in BLE resolved
                 it.” U.S. Br. 24. That vastly over-reads BLE.
                     BLE concerned an agency’s denial of reconsidera-
                 tion. 482 U.S. at 278-79. When such a denial is based
                 solely on a judgment that the prior decision was correct,
                 the Court reasoned, allowing review of the refusal to re-
                 consider would only circumvent time limits. Id. at 279-
                 80. The Court made clear, however, that insofar as an
                 agency denies reconsideration based on its assessment
                 of new evidence or changed circumstances, the agency’s
                 decision is reviewable. Id. at 278. In its main analysis,
                 therefore, BLE underscores that the reasons underlying
                 a given agency action can determine whether (or to what
                 extent) it is reviewable.




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                     The Government focuses instead on the Court’s re-
                 sponse to Justice Stevens’ concurrence. That separate
                 opinion argued that a refusal to reconsider should be re-
                 viewable whenever it is based on an explicit analysis of
                 the substantive law at issue. The Court rejected the con-
                 currence’s sweeping premise “that if the agency gives a
                 ‘reviewable’ reason for otherwise unreviewable action,
                 the action becomes reviewable.” Id. at 283. “To demon-
                 strate the falsity of that proposition,” the Court
                 explained, it was “enough” to offer a single counterex-
                 ample: A prosecutor’s “failure to prosecute” would be
                 unreviewable even if based on his belief “that the law
                 will not sustain a conviction.” Id. According to the Gov-
                 ernment, this riposte—which did not mention Chaney—
                 resolved the important issue that Chaney left open.
                 That is incorrect.
                     First, a criminal prosecutor’s decision not to indict is
                 so thoroughly insulated from judicial review that it is im-
                 possible to draw any lesson from BLE’s hypothetical
                 broader than the one BLE itself drew. The hypothetical
                 shows that the presence of a reason “that courts are well
                 qualified to consider,” 482 U.S. at 283, does not neces-
                 sarily establish reviewability. But in the case of the
                 BLE hypothetical, such an inference fails so clearly be-
                 cause of the longstanding rule against suits to compel
                 criminal prosecutions. As then-Judge Scalia—the au-
                 thor of BLE—had previously explained, the “discretion
                 of [a] criminal prosecutor” who “deci[des] not to prose-
                 cute” has long been held “not merely … generally
                 unreviewable, but entirely so.” Chaney v. Heckler, 718




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                 F.2d 1174, 1195-96 & n.4 (D.C. Cir. 1983) (Scalia, J., dis-
                 senting) (some emphasis added; citations omitted), rev’d,
                 470 U.S. 821 (1985). So, while the example sufficed to
                 prove BLE’s point, it equally underscores that BLE did
                 not take up the question posed in this case. In particular,
                 BLE did not address whether a court may review an
                 agency’s assertion that it would violate the law if it acted
                 otherwise, let alone outside the criminal context, let
                 alone when the contemplated review would not compel
                 any enforcement action at all.
                     As for that question—the relevant one here—a dif-
                 ferent hypothetical is more illuminating. Suppose that
                 the agency in BLE had denied reconsideration not based
                 on its view of the substantive labor law, but rather in the
                 mistaken belief that its governing statute prohibited re-
                 opening proceedings to correct material errors. Nothing
                 in BLE suggests that erroneous abdication would have
                 been accepted as unreviewable based on “the type of de-
                 cision” (U.S. Br. 25) at issue. “[G]iven the strangeness
                 of that rule … [one] cannot think that the Court adopted
                 it without any explanation.” Cooper v. Harris, 137 S. Ct.
                 1455, 1481 (2017). And here, the Government’s determi-
                 nation that DACA exceeded Secretary Napolitano’s
                 authority to “[e]stablish … enforcement policies and pri-
                 orities,” 6 U.S.C. 202(5), is just such a disavowal of the
                 agency’s own authority.5


                 5 There is no dispute about this last point: As the Government said
                 below, its legal rationale interpreted not “the substantive scope of
                 the [INA]” but rather “the scope of [DHS’s] own enforcement dis-
                 cretion.” Motion to Revise 9.




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                     In effect, this understanding of section 701(a)(2)
                 holds that, when it comes to an agency’s claim of unre-
                 viewable discretion—as opposed to deference—the
                 dissenters in City of Arlington had it right. That is,
                 when an agency seeks exemption from all review of its
                 legal judgment, there must at least be a “judicial deter-
                 mination of whether the particular issue was committed
                 to agency discretion.” City of Arlington, 569 U.S. at 306.
                 In light of the APA’s “basic presumption of judicial re-
                 view,” Weyerhaeuser, 139 S. Ct. at 370 (quotation marks
                 omitted), there is no basis for concluding that Congress
                 gave DHS unreviewable discretion to identify the legal
                 limits of its own non-enforcement discretion. And it
                 bears reiterating that the Government has not even at-
                 tempted to conjure a reason why Congress would have
                 made such a peculiar choice.
                    B.   Additionally, General Enforcement Policies
                         Are Not Committed to Agency Discretion by
                         Law.
                    DACA’s rescission is also reviewable for a second, in-
                 dependent reason: It is a general enforcement policy,
                 not an individualized enforcement decision. Chaney in-
                 volved only the latter. And there are good reasons why
                 general enforcement policies should not be added to the
                 very short list of agency actions that are presumptively
                 unreviewable.
                    1. Chaney concerned whether the Court could re-
                 view an agency decision “not to undertake certain
                 enforcement actions.” 470 U.S. at 823 (emphasis added).
                 In holding the FDA’s decision unreviewable, the Court
                 emphasized the various factors relevant to the exercise




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                 of enforcement discretion in any particular case:
                 “whether a violation has occurred”; “whether agency re-
                 sources are best spent on this violation or another”;
                 “whether the particular enforcement action requested
                 best fits the agency’s overall policies”; and whether the
                 agency has the resources “to undertake the action.” Id.
                 at 831 (emphases added). The Court also referred
                 throughout its opinion to a “refusal to institute proceed-
                 ings” in a particular case, which it analogized to an
                 individual prosecutor’s decision “not to indict” a particu-
                 lar offender. Id. at 832; id. at 827-38.6
                     The Government nevertheless contends that Chaney
                 involved a “programmatic determination” because the
                 Government’s reasons for declining to enforce could be
                 applied to other cases that are relevantly similar. U.S.
                 Br. 21-22. But that is true of any reason. What matters,
                 for present purposes, is that the FDA did not set or an-
                 nounce any general policy governing a class of
                 enforcement cases; it simply denied the petitions before
                 it. In fact, one issue in Chaney was whether the FDA’s
                 decision was consistent with the agency’s existing gen-
                 eral rules and policy statements—a question that would
                 make no sense if the FDA had revised its general policy
                 in denying the petitions. See 470 U.S. at 826, 836.
                     2. The D.C. Circuit has thus long held that general



                 6 Justice Brennan’s concurrence underscored that the Court’s hold-
                 ing was limited to the “[i]ndividual, isolated nonenforcement
                 decisions” that “must be made by hundreds of agencies each day.”
                 470 U.S. at 839 (Brennan, J., concurring).




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                 enforcement policies, announced apart from any partic-
                 ular matter, are presumptively reviewable. See Edison
                 Elec. Inst. v. U.S. EPA, 996 F.2d 326, 333 (D.C. Cir.
                 1993); Crowley Caribbean Transp., Inc. v. Pena, 37 F.3d
                 671, 676 (D.C. Cir. 1994); OSG Bulk Ships, Inc. v. United
                 States, 132 F.3d 808, 812 (D.C. Cir. 1998). As Judge Wil-
                 liams explained in Crowley, there are good reasons for
                 distinguishing between a “single-shot” non-enforcement
                 decision and a “general enforcement policy … articu-
                 lated … in some form of universal policy statement.” 37
                 F.3d at 676.
                     First, “expressions of broad enforcement policies are
                 abstracted from the particular combinations of facts the
                 agency would encounter in individual enforcement pro-
                 ceedings,” and thus are “more likely to be direct
                 interpretations of the commands of the substantive stat-
                 ute rather than the sort of mingled assessments of fact,
                 policy, and law that drive an individual enforcement de-
                 cision.” Id. Second, broad policy pronouncements pose
                 the risk that the agency may be “abdicat[ing] … its stat-
                 utory responsibilities,” whereas one-off decisions, by
                 their nature, do not raise the same concern. Id. at 677
                 (quotation marks omitted). Finally, “an agency will gen-
                 erally present a clearer (and more easily reviewable)
                 statement of its reasons for acting when formally articu-
                 lating a broadly applicable enforcement policy, whereas
                 such statements in the context of individual decisions to
                 forego enforcement tend to be cursory, ad hoc, or post
                 hoc.” Id.
                    This Court relied upon essentially the same reason-
                 ing in declining to extend Chaney to decisions not to




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                 institute a rulemaking. See Massachusetts v. EPA, 549
                 U.S. 497, 527 (2007). Compared to the myriad ad hoc
                 nonenforcement decisions that agency officials must
                 make, refusals to initiate a rulemaking are “‘less fre-
                 quent, more apt to involve legal as opposed to factual
                 analysis,’” and more often accompanied by a “‘public ex-
                 planation’” that provides a focus for review. Id. (citation
                 omitted). In each of these respects, general enforcement
                 policies are more like decisions to forgo rulemakings
                 than they are like the particular non-enforcement deci-
                 sions in Chaney.
                     3. Finally, this case is unlike Chaney in another sig-
                 nificant respect.      The individual non-enforcement
                 decisions in Chaney were decisions not to act (and in re-
                 sponse to petitions that the affected parties had no
                 obvious procedural right to file). See id. Accordingly,
                 after the FDA denied those petitions (which it equally
                 could have ignored), everything stood just as if they had
                 never been filed at all. In substance, then, the agency
                 simply opted to do nothing. Indeed, the leading treatise
                 understands Chaney as standing for the proposition
                 “that agency inaction is subject to a presumption of un-
                 reviewability.” 3 Kristin E. Hickman & Richard J.
                 Pierce, Administrative Law Treatise § 19.7, at 1965-66
                 (6th ed. 2019). Here, by contrast, the Duke Memoran-
                 dum is an affirmative policy statement that dramatically
                 alters the status quo. The agency’s action thus provides
                 the “focus for judicial review,” 470 U.S. at 832, that the
                 non-enforcement decisions in Chaney did not. For this
                 reason, too, the APA’s ordinary presumption—that Con-
                 gress did not set agencies free to make decisions of great




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                 consequence without any judicial backstop—should pre-
                 vail here.7
                 II. THE DUKE MEMORANDUM IS ARBITRARY
                     AND CAPRICIOUS.
                     The D.C. Respondents agree with other Respond-
                 ents that DACA and all of its consequences are lawful.
                 But the Court need not reach that question to affirm.
                 This brief focuses instead on the path forged by Judge
                 Bates: the Administration’s garbled explanation for its
                 legal determination fails the test of reasoned decision-
                 making. Under this Court’s longstanding precedent,
                 that is reason enough to vacate the action and leave the
                 agency free to try again if it wishes. And that is no mere
                 formality here: If and when the Government articulates
                 what exactly it finds problematic, there will surely be
                 many solutions far short of the action it said it was com-
                 pelled to take.
                     A.    The Duke Memorandum Offers No Reasoned
                           Explanation for Rescinding the DACA Mem-
                           orandum.
                    To validly rescind the DACA Memorandum, Secre-
                 tary Duke was required to “articulate[] ‘a satisfactory
                 explanation’ for [her] decision.” Dep’t of Commerce v.
                 New York, 139 S. Ct. 2551, 2569 (2019) (quoting State
                 Farm, 463 U.S. at 43). This requirement has two as-
                 pects. First, the agency’s explanation “must be set forth


                 7 Although the Government makes an oblique appeal to 8 U.S.C.
                 1252(g), that argument fails for the reasons stated by the District
                 Court, see NAACP Pet. App. 19a-21a, and other Respondents.




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                 with such clarity as to be understandable,” SEC v.
                 Chenery Corp., 332 U.S. 194, 196–97 (1947), so that a
                 court can proceed to “fulfill its duties” under the APA.
                 Pension Ben. Guar. Corp. v. LTV Corp., 496 U.S. 633,
                 655 (1990). Second, if the agency passes that threshold
                 test, its explanation (together with the administrative
                 record) must show that it “pursue[d] [its] goals reasona-
                 bly,” including by drawing a “‘rational connection
                 between the facts found and the choice made.’” Dep’t of
                 Commerce, 139 S. Ct. at 2569, 2576 (quoting State Farm,
                 463 U.S. at 43). Here, the Government’s rescission deci-
                 sion fails at the first step. And to the extent that its
                 reasoning can be understood, it fails at the second step
                 as well.
                     1. First, the District Court correctly held that the
                 Government “offer[ed] nothing even remotely approach-
                 ing a considered legal assessment.” NAACP Pet. App.
                 105a. Although the rescission decision plainly rested on
                 a judgment that the DACA Memorandum was unlawful,
                 that judgment is so ill-explained that this Court could
                 not review it short of “guess[ing] at the theory underly-
                 ing the agency’s action.” Chenery, 332 U.S. at 196-97.
                     a. Even if the Court searches for a coherent explana-
                 tion of the Government’s legal reasoning in the Attorney
                 General’s letter, the Duke Memorandum, and the rele-
                 vant portions of the Nielsen Memorandum, it will not
                 find one.8 Begin with the Attorney General’s letter,

                 8 Although it is unnecessary to resolve the issue here, only the At-
                 torney General’s letter should actually be considered in this inquiry.
                 The APA requires that the actual basis of the controlling judgment




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                 which stated his binding determination that the DACA
                 Memorandum lacked “proper statutory authority” and
                 was “unconstitutional.” JA 877. That letter observed
                 that the DAPA Memorandum was enjoined on “multiple
                 legal grounds” and asserted, without any explanation,
                 that the DACA Memorandum “has the same legal and
                 constitutional defects that the courts recognized as to
                 DAPA.” JA 877-78.
                     This comparison to the Fifth Circuit’s Texas decision
                 is inscrutable. First, no court identified any “constitu-
                 tional defect[] … as to DAPA.” JA 878. And second,
                 although one of the Fifth Circuit’s two “legal grounds”
                 for enjoining the DAPA Memorandum was a failure to
                 complete notice-and-comment, see supra at 9, the Attor-
                 ney General never mentioned that concern; Secretary
                 Duke mentioned it at most obliquely, see Regents Pet.
                 App. 114a; and both Secretary Nielsen and the Solicitor
                 General ignored it. That leaves the comparison to Texas
                 resting solely on the Fifth Circuit’s holding that DAPA
                 conflicted with the INA. But none of the agency docu-
                 ments offer any intelligible explanation of how the
                 Government actually understands that holding.
                    According to one view—seemingly voiced at one
                 point by Secretary Nielsen—the Fifth Circuit’s holding
                 “turned on the incompatibility of such a major non-en-
                 forcement policy with the INA’s comprehensive

                 be “clearly disclosed,” SEC v. Chenery Corp., 318 U.S. 80, 94 (1943),
                 and here the controlling legal judgment was the Attorney General’s.
                 Cf. Kisor v. Wilkie, 139 S. Ct. 2400, 2416 (2019) (to warrant defer-
                 ence, an interpretation must “emanate from those actors … [who]
                 make authoritative policy”).




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                 scheme.” Regents Pet. App. 122a. But the Fifth Circuit
                 and State plaintiffs conceded the legality of a non-en-
                 forcement policy on DAPA’s scale; they only took issue
                 with the accompanying provision of so-called “lawful
                 presence” and, to a lesser extent, work authorization.
                 See supra at 9-11. Given that disconnect, it is at least
                 unclear whether the Government’s position is actually
                 that mere deferrals of enforcement action become un-
                 lawful when undertaken on too “major” a scale. Cf. U.S.
                 Br. 45-46 (not appearing to take that position).
                     Perhaps, then, the Government’s legal objection is in-
                 stead limited (as the Fifth Circuit’s and the States’ was)
                 to the affirmative benefits that other regulations associ-
                 ate with a decision to defer action. There is evidence for
                 this interpretation, too. See Regents Pet. App. 114a
                 (Duke); id. 122a (Nielsen); JA 877-78 (Sessions). But if
                 these benefits underlie the alleged problem, the Govern-
                 ment’s position is only more obscure. For one thing, and
                 as discussed in detail below, the Government has never
                 said why this would require rescinding the DACA Mem-
                 orandum and thereby ending enforcement forbearance,
                 as opposed to modifying the application of other regula-
                 tions. See infra at 39-43.
                     But even with respect to those other regulations, the
                 Government has never said which benefits it does not
                 believe it may lawfully confer or to whom. The Govern-
                 ment has not said, for example, whether it now believes
                 that the regulation treating various classes of nonciti-
                 zens as “lawfully present” “[f]or purposes of 8 U.S.C.
                 1611(b)(2) only” is invalid—or, perhaps, is invalid in




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                 some of its myriad applications. Nor has the Govern-
                 ment explained whether or to what extent it now
                 believes the DHS work-authorization regulation is un-
                 lawful. See supra at 5. And, finally, if the problem is the
                 combination of certain of these features—i.e., numerical
                 scale, “lawful presence” for certain purposes, and poten-
                 tial eligibility for work authorization—the Government
                 has not said whether the alleged legal problem is trig-
                 gered by any particular combination, nor has it made any
                 attempt to explain “‘[h]ow much [deferred action] is too
                 much,’” Rucho v. Common Cause, 139 S. Ct. 2484, 2501
                 (2019).
                     b. In substance, then, all the Government has said is
                 that it agrees with enough of the Fifth Circuit’s reason-
                 ing to conclude that DACA is unlawful. Each of the
                 Government’s attempts at articulating what it actually
                 agrees with, however, has yielded more questions than
                 answers. There is an obvious reason for that: While the
                 Administration is committed to terminating DACA on
                 legal grounds, it does not wish to articulate a legal rule
                 that would curtail the agency’s future authority and cast
                 a pall over decades-old regulations. Presumably that is
                 also why the Government has not withdrawn and re-
                 placed the on-point, 33-page OLC opinion and replaced
                 it with one tracking and explicating the Fifth Circuit’s
                 reasoning in Texas: If the Executive Branch is going to
                 argue against its own power, it prefers to address the
                 issue only in the cryptic fashion of the three agency doc-
                 uments here. Cf. NAACP Pet. App. 104a (describing the
                 Government’s decision to “ignore[] the 2014 OLC Memo




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                 laying out a comprehensive framework” as “mystify-
                 ing”).9
                     In any event, the Government’s failure to meaning-
                 fully explain itself precludes effective judicial review at
                 this time. As this Court has said: “We must know what
                 a decision means before the duty becomes ours to say
                 whether it is right or wrong.” Chenery, 332 U.S. at 197
                 (citation omitted). The District Court correctly vacated
                 the rescission decision on this ground alone.
                     2. If the Court nonetheless decides to reconstruct the
                 agency’s reasoning as best it can and review that reason-
                 ing on its merits, the Court should hold that the agency
                 failed to draw a “‘rational connection between the facts
                 found and the choice made’” and “entirely failed to con-
                 sider an important aspect of the problem.” State Farm,
                 463 U.S. at 43.
                    Although the contours of the Government’s position
                 are far from clear, it seems the Government concluded
                 that the DACA Memorandum was unlawful because it

                 9 The same dynamic is playing out in the pending litigation challeng-
                 ing DACA. See Texas v. Nielsen, 1:18-cv-68 (S.D. Tex. filed May 1,
                 2018). In its initial answer, the Government agreed that DACA is
                 unlawful but declined to admit or deny specific allegations. Only
                 after the district court struck that pleading as deficient did the Gov-
                 ernment articulate its actual position on the legal theory advanced
                 to challenge DACA. It then “aver[red] that benefits tied to a DACA
                 grant are the result of pre-existing regulations or other guidance,
                 not the conferral of deferred action itself,” and “that DACA is a pol-
                 icy permitting prosecutorial discretion, not a program conferring
                 benefits.” Corrected Answer, ¶¶ 61, 150, 329, Texas v. Nielsen,
                 1:18-cv-68 (S.D. Tex. Mar. 6, 2019), Dkt. 370.




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                 not only resulted in a large number of decisions to defer
                 action, but also triggered the further consequences that
                 presently attend all decisions to defer action. See supra
                 at 36. But even assuming (for the sake of argument) that
                 some conjunction of these policies was indeed unlawful,
                 that in no way explains the judgment that the DACA
                 Memorandum itself was unlawful, or that the policy of
                 allowing childhood-arrivals to apply for enforcement for-
                 bearance therefore had to be rescinded.
                     As the parties agree, the DACA Memorandum es-
                 tablished a “nonenforcement policy” that “provide[s]
                 deferred action to ‘certain young people who were
                 brought to this country as children.’” U.S. Br. 5 (quoting
                 Regents Pet. App. 97a-101a). And as the parties also
                 agree, “deferred action” is “a practice in which the Sec-
                 retary exercises enforcement discretion to notify an
                 alien of the agency’s decision to forbear from seeking the
                 alien’s removal for a designated period.” Id. at 4. “De-
                 ferred action” has carried that same meaning—i.e., a
                 deferral of enforcement action—from its inception. See
                 supra at 4. But, as noted above, neither the Fifth Circuit
                 nor the States that challenged the DAPA Memorandum
                 have raised any objection to the large-scale provision of
                 deferred action in that sense. See supra at 9-11. In other
                 words, the legality of the sole action described within the
                 four corners of the DACA Memorandum is essentially
                 undisputed.
                     Furthermore, the Government agrees that a decision
                 to defer enforcement action by itself need not inherently
                 result in any affirmative benefits. Instead, any benefits
                 flowing from a decision to defer action are the result of




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                 separate regulations that post-date the practice of de-
                 ferred action, pre-date DACA, and can be modified
                 wholly independent of both. See U.S. Br. 5; supra at 5-
                 6, 38 n.9.
                     Thus, the Attorney General and DHS failed to draw
                 any rational connection between their apparent judg-
                 ment that DACA recipients could not be treated as
                 “lawfully present” for certain purposes (and/or made el-
                 igible for work authorization), on the one hand, and their
                 conclusion that the Government could not lawfully main-
                 tain its policy of enforcement forbearance, on the other.
                 At the very least, their failure to consider whether their
                 objection was actually properly aimed at the DACA
                 Memorandum’s guidance for the exercise of enforcement
                 forbearance—or instead at certain other policies they
                 acknowledge to be separate—means that they “entirely
                 failed to consider an important aspect of the problem.”
                 State Farm, 463 U.S. at 43.
                     To be sure, there is a natural explanation for the Gov-
                 ernment’s failure to consider that its legal objection was
                 not properly directed at the DACA Memorandum: The
                 Fifth Circuit had enjoined the DAPA Memorandum.
                 But if that explains the Attorney General’s or DHS’s
                 oversight, it only underscores the shallowness of their
                 analysis. As explained above, the DAPA case was liti-
                 gated on the premise that the underlying deferred-
                 action policy and its collateral effects (which allegedly in-
                 cluded an unbounded grant of “lawful presence”) rose or
                 fell together—a premise seemingly invited by the
                 DAPA Memorandum itself. See supra at 8-11. There
                 was no reason for the Government to take the same




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                 stance in its internal assessment of DACA. And still
                 worse, the agency documents give no hint that the Gov-
                 ernment even realized the choice it was making.
                     3. Far from being a volley in a predictable “‘ping-
                 pong game,’” Time, Inc. v. U.S. Postal Serv., 667 F.2d
                 329, 335 (2d Cir. 1981), the decision to vacate and remand
                 here carries immense real-world importance. The APA
                 requires an ill-considered decision to be reconsidered in
                 part because “proceeding on the right path may require
                 or at least permit the agency to make qualifications and
                 exceptions that the wrong one would not.” Henry J.
                 Friendly, Chenery Revisited, 1969 Duke L.J. 199, 223.
                 Indeed, in State Farm itself, this Court unanimously set
                 aside an agency decision that opted for “rescission” of an
                 existing policy but “gave no consideration whatever to
                 modifying” the policy to redress the agency’s own con-
                 cern. 463 U.S. at 46-50. Here, if and when the
                 Government develops a cogent theory of what it believes
                 to be unlawful, it will be faced with numerous remedial
                 paths that it has so far failed to consider (or, perhaps,
                 perceive).
                     Most notably, if the Government believes that the
                 conjunction of enforcement forbearance and some form
                 of “lawful presence” is unlawful—the principal submis-
                 sion of the State plaintiffs in Texas, see supra at 11—
                 DHS could modify its policies regarding “lawful pres-
                 ence.”10 For example, the Government could decide

                 10 Alternatively, if the Government ultimately decides that its ob-
                 jection is based on work authorization, it would presumably
                 consider parallel modifications to the relevant 1987 regulation. See




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                 that, on reflection, deferred-action recipients are not
                 “lawfully present” in the sense relevant to one or an-
                 other statute. See supra at 5-6. Or, if it preferred a more
                 surgical approach, it could carve out those who obtain
                 deferred action pursuant to the DACA Memorandum.
                 In fact, DACA recipients are already defined as not
                 “lawfully present” for purposes of the Affordable Care
                 Act. See 45 C.F.R. 152.2(8). Nor does the Government
                 treat them as “lawfully residing in the United States” for
                 purposes of Medicaid. See Letter from Cindy Mann to
                 State Health Officials (Aug. 28, 2012), https://bit.ly/
                 2kJZgn5. But because the Government has never set-
                 tled on a determinate legal theory, it has never even
                 considered whether its concerns could be resolved by ad-
                 justing the regulation to reflect its current view of
                 “lawful presence” (whatever that view is) or following
                 these DACA-specific examples.
                     Of course, Respondents do not favor any of these
                 modifications—but that is beside the point. Hundreds of
                 thousands of childhood-arrivals would benefit incalcula-
                 bly if the Government merely continued the DACA
                 Memorandum’s assurances against removal, let alone
                 their eligibility for work authorization. The Government
                 has never explained why even its own concerns preclude
                 preserving DACA to that extent—particularly in light
                 of the substantial disruptive effects of outright rescis-
                 sion for DACA recipients and their families, schools, and
                 employers. See Encino Motorcars, LLC v. Navarro, 136
                 S. Ct. 2117, 2125-26 (2016) (“‘[S]erious reliance interests


                 supra at 5.




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                 … must be taken into account.’”). Accordingly, it is vital
                 for this Court to enforce the APA’s requirement of rea-
                 soned decision-making and thereby prompt the
                 Government to finally consider whether it is “entirely
                 sure the evil [it sees] calls for any remedy, let alone the
                 drastic one [it] ha[s] chosen.” Friendly, supra, at 209.11
                     B.    The Solicitor General’s Arguments Do Not
                           Explain Why DACA Is Unlawful.
                     The Solicitor General contends that, even if the Gov-
                 ernment gave an “inadequate explanation” at the agency
                 level, this Court should uphold the rescission decision on
                 the ground that “DACA is unlawful.” U.S. Br. 51; see id.
                 at 43-50. But the Solicitor General’s attack on DACA’s
                 legality fails for essentially the same reasons that the
                 Government’s prior explanations were inadequate. If
                 anything, the Solicitor General’s brief only underscores
                 that the Department of Justice and DHS still have not
                 come to any considered position regarding the legality of
                 large-scale deferred-action policies, the legality of the
                 regulations that associate collateral benefits with de-
                 ferred-action decisions, or the relationship between the
                 two.

                 11 The same explanatory deficiencies dispose of the Government’s
                 remarkable argument (U.S. Br. 50-51) that the Executive Branch’s
                 legal views could justify its action even if they are wrong. Even if
                 that premise were true, but see Marbury v. Madison, 5 U.S. (1
                 Cranch.) 137, 177 (1803), the Government does not dispute that the
                 APA’s requirement of reasoned explanation would apply all the
                 same. Here, the absence of a reasoned explanation precludes a
                 judgment that the Government was “wrong but reasonable” in be-
                 lieving itself bound to rescind the DACA Memorandum.




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                     1. First, the Solicitor General’s account of the Fifth
                 Circuit’s reasoning in Texas “is like Hamlet without the
                 prince.” Cooper, 137 S. Ct. at 1496 (Alito, J., dissenting
                 in part). The Solicitor General extracts “four reasons”
                 from the Fifth Circuit’s opinion but, through artfully
                 truncated quotations, manages to avoid any mention of
                 “lawful presence”—or, for the most part, work authori-
                 zation. Compare U.S. Br. 33-36, with supra at 9-10
                 (describing Fifth Circuit’s actual reasoning). This oddity
                 appears to reflect the more basic predicament in which
                 the Government finds itself. On the one hand, the Attor-
                 ney General and DHS pinned their objection to DACA
                 to the Fifth Circuit’s decision, and the Solicitor General
                 needs to defend their doing so. But on the other hand,
                 the Government remains committed to its longstanding
                 (and correct) position that the benefits that concerned
                 the Fifth Circuit “are the result of pre-existing regula-
                 tions or other guidance, not the conferral of deferred
                 action itself.” Corrected Answer, ¶ 61, Texas v. Nielsen,
                 1:18-cv-68 (S.D. Tex. Mar. 6, 2019), Dkt. 370; see U.S. Br.
                 4-5. And if that is so, these benefits could not explain
                 why a deferred-action policy is itself unlawful or must be
                 rescinded.
                     Rather than engaging with this tension, the Solicitor
                 General papers it over. By describing the Fifth Circuit’s
                 decision in generic terms—as concerned with “deferred
                 action and associated benefits,” or “categories of aliens
                 of vast economic and political significance”—he avoids
                 grappling with the actual legal foundations of the “asso-
                 ciated benefits” that gave rise to the alleged “vast
                 economic and political significance.” U.S. Br. at 34, 36




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                 (quotation marks omitted). But as a result of this eva-
                 sion, he does not articulate any serious reason for
                 inferring from the Texas decision—which rested on law-
                 ful presence and work authorization—that DACA’s
                 policy of enforcement forbearance is unlawful.12
                     2. When the Solicitor General turns to articulating
                 his own reasons for finding DACA unlawful, the Govern-
                 ment’s position becomes murkier still. See id. 43-50.
                 What DHS may not do, he says, is “maintain a [1] cate-
                 gorical deferred-action policy [2] affirmatively
                 sanctioning the ongoing violation of federal law by [3] up
                 to 1.7 million aliens to whom [4] Congress has repeatedly
                 declined to extend immigration relief.” Id. at 43-44.
                     Initially, two of these conditions are clear make-
                 weights. The Solicitor General never mentions the
                 “categorical” criterion again and does not explain why
                 the DHS Secretary is not permitted to limit the room for
                 subjective whims and personal preferences by setting
                 consistent, agency-wide criteria for the exercise of non-
                 enforcement discretion—while mandating individual-
                 ized review of all genuinely case-specific factors. In fact,
                 the Solicitor General lauds such general policies. See id.
                 22; see also infra at 57. And the fact that Congress has
                 not passed the DREAM Act—also ignored in the bal-
                 ance of the Solicitor General’s discussion—proves

                 12 One reason the Government remains firmly (and correctly) com-
                 mitted to distinguishing deferred action from its collateral effects is
                 that, if the two were collapsed, every decision to grant or deny de-
                 ferred action would presumably be subject to judicial review—just
                 as Texas claims regarding DACA and its rescission. See Brief Amici
                 Curiae of Texas et al. 31.




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                 nothing. “[U]nsuccessful attempts at legislation” are un-
                 illuminating. Red Lion Broad. Co. v. FCC, 395 U.S. 367,
                 382 n.11 (1969). But even if that rule were otherwise,
                 surely the more illuminating “unsuccessful” congres-
                 sional action was the failure of legislation to end DACA.
                 See JA 828 n.9. That speaks more directly to the policy
                 at issue here than does the failure of legislation that
                 would have granted childhood-arrivals full-blown legal
                 status, a status that DACA does not provide.
                     The core of the Solicitor General’s argument, then, is
                 captured by the other two conditions: DHS may not “af-
                 firmatively sanction[]” or “facilitate[]” the continuing
                 presence of too large a number of noncitizens who lack
                 lawful immigration status. U.S. Br. 43-44. But, just as
                 with his discussion of Texas, the Solicitor General is stu-
                 diously vague about what this means. He does not
                 contend that deferred action itself “affirmatively sanc-
                 tions” anyone’s presence or is for that reason unlawful.
                 To the contrary, he acknowledges that “[a] grant of de-
                 ferred action does not confer lawful immigration status
                 or provide any defense to removal.” Id. at 5. And he
                 does not appear to contend that mere enforcement for-
                 bearance becomes unlawful when it is conducted on too
                 large a scale or pursuant to an affirmative application
                 process. See id. at 44-45. That position, as earlier noted,
                 would go far beyond what even the Fifth Circuit and the
                 State plaintiffs ever claimed, see supra at 36—and it
                 would have sweeping ramifications for other non-en-
                 forcement policies, well beyond the immigration context,
                 that the Government is predictably unwilling to invite.
                    If only by process of elimination, then, the Solicitor




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                 General’s objection seems to be to the collateral conse-
                 quences that currently attend deferred-action decisions,
                 at least as applied to large-scale deferred-action policies.
                 See U.S. Br. 44-45 (suggesting that these consequences
                 make a policy more than “interstitial”). But once again,
                 the Solicitor General says virtually nothing about where
                 these benefits come from. He thus fails to explain why
                 they make the DACA Memorandum unlawful, rather
                 than (at most) call for thoughtful consideration of the
                 separate regulations and policies establishing “a proce-
                 dure to make [deferred-action recipients] eligible for
                 additional benefits.” Id. at 45.
                     3. In any event, this Court should not take up the
                 delicate merits issues posed by the legality of deferred-
                 action policies or associated benefits based on briefing
                 that is cursory at best, and obfuscatory at worst. Those
                 legal issues implicate a complex statutory and regula-
                 tory scheme that governs the lives and livelihoods of
                 millions of people, across numerous categories, in varied
                 ways. Yet the relevant statutes and regulations make
                 barely a cameo appearance in the Government’s brief.
                 That is all the more reason simply to hold that the Gov-
                 ernment failed to offer a reasoned explanation of its
                 decision to rescind the DACA Memorandum. See supra
                 Section II.A. If the Court goes further, however, it
                 should hold that the DACA Memorandum itself is law-
                 ful—and leave questions pertaining to other agency
                 regulations to be addressed if and when the need arises.




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                 III. THE NIELSEN MEMORANDUM’S “POLICY”
                      RATIONALES DO NOT RENDER THE DUKE
                      MEMORANDUM EITHER UNREVIEWABLE OR
                      LAWFUL.
                     Despite having rescinded DACA on legal grounds,
                 the Government now invokes a “number of reasons” of
                 enforcement policy offered by Secretary Nielsen. U.S.
                 Br. 16. The Court should not permit this change in tune.
                 After the District Court vacated the Duke Memoran-
                 dum, the Government chose not to take a new agency
                 action rescinding DACA—as the court’s order had con-
                 templated—but instead to insist that Judge Bates
                 should un-vacate the Duke Memorandum and uphold
                 that prior agency action after all. That was no accident:
                 As the Nielsen Memorandum acknowledged, this ap-
                 proach allowed the Government to “continue to seek
                 appellate review” of decisions holding Secretary Duke’s
                 action unlawful—rather than mooting those cases and
                 facing a second round of litigation that would begin
                 anew. Regents Pet. App. 121a. But having chosen to de-
                 fend the validity of Secretary Duke’s action, the
                 Government cannot resort to hypothetical policy ration-
                 ales invented by Secretary Nielsen nine months later.
                 Finally, even if Secretary Nielsen’s new rationales were
                 properly before the Court, they would still fail arbitrary-
                 and-capricious review.
                    A.   The Nielsen Memorandum’s Non-Legal Ra-
                         tionales Should Be Disregarded.
                     1. To determine whether an agency action was arbi-
                 trary or capricious, a court must “evaluate the agency’s
                 rationale at the time of decision.” LTV, 496 U.S. at 654




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                 (emphasis added). Contrary to the Solicitor General’s
                 suggestion (U.S. Br. 29), that rule does not merely pro-
                 hibit new explanations by the agency’s lawyers. Rather,
                 in a series of cases, this Court has directly addressed—
                 and strictly limited—an agency’s own authority to aug-
                 ment its explanation of a prior action after the fact.
                     As this Court recently explained, “a court is ordinar-
                 ily limited to evaluating the agency’s contemporaneous
                 explanation” of its action. Dep’t of Commerce, 139 S. Ct.
                 at 2573. That rule does have an exception—but it does
                 not help the Government. In particular, if “there was
                 such failure to explain administrative action as to frus-
                 trate effective judicial review,” Camp v. Pitts, 411 U.S.
                 138, 142–43 (1973), a court may “remand to the agency
                 for a fuller explanation of the agency’s reasoning at the
                 time of the agency action,” LTV, 496 U.S. at 654 (empha-
                 sis added).      Such a remand allows after-the-fact
                 explanation of the agency’s original reasons, but it does
                 not afford an opportunity to propose new reasons.
                 Whether new material is obtained from the agency via
                 in-court affidavits or via a “remand … for a fuller expla-
                 nation,” it must “shed light on the Secretary’s reasoning
                 at the time [s]he made the decision.” Id. at 654 (empha-
                 sis added); see Citizens to Preserve Overton Park, Inc. v.
                 Volpe, 401 U.S. 402, 419 (1971).
                    This Court has already explained how these princi-
                 ples apply to a case like this one. If an agency gives a
                 “contemporaneous explanation” of its action that, how-
                 ever “curt,” “indicate[s] the determinative reason for
                 the final action taken,” then any subsequent attempt to
                 better explain that prior agency action may not venture




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                 beyond the “determinative reason” already given.
                 Camp, 411 U.S. at 143; see id. (applying this rule to the
                 Comptroller of Currency’s “finding that a new bank was
                 an uneconomic venture”). The Court has thus made it
                 “abundantly clear” that “when there is a contemporane-
                 ous explanation of the agency decision, the validity of
                 that action must ‘stand or fall on the propriety of that
                 finding,’” Vermont Yankee Nuclear Power Corp. v. Nat.
                 Res. Def. Council, Inc., 435 U.S. 519, 549 (1978) (quoting
                 Camp, 411 U.S. at 143), not some other finding devised
                 later.
                     2. This rule is not only well-settled, but well-justi-
                 fied. For starters, the text of the APA requires it. As a
                 matter of plain English, whether a decision was “arbi-
                 trary” or “capricious” depends on whether “the actual
                 choice made … was based on a consideration of the rele-
                 vant factors.” Overton Park, 401 U.S. at 416. If it was
                 not, then the decision was necessarily an “arbitrary” (or
                 “capricious”) one. It makes no difference whether the
                 decisionmaker (or her successor) later comes to think
                 that she happened upon the right bottom-line.
                    Beyond the text, this Court’s longstanding rule
                 against upholding old actions based on new reasons
                 serves three central values of administrative law—each
                 exemplified by this case.
                     a. First, the rule serves “the principle of agency ac-
                 countability.” Bowen v. Am. Hosp. Ass’n, 476 U.S. 610,
                 643 (1986) (plurality opinion). “The reasoned explana-
                 tion requirement of administrative law, after all, is
                 meant to ensure that agencies offer … reasons that can
                 be scrutinized by courts and the interested public.”




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                 Dep’t of Commerce, 139 S. Ct. at 2575-76 (emphasis
                 added). That core objective would be frustrated if the
                 agency could act on one basis and present that rationale
                 to the public, only to have the action upheld based on dif-
                 ferent reasons it articulates in a court filing months or
                 years later.
                     This case is a perfect example. The Administration
                 went to great lengths to present DACA’s rescission as a
                 “legal decision” that was “for Congress to fix.” See su-
                 pra at 13-15. If the Administration now wishes to
                 rescind DACA on other grounds—with different politi-
                 cal implications—it should be required to take a new
                 agency action that the public will understand to take the
                 place of the last one. Although the Government objects
                 that a new action would come at the cost of “reset[ting]
                 this protracted litigation,” NAACP Cert. Reply Br. 4,
                 that is, in part, the point. Such a “reset” would make
                 clear to the interested public that the Government has
                 made a distinct decision worthy of equal attention and
                 scrutiny as the first. By contrast, if the original action
                 is now upheld, many will understandably conclude that
                 the “legal decision” advertised to the public was vindi-
                 cated by the courts.
                     b. Just as importantly, the APA’s bar on post hoc ra-
                 tionalizations ensures that agency decisions are guided
                 by fair and considered judgment. This Court has recog-
                 nized that agencies (not just their lawyers) will naturally
                 be drawn to rationalize their prior actions. The fact that
                 a position is “‘advanced by an agency seeking to defend
                 past agency action against attack’” is thus a “reason to
                 suspect that [it] ‘does not reflect the agency’s fair and




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                 considered judgment.’” Christopher v. SmithKline Bee-
                 cham Corp., 567 U.S. 142, 155 (2012) (citations omitted);
                 see Kisor, 139 S. Ct. at 2417 (same). By requiring that
                 the agency make a new decision if it wishes to rest on a
                 new reason, the traditional rule mitigates the gravita-
                 tional pull of the existing decision on the agency’s
                 thinking.
                     Once again, this case exemplifies the logic of the rule.
                 As a practical matter, Secretary Nielsen’s assessment of
                 the reasons for and against rescinding DACA was surely
                 colored by the fact that she was actively litigating the
                 merits of her agency’s existing decision to rescind
                 DACA. That is not to accuse the Executive Branch of
                 “[ir]regularity” (U.S. Br. 30), but simply to recognize
                 that agency officials are not immune to human psychol-
                 ogy. When an agency takes a new action, by contrast, it
                 necessarily abandons the hope (and temptation) of vindi-
                 cating its last one in further litigation. And here again,
                 the Government’s candid concession that it did not wish
                 “to reset this protracted litigation by issuing a ‘new’ in-
                 dependent agency decision,” NAACP Cert. Reply Brief
                 at 4, proves the point. New reasons given in the midst
                 of “protracted litigation” that the agency is eager to re-
                 solve are likely to represent a “‘convenient litigating
                 position,’” Christopher, 567 U.S. at 155, rather than a
                 considered judgment.
                    Indeed, the Nielsen Memorandum poses this familiar
                 worry with unusual sharpness. Given Secretary Niel-
                 sen’s acknowledgment that the Attorney General’s legal
                 determination remained binding on her, see Regents Pet.
                 App. 122a-123a, her assertion that she also favored




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                 DACA’s rescission as a matter of policy lacked any real-
                 world consequence. The only reason even to undertake
                 such a hypothetical exercise of discretion was to seek an
                 advantage in this litigation. Tellingly, the new policy ra-
                 tionales were not supported by any new administrative
                 record, nor grounded anywhere in the prior administra-
                 tive record—and yet, in Secretary Nielsen’s asserted
                 judgment, each made for a “separate and independently
                 sufficient” reason why the agency had been right all
                 along. Id. 122a. This Court’s ordinary concerns about an
                 agency’s post hoc rationalizations apply with particular
                 force to this kind of litigation-oriented thought experi-
                 ment.
                     c. Finally, the traditional bar on new reasons for old
                 actions also promotes “the orderly functioning of the
                 process of review.” Chenery, 318 U.S. at 94. “[T]he
                 courts cannot exercise their duty of review unless they
                 are advised of the considerations underlying the action
                 under review.” Id. And they cannot exercise their duty
                 in an orderly fashion if the “considerations underlying
                 the action under review,” id., are a perpetual moving
                 target. In fact, an agency anticipating litigation would
                 have perverse incentives: Rather than crafting the best
                 possible defense for its action at the outset, the agency
                 instead would be best served by promulgating a trial-
                 balloon rationale, waiting until it is sued, and then craft-
                 ing reasons to circumvent the challengers’ arguments.
                 That not only enlists courts in a game of Whac-a-Mole,
                 but also further undermines the values of accountable
                 and considered decision-making.
                    Just as with those other values, this case illustrates




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                 the disorder threatened by the Government’s approach.
                 The District Court rendered summary judgment and va-
                 cated the Duke Memorandum in April 2018. Whatever
                 new reasons for rescinding DACA the agency later ad-
                 duced, they could not warrant “revising” a prior
                 judgment that was in no way erroneous. See Motion to
                 Revise at 19. Meanwhile, the Government also sought
                 to interject and rely upon the new memorandum in two
                 pending appeals of district court decisions rendered be-
                 fore the memorandum even existed. Orderly review
                 under the APA is better achieved by hewing to this
                 Court’s simple and venerable rule: An agency action may
                 not be upheld based on post hoc rationalizations.
                     3. Because the Duke Memorandum may not be up-
                 held based on new reasons, the Government’s choice to
                 “stand by its September 2017 rescission decision,” supra
                 at 17, places it in a self-imposed bind. The Duke Memo-
                 randum rested solely on a judgment of legal invalidity.
                 See supra at 21-23. Accordingly, insofar as the Nielsen
                 Memorandum advances any other arguments, they are
                 not properly at issue here. At the same time, the Nielsen
                 Memorandum’s actual legal explanation remains inade-
                 quate. See supra at 35-40. And the Duke Memorandum
                 thus remains both reviewable and arbitrary and capri-
                 cious. That resolves this case.13


                 13 Contrary to the Solicitor General’s assertion (U.S. Br. 29-30), the
                 District Court agreed with the critical aspects of this analysis. As
                 the court explained, insofar as Secretary Nielsen had recast the
                 agency’s decision as a “policy” choice, she had impermissibly “al-
                 ter[ed],” rather than “elaborat[ed] on,” Secretary Duke’s reasoning.




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                     To be sure, even when a prior agency action was ar-
                 bitrary, this Court has occasionally found it unnecessary
                 to remand because the outcome of future proceedings
                 was wholly foreordained. See NLRB v. Wyman-Gordon
                 Co., 394 U.S. 759, 766 n.6 (1969) (plurality opinion). That
                 is not so here. As explained above, DHS still has not yet
                 reckoned with the range of options for remedying the as-
                 serted legal problem that has so far driven its decision-
                 making. See supra at 41-42. And any new decision to
                 rescind the DACA Memorandum on policy grounds
                 would implicate delicate “considerations of politics, the
                 legislative process, [and] public relations.” Dep’t of
                 Commerce, 139 S. Ct. at 2573. Indeed, the President
                 continues to assert that he supports relief for DACA re-
                 cipients—and that his Administration rescinded the
                 existing policy not based on substantive disagreement,
                 but because it is “totally illegal.” Supra at 18. Thus, it
                 is impossible for the Solicitor General, former-Secretary
                 Nielsen, or anyone else to predict how the President and
                 now-Secretary McAleenan will respond to a decision af-
                 firming the judgment below.
                     B.    Even if the Nielsen Memorandum’s Non-Le-
                           gal Rationales Are Considered, They Do Not
                           Justify Upholding the Duke Memorandum.
                    1. The District Court correctly held that, even if the
                 Nielsen Memorandum’s “policy” arguments were to be

                 NAACP Pet. App. 101a; see id. at 95a-98a. True, the court treated
                 this conclusion only as establishing reviewability, rather than as
                 rendering the non-legal assertions completely irrelevant. But the
                 court nevertheless proceeded to correctly reject the new arguments
                 on the merits. See id. at 98a-103a; infra Section III.B.




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                 considered, they should not be permitted to preclude ju-
                 dicial review—particularly in light of “the broader
                 context of this litigation.” NAACP Pet. App. 95a-100a;
                 supra n.13; see also Overton Park, 401 U.S. at 420 (ex-
                 plaining that, even in the limited circumstances when an
                 agency’s augmented explanation may be considered, it
                 “must be viewed critically”). That judgment was, at a
                 minimum, well within the court’s discretion in resolving
                 a motion for reconsideration. Moreover, because the re-
                 scission of DACA is a change in a general enforcement
                 policy, it is presumptively reviewable regardless of
                 whether it rests on an asserted lack of discretion. See
                 supra Section I.B. Like other discretionary judgments,
                 Secretary Nielsen’s “policy” rationales can at least be re-
                 viewed to determine whether DHS “exercise[d] its
                 discretion in a reasoned manner.” Judulang v. Holder,
                 565 U.S. 42, 53 (2011).
                    2. Each of the new arguments adduced by Secretary
                 Nielsen is arbitrary and capricious.
                     a. Secretary Nielsen said she had “serious doubts”
                 about the legality of the DACA Memorandum. Regents
                 Pet. App. 123a. But the arbitrariness of the Govern-
                 ment’s legal explanation, see supra Section II.A, is fatal
                 regardless of whether it is offered in support of a claim
                 of “doubt” or a bottom-line conclusion. Likewise, the
                 suggestion that the agency rescinded DACA outright
                 for fear of repeating the Texas case rests on the same
                 non sequitur discussed above. See supra at 38-41, 44-45.
                    b. Secretary Nielsen’s purported “reasons of en-
                 forcement policy” fare no better. One asserted reason is
                 that “DHS should enforce the policies reflected in the




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                 laws adopted by Congress.” Regents Pet. App. 123a. But
                 the law most on point, 6 U.S.C. 202(5), affirmatively au-
                 thorizes DHS to set enforcement policies and
                 priorities—and does so against a backdrop of numerous
                 past deferred-action policies that are not different from
                 DACA in any respect noted by Secretary Nielsen. The
                 closest Secretary Nielsen came to identifying a contrary
                 legislative “policy” was to draw an inference from the
                 non-passage of the DREAM Act, but that inference fails
                 for the reasons given above. See supra at 46.
                     Secretary Nielsen also asserted that DHS “should
                 only exercise its prosecutorial discretion” free of agency-
                 wide criteria that “tilt the scales” in favor of deferring
                 action in certain cases. Regents Pet. App. 124a. But,
                 again, Congress made the DHS Secretary “responsible”
                 for “[e]stablishing … enforcement policies and priori-
                 ties,” 6 U.S.C. 202(5)—and for exercising “control,
                 direction, and supervision” over DHS employees, 8
                 U.S.C. 1103(a)(2) and (3). An unexplained preference for
                 abdicating those responsibilities and leaving employees
                 to act on whim is irrational. For that matter, the Gov-
                 ernment itself argues that “‘supervisory control over
                 [individual] discretion is necessary to avoid arbitrari-
                 ness.’” U.S. Br. 22 (citation omitted). In any event,
                 Secretary Nielsen did not offer any evidence that the re-
                 sidual case-by-case review prescribed by the DACA
                 Memorandum had actually proved inadequate.14 Nor

                 14 In fact, the evidence establishes that discretionary review of
                 DACA applications is far from perfunctory. See Brief Amici Curiae
                 of Texas v. United States Defendant-Intervenors DACA Recipients
                 and State of New Jersey.




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                 did she explain why, if it had, she could not “simply di-
                 rect her employees to implement it properly.” NAACP
                 Pet. App. 100a.
                     Secretary Nielsen also suggested that DHS must
                 “project a message” about DHS’s intent to enforce the
                 law, given that “thousands of minor aliens have illegally
                 crossed … our border in recent years.” Regents Pet.
                 App. 124a. But nothing in the record supports the claim
                 that DACA—which applies “only to those individuals
                 who have lived in the United States since 2007,”
                 NAACP Pet. App. 102a—has any causal relationship to
                 minors crossing the border. Secretary Nielsen failed
                 even to acknowledge that the Government previously
                 took a contrary position. See U.S. Br. at 47, United
                 States v. Texas, No. 15-674 (U.S. Mar. 1, 2016), 2016 WL
                 835758. And, tellingly, rather than cite the administra-
                 tive record to support the point, the Solicitor General
                 cites a law-review article that the agency apparently
                 never considered. U.S. Br. 41.
                     3.a. Finally, an additional defect cuts across the
                 whole of the Nielsen Memorandum. As the District
                 Court explained, Secretary Nielsen “fail[ed] to engage
                 meaningfully with the reliance interests and other coun-
                 tervailing factors that weigh against” rescission.
                 NAACP Pet. App. 106a. In fact, she did “not even iden-
                 tify what those interests are,” id. 107a, even though they
                 plainly bear on the remedial choice facing the Govern-
                 ment, see supra at 41-43. Instead, contrary to this
                 Court’s admonition that agencies must carefully con-
                 sider the effects of rescinding an existing policy,
                 Secretary Nielsen simply opined that any such matters




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                 “would best be considered by Congress.” Regents Pet.
                 App. 125a. She thus gave no hint that she considered the
                 equitable considerations identified in the DACA Memo-
                 randum, the number of people who had obtained
                 deferred action under DACA, the life-changing signifi-
                 cance of those deferrals, or the derivative impacts of
                 rescission on families, schools, churches, communities,
                 and employers. The administrative record does not even
                 include any information on these subjects.
                     If Secretary Nielsen’s discussion of costs and reliance
                 suffices here, this Court’s instruction that “‘[i]t would be
                 arbitrary and capricious to ignore such matters,’” Perez
                 v. Mortgage Bankers Association, 135 S. Ct. 1199, 1209
                 (2015) (citation omitted), will be reduced to a box-check-
                 ing exercise. When a court’s remedial order offers only
                 “minimal reasoning” and purports to have evaluated
                 only “unspecified costs,” this Court lacks “confidence
                 that [it] adequately grappled with the interests on both
                 sides” and is unable to perform “even deferential re-
                 view.” North Carolina v. Covington, 137 S. Ct. 1624,
                 1626 (2017) (per curiam). An agency charged with deci-
                 sions of the magnitude at issue here should be held to no
                 less a standard.
                     b. Finally, Secretary Nielsen’s cursory discussion of
                 rescission’s disruptive effects also severely undermines
                 her claims of severability. Although Secretary Nielsen
                 asserted that each of her three rationales was “inde-
                 pendently sufficient” as an affirmative reason to rescind
                 DACA, Regents Pet. App. 122a, she did not attempt to
                 weigh each of those reasons independently against the
                 interests on the anti-rescission side of the balance. See




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                 id. 125a (stating only that reliance interests “do not out-
                 weigh the questionable legality of the policy and other
                 reasons for ending the policy discussed above” (empha-
                 sis added)). Thus, one cannot conclude that Secretary
                 Nielsen meaningfully considered whether each of her
                 grounds would independently justify rescission. The ab-
                 sence of any such analysis is less surprising when one
                 remembers that Secretary Nielsen was engaged in a
                 counterfactual assessment of how she would exercise
                 discretion that she believed that she did not have. See
                 supra at 52-53. As this Court has observed, “‘legal
                 lapses and violations occur, and especially so when they
                 have no consequence.’” Weyerhaeuser, 139 S. Ct. at 370
                 (citation omitted).
                                      CONCLUSION
                    The District Court’s judgment should be affirmed.




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                                            Respectfully submitted,

                BENJAMIN M. EIDELSON             LINDSAY C. HARRISON
                1525 Massachusetts Ave.            Counsel of Record
                Cambridge, MA 02138              IAN HEATH GERSHENGORN
                (617) 495-4846                   THOMAS J. PERRELLI
                                                 MATTHEW E. PRICE
                Counsel for Respondents          ISHAN K. BHABHA
                The Trustees of Princeton        JENNER & BLOCK LLP
                University, Microsoft            1099 New York Ave., NW
                Corporation, and Maria De        Suite 900
                La Cruz Perales Sanchez          Washington, DC 20001
                                                 (202) 639-6000
                CYNTHIA L. RANDALL               lharrison@jenner.com
                MICROSOFT CORPORATION
                                                 Counsel for Respondents
                One Microsoft Way
                                                 The Trustees of Princeton
                Redmond, WA 98052
                                                 University, Microsoft
                (425) 538-3176
                                                 Corporation, and Maria De
                                                 La Cruz Perales Sanchez
                Counsel for Respondent
                Microsoft Corporation
                                                 RAMONA E. ROMERO
                                                 WESLEY MARKHAM
                                                 PRINCETON UNIVERSITY
                                                 New South Building
                                                 Fourth Floor
                                                 Princeton, NJ 08544
                                                 (609) 258-2500

                                                 Counsel for Respondent The
                                                 Trustees of Princeton
                                                 University




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                JOSEPH M. SELLERS              BRADFORD M. BERRY
                JULIE S. SELESNICK             NAACP
                COHEN MILSTEIN SELLERS         4805 MOUNT HOPE DRIVE
                 & TOLL PLLC                   BALTIMORE, MD 21215
                1100 NEW YORK AVE., NW         (410) 580-5797
                FIFTH FLOOR
                WASHINGTON, DC 20005           Counsel for Respondent
                (202) 408-4600                 NAACP

                Counsel for Respondents        DAVID J. STROM
                NAACP; American                AMERICAN FEDERATION
                Federation of Teachers, AFL-    OF TEACHERS, AFL-CIO
                CIO; and United Food and       555 New Jersey Ave. N.W.
                Commercial Workers             Washington, DC
                International Union, AFL-      (202) 393-7472
                CIO, CLC
                                               Counsel for Respondent
                PETER J. FORD                  American Federation of
                UNITED FOOD &                  Teachers, AFL-CIO
                 COMMERCIAL WORKERS
                 INTERNATIONAL UNION,
                 AFL-CIO, CLC
                1775 K Street. N.W.
                Washington, DC 20006
                (202) 223-3111

                Counsel for Respondent
                United Food & Commercial
                Workers International
                Union, AFL-CIO, CLC




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                                      Nos. 18-587, 18-588, 18-589

                      In the Supreme Court of the United States

                          DEPARTMENT OF HOMELAND SECURITY, et al.,
                                                                      Petitioners,
                                                         v.
                      REGENTS OF THE UNIVERSITY OF CALIFORNIA, et al.,
                                                                      Respondents.
                   DONALD J. TRUMP, President of the United States, et al.,
                                                                      Petitioners,
                                                         v.
                        NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                                OF COLORED PEOPLE, et al.,
                                                                      Respondents.
                                     KEVIN K. MCALEENAN,
                          Acting Secretary of Homeland Security, et al.,
                                                       Petitioners,
                                            v.
                            MARTIN JONATHAN BATALLA VIDAL, et al.,
                                                       Respondents.
                ON WRITS OF CERTIORARI TO THE UNITED STATES COURTS OF APPEALS
                  FOR THE NINTH, DISTRICT OF COLUMBIA, AND SECOND CIRCUITS

                 BRIEF FOR THE STATES OF NEW YORK, MASSACHUSETTS,
                  WASHINGTON, COLORADO, CONNECTICUT, DELAWARE,
                 HAWAI‘I, ILLINOIS, IOWA, NEW MEXICO, NORTH CAROLINA,
                 OREGON, PENNSYLVANIA, RHODE ISLAND, VERMONT, AND
                       VIRGINIA, AND THE DISTRICT OF COLUMBIA,
                               RESPONDENTS IN NO. 18-589

                                                          LETITIA JAMES
                                                           Attorney General of New York
                                                          BARBARA D. UNDERWOOD*
                                                           Solicitor General
                                                          ANISHA S. DASGUPTA
                                                           Deputy Solicitor General
                                                          ANDREW W. AMEND
                                                           Assistant Deputy Solicitor General
                                                          DAVID S. FRANKEL
                                                           Assistant Solicitor General
                                                          28 Liberty Street
                                                          New York, New York 10005
                                                          (212) 416-8020
                                                          barbara.underwood@ag.ny.gov
               (Additional counsel on signature pages)    *Counsel of Record




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                          COUNTERSTATEMENT OF
                          QUESTIONS PRESENTED
                     1. Whether petitioners’ September 2017 decision
                 to terminate Deferred Action for Childhood Arrivals
                 (DACA) is judicially reviewable.
                   2. Whether petitioners’ decision to terminate
                 DACA was lawful.




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                                   INTRODUCTION
                     In September 2017, the Acting Secretary of the
                 Department of Homeland Security (DHS) and the
                 Attorney General (who are petitioners here) announced
                 that Deferred Action for Childhood Arrivals (DACA)
                 was unlawful and was being terminated. DACA is a
                 framework for processing requests for deferred
                 action—a form of discretionary forbearance from
                 removal—for certain persons who arrived in the
                 United States as children.
                     The decision to terminate DACA was a dramatic
                 policy reversal that threatened devastating conse-
                 quences for hundreds of thousands of people, and
                 serious harm to many thousands of employers and the
                 economies and institutions of every State. Yet
                 petitioners offered just one cursory paragraph to justify
                 their legal conclusion. That paragraph contained a
                 demonstrably incorrect factual assumption and a
                 glaring misstatement of law. Moreover, the proffered
                 administrative record, if taken at face value, reveals
                 that petitioners did not undertake even a basic
                 investigation of whether DACA operated in the way
                 they assumed. At every turn, petitioners failed to meet
                 the basic requirements of rational decisionmaking.
                 And because petitioners asserted that the law gave
                 them no discretion to retain DACA, they cannot now
                 evade judicial review by arguing that the termination
                 was committed to their discretion by law.




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                     As governments themselves, the state respondents
                 here (“States”) 1 well understand that a new adminis-
                 tration needs latitude to change discretionary policies.
                 But the States also understand that there are
                 consequences to how a new administration makes
                 those changes. Although petitioners could have chosen
                 to terminate DACA as a discretionary policy decision,
                 they chose instead to declare that the law compelled
                 the termination. Petitioners’ decision to proceed based
                 on a pronouncement about what the law required
                 takes their action out of the realm of unreviewable
                 enforcement discretion and into the realm of judicial
                 review. “[A]n official cannot claim that the law ties her
                 hands while at the same time denying the courts’
                 power to unbind her. She may escape political
                 accountability or judicial review, but not both.”
                 (NAACP Pet. App. 73a.)
                     The States filed suit in the Eastern District of New
                 York to hold petitioners accountable for the insuffi-
                 ciently and incorrectly reasoned determination that
                 DACA was unlawful, and to protect the States’
                 residents, institutions, fiscs, and economies from the
                 harm threatened by the federal government’s termi-
                 nation decision. Since 2012, well over 150,000 residents
                 of our States have used DACA to obtain deferred
                 action. Those individuals have come out of the
                 shadows and become productive members of their
                 communities in the only country many have known as
                 home. In deciding to terminate DACA, petitioners


                     1 The state respondent coalition here includes the States of

                 New York, Massachusetts, Washington, Colorado, Connecticut,
                 Delaware, Hawai‘i, Illinois, Iowa, New Mexico, North Carolina,
                 Oregon, Pennsylvania, Rhode Island, Vermont, and Virginia, and
                 the District of Columbia.




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                 ignored the many ways in which individuals, families,
                 institutions, and States have relied on the policy; and
                 petitioners ignored the reasoning of a prior Secretary
                 and Attorney General who concluded that DACA was
                 lawful. Petitioners’ legal determination is reviewable,
                 it is arbitrary and capricious, and it should be vacated.

                                     STATEMENT

                     A. Factual Background

                         1. Deferred Action for Childhood
                            Arrivals (DACA)
                     There are many more undocumented immigrants
                 in the United States than federal immigration
                 authorities have the means to remove. To focus
                 enforcement resources, DHS and its predecessors have
                 a longstanding practice of “giv[ing] some cases lower
                 priority” by “grant[ing] deferred action.” 8 C.F.R.
                 § 274a.12(c)(14). A grant of deferred action
                 memorializes the Executive’s decision not to proceed
                 against a potentially removable person for a specified
                 period of time. Reno v. American-Arab Anti-
                 Discrimination Comm. (AADC), 525 U.S. 471, 484
                 (1999). Under federal regulations that have been in
                 place for decades, deferred action recipients may apply
                 for privileges like work authorization. See 8 C.F.R.
                 § 274a.12(c)(14) (work authorization). (Joint App’x
                 (J.A.) 797, 799 (memorandum of the U.S. Department
                 of Justice, Office of Legal Counsel (OLC) (“OLC
                 Mem.”).)
                     Deferred action has been “a regular practice” of
                 the Executive Branch for decades, “for humanitarian
                 reasons or simply for its own convenience.” AADC,
                 525 U.S. at 483-84. The Supreme Court has approved




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                 the practice, id., and Congress has both recognized the
                 existence of deferred action and confirmed the DHS
                 Secretary’s authority to make deferred action recipi-
                 ents eligible for work authorization, see 8 U.S.C.
                 § 1154 (deferred action); 8 U.S.C. § 1324a(h)(3) (work
                 authorization).
                     On various occasions since the 1950s, DHS and its
                 predecessors have found it expedient to make deferred
                 action and similar forms of discretionary relief from
                 removal “available to certain classes of aliens.” (J.A.
                 822 (OLC Mem.).) Past policies of this type include the
                 1977 Silva Letterholders program, under which
                 250,000 nationals of certain countries obtained stays
                 of removal. Arizona Dream Act Coal. v. Brewer, 855
                 F.3d 957, 968 n.2 (9th Cir. 2017), cert. denied, 138 S.
                 Ct. 1279 (2018). Similarly, the Family Fairness
                 Program      introduced     under       the     Reagan
                 administration—and expanded under the first Bush
                 administration—“deferred the deportation of 1.5
                 million family members of noncitizens who were
                 legalized through the Immigration Reform and
                 Control Act.” Id.
                     In June 2012, DHS announced that it was creating
                 DACA to provide a channel for processing deferred
                 action requests from persons who arrived in the
                 United States as children and met certain other
                 threshold eligibility criteria. (Regents Pet. App. 97a-
                 101a.) DHS explained that DACA was intended to
                 help DHS “ensure that [its] enforcement resources”
                 are expended on the serious criminals that Congress




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                 directed DHS to prioritize for removal, 2 rather than on
                 “low priority cases.” (Regents Pet. App. 98a.)
                     To be eligible for DACA, a person must have
                 arrived in the United States under the age of sixteen,
                 continuously resided here between 2007 and 2012, not
                 yet attained the age of thirty, and satisfied certain
                 educational or military service requirements. The
                 person must not have been convicted of a felony, a
                 significant misdemeanor, or multiple misdemeanors,
                 and must not otherwise pose a threat to national
                 security or public safety. (Regents Pet. App. 98a.) As
                 DHS explained when announcing the DACA policy,
                 “prosecutorial discretion” is “especially justified” with
                 respect to such people, many of whom “have already
                 contributed to our country in significant ways.”
                 (Regents Pet. App. 99a.) The memorandum emphasized,
                 however, that no individual could receive deferred
                 action through DACA without first passing a back-
                 ground check, and that all DACA requests “are to be
                 decided on a case by case basis.” (Regents Pet. App.
                 99a.) Individuals granted deferred action under DACA
                 receive forbearance from removal for renewable two-
                 year periods revocable at any time. Under pre-existing
                 statutory and regulatory provisions, DACA recipients
                 may apply for work authorization and for permission
                 to travel outside the country (“advance parole”). (See
                 Regents Pet. App. 100a-101a.)
                    From June 2012 until September 2017, about
                 800,000 individuals relied on DACA to obtain deferred

                     2 See, e.g., DHS Appropriations Act 2010, Pub. L. No. 111-83,

                 123 Stat. 2142 (2009); H.R. Rep. No. 111-157, at 8 (2009); see also
                 DHS Appropriations Act, 2015, Pub. L. No. 114-4, 129 Stat. 39,
                 43 (2015).




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                action and employment authorization; in September
                2017, there were about 700,000 active recipients,
                including over 150,000 residents of the States. 3 DACA
                enabled these recipients to pursue higher education,
                secure employment, and create and run businesses.
                (Batalla Vidal CA2 J.A. 2129-2213.) It enabled the
                States to employ DACA recipients with special skills,
                tax the recipients’ income and purchases, and collect
                tuition from recipients enrolled at public colleges and
                universities. (Batalla Vidal CA2 J.A. 2239-2258, 2266-
                2298, 3754-3757, 3774-3794, 3956-3965.)
                    Several legal challenges to DACA were brought
                before September 2017, and all failed. In each case,
                the federal government defended the legality of the
                policy, including through amicus curiae participation.
                See, e.g., Arpaio v. Obama, 797 F.3d 11 (D.C. Cir.
                2015); Br. for United States as Amicus Curiae,
                Arizona Dream Act Coal. v. Brewer, No. 15-15307 (9th
                Cir. Aug. 28, 2015), ECF No. 62. OLC likewise
                explained in a published opinion that DACA was
                legally sound so long as immigration officials
                “retained discretion to evaluate each application on an
                individualized basis.” (J.A. 827 n.8.)
                    In 2015, Texas and several other States brought a
                suit challenging DHS’s decision to create a new
                deferred action policy (Deferred Action for Parents of
                Americans and Lawful Permanent Residents (DAPA))
                and to make certain changes to DACA. See Texas v.
                United States, 809 F.3d 134 (5th Cir. 2015), aff’d by an
                equally divided court, 136 S. Ct. 2271 (2016) (per
                curiam). The Texas district court entered a preliminary

                     3 (See NAACP Pet. App. 5a; J.A. 996, 998.) See also U.S.

                Citizenship & Immigration Servs., Approximate Active DACA
                Recipients (Aug. 31, 2018).




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                injunction enjoining the implementation of DAPA and
                the changes to DACA—neither of which had yet gone
                into effect—based on its conclusion that the plaintiffs
                were likely to succeed on the procedural claim they
                brought under the Administrative Procedure Act
                (APA). A divided panel of the Fifth Circuit affirmed on
                both procedural and substantive APA grounds. 809
                F.3d at 146. Neither court addressed the Texas
                plaintiffs’  constitutional    claims.   This     Court
                summarily affirmed by an equally divided court. 136
                S. Ct. 2271.
                    The federal government maintained DACA after
                the preliminary injunction against DAPA, and into the
                new administration, continuing to accept more than
                400,000 new and renewal DACA applications. 4 In
                February 2017, DHS rescinded certain other
                immigration policies, but expressly left DAPA and
                DACA intact. (J.A. 857.) In mid-June 2017, DHS
                rescinded DAPA, which had never gone into effect due
                to the injunction; DHS again expressly declined to
                disturb DACA. (J.A. 868.)

                         2. Defendants’ Termination of DACA
                    In late June 2017, the Texas plaintiffs wrote to
                Attorney General Sessions stating that they would
                amend the complaint in their still-pending DAPA case
                to include a challenge to DACA unless the federal
                government agreed by September 5 to rescind DACA.
                (J.A. 872-874.) The agency officials tasked with
                determining the fate of DACA decided in an August


                    4 See U.S. Citizenship & Immigration Servs., Number of

                Form I-821-D, Consideration of Deferred Action for Childhood
                Arrivals by Fiscal Year, Quarter, Intake and Case Status, Fiscal
                Year 2012-2017 (Sept. 30, 2017).




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                24, 2017 meeting that DACA “is unlawful and will be
                ended”; they agreed that “DOJ will send a memoran-
                dum to DHS outlining the legal reasons the DACA
                program is unlawful,” after which DHS would end the
                program. Principals Comm., Summary of Conclusions
                (filed in Make the Road N.Y. v. United States DHS, No.
                18-cv-2445 (E.D.N.Y. Aug. 14, 2019), ECF No. 63-1, at
                209).
                    On September 4, Attorney General Sessions sent
                a four-paragraph letter to the Acting Secretary of
                DHS, Elaine Duke, advising that DHS “should
                rescind” DACA because DACA lacked “statutory
                authority,” was “unconstitutional,” and had been
                implemented “after Congress’ repeated rejection of
                proposed legislation that would have accomplished a
                similar result.” (J.A. 877.) The Attorney General’s
                legal analysis consisted of a single paragraph in which
                he asserted that DACA “has the same legal and consti-
                tutional defects that the courts recognized as to
                DAPA,” and would likely meet the same fate in the
                “potentially imminent litigation” threatened by the
                Texas plaintiffs. (J.A. 878.) The Attorney General
                advised that “[i]n light of the costs and burdens that
                will be imposed on DHS” in implementing a rescission,
                “DHS should consider an orderly and efficient wind-
                down process.” (J.A. 878.) The letter did not describe
                the basis for any of those conclusions beyond a general
                citation to the Texas opinions, which did not consider
                DAPA’s constitutionality and recognized significant
                distinctions between DAPA and DACA. See Texas, 809
                F.3d at 172-74.
                    On September 5, Attorney General Sessions
                announced the termination of DACA at a press
                conference, and Acting Secretary Duke issued a
                memorandum formally terminating DACA. (J.A. 999-




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                1004; Regents Pet. App. 111a-119a.) The termination
                memorandum quoted the Attorney General’s
                September 4 letter and then stated that “[t]aking into
                consideration the Supreme Court’s and the Fifth
                Circuit’s rulings” and the Attorney General’s letter, “it
                is clear” that DACA should be terminated. (Regents
                Pet. App. 117a.) Like the Attorney General’s letter, the
                Acting Secretary’s memorandum did not address or
                acknowledge the reasons that DHS and the U.S.
                Department of Justice (DOJ) had previously given to
                the public for concluding that DACA was lawful, the
                benefits of DACA, or the myriad costs and harms that
                terminating DACA would inflict on recipients and the
                public. The only potential costs that the Acting
                Secretary’s memorandum mentioned were the
                unspecified “administrative complexities” referenced
                by the Sessions letter. (Regents Pet. App. 116a.)
                Moreover, although Acting Secretary Duke stated that
                she had been unable to identify any instances of her
                agency denying a DACA application on discretionary
                grounds, petitioners now admit that DHS does exercise
                case-specific discretion in determining whether to
                grant a DACA request from an applicant who meets
                the threshold criteria. (Regents Pet. App. 112a-113a
                n.1; J.A. 1010.) (See infra at 32-33.)
                    In the termination memorandum, the Acting
                Secretary announced that DHS would reject all new
                DACA applications “filed after the date of this
                memorandum,” and would accept renewal applications
                only until October 5, and only from individuals whose
                current deferred action status would expire on or
                before March 5, 2018. (Regents Pet. App. 117a-118a.)




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                    B. Procedural Background

                        1. This suit in the Eastern District
                           of New York
                    Sixteen States and the District of Columbia filed
                this suit in the United States District Court for the
                Eastern District of New York on September 7, 2017,
                alleging (among other things) that the termination of
                DACA was arbitrary and capricious under the APA,
                and violated equal protection under the Fifth
                Amendment’s Due Process Clause. (See J.A. 782, 784.)
                Petitioners proffered an extremely limited adminis-
                trative record to the district court, consisting solely of
                the “materials that [they] unilaterally decide[d] to
                present to the court, rather than the record upon
                which the agency made its decision.” Order at 2, In re
                Nielsen, No. 17-3345 (2d Cir. Dec. 27, 2017), ECF No.
                171. The district court found the record incomplete,
                but on petitioners’ request for a writ of mandamus, the
                court of appeals stayed petitioners’ document-
                production obligations pending the district court’s
                resolution of “issues of jurisdiction and justiciability.”
                Order, In re Duke, No. 17-3345 (2d Cir. Oct. 24, 2017),
                ECF No. 41.
                    The district court then rejected petitioners’
                arguments that judicial review was barred by either
                the APA, 5 U.S.C. § 701(a)(2), or the Immigration and
                Nationality Act (INA), 8 U.S.C. § 1252(g). The court
                determined that the States had standing to challenge
                the termination of DACA based on their proprietary
                interests as employers of DACA recipients and as
                operators of state-run colleges and universities that
                employed and enrolled DACA recipients. (Batalla
                Vidal Pet. App. 46a-49a.)




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                    In February 2018, the district court entered a
                preliminary injunction requiring petitioners to
                continue processing DACA renewal applications based
                on its determination that petitioners’ decision to termi-
                nate DACA was likely arbitrary and capricious, and
                that the other preliminary injunction factors weighed
                strongly in respondents’ favor. (See Batalla Vidal Pet.
                App. 126a.) The district court concluded that the
                termination would irreparably harm the States as
                employers and providers of public benefits (Batalla
                Vidal Pet. App. 121a-122a), and that a nationwide
                injunction was warranted to fully protect the state
                parties, who employed and admitted persons across
                the country into their “public hospitals, schools, and
                universities” (Batalla Vidal Pet. App. 128a).

                        2. Parallel proceedings in
                           other federal courts
                    Concurrently with this suit, three other plaintiff
                groups have been litigating challenges to the
                termination of DACA in other federal courts. In
                Regents of the University of California v. U.S.
                Department of Homeland Security, a coalition
                including individuals, state and local governments,
                and the University of California challenged the
                termination of DACA in the Northern District of
                California. That district court reached conclusions
                similar to those of the district court in Batalla Vidal:
                it identified the same administrative record as
                deficient, rejected petitioners’ threshold arguments
                that would bar review, determined that the
                termination likely violated the APA, and issued a
                preliminary injunction that is coextensive with the
                New York court’s preliminary injunction. (Regents
                Pet. App. 25a-26a, 41a-42a, 66a.) On appeal, the Ninth




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                Circuit affirmed that preliminary injunction, holding
                that petitioners violated the APA in terminating
                DACA based on “an erroneous view of what the law
                required.” (Regents Supp. Pet. App. 57a.)
                     In NAACP v. Trump, a plaintiff coalition including
                NAACP, Microsoft, and Princeton University
                challenged the termination of DACA in the District of
                Columbia. Like the district court here, the D.C.
                district court determined that defendants’ September
                2017 termination of DACA was “reviewable and
                unlawful because it was based chiefly on a ‘virtually
                unexplained’ conclusion that DACA was unlawful.”
                NAACP, 321 F. Supp. 3d 143, 147 (D.D.C. 2018). (See
                NAACP Pet. App. 73a). Rather than immediately
                vacate the flawed action, the district court stayed the
                decision to allow DHS ninety days to “better explain
                its view that DACA is unlawful,” or to “issue[] a new
                decision rescinding DACA.” (NAACP Pet. App. 74a,
                76a). DHS chose to write an explanatory memoran-
                dum rather than to issue a new decision, and in June
                2018, Secretary Kirstjen Nielsen (Acting Secretary
                Duke’s successor) submitted to the court a short
                memorandum that “reflect[ed Nielsen’s] under-
                standing of the Duke memorandum.” (Regents Pet.
                App. 121a.) Noting that like her predecessor she was
                statutorily “bound by” the Attorney General’s earlier
                conclusion that DACA was unlawful, Secretary
                Nielsen declared that she “concur[red] with and
                decline[d] to disturb” Acting Secretary Duke’s decision.
                (Regents Pet. App. 122a, 123a, 126a.) The D.C. district
                court held that the new memorandum failed to cure
                the defects in the termination decision, because
                although Secretary Nielsen’s memorandum “purports
                to offer further explanation for DHS’s decision to
                rescind DACA, it fails to elaborate meaningfully on




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                the agency’s primary rationale for its decision: the
                judgment that the policy was unlawful and unconsti-
                tutional.” (NAACP Pet. App. 81a.) The district court
                issued final judgment in plaintiffs’ favor on the APA
                claims, but stayed pending appeal the aspects of its
                decision mandating broader relief than the injunctions
                in New York and California. NAACP, 321 F. Supp. 3d
                at 147. The court did not reach the constitutional
                claims.
                    Another plaintiff group challenged the termination
                of DACA in district court in Maryland. After the
                district court declined to enjoin the termination of
                DACA, the Fourth Circuit reversed, holding that the
                termination decision was reviewable and vacating it
                as unlawful under the APA. Casa de Md. v. U.S. Dep’t
                of Homeland Security, 924 F.3d 684, 706 (4th Cir.
                2019).
                    On June 28, 2019, this Court granted certiorari in
                Regents, and granted certiorari before judgment in
                Batalla Vidal and NAACP, where the Second and D.C.
                Circuits had heard oral argument on petitioners’
                appeals, but had not yet ruled. The Court consolidated
                these three actions here. The federal government’s
                petition for certiorari in Casa de Maryland (No. 18-
                1469), filed well after the other three petitions, is still
                pending.

                            SUMMARY OF ARGUMENT
                    I. Petitioners’ September 2017 termination of
                DACA is judicially reviewable. Petitioners announced
                to the public that they lacked authority to maintain
                DACA and were therefore compelled to terminate it.
                They cannot avail themselves of the APA’s exception
                for decisions committed to agency discretion because




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                they did not purport to be exercising any discretion
                when they terminated DACA; instead, they declared
                that they lacked authority to maintain DACA and
                were therefore compelled to terminate it. Petitioners
                cannot use Secretary Nielsen’s June 2018 memoran-
                dum to retroactively insert other considerations into
                their 2017 decision.
                    II. The APA requires vacatur of petitioners’
                September 2017 termination decision. Petitioners’
                decisional documents fail every test of reasoned
                decision-making: they contain mistakes of fact and
                law, and fail to address important and material
                considerations. For example, although the purported
                absence of case-by-case discretion was central to
                petitioners’ conclusion that DACA was invalid,
                petitioners’ proffered administrative record suggests
                that petitioners did not consider a single piece of data,
                review a single guidance document, or hear from a
                single employee about whether DHS was actually
                exercising discretion in processing DACA applications.
                Indeed, evidence produced in this and other litigation
                shows that DHS officials in fact exercise such
                discretion under DACA and that even a rudimentary
                investigation by petitioners would have revealed that
                fact.
                    Separately, petitioners made a glaring legal error
                when stating that DACA possessed the same
                constitutional defects that the Texas courts had
                attributed to DAPA; no court has ever found DAPA
                unconstitutional. Petitioners failed to address signifi-
                cant differences between DACA and DAPA, despite
                the Fifth Circuit’s explicit recognition of those differ-
                ences in Texas. Petitioners likewise failed to explain
                their major course change on the legality of DACA.
                Nor did they take steps to ascertain the massive costs




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                and harms that the termination would inflict on
                hundreds of thousands of people, many thousands of
                employers, and the economies and institutions of
                every State.
                    Petitioners’ defective analysis also yielded a
                flawed conclusion. Contrary to petitioners’ arguments,
                DACA is lawful. No one disputes that DHS’s broad
                authority to administer the immigration laws and set
                enforcement priorities includes the discretion to grant
                deferred action for humanitarian reasons. And DACA
                recipients’ characteristics weigh strongly in favor of
                deferred action under well-recognized criteria: all
                DACA recipients arrived in this country as children,
                have strong roots in their U.S. communities, and have
                not engaged in serious criminal conduct. Petitioners’
                claims that DACA was too large and consequential to
                be implemented without specific congressional
                approval overlooks that the availability of work
                authorization—DACA’s most significant economic
                impact—is supported by a express grant of statutory
                authority. In sum, Congress has not barred DHS from
                exercising its broad enforcement discretion to grant
                deferred action to an exceptionally sympathetic, law-
                abiding, and productive group of individuals who may
                yet be given the right to stay.
                    In all events, this Court cannot uphold DACA’s
                termination because the administrative record
                proffered by petitioners remains incomplete. Crucial
                questions about petitioners’ decisional process remain
                unanswered, including what steps petitioners took to
                investigate how DACA operates and what information
                those steps revealed.
                    III. Certain respondents in both New York and
                California (including the States here) pleaded equal




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                protection claims that were correctly sustained
                against motions to dismiss, and await further develop-
                ment in the trial courts. The lower courts rightly
                recognized the sufficiency of respondents’ allegations
                concerning the overwhelming disparate impact of
                DACA’s termination on Latinos from Mexico;
                irregularities in petitioners’ decision-making process;
                and expressions of animus by the President, who
                admitted his involvement in the termination.

                                    ARGUMENT

                I.   The Termination of DACA Is
                     Judicially Reviewable.
                    Because the APA creates a “strong presumption in
                favor of judicial review of agency action,” this Court
                has given a narrow reading to 5 U.S.C. § 701(a)(2)’s
                exception to reviewability for actions committed to
                agency discretion. See Weyerhaeuser Co. v. United
                States Fish & Wildlife Serv., 139 S. Ct. 361, 370
                (2018); accord Department of Commerce v. New York,
                139 S. Ct. 2551, 2568 (2019). The Court has restricted
                § 701(a)(2)’s exception to circumstances where an
                action is committed to agency discretion by statute or
                by a tradition of unreviewability. Department of
                Commerce, 139 S. Ct. at 2568. DHS’s announcement
                that the INA prohibited it from exercising discretion
                is not within either category.




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                    A. Petitioners Chose to Base the Termination
                       Solely on a Legal Conclusion About Their
                       Authority.

                        1. Petitioners expressly rested the
                           termination on a conclusion that
                           DACA was unlawful.
                    According to the September 2017 documents
                announcing the termination of DACA, petitioners
                based their action on a legal conclusion that DACA
                was unlawful. Attorney General Sessions declared in
                a letter to Acting Secretary Duke that DACA
                constituted “an open-ended circumvention of immigra-
                tion laws” that was “unconstitutional” and “without
                proper statutory authority.” (J.A. 877; see J.A. 999.)
                He further opined that DACA was unlikely to survive
                judicial review because it possessed “the same legal
                and constitutional defects that the courts recognized
                as to DAPA.” (J.A. 878.) The day after receiving that
                letter, the Acting Secretary issued a memorandum
                terminating DACA on the basis of the Attorney
                General’s “legal determination” that DACA was
                invalid. (Regents Pet. App. 111a-112a, 116a.) After
                describing the Texas courts’ holdings in striking down
                DAPA and then quoting the Attorney General’s
                observation that DACA suffered the same legal
                defects, the Acting Secretary declared that “it is clear
                that the June 15, 2012 DACA program should be
                terminated.” (Regents Pet. App. 116a-117a.)
                   Petitioners admit that DHS adopted the Attorney
                General’s view that DACA is “not just legally
                questionable but indeed unlawful.” (E.g., Br. 43.)
                Indeed, the Attorney General’s legal determination
                was “controlling” on DHS as a matter of law. 8 U.S.C.




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                § 1103(a)(1). Secretary Nielsen’s subsequent memo-
                randum thus conceded that Nielsen and Duke were
                statutorily “bound by” the Attorney General’s
                determination that DACA was unlawful. (Regents Pet.
                App. 123a.) Any subsequent Secretary will be too,
                unless the Attorney General’s determination is
                administratively or judicially set aside.
                    In contending that Acting Secretary Duke was
                nonetheless exercising discretion, petitioners focus on
                the Acting Secretary’s statement that she “should”—
                rather than “must”—terminate DACA. (See Br. 27-28.)
                But the word “should” is commonly “used to indicate
                obligation, duty, or correctness.” Should, New Oxford
                American Dictionary (3d ed. 2010). The term therefore
                simply reflects the Acting Secretary’s view that
                DACA’s legal deficiencies obligated her to terminate
                the policy. The decisional documents lack any textual
                support for petitioners’ assertions that the Acting
                Secretary harbored “serious doubts” about DACA’s
                lawfulness or viewed DACA’s legality as “highly
                questionable,” separate and apart from the Attorney
                General’s binding legal conclusion. (Br. 26-28, 33.)
                Grafting equivocal language onto the Attorney
                General’s unequivocal conclusion does not change the
                fact that petitioners chose to base the termination on
                the conclusion that DHS lacked legal authority to
                promulgate or maintain DACA. (See NAACP Pet. App.
                41a-42, 98a.)
                     The decisional documents likewise contain no
                support for petitioners’ claim (Br.26-27) that they
                based the termination partly on concerns about
                litigation risk. The Acting Secretary never expressly
                identified such concerns, including in her discussion of




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                the Texas litigation. 5 Nor can that concern be read into
                the Attorney General’s statement that DACA would
                likely meet the same fate as DAPA. (See Br. 27.) That
                statement was not offered as “an independent reason
                for rescinding DACA,” but rather as the Attorney
                General’s view of the “natural consequence of DACA’s
                supposed illegality.” (Regents Supp. Pet. App. 38a.)
                     “Nowhere in the administrative record did the
                Attorney General or the agency consider whether
                defending the program in court would (or would not)
                be worth the litigation risk.” (Regents Pet. App. 56a;
                see also Batalla Vidal Pet. App. 110a-111a.)
                Petitioners’ proffered administrative record contains
                no data or analysis on the costs and benefits of
                continuing DACA, no information on the potential
                consequences should a court strike it down, and no
                documents relevant to any other consideration that
                would invoke DHS’s policy expertise. The record
                contains only the Texas judicial opinions; the
                documents establishing, maintaining, and rescinding
                DACA and DAPA; prior legal memoranda on the
                justifications for DACA and DAPA; and several letters
                in which politicians stated their support for DACA or
                opposition to it. 6 The record lacks any indication that


                     5 The courts have overwhelmingly agreed. Casa de Md., 924

                F.3d at 700. (Regents Supp. Pet. App. 36a; Batalla Vidal Pet. App.
                110a.)
                     6 A document produced in separate FOIA litigation that was

                improperly excluded from the administrative record here further
                confirms that petitioners chose to rest the termination decision
                exclusively on legal grounds. More than a week before DACA was
                terminated, an inter-agency “principals” committee agreed that
                “DOJ will send a memorandum to DHS outlining the legal
                reasons the DACA program is unlawful,” and that DHS would




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                Acting Secretary Duke independently weighed policy
                considerations that could be severed from the legal
                determination she adopted. Thus, even if one could
                discern petitioners’ claimed discretionary considera-
                tions in the decisional documents, those considerations
                would be “too closely bound up” with petitioners’ legal
                determination to affect reviewability. (NAACP, Pet
                App. 41a-42a.) Accord Casa de Md., 924 F.3d at 700.

                         2. Petitioners cannot retroactively
                            inject new considerations into their
                            termination decision.
                    Secretary Nielsen’s June 2018 supplemental
                memorandum does not change the reviewability
                analysis here. Where an agency record suffers “such
                failure to explain administrative action as to frustrate
                effective judicial review,” a court may “obtain from the
                agency, either through affidavits or testimony, such
                additional explanation of the reasons for the agency
                decision as may prove necessary.” Camp v. Pitts,
                411 U.S. 138, 142-43 (1973) (per curiam). But any such
                explanation is limited to elaboration of “the determi-
                native reason” identified “contemporaneous[ly]” with
                the agency’s original action, as set out in the
                “administrative record already made and presented to
                the reviewing court.” Id. 7


                then end the program—consistent with the committee’s
                declaration that DACA “is unlawful and will be ended.”
                Principals Committee, Summary of Conclusions, supra.
                     7 Accord Department of Commerce, 139 S. Ct. at 2575-76 (“a

                court is ordinarily limited to evaluating the agency’s contempora-
                neous explanation in light of the existing administrative record”);
                AT&T Info. Sys., Inc. v. General Servs. Admin., 810 F.2d 1233,
                1236 (D.C. Cir. 1987) (per curiam) (supplemental explanations




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                    Secretary Nielsen elected to elaborate her
                “understanding of the Duke memorandum” (Regents
                Pet. App. 121a), rather than accept the D.C. district
                court’s invitation to issue a new decision on a new
                record (see NAACP Pet. App. 94a n.7, 76a, 78a).
                Therefore, her supplemental memorandum is relevant
                to this litigation only insofar as it illuminates the
                conclusion regarding DACA’s illegality that petitioners
                announced in September 2017. Petitioners cannot use
                Secretary Nielsen’s supplemental explanation to
                retroactively insert other considerations into their
                2017 termination decision.
                    Petitioners’ argument to the contrary (see Br. 28)
                would upend nearly eighty years of black-letter
                administrative law that bars agencies from relying on
                post hoc rationales. See, e.g., SEC v. Chenery Corp.,
                318 U.S. 80, 89 (1943). Although petitioners suggest
                that this prohibition applies only to new reasons
                offered by appellate counsel (see Br. 29), courts have
                long understood the opposite to be true. 8 As the D.C.
                Circuit explained more than forty years ago, “[p]ost-
                hoc rationalizations by the agency on remand are no
                more permissible than are such arguments when
                raised by appellate counsel during judicial review.”



                “should be merely explanatory of the original record and should
                contain no new rationalizations” (quotation marks omitted)).
                     8 Petitioners misplace their reliance (Br. 29) on the

                statement in Martin v. Occupational Safety & Health Review
                Commission that the Secretary of Labor’s interpretation of a
                statute in an administrative adjudication “is agency action, not a
                post hoc rationalization of it.” 499 U.S. 144, 157 (1991). Agency
                adjudications occur during agency proceedings as an “exercise of
                the agency’s delegated lawmaking powers,” id., not “after agency
                proceedings have terminated,” id. (emphasis in original).




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                Food Mktg. Inst. v. Interstate Commerce Comm’n, 587
                F.2d 1285, 1290 (D.C. Cir. 1978).
                    Petitioners’ contrary rule would subvert the
                premise of agency accountability that underlies the
                APA. “The reasoned explanation requirement of
                administrative law, after all, is meant to ensure that
                agencies offered genuine justifications for important
                decisions, reasons that can be scrutinized by courts
                and the interested public.” Department of Commerce,
                139 S. Ct. at 2575-76. If an agency’s stated rationales
                were only a first stab at identifying reasons sufficient
                to withstand (or evade) judicial review, agencies would
                possess far less incentive to present careful, reasoned,
                and genuine accounts of their choices. Especially in
                cases involving politically sensitive subject-matter,
                agencies might offer only a partial explanation at first,
                knowing that they could try again if their initial effort
                was found inadequate.

                    B. The APA Permits Review of an Agency’s
                       Conclusion that Its Authorizing Statutes
                       Forbid a Particular Action.
                    Having chosen to base their termination of DACA
                on a legal conclusion about DHS’s authority, petition-
                ers cannot evade judicial review by hiding behind the
                APA’s exception for actions “committed to agency
                discretion by law.” 5 U.S.C. § 701(a)(2). To honor “the
                strong presumption that Congress intends judicial
                review of administrative action,” 9 Bowen v. Michigan
                Acad. of Family Physicians, 476 U.S. 667, 670 (1986),


                     9 The presumption in favor of judicial review applies with

                equal force in the immigration context. See, e.g., Kucana v.
                Holder, 558 U.S. 233, 251 (2010); INS v. St. Cyr, 533 U.S. 289,
                298 (2001).




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                this Court has “read the exception in § 701(a)(2) quite
                narrowly,” Weyerhaeuser, 139 S. Ct. at 370. Accord
                Citizens to Preserve Overton Park, Inc. v. Volpe, 401
                U.S. 402, 410 (1971). Section 701(a)(2) precludes
                judicial review only when there is no “law to apply”
                and a court therefore lacks any “meaningful standard
                against which to judge the agency’s exercise of
                discretion.” Heckler v. Chaney, 470 U.S. 821, 830 (1985)
                (quotation marks omitted); accord Department of
                Commerce, 139 S. Ct. 2551, 2568-69. “The few cases”
                where this Court has applied the exception involve
                purely discretionary “agency decisions that courts
                have traditionally regarded as unreviewable, such as
                the allocation of funds from a lump-sum appropria-
                tion, or a decision not to reconsider a final action.”
                Weyerhaeuser, 139 S. Ct. at 370 (citations omitted).
                The termination of DACA is not within this narrow
                class of unreviewable decisions.

                        1. An agency’s determination about
                           the limits of its authority is not a
                           discretionary non-enforcement
                           decision.
                    Acting Secretary Duke did not purport to be
                exercising any discretion when she terminated DACA.
                Instead, her termination memorandum and the letter
                from Attorney General Sessions it incorporated set
                forth petitioners’ unequivocal view that DHS lacked
                discretion to continue administering DACA. (See
                supra at 17-20.) Congress did not give DHS
                unreviewable discretion to determine the limits of
                DHS’s authority. Nor does § 701(a)(2) exempt from
                reviewability as “committed to agency discretion” an
                action that an agency characterizes as compelled by
                law and lacking any discretionary component.




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                     Petitioners’ argument to the contrary depends on
                an overbroad reading of Heckler v. Chaney. Chaney
                held that an agency’s decision “to exercise its
                ‘discretion’ not to undertake certain enforcement
                actions” is presumptively unreviewable under
                § 701(a)(2) because such a decision entails a
                “complicated balancing of a number of factors which
                are peculiarly within [an agency’s] expertise.” 470 U.S.
                at 823, 831. For such decisions, an agency must assess
                not only “whether a violation has occurred, but
                whether agency resources are best spent on this
                violation or another, whether the agency is likely to
                succeed if it acts, whether the particular enforcement
                action requested best fits the agency’s overall policies,
                and, indeed, whether the agency has enough resources
                to” act at all. Id. Thus, judicial review of discretionary
                non-enforcement decisions would necessarily intrude
                on deliberations about priorities and resources long
                entrusted to agency judgment, and a court would lack
                any “meaningful standard[s] against which to judge
                the agency’s exercise of discretion.” Id. at 830.
                    Here, the Acting Secretary did not use her
                agency’s expertise to weigh discretionary considera-
                tions of the type identified in Chaney, but instead
                announced that the law precluded her from exercising
                enforcement discretion. When an agency reaches a
                definitive conclusion about the scope of its legal
                authority, there are plainly “judicially manageable
                standards” of review, see id., because adjudicating
                whether an administrative agency has properly
                interpreted its implementing statute is precisely “the
                sort of routine dispute” regularly adjudicated by
                federal courts, see Weyerhaeuser, 139 S. Ct. at 370.
                (See also NAACP Pet. App. 39a (identifying “the scope
                of the agency’s lawful enforcement authority” as a




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                “natural subject for judicial review”).) And neither the
                Court in Chaney nor petitioners here identify any
                historical tradition allowing executive agencies to
                announce an interpretation of law free from oversight
                by the branch of government tasked with declaring
                what the law is. Cf. Chaney, 470 U.S. at 831, 833 n.4
                (identifying centuries-old precedents illuminating
                unreviewability of discretionary non-enforcement
                decisions, and distinguishing agency actions based on
                an asserted lack of authority).
                    Petitioners concede that Chaney does not preclude
                judicial review in cases where a “statutory directive”
                is present that “circumscrib[es]” the agency’s discre-
                tion. (Br. 19.) On that basis, petitioners acknowledge
                that the creation of DAPA was properly subject to
                review by the Fifth Circuit and this Court to evaluate
                whether “the INA barred DHS from adopting DAPA
                and expanded DACA.” (Br. 24.) But this case presents
                the fundamentally similar issue of whether the INA
                barred DHS from adopting and retaining DACA: an
                issue equally amenable to judicial review. See FCC v.
                Fox Television Stations, 556 U.S. 502, 515 (2009) (the
                APA “make[s] no distinction . . . between initial agency
                action and subsequent agency action undoing or
                revising that action” (quotation marks omitted)).
                Nothing in the text of § 701(a)(2) nor in any historic
                tradition of unreviewability restrains courts from
                policing the bounds of an agency’s statutory discretion,
                whether the agency is asserting authority it lacks, or
                disclaiming authority it possesses.
                     Treating an agency’s legal conclusion about its
                authority as unreviewable would hamper agencies in
                exercising the very discretion that § 701(a)(2) is
                designed to protect. As the Ninth Circuit observed,
                “[i]f an agency head is mistaken in her assessment




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                that the law precludes one course of action, allowing
                the courts to disabuse her of that incorrect view of the
                law does not constrain discretion, but rather opens
                new vistas within which discretion can operate.”
                (Regents Supp. Pet. App. 31a.) Judicial review of
                agency legal interpretations thus keeps agencies
                publicly accountable. Agencies should not be able to
                misinterpret what the law requires and face “no
                consequence” for such a “legal lapse[].”Mach Mining,
                LLC v. EEOC, 135 S. Ct. 1645, 1653 (2015). The
                contrary rule urged by petitioners would allow
                agencies to “pass[] off” unpopular policy preferences as
                unreviewable interpretations of law, and thus to
                “wield power without owning up to the consequences.”
                See Department of Transp. v. Association of Am. R.R.,
                135 S. Ct. 1225, 1234 (2015) (Alito, J., concurring).
                (See also Regents Supp. Pet. App. 31a-34a). “[A]n
                official cannot claim that the law ties her hands while
                at the same time denying the courts’ power to unbind
                her. She may escape political accountability or judicial
                review, but not both.” (NAACP Pet. App. 73a.)

                        2. Petitioners misconstrue Brotherhood
                           of Locomotive Engineers.
                    Petitioners erroneously suggest that their
                termination of DACA is immune from review under
                Chaney because the Acting Secretary could have
                ended DACA as an exercise of enforcement discretion.
                (E.g., Br. 18-19, 22.) But the Court in Chaney expressly
                distinguished between an agency’s exercise of
                “inherent discretion” to decline enforcement, 470 U.S.
                at 824, and an agency action “based solely on the belief
                that [the agency] lacks jurisdiction,” id. at 833 n.4.
                Contrary to petitioners’ arguments (Br. 23-25), the
                Court did not collapse this distinction when it decided




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                Interstate Commerce Commission v. Brotherhood of
                Locomotive Engineers (BLE), 482 U.S. 270 (1987).
                    Petitioners misplace their reliance (Br. 23-25) on
                BLE’s principle that agency action falling within a
                “tradition of nonreviewability” does not “become[]
                reviewable” simply because the agency “gives a
                ‘reviewable’ reason” for acting. 482 U.S. at 282-83. An
                agency must be exercising discretion to come within
                the tradition of nonreviewability recognized in
                Chaney. Here DHS announced that the law gave DHS
                no discretion to exercise. This case thus stands outside
                BLE’s observation that an agency does not invite
                judicial review by offering legal views when it invokes
                its discretionary power to decline enforcement. It is
                one thing for an agency to mention legal considerations
                when expressly exercising its discretion, 10 and quite
                another for an agency to announce a definitive
                conclusion that the law forbids a certain exercise of
                discretion. There is no tradition of nonreviewability
                for actions in which an agency disavows enforcement
                discretion, rather than exercising it—as evidenced by
                petitioners’ failure to identify any case or historical
                source to the contrary.
                    Petitioners’ sweeping reading of BLE is
                inconsistent with the Court’s own reasoning in that
                case. BLE explained that even as to denials of
                reconsideration, reviewability turns on the nature of
                the determination by the agency. An agency
                considering only a claim that rehearing should be

                    10  The agency in Chaney, for instance, expressed doubts
                about its jurisdiction to take the regulatory action requested
                while making clear that it would not take that action as a matter
                of discretion in any event. 470 U.S. at 824-25.




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                granted because of “material error” possesses
                complete and traditional discretion. 482 U.S. at 280,
                282. By contrast, there is no “tradition of
                nonreviewability” when a reconsideration request
                rests on new evidence or changed circumstances. Id.
                at 283-84. In those instances, as here, a reviewing
                court can apply well-worn “ordinary standards” of
                review to assess whether the agency’s determination
                contains (among other things) any “errors of fact or
                law” that render it arbitrary and capricious. See id.
                    Common practice belies petitioners’ argument
                that any agency action connected to non-enforcement
                is unreviewable no matter what type of determination
                the agency renders. For example, in Massachusetts v.
                EPA, this Court reviewed and rejected EPA’s
                determination that it lacked regulatory enforcement
                authority in a particular sphere, holding that non-
                enforcement decisions are challengeable when
                agencies are subject to procedural rules for denying a
                rulemaking petition. 549 U.S. 497, 527-28 (2007). And
                in Judulang v. Holder, this Court applied arbitrary-
                and-capricious review to assess whether the Board of
                Immigration Appeals had rationally explained its
                basis for adopting a specific framework for
                discretionary immigration relief. 565 U.S. 42, 55
                (2011).
                    In the decades since BLE was decided, the federal
                courts of appeals have continued to distinguish
                between non-enforcement decisions that apply an
                agency’s vested discretion, and decisions that
                interpret the bounds of the agency’s authority. The
                Ninth Circuit, for example, differentiates non-
                enforcement decisions made as “an exercise of
                discretion,” which are unreviewable, from non-
                enforcement decisions “based solely on [the agency’s]




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                belief that [it] lacks jurisdiction” to act, which are
                reviewable. Montana Air Chapter No. 29, Ass’n of
                Civilian Technicians, Inc. v. Federal Labor Relations
                Auth., 898 F.2d 753, 756-57 (9th Cir. 1990)
                (interpreting scope of Chaney). The D.C. Circuit
                similarly holds that broad statements of enforcement
                policy are generally reviewable because they are
                “likely to be direct interpretation of the commands of
                the substantive statute rather than the sort of mingled
                assessments of fact, policy, and law that drive an
                individual enforcement decision and that are, as
                Chaney recognizes, peculiarly within the agency’s
                expertise and discretion.” Crowley Caribbean Transp.,
                Inc. v. Pena, 37 F.3d 671, 676-77 (D.C. Cir. 1994).
                    Petitioners are mistaken in contending that if
                review is not precluded here, courts could review a
                prosecutor’s refusal to institute criminal proceedings
                when the refusal is based on a “‘belief . . . that the law
                will not sustain a conviction.’” (Br. 23-24 (quoting
                BLE, 482 U.S. at 283).) Criminal prosecutors operate
                within a strong tradition of unreviewable enforcement
                discretion that has no counterpart for the civil
                enforcement decisions of administrative agencies.
                Moreover, unlike a prosecutor’s decision to prosecute,
                the decision to terminate DACA was not a decision to
                refrain from enforcement. It was simply a decision to
                end a framework of forbearance.

                        3. 8 U.S.C. § 1252(g) does not
                           bar review here.
                    The INA provides that, outside of certain
                exceptions, “no court shall have jurisdiction to hear
                any cause or claim by or on behalf of any alien arising
                from the decision or action . . . to commence proceedings,
                adjudicate cases, or execute removal orders against




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                any alien.” 8 U.S.C. § 1252(g). As this Court has
                explained, § 1252(g) “applies only to [the] three
                discrete actions” listed, not the full universe of “claims
                arising from deportation proceedings.” AADC, 525
                U.S. at 482; see also Jennings v. Rodriguez, 138 S. Ct.
                830, 841 (2018) (provision does not “sweep in” other
                types of claims that might “technically” relate to “the
                three listed actions” but are not one of “those three
                specific actions themselves”). Section 1252(g) thus
                does not cover the termination of DACA, which was
                not a decision to “commence proceedings, adjudicate
                cases, or execute removal orders.”
                    In addition, § 1252(g) strips courts of jurisdiction
                only to hear claims brought “by or on behalf of any
                alien.” It thus would not apply to the States’ claims,
                brought to vindicate our States’ interests as employers,
                proprietors of public universities, and regulators.

                II. Petitioners’ Termination of DACA Was
                    Arbitrary and Capricious.
                    Petitioners announced that they were terminating
                DACA because Attorney General Sessions had
                concluded that DACA possessed all of “the same legal
                and constitutional defects” the Texas courts had found
                with respect to DAPA. (Regents Pet. App. 116a (quota-
                tion marks omitted).) Their decision to do that was
                arbitrary and capricious because the Attorney
                General’s legal opinion contained several facially
                apparent errors and omissions. 11 The APA requires an
                agency to “articulate a satisfactory explanation for its


                     11 The States are therefore likely to succeed on their APA

                claim, and petitioners do not dispute that the other factors, see
                Winter v. Natural Resources Def. Council, Inc., 555 U.S. 7, 20
                (2008), strongly support an injunction.




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                action” that demonstrates consideration of “relevant
                factors”—including any “important aspect of the
                problem”—without any “clear error of judgment.”
                Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.
                Ins. Co., 463 U.S. 29, 42-43 (1983) (quotation marks
                omitted). Petitioners’ approach fails to meet these
                requirements and falls short of the “reasoned
                explanation” the APA requires. See Department of
                Commerce, 139 S. Ct. at 2575-76.

                    A. Petitioners’ Asserted Conclusion That
                       DACA Was Illegal Rested on Substantial
                       Errors of Fact and Law.

                        1. Petitioners erroneously assumed that
                           DACA prevented agency officials from
                           exercising discretion.
                    In concluding that DACA was unlawful under the
                Texas decisions invalidating DAPA, petitioners made
                a fundamental factual mistake. Even a rudimentary
                investigation would have shown that DACA has a
                feature that takes it squarely outside the Texas courts’
                analysis: in considering DACA requests, DHS officials
                exercise case-by-case discretion.
                    On a preliminary record, the Fifth Circuit
                concluded that DHS’s DAPA memorandum “would not
                genuinely leave the agency and its employees free to
                exercise discretion.” Texas, 809 F.3d at 176. From this,
                the court concluded that DAPA likely violated APA
                notice-and-comment procedures. The Fifth Circuit
                identified the lack of case-specific discretion as a
                reason why DAPA also likely exceeded DHS’s
                authority under the INA, expressly noting that “[w]e
                do not address whether single, ad hoc grants of




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                deferred action made on a genuinely case-by-case
                basis are consistent with the INA.” Id. at 186 n.202.
                    Attorney General Sessions’s conclusion that
                DACA possessed the same defects as DAPA assumed
                that federal officials were not free to exercise case-by-
                case discretion when evaluating DACA requests.
                Acting Secretary Duke endorsed that assumption in
                declaring that “DACA decisions were not truly
                discretionary” (Regents Pet. App. 114a), and that she
                had “not been able to identify” a single instance where
                an application was “denied based solely on discretion”
                (Regents Pet. App. 112a-113a n.1). Secretary Nielsen
                issued no corrective or explanation for this
                assumption in her supplemental memorandum.
                     Evidence in this case and in a separate challenge
                to DACA brought by Texas and other States last year
                shows that petitioners’ assumption was false, and that
                petitioners knew or should have known that. (J.A.
                1010.) See Texas v. United States, 328 F. Supp. 3d 662,
                733-34 (“Texas II”) (S.D. Tex. 2018). DHS admitted
                below that it has identified discretionary denials, and
                petitioners no longer stand behind Acting Secretary
                Duke’s contrary assertion. (J.A. 1010.) Other materials
                confirm the substantial discretion DHS exercised in
                evaluating DACA requests, including internal DHS
                documents, statements from agents who actually
                process DACA applications, and updated figures
                showing a discretionary denial rate of 20 percent for
                initial DACA applications (not including adminis-
                trative rejections) in the full year before DACA was
                terminated (J.A. 996). In light of this evidence, the
                federal district court judge who in 2015 found that
                DACA (and therefore DAPA) did not leave room for
                discretion rejected a claim last year that “those
                processing DACA applications are not free to exercise




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                discretion.” Texas II, 328 F. Supp. 3d at 734. As that
                judge concluded, the evidence now put forth by Texas
                and other States to support that claim was “not
                convincing, either in its quantity or its quality.” Id.
                    In reaching this conclusion, the judge in Texas II
                specifically rejected the assertions of Kenneth
                Palinkas, the president of the union representing
                agents who process DACA requests. Palinkas’ declara-
                tion was critical to the Texas courts’ determination
                that DAPA would be administered in the same way as
                DACA, and thus would not be discretionary. See
                Texas, 809 F.3d at 172-73 (noting Palinkas’s claim
                that “DACA applications are simply rubberstamped if
                the applicants meet the necessary criteria” (quotation
                marks omitted)). But Palinkas admitted in a 2018
                deposition in Texas II that he has strong personal
                feelings against DACA, that he is not involved in
                processing DACA applications, and that he in fact is
                “not aware of the extent to which discretion is
                exercised.” (Amicus Br. of DACA Recipients and State
                of New Jersey 23 (quotation marks omitted).)
                Accordingly, although the district judge in Texas had
                enjoined DAPA based on Palinkas’s assertions, the
                same judge in Texas II declined to accept those
                assertions as a basis for enjoining DACA, noting that
                Palinkas had never “processed a DACA application,”
                and that “most of what [he] had to say was either
                opinion or based upon hearsay.” Texas II, 328 F. Supp.
                3d at 733 n.105.
                    Petitioners apparently failed to conduct any
                inquiry into how DACA applications are actually
                processed. Instead, they uncritically accepted the
                earlier Texas decisions’ characterization of DACA as
                nondiscretionary, which rested on the now-debunked
                Palinkas assertions. Petitioners thus failed to meet




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                their basic obligation under the APA to “examine the
                relevant data” before reaching a conclusion. See State
                Farm, 463 U.S. at 43. No government should proceed
                in such a manner when making a decision that
                threatens devastating effects on hundreds of thousands
                of people, and serious harm to many thousands of
                employers and the economies and institutions of every
                State. The APA requires the federal government to
                meet higher standards of reasoned decisionmaking.
                    The sparse and incomplete record that petitioners
                have produced to date fails to substantiate petitioners’
                assumptions and claims. See State Farm, 463 U.S. at
                52; see also Department of Commerce, 139 S. Ct. at
                2575 (agency action is invalid where “evidence tells a
                story that does not match the explanation”). Moreover,
                petitioners’ assertion that DACA decisions were “not
                truly discretionary” was contradicted by information
                readily available to petitioners that was unquestion-
                ably material to petitioners’ legal assessment. Without
                further production of record documents that might
                support petitioners’ assertions on this score (see infra
                at 51-53 (discussing incomplete record)), the only
                conclusion a court can draw is that petitioners wrongly
                assumed that DACA left no room for case-by-case
                discretion, and that this assumption led petitioners to
                conclude that DACA possessed serious legal defects it
                did not in fact have.

                        2. Petitioners purported to rely on the
                           holding of a case that contained no
                           such holding.
                    In discussing the Texas decisions—the only
                precedents petitioners cited to justify their declaration
                that the law compelled them to terminate DACA—
                petitioners asserted without explanation that DACA




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                “has the same legal and constitutional defects that the
                courts recognized as to DAPA.” (Regents Pet. App.
                116a (emphasis added, quotation marks omitted); see
                J.A. 877.) But no court has ever found either DAPA or
                DACA to possess “constitutional defects.”
                    Petitioners make no attempt to explain this error.
                They instead paraphrase Attorney General Sessions’s
                language (Br. 52) to exclude his incorrect statements
                that “courts recognized” DAPA to have “constitutional
                defects” (J.A. 877). But his mistake was glaring and
                material. Acting Secretary Duke’s memorandum
                adopted the entirety of the reasoning in his letter, and
                specifically quoted his reference to “constitutional
                defects.” (Regents Pet. App. 116a.) And under 8 U.S.C.
                § 1103(a)(1), she and her successors are bound by the
                Attorney General’s determination unless and until
                that determination is withdrawn or overruled.
                    Governments owe it to the public to act with more
                care when conducting legal analyses that will affect so
                many so greatly. It was arbitrary and capricious for
                petitioners to rest the termination of DACA—a
                decision that will impact the lives and livelihoods of
                many—on a sloppy and facially erroneous reading of
                what petitioners claimed was their key legal authority.
                Agency action “may not stand if the agency has
                misconceived the law.” Chenery, 318 U.S. at 94.

                    B. Petitioners’ Evaluation of DACA
                       Omitted Essential Factors.
                    Even if petitioners had not made the above errors,
                the termination decision would still be arbitrary and
                capricious because petitioners did not consider factors
                that were important and relevant to their analysis.
                State Farm, 463 U.S. at 42-43.




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                         1. Petitioners failed to address
                            significant differences between
                            DACA and DAPA.
                    Petitioners’ conclusion that DACA was unlawful
                rested on the premise that DACA possessed the same
                infirmities that the Fifth Circuit attributed to DAPA.
                Yet the Fifth Circuit itself cautioned that “DACA and
                DAPA are not identical,” 809 F.3d at 174, and that
                “any extrapolation” from one to the other “must be
                done carefully,” id. at 173. Despite that admonition,
                petitioners never addressed key differences between
                DAPA and DACA.
                     For example, the Fifth Circuit emphasized that
                approximately 4.3 million people—nearly 40 percent
                of the undocumented population—would have been
                eligible for DAPA and reserved the question whether
                grants of deferred action to a smaller population “are
                consistent with the INA.” Texas, 809 F.3d at 147-48,
                186 n.202. DACA eligibility extends to only about 1.4
                million persons, about 10 percent of the current
                undocumented population. Br. for United States at 59,
                Texas I, 136 S. Ct. 2271 (No. 15-674). DACA’s size
                (unlike DAPA’s) is thus comparable to historic
                exercises of discretionary relief like the Family
                Fairness Program, which the Fifth Circuit did not
                criticize. Even in absolute terms, fewer individuals are
                eligible for DACA than the approximately 1.5 million
                persons who were eligible for the Family Fairness
                Program, although that program was implemented
                when the undocumented population was much
                smaller. 12 (J.A. 821-822, 850 n.15.) Petitioners gave no

                    12 Petitioners fail in their attempts to distinguish DACA
                from the Family Fairness Program and other historical policies




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                reasons why a deferred-action framework of DACA’s
                more limited scope is governed by the Fifth Circuit’s
                decision or reasoning about DAPA.
                     The Fifth Circuit’s decision also turned on the
                ability of those eligible for DAPA to “derive a lawful
                immigration status from their children’s immigration
                status” under the INA. Texas, 809 F.3d at 179.
                According to the Fifth Circuit, DAPA circumvented
                “Congress’s careful plan” by offering relief—on terms
                different from what Congress prescribed—to a class of
                persons already within the ambit of certain “specific
                and intricate provisions” of the INA. Id. at 186; see also
                id. at 179-80. Because the INA contains no comparable
                provisions concerning the class of persons who would
                qualify for DACA, that critical aspect of the court’s
                reasoning does not translate. Petitioners argue that
                the INA’s pathway to legal status for DAPA-eligible
                individuals was “not critical to the Fifth Circuit’s
                analysis” (Br. 35-36), but the Fifth Circuit’s discussion
                shows otherwise. The absence of analogous prescrip-
                tions concerning DACA-eligible individuals is thus a
                “critical difference” that petitioners should have
                addressed in their decisional documents. See State
                Farm, 463 U.S. at 54.
                    Petitioners likewise failed to account for the
                federal government’s prior statements to this Court
                that DACA was grounded in the important principle
                that “people who came to this country as children are
                not similarly situated to adults,” and have “particular-
                ly strong ties to this country” because many “have


                extending discretionary relief to large numbers of noncitizens
                (Br. 47-50) for the reasons stated by the other respondents. (See,
                e.g., Br. for DACA Recipient Resps. 44-47; Br. for States of
                California et al. 27-28 & n.10.)




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                never known another home.” Texas U.S. Br. 45-46.
                This Court has recognized “long ties to the community”
                as an important equitable consideration in enforce-
                ment of the immigration laws. See Arizona v. United
                States, 567 U.S. 387, 396 (2012). And the INA itself
                distinguishes between children and adults, excluding
                time accrued as a minor from the “unlawful presence”
                calculation. See 8 U.S.C. § 1182(a)(9)(B)(iii)(I).
                    Petitioners’ remarkable assertion to this Court
                that “the sympathetic circumstances of the aliens
                involved” are simply immaterial to DACA’s validity
                (Br. 45) ignores that “humanitarian reasons” and
                “sympathetic factors” are well-recognized bases for
                extending deferred action, AADC, 525 U.S. at 484 &
                n.8. As this Court explained in Arizona, “[d]iscretion
                in the enforcement of immigration law embraces
                immediate human concerns.” 567 U.S. at 396.
                Petitioners cannot now disclaim that element of their
                discretion simply because they would rather not
                exercise it.
                    Secretary Nielsen’s June 2018 supplemental
                memorandum does nothing to change the analysis.
                While Secretary Nielsen stated her belief that any
                differences between DACA and DAPA are insufficient
                “to convince [her] that the DACA policy is lawful”
                (Regents Pet. App. 122a), she did not explain why she
                viewed those differences as immaterial. This was an
                especially conspicuous failure because three district
                courts, whose reasoning was available to Secretary
                Nielsen when she issued the new memorandum, had
                found those distinctions material. (See Batalla Vidal
                Pet. App. 98a-104a; Regents Pet. App. 50a-54a; NAACP
                Pet. App. 51a-52a.) Secretary Nielsen also continued
                to rely on Attorney General Sessions’s pronouncement
                that DACA is illegal because it purportedly shares




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                with DAPA some general “incompatibility” with the
                “INA’s comprehensive scheme.” (Regents Pet. App.
                122a.) Yet, despite three district courts having
                explained why that was not so, Secretary Nielsen
                neither identified the INA provisions with which
                DACA purportedly conflicts, nor provided any “clue as
                to how an agency official, a court, or anyone else would
                go about determining whether a particular nonenforce-
                ment policy meets [her] test for ‘compatibility’ with the
                overall statutory scheme.” (NAACP Pet. App. 105a.) In
                sum, “the Nielsen Memo offers nothing even remotely
                approaching a considered legal assessment” (NAACP
                Pet. App. 105a), and thus failed to address any of the
                critical omissions of reasoning in the termination
                decision that render it arbitrary and capricious.
                    Petitioners initially offered a cursory legal analysis
                that failed to identify how the few legal authorities
                they believed relevant—the Texas decisions and the
                INA—compelled the conclusion that they reached.
                Inexplicably, after three courts had identified these
                failures of reasoning, Secretary Nielsen elected to
                ignore and elide those defects, rather than to confront
                and correct them by providing the analysis that had
                been missing. Thus, even after a second chance,
                petitioners have yet to produce the reasoned explana-
                tion required by the APA, and it is not for a court to
                “supply a reasoned basis for the agency action that the
                agency itself has not given.” See State Farm, 463 U.S.
                at 43.

                        2. Petitioners failed to explain their
                           change in position or to consider
                           the significant interests affected.
                    Petitioners also violated the APA by changing
                course on DACA for non-discretionary reasons without




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                fulfilling their obligations to “supply a reasoned
                analysis for the change,” State Farm, 463 U.S. at 42;
                to show “good reasons for the new policy,” Fox
                Television, 556 U.S. at 515; or to consider the “serious
                reliance interests” DACA engendered, Encino
                Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126
                (2016) (quotation marks omitted).
                    For the first seven-and-a-half months of the
                current presidential administration, petitioners gave
                no indication they considered DACA illegal under the
                reasoning of the Texas decisions. To the contrary, they
                continued to accept and process requests for DACA
                relief, and the President explained in April 2017 that
                his policy was not to deport DACA recipients, whom
                he advised to “rest easy.” (J.A. 435.) Former DHS
                Secretary John Kelly likewise publicly affirmed in
                March 2017 that the federal government had made a
                “commitment” to DACA recipients (J.A. 435), and
                Secretary Kelly kept DACA in place even as the
                agency announced other restructurings of its enforce-
                ment policies in February and June 2017 (J.A. 857,
                868).
                    Yet on September 5, 2017, petitioners reversed
                course and declared that DACA was beyond DHS’s
                authority under the INA and the Constitution.
                Petitioners claim that they evinced an awareness that
                they were changing their position and provided
                purportedly “good reasons” for the change by referring
                to the Texas litigation and the Attorney General’s view
                that DACA had the same defects as DAPA. (Br. 51-52.)
                But the errors and omissions in the Attorney General’s
                analysis show that petitioners’ new position was not
                “the product of reasoned decisionmaking.” See State
                Farm, 463 U.S. at 52. Even now, petitioners continue
                to mischaracterize the Texas decisions. In belatedly




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                acknowledging that the federal government
                previously considered DACA legal, petitioners claim
                that the OLC memorandum reflecting the
                government’s prior view was “flatly rejected by the
                Fifth Circuit.” (Br. 52.) But neither Acting Secretary
                Duke nor Secretary Nielsen ever addressed the OLC
                memorandum, nor did Attorney General Sessions
                distinguish the memorandum in his legal analysis.
                And the Fifth Circuit did not in fact reject the OLC
                memorandum. Rather, it concluded that DAPA’s
                particular characteristics differentiated DAPA from
                the other types of deferred action and similar
                discretionary relief described in the memorandum.
                Texas, 809 F.3d at 184 n.197.
                     Petitioners also acted arbitrarily and capriciously
                in failing to account for the interests of those who have
                relied on DACA. See Encino Motorcars, 136 S. Ct. at
                2126. To be sure, petitioners remained (and remain)
                free to terminate DACA or to rescind the relief
                afforded to any particular DACA recipient as a matter
                of discretion. But even in areas where an agency has
                broad discretion, an agency must still demonstrate
                that it understands how affected parties will be
                impacted by a major course change. For example, the
                automobile dealerships in Encino Motorcars could
                claim no right to the continued existence of a
                Department of Labor regulation allowing them to
                avoid paying overtime to service advisors. See id. Yet
                even though the agency was free to change policy, it
                improperly ignored the impacts of its change in
                enforcement policy on the dealerships who had
                “structured their compensation plans against [the]
                background understanding” in place. Id. The agency
                there failed to perform the necessary diligence given
                the “serious reliance interests at stake.” Id. at 2127.




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                    Interests weightier than an ability to avoid paying
                overtime wages are at issue here. Yet petitioners
                nowhere attempted to ascertain the likely costs and
                harms of their change in course. The APA’s
                requirements of reasoned decisionmaking demand
                more.
                    Since 2012, DACA has provided a means for about
                800,000 recipients to support themselves and their
                families, and to contribute to their communities by
                starting businesses and performing essential jobs;
                without DACA, recipients will lose that ability.
                Private and public employers have invested time and
                resources in hiring and training DACA recipients that
                the program permitted to work and to be hired; losing
                those employees will disrupt businesses and harm
                state and other government agencies. Many recipients
                have enrolled in multi-year degree programs that they
                that now may not be able to complete, to the detriment
                of the enrollees—some of whom already made
                nonrefundable tuition payments—and of the colleges
                and universities that admitted them. Petitioners do
                not dispute that terminating DACA will produce these
                harms. Nor can they dispute that their proffered
                administrative record reveals no attempt to assess the
                scope and magnitude of the costs and harms that
                would result from a termination of DACA.
                     Petitioners claim that they nonetheless accounted
                for the serious reliance interests at stake by ordering
                a wind-down of DACA over time. (Br. 42.) But they
                described that choice as necessary to accommodate
                unspecified “administrative complexities” that the
                termination would present for DHS. (Regents Pet.
                App. 116a.) Nothing in the record suggests that Acting
                Secretary Duke or Attorney General Sessions ever
                considered the massive economic, social, and personal




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                consequences of terminating DACA for those relying
                on it.
                    Petitioners fare no better in their attempt to rely
                (see Br. 42, 51-52) on Acting Secretary Nielsen’s
                assurance that she was “keenly aware that DACA
                recipients have availed themselves of the policy in
                continuing their presence in this country and
                pursuing their lives” (Regents Pet. App. 125a). Even if
                this assurance could be imputed to the decisionmakers
                who actually terminated DACA—Acting Secretary
                Duke and Attorney General Sessions—the administra-
                tive record proffered by petitioners does not show what
                information Secretary Nielsen considered to inform
                herself of the type or magnitude of the interests at
                stake. Moreover, her cursory discussion refers only to
                unspecified “reliance interests” of DACA recipients; it
                makes no attempt to account for the effects of the
                termination on the States and the other organizations,
                entities, and persons who employ and depend upon
                DACA recipients. Petitioners’ failure to recognize that
                these interests even exist is by itself grounds for
                vacating the termination decision.

                    C. Petitioners’ Defective Legal Analysis
                       Led to a Flawed Legal Conclusion.
                     The legal and factual errors in petitioners’ legal
                analysis (see supra at 31-35) led them to erroneously
                conclude that DACA exceeded the enforcement discre-
                tion conferred on immigration officials by the INA. 13


                    13  Petitioners’ conclusion that DACA is unlawful is a
                conclusion no court has ever reached. And because petitioners’
                analysis was arbitrary and capricious, this Court need not
                address petitioners’ flawed conclusion. In any event, it would be




                                                                                    AR4345
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                “A principal feature of the removal system is the broad
                discretion exercised by immigration officials.” Arizona,
                567 U.S. at 396. The Constitution and the INA charge
                these officials with determining whether, when, and
                how to take enforcement action against removable
                individuals. Crucial practical and policy considera-
                tions make broad latitude essential to that complex
                task. As this Court has noted, “[t]he equities of an
                individual case may turn on many factors, including
                whether the alien has children born in the United
                States, long ties to the community, or a record of
                distinguished military service.” Id. (See also Regents
                Pet. App. 98a (enumerating veteran status as eligibility
                criteria for DACA).) In addition, “[s]ome discretionary
                decisions involve policy choices that bear on this
                Nation’s international relations,” Arizona, 567 U.S. at
                396, a field where circumstances often change, some-
                times rapidly, and this Court has a “customary policy
                of deference to the President,” Jama v. Immigration &
                Customs Enf’t, 543 U.S. 335, 348 (2005) (citing this
                policy in declining to impose restrictions on removal
                process that were not expressly required by Congress).
                    In insisting that DACA required specific legislative
                authorization (Br. 43-46), petitioners upend the
                fundamental premise of immigration law that
                “flexibility and the adaptation of the congressional
                policy to infinitely variable conditions constitute the
                essence of the program.” See United States ex rel.
                Knauff v. Shaughnessy, 338 U.S. 537, 543 (1950)
                (quotation marks omitted). The relevant inquiry here


                inappropriate here to uphold petitioners’ legal conclusion based
                on legal reasons not asserted by any agency decisionmaker in this
                case, especially given petitioners’ failure to produce the complete
                record for review. (See infra at 51-53.)




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                is not whether Congress specifically authorized DHS to
                make discretionary grants of deferred action to
                individuals meeting DACA’s eligibility criteria, but
                whether Congress’s broad grant of enforcement
                discretion to DHS precludes that authority. The
                answer to that question is no.
                     Congress has tasked the DHS Secretary with “the
                administration and enforcement” of the INA and “all
                other laws relating to the immigration and naturaliza-
                tion of aliens,” 8 U.S.C. § 1103(a)(1), and has directed
                the Secretary to “issue such instructions” and “perform
                such other acts as he deems necessary for carrying out
                his authority,” id. § 1103(a)(3). Congress has also
                charged the DHS Secretary with responsibility for
                “[e]stablishing national immigration enforcement
                policies and priorities.” 6 U.S.C. § 202(5). And by
                appropriating funds sufficient to remove only a small
                portion of the country’s total undocumented population,
                Congress has made it necessary for DHS to exercise
                substantial discretion in setting those priorities. (See
                Batalla Vidal Pet. App. 72a (DHS “has the resources
                to remove fewer than 400,000” of approximately 11.3
                million undocumented immigrants).) Petitioners thus
                acknowledge that the “vast disparity” (Br. 46) between
                the size of the undocumented population and DHS’s
                limited resources means that the agency cannot
                indiscriminately pursue removal of all undocumented
                immigrants; it must instead “establish enforcement
                priorities, and strategically deploy its resources to
                enforce the law” (Br. 45).
                    One well-recognized way in which DHS and its
                predecessor agencies have long carried out that
                mission is by affording certain removable individuals
                discretionary relief such as deferred action, originally
                known as “nonpriority.” AADC, 525 U.S. at 484




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                (quotation marks omitted); see also, e.g., Lennon v.
                INS, 527 F.2d 187, 189 n.3 (1975). “This commendable
                exercise in administrative discretion, developed
                without express statutory authorization,” AADC, 525
                U.S. at 484 (quotation marks omitted), does not confer
                lawful immigration status or provide a defense to
                removal. Instead, DHS refrains from removal for a
                stated period, revocable at any time, “for
                humanitarian reasons or simply for its own
                convenience.” Id.; see also 8 C.F.R. § 274a.12(c)(14)
                (describing deferred action as “an act of
                administrative convenience to the government which
                gives some cases lower priority”). Relevant criteria
                include a low probability that an individual will
                ultimately be removed, “the presence of sympathetic
                factors that could adversely affect future cases or
                generate bad publicity” for the government, and the
                absence of any violations of law constituting a high
                enforcement priority. AADC, 525 U.S. at 484 n.8.
                    Petitioners do not dispute that their broad
                authority to administer the immigration laws and set
                enforcement priorities includes the authority to grant
                deferred action and to notify DACA recipients of that
                decision. (Br. 4-5). As petitioners rightly note,
                “Congress and this Court have recognized the
                practice’s use in certain contexts.” (Br. 43; see Br. 45.)
                Petitioners also do not dispute the validity of their own
                regulations permitting deferred-action recipients to
                receive certain privileges during a period of deferred
                action, including work authorization in cases of
                economic necessity. (Br. 5 (citing 8 C.F.R.
                § 274a.12(c)(14)).) Indeed, those regulations are
                longstanding, applicable not just to DACA recipients
                but to all recipients of deferred action, and supported
                by separate legislative authority. The practice of




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                granting work authorization to economically needy
                immigrants during periods of discretionary relief from
                removal dates back to at least the 1970s, 14 was first
                codified in regulations in 1981, 15 and was confirmed
                by Congress in 1986. 16 See 8 U.S.C. § 1324a(h)(3)
                (recognizing employers’ ability to hire immigrants
                who are “authorized to be so employed by [the INA] or
                by the [DHS Secretary]” (emphasis added)).
                    Petitioners nevertheless argue that DACA
                exceeded the broad discretion to grant deferred action
                and work authorization that petitioners admittedly
                possess. But each of their arguments is mistaken.
                Petitioners suggest that DACA is invalid because it is
                a “categorical deferred-action policy” (Br. 40, 43), by
                which they mean it has “stated eligibility criteria” (Br.
                40) and “creates an implicit presumption that
                requestors who meet its eligibility criteria will be


                     14 See Sam Bernsen, INS Gen. Counsel, Leave to Labor, 52

                No. 35 Interpreter Releases 291, 294 (Sep. 1975).
                     15 See Employment Authorization, 46 Fed. Reg. 25,079,

                25,080 (May 5, 1981).
                     16 Likewise, regulations dating back to 1979 have allowed

                deferred-action recipients to participate in Social Security. 44
                Fed. Reg. 10,369, 10,371 (Feb. 20, 1979). And the INA now
                reflects Congress’s plain intent to vest the Secretary of DHS with
                discretion to grant Social Security benefits to those who have
                been granted deferred action. 8 U.S.C. § 1611(b)(2) (bar on
                granting Social Security benefits “shall not apply . . . to an alien
                who is lawfully present in the United States as determined by the
                [Secretary]” (emphasis added)); see also 8 C.F.R. § 1.3(a)(4)(vi) (for
                “purposes of 8 U.S.C. § 1161(b)(2),” defining “lawfully present” to
                include specified “classes of aliens permitted to remain in the
                United States because DHS has decided for humanitarian or
                other public policy reasons not to initiate removal proceedings or
                enforce departure,” including “[a]liens currently in deferred
                action status”).




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                granted deferred action” (Br. 39). But the memoran-
                dum announcing DACA allows DHS agents to exercise
                case-by-case discretion to deny deferred action to
                those who meet DACA’s threshold criteria (Regents
                Pet. App. 99a), and those agents were indisputably
                exercising that discretion (see supra at 32-33). There
                is nothing unusual or unlawful about creating an
                efficient framework for the exercise of individualized
                enforcement discretion by establishing criteria that
                identify candidates who are likely to benefit from that
                discretion. (See J.A. 821-826 (OLC Mem.).) Properly
                understood, DACA does not violate the legal principle
                petitioners invoke.
                    One of the core functions of deferred action is to
                serve DHS’s “own convenience.” AADC, 525 U.S. at
                484. Deferred-action frameworks like DACA serve
                that end in part “by encouraging lower priority
                individuals to identify themselves to the agency,”
                which can help “the agency to better focus its scarce
                resources on higher enforcement priorities.” (J.A. 837-
                838 (OLC Mem.).) Implementing deferred action only
                in an ad hoc way would leave the agency less able to
                direct resources toward its highest enforcement priori-
                ties. As the New York district court observed, there is
                “no principled reason why the Executive Branch may
                grant deferred action to particular immigrants but
                may not create a program by which individual
                immigrants who meet certain prescribed criteria are
                eligible to request deferred action.” (Batalla Vidal Pet.
                App. 95a.)
                     Petitioners are simply wrong that DACA
                “affirmatively sanction[s] the ongoing violation of
                federal law.” (Br. 43). Like all forms of deferred action,
                DACA neither provides recipients with lawful immi-
                gration status nor furnishes a defense to removal, and




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                a grant of deferred action under DACA can be revoked
                at any time. DACA relief simply communicates a
                decision that DHS has elected not to use its limited
                resources to remove the recipient for a stated time,
                unless the agency sooner changes its mind. In this
                respect, DACA is no different from the type of deferred
                action that petitioners acknowledge to be legitimate.
                (See Br. 46-50.) Nor does the grant of work authori-
                zation to DACA recipients transform this policy into a
                violation of law or distinguish it from other deferred
                action policies, as petitioners contend. (Br. 44-45).
                Work authorization is available to all recipients of
                deferred action under independent statutory and
                regulatory provisions that were put in place years
                before this Court endorsed deferred action in AADC.
                     Petitioners fare no better in suggesting that
                DACA is somehow flawed because an estimated 1.7
                million individuals were eligible to request deferred
                action under DACA. (Br. 43-44.) First, that number is
                a questionable figure that exceeds petitioners’ prior
                estimate. (See supra at 36.) Second, that number, even
                if correct, would represent just a small portion
                (approximately 15 percent) of the estimated 11.3
                million undocumented immigrants in the country
                (Batalla Vidal Pet. App. 72a). And the estimated
                number of persons who in fact received deferred action
                pursuant to DACA (800,000) is an even smaller
                fraction: approximately 7 percent. DACA’s eligibility
                criteria have thus effectively identified a narrow
                segment of the overall removable population: a group
                of individuals who were highly unlikely to be removed
                both because of DHS’s limited resources and because
                of those individuals’ particular characteristics. Even
                now, petitioners do not deny that DACA recipients—
                all of whom arrived in this country as children, have




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                strong roots in their U.S. communities, and have not
                engaged in serious criminal conduct (Regents Pet.
                App. 97a-98a)—are “low-priority targets” for removal
                (Br. 46). DACA recipients’ characteristics weigh
                strongly in favor of deferred action for “humanitarian
                reasons” under the criteria recognized by this Court in
                AADC, including a low likelihood of removal, the
                “presence of sympathetic factors,” and the absence of
                any violation “given high enforcement priority.” See
                525 U.S. at 484 n.8.
                    Petitioners are further mistaken in contending
                that DACA was too consequential from an economic
                and political standpoint to be left to DHS without a
                more specific grant of statutory authority. (Br. 44-45.)
                DACA’s most significant economic impact—the
                availability of work authorization—was based on a
                specific statutory grant of authority: 8 U.S.C.
                § 1324a(h)(3). Moreover, it would be impossible for
                DHS to carry out its statutory charge to establish
                “national immigration enforcement policies and
                priorities,” 6 U.S.C. § 202(5), without making decisions
                with significant economic and political consequences.
                    At bottom, petitioners’ claim that DACA required
                additional legislation ignores that Congress has
                already given DHS broad discretion to set enforcement
                priorities and forgo enforcement based on “humani-
                tarian reasons,” AADC, 525 U.S. at 484, and
                “immediate human concerns,” Arizona, 567 U.S. at
                396. “Unauthorized workers trying to support their
                families, for example, likely pose less danger than
                alien smugglers or aliens who commit a serious
                crime.” Id. Congress has sensibly and humanely
                authorized DHS to permit individuals to work legally
                during the period when the agency has chosen to
                forbear from removing them. To be sure, Congress has




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                not at this point created a pathway for recipients of
                deferred action under DACA to obtain lawful
                immigration status, but that step remains
                overwhelmingly popular with the public and still may
                become a reality. In the meantime, nothing in the
                congressional scheme forecloses DHS from exercising
                its enforcement discretion to grant deferred action to
                an exceptionally sympathetic, law-abiding, and
                productive group of individuals who have not known
                another home, are unlikely to be removed, and are
                widely viewed as promising candidates to be given the
                right to stay.

                    D. This Court Cannot Uphold Petitioners’
                       Justifications for the Termination
                       Without a Full Administrative Record.
                    Even if this Court disagrees that petitioners’
                actions were arbitrary and capricious on the current
                record, it must reject petitioners’ request to uphold
                their termination of DACA as “plainly valid.” (See Br.
                32.) Claims that challenge an agency’s reasons for
                acting cannot be resolved against an APA plaintiff on
                the merits until the agency has presented the
                complete administrative record undergirding its
                decision. The contrary course that petitioners urge
                would permit and incentivize agencies to withhold
                evidence unfavorable to the agency’s position. See
                Walter O. Boswell Mem’l Hosp. v. Heckler, 749 F.2d
                788, 792 (D.C. Cir. 1984). APA plaintiffs are thus
                entitled to a complete administrative record, and a
                court may properly direct completion when the record
                presented is demonstrably incomplete. See Department
                of Commerce, 139 S. Ct. at 2574.
                    Here, the dismissal of respondents’ APA claims
                that petitioners request cannot be granted at the




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                current stage of the proceedings because petitioners
                have yet to produce a complete administrative record.
                In December 2017, after the Ninth Circuit affirmed
                the district court’s determination in Regents that the
                administrative record produced by petitioners was
                facially deficient, this Court directed the district court
                to address petitioners’ “threshold arguments” about
                jurisdiction and reviewability before considering
                whether “amendments to the record are necessary and
                appropriate.” In re United States, 138 S. Ct. 443, 445
                (2017) (per curiam). Shortly afterwards, the Second
                Circuit denied petitioners’ mandamus application,
                which had sought to preclude completion of the
                administrative record in Batalla Vidal, a case where
                the district court had already rejected petitioners’
                jurisdiction and reviewability arguments. Order at 4,
                In re Nielsen, No. 17-3345 (2d Cir. Dec. 27, 2017), ECF
                No. 171. The Second Circuit noted that specific
                materials “appear to be missing” from petitioners’
                proffered record and that the district court in
                California had already identified 48 non-privileged
                documents       that     were    before    the     agency
                decisionmakers but not within the record presented. 17
                Id. at 2-3.
                    Nearly two years later, petitioners still have not
                completed the administrative record in any of the
                cases under review. 18 As the New York district court

                      17 Since that ruling, petitioners have produced in FOIA

                litigation other documents that should have been part of the
                administrative record here, including the August 24, 2017 docu-
                ment describing the conclusions of the Principals Committee. See
                Principals Comm., Summary of Conclusions.
                      18 In Batalla Vidal and Regents, petitioners obtained a stay

                of that obligation pending their various interlocutory appeals.




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                recognized, because the States’ APA claims turn on
                asserted defects in the rationality and reasonableness
                of petitioners’ decisional process, and because the
                record here remains incomplete, it is not possible to
                render judgment in petitioners’ favor at this moment
                in the proceedings. (Batalla Vidal, Pet. App. 138a.)
                Nor could this Court reverse the determination that
                the record is incomplete when petitioners have not
                challenged those rulings in their opening brief and
                when those rulings are, in any event, plainly correct.

                III. The States Have Sufficiently Stated
                     an Equal Protection Claim.
                    The Court should decline to disturb the Regents
                and Batalla Vidal rulings denying petitioners’ motion
                to dismiss the equal protection claims in those cases. 19
                The respondents in the New York and California cases
                who raised an equal protection claim adequately
                alleged that the termination of DACA was motivated
                by discriminatory animus against Latinos from
                Mexico, and resulted in a discriminatory effect on that
                group. See Village of Arlington Heights v. Metropolitan
                Hous. Dev. Corp., 429 U.S. 252, 264-65 (1977). To
                sufficiently plead animus, a plaintiff need only raise a
                plausible inference that “an invidious discriminatory


                (See Batalla Vidal Pet. App. 138a n.4.) See also Order, Regents v.
                United States Dep’t of Homeland Security, No. 17-05211 (N.D.
                Cal. Sep. 14, 2018). The respondents in NAACP moved for
                summary judgment on the partial record, which the district court
                granted. (NAACP Pet. App. 18a, 76a.)
                     19 The New York and California district courts’ injunctions

                and the D.C. district court’s judgment relied only on APA claims,
                and none of the respondents relies on an equal protection claim
                as an alternative ground for affirming those dispositions.




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                purpose” could have been “a motivating factor” in a
                governmental decision. See id. at 265-66. Respondents
                satisfied that standard here.
                    First, respondents alleged that the impact of
                terminating DACA falls overwhelmingly on Latinos
                from Mexico. Seventy-eight percent of DACA
                recipients are Latinos from Mexico. (Regents Supp.
                Pet. App. 74a; J.A. 708.) Of the approximately 1,400
                DACA recipients who would lose deferred action each
                day without the relief granted by the courts below
                (Batalla Vidal Pet. App. 120a), approximately 1,100
                are Latinos from Mexico.
                     Second, respondents alleged that petitioners
                failed to act with the care and consideration that
                governments typically give a decision of this
                magnitude (J.A. 718-721, 727-734), a fact which can
                support an inference of discriminatory intent, see
                Arlington Heights, 429 U.S. at 267. The current
                administration reaffirmed its commitment to DACA
                recipients on several occasions, including as late as
                June 2017. (J.A. 718-721.) Yet just three months later,
                petitioners announced that the law compelled them to
                terminate DACA in decisional documents that
                contained mistakes of fact and law, and failed to
                address important considerations. For example,
                although the purported absence of case-by-case
                discretion was central to petitioners’ conclusion,
                petitioners’ proffered administrative record suggests
                that petitioners did not consider a single piece of data,
                review a single guidance document, or hear from a
                single employee about whether DHS was actually
                exercising discretion in processing DACA applications.




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                    Third, respondents alleged that although
                President Trump may have made a few positive
                statements about DACA (cf. Br. 55), the President has
                also made repeated statements demonstrating preju-
                dice against Latinos from Mexico (see Batalla Vidal
                Pet. App. 152a; see also Regents, Supp. Pet. App. 74a-
                77a). Those invidious statements are enough at the
                pleading stage to state an equal protection claim. For
                example, during his presidential campaign, then-
                candidate Trump denigrated Mexican immigrants as
                rapists and criminals. (J.A. 721-722.) After his
                inauguration, President Trump characterized Latino
                immigrants as “animals.” (J.A. 676-677.) The President
                continued these statements even into the period
                between the September 2017 termination of DACA
                and Secretary Nielsen’s purportedly curative new
                memorandum, comparing immigrants from Mexico to
                vermin who “infest our Country.” 20 Subsequently, in a
                speech in May 2018, he declared that such immigrants
                “aren’t people. These are animals.” 21
                    To be sure, at trial respondents will need to prove
                that this demonstrated animus was connected to the
                termination of DACA. But at the pleading stage,
                respondents’ allegations are sufficient to raise a
                plausible inference that the President’s discriminatory
                animus was a motivating factor in the termination of
                DACA.
                    Petitioners argue that the President’s statements
                are immaterial and that the question here is whether

                    20  See David A. Graham, Trump Says Democrats Want
                Immigrants to Infest the U.S., The Atlantic (Jun. 19, 2018).
                     21  See Julie Hirschfeld Davis, Trump Calls Some
                Unauthorized Immigrants ‘Animals’ in Rant, N.Y. Times (May
                16, 2018).




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                Acting Secretary Duke (or Secretary Nielsen) harbored
                animus. (Br. 55.) But the President has broad power
                to direct his subordinates, and declared his direct
                involvement in the termination decision. (J.A. 729.) A
                high-level government official cannot launder his
                animus through subordinate officers. This Court has
                recognized that animus can be an unlawful “motivating
                factor” when an otherwise unbiased decisionmaker is
                spurred by the animus of others in the same
                organization—even others to whom the decisionmaker
                does not report. See Staub v. Proctor Hosp., 562 U.S.
                411, 422 (2011). And plainly, the inclinations and
                directives of the President can motivate an agency
                head who serves at the President’s pleasure.
                    In an attempt to obtain a more favorable standard
                of review, petitioners miscast respondents’ equal
                protection claims as a selective-enforcement challenge.
                But the States are not individual plaintiffs claiming
                discrimination     within     individual   enforcement
                proceedings. See, e.g., AADC, 525 U.S. at 488. (See also
                Regents Supp. Pet. App. 75a-76a.) Instead, they are
                suing to vindicate their proprietary interests in
                DACA’s effects on state economies and workforces,
                and interests in public health, public safety, and
                public education. In addition, the equal protection
                claims here will not disrupt individualized removal
                actions. DACA is a class-wide framework allowing
                individuals to apply for deferred action; it is not a
                defense to prosecution or removal, and continuing
                DACA would not bar DHS from exercising discretion
                to enforce in any given case.




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                                   CONCLUSION
                    The decisions below should be affirmed.

                                            Respectfully submitted,

                                            LETITIA JAMES
                                             Attorney General
                                             State of New York
                                            BARBARA D. UNDERWOOD*
                                               Solicitor General
                                            ANISHA S. DASGUPTA
                                               Deputy Solicitor General
                                            ANDREW W. AMEND
                                               Assistant Deputy
                                                Solicitor General
                                            DAVID S. FRANKEL
                                             Assistant Solicitor General
                                            barbara.underwood@ag.ny.gov

                September 2019              * Counsel of Record

                 (Counsel listing continues on next page.)




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                                        58

                WILLIAM TONG            HECTOR H. BALDERAS
                 Attorney General        Attorney General
                 State of Connecticut    State of New Mexico
                55 Elm St.              408 Galisteo St.
                P.O. Box 120            Santa Fe, NM 87501
                Hartford, CT 06106
                KATHY JENNINGS          JOSH STEIN
                 Attorney General        Attorney General
                 State of Delaware       State of North Carolina
                820 N. French St.       114 W. Edenton St.
                Wilmington, DE 19801    Raleigh, NC 27603
                CLARE E. CONNORS        ELLEN F. ROSENBLUM
                 Attorney General        Attorney General
                 State of Hawai‘i        State of Oregon
                425 Queen St.           1162 Court St. N.E.
                Honolulu, HI 96813      Salem, OR 97301
                KWAME RAOUL             JOSH SHAPIRO
                 Attorney General        Attorney General
                 State of Illinois       Commonwealth of
                100 W. Randolph St.       Pennsylvania
                Chicago, IL 60601       Strawberry Square, 16th Fl.
                                        Harrisburg, PA 17120
                THOMAS J. MILLER        PETER F. NERONHA
                 Attorney General        Attorney General
                 State of Iowa           State of Rhode Island
                1305 E. Walnut St.      150 South Main St.
                Des Moines, IA 50319    Providence, RI 02903
                MAURA HEALEY            THOMAS J. DONOVAN
                 Attorney General        Attorney General
                 Commonwealth of         State of Vermont
                 Massachusetts          109 State St.
                One Ashburton Place     Montpelier, VT 05609
                Boston, MA 02108




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                                            59

                MARK R. HERRING             PHIL WEISER
                 Attorney General            Attorney General
                 Commonwealth of Virginia    State of Colorado
                202 North Ninth St.         1300 Broadway, 10th Fl.
                Richmond, VA 23219          Denver, CO 80203
                ROBERT W. FERGUSON          KARL A. RACINE
                 Attorney General            Attorney General
                 State of Washington         District of Columbia
                800 Fifth Ave., Ste. 2000 Suite 650 North
                Seattle, WA 98104         441 4th St., NW
                                          Washington, DC 20001




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                            Nos. 18-587, 18-588, and 18-589

                In the Supreme Court of the United States
                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                      PETITIONERS

                                            v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                                ON WRIT OF CERTIORARI
                        TO THE UNITED STATES COURT OF APPEALS
                                FOR THE NINTH CIRCUIT


                         REPLY BRIEF FOR THE PETITIONERS


                                                 NOEL J. FRANCISCO
                                                  Solicitor General
                                                    Counsel of Record
                                                  Department of Justice
                                                  Washington, D.C. 20530-0001
                                                  SupremeCtBriefs@usdoj.gov
                                                  (202) 514-2217




                        Additional Captions Listed on Inside Cover




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                 DONALD J. TRUMP, PRESIDENT OF THE UNITED STATES,
                               ET AL., PETITIONERS

                                         v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                            OF COLORED PEOPLE, ET AL.


                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                        TO THE UNITED STATES COURT OF APPEALS
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT


                     KEVIN K. MCALEENAN, ACTING SECRETARY OF
                      HOMELAND SECURITY, ET AL., PETITIONERS
                                       v.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.

                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                        TO THE UNITED STATES COURT OF APPEALS
                                FOR THE SECOND CIRCUIT




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                In the Supreme Court of the United States
                                     No. 18-587
                     DEPARTMENT OF HOMELAND SECURITY, ET AL.,
                                    PETITIONERS
                                         v.
                  REGENTS OF THE UNIVERSITY OF CALIFORNIA, ET AL.

                            ON WRIT OF CERTIORARI TO THE
                           UNITED STATES COURT OF APPEALS
                               FOR THE NINTH CIRCUIT

                                    No. 18-588
                    DONALD J. TRUMP, PRESIDENT OF THE UNITED
                           STATES, ET AL., PETITIONERS
                                        v.
                    NATIONAL ASSOCIATION FOR THE ADVANCEMENT
                            OF COLORED PEOPLE, ET AL.

                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                        TO THE UNITED STATES COURT OF APPEALS
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    No. 18-589
                    KEVIN K. MCALEENAN, ACTING SECRETARY OF
                     HOMELAND SECURITY, ET AL., PETITIONERS
                                      v.
                      MARTIN JONATHAN BATALLA VIDAL, ET AL.

                       ON WRIT OF CERTIORARI BEFORE JUDGMENT
                        TO THE UNITED STATES COURT OF APPEALS
                                FOR THE SECOND CIRCUIT

                        REPLY BRIEF FOR THE PETITIONERS


                                        (1)




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                   In 2012, the Department of Homeland Security
                (DHS) adopted DACA, a temporary policy of enforce-
                ment discretion that created a mechanism for up to 1.7
                million aliens to receive forbearance from removal and
                federal benefits, even though existing laws make it ille-
                gal for them to remain in the United States. That policy
                was itself illegal, and at a minimum legally questionable.
                For those reasons, and a host of policy concerns, DHS
                has been trying to rescind DACA for more than two
                years. Although respondents claim to accept DHS’s au-
                thority to do so, they ask this Court to review the
                change in policy under such rigorous requirements as
                to effectively preclude it. In their view, the “true cost-
                benefit analysis” that the Administrative Procedure Act
                (APA) purportedly requires “could not possibly justify
                this change.” Ind. Br. 59. Respondents’ approach to the
                APA bears no resemblance to this Court’s. DHS’s deci-
                sion to rescind a purely discretionary nonenforcement
                policy is not reviewable under the APA. And even if it
                were, the decision of a law-enforcement agency to re-
                scind this legally dubious policy not to enforce the law
                plainly satisfies any narrow review the APA provides.
                   A. The Nielsen Memorandum Should Be Considered
                   Although the Duke Memorandum provides ample
                basis to reverse the judgments below, the Court can and
                should also consider Secretary Nielsen’s explanation
                for DACA’s rescission, which confirms that it is both un-
                reviewable and lawful. U.S. Br. 28-31. No one argues
                that the Nielsen Memorandum is not properly before
                the Court at all. And although respondents argue that
                the Court should disregard the parts of it that doom
                their case, they are wrong for three related reasons.
                   1. As the D.C. district court correctly concluded,
                most of Secretary Nielsen’s explanation is simply an




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                “amplified articulation” of Acting Secretary Duke’s ex-
                planation. NAACP Pet. App. 92a (citation omitted). No
                respondent meaningfully argues that the Court cannot
                consider Secretary Nielsen’s explanation of the unlaw-
                fulness rationale contained in the Duke Memorandum.
                And respondents offer (D.C. Br. 22) only one reason for
                disregarding her further explanation that, even if
                DACA ultimately might be found lawful, it should be re-
                scinded based on the costs of maintaining such a legally
                questionable nonenforcement policy—namely, that the
                Duke Memorandum purportedly did not sufficiently ar-
                ticulate those concerns. That is wrong. See p. 11, infra.
                Regardless, respondents acknowledge that, at a court’s
                invitation, an agency may offer a fuller explanation of a
                rationale that existed at the time of its decision but was
                too “curt[ly]” expressed. D.C. Br. 50 (citation omitted).
                That is precisely what Secretary Nielsen did when she
                explained that, “[l]ike Acting Secretary Duke,” she
                “lack[ed] sufficient confidence in the DACA policy’s le-
                gality” to maintain it. Regents Pet. App. 123a.
                   2. More fundamentally, considering even new policy
                rationales offered by Secretary Nielsen would not vio-
                late the rule prohibiting a reviewing court from accept-
                ing “post hoc rationalizations for agency action.” Bur-
                lington Truck Lines, Inc. v. United States, 371 U.S. 156,
                168 (1962). That principle prevents thrusting courts
                “into the domain which Congress has set aside exclu-
                sively for the administrative agency,” id. at 169 (citation
                omitted), and generally precludes “judicial inquiry into
                ‘executive motivation’ [that] represents ‘a substantial
                intrusion’ into the workings of another branch,” Depart-
                ment of Commerce v. New York, 139 S. Ct. 2551, 2573
                (2019) (citation omitted). It is not implicated when, as




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                here, the agency itself offers the explanation for agency
                action through proper agency procedures.
                   Camp v. Pitts, 411 U.S. 138 (1973) (per curiam), is
                not to the contrary. There, the Court discussed the ap-
                propriate scope of “affidavits or testimony” that the
                agency could offer in defense of its action directly to the
                reviewing court, regardless of the required procedures
                for taking the action in the first place. Id. at 143. The
                Court, however, placed no limitations on the explana-
                tion an agency might offer if a court found the reasons
                initially offered were insufficient and the agency pro-
                vided additional ones in accordance with all relevant
                procedures. Ibid.; cf. Citizens to Preserve Overton Park
                v. Volpe, 401 U.S. 402, 420-421 (1971) (permitting con-
                sideration of the agency’s additional “formal findings,”
                even if considered “to some extent” “post hoc rationali-
                zation”). And, here, neither the Immigration and Na-
                tionality Act (INA) nor the APA requires any particular
                procedures at all for changes in enforcement policies.
                   Respondents appear to acknowledge that Secretary
                Nielsen was free to offer entirely new rationales in a
                “new agency action.” D.C. Br. 52. But nothing in the
                APA required that the new action reinstate DACA and
                rescind it again, rather than ratify the rescission and
                state her reasons for doing so. And the latter is pre-
                cisely what Secretary Nielsen did, explicitly stating that
                the prior decision “remains” sound, that the DACA pol-
                icy “should be” rescinded, and that she both “decline[d]
                to disturb” the rescission and “concur[red] with” it for
                the reasons she articulated. Regents Pet. App. 121a,
                123a, 126a. Secretary Nielsen’s Memorandum is a
                “rule” setting forth “an agency statement of general
                ***      applicability and future effect designed to
                implement * * * policy.” 5 U.S.C. 551(4). It thus is




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                “agency action,” 5 U.S.C. 551(13), not solely an explana-
                tion of a past action.
                    There is no need to “reset” the litigation for any new
                reasons to be considered. D.C. Br. 53 (citation omitted).
                Secretary Nielsen expressly based her decision on an
                already available administrative record—namely, the
                Duke Memorandum, the administrative record prof-
                fered for that decision, Acting Secretary Duke’s accom-
                panying statement, and the then-existing judicial opin-
                ions reviewing the Duke Memorandum, see Regents
                Pet. App. 121a—and the questions before the Court are
                purely legal. In resolving them, the Court can and
                should consider new agency actions “to the extent they
                supplement or displace [DHS’s] original directive.” Na-
                tional Treasury Emps. Union v. Von Raab, 489 U.S.
                656, 661 n.1 (1989).
                    Respondents offer no sound reason why it should
                matter for purposes of considering the Nielsen Memo-
                randum that the D.C. district court’s vacatur of the
                Duke Memorandum had not taken effect or that the
                government continues to defend the Duke Memoran-
                dum. Such a rule would not serve “principle[s] of
                agency accountability.” D.C. Br. 51 (citation omitted).
                Contrary to respondents’ suggestion (id. at 52), Secre-
                tary Nielsen did not offer her explanation only in court
                filings. She publicly issued it in the same manner as the
                Duke Memorandum (and the original DACA memoran-
                dum). DHS, Memorandum from Secretary Kirstjen M.
                Nielsen on the Rescission of DACA (June 22, 2018),
                https://go.usa.gov/xp3BE. There is no “reason to sus-
                pect” that it “does not reflect the agency’s fair and con-
                sidered judgment.” D.C. Br. 52-53 (citation omitted).
                    And respondents’ assertion (Cal. Br. 51) that consid-
                ering Secretary Nielsen’s reasons for rescinding the




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                DACA policy would “reduce the agency’s incentives for
                offering a sustainable rationale in the first instance” is
                not realistic. Even if it were costless to redo agency ac-
                tion, it is implausible that an agency would risk delaying
                the implementation of new policy by intentionally with-
                holding a well-reasoned explanation in the first instance.
                That is particularly so where, as is often true, doing so
                would require the agency to undertake time-consuming
                and costly efforts such as notice-and-comment rulemak-
                ing or adjudicative procedures.
                    3. At a minimum, if the Nielsen Memorandum pro-
                vides an adequate basis to uphold DACA’s rescission,
                remanding the matter based on an inadequacy in the
                Duke Memorandum “would be an idle and useless for-
                mality.” NLRB v. Wyman-Gordon Co., 394 U.S. 759,
                766 n.6 (1969) (plurality opinion). The APA “does not
                require” courts to “convert judicial review of agency ac-
                tion into a ping-pong game.” Morgan Stanley Capital
                Grp. Inc. v. Public Util. Dist. No. 1, 554 U.S. 527, 545
                (2008) (citation omitted); see PDK Labs., Inc. v. DEA,
                362 F.3d 786, 800, 808-809 (D.C. Cir. 2004) (Roberts, J.,
                concurring in part and in the judgment) (“No principle
                of administrative law or common sense requires us to
                remand a case in quest of a perfect opinion unless there
                is reason to believe that the remand might lead to a dif-
                ferent result.”) (citation omitted). To the contrary, the
                APA requires courts to take “due account * * * of the
                rule of prejudicial error.” 5 U.S.C. 706; see Department
                of Commerce, 139 S. Ct. at 2573;
                    Respondents contend (D.C. Br. 56) that it is “impos-
                sible * * * to predict” how DHS would respond if the
                Court remanded the matter to it. But that is manifestly
                untrue. DHS already has determined that the rescis-
                sion of the DACA policy was “proper” and therefore




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                that the policy “should” be terminated. Regents Pet.
                App. 122a. That judgment did not depend on whether
                DACA was lawful. Ibid. And DHS continues to defend
                all of Secretary Nielsen’s reasons before this Court.
                There is no basis for concluding that the agency’s posi-
                tion might change if it were required to consider the
                question a third time.
                   B. DACA’s Rescission Is Not Reviewable
                   As reflected in both the Duke and Nielsen Memo-
                randa, DHS’s decision to rescind its nonenforcement
                policy is a quintessential enforcement decision of the
                sort traditionally “committed to an agency’s absolute
                discretion.” Heckler v. Chaney, 470 U.S. 821, 831 (1985).
                It is therefore unreviewable absent a statute “circum-
                scribing [the] agency’s power to discriminate among is-
                sues or cases it will pursue.” Id. at 833; see U.S. Br. 17-
                32. Respondents do not claim that the INA restricted
                DHS’s authority to rescind DACA. Their arguments that
                the rescission nevertheless is reviewable—because of the
                type of decision or the reasons given—are all flawed.
                   1. Respondents principally attempt to distinguish
                DACA’s rescission from the type of decision at issue in
                Chaney on the ground (Ind. Br. 18-21) that the rescis-
                sion concerned a general enforcement policy, rather
                than an enforcement decision in an individual case. But
                Chaney itself concerned a categorical enforcement
                policy. Although the Food and Drug Administration
                (FDA) reached its decision in response to a request by
                individual inmates, in rejecting that request, FDA cat-
                egorically stated that “the use of lethal injection by
                State penal systems is a practice over which FDA has
                no jurisdiction” and, regardless, it would “decline, as a
                matter of enforcement discretion, to pursue supplies of




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                drugs under State control that will be used for execu-
                tion by lethal injection.” Pet. App. at 82a, 85a, Chaney,
                supra (No. 83-1878). Indeed, none of the relief that the
                inmates sought was specific to their cases; they sought
                system-wide relief. See id. at 81a-82a; e.g., id. at 82a
                (requesting that FDA “[a]dopt a policy” for seizing
                lethal-injection drugs “from prisons or State depart-
                ments of correction”). That forecloses respondents’ im-
                plausible suggestion (Cal. Br. 16) that Chaney would
                have been decided differently if FDA had announced its
                nonenforcement policy, like DHS did here, as a general
                “framework” before applying it to specific individuals.
                   Respondents cite lower-court decisions that distin-
                guish between single-shot enforcement decisions and
                general policies on the ground that the latter are more
                likely to contain “direct interpretations of the com-
                mands of the substantive statute.” D.C. Br. 32 (citation
                omitted). But the Duke and Nielsen Memoranda ad-
                dress only the scope of DHS’s enforcement discretion,
                not the INA’s substantive commands. U.S. Br. 25-26.
                To the extent that some lower-court decisions may be
                read to authorize review of an enforcement policy itself,
                rather than an otherwise-reviewable substantive inter-
                pretation contained within it, they “simply cannot be
                reconciled with Chaney.” Casa de Maryland v. DHS,
                924 F.3d 684, 713 (4th Cir. 2019) (Richardson, J., dis-
                senting in relevant part). As for respondents’ reliance
                (D.C. Br. 33) on Massachusetts v. EPA, 549 U.S. 497
                (2007), that case concerned an agency’s denial of a peti-
                tion for rulemaking, which the Court specifically distin-
                guished from the type of “nonenforcement decision[]”at
                issue in Chaney and here. Id. at 527.
                   Finally, respondents are wrong to suggest (Ind. Br.
                19) that DACA’s rescission itself is coercive because it




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                denies “DACA recipients the ability to work.” The
                Duke Memorandum explained that the agency would
                not “revoke Employment Authorization Documents solely
                based on the” rescission. Regents Pet. App. 118a. And
                the inability to obtain new or renewed work authoriza-
                tion is simply a collateral consequence of the termina-
                tion of the deferred-action policy—no different than if a
                prosecutor ends a nonenforcement policy that diverts
                certain low-level offenders into job-training or drug-
                rehabilitation programs.
                   2. Respondents are also wrong to contend (Cal. Br.
                17-21) that, even if DACA’s rescission fits within the
                tradition identified in Chaney, it is reviewable because
                it was based solely on the conclusion that DACA was
                unlawful. U.S. Br. 23-32.
                   a. Legally, where “the type of agency decision in
                question ‘has traditionally been “committed to agency
                discretion,” ’ ” it does not “become[] reviewable” when-
                ever the agency “gives a ‘reviewable’ reason” for the ac-
                tion. ICC v. Brotherhood of Locomotive Eng’rs, 482 U.S.
                270, 282-283 (1987) (BLE) (quoting Chaney, 470 U.S. at
                832). Particularly where, as here, the government has
                no legal obligation to give any public explanation for its
                otherwise-unreviewable decision, it would be perverse
                to subject the decision to years of litigation because the
                government volunteered one. In determining whether
                an action is committed to agency discretion, “it is the
                [agency]’s formal action, rather than its discussion, that
                is dispositive.” Id. at 281. Section 701(a)(2) precludes
                review of “agency action,” not agency “reasons.”
                   Respondents observe (Cal. Br. 21) that the agency
                action at issue in BLE was not a “non-enforcement de-
                cision” and was not “based on any purported lack of au-




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                thority.” But the Court refused to review the legal anal-
                ysis in the agency’s reconsideration decision in BLE by
                analogizing to precisely such a nonenforcement deci-
                sion. It explained that “a common reason for failure to
                prosecute an alleged criminal violation is the prosecu-
                tor’s belief (sometimes publicly stated) that the law will
                not sustain a conviction. * * * [Y]et it is entirely clear
                that the refusal to prosecute cannot be the subject of
                judicial review.” BLE, 482 U.S. at 283.
                   That was not because of any “longstanding rule
                against suits to compel criminal prosecutions.” D.C. Br.
                28. It was based on the longstanding tradition of not
                subjecting “decision[s] whether or not to prosecute” to
                judicial review, reflecting concerns about invading the
                “special province” of the Executive and the general un-
                suitability of that class of decisions for judicial review.
                United States v. Armstrong, 517 U.S. 456, 464 (1996)
                (emphasis added) (quoting Chaney, 470 U.S. at 832).
                The same concerns apply to decisions to enforce federal
                immigration laws and, indeed, are “greatly magnified”
                given that the consequence of review is to “prolong a
                continuing violation” of federal law. Reno v. American-
                Arab Anti-Discrimination Comm., 525 U.S. 471, 490
                (1999) (AADC).
                   Moreover, while it is true that BLE identified dis-
                tinct reasons for the tradition of not reviewing requests
                to reopen for material error, Regents Br. 25-26, the sa-
                lient point is that, whatever the particular reason for a
                tradition of unreviewability, Section 701(a)(2) “was
                meant to preserve” it. BLE, 482 U.S. at 282. And while
                the BLE Court did note that some types of refusal to
                reopen are reviewable (D.C. Br. 27), that is not due to
                the reasons the agency chooses to provide, but rather
                the substantive basis of the petitioner’s request.




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                482 U.S. at 278 (distinguishing “petitions alleging ‘new
                evidence’ or ‘changed circumstances’ ”).
                    b. In any event, as a factual matter, DACA’s rescis-
                sion was not based solely on a legal conclusion. Acting
                Secretary Duke emphasized the threat of impending lit-
                igation, the Attorney General’s conclusion that it was
                “likely” that such litigation “would yield similar results”
                to the earlier litigation, and her resulting decision that
                the DACA policy “should” be wound down. Regents
                Pet. App. 115a-117a. The Duke Memorandum alone
                thus demonstrates that the decision has always been
                based, in part, on the Secretary’s “exercise of [her] au-
                thority in establishing national immigration policy,” id.
                at 117a, not just the Attorney General’s authority to is-
                sue “controlling” determinations of relevant “questions
                of law,” 8 U.S.C. 1103(a)(1).
                    Respondents suggest (D.C. Br. 22-23) that Acting
                Secretary Duke must not have exercised such discretion
                because her memorandum does not contain an explicit
                “assessment of the costs of rescinding the policy
                weighed against the legal risk of maintaining it.” But
                such an exercise would serve little purpose where, as
                here, the relevant costs of maintaining the policy were
                not only monetary, but the damage to public confidence
                in DHS and in the rule of law, as well as the potential
                distraction from the agency’s important work. Regents
                Pet. App. 123a. And even if that criticism were relevant
                to whether the litigation-risk rationale was valid on the
                merits, it fails to show that the decision was not actually
                based on serious doubts about DACA’s legality.
                    It is likewise irrelevant that the concerns about
                maintaining a legally questionable policy were paired
                with a conclusion that the DACA policy is, in fact, un-




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                lawful. It is not uncommon for courts or agencies to of-
                fer independent, alternative rationales for their deci-
                sions. Indeed, FDA in Chaney similarly concluded both
                that the agency “ha[d] no jurisdiction” over the States’
                “use of lethal injection,” and that, even if it did, “as a
                secondary and separate basis of denial,” the agency
                would not, “as a matter of enforcement discretion,” take
                the requested actions. Pet. App. at 82a, 85a, Chaney,
                supra (No. 83-1878). That fact provides no basis to call
                into question the sincerity of either ground.
                   c. The Nielsen Memorandum, moreover, makes
                clear that DACA’s rescission is not based exclusively on
                legal rationales and thus is unreviewable. See Regents
                Pet. App. 123a-124a. Respondents are wrong that
                DACA’s rescission would still be reviewable to ensure
                that it was not “ ‘arbitrary’ and ‘capricious’ or an ‘abuse
                of discretion.’ ” Ind. Br. 26-27 (quoting 5 U.S.C.
                706(2)(A)). “[B]efore any review at all may be had, a
                party must first clear the hurdle of § 701(a),” and Sec-
                tion 701(a)(2) bars “abuse of discretion” review for ac-
                tions traditionally committed to agency discretion.
                Chaney, 470 U.S. at 828, 830.
                   Judulang v. Holder, 565 U.S. 42 (2011), does not hold
                otherwise. That case did not involve enforcement dis-
                cretion. Instead, in an appeal from a final order of re-
                moval, the alien challenged the denial of a form of dis-
                cretionary relief that conferred lawful status. See INS
                v. St. Cyr, 533 U.S. 289, 295 (2001) (“If relief is granted,
                * * * the alien remains a permanent resident.”). The
                agency’s policy was reviewable because it did not fit
                within the tradition of unreviewability identified in
                Chaney, not because Section 706(2)(A) applies to all dis-
                cretionary decisions. Indeed, the case did not even ad-
                dress Section 701(a)(2).




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                   C. DACA’s Rescission Is Lawful
                    Even if judicially reviewable under the APA, DHS’s
                decision to rescind a nonenforcement policy that was at
                best legally uncertain—and, at worst, unlawful—was
                plainly rational. U.S. Br. 32-56.
                    1. DACA’s rescission is justified by DHS’s concerns
                about maintaining the legally questionable nonenforce-
                ment policy, particularly in the face of impending litiga-
                tion. U.S. Br. 33-37.
                    One set of respondents suggests that “litigation risk”
                can never be “an adequate, independent rationale for
                agency action.” Regents Br. 53-54. But not even the D.C.
                district court was willing to go that far. See NAACP Pet.
                App. 40a. And other respondents rightly disavow it. See
                Cal. Br. 21 (acknowledging that, in some contexts, a lit-
                igation-risk rationale “might” render the rescission un-
                reviewable). Indeed, it is commonplace for an agency to
                acquiesce in a federal court’s determination that a prior
                action is unlawful, even if it disagrees. After all, an
                agency is not required to push its questionable legal au-
                thority to its logical extreme.
                    Recognizing such a possibility does not permit an
                agency to evade judicial review (assuming such review
                is even available). It simply shifts the focus of any re-
                view from the agency’s legal determination to its evalu-
                ation of the costs of maintaining a policy in the face of
                legal uncertainty. Abandoning administrative efforts on
                that basis will not always survive scrutiny because the
                legal doubts must be rational. But in the face of the Fifth
                Circuit’s decision affirming a preliminary nationwide
                injunction against DAPA and expanded DACA, and this
                Court’s equally divided affirmance, DHS was (more
                than) reasonably concerned about the legality of DACA,
                the possibility of an immediate court-ordered shutdown,




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                and the intangible costs to this law-enforcement agency
                of maintaining a legally dubious policy not to enforce the
                law, regardless whether courts might ultimately uphold
                it. Regents Pet. App. 123a; accord id. at 117a.
                    Like the lower courts, respondents fault DHS for
                failing to address possible distinctions between DAPA
                and DACA that might have led the Fifth Circuit to
                reach a different conclusion with respect to DACA.
                N.Y. Br. 36-39. But respondents do no better in identi-
                fying any material distinction. U.S. Br. 35-36. And in
                nearly 300 pages of briefing, none of the respondents
                meaningfully grapples with the fact that the Fifth Cir-
                cuit held that both DAPA and expanded DACA were
                substantively unlawful—a judgment this Court af-
                firmed by an equally divided court. That was not a ju-
                dicial oversight. Everyone in that case simply agreed
                that the policies stood or fell together. See, e.g., U.S.
                Br. at 10-11, 45, United States v. Texas, No. 15-674.
                    Some respondents assert that, unlike DACA, DAPA
                “would have classified recipients as ‘lawfully present in
                the United States.’ ” Ind. Br. 51 (citation omitted). But
                as other respondents effectively recognize (Cal. Br. 26
                n.5, 35), DACA is no different with respect to “lawful
                presence” than DAPA: while neither policy in fact
                makes it lawful to remain in the country, deferred action
                under either policy is deemed to satisfy statutory “law-
                ful presence” requirements for purposes of certain fed-
                eral benefits (e.g., social security) and the INA’s re-
                entry bars. Indeed, the highlighted portion of the DAPA
                memorandum explained the consequences of “deferred
                action” generally, not DAPA specifically. Regents Pet.
                App. 104a.
                    Respondents criticize (Ind. Br. 52) DHS for failing to
                consider whether the Texas district court would have




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                exercised its discretion not to order an immediate shut-
                down of the DACA policy based on a balancing of the
                equities. Even if so, that would not address the intan-
                gible costs of maintaining a legally questionable nonen-
                forcement policy. And in any event, as long as DHS rea-
                sonably determined that the court likely would declare
                DACA substantively unlawful (as it did), it cannot be ir-
                rational for DHS to have concluded that—one way or
                another—the policy likely would be brought to an end.
                The question was whether the policy’s termination
                would be pursuant to a court-ordered plan or one set by
                DHS. The fact that the Texas court recently declined
                on equitable grounds to enjoin the DACA policy at an
                interlocutory stage of the latest challenge does not un-
                dermine that judgment. Cf. Regents Br. 54. Indeed,
                the court’s conclusion that the Fifth Circuit’s prior de-
                cision controls the unlawfulness of DACA on the merits
                powerfully vindicates DHS’s legal concerns.
                   2. The rescission is independently justified by Sec-
                retary Nielsen’s enforcement-policy concerns. U.S. Br.
                37-43.
                   Respondents inaccurately characterize Secretary
                Nielsen’s policy concerns as “recapitulat[ing]” her legal
                concerns. Cal. Br. 50 (citation omitted). Secretary Niel-
                sen explicitly stated that her policy concerns apply “re-
                gardless of whether the[] concerns about the DACA policy
                render it illegal or legally questionable.” Regents Pet.
                App. 123a. There is nothing unusual in maintaining that,
                even if certain substantive values reflected in the law (e.g.,
                federalism or the separation of powers) do not legally
                foreclose a particular action, they provide an independ-
                ent policy rationale for not pursuing that course. FDA
                did precisely that in its decision in Chaney, and no Mem-
                ber of the Court questioned its sincerity. U.S. Br. 30.




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                    Respondents contend (Ind. Br. 55) that the Secre-
                tary’s preference for truly individualized prosecutorial
                discretion is inconsistent with past categorical
                deferred-action policies and current categorical asylum
                rules. But DHS’s past deferred-action policies were
                nothing like DACA. See pp. 17-19, infra. And in any
                event, DHS was free to change its position on the desir-
                ability of categorical nonenforcement policies. Indeed,
                although he had made an exception for DACA, Secre-
                tary Kelly had already announced such a change. J.A.
                857-867. There is also no inconsistency between Secre-
                tary Nielsen’s desire to avoid categorical deferred-
                action policies that tilt the scales against enforcing fed-
                eral immigration law as written, and the agency’s use of
                categorical rules in other contexts to enforce those laws.
                    Respondents complain (Cal. Br. 51) that the Secre-
                tary’s desire to project a message of consistent immi-
                gration enforcement to discourage further illegal immi-
                gration is not supported by evidence in the administra-
                tive record. But the basis for the Secretary’s policy
                preference is “an exercise in logic rather than clairvoy-
                ance.” FCC v. Fox Television Stations, Inc., 556 U.S.
                502, 521 (2009). DHS is committed to vigorous enforce-
                ment of the federal immigration laws. Toward that end,
                it seeks to send a strong, consistent message that illegal
                immigration will not be tolerated. Policies like DACA
                plainly undermine the clarity of that message by facili-
                tating ongoing illegality on a massive scale through pro-
                spective assurance that the immigration laws will not be
                enforced coupled with affirmative benefits.
                    In light of those reasonable policy goals, the Secre-
                tary adequately acknowledged and balanced the as-
                serted reliance interests in the indefinite continuance of
                DACA. No one disputes that, from the outset, DACA




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                was a temporary, discretionary policy; was granted in
                only two-year increments; and created no lawful status
                or substantive rights. Regents Pet. App. 101a. Indeed,
                President Obama made clear that the policy repre-
                sented only a “stopgap measure,” not a “permanent fix.”
                The White House, Remarks by the President on Immi-
                gration (June 15, 2012). Against this backdrop, the
                DACA policy could not engender any legally cognizable
                reliance interests in the government’s continuing facili-
                tation of DACA recipients’ unlawful status. And while
                respondents assert that law-abiding institutions have
                “ordered their affairs” in response to DACA (Ind. Br.
                34), those interests are concededly “derivative” (D.C.
                Br. 60) of the aliens’ ongoing violations of the immigra-
                tion laws.
                   In any event, DHS did not “entirely fail[] to con-
                sider” the asserted reliance interests. Motor Vehicle
                Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S.
                29, 43 (1983). To the contrary, Secretary Nielsen ex-
                pressly acknowledged them and weighed them against
                her other concerns. Respondents would demand more,
                but the INA neither imposes any requirement on DHS
                to determine whether this policy is “appropriate and
                necessary” based on a formal study, Michigan v. EPA,
                135 S. Ct. 2699, 2705 (2015) (citation omitted), nor pro-
                vides any other reason to conclude that the Secretary is
                required to perform a technical cost-benefit analysis be-
                fore enforcing the statute as written.
                   3. DACA’s rescission is also independently justified
                by DHS’s conclusion that the DACA policy itself is un-
                lawful. U.S. Br. 43-52.
                   a. In arguing to the contrary, respondents rely on
                DHS’s historical deferred-action policies and other
                discretionary-relief policies. But the nature and scope




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                of the DACA policy make it fundamentally different
                from the handful of prior class-based deferred-action
                policies. DACA does not simply delay removal until the
                alien can obtain (or recover) some lawful status already
                afforded by Congress; it provides a reprieve from re-
                moval to a class of aliens that Congress has repeatedly
                declined to grant permanent relief. And it offers de-
                ferred action, triggering additional affirmative benefits,
                on a much larger scale than any such prior policy. Thus,
                while DHS’s prior deferred-action policies are fairly de-
                scribed as interstitial, DACA is not.
                   Respondents identify (Cal. Br. 30) one prior
                deferred-action policy—which applied to certain wid-
                ows and widowers of U.S. citizens seeking visas—that
                they wrongly assert was “ ‘interstitial’ only in hindsight”
                because the INA at the time did not provide those aliens
                any “avenue of immigration relief.” Memorandum from
                Donald Neufeld, Acting Assoc. Dir., Office of Domestic
                Operations, USCIS, to Field Leadership, USCIS, Guid-
                ance Regarding Surviving Spouses of Deceased U.S.
                Citizens and their Children 1 (Sept. 4, 2009). As DHS
                explained, although the agency did not interpret the
                INA to afford the affected aliens relief, several circuits
                had disagreed and bills were pending in both houses of
                Congress to ratify that view. Ibid. The pending
                legislation—which was expected to affect fewer than
                100 aliens per year, H.R. Rep. No. 911, 110th Cong., 2d
                Sess. 4 (2008)—was enacted into law less than five
                months later, and the policy ended. Pub. L. No. 111-83,
                § 568(c), 123 Stat. 2186. At most, then, DHS effectively
                acquiesced in lower-court rulings to allow Congress to
                enact a legislative fix. By contrast, DACA recipients
                indisputably have no path to lawful status, and the




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                maintenance of DACA is impeding any path to legisla-
                tive resolution.
                    The rest of the historical policies on which respond-
                ents rely all at least purported to implement either sep-
                arate, specific statutory authority, see 8 U.S.C. 1252(b)
                (1988 & Supp. II 1990) (voluntary departure); 8 U.S.C.
                1182(d)(5)(A) (parole), the President’s Article II author-
                ity over foreign affairs, see USCIS, DHS, Adjudicator’s
                Field Manual Ch. 38.2 (deferred enforced departure),
                or both. Any congressional approval or tolerance of
                such policies, at most, ratified or acquiesced in the as-
                serted scope of that distinct authority. And, in fact, with
                respect to extended-voluntary-departure policies, like
                Family Fairness, any arguable statutory basis has since
                been foreclosed. U.S. Br. 48-49.
                    The affirmative benefits triggered by DACA are not
                irrelevant simply because they are afforded under
                separate, longstanding regulations. Cf. Cal. Br. 38-39.
                Although the benefit-conferring regulations predate
                DACA and apply to all deferred action, the DACA pol-
                icy triggered those benefits in a manner that had never
                previously been done. Section 1324a may have ratified
                extending work authorization to aliens who received de-
                ferred action on an individualized basis or pursuant to
                interstitial class-based deferred-action policies. See
                8 U.S.C. 1324a(h)(3) (referring to aliens “authorized to
                be so employed * * * by the Attorney General”). But
                it cannot reasonably be interpreted to have “br[ought]
                about [the] enormous and transformative expansion” in
                the Secretary’s authority that would be required to sup-
                port conferring work authorization in conjunction with
                a deferred-action policy like DACA. Utility Air Regu-
                latory Grp. v. EPA, 573 U.S. 302, 324 (2014). And that
                is so whether deferred action and associated benefits




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                are granted to everyone, or nearly everyone, who meets
                the eligibility criteria. Cf. N.Y. Br. 31-34.
                    b. Because the DACA policy is unlawful, DHS had
                no choice but to rescind it and the APA provides no ba-
                sis for vacating its termination. Although respondents
                urge (Ind. Br. 37) the Court not to reach a conclusion on
                the policy’s lawfulness, the Ninth Circuit’s judgment
                rests on its unequivocal conclusion that “DACA was a
                permissible exercise of executive discretion.” Regents
                Supp. Br. App. 56a. To be sure, the Court can hold
                that rescinding DACA based on the Executive’s own
                view of its enforcement duties was not a “clear error of
                judgment,” U.S. Br. 50 (quoting State Farm, 463 U.S.
                at 43), without addressing DACA’s legality. But if the
                Court disagrees, DACA’s ultimate legality is squarely
                presented.
                    Respondents argue (Regents Br. 44) that DHS’s le-
                gal conclusion must survive de novo review. But they
                fail to identify any case finding an agency enforcement
                decision arbitrary and capricious merely because the
                court disagrees with the agency’s reasonable interpre-
                tation of the scope of its legal authority to not enforce
                federal law. And in the context that respondents iden-
                tify as most analogous—the denial of a petition for
                rulemaking—this Court explained that review under
                the APA must be “ ‘extremely limited’ ” and “ ‘highly def-
                erential,’ ” and found the agency’s decision not to exer-
                cise its authority arbitrary and capricious only after con-
                cluding that “[t]he statute [wa]s unambiguous.” Mas-
                sachusetts, 549 U.S. at 527-528, 529 (citation omitted).
                    Respondents contend (N.Y. Br. 31-42) that DHS of-
                fered an inadequate explanation for its legal analysis.
                But the APA requires only that “the agency’s path may
                reasonably be discerned.” State Farm, 463 U.S. at 43




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                (citation omitted). Both memoranda reflect DHS’s con-
                clusion that the DACA policy exceeded the agency’s
                “statutory authority.” Regents Pet. App. 116a, 123a.
                That conclusion does not depend on whether DACA pre-
                vented DHS officials from exercising any discretion.
                See pp. 19-20, supra. And neither Secretary “place[d]
                any significant weight” on Attorney General Sessions’
                statement that DACA was unconstitutional, FCC v. Na-
                tional Citizens Comm. for Broadcasting, 436 U.S. 775,
                804 n.23 (1978)—which, in any event, simply under-
                scored his strongly held view that DACA was based on
                a statutorily unauthorized exercise of Executive power.
                    DHS was not required to consider whether DACA’s
                illegality could be addressed by separating deferred
                action—generally or under DACA specifically—from at
                least some of the benefits it triggers. D.C. Br. 39-44.
                Deferred action coupled with the associated benefits
                are the two legs upon which the DACA policy stands, as
                many of the briefs in support of respondents confirm.
                See, e.g., Inst. of Higher Educ. Amicus Br. 5-11. In-
                deed, it is largely the eligibility for benefits triggered
                by deferred action that allows DACA recipients to
                “come out of the shadows and become productive mem-
                bers of their communities.” N.Y. Br. 2. It was not arbi-
                trary and capricious for DHS to view deferred action
                and its collateral benefits as importantly linked.
                    4. Finally, DACA’s rescission does not violate equal
                protection principles. U.S. Br. 52-57. As an initial mat-
                ter, all of the respondents in the California litigation
                and the non-State respondents in the New York litiga-
                tion have forfeited any defense of the lower courts’ re-
                fusal to dismiss their equal protection claims. Although
                the individual respondents assert (at 12 n.1) that their
                equal protection claims are not before the Court, the




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                district-court orders refusing to dismiss those claims
                were certified for interlocutory appeal and consolidated
                with the preliminary-injunction appeals, Regents Supp.
                Br. App. 22a; Batalla Vidal Pet. App. 147a-157a, 175a-
                176a; and the Ninth Circuit specifically affirmed the
                California district court’s equal protection analysis in
                the judgment under review, Regents Supp. Br. App.
                73a-77a.
                   The substantive defense from the New York State
                respondents (at 53-56) is also unpersuasive. Respond-
                ents do not even attempt to demonstrate that DACA’s
                rescission is “so outrageous” that it overcomes this
                Court’s concerns about recognizing a discriminatory-
                motive challenge to an exercise of immigration enforce-
                ment discretion. AADC, 525 U.S. at 491. Instead, they
                contend that AADC is not implicated because vacating
                the rescission would protect their proprietary interests
                and not interfere with DHS’s exercise of enforcement
                discretion in any individual case. But vacating the re-
                scission would interfere with DHS’s categorical exer-
                cise of enforcement discretion for all its cases, and re-
                spondents’ interests are protected only by “pro-
                long[ing] * * * continuing violation[s]” of federal immi-
                gration law. Id. at 490. The reasoning of AADC fully
                applies. In any event, respondents offer nothing more
                than the lower courts’ opinions to defend their equal
                protection claims even under the Arlington Heights
                standard. As explained, their allegations fall woefully
                short of stating a claim even under that standard. U.S.
                Br. 54-57.
                   D. The Judgments And Orders Should Be Reversed
                  Because DACA’s rescission is unreviewable and in
                any event lawful, the judgments and orders before this




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                Court should be reversed. Respondents’ incorrect ar-
                guments about the scope of the administrative record
                should not prevent the Court from doing so. As an ini-
                tial matter, those arguments are irrelevant to the Court’s
                review of the D.C. district court’s final judgment. Re-
                spondents in that case did not challenge the complete-
                ness of the administrative record, NAACP Pet. App.
                18a, and do not challenge it here. As for the other cases,
                respondents themselves recognize that the record dis-
                pute is irrelevant if DACA’s rescission is unreviewable.
                Cal. Br. 54. Regardless, given the nature of the rescis-
                sion, no dispute over the record could show that the re-
                scission was arbitrary and capricious or sustain the dis-
                trict courts’ nationwide preliminary injunctions.
                    There is no basis to think that reasons offered by ei-
                ther Secretary were pretextual. Cf. Regents Br. 56-58.
                At most, respondents identify unstated policy reasons
                why the President or the former Attorney General may
                have wanted to see DACA rescinded. But “a court may
                not reject an agency’s stated reasons for acting simply
                because the agency might also have had other unstated
                reasons.” Department of Commerce, 139 S. Ct. at 2573.
                A fortiori, it may not do so based on such alleged rea-
                sons of other officials.




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                                       * * * * *
                   For the foregoing reasons and those stated in our
                opening brief, the judgments of the Ninth Circuit and
                the District Court for the District of Columbia, as well
                as the orders of the Eastern District of New York,
                should be reversed.
                   Respectfully submitted.
                                               NOEL J. FRANCISCO
                                                Solicitor General

                OCTOBER 2019




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                                              No. 18-589
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                                                       In The
  Supreme Court of the United States
                                 ---------------------------------♦---------------------------------
                   CHAD WOLF, ACTING SECRETARY
                   OF HOMELAND SECURITY, ET AL.,
                                                                                                        Petitioners,
                                                               v.
        MARTÍN JONATHAN BATALLA VIDAL, ET AL.,
                                                                                                       Respondents.
                                 ---------------------------------♦---------------------------------
             On Writ Of Certiorari Before Judgment
             To The United States Court Of Appeals
                    For The Second Circuit
                      ---------------------------------♦---------------------------------
             MOTION FOR LEAVE TO FILE
          SUPPLEMENTAL BRIEF AFTER ORAL
         ARGUMENT, AND SUPPLEMENTAL BRIEF
                ---------------------------------♦---------------------------------
TRUDY S. REBERT                                                          MICHAEL J. WISHNIE
NATIONAL IMMIGRATION                                                       Counsel of Record
  LAW CENTER                                                             MUNEER I. AHMAD
P.O. Box 721361                                                          MARISOL ORIHUELA
Jackson Heights, NY 11372                                                JEROME N. FRANK LEGAL
(646) 867-8793                                                             SERVICES ORGANIZATION
                                                                         P.O. Box 209090
ARACELI MARTÍNEZ-OLGUÍN
                                                                         New Haven, CT 06520
MAYRA B. JOACHIN
                                                                         (203) 432-4800
NATIONAL IMMIGRATION
                                                                         michael.wishnie@yale.edu
  LAW CENTER
3450 Wilshire Blvd.                                                      KAREN C. TUMLIN
#108-62                                                                  Cooperating Attorney
Los Angeles, CA 90010                                                    JEROME N. FRANK LEGAL
(213) 639-3900                                                             SERVICES ORGANIZATION
                                                                         P.O. Box 209090
AMY S. TAYLOR
                                                                         New Haven, CT 06520
PAIGE AUSTIN
                                                                         (323) 316-0944
MAKE THE ROAD NEW YORK
301 Grove Street                                                         Counsel for Batalla Vidal
Brooklyn, NY 11237                                                        Non-State Respondents
(718) 418-7690
================================================================================================================
                                 COCKLE LEGAL BRIEFS (800) 225-6964
                                  WWW.COCKLELEGALBRIEFS.COM




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      MOTION FOR LEAVE TO FILE
   SUPPLEMENTAL BRIEF AFTER ORAL
  ARGUMENT, AND SUPPLEMENTAL BRIEF
     Pursuant to Supreme Court Rules 25.6 and 25.7,
non-State respondents Martín Batalla Vidal, et al.,
move for leave to ﬁle a supplemental brief presenting
new information that was not available at the time of
oral argument.
     First, this case involves whether the decision to
terminate DACA must be vacated because, among
other reasons, the Department of Homeland Security
did not adequately assess the relevant reliance inter-
ests when it terminated the program. See Br. of DACA
Recipient Respondents at 34 (“Here, the government
never considered the ‘disruption’ its policy ‘would have
on the lives of DACA recipients, let alone their families,
employers and employees, schools and communities.’ ”)
(citing Regents Pet. App. 60a); see also Transcript of
Oral Argument at 23-24. The COVID-19 pandemic, and
resulting mobilization of resources, provide a vivid il-
lustration of some of the reliance interests engendered
by the program that the agency failed to consider –
namely, those borne by healthcare and other essential
service providers that employ DACA recipients. While
the agency could not have predicted the pandemic, at
the very least it was required to give adequate consid-
eration to the signiﬁcant adverse consequences of ter-
mination for these and other key societal actors who
rely on and beneﬁt from the work of DACA recipients.
It failed to do so.




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    Second, the question of whether DACA recipients
would be deported if the program were terminated was
raised at oral argument. Tr. at 48-9. The federal gov-
ernment recently clariﬁed its plans regarding the
deportation of DACA recipients with ﬁnal orders of
removal.
Respectfully submitted,
TRUDY S. REBERT                   MICHAEL J. WISHNIE
NATIONAL IMMIGRATION                Counsel of Record
  LAW CENTER                      MUNEER I. AHMAD
P.O. Box 721361                   MARISOL ORIHUELA
Jackson Heights, NY 11372         JEROME N. FRANK LEGAL
(646) 867-8793                      SERVICES ORGANIZATION
                                  P.O. Box 209090
ARACELI MARTÍNEZ-OLGUÍN
                                  New Haven, CT 06520
MAYRA B. JOACHIN
                                  (203) 432-4800
NATIONAL IMMIGRATION
                                  michael.wishnie@yale.edu
  LAW CENTER
3450 Wilshire Blvd. #108-62       KAREN C. TUMLIN
Los Angeles, CA 90010             Cooperating Attorney
(213) 639-3900                    JEROME N. FRANK LEGAL
                                    SERVICES ORGANIZATION
AMY S. TAYLOR
                                  P.O. Box 209090
PAIGE AUSTIN
                                  New Haven, CT 06520
MAKE THE ROAD NEW YORK
                                  (323) 316-0944
301 Grove Street
Brooklyn, NY 11237                Counsel for Batalla Vidal
(718) 418-7690                     Non-State Respondents
April 2, 2020




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SUPPLEMENTAL BRIEF FOR RESPONDENTS
MARTÍN JONATHAN BATALLA VIDAL ET AL.
     Batalla Vidal-Respondents submit this brief to ad-
vise the Court of the bearing on this matter of the
COVID-19 pandemic and the current national state of
emergency. Batalla Vidal-Respondents argue that the
decision to terminate DACA must be vacated because,
among other reasons, the agency did not adequately
assess the relevant reliance interests when it termi-
nated the program. The public health crisis now con-
fronting our nation illuminates the depth of those
interests as borne by employers, civil society, state and
local governments, and communities across the coun-
try, and especially by healthcare and other essential
services providers. Furthermore, it throws into sharp
relief DACA recipients’ important contributions to the
country and the signiﬁcant adverse consequences of
eliminating their ability to live and work without fear
of imminent deportation. These are the very conse-
quences the agency failed to consider.
     Healthcare providers on the frontlines of our
nation’s fight against COVID-19 rely significantly
upon DACA recipients to perform essential work. Ap-
proximately 27,000 DACA recipients are healthcare
workers—including nurses, dentists, pharmacists,
physician assistants, home health aides, technicians,
and other staff—and nearly 200 are medical students,
residents, and physicians. Brief for Ass’n of Am. Medi-
cal Colleges as Amicus Curiae Supporting Respond-
ents at 2-3. The pandemic sheds new light on the
reliance interests of healthcare providers and the




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public health consequences of ignoring those interests,
presciently identiﬁed by the Association of American
Medical Colleges and 32 allied organizations in their
amicus brief:
    The country [is not] prepared to ﬁll the loss
    that would result if DACA recipients were ex-
    cluded from the health care workforce. The
    number of physicians in the United States has
    not kept pace with our growing and aging pop-
    ulation and a commensurate increase in pa-
    tients. . . . These shortages will be felt most
    keenly in medically underserved areas, such
    as rural settings and poor neighborhoods –
    precisely the areas in which DACA recipients
    are likeliest to work.
    The risk of a pandemic also continues to grow,
    since infectious diseases can spread around
    the globe in a matter of days due to increased
    urbanization and international travel. . . . To
    ensure health security, the country needs a ro-
    bust health workforce. Rescinding DACA,
    however, would deprive the public of domesti-
    cally educated, well-trained, and otherwise
    qualiﬁed health care professionals. . . .
Id. at 4-5; see also id. at 16-24.
     The record contains additional evidence of DACA
recipients’ involvement in providing healthcare. For
example, plaintiff-respondent Jirayut (“New”) Lat-
thivongskorn is a resident physician at the Zuckerberg
San Francisco General Hospital and Trauma Center,
having graduated from the University of California,
San Francisco School of Medicine. J.A. at 916-931.




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Other DACA-recipient healthcare providers include
Dr. Dalia Larios, a physician at Brigham and Women’s
Hospital and Massachusetts General Hospital, Brief
for Nineteen Coll. and Univ. as Amicus Curiae Sup-
porting Respondents at 17; Dr. T.W., a surgeon, Brief
for SEIU, AFL-CIO, and AFSCME as Amicus Curiae
Supporting Respondents at 7-9; Jesus Contreras, a
Houston-area paramedic, Brief for 109 Cities, Coun-
ties, et al. as Amicus Curiae Supporting Respondents
at 10; Yazmin I., a medical intern in St. Louis, Brief for
United We Dream as Amicus Curiae Supporting Re-
spondents at 15; Luis A., an intensive care nurse in Ar-
kansas, id. at 26; Daniel C., a registered nurse in New
Jersey, id. at 27; M.R., a homecare worker for the el-
derly in California, SEIU, AFL-CIO, and AFSCME Am.
Br. at 4-5; I.T., a surgical technician in El Paso, id. at
15-17; and plaintiff-respondent Martín Jonathan Ba-
talla Vidal, a physical therapist. J.A. at 909. DACA re-
cipients are essential to protecting communities across
the country endangered by COVID-19. Termination of
DACA during this national emergency would be cata-
strophic.1

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       The COVID-19 pandemic also highlights DACA recipients’
impact on the economy and the importance of their participation
in public health measures. Millions of family members, including
U.S. citizens, rely upon DACA recipients for their economic and
physical well-being. Furthermore, the forbearance from immigra-
tion enforcement that DACA affords promotes compliance by
DACA recipients with stay-at-home orders and facilitates safe
testing and treatment for COVID-19. These steps are essential to
the public health measures now being taken to slow transmission
of the virus and prevent the nation’s healthcare system from be-
ing overwhelmed.




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     Petitioners recently have afﬁrmed the signiﬁcant
risks faced by DACA recipients if termination of the
program were upheld. In prior public statements, the
President had averred that, upon the rescission of
DACA, the administration would not target former
DACA recipients for removal. J.A. at 496; see Tr. 48-9.
Since Oral Argument, however, Petitioners have made
clear that they plan to begin deporting DACA recipi-
ents if the termination of the program is upheld. On
January 23, the Acting ICE Director stated, in refer-
ence to DACA recipients with ﬁnal orders of removal,
“If they get ordered removed, and DACA is done away
with by the Supreme Court, we can actually effectuate
those removal orders.” Matthew Albence, Acting Dir.,
Immigr. & Customs Enforcement, Public Safety Media
Brieﬁng (Jan. 23, 2020). The Acting Secretary of DHS
made similar statements while testifying before the
Senate on March 4. Resources and Authorities Needed
to Protect and Secure the Homeland: Hearing Before
the S. Comm. on Homeland Sec. and Governmental Af-
fairs, 116th Cong. (2020) (statement of Chad F. Wolf,
Sec’y, Dep’t of Homeland Sec.) (“So when we get ﬁnal
orders of removal, we’re going to effectuate those.”).
    If the Court deems it appropriate, Batalla Vidal-
Respondents would welcome the opportunity for sup-
plemental briefing on the scope and relevance of
third parties’ reliance interests, including to address
whether remand to the agency for reconsideration of




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its decision to terminate DACA is appropriate in light
of the extraordinary public health emergency.
Respectfully submitted,
TRUDY S. REBERT                   MICHAEL J. WISHNIE
NATIONAL IMMIGRATION                Counsel of Record
  LAW CENTER                      MUNEER I. AHMAD
P.O. Box 721361                   MARISOL ORIHUELA
Jackson Heights, NY 11372         JEROME N. FRANK LEGAL
(646) 867-8793                      SERVICES ORGANIZATION
                                  P.O. Box 209090
ARACELI MARTÍNEZ-OLGUÍN
                                  New Haven, CT 06520
MAYRA B. JOACHIN
                                  (203) 432-4800
NATIONAL IMMIGRATION
                                  michael.wishnie@yale.edu
  LAW CENTER
3450 Wilshire Blvd. #108-62       KAREN C. TUMLIN
Los Angeles, CA 90010             Cooperating Attorney
(213) 639-3900                    JEROME N. FRANK LEGAL
                                    SERVICES ORGANIZATION
AMY S. TAYLOR
                                  P.O. Box 209090
PAIGE AUSTIN
                                  New Haven, CT 06520
MAKE THE ROAD NEW YORK
                                  (323) 316-0944
301 Grove Street
Brooklyn, NY 11237                Counsel for Batalla Vidal
(718) 418-7690                     Non-State Respondents
April 2, 2020




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